 ON HUMAN RIGHTS, the United States must be a                 ACKNOWLEDGEMENTS
 beacon. Activists fighting for freedom around the globe
                                                              The principle author and researcher of this report was B.
 continue to look to us for inspiration and count on us for
                                                              Shaw Drake, Equal Justice Works Fellow, sponsored by
 support. Upholding human rights is not only a moral
                                                              Morgan Stanley and Simpson Thacher & Bartlett LLP, at
 obligation; it’s a vital national interest. America is
                                                              Human Rights First. Olga Byrne and Eleanor Acer
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 Human Rights First is an independent advocacy and            Managing Attorney, provided additional comments.
 action organization that challenges America to live up to    Whitney Viets, ACE Rule of Law and Human Rights
 its ideals. We believe American leadership is essential      Fellow, provided editing and research support. Paige
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 demand reform, accountability, and justice. Around the       Sophia Genovese-Halvorson provided additional
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 We know that it is not enough to expose and protest
                                                              Program for Survivors of Torture, the Human Rights
 injustice, so we create the political environment and
                                                              Initiative of North Texas, and the Tahirih Justice Center
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 we focus not on making a point, but on making a
                                                              Works fellowship sponsors Morgan Stanley and
 difference. For over 30 years, we’ve built bipartisan
                                                              Simpson Thacher & Bartlett LLP, and for the input of the
 coalitions and teamed up with frontline activists and
                                                              Association of Pro Bono Counsel (APBCo), an
 lawyers to tackle issues that demand American
                                                              organization of pro bono leaders of many of the nation's
 leadership.
                                                              leading law firms. Human Right First expresses its
 Human Rights First is a nonprofit, nonpartisan               appreciation to all practitioners, service providers,
 international human rights organization based in New         current and former government officials, and experts
 York and Washington D.C. To maintain our                     who provided information for this report. Particularly, we
 independence, we accept no government funding.               thank the numerous asylum seekers and refugees who
                                                              bravely shared their stories in hopes of bettering the
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                                                              system for all those who seek protection and refuge in
 This report is available online at
                                                              the United States of America.
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Executive Summary                                       Bipartisan Policy Center, American Bar
                                                        Association, the Association of Pro Bono Counsel
As the world faces the greatest refugee crisis         (APBCo), editorial boards from Texas to Los
since World War II, the need for effective, timely,     Angeles, and bipartisan Congressional leaders
and fair processing of asylum claims could not be      have all called for additional resources.
greater. But the U.S. asylum and immigration           Representative John Culberson (R-TX) said
court systems are failing refugees. Chronic            additional funding “will help reduce the growing
underfunding, hiring challenges, and shifting          backlog of cases that are holding up our courts
enforcement strategies have left the asylum office     and compromising the rule of law.”
and the immigration courts in a state of crisis.       The report examines the impact that systemic
More than 620,000 removal and asylum cases are         delays in both the Asylum Division of the United
pending, and many asylum seekers are waiting            States Citizenship and Immigration Service
three to six years for resolution of their claims.     (USCIS) and the immigration courts have on the
The growing backlogs threaten to undercut the          integrity of the U.S. immigration system and on
integrity of the U.S. immigration system and           asylum seekers and their families. It also offers
expose vulnerable people and their families to         solutions for eliminating the backlogs and
prolonged separation and anguish as they wait.         lessening delays.
“I left my home and lost my home over there,           Informed by in-depth interviews with asylum
nobody knows when the bombs [will] come,” says         seekers and legal service providers, detailed
one asylum seeker from Syria. Delays have left         analysis of data, a survey of pro bono managers
him—like thousands of others—stranded in legal         at law firms, meetings with current and former
limbo and unable to bring his family to safety in      government officials, and consultation with
the United States until his asylum request is          numerous experts, Human Rights First finds the
granted. “When you hear every day from your            following:
daughters that ‘we want to come,’ and they start
                                                       Backlog in the Asylum Division
to cry when they hear the bomb noises, it’s
horrible.”                                                The number of backlogged cases at the
                                                          Asylum Division has more than quadrupled
Since 1978, Human Rights First has represented
                                                          since 2013. The number of cases before the
refugees seeking asylum in the United States in
                                                          nation’s eight asylum offices has ballooned
partnership with pro bono attorneys at law firms.
                                                          from 32,560 in 2013 to some 144,500 in March
With offices in New York, Washington, D.C., and
                                                          2016. This growth is largely due to an increase
Houston, Human Rights First has a national, on-
                                                          in the number of credible fear and reasonable
the-ground perspective of the challenges faced by
                                                          fear interviews—which are part of the expedited
asylum seekers. Staff attorneys and pro bono
                                                          removal and reinstatement of removal
partners alike identify the backlogs as the number
                                                          procedures that have been increasingly
one problem facing their asylum clients today.
                                                          employed by DHS over the years—along with
Human Rights First currently represents, with its
                                                          an increase in affirmative asylum applications.
pro bono partners, more than 550 asylum seekers
                                                          Since 2013, credible fear interviews have nearly
stuck in the backlogs.
                                                          quadrupled and reasonable fear interviews
As detailed in this report, there is strong and           have nearly doubled.
diverse support for addressing the backlogs. The



                                             HUMAN RIGHTS FIRST
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                                           IN THE BALANCE ii



Average wait times for initial affirmative            Backlog in the Immigration Court System
asylum interviews exceed two years. Six of
                                                        Without additional judges the backlog in the
the eight asylum offices are scheduling
                                                        immigration courts will top 500,000 by the
interviews for asylum applications filed more
                                                        end of FY 2016 and reach 1 million in FY
than two years ago. As of February 2016, the
                                                        2022. As of February 2016, 480,815 removal
asylum office in Los Angeles was scheduling
                                                        cases were pending before the immigration
interviews for applications filed in August of
                                                        courts—nearly double the number of cases
2011. All offices are scheduling initial interviews
                                                        pending in 2009. About 20 percent of incoming
over the statutory requirement of 45 days for
                                                        immigration court removal cases are
initial interview and 180 days for complete initial
                                                        applications for asylum.
adjudication. For many years, the Asylum
Division had typically scheduled most                   The immigration courts are woefully
interviews within two months of filing, a time          understaffed. In February 2016 the court was
period that provided timely protection to many          staffed with just 254 judges. But 524 (and
and safeguarded the integrity of the system by          corresponding support staff) are needed to
promptly referring those who were not granted           eliminate the backlog and adjudicate new cases
asylum into immigration court removal                   within an average of one year. Congress
proceedings.                                            recently appropriated funding for an additional
                                                        55 immigration judge teams—a welcome but
Additional asylum officers are needed as the
                                                        insufficient step.
number of backlogged affirmative asylum
applications will continue to grow even if              Hundreds of thousands of immigrants are
the Asylum Division fills all 533 currently             stuck in legal limbo for years. On average,
funded positions. Some 144,500 applications             people whose cases are before the immigration
were pending in March 2016. The total number            courts can expect to wait over three years. In
of backlogged affirmative asylum cases grew by          many courts, the wait time can be much longer,
over 40,000 in the first six months of FY 2016          five or six years. In Texas, for example,
alone. The Asylum Division is on track to               immigrants and asylum seekers must wait on
complete about one third of new asylum                  average over 1,700 days—nearly five years.
applications in FY 2016, given the credible fear        An asylum seeker who files an affirmative
and reasonable fear workload.                           asylum application today could wait more
Despite extensive hiring efforts, the Asylum            than six years. Asylum seekers wait well over
Division of USCIS lacks the funding for                 two years on average for an initial interview at
sufficient asylum officers. Additional funding          the Asylum Division. When the Asylum Division
will be required to grow the asylum corps to a          does not grant a case, it refers it to the
size—700 to 800 officers—sufficient to                  immigration court removal process. (Human
eliminate the backlog and adjudicate all                Rights First often takes on asylum cases for
applications in a timely fashion. Moreover, the         legal representation at this stage, and many are
Asylum Division expects to lose 58 officers to          ultimately granted by the immigration courts.)
refugee resettlement details in 2016.                   Those seeking relief before the immigration
                                                        court now face a three and a half year wait on
                                                        average. These combined delays can total
                                                        more than six years.



                                          HUMAN RIGHTS FIRST
                                                                                            AR004238
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  The Executive Office of Immigration Review                  Ibrahim, a comedian and political
  (EOIR) faces challenges hiring judges                       activist from the Ivory Coast, had his
  promptly enough to combat attrition. On                     immigration court hearings canceled twice,
  February 1, 2015, EOIR swore in nine judges,                resulting in a five-year delay. Tortured in his
  bringing the total to 254 – four fewer than                 home country for his political beliefs,
  began 2015. According to recently retired                   Ibrahim says, “I feel like I am in prison
  judges and the National Association of                      waiting for my sentence.”
  Immigration Judges, the huge caseloads lead
                                                          Employment and education are often put on
  many to retire. At the end of FY 2015, some
                                                          hold while asylum seekers wait. Many
  130 judges were eligible for retirement.
                                                          asylum seekers struggle to support themselves
The Human Impact of the Backlogs                          and their families in the many months before
                                                          they receive work authorization. Even once they
  Family separation leaves children and
                                                          do, they face barriers—an unreliable work
  spouses in danger and strains family
                                                          authorization renewal system, for example—to
  relationships. Many asylum seekers with
                                                          sustainable employment. Education, too, is
  strong protection claims remain separated for
                                                          difficult to access for a variety of reasons,
  prolonged periods from family members who
                                                          including the requirement in most states that
  face ongoing persecution and imminent danger.
                                                          immigrants have permanent status to qualify for
      Joshua, a Christian missionary recently             in-state tuition and other financial aid options.
      granted asylum, feared for his family’s
                                                        Impact on Pro Bono Representation
      lives for over three years while they hid
      from Boko Haram. Joshua fled to the                 Years of delays undercut pro bono legal
      United States in 2013 and waited in the             representation. According to a survey by
      backlog until he was granted asylum in              Human Rights First in February 2016, nearly 75
      March 2016, but his wife and children are           percent of pro bono coordinators at many of the
      still in hiding.                                    nation’s major law firms indicated that delays at
                                                          the immigration court are a significant or very
      Diana, from Honduras, was subjected to
                                                          significant negative factor in their ability to take
      years of violent domestic abuse in front of
                                                          on a pro bono case. More than 60 percent also
      her young daughter. She fled to the United
                                                          say delays at the Asylum Office hurt their ability
      States, where her case has been pending
                                                          to take on affirmative asylum cases pro bono.
      more than three years. In 2015, the court
                                                          Representation can make the difference
      cancelled her latest hearing and gave her a
                                                          between deportation or relief—and between life
      new date in 2017. Threatened by Diana’s
                                                          or death. Given the lack of government funding
      ex-partner and abuser, her daughter
                                                          for legal representation of indigent asylum
      remains in hiding.
                                                          seekers, the backlog’s effect on pro bono
  Delays harm asylum seekers’ mental health.              representation is particularly concerning.
  Mental health professionals report that many
  asylum seekers stuck in the backlog are unable
  to fully recover from past trauma and struggle
  with worsened symptoms.




                                             HUMAN RIGHTS FIRST
                                                                                              AR004239
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Recommendations                                          To the Department of Justice and its Executive
                                                         Office of Immigration Review (EOIR):
Both executive and legislative leaders should take         Redouble efforts to fill all currently funded
straightforward steps to ensure the U.S. asylum            immigration judge positions. The Department
and immigration court systems are an                       of Justice and EOIR should improve the pace of
embodiment of U.S. ideals, advancing both the              hiring and immediately direct the necessary
rule of law and the protection of individual rights.       resources, including resources needed to
Providing these systems with the necessary                 conduct prompter background checks, towards
staffing levels constitutes a smart investment in          hiring all currently funded immigration judge
the effectiveness of the asylum system and the             positions as quickly as possible—while assuring
immigration court removal system—minimizing                the integrity and fairness of the hiring process.
unnecessary expenditures caused by the
                                                           Create an effective process for advancing
backlogs, preventing potential abuse of these
                                                           cases due to humanitarian considerations
systems and allowing refugees to contribute to
                                                           and issue guidance to immigration judges
this country sooner without years of delay. To
                                                           on pre-trial communication and pre-trial
these ends Human Rights First recommends:
                                                           conferencing. Such guidance could narrow the
To the United States Congress:                             issues requiring time at hearings, reducing the
  Authorize and appropriate funds for an                   length of some hearings. EOIR must create a
  additional 150 judges—over two years—in                  reliable and fair system through which asylum
  order to reach the recommended level of                  seekers who have urgent or humanitarian
  524 immigration judges. To do so, Congress               needs can request and receive an early hearing
  should fund 75 immigration judge teams for               date.
  fiscal year 2017, and an additional 75 for fiscal      To the Department of Homeland Security’s
  year 2018.                                             U.S. Citizenship and Immigration Services
  Allocate requisite funding to EOIR to                  (USCIS) and its Asylum Division:
  expedite the hiring process of immigration               Increase the total number of asylum officer
  judge positions. All currently funded                    positions to 700-800, which requires adding
  immigration judge positions, 374 total, should           167 to 267 positions. Even after the Asylum
  be filled as soon as possible through the                Division fills the 533 currently funded asylum
  allocation of resources to conduct prompter              officer positions, the backlog will continue to
  background checks. Such resources should                 grow at a rate of around 20,000 cases per year.
  also be allocated to ensure all 150 newly                At 700 total officers the Asylum Division would
  funded judges can be hired as soon as                    begin to reduce the backlog and could eliminate
  possible.                                                it by FY 2025. With 800 officers on board by FY
  Support efforts to expand and expedite the               2019, the division would eliminate the backlog
  hiring of additional USCIS asylum officers.              by FY 2022. Under both scenarios the Asylum
  Without additional staffing, the backlog at the          Division could adjudicate all new incoming
  Asylum Division will continue to balloon even            asylum applications within 60 days of receipt
  when all 533 current positions are filled.               after eliminating the backlog. Normal attrition
                                                           rates would allow the Asylum Division to level
                                                           off, after the backlog is eliminated.



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                                                                                              AR004240
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  Create an effective process to advance                  Issue guidelines to DHS trial attorneys
  asylum interviews for those with                        establishing steps to narrow issues,
  humanitarian or urgent concerns. Current                preserving limited court time for vital
  mechanisms, including “short lists” and                 issues. Guidelines for trial attorneys, including
  requests for expedited interviews, are                  requiring pre-trial conferencing to reduce
  insufficient and often unreliable. A fair and           unnecessary hearing time, by narrowing the
  uniform process for scheduling cases that need          issues for trial, where appropriate, could
  prompt interviews is needed to ensure that              increase the efficiency of the court system and
  cases with urgent humanitarian concerns are             help free up some court time to complete more
  considered by the Asylum Division without               cases.
  delay.
                                                        To the Executive Office of the President:
To the Department of Homeland Security:
                                                          Request funding to grow the immigration
  Limit the use of expedited removal against              court to adequate size. Despite the positive
  Central American families and other                     step to request 55 new immigration judge
  populations with high percentages of                    teams in FY 2016, a request granted by
  asylum seekers. The significant increase in the         Congress, the Obama Administration did not
  use of expedited removal in areas beyond ports          request funding to increase the number of
  of entry has greatly impacted the Asylum                immigration judges and support staff for fiscal
  Division as it conducts the protection                  year 2017. The next administration must
  component of expedited removal and                      request the necessary appropriations and
  reinstatement of removal. Based on FY 2016              prioritize the hiring of immigration judges.
  projections for credible fear interviews
  (expedited removal) and reasonable fear
  interviews (reinstatement of removal), 272
  officers must be devoted solely to protection
  screening requests. UNHCR has recognized a
  growing refugee crisis in the Northern Triangle
  (El Salvador, Guatemala, and Honduras). The
  use of summary proceedings against known
  refugee populations diverts substantial asylum
  office staffing, resources, and time to screen a
  population that will ultimately be largely entitled
  to apply for asylum.




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Introduction                                             other variable, whether they have a lawyer
                                                         determines the outcome of their cases. Asylum
  “I feel like waiting for this long ruined my           law has become even more complex in recent
   life. I feel like I ran from the rain and fell        years, further exacerbating the need for counsel.
   into the sea.”                                        People present in the United States can make an
    –Marcel, a political activist and survivor of        “affirmative” application for asylum to the USCIS
      torture, waited three years for an asylum          Asylum Division, voluntarily coming forward to file
      interview and struggles to maintain hope.          an application. An officer at the Asylum Division
                                                         will interview the applicant and if the officer grants
This report analyzes backlogs in two distinct            the application, the person—who is now an
systems: the U.S. Asylum Division, a division of         “asylee”—can petition for a spouse and children to
U.S. Citizenship and Immigration Services                join him or her in the United States.
(USCIS) within the Department of Homeland
                                                         If the officer does not grant the asylum
Security (DHS), and the immigration court system,
                                                         application, the case will be “referred” to the
managed by the Executive Office for Immigration
                                                         immigration court, where an attorney from U.S.
Review (EOIR) within the U.S. Department of
                                                         Immigration and Customs Enforcement (ICE) will
Justice (DOJ). While the Asylum
                                                         argue for the person’s removal from the United
Division exclusively handles asylum and other
                                                         States and an immigration judge will consider the
protection claims, the immigration courts handle
                                                         asylum case or other available forms of relief from
all types of immigration removal cases. Asylum
                                                         removal. While some affirmative cases referred to
cases have made up approximately 20 percent of
                                                         the immigration court are ultimately denied, a
incoming immigration court caseloads in recent
                                                         significant number are granted by immigration
years. With more than 620,000 removal and
                                                         judges. Thus, referrals to the court do not
asylum cases pending and total wait times topping
                                                         necessarily indicate an unmeritorious claim.
six years, asylum seekers hang in legal limbo—
separated from families, struggling to recover from      If a person is already in active immigration
trauma, and unable to rebuild their lives.               removal (deportation) proceedings, the asylum
                                                         application must be filed directly with the
Seeking asylum in the United States is a complex
                                                         immigration judge, a process known as a
process. Asylum seekers must demonstrate that
                                                         “defensive” application for asylum. An exception
they meet the legal definition of a “refugee”—a
                                                         to this rule exists for unaccompanied immigrant
person unable or unwilling to return to their
                                                         children. If an unaccompanied child is subject to
country of origin because of persecution or a well-
                                                         removal proceedings and files an application for
founded fear of persecution on account of race,
                                                         asylum, the Asylum Division will hear that asylum
religion, nationality, political opinion, or
                                                         case initially. During this time, the immigration
membership in a particular social group. They
                                                         judge may adjourn the hearing to allow time for
must present evidence to support their case and
                                                         the Asylum Division to issue a decision. The judge
convince the decision maker of their credibility,
                                                         will consider the merits of the unaccompanied
often while suffering from trauma and other effects
                                                         child’s asylum case only if the case is not granted
of persecution. The government does not provide
                                                         by the asylum officer and “referred” to the court. 1
legal counsel to indigent asylum seekers, and
many go through this complex process without a           Backlogs in both systems are getting worse. The
lawyer, even as studies show that, more than any         backlog at the Asylum Division is growing at a rate



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of approximately 20,000 cases every three               nation's leading law firms, issued a letter to
months, and the pending caseload at the                 Congress requesting adequate funding to
immigration court has grown by more than 50,000         eliminate the backlog in the immigration courts.
each year since 2013. The courts will soon have
                                                        At the same time, the United States is seeing an
more than 500,000 pending removal cases.
                                                        increase in the number of people seeking asylum.
Without action, the immigration court backlog will
                                                        Global displacement has reached record highs as
grow to more than 1 million by 2022. The Asylum
                                                        wars, conflict, and persecution have caused more
Division is on track to have more than 200,000
                                                        people to flee their homes. The targeted violence
pending cases by December 2016.
                                                        of transnational criminal organizations in Central
Chronic underfunding has caused the immigration         America’s Northern Triangle—Guatemala, El
court backlog to grow at a steady pace since            Salvador, and Honduras—has led to a significant
2008, spiking slightly in 2014 and 2015. Despite        increase in protection requests in the United
the increasingly complex caseloads and demands          States, as well as in other countries. EOIR’s
on judges, the number of immigration judges             decision to prioritize cases of recently arrived
hearing cases grew only from 223 to 254 since           unaccompanied children and families has
2008. Sequestration caused a DOJ hiring freeze          exacerbated the backlog, causing greater delays
from 2011 to 2014, which stymied growth in the          for asylum seekers already awaiting their hearing.
number of immigration judges. EOIR has
                                                        The expansion in the use of expedited removal
recognized the need to improve its hiring process
                                                        beyond ports of entry over the years has also
to get judges on the bench more quickly, and
                                                        added to the backlog. While in 2004 51,014
recently issued a request for proposals (RFP) for
                                                        people were removed via expedited removal, in
an in-depth case processing study that would
                                                        2013 there were 193,032 expedited removals. 3
produce an objective and standardized measure
                                                        DHS has also increased its use of reinstatement
of judicial workloads. 2
                                                        of removal, another form of summary removal.
Numerous groups, editorial boards, and bipartisan       Since 2005, the number of removals based on a
leaders have called for increased funding of the        reinstatement of a final order has increased every
immigration courts. The Bipartisan Policy Center        year. 4
argues, “Funding immigration courts should not be
                                                        Asylum Division officers are responsible for
controversial.” The U.S. Conference of Catholic
                                                        conducting protection screening interviews—
Bishops contends, “The U.S. immigration court
                                                        known as credible fear interviews (CFI) and
system should increase by an order of
                                                        reasonable fear interviews (RFI)—with people
magnitude.” The Houston Chronicle recently
                                                        subject to expedited removal or reinstatement of
explained, “The backlog hurts almost everyone.”
                                                        removal who have indicated a fear of return. In a
Representative John Culberson (R-TX) expressed
                                                        credible fear interview the asylum officer must
his support for increased resources in connection
                                                        determine if there is a “significant possibility” that
to the FY 2016 budget bill: “The funding in this bill
                                                        the person could establish an asylum or
will help reduce the growing backlog of cases that
                                                        withholding of removal claim before an
are holding up our courts and compromising the
                                                        immigration judge. 5 In a reasonable fear interview
rule of law.”
                                                        the officer must determine if there is a “reasonable
In conjunction with the FY 2017 budget the              possibility” of future persecution based on one of
Association of Pro Bono Counsel (APBCo), which          the five protected grounds under the refugee
consists of the pro bono leaders of many of the         definition. 6


                                            HUMAN RIGHTS FIRST
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Since 2009, credible fear and reasonable fear          reflects the increase in displaced people fleeing
interviews have gone up nine and seven fold,           persecution, war, and deteriorating security. 8 The
respectively. While a tripling of affirmative asylum   Asylum Division is on track to receive more than
applications has also contributed to the backlog,      100,000 affirmative asylum applications in FY
the Citizenship and Immigration Services               2016. 9 There have been notable increases in
Ombudsman reports that the Asylum Division             applications from asylum seekers fleeing the
backlog is “largely” a result of the increase in       Northern Triangle. While applications from El
these protection-screening interviews.                 Salvador, Guatemala, and Honduras totaled less
                                                       than 1,900 in FY 2013 (or about 4 percent of the
This report first examines the growing backlogs at
                                                       total number), the Northern Triangle countries
both the Asylum Division and the immigration
                                                       accounted for more than 20,000 affirmative
courts. Projections show that backlogs will
                                                       applications in FY 2015 (or about 25 percent of
continue to balloon, causing lengthening waits for
                                                       total applications). At the same time, an increase
all immigrants with cases pending before either
                                                       in the use of expedited removal and reinstatement
system. Second, the report explains the
                                                       and the increase in CFI and RFI requests have
underlying causes of the backlogs and the
                                                       syphoned Asylum Division resources and
challenges impeding progress. Third, the report
                                                       undercut its ability to adjudicate affirmative asylum
examines the impact of these delays on asylum
                                                       claims.
seekers and pro bono representation. Finally, the
report proposes solutions for eliminating the          A confluence of factors has contributed to the
backlogs in both systems and steps for increasing      increase in the number of credible fear and
efficiency.                                            reasonable fear interviews. The escalation of
                                                       immigration enforcement, the significant
                                                       expansion in the use of expedited removal beyond

The Backlogs–A Ballooning                              ports of entry, and the increased violence pushing
                                                       people to flee are all putting pressure on U.S.
Problem                                                protection screening and adjudication systems.
                                                       The violence in Central America has affected a
The Asylum Division
                                                       wide range of people, including women targeted
The Asylum Division of USCIS is facing a growing       for murder, rape, and domestic violence, LGBT
crisis. Over the last three years, the backlog of      persons, journalists, police officers, and others
affirmative asylum applications has more than          terrorized by transnational criminal organizations
quadrupled, from 32,560 at the end of fiscal year      that sometimes have close ties to government.
2013 to some 144,500 as of March 2016. 7
                                                       Figure 1 depicts the number of reasonable fear
The number of new affirmative asylum                   interviews, credible fear interviews, and
applications grew from 44,446 in 2013 to nearly        affirmative applications filed each fiscal year,
57,000 in FY 2014 and 83,254 in 2015, which,           along with the number of pending cases that
according to UNHCR, is part of a global trend that




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Figure 1: The Asylum Office Backlog 10

 200000
 180000
 160000
 140000
 120000
 100000
  80000
  60000
  40000
  20000
       0
             FY 2009      FY 2010     FY 2011       FY 2012      FY2013       FY 2014      FY2015       FY 2016
                                                                                                       (Projected
                                                                                                         Totals)
               Reasonable Fear Interviews               Credible Fear Interviews
               Affirmative Asylum Applications          Pending Cases at End of FY




remained at the end of each year. 11 In FY 2013               448 officer positions. 15 At current staffing levels,
the number of CFIs more than tripled, and RFIs                the number of pending cases continues to
went up by more than 50 percent. CFIs and RFIs                increase by approximately 20,000 every three
continued to grow in 2014 and 2015, peaking at                months; by the end of 2016 the Asylum Division
51,001 and 9,084 respectively. The Asylum                     could face over 180,000 pending asylum
Division is on track to receive more than 80,000              applications. Even if it is fully staffed at 533
credible fear interviews and more than 8,000                  asylum officers, the backlog will grow at a rate of
reasonable fear interviews in FY    2016. 12   (These         approximately 20,000 cases per year. 16
are only a portion of overall CBP apprehensions.)
                                                              As a result of the growing backlog, most people
As a result of the increasing demands on the                  who file an affirmative asylum application wait two
Asylum Division that stem from the expedited                  years, and many longer, before USCIS asylum
removal process and increasing affirmative                    officers adjudicate their cases. As of February
applications, the number of pending cases                     2016, the asylum office in Los Angeles was
doubled in FY 2013 from 15,526 to 32,560,                     scheduling interviews for asylum applications filed
doubled again during FY 2014, and nearly                      in August of 2011—more than four years ago. Six
doubled in FY 2015, with 108,749 cases pending                of the eight asylum offices across the country are
at the end of that year. By March 2016, some                  scheduling interviews for applications filed more
144,500 affirmative cases were pending before                 than two years ago. 17 For example, the asylum
the Asylum Division. 13                                       office in Miami scheduled interviews in February
                                                              2016 for people who had applied for asylum in
By the end of FY 2015, the Asylum Division had
                                                              May 2013. With the remaining two asylum offices
375 asylum officers, and a budget to grow to 533
                                                              scheduling interviews for applications filed well
officers. 14 This includes a significant increase in
                                                              over one year ago, all asylum offices are
the number of authorized positions since the
                                                              processing cases well over the 45-day statutory
beginning of 2015, when funding provided for just



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Figure 2: Ballooning Backlog without Increase in Immigration Judges 18

                   500000                                                                                            1000
                   450000                                                                                            900
                   400000                                                                                            800
                   350000                                                                                            700
   Pending Cases




                   300000                                                                                            600
                   250000                                                                                            500
                   200000                                                                                            400
                                                                    253 265 258 253 240 256
                   150000   206 208 214 217 215 213 223 210 223 232                                                  300
                   100000                                                                                            200
                    50000                                                                                            100
                        0                                                                                            0




                                      Pending Cases at End of FY            # Immigration Judges




requirement for initial interviews and well over the               New York happens to be the only asylum office
180-day statutory requirement for final                            with minimal responsibilities over immigration
adjudication of an asylum claim at the Asylum                      detention facilities that hold asylum seekers,
Division. 19                                                       meaning it is receives little to no requests to
                                                                   conduct credible fear and reasonable fear
From April 2015, when USCIS began posting
                                                                   interviews. 21
information related to the backlog in an online
bulletin, to March 2016, asylum offices in                         The Immigration Court
Arlington, Chicago, Houston, Los Angeles, Miami,                   The backlog in the U.S. immigration court system
and Newark have made little to no progress in                      also continues to grow. Beginning in FY 2007, the
adjudicating affirmative asylum claims. For                        number of cases pending before the immigration
example, between April 2015 and February 2016                      courts began to rise (in previous years it had
the asylum office in Houston was scheduling                        hovered between 150,000 and 200,000), with the
interviews with applicants who had filed in April or               greatest spikes in FY 2014 and 2015. But the
May 2014. USCIS notes this on the asylum                           number of immigration judges on the bench
bulletin by explaining, “Offices that do not appear                increased only slightly, from 210 in FY 2007 to
to be progressing by filing date […] may have                      256 at the end of FY 2015.
diverted resources to credible and reasonable fear
                                                                   Unable to keep up with the growing demands,
interviews, or be experiencing high volumes in the
                                                                   judges’ caseloads continued to grow, and as of
first two affirmative priority categories, or may
                                                                   February 2016, 480,815 cases were pending. 22
have large numbers of pending category three
                                                                   Based on data provided by Syracuse University’s
[affirmative asylum] cases with filing dates from
                                                                   Transactional Records Access Clearinghouse
that particular month.” 20
                                                                   (TRAC), Human Right First calculates the number
The New York asylum office is the only location
making consistent progress on backlogged cases.


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Figure 3: Predicted Backlog Expansion at Current Prosecutorial, Case Completion, and Staffing
Rates

 1,600,000                                                                                                1000

 1,400,000                                                                                                900
                                                                                                          800
 1,200,000
                                                                                                          700
 1,000,000                                                                                                600
   800,000                                                                                                500

   600,000                                                                                                400
              240     254     254     254        254   254      254     254     254      254     254
                                                                                                          300
   400,000
                                                                                                          200
   200,000                                                                                                100
         0                                                                                                0
             FY 2015 FY 2016 FY 2017 FY 2018 FY 2019 FY 2020 FY 2021 FY 2022 FY 2023 FY 2024 FY 2025

                             Pending Cases at End of FY           # Immigration Judges



of cases pending before the court will soon               As a result of the ballooning backlogs at the
exceed 500,000. The immigration courts in Texas           immigration courts, hundreds of thousands of
and California have the largest caseloads, with           immigrants are in a state of legal limbo for more
89,000 and 81,000 respectively. The number of             than three years on average. The most delayed
cases pending in the Houston court grew from              courts have wait times of four to five years. For
6,423 to 36,136 between 2010 and 2016. In                 example, it will take the Newark court more than
Baltimore, pending cases nearly tripled between           five years to hear currently pending cases. 23 In
2013 and 2016. The Atlanta court, which hears             Texas, immigrants and asylum seekers must now
nearly all cases of immigrants residing in Georgia        wait on average over 1,700 days—nearly five
and Alabama, has experienced more than 100                years—for their cases to be resolved. In Maryland
percent growth, from 6,297 to 12,408 cases in the         they wait nearly two years, in Georgia and
past four years. Six judges in Atlanta handle             Alabama three and a half years, in Arizona more
12,408 cases. In Phoenix, only four immigration           than three years, and in California nearly three
judges handle nearly 10,000 cases.                        years. Since 2014 alone, wait times have grown
                                                          by 34 percent in Houston, 28 percent in Dallas, 20
At current prosecutorial, case completion, and
                                                          percent in Newark, and 15 percent in Baltimore.
staffing levels, the number of pending cases will
                                                          Immigrants in New York can expect to wait at
increase to 504,394 by the end of FY 2016 and
                                                          least two and a half years for the court to consider
will continue to expand unless the federal
                                                          their case.
government takes action. As shown in Figure 3, if
the corps of immigration judges remains at its
current size of 254 judges, the number of pending
cases would reach over 1 million in FY 2022.




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How We Got Here:                                       essential component of enforcement. With an
                                                       appropriate number of judges and staff, cases will
Causes and Challenges                                  be decided in a timely and fair manner.” 27 A
                                                       Georgetown University report concluded:
This section provides a more in-depth analysis of
                                                       “Immigration courts remain chronically
the underlying reasons for the backlogs,
                                                       underfunded, particularly so in comparison to
beginning with the chronic underfunding that has
                                                       increased funding given to other enforcement
plagued the immigration court for years. The
                                                       activities. This has led to a court system that is
expanded use of expedited removal and
                                                       unable to keep pace with heightened demand and
increased demand for protection screening
                                                       extensive backlogs.” David Martin, a law professor
interviews have added substantially to the Asylum
                                                       at the University of Virginia who worked for two
Division’s workload. Finally, shifting docketing and
                                                       Democratic presidents, recently explained: “You
scheduling priorities and hiring and staffing
                                                       fund more investigators, more detention space,
challenges have further exacerbated the problem
                                                       more border patrol; almost all of these are going
and undercut the systems’ ability to stem growing
                                                       to produce some kind of immigration court case.”
backlogs.
                                                       He further pointed out, “You are putting a lot more
Chronic Underfunding                                   people into the system. It's just going to be a big
Congress has continually increased immigration         bottleneck unless you increase the size of that
enforcement budgets to widen the administration’s      pipeline.” 28
capacity to apprehend and prosecute immigrants,        Former Attorney General Alberto Gonzalez
but has not proportionately increased the budget       believes that investing in the immigration courts
for systems charged with handling the resulting        makes fiscal sense. In an August 2014 piece in
cases. 24 Over the last five years, resources for      USA Today, he emphasized that investing in our
immigration enforcement, including Customs and         immigration court system along with broader
Border Protection (CBP) and ICE, have more than        immigration reforms would save money in the long
quadrupled—from $4.5 billion in 2002 to $20.1          run as well as “adhere to our principles of fairness
billion in fiscal year 2016. 25 Funding and staffing   and justice.” 29
for the immigration courts lagged far behind,
                                                       A report issued by the American Bar Association’s
increasing by only 74 percent. 26 Moreover, the
                                                       Commission on Immigration in 2010, authored by
increase in asylum applications associated with
                                                       pro bono attorneys at the law firm Arnold & Porter
rising violence and persecution in Central America
                                                       LLP, concluded: “The EOIR is underfunded and
and a global refugee crisis call for more, not less,
                                                       this resource deficiency has resulted in too few
funding for the bodies that adjudicate these life-
                                                       judges and insufficient support staff to
saving claims for protection.
                                                       competently handle the caseload of the
A wide variety of experts and former government        immigration courts.” The Administrative
officials have expressed concern about this            Conference of the United States (ACUS)
funding imbalance. In a 2015 op-ed, former             confirmed in June 2012 that the immigration court
George W. Bush Administration ICE Assistant            backlog and “the limited resources to deal with the
Secretary Julie Myers Wood noted that the              caseload” present significant challenges. In 2014
backlog undermines both immigration                    two expert roundtables convened by Georgetown
enforcement and due process. She stated,               University’s Institute for the Study of International
“Adequate immigration court staffing is an             Migration called for increased resources for the



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immigration court system to reduce the growing         Northern Triangle, which has led to increased
backlog. 30                                            asylum filings in other countries in the region as
                                                       well. In the first three months of 2015, 23 percent
Beyond chronic underfunding, the automatic
                                                       of the credible fear interviews conducted by the
spending cuts, known as sequester, that
                                                       Asylum Division were for families detained at
Congress passed in August 2011 as part of the
                                                       family detention centers. 34
Budget Control Act led to a hiring freeze at EOIR
from 2011 to 2014. During this period the number       Established by the Illegal Immigration Reform and
of cases before the court grew by 100,000 while        Immigrant Responsibility Act (IIRIRA) of 1996,
the number of immigration judges dropped from          expedited removal is a process by which
265 to 240.                                            immigration enforcement officers, rather than
                                                       judges, order the deportation of certain
The Asylum Division, on the other hand, does not
                                                       individuals. Those potentially subjected to
receive any congressional allocation. Its
                                                       expedited removal include people arriving at ports
resources derive entirely from fees charged by
                                                       of entry, people arriving by sea, and non-citizens
USCIS on other immigration applications. 31 This
                                                       apprehended within 100 miles of any land
largely remained the case even as USCIS was
                                                       border. 35 Originally, expedited removal was
faced with the escalating demands stemming from
                                                       implemented only at ports of entry, but in 2004,
the increased use of expedited removal. In 2011,
                                                       DHS began to expand its use to areas between
Congress appropriated $25 million to the Asylum
                                                       ports of entry. Some people may be subject to
Division after USCIS eliminated surcharges on
                                                       reinstatement of removal if they have had a prior
other immigration applications, which had
                                                       order of deportation. The charging officer may
previously supported the Asylum Division. But the
                                                       invoke either process at their discretion. 36 In
following year, Congress made no allocation and
                                                       recent years, the Department of Homeland
the Asylum Division returned to a system that
                                                       Security has increased its use of expedited
relied solely on USCIS fees, without a
                                                       removal and reinstatement of removal. 37
surcharge. 32 Additional funding, whether from
Congress or USCIS, will be required to grow the        Many groups, including Human Rights First, have
Asylum Division to a sufficient size to begin to       recommended that the administration refrain from
address the backlog.                                   using expedited removal and reinstatement
                                                       against populations largely fleeing persecution,
Expanded Use of Expedited Removal
                                                       both for humanitarian and efficiency purposes. 38
According to the USCIS Ombudsman, “Spikes in
                                                       Likewise, UNHCR has called upon the
requests for reasonable and credible fear
                                                       administration to recognize that the majority of
determinations, which have required the agency
                                                       Central American families and children seeking
to redirect resources away from affirmative
                                                       protection in the United States are part of a
asylum adjudications, along with an uptick in new
                                                       growing regional refugee crisis 39 and eligible for
affirmative asylum filings, are largely responsible
                                                       relief. In 2015, 88 percent of families who had
for the backlog and processing delays.” 33 This
                                                       been placed in expedited removal proceedings
increase in credible fear and reasonable fear
                                                       and expressed a fear of return passed their initial
interviews stems from the Obama Administration’s
                                                       credible fear screenings. 40 Thus, most of the
increased use of expedited removal, particularly
                                                       families placed in expedited removal were
against families traveling with children, and from
                                                       ultimately docketed for a hearing before an
the escalating violence and persecution in the



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                                                                                             AR004250
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immigration judge, arriving where some families            from a “last in first out” to a “first in first out” order.
and people had been placed immediately.                    Although reprioritization guaranteed that the
                                                           longest pending cases would be heard first, the
The use of expedited removal and reinstatement
                                                           overwhelming number of fear screening interviews
also impacts the immigration courts. Immigration
                                                           has largely prevented any progress whatsoever
judges review negative fear determinations and
                                                           on affirmative asylum cases.
hold custody determinations for those subjected to
detention (and people in summary removal                   Hiring and Staffing Challenges
proceedings are normally held in detention, at             Both systems face hiring and staff turnover
least until sometime after fear is established). 41        challenges. The Asylum Division is authorized to
For example, the number of credible fear and               employ 533 asylum officers. As of March 2016, it
reasonable fear reviews completed by the                   had only 447. The Asylum Division indicated that
immigration court increased from 1,126 and 385 in          it aims to fill 90 percent, or 480, of the 533 funded
FY 2010 to 6,345 and 1,710 in FY 2014. 42                  positions by the end of FY 2016. However, the
Priorities Adjustments                                     Division will lose the equivalent of 58 officers to
                                                           refugee resettlement details in coming months,
Modifications to docketing priorities and asylum
                                                           adding to the challenge of creating and sustaining
interview scheduling have also impacted asylum
                                                           a robust corps of asylum officers. 48
seekers’ wait times. In July 2014 the Department
of Justice announced new docketing procedures              Several challenges face EOIR as it works to
to address the “surge of migrants crossing into the        increase the number of immigration judges. At the
U.S.” 43   EOIR re-prioritized its dockets to focus on     end of FY 2015, some 130 immigration judges
cases involving unaccompanied children and                 were eligible for retirement. Due to worsening
adults with   children. 44   This decision, coupled with   working conditions attributable to huge caseloads,
the pre-existing backlog, led the immigration              some experts predict that many will accept the
courts to re-calendar other non-priority cases for         opportunity to retire. 49 Since 2010, EOIR has not
as late as November 2019. 45 An EOIR                       hired more than 39 judges in any given year. 50
spokesperson indicated that these delays were a            With only moderate hiring and regular turnover,
direct result of the decision to shift priorities and      the corps of immigration judges has not
that many cases will be given a different hearing          increased. On February 1, 2015, EOIR swore in
date, some sooner and some later. 46 If current            nine new judges, bringing the total number to 254.
rates remain the same and EOIR does not                    But there were 253 judges in 2010. 51 Due to
significantly expand its corps of immigration              lengthy hiring procedures and trainings, it
judges, many cases will still not be heard by 2019.        generally takes EOIR 10 months, at the very least,
                                                           to process a new judge. 52 Without extensive
The Asylum Division followed suit in December
                                                           improvements to the hiring process, new hires will
2014 by reprioritizing the order in which it
                                                           largely fill positions of retired judges. 53
adjudicates all affirmative asylum claims, including
claims on behalf of unaccompanied children. 47
The Asylum Division now first adjudicates
rescheduled cases, then cases filed by children,
then other pending affirmative asylum applications
in the order they were received. With respect to
this third category, the Asylum Division shifted



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The Human Impact                                         Separated Families Face Ongoing
                                                         Danger
  “It’s not easy to wait. It’s not a little thing,         “They feel like it is a prison, because it is
   it’s your life.”                                         not safe at all to go outside the home, go to
    –Tural, a refugee from Azerbaijan, waited               the city… Every day we worry until my
      over two years for an asylum office                   daughter makes it home from school.”
      interview. He was recently granted
                                                             –Ammar, a Syrian refugee, seeking asylum
      asylum. 54
                                                               in Texas. 58

Nearly every asylum seeker interviewed for this          Asylum seekers often point to family separation as
report invoked the refrain “stuck in limbo.”             one of the most devastating consequences of
Representing twenty-two different countries and a        being stuck in the backlog. When granted asylum,
range of socio-economic backgrounds, those               asylees can immediately petition for their spouse
interviewed discussed the devastating effects on         and children to join them in the United States. 59
their families, the harm to their mental health, and     The family is a protected and fundamental unit of
their inability to move forward with their lives.        society under international law. 60 In a paper
Diana, an asylum seeker from Honduras, has had           prepared for UNHCR, researchers found that
her hearing cancelled three times by the court. “I       “although the right to seek and enjoy asylum in
continue in limbo,” Diana says, “I don’t know if I       another country is an individual human right, the
am beginning or ending, because my next court            individual refugee should not be seen in isolation
date is not until 2017.” 55 Augustin, a torture          from his or her family.” 61
survivor from the Congo (Brazzaville), says, “I feel     Family members often face persecution in their
like what immigration is doing is mental torture.        home countries while awaiting the result of their
When I first arrived I was told it would take two        loved one’s asylum claim. Some are forced into
weeks to get an interview, it took two years and         hiding, others may endure torture by authorities
two months.” 56                                          seeking information about their loved one.
Carlos and Iris, pro-democracy political leaders           Ammar, a Syrian refugee, waits for his
from Venezuela, are stuck in the backlog at the            asylum case as his wife and daughters
Houston asylum office. “It is very difficult to speak      remain trapped in Syria, seeking shelter
about the future here, because we don’t know               from bombs. Ammar fled to the United States
what will come,” they explain. A successful                in October 2013 fearing persecution due to his
business owner and a lawyer, the couple now                refusal to take part in the Syrian war. His wife
struggles to support themselves and their young            and two daughters went into hiding and his
daughter. Having spent their life savings to flee          youngest daughter cannot go to school
Venezuela, Carlos and Iris struggle to rebuild. “If        because it is not safe. His older daughter goes
you had asked my daughter what she wanted for              to school on occasion but he constantly worries
Christmas she would have answered, ‘Mommy I                about her safety. “When you hear every day
just want them to give you your papers.’” 57               from your daughters that ‘we want to come.’
                                                           And they start to cry when they hear the bomb
                                                           noises, and it’s … horrible.” Without a lawyer,
                                                           the Asylum Division referred his case to the




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immigration court, where he was scheduled for           Joshua, a Christian missionary recently
his first court hearing in 2019. His new pro bono       granted asylum, feared for his family’s lives
lawyers are fighting to get an earlier   date. 62       for over three years while they hid from
                                                        Boko Haram. Joshua is a Christian missionary
Jonathan, a Christian pastor in Dallas, TX, is
                                                        and social outreach worker from Nigeria, a
stuck in the backlog while his family is
                                                        husband and the father of young children. Boko
terrorized in the Democratic Republic of
                                                        Haram militants targeted him and his family
Congo (DRC). Jonathan arrived in the United
                                                        because of his religious activities and because
States and sought protection in 2014. He was
                                                        he provided information about Boko Haram
placed in removal proceedings and filed his
                                                        crimes to the police. Joshua fled to the United
application for asylum with the immigration
                                                        States in 2013 after a period in hiding. At his
court, where the first hearing was scheduled for
                                                        first hearing in immigration court in late 2013,
2015. Two weeks prior to the scheduled
                                                        Joshua was scheduled for a hearing on the
hearing, it was canceled and rescheduled for
                                                        merits of his case in March 2016, where he was
2017. “Since I got the letter from the court I
                                                        granted asylum. Joshua’s wife and children are
have not told [my family], because if I tell them
                                                        still in hiding. He continues to fear for their
it will not be good for them,” says Jonathan. His
                                                        safety as he begins the process of petitioning to
wife and five children are still in the DRC where
                                                        bring them to safety in the United States. 65
they have been terrorized by security forces. 63
                                                        Elisa, a female police officer in El Salvador
Khanh, a Vietnamese journalist, is stuck in
                                                        for sixteen years, fled severe domestic
the Los Angeles backlog while his family
                                                        violence but her child remains at risk in her
faces ongoing persecution. After promptly
                                                        home country. To avoid her own death from
filing his asylum application upon arrival in the
                                                        her brutal abuser, Elisa was forced to leave her
United States in 2014, Khanh finds himself in
                                                        two young sons and daughter in El Salvador
the four-year backlog of affirmative asylum
                                                        with relatives. Soon after arriving in the United
cases at the Los Angeles asylum office. A
                                                        States in 2013, just fifteen minutes after her
prominent journalist in Vietnam, Khanh formed
                                                        children had been dismissed from school at the
an organization for journalists reporting on
                                                        end of the day, the director of their school was
stories censored or banned by state-controlled
                                                        killed by gang members. Elisa’s children no
media. “Due to my work while I was in Vietnam
                                                        longer attend school because of the violence
my family had a lot of repression,” says Khanh.
                                                        and avoid going outside for fear of forced gang
Security forces have threated to attack his son,
                                                        recruitment. Elisa was scheduled for a hearing
who has been repeatedly arrested and beaten,
                                                        in 2015, which the court cancelled. She has
and his children are monitored both at work and
                                                        been in the backlog for three years, uncertain
at school. His youngest daughter was followed
                                                        when she will see her children again. 66
and assaulted in front of the family's apartment
building. Absent the successful expediting of
Khanh’s claim, a rare occurrence in Los
Angeles, he can expect to wait years for the
asylum office to hear his claim and give his
family the possibility of relief. 64




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Prolonged Separation Destroys                                Marcel, a political activist and survivor of
Familial Relationships                                       torture, waited three years for an asylum
                                                             interview and struggles to maintain hope.
  “As long as my family is not here I am not
                                                             Marcel was forced to leave his wife and children
   free.”
                                                             in Cameroon after he was tortured on account
     –Richard, an asylum seeker from Togo                    of his political opinions. His family left the
       whose case began in 2013. 67
                                                             capital city and is in hiding in a remote village.
                                                             “My daughter told me two years ago that if my
Long waits can be destructive to asylum seekers’
                                                             father doesn’t come get me, he is no longer my
relationships with family members left behind.
                                                             father.” Marcel does all he can to reassure his
Rogers, an asylum seeker from Uganda, explains
                                                             family that he is still fighting for them to be
how not receiving an interview date from the
                                                             together. Unfortunately, his weekly calls with
asylum office, despite applying in 2013, has
                                                             them have become less frequent. “Whenever I
impacted his relationship with his children:
                                                             call them, they’re crying. I cry, the children cry,
     They miss me, I miss them, and every time I             and it’s really hard to bear that.” After waiting
     talk to any of them they question when I am             three years for an interview, the Asylum
     coming. “Next year...next year…” I tell them.           Division referred his case to the New York
     Sometimes, you cannot explain all these                 immigration court, where he will likely wait
     things on [the] phone to kids so I try to tell          several more years for a hearing. 70
     them “don’t worry I will come ...concentrate …
                                                             Muzi, a father of two and political activist
     go to school… I’ll come for you.” Every day
                                                             from Zimbabwe, sees his relationship with
     you have to find something to tell them. Not to
                                                             his daughters deteriorate. Muzi fled
     keep disappointing them and to keep them
                                                             Zimbabwe after being persecuted for his
     motivated. They are young. Like any parent I
                                                             activities in a political party. Speaking of his first
     have to see them, be with them, talk to them,
                                                             born daughter, Muzi says, “We were like very
     be in their life. I want to be in their life as well.
                                                             good friends ever since she was young, we
     Influence what they become. I want to see
                                                             were always together. It just hit her hard
     them grow. I want to be a factor in their life.” 68
                                                             because she never expected that I would leave,
Thousands of asylum seekers stuck in the                     so after I left it just hurt her heart.” Muzi fears
backlogs want nothing more than to reunite with              that his emotional bond to his daughter is slowly
their children and spouses. As explained by Dr.              breaking while he is stuck in limbo. Muzi filed
Asher Aladjem, Chief Psychiatrist at the                     for asylum in August 2014 with the Houston
Bellevue/NYU Program for Survivors of Torture,               asylum office, which has been scheduling
asylum seekers struggle with “the sense that their           interviews for applications filed in April and May
own lives aren’t only in limbo, but the whole family         2014 for the past 10 months, so it is unclear
and the children and the whole [familial] system             when he can expect his initial interview. 71
that they’re part of is impacted.” 69 Whether a wife
                                                             Richard, an asylum seeker from Togo, has
and child hiding from further persecution or a
                                                             been separated from his wife and children
daughter longing for the love and support of her
                                                             since his case began in 2013. Richard was
father, the innocent victims of excessive delays
                                                             forced to flee Togo due to threats of violence
are commonly those left behind—and the family
                                                             resulting from his political activities. His child
unit itself.
                                                             was just ten months old at the time. Now she is



                                                HUMAN RIGHTS FIRST
                                                                                                  AR004254
                                               IN THE BALANCE 13



  almost four. “I don’t know my child and my child       she often struggles to keep her clients hopeful in
  does not know me,” says Richard, whose                 the face of delays. “It’s hard to show someone a
  relationship with his wife is also affected.           path with a light at the end of the tunnel when you
  Authorities have arrested Richard’s wife several       don’t know how long the tunnel is.”
  times and mistreated her as they questioned
                                                         Dr. Jones explains that the lack of certainty
  her about his whereabouts. “She says if the
                                                         created by extensive delays causes an “acute
  threats continue, she will have to leave me.
                                                         stressor” for asylum seekers remaining in limbo.
  Everything is very confusing to her, she does
                                                         As she states:
  not know how long it’s going to take, how long
  until we see each other again.” 72                         Some people who have been actively shot at,
                                                             or burnt, or raped feel safer. But it’s relative.
Delays have Mental Health                                    It’s great they’re not going to kill me, rape me,
Consequences                                                 or burn me, but what if they send me back?
  “[Waiting] is non-stop pain that cannot be                 Because “what if they send me back” is an
   treated with medicine. We are in a blind                  idea that is very corrosive to the mind and
   spot in the system.”                                      we’re asking them to hold onto that idea for
    – Kashif, a human rights lawyer fighting for             longer. So they don’t feel permanently safe
      rights of persecuted Christians     73                 here—they feel quite insecure. 77

                                                         This insecurity undermines asylum seekers’ ability
Many asylum seekers endured severe
                                                         to begin the process of trauma recovery, and
persecution and frequently endure further trauma
                                                         instead causes some asylum seekers to develop
during dangerous journeys to the United States.
                                                         mental health symptoms they otherwise may not
At their destination, they may experience still
                                                         have experienced. 78 “[The] delay is causing new
more suffering resulting from family separation,
                                                         episodes of depression that weren’t there before –
the inability to work, or discrimination while waiting
                                                         definitely,” says Dr. Jones.
for the outcome of their asylum case. 74
                                                         Several mental health professionals at the
Delays impede asylum seekers’ ability to
                                                         Bellevue/NYU Program for Survivors of Torture
overcome trauma, and may compound it. Several
                                                         observed distinct changes in patients’ mental
studies have shown that extended delays in
                                                         health after they received asylum. “The level of
adjudicating claims—and the resulting uncertainty
                                                         stress diminishes once you get granted asylum,”
in asylum seekers’ futures—are associated with
                                                         Dr. Asher Aladjem explains, “They go to school,
psychological distress “above and beyond the
                                                         they bring their family, they have jobs.”
impact of traumatic events.” 75 Dr. Melba Sullivan,
Staff Psychologist at the Bellevue/NYU Program             Emanuel, an Ethiopian political activist, lost
for Survivors of Torture, observes that prolonged          nearly 30 pounds waiting for his hearing.
delays in the adjudication of asylum claims is an          Emanuel fled Ethiopia after authorities
“ongoing stressor,” causing asylum seekers to              threatened his life for his support of a political
experience prolonged exposure to the trauma                party. He is scheduled for his first master
trigger of uncertainty of future protection. This          calendar hearing in May 2016 after filing for
prolonged exposure impedes all phases of trauma            asylum in 2013, and struggles to manage his
recovery. 76   Kristina Jones M.D., Clinical Assistant     emotions in the meantime. “I don’t even talk to
Professor of Psychiatry at the Bellevue/NYU                my friends, I don’t really talk to people that
Program for Survivors of Torture explained that            remind me [of what I am going through]. I barely


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sleep, I’ve lost like 20 to 30 pounds and lost my        surrounding me, yes I could commit suicide.” 82
appetite for food. I feel like I’m in some kind of       Patrick also suffers from sleep disturbance and
punishment   here.” 79                                   migraines around thoughts of his current
                                                         situation and past traumas. 83
Zahra, who fled Iran after being persecuted
for converting to Christianity, struggles with           Ibrahim, a comedian and political activist
depression and memory problems. Zahra’s                  from the Ivory Coast, had his immigration
case has been pending for six years before the           court hearings canceled twice due to the
Dallas immigration court. Zahra goes to school           court backlogs, resulting in a five-year
but struggles with the mental health                     delay. Imprisoned and tortured in his home
consequences of years in legal limbo. “I am              country for his political beliefs, Ibrahim explains,
going to school, I know the material, but I              “Every time I wake up all I think about is my
forget. I cannot think really well.” Zahra               situation with immigration… I feel like I am in
continues to struggle with depression due to             prison waiting for my sentence.” 84
years of separation from her children resulting
                                                       Delays Complicate Work Authorization
from her prolonged wait in the backlog. 80
                                                         “It is like you want to move forward but
Lionel, a political opposition leader in                  everyone is pushing you back.”
Cameroon, experiences memory loss due to
                                                           –Komi has waited for an asylum office
trauma and extended delays. Lionel said his
                                                             interview since August 2013. 85
friends used to say he had “an elephant
memory,” an assertion supported by Lionel’s
                                                       Asylum seekers are entitled to work authorization
fluency explaining complex topics. “Now, I can’t
                                                       after their case has been pending for 180 days. 86
remember things I said yesterday,” says Lionel.
                                                       The inability to work for at least six months after
Lionel’s case has been pending before the New
                                                       applying for asylum leaves many asylum seekers,
York immigration court for three years, with
                                                       already vulnerable and traumatized, in precarious
three hearings canceled by the court. His next
                                                       situations. Those without means to survive must
hearing is scheduled for October 2016. Lionel’s
                                                       rely on friends, family, or local communities for
wife left him and his brother was killed as a
                                                       support. But many lack support networks and face
result of his political activities, leaving him with
                                                       further abuse and other difficulties in informal or
debilitating guilt and mental health challenges,
                                                       illicit labor markets and tenuous housing. 87 Many
exacerbated by his four-year wait. 81
                                                       become homeless, live in overcrowded or unsafe
Patrick, a survivor of severe torture on               conditions, and lack basic needs like food and
account of his political opinions, struggles           clothing.
with the emotional consequences of three
                                                       Sixty percent of the asylum seekers interviewed
years in the backlog. Patrick fled to the United
                                                       for this report experienced problems either
States in 2013 after suffering torture at the
                                                       obtaining their work authorizations or renewing
hands of his country’s government. Patrick was
                                                       their work permits. For example, a complex
not scheduled for an interview at the Asylum
                                                       system of coding sometimes causes the so-called
Division for over two years. At times he
                                                       “asylum clock” to stop counting toward the
struggles with suicidal ideation. “I am thinking
                                                       required 180 days. 88 Sometimes asylum seekers’
everyday if I can just go and kill myself and be
                                                       “asylum clocks” are erroneously stopped and they
free and have nobody talk about me anymore,”
                                                       might not be able to rectify it until their next
Patrick says. “If there was not people


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hearing. Moreover, while statute requires the           include a notation that they are only valid in
adjudication of the work authorization application      combination with a valid work permit. 93 Without
within 90 days, many asylum seekers and                 valid work authorization, particularly in cities that
immigrants have to wait much longer.     89             have more restrictive laws on issuing
                                                        identification, asylum seekers face obstacles to
The renewal process also creates financial
                                                        accessing transportation and other services,
burdens, challenges with employers, and
                                                        further undermining their ability to survive and
additional possibilities for administrative errors.
                                                        rebuild their lives.
Asylum seekers must renew their work permits
every year while their cases are pending. Each            Eric, a refugee who fled Rwanda due to
renewal costs $380 and permits the applicant to           persecution on account of his sexual
apply three months before their current work              orientation, struggled to sustain himself
authorization expires, ostensibly so that a               despite his professional experience. Eric is a
renewed permit can be delivered before the other          statistician and has experience working for
lapses. 90   With cases pending for multiple years,       international organizations. He applied for
asylum seekers must navigate this process                 asylum in 2013 and was granted asylum in
several times.                                            March 2016, after a three-year delay at the
                                                          Asylum Division. He attempted to find a job
Even those who receive their work permits are
                                                          using his work authorization, but some
sometimes unable to work due to administrative
                                                          employers turned him away due to the
errors. Augustin, a survivor of torture from the
                                                          uncertainty of his future immigration status. “It is
Congo (Brazzaville), was granted a work permit
                                                          hard for any employer to give you a job offer
containing the wrong country of origin. It took nine
                                                          because they need to know you will be there
months for a correction to be made, leaving
                                                          more than one year,” he said. “They are not
Augustin without work authorization for more than
                                                          sure what’s going to happen after the current
a year after he became eligible.
                                                          work permit expires.” 94
Lack of work authorization for extended periods
                                                          Mohammed, a student leader from Sudan,
causes various challenges for asylum seekers as
                                                          survived from donations for more than two
they attempt to survive. Some who were
                                                          years without a work permit. Mohammed
professionals and leaders in their home countries
                                                          applied for his work authorization after the
may be relegated to low-skilled jobs for employers
                                                          required 180 days. For reasons never explained
more willing to accept temporary work
                                                          to Mohammed or his attorneys, his asylum
authorizations that expire each year and often
                                                          clock was stopped at nine days. Despite their
lapse due to delays in the renewal process.
                                                          extensive efforts, Mohammed and his attorneys
Asylum seekers with tenuous work authorization
                                                          could not rectify the mistake prior to his hearing
may also be affected by workplace violations,
                                                          some two years later. Mohammed received his
particularly in low-wage sectors. 91
                                                          work authorization only after his application for
Finally, work authorization provides an asylum            protection was granted. For two years he
seeker the ability to obtain a Social Security            struggled to survive, often having to take
number and a state-issued identification card,            donations from people in the Sudanese
such as a driver’s license. Many states set license       community where he lives in Texas. 95
expiration dates as the same date the work
authorization expires. 92 Social Security cards



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  Laura, persecuted on account of her                      Christian, who fled persecution due to his
  profession in Colombia, remains unable to                sexual orientation, has waited seven years
  reestablish her career while her asylum case             for protection in the United States. Christian
  is pending. A trained nutritionist in Colombia,          fled Cameroon in 2009 seeking protection from
  Laura worked for a major international                   persecution based on his sexual orientation.
  organization running a center for malnourished           The Asylum Division referred his case to the
  children in war-torn areas. Due to her efforts to        immigration court. Two days before the
  provide care to children on both sides of the            scheduled hearing, the court informed Christian
  conflict, she was forced to flee the country and         that his hearing was cancelled, and his next
  seek protection in the United States. Without            hearing was scheduled for December 2018.
  permanent immigration status, she was unable             Christian had dreams of opening his own
  to get certified as a nutritionist in the United         business in the United States, but his ability to
  States, so she went to cosmetology school and            rebuild his life has been stunted by the backlog
  worked in a beauty salon instead. However, her           and the resulting lack of access to higher
  work at the beauty salon ended due to                    education. 99
  problems with her work permit renewal. Despite
                                                           Rogers, a Ugandan social worker, wishes he
  applying on time, Laura’s work permit was not
                                                           could again contribute to the lives of others
  adjudicated within the 90-day statutory period
                                                           through his profession. The Ugandan
  and expired three months ago. 96
                                                           government persecuted Rogers due to his
  Emanuel, Ethiopian political activist,                   political opinion. Despite his desire to continue
  struggles to survive in Dallas. Emanuel                  his education in social work in the United
  struggles to survive while awaiting word on his          States, two community colleges in
  next immigration court hearing. Several                  Massachusetts declined to offer him in-state
  employers turned him away because his work               tuition without permanent immigration status.
  permit expires after a year and renewal is               Massachusetts has not passed legislation
  difficult. “Even after I got my work permit, it’s        extending in-state tuition to immigrants without
  really hard to survive because there are some            permanent status. 100
  jobs I went to apply [for] and they see my work
                                                           Richard, trained as an accountant in Togo,
  permit and they tell me, they don’t hire with a
                                                           faces roadblocks when attempting to go
  work permit.” 97
                                                           back to school in Maryland. Maryland does
Access to Education is Impeded by                          not extend in-state tuition at community
Long Delays                                                colleges to immigrations without permanent
                                                           status who have not attended or graduated
More than half of the asylum seekers interviewed
                                                           from a Maryland high school. 101 “I was
for this report expressed a desire to pursue higher
                                                           interested in going to school but they told me I
education. But thirty-two states do not provide in-
                                                           will not receive any financial aid because I
state tuition rates to certain categories of
                                                           [only] have a work permit,” says Richard. “My
immigrants. 98 Without permanent status, many
                                                           dream job would be like what I did in my
asylum seekers are unable to access in-state
                                                           country: being an accountant.” 102
tuition or financial aid.




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  Komi, a political activist from Togo, applied            of nonprofit organizations, law school clinics, and
  for asylum in 2013 and remains stuck in the              law firm pro bono programs.
  backlog. Komi lost his father in 2005 because
                                                           Long delays in the immigration courts and the
  there was no doctor available to care for him.
                                                           Asylum Division have impaired pro bono legal
  Determined to ensure that others do not endure
                                                           providers’ ability to accept cases for
  such tragedy, Komi decided to pursue a career
                                                           representation. In a survey of 24 pro bono
  in medicine. “I made a decision to go back to
                                                           coordinators at major law firms conducted by
  school,” Komi explains. However, because he
                                                           Human Rights First, nearly 75 percent of pro bono
  does not yet have asylum status, he must work
                                                           professionals indicated that delays at the
  nights as a store attendant to afford the
                                                           immigration court are a significant or very
  tuition. 103
                                                           significant negative factor in their ability to accept
                                                           a case. Attorneys at these law firms represent
                                                           asylum seekers pro bono at their offices across
Delays Impair Access to                                    the country including in Baltimore, Atlanta, San
Representation                                             Francisco, Chicago, Los Angeles, Philadelphia,
                                                           San Antonio, Seattle, New York, Newark, and
  “Without my lawyers I would have died.”                  Washington, D.C. Over 60 percent also see
                                                           recent delays at the Asylum Division as a negative
    –Judith, from Cameroon, was granted
                                                           factor in their firm’s ability to take on cases. Pro
      asylum in Dallas, Texas after a three and
      half year delay. 104                                 bono leaders pointed to the standard turnover of
                                                           attorneys, combined with long wait times for
Legal representation can vastly improve asylum             asylum interviews and final hearings, as the main
seekers’ chances of receiving protection. One              impediment to taking asylum cases. 109
study found that the grant rate at the asylum office
                                                           In conducting research for this report, Human
nearly tripled when people were represented, and
                                                           Rights First interviewed pro bono lawyers and pro
that it went up to nearly 90 percent when asylum
                                                           bono partners at a number of major law firms.
seekers were represented by Georgetown
                                                           One pro bono leader, Harlene Katzman, former
University’s clinical program, one of many law
                                                           president of the Association of Pro Bono Counsel
school clinics that take on asylum cases. 105 A
                                                           (APBCo) and director of pro bono at Simpson
recent analysis of cases involving women with
                                                           Thacher Bartlett LLP, described how asylum
children—largely asylum seekers—demonstrated
                                                           delays are a major threat to the pro bono model of
that legal representation made them seventeen
                                                           representation. Steven Schulman, Partner at Akin
times more likely to get a favorable ruling. 106
                                                           Gump Strauss Hauer & Feld LLP, also noted the
Despite the undisputed importance of legal                 negative impact and re-traumatization on clients
counsel in asylum proceedings, the government              as they are prepped multiple times when hearings
does not generally fund legal representation in            are postponed or cancelled. Katzman found the
asylum and immigration       proceedings. 107   Recent     greatest challenge to be taking on cases with
studies have shown that only 37 percent of                 hearing dates several years away. Associates at
immigrants in immigration court proceedings are            major law firms generally do not remain at the firm
able to secure legal   representation. 108   Indigent      for more than a few years, so cases delayed for
asylum seekers must rely on the limited resources          three to five years must be reassigned. 110




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Moreover, many attorneys who take on a pro               Asylum Division, the Department of Homeland
bono case will not take on other pro bono matters        Security (DHS) and the courts should implement
until the pending case is resolved. Fewer cases          practical measures, such as pre-trial conferences
are being placed, and fewer asylum seekers are           and enhanced case management systems, to
receiving the legal representation necessary to          improve efficiency.
properly present their claims. 111 Nonprofits have
                                                         The Asylum Division
felt the impact of the backlogs on their case
                                                         Human Rights First estimates a total of 700 to 800
management model as well. With fewer cases
                                                         asylum officers are required to eliminate the
placed with pro bono attorneys, some nonprofits
                                                         affirmative asylum backlog and adjudicate all
are managing larger caseloads in house without
                                                         incoming cases within 60 days, if incoming
the additional capacity often provided by firms.
                                                         caseloads remain the same. The Asylum Division
Private immigration attorneys also face new              is on track to meet its goal of filling 90 percent, or
obstacles due to the backlog and extended wait           480, of the available 533 positions. At 2016 CFI,
times. “It makes it very hard to practice both           RFI, and affirmative application rates, 272 asylum
financially, and ethically and morally,” explains        officers would be needed to adjudicate CFI and
prominent private immigration attorney Cheryl            RFI protection screenings alone. 114 Based on a
David. Managing cases has become challenging             case completion rate of 328 affirmative asylum
for private lawyers who must keep in contact with        interviews per year per officer, if the Asylum
their clients without being able to take any             Division were fully staffed at 533 positions
concrete steps on their case for many years. 112         (leaving 261 officers available for affirmative
Law school clinics also report wasted resources          asylum interviews), the Division could complete
and concerns about clients’ re-traumatization            85,608 cases per year. With new affirmative
when they repeat their stories to new students. 113      asylum applications predicted at 105,000 for FY
                                                         2016, the backlog will continue to grow by
                                                         approximately 20,000 cases per year unless
Addressing the Backlogs                                  additional asylum officers are added.

                                                         The Asylum Division should hire 53 additional
First and foremost, the United States immigration
                                                         asylum officers in FY 2017, growing its corps of
and asylum systems require an injection of
                                                         officers to the fully funded 533 positions. In the
resources to protect the integrity of the system
                                                         meantime, the backlog will grow to over 210,000
and the rights of those seeking asylum.
                                                         by the end of FY 2017. If funding for 117
Recognizing the problem, leaders from both
                                                         additional positions were added in FY 2018 and
parties, including Senators Richard Shelby (R-AL)
                                                         those positions were filled bringing the total to 650
and Barbara Mikulski (D-MA), and
                                                         officers, the backlog would begin to decrease by
Representatives John Culberson (R-TX) and
                                                         some 8,000 cases per year. If an additional 50
Michael Honda (D-CA), passed the FY 2016
                                                         officers were added in FY 2019, bringing the total
budget that funded an additional 55 immigration
                                                         to 700, the backlog would be eliminated by FY
judge teams. But additional resources will be
                                                         2025. Or, if 150 new officers were funded and
needed to eliminate the backlogs and promptly
                                                         added in FY 2019 bringing the total to 800
adjudicate cases. The Asylum Division also needs
                                                         officers, the backlog would be eliminated by FY
increased staffing. In addition to increasing the
                                                         2022, and all new cases would be adjudicated
resources of the immigration courts and the



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within 60 days. A detailed breakdown of these                based on the experiences of judges and
calculations is provided in Appendix II.                     administrators, the need for available docket
                                                             space within eight to twelve months, the need for
Beyond increasing the number of asylum officers
                                                             immigration judges to have sufficient time off the
at the Asylum Division, the Obama Administration
                                                             bench to consider and decide cases. NAIJ also
should consider reducing the use of expedited
                                                             points to the caseloads of district court judges,
removal against families or other populations that
                                                             social security judges, and Veterans Affairs
have high percentages of asylum seekers. The
                                                             Appeals Board members to support their assertion
Asylum Division recently indicated that absent the
                                                             that 500 cases completed per year is the more
increase in credible fear and reasonable fear
                                                             appropriate workload for immigration judges. 119
interviews, at FY 2013 staffing levels, a backlog
would have still developed “but nowhere close to             If Congress funds and EOIR staffs an immigration
the size of the current   backlog.” 115                      court with 524 judges by the end of FY 2019, and
                                                             immigration judges incrementally move toward the
The Immigration Court
                                                             recommended 500 case completion rate per
Human Rights First estimates that 524
                                                             judge, the court will be free from the backlog,
immigration judges are needed to eliminate the
                                                             adequately staffed, and adjudicating incoming
current backlog and adjudicate new cases within
                                                             cases within one year on average. 120 As shown in
an average of one year. 116 As of February 2016,
                                                             Figure 4, the backlog will begin to decrease in FY
there were 254 judges employed by EOIR, and
                                                             2018 and will be eliminated by FY 2023. Appendix
funding allocated for 374 judges. 117 Filling the 120
                                                             III provides a complete explanation of this
vacant positions and allocating funds for an
                                                             calculation. Assuming immigration prosecutions,
additional 150 judges would produce the 524
                                                             case completion rates, and other factors remain
judges needed to eliminate the backlog and
                                                             the same, after FY 2024 EOIR would be well
promptly adjudicate incoming cases.
                                                             equipped to avoid a backlog, process cases in a
Expectations related to the rate at which judges             timely fashion, and deal with moderate
adjudicate or complete cases—called “case                    fluctuations in new cases without developing a
completion rates”—are a determining factor in                new backlog. 121 Working conditions of judges
predicting the right court size. In FY 2015 judges,          would also improve, potentially leading to
on average, completed some 777 cases.                        longevity and efficiency. Appendix III provides a
However, this completion rate remains higher than            detailed description of the calculations behind this
that of any other comparable judge. Experts                  three-step recommended course of action: hiring
indicate that current caseloads are untenable for            all currently funded immigration judge positions by
immigration judges and lowering judicial                     the end of FY 2017, allocating funding for and
caseloads would lessen judge       turnover. 118   A case    hiring an additional set of 75 judges in FY 2018
completion rate of 500 cases per judge per year              and again in FY 2019, and incrementally lowering
has been recommended by experienced                          judges’ average case completion rate to 500
immigration judges. The National Association of              cases per year.
Immigration Judges (NAIJ) recommends this rate




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Figure 4: Recommendation for Eliminating Backlog by FY 2023

                   600,000
                                                                      524     524     524     524     524      524
                   500,000                                    449




                                                                                                                         Immigration Judges
                                                                                                  Backlog
   Pending Cases



                                                      374
                   400,000                                                                        Eliminated
                                               315
                   300,000    240     256

                   200,000

                   100,000

                        0
                             FY 2015 FY 2016 FY 2017 FY 2018 FY 2019 FY 2020 FY 2021 FY 2022 FY 2023 FY 2024 FY 2025

                                            Pending Cases at End of FY            # Immigration Judges



Improving System Effectiveness and                                       list” allowing for prepared applicants to be called
Measures to Advance Pressing                                             when other interviews are cancelled. While
Humanitarian Cases                                                       challenging for pro-bono counsel to be available
                                                                         on short notice, this mechanism provides a means
To eliminate the current backlogs and establish
                                                                         for some asylum seekers to receive a more timely
capable asylum and immigration systems,
                                                                         interview. It is not used in all offices. However, the
additional funding and increased staffing are
                                                                         Asylum Division has indicated that the short list
required. Adequately staffed systems with
                                                                         could be implemented across the country. Short
proportionate workloads will maximize effective
                                                                         lists are also efficient, ensuring that no available
resource allocation, promote a fair and efficient
                                                                         interview slot is left empty.
process, and limit staff turnover. A number of
additional steps are also necessary to improve                           Immigration courts could institute an approach
efficiency, supporting the progress resulting from                       similar to the short list across all immigration
the injection of resources and further expediting a                      courts. Such a list would include any person
fair and robust review of each case. These steps                         whose counsel has requested an earlier merits
are not, however, a substitute for adequate                              hearing for humanitarian purposes and has
staffing levels. Human Rights First is preparing                         prepared and filed all evidence. When
more detailed recommendations for needed                                 cancellations occur, those on the list can be
administrative adjustments.                                              offered an earlier hearing. However, any such
                                                                         process should assure adequate notice of hearing
Humanitarian Priorities: Because backlogs are
                                                                         dates to allow for case preparation.
likely to persist while Congress appropriates
necessary resources, it is important for effective                       EOIR currently has no effective mechanism for
humanitarian mechanisms to be in place to                                seeking and receiving an expedited hearing even
facilitate timely hearing dates and interview dates                      in cases where humanitarian hardships are clear
in cases involving pressing circumstances—such                           and well-documented. Motions to advance often
as when a spouse and children are stranded                               go un-decided or judges simply do not have
abroad in dangerous circumstances. The Asylum                            docket space to grant such motions. EOIR should
Division employs, in some of its offices, a “short                       establish a fair and efficient process for deciding




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cases with serious and imminent humanitarian              case. Current practices in most courts do not
concerns. Such a process might include                    allow pre-hearing discussions to occur until a few
designating certain judges to decide motions for          weeks prior to the hearing when a DHS attorney is
humanitarian expedition or a separate magistrate          assigned to the case. Adjustment in DHS policy to
to hear motions to advance hearing dates.                 ensure a trial attorney is assigned to every case at
                                                          all times would facilitate additional opportunities
Pre-Trial Conferences: With regard to the
                                                          for pre-hearing stipulations and agreements. 127
immigration courts, in 2014 the National
                                                          Appleseed suggests that DHS should “re-define
Immigrant Justice Center (NIJC) released a study
                                                          the mission of Trial Attorneys to seek justice, not
on ways to improve the efficiency and fairness of
                                                          only removal [and] [h]old Chief Counsel Offices
the immigration court system. NIJC calls for
                                                          accountable for implementation of prosecutorial
changes that would increase immigration judges’
                                                          discretion in every context.” 128 ACUS has also
ability to make decisions with sufficient time and
                                                          recommended amending the Immigration Court
information, thus capitalizing fully on resources.
                                                          Practice Manual to “explicitly include best
NIJC and other groups have called for increased
                                                          practices for the activities of trial counsel in
use of pre-hearing conferencing and other
                                                          immigration removal proceedings.” 129 Such
mechanisms for narrowing the issues for trial, thus
                                                          adjustments would further facilitate the use of
taking up less hearing time and leaving more time
                                                          mechanisms for humanitarian prioritization in that
for the adjudication of additional cases. 122
                                                          the trial attorney would be assigned to the case
Immigration judges have the legal authority to
                                                          for a longer period and therefore be more likely to
require pre-hearing stipulation of facts through
                                                          limit issues requiring judicial review, meaning that
pre-hearing conferences. 123
                                                          trail attorneys would be more ready and able to
A 2009 memorandum from EOIR headquarters                  prepare for “short list” cases.
reminded immigration judges of their ability to
                                                          EOIR Case Management System: EOIR and
require such conferences and stated that judges
                                                          stakeholders also point to the need to modernize
should “encourage pre-hearing conferences
                                                          the immigration courts’ case management system
between the parties to narrow the issues and to
                                                          and implement an electronic document filing
prompt the timely submission of evidence, which
                                                          system. 130 Electronic filings and calendaring
fosters more efficient proceedings and more
                                                          improvements would facilitate the reallocation of
efficient use of limited pro bono resources.” 124 A
                                                          staff and resources away from organizational
2009 study and 2012 follow-up report issued by
                                                          tasks more efficiently managed by technology
the Appleseed Network also called on EOIR to
                                                          upgrades. In his December 2015 testimony before
require counsel to “meet and confer before a
                                                          Congress, EOIR Director Juan Osuna stated,
hearing, and file a joint pre-hearing statement
                                                          “EOIR is actively evaluating how to best update
demonstrating how they have narrowed the
                                                          our case management and other electronic
issues.” 125 The Administrative Conference of the
                                                          databases to enable the agency’s adjudicatory
United States (ACUS) also recommended a pilot
                                                          components to manage their workload in a more
project to evaluate the effectiveness and feasibility
                                                          efficient manner.” 131
of mandatory pre-hearing conferences to be
convened in specified categories of cases. 126            Asylum Division: The attrition rate of asylum
                                                          officers may lessen the efficiency of the division.
DHS Attorney Responsibility: One obstacle to
                                                          The USCIS Ombudsman recognizes that “even as
the use of pre-hearing conferences is the length of
                                                          newly authorized officers are hired and trained,
time DHS trial attorneys remain unassigned to a


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the departure of more seasoned officers                  backlog as a challenge for the removal system,
compromises USCIS capacity to efficiently meet           stating: “Some unauthorized migrants may benefit
its caseload and reduce the affirmative asylum           from the delays and remain longer in the country
backlog.” 132   The Asylum Division’s hiring             than they should, but those with legitimate
philosophy has long been to get the most capable         grounds for relief from removal, such as many
and promising applicants. However, this hiring           asylum seekers, remain in limbo for unnecessarily
practice means many officers quickly move on to          long periods.” Wheeler and Benson concluded,
higher positions with the government, leaving less       “There can be no effective and fair enforcement of
experienced officers on the front line of case           our immigration laws if the immigration courts
adjudication. Despite the potential inefficiency         cannot keep up.” 133
inherent in staff turnover, the Asylum Division has
                                                         In a 2015 article, the Bipartisan Policy Center
proved its hiring can keep up, as the Division had
                                                         concluded, “More judges would reduce the
significantly expanded its corps in the past year.
                                                         backlog, which would allow the enforcement
Further investigation is required to fully measure
                                                         system to function more efficiently and help
the impact staff turnover may have on the overall
                                                         migrants receive a fairer hearing.” 134 Former ICE
efficiency of the Asylum Division, and multi-year
                                                         Assistant Secretary Julie Myers Wood wrote, in a
planning to ensure hiring rates keep up with
                                                         2015 op-ed, “People who have no legitimate claim
attrition will be key.
                                                         for relief languish in the system—and in the
                                                         country—at taxpayer expense. At the same time,
                                                         people with strong claims—including those fleeing
Maintaining the Integrity of                             persecution—now often wait years for their day in
the Immigration Removal                                  court.” 135

and Asylum Systems                                       If the backlogs in the asylum and immigration
                                                         court systems are not addressed, they could leave
A number of experts have expressed concerns              these systems vulnerable to abuse. In the early
that unaddressed backlogs could undermine the            1990s, the asylum system was under-resourced
integrity of the immigration removal system.             and under-staffed. The number of asylum filings,
Russell Wheeler and Lenni Benson, retained by            prompted by civil wars and human rights abuses
the Administrative Conference of the United              in Central America, increased. With the settlement
States to study the immigration court system,            of a class-action lawsuit and continued insufficient
described a number of ways in which immigration          staffing, a large backlog of asylum cases grew.
court understaffing and delays can undermine the         Seeing an opportunity to exploit the system, some
integrity of the immigration enforcement system.         ill-intentioned lawyers and others advised people
In a 2012 report, they point out, “Excessive delay       that they could simply sign a form that would
degrades adjudication as memories fade,” and,            immediately give them work authorization and
“delay becomes a goal for some with no legitimate        allow them to stay in the United States for years.
claims to legal status, because it lets them remain      The backlog that grew was devastating to those
in the country for up to several years while their       with bona fide asylum applications, who were left
cases wait in the court queue.”                          in limbo and separated from their children and
                                                         families for years. According to statistics issued by
A 2014 report by experts at the Georgetown
                                                         the former Immigration and Naturalization Service
University Institute for the Study of International
Migration also identified the immigration court


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(INS), there were some 425,000 asylum cases
                                                         Domestic and International
pending by the end of fiscal year 1994. 136
                                                         Legal Implications
In response, INS revamped the system. Under the
new procedures, asylum officers adjudicated              Article 14 (1) of the Universal Declaration of
cases within a few months of affirmative asylum          Human Rights states, “Everyone has the right to
filings (rather than after years of waiting in the       seek and to enjoy in other countries asylum from
backlog), and those not granted protection were          persecution.” 141 The cornerstone of the refugee
promptly referred into immigration court                 protection regime is the principle of “non-
deportation proceedings. To enable this timely           refoulement,” which prohibits the return of
adjudication, the number of asylum officers was          refugees to persecution. This obligation is
doubled and the number of immigration judges             contained in the 1951 Convention Relating to the
was increased through the 1994 Violent Crime             Status of Refugees and its 1967 Protocol. The
Control and Law Enforcement      Act. 137   The new      United States is a party to the Protocol and has
procedures also took away the provision of               committed to comply with the Convention’s
automatic work authorization immediately upon            protections for refugees. 142 UNHCR has stated
the filing of an asylum application, blocking            that asylum applications should be processed in a
access to work authorization for at least six            timely manner, condemning nations that do not
months. 138   This move has left many legitimate         have a just and efficient asylum processing
asylum seekers and their families in dire                system. 143
circumstances, struggling to survive for months
                                                         The International Covenant on Civil and Political
while they await adjudication of their cases. 139
                                                         Rights (ICCPR), which the United States has
Government officials believed this reform was            signed and ratified, preserves the right of access
necessary to protect the asylum system from              to the court in Article 14. The United Nations
abuse. Several years later, INS officials                Human Rights Committee (HRC), established to
documented the success of these reforms. 140 Yet,        monitor implementation of the ICCPR, says, “an
even after the problems had been rectified, the          asylum seeker must be allowed sufficient time to
impression that the system was in disarray was           lodge their claim and conversely access to asylum
hard to correct, and this ultimately contributed,        procedures must be granted within a reasonable
along with other developments, to the push for           time.” 144 Relatedly, the committee also states, “An
harsh legislation passed in 1996 that dramatically       important aspect of the fairness of a hearing is its
affected access to asylum for legitimate asylum          expeditiousness.” 145
seekers with well-founded fears of persecution.
                                                         Applying the importance of expeditiousness to
These experiences suggest that prompt action
                                                         civil proceedings, which encompass civil
should be taken to tackle backlogs before they
                                                         immigration matters, the committee says, “delays
can make systems vulnerable to abuse.
                                                         in civil proceedings that cannot be justified by the
                                                         complexity of the case or the behavior of the
                                                         parties detract from the principle of a fair
                                                         hearing.” 146 It further clarified that where “delays
                                                         [in civil cases] are caused by a lack of resources
                                                         and chronic under-funding, to the extent possible
                                                         supplementary budgetary resources should be




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allocated for the administration of justice.” 147 The       According to the U.S. Government Accountability
application of these principles is illustrated by the       Office (GAO), as of September 2015, 61 percent
committee’s 2003 review of Russia, when it                  of the over 100,000 pending applications at the
concluded that the two-year delays in asylum                asylum office have exceeded the 180-day
adjudications were of particular       concern. 148         requirement. 156 From 2010 to 2014 the number of
                                                            affirmative asylum applications adjudicated past
Other countries that receive high numbers of
                                                            the 180-day requirement nearly doubled. 157
asylum seekers have time limits to adjudicate
claims. In 2013, the European Parliament and the            For asylum cases adjudicated before the
Council of the European Union issued a directive            immigration courts, there is no statutorily imposed
of common procedures for granting and                       timeline. However, constitutional due process
withdrawing international protection. 149 Member            rights may demand the need for additional
states were instructed to “ensure that examination          resources for the immigration courts, such that
procedures are concluded within six months of the           cases can be afforded adequate consideration by
lodging of the   application.” 150   Under limited          judges with caseloads that allow for fair and
circumstances, the state is allowed to extend the           meaningful adjudication. The Immigration and
processing time to “a period not exceeding a                Nationality Act includes a guarantee that “the alien
further nine   months.” 151   Furthermore, the directive    shall have a reasonable opportunity to examine
sets an absolute maximum limit for adjudication of          the evidence against the alien, to present
21 months from the lodging of the application. 152          evidence on the alien’s own behalf, and to cross-
                                                            examine witnesses presented by the
U.S. asylum law developed from international law
                                                            Government.” 158 The Seventh Circuit indicates
instruments, primarily the 1967 Protocol which the
                                                            that immigration court procedures “must satisfy
United States embraced in 1968. To fulfill its
                                                            currently prevailing notions of fairness.” 159 That
international obligations under the 1967 Protocol,
                                                            court has also characterized the due process
Congress enacted the Refugee Act of 1980, which
                                                            rights of immigrants to include the right to
incorporated key provisions of the Refugee
                                                            “meaningfully present” evidence in a “meaningful
Convention into the Immigration and Nationality
                                                            way.” 160 Scholars argue that in order for judicial
Act. Importantly, the Refugee Act incorporated the
                                                            fact-finding to be conducted in a meaningful way,
refugee definition from the Convention and
                                                            immigration judges must have sufficient time to
established uniform procedures for the treatment
                                                            review documentation and access witnesses. In
of asylum claims in the United States. 153
                                                            an interview conducted by Dr. Alicia Triche and
U.S. law provides two indications of time                   published in 2015, Judge Dana Marks, president
limitations on the initial adjudications of asylum          of the National Association of Immigration Judges,
claims. First, initial interviews or hearings on            indicated the following:
asylum applications “shall commence no later
                                                                A typical workweek includes 36 hours on the
than 45 days after the date an application is filed,”
                                                                bench and a meager four hours of time spent
in the absence of exceptional circumstances. 154
                                                                in chambers. That is four hours to review
Statute also dictates that in the absence of
                                                                documentation for every individual case
exceptional circumstances, final administrative
                                                                occurring that week—a total that, especially if
adjudication of the asylum application, not
                                                                a law school or large firm is involved, can
including administrative appeal, shall be
                                                                span hundreds or even thousands of
completed within 180 days after the date an
                                                                pages. 161
application is filed.” 155


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Limited time to review complex cases with often
                                                        Conclusion
life threatening implications leads Judge Marks to
characterize immigration court as “death penalty        Protecting refugees is a core American ideal,
cases in a traffic court setting.” 162 Ballooning       central to the country’s identity and history. As the
backlogs cause immigration judges to face a             asylum and immigration court systems struggle
growing number of pending cases, and increased          with large backlogs, those who need America’s
pressure to examine them as expeditiously as            protection suffer in a state of perpetual limbo. For
possible. The large caseloads threaten the              thousands of asylum seekers, permanent
fundamental fairness required by due process.           protection in the United States is key to security
                                                        and freedom from future persecution—protection
                                                        now on hold for hundreds of thousands.

                                                        Uprooted by persecution, asylum seekers in the
                                                        United States fully expect to struggle as they
                                                        rebuild their lives. Yet extended delays in their
                                                        cases make this struggle at times insurmountable.
                                                        Unable to reunite with their family or work or
                                                        pursue an education or overcome the trauma of
                                                        their persecution, asylum seekers must simply
                                                        subsist for years—their lives hanging in limbo.

                                                        Continued and strengthened bipartisan support
                                                        will be essential to secure the vital resources
                                                        needed to reduce and ultimately eliminate the
                                                        growing backlogs at the Asylum Division and
                                                        immigration courts. The human rights of asylum
                                                        seekers and the very integrity of the United States
                                                        immigration system are at stake.




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Appendix I: Methodology                                law firm attorneys, law school clinical instructors,
                                                       and private attorneys. Practitioners were asked to
This report compiles research and analysis             comment on the impact of the backlogs on asylum
conducted by Human Rights First on the backlogs        seekers and their own practices. To further
and delays in the U.S. asylum and immigration          investigate the impact of delays on pro bono
court system. It draws from Human Rights First’s       representation models, Human Rights First
40 years of experience providing legal                 worked with Simpson Thacher & Bartlett LLP to
representation through a vast pro bono network to      distribute a survey to pro bono professionals
tens of thousands of people fleeing persecution.       across the United States, and received 24
Currently Human Rights First, along with its pro       responses.
bono partners, represents over 300 asylum              The authors of this report also reviewed a wide
seekers in the immigration court, and 255 asylum       range of literature, including government and
seekers before the Asylum Division of USCIS.           news reports, statistical reports, and academic
Human Rights First conducted in-depth, in-person       and law review articles. Experts in refugee law,
interviews between September 2015 and January          immigration policy, federal legislation, mental
2016 with 34 asylum seekers who had                    health and physical health, and government
experienced delays in the courts and/or the            officials were consulted throughout the research
Asylum Division. The study participants were           and drafting of the report. The report also includes
identified through outreach to Human Rights            an analysis of public source data and information
First’s Refugee Representation staff, as well as       received through direct communications with
attorneys at other leading nonprofit organizations     agency leadership.
that work with refugees, including the
Bellevue/NYU Program for Survivors of Torture,
the Human Rights Initiative of North Texas, and        Appendix II: Asylum Division
the Tahirih Justice Center. Attorneys were asked
                                                       Backlog Calculations
to identify clients who had waited at least one year
for an asylum interview or hearing. Of the 34          About the Data: Assumptions and Gaps
asylum seekers interviewed, 18 had been waiting
                                                       Calculations regarding the backlog at the Asylum
more than three years. Study participants lived in
                                                       Division are based on data provided by the
different parts of the United States, with 13 in
                                                       Asylum Division at quarterly stakeholder
Texas, eight in the Washington, D.C. area, nine in
                                                       meetings, which are publicly available on the
the New York City area, two in Los Angeles, one
                                                       USCIS website. Human Rights First sought
in Boston, and one in Pennsylvania. Countries of
                                                       additional information related to asylum officer
origin included Afghanistan, Azerbaijan,
                                                       caseloads, case completion rates, and hiring
Cameroon, Colombia, Congo (Brazzaville),
                                                       challenges in a meeting with Asylum Division
Democratic Republic of Congo, El Salvador,
                                                       senior leadership.
Ethiopia, Honduras, Iran, Iraq, Ivory Coast,
Pakistan, Rwanda, Sudan, Syria, Togo, Uganda,          The total number of asylum officers required to
Venezuela, Vietnam, Yemen, and Zimbabwe.               deal with current caseloads is likely higher than
                                                       predicted by this report. For simplicity Human
Human Rights Frist conducted interviews with 17
                                                       Rights First assumes full production from each
practitioners who provide services to asylum
                                                       asylum officer based on ideal case completion
seekers, including mental health professionals,


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rates provided by the Asylum Division. In reality,       on a case completion rate of 353 credible fear
the Asylum Division takes into account a number          interviews per officer per year and a case
of factors that likely reduce the projected output of    completion rate of 200 reasonable fear interview
an asylum officer. These factors include staffing        per officer per year. To determine the number of
unavailability, including attrition rates, trainings,    asylum officers needed to handle all CFI and RFI
union duties, special projects, and refugee details.     requests, the following calculation was used:
Therefore, the Asylum Division will require              (annual number CFI requests) / (CFI completion
additional officers to account for the difference in     rate per officer) + (annual number of RFI
case completion and availability of officers as a        requests) / (RFI completion rate per officer) = total
result of these factors.                                 number of asylum officers required to complete all
                                                         CFI and RFI requests for the year.
Defining the Backlog: This report refers to the
number of pending cases before the Asylum                Incoming Affirmative Asylum Application
Division as the “backlog.” However, the Asylum           Workloads and Completion Rates:
Division is expected to have a number of cases           The calculations in this report assume a steady
pending based on normal circulation of cases             incoming affirmative asylum application rate of
through the system. The calculations in this report      105,000 per year, based on FY 2016 first quarter
assume that the Asylum Division should interview         statistics and information provided by senior
affirmative asylum applicants within 60 days of          Asylum Division leadership. Case completion
receiving their application. 163 Therefore, the          rates for affirmative asylum applications are eight
Asylum Division should never have more cases             cases per week over 41 weeks per year, or 328
pending than it can complete within 60 days              cases per year. This report calculates the number
(assuming a rate of 8 cases per week per officer         of asylum officers needed to complete affirmative
working 41 weeks a year). This number will               asylum interviews with the following formula:
fluctuate depending on the number of asylum              (annual number of affirmative asylum
officers available to complete affirmative asylum        applications) / (affirmative case completion rate) =
applications. For example, in FY 2016, an                total number of asylum officers needed to
estimated 103 officers will be available for             adjudicate affirmative asylum applications.
affirmative asylum adjudications; at this size the
                                                         Calculating Pending Affirmative Asylum
Asylum Division can complete around 6,500
                                                         Applications:
cases in 60 days, meaning all other pending
applications are considered backlogged.                  Human Rights First predicts the number of
                                                         pending cases at the end of the fiscal year by
Incoming Credible Fear and Reasonable Fear
                                                         adding the number of pending affirmative asylum
Workloads and Completion Rates:
                                                         applications at the end of the prior fiscal year to
The calculations in this report assume the Asylum        the number of new applications received that
Division will receive 80,000 CFI requests and            year, minus the number of completed affirmative
9,000 RFI requests each year, based on 2016              asylum applications. Completed affirmative
projections provided by senior Asylum Division           asylum applications are calculated based on the
leadership. Human Rights First requested                 total number of asylum officers on staff, minus the
information related to case completion rates from        number of asylum officers required to complete
Asylum Division senior leadership and was                CFIs and RFIs, multiplied by the affirmative case
provided such information at a meeting on March          completion rate. The formula used is: (pending at
25, 2016. All calculations in this report are based


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end of prior FY) + (new applications received) -
(cases completed) = pending cases at end of FY.
To arrive at cases completed during the year, the
formula used is: (total number of asylum officers
on staff) - (total number of asylum officers
required to complete all CFI and RFI requests for
the year) x (328 cases per year) = Number of
affirmative asylum applications completed.




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           Figure 5: Projected Asylum Division Data based on Recommended Increase in Asylum Officers


                                          Total AOs                                               # Officers    # AOs                                        Pending
                        Additional        at                                                      Required      Available                    New             Affirmative
                        Asylum            Beginning    Total AOs       New CFI      New RFI       for           for           Affirmative    Affirmative     Asylum
                        Officers          of Fiscal    at End of       Requests     Requests      CFI/RFI       Affirmative   Cases          Asylum          Cases at End
                        (AOs)             Year         Fiscal Year     Per Year     Per Year      Requests      Cases         Completed      Applications    of FY *
             FY 2015                 0           350            375        80,000         9000           272             78        25,706         105,000          108,749
             FY 2016               105           375            480        80,000         9000           272            103        33,906         105,000          179,843
             FY 2017                 53          480            533        80,000         9000           272            208        68,346         105,000          216,498
             FY 2018               117           533            650        80,000         9000           272            261        85,730         105,000          235,768
             FY 2019               150           650            800        80,000         9000           272            378       124,106         105,000          216,662
             FY 2020                 0           800            800        80,000         9000           272            528       173,306         105,000          148,356
             FY 2021                 0           800            800        80,000         9000           272            528       173,306         105,000           80,051
             FY 2022                 0           800            800        80,000         9000           272            528       173,306         105,000           11,745


           If the Asylum Division grows to 700 asylum officers by the end of FY 2019 the backlog will be eliminated in FY 2025

            FY 2019                  50         650             700        80,000         9000           272           378         124,106         105,000         216,662
            FY 2020                   0         700             700        80,000         9000           272           428         140,506         105,000         181,156
            FY 2021                   0         700             700        80,000         9000           272           428         140,506         105,000         145,651
            FY 2022                   0         700             700        80,000         9000           272           428         140,506         105,000         110,145
            FY 2023                   0         700             700        80,000         9000           272           428         140,506         105,000          74,639
            FY 2024                   0         700             700        80,000         9000           272           428         140,506         105,000          39,133
            FY 2025                   0         700             700        80,000         9000           272           428         140,506         105,000           3,628

           *The backlog will be eliminated when the number of pending cases falls below the number of affirmative asylum applications available officers can complete within
           60 da ys.




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Appendix III: Immigration                             judges, the backlog would be eliminated by the
                                                      end of FY 2023 when the pending cases drop
Court Backlog Calculations                            below 262,000 for the first time. This presumes
                                                      incoming caseloads do not dramatically increase
All data related to the immigration court backlog
                                                      and case completion rates are adjusted as
came from the Transactional Records Access
                                                      illustrated in Figure 6.
Clearinghouse (TRAC) of Syracuse University,
which analyses and publishes immigration court        Incoming Caseloads: Human Rights First
data received from the Executive Office for           calculates that since FY 2000 the immigration
Immigration Review (EOIR) through Freedom of          court has averaged approximately 238,000 new
Information Act (FOIA) requests. TRAC data            cases per year. TRAC data does not provide the
provides national statistics on cases pending         exact number of new cases each year. 164 Human
before the court, the average number of days          Rights First found that in FY 2014 and FY 2015
cases have been pending, and the number of            the court received 248,429 and 247,090 cases,
cases completed each year by the immigration          respectively. Given the stability of incoming
courts. TRAC data does not disaggregate               caseloads over the past 15 years, Human Rights
detained and non-detained cases, meaning              First predictions utilize the number of new cases
averages for non-detained cases are likely much       in FY 2015 as a constant for future predictions. If
higher given EOIR’s policy of prioritizing detained   the immigration court system receives an
caseloads. Thirty-seven percent of cases handled      increased number of cases, the backlog will
by the immigration court in 2013 and 2014 were        persist for longer, delay time will lengthen, and,
detained cases. For this report, Human Rights         ultimately, more judges will be required to handle
First utilized TRAC national averages and current     the court’s caseload. The calculation used is:
trends, with respect to incoming caseloads and        (pending cases at end of fiscal year) - (pending
case completion rates, to predict the growth of the   cases at end of prior fiscal year) + (number of
backlog, when the backlog will be eliminated, and     cases completed within fiscal year) = number of
recommended increases in immigration judges.          incoming cases.

Defining the Backlog: Throughout this report the      Case Completion Time: The calculations in this
number of pending cases is referred to as “the        report assume that immigration courts should
backlog.” However, the immigration courts should      complete cases within an average of one year. 165
always have a certain number of cases pending at      Therefore, at any given time the immigration court
any given time. If the recommended average case       should not have more cases pending than it can
completion time is one year, than the courts          complete within one year. Thus, any cases
should never have more cases pending than they        pending at the end of a given fiscal year over the
could complete within one year. The                   number of cases the court completed that year
recommended 524 judges should be completing           are considered backlogged cases. Prior to 2010,
262,000 cases per year, meaning the backlog is        EOIR maintained case completion goals, focused
any number of pending cases above 262,000. For        on the timely adjudication of each type of removal
example, in 2015, the immigration court had           case. In 2010 EOIR abandoned case completion
456,216 cases pending at the end of the fiscal        goals involving non-detained cases, except for
year. Therefore, FY 2015 resulted in a backlog of     asylum cases, which carry a statutory 180 day
194,216 cases. Based on our projections,              requirement for final administrative adjudication
including recommended hiring of additional            absent exceptional circumstances and not



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including administrative appeal. 166 However,          Predicating Future Number of Cases
recent prioritization of border arrival cases has      Completed Each Year
pushed most non-detained, non-prioritized              Human Rights First predicts the number of cases
defensive asylum cases deeper into the backlog.        completed each year by multiplying the number of
Case Completion Rates per Judge: The number            immigration judges at the beginning of the fiscal
of cases completed per immigration judge each          year by the average case completion rate per
year has a dramatic effect on backlog predictions.     judge. The calculation used is: (total number of
Human Rights First calculates national average         judges at beginning of fiscal year) x
case completion rates per judge by dividing the        (recommended case completion rate) = cases
total number of cases completed per year, as           completed per fiscal year.
reported by TRAC, by the number of immigration         Expected Delays for Currently Backlogged
judges on the bench that year, as reported by the      Cases
Bipartisan Policy Center. Case completion rates
                                                       Human Rights First estimates the time it will take
have fluctuated significantly over the past 15
                                                       the immigration court system to complete the
years from over 1,300 per judge in FY 2005 to
                                                       number of cases currently pending by dividing the
777 per judge in FY 2015. Experts indicate that a
                                                       number of cases pending by the number of cases
case completion rate of 500 would be ideal; this
                                                       completed during the same year. This is a
would allow immigration judges to allot adequate
                                                       reasonable prediction based on the fact that the
time to each case and respect the due process
                                                       court has, on average, completed some 217,000
rights of each immigrant. Human Rights First’s
                                                       cases per year for the past 15 years.
predictions for eliminating the backlog incorporate
a slow trend toward a case completion rate of 500      In February 2016, TRAC calculated that the
cases per judge by FY 2024.                            average case had already been pending for 666
                                                       days. Given current pending caseloads and case
Predicting Future Pending Immigration Court
                                                       completion levels, Human Rights First estimates
Cases
                                                       that the immigration court will likely complete the
Human Rights First predicts the number of              nearly 500,000 cases currently pending in
pending cases at the end of the fiscal year by         approximately three years and six months from
adding the number of pending cases at the end of       the time they were filed.
the prior fiscal year to the number of new cases
received that year, to get a total number of cases     These averages are likely significantly lowered by
handled by the court in that fiscal year. The total    the inclusion of detained cases, which made up
number of cases completed that fiscal year is          37 percent of cases in 2013 and 2014. The
subtracted from this total to arrive at the number     immigration court system prioritizes and
of pending cases at the end of the year. The           completes detained cases more quickly due to the
calculation used is: (pending at end of prior fiscal   legal restraints placed on keeping people in
year) + (new cases received) - (cases completed)       detention for long periods without a hearing.
= pending cases at end of fiscal year.                 People who are not detained could expect
                                                       significantly longer delays.




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           Figure 6: Projected Immigration Court Data based on Recommended Increase in Immigration Judges


                                            Total         Total
                                            Judges at     Judges at    Case
                                            Beginning     End of       Completion
                         Additional         of Fiscal     Fiscal       Rate Per       Cases Completed Per        New Cases Per         Pending at End       Backlogged
                         Judges*            Year          Year         Judge          Year                       Year                  of FY                Cases
              FY 2015                  16          240          256             777                   186,480               247,090               456,216        194,216
              FY 2016                  59          256          315             777                   198,912               247,090               504,394        242,394
              FY 2017                  59          315          374             700                   220,500               247,090               530,984        268,984
              FY 2018                  75          374          449             675                   252,450               247,090               525,624        263,624
              FY 2019                  75          449          524             650                   291,850               247,090               480,864        218,864
              FY 2020                   0          524          524             625                   327,500               247,090               400,454        138,454
              FY 2021                   0          524          524             600                   314,400               247,090               333,144         71,144
              FY 2022                   0          524          524             575                   301,300               247,090               278,934         16,934
              FY 2023                   0          524          524             550                   288,200               247,090               237,824               0
              FY 2024                   0          524          524             500                   262,000               247,090               222,914
              FY 2025                   0          524          524             500                   262,000               247,090               208,004

           *Recommended number of judges that should be hired within each fiscal year. Fifty-nine judges added in FY 2016 and FY 2017 are intended to be judges for
           which EOIR already has funding. Seventy-five additional judges in FY 2018 and FY 2019 will require additional Congressional funding, ideally in FY 2017 and FY
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    This discrepancy of approximately eight percent likely results from the way TRAC and EOIR count and report completed cases.
    Utilizing the slightly higher number derived from TRAC data may provide a slight buffer given increased numbers of new cases in
    recent years.
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    Human Rights First suggests the ideal adjudication timeline for cases before the immigration court be one year on average. This
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                   doi: 10.5455/msm.2017.29.92-96                                                                PMID: 28883769


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                   Abstract

                   Introduction:

                   Bosnia and Herzegovina has one of the highest unemployment rates in the Balkan region (43.2%), so
                   unemployment is one of the most serious public concerns in our country.

                   Aim:
                   To analyze the influence of unemployment on mental health of the working age population who attend
                   primary care center.

                   Material and Methods:

                   The study was carried out in the municipality of Bosanska Krupa, which has the highest unemployment
                   rate in the Federation of Bosnia and Herzegovina (56%), and included 510 randomly selected working
                   age patients (aged 23-65 years). We used the General Health Questionnaire-28 (GHQ-28) to evaluate
                   mental health of the working age population.


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                   Results:
                   There were significantly more women than men (53.5% vs. 46.5%; p=0.02). The mean age of
                   participants was 51.04±12.84 years. The experimental group included 318 (62.35%) unemployed
                   working age participants: 160 (50.3%) had been unemployed for more than 5 years and had had no
                   work experience, while 158 (49.7%) unemployed participants had had a previous work experience of
                   more than five years. The control group included 192 (37.65%) employed working age participants.
                   Unemployment had a significant influence on mental health of the working age population. The
                   unemployed participants had a significantly poorer mental health compared to the employed
                   (p=0.0003). A predictor of impaired mental health was a job loss. A significantly greater mental health
                   impairment occured in the group of unemployed participants with previous work experience of more
                   than five years compared to the unemployed participants who had had no work experience (p=0.001)
                   and employed (p=0.000).

                   Conclusion:
                   Unemployment has a negative impact and leads to impaired mental health of the working age
                   population in Bosnia and Herzegovina. A job loss has a predictive role. It indicates that social and
                   health policies must be developed in order to improve well-being of the working age population.

                   Keywords: unemployment, mental health, working age population

                   1. INTRODUCTION
                   Job insecurity, job loss and lack of work opportunities have characterized the Bosnian labor market in
                   the last two decades, making unemployment one of the most serious public concerns in our country.
                   Bosnia and Herzegovina still has one of the highest unemployment rates in the Balkan region (43.2%).
                   The unemployment rate in Bosnia and Herzegovina is three times higher than the European rate. Most
                   of EU member states recorded a lower unemployment rate in 2015 compared to the previous years. The
                   unemployment rates in states of the Balkan region showed a similar trend. In contrast, Bosnia and
                   Herzegovina recorded a slight increase in the surveyed unemployment rate in 2015 compared to 2014
                   (27.5% vs. 27.7%) with 514.800 unemployed working age individuals (1). Current and past adverse
                   situations (the 1992-95 war) in Bosnia and Herzegovina can have a lasting negative effect on mental
                   health of people, often resulting in depression, anxiety, and somatization. These psychological disorders
                   continue to be aggravated by economic instability in the country (2).

                   The consequences of unemployment are not only intra-personal, such as an impact on subjective well-
                   being and common mental health problems. Unemployment also leads to inter-personal consequences,
                   that is, the hidden and often overlooked social processes that affect unemployed people’s social well-
                   being (3). The harmful effects of unemployment, especially long-term unemployment, on health are
                   well documented. Numerous studies showed that the unemployed have poorer health than the employed
                   (4-6). The available empirical evidences suggest that there is a negative correlation between long-term
                   unemployment, health status and mortality risk (7). There is growing evidence of the deleterious effects
                   on mental health of the current recession which started in 2008. Overall, the financial crisis in Europe
                   seemed to have had heterogeneous effects on health outcomes, with the evidence being most consistent
                   for suicides and mental health (8). Results of studies showed that unemployed individuals were more
                   likely to have depressive symptoms (9), more stress (6) and lower well-being (5) compared to employed
                   individuals. Unemployment was associated with an increased mortality risk for those in their early and
                   middle careers, but less for those in their late career (10), but also with poor self-rated health (11), a
                   significantly higher cardiovascular risk (12), and with a significant all-cause mortality risk (13).
                   Unemployed people who comitted suicides were 10 times more likely to have had poor social support,

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                   and 16 times more likely to have had any stressful life events in the past 12 months compared to living
                   unemployed controls (14). Long-term unemployed individuals have poorer physical and mental health
                   in relation to people who are short-term unemployed. Long-term unemployment is related to elevated
                   all-cause mortality and mortality risk increases with the duration of unemployment among men and
                   women (15). Meta-analysis by Milner et al. suggests that long-term unemployment is associated with
                   greater incidence of suicide. Risk is greatest in the first five years, and persists at a lower but elevated
                   level up to 16 years after unemployment (16). The long-term unemployed carry a markedly higher
                   burden of disease, particularly mental illness, than employed persons and those who have been
                   unemployed only for a short time. The burden of disease increases with the duration of unemployment.
                   Long-term unemployed have at least twofold risk of mental illness, particularly depression and anxiety
                   disorders, compared to employed persons. Their mortality is 1.6-fold higher. Unemployment seems to
                   be not only an effect of illness, but also its cause (17).

                   Relationship between unemployment and a consequent increase of mental health disorders is obvious in
                   primary care settings where it often remains unrecognized in most cases. The aim of this study was to
                   analyze the influence of unemployment on mental health of the working age population attending
                   primary care setting.

                   2. MATERIAL AND METHODS
                   This cross-sectional study was carried out in the municipality of Bosanska Krupa, which has the highest
                   unemoloyment rate in the Federation of Bosnia and Herzegovina (56%). The study included 510
                   randomly selected working age patients (aged 23-65 years) who attended the primary care center
                   between July–December 2013. Exclusion criteria were: working age population younger than 23 and
                   older than 65 years, established diagnosis of mental health disorders, cancer, neurological diseases
                   (Parkinson’s disease, multiple sclerosis, stroke) and endocrine diseases (hyperthyreosis, hypothyreossis,
                   hyper and hypofunction of suprarenal gland), or taking medications which can cause depression or
                   anxiety (beta blockers, corticosteroids, ephedrin, aminophyllin, antihistamines, thyroid hormones, etc).
                   The participants were divided into groups: 192 participants who were employed for more than 5 years
                   (control group) and 318 unemployed participants (experimental group): 160 participants who had been
                   unemployed for more than 5 years and had had no work experience and 158 unemployed participants
                   with previous work experience of more than 5 years. The study was conducted in accordance with the
                   code of ethics for this type of research (18).

                   To collect data about demographic characteristics and employment status of the participants (age,
                   gender, duration of unemployment and previous work experience) we used the questionnaire created for
                   this study. The General Health Questionnaire-28 (GHQ-28), translated into the Bosnian language, was
                   used to evaluate mental health of the working age population (19). The reliability of GHQ-28 was tested
                   by Cronbach alpha coefficient consistency and had satisfactory reliability equal to α=0.89 (Cronbach’s
                   alpha). Developed as a screening tool to detect those likely to have or to be at risk of developing mental
                   health disorders, the GHQ-28 is a 28-item measure of emotional distress in medical settings. The
                   GHQ-28 has been divided into four subscales: somatic symptoms (items 1–7), anxiety/insomnia (items
                   8–14), social dysfunction (items 15–21), and severe depression (items 22–28). Each subscale consisted
                   of seven questions with offered answers (1–not at all; 2–not more than usual; 3–some more than usual;
                   4–a lot more than usual). Evaluation of responses was provided according to the Likert scale. Scores by
                   Likert scale were converted into binary values (0, 0, 1, 1) and the sum of scores was used to interpret
                   severity of psychological distress. Total score (sum of four observed subscales) was used to determine
                   mental health status which was considered as a dependent variable, while employment status was
                   considered as an independent variable. Total score, which represented mental health status, varied
                   between 28 and 112. The higher score indicated poorer mental health status of participants.

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                   All data were analyzed using the statistical software package SPSS 20.0 (SPSS Inc., Chicago, IL, USA).
                   We used standard tests of descriptive statistics. The chi-squared test with significance p<0.05 and
                   independent samples t-test respectively were used for comparing proportions and arithmetic means
                   between groups. To determine significance of arithmetic means differences between three or more
                   groups we used univariate analysis of variance (ANOVA), and to test the impact of two or more
                   variables to another variable we used Two Factor ANOVA. We expressed effect size as the difference
                   between groups with a 95% confidence interval.

                   3. RESULTS
                   The study population comprised 510 randomly selected working age participants: 237 men and 273
                   women. There were significantly more women than men (53.5% vs. 46.5%; p=0.02). The mean age of
                   participants was 51.04±12.84 years. The experimental group included 318 (62.35%) unemployed
                   working age participants: 160 (50.3%) participants had been unemployed for more than 5 years and had
                   had no work experience, and 158 (49.7%) unemployed participants who had had previous work
                   experience of more than 5 years. The control group included 192 (37.65%) employed working age
                   participants who had been employed for more than 5 years. Demographic characteristics of participants
                   related to employment status are shown in Table 1.




                      Table 1

                      Demographic characteristics of participants related to employment status




                   Unemployment was associated with worsening of mental health. The unemployed participants had
                   poorer mental health status compared to the employed participants. The difference of mean mental
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                   health scores between unemployed and employed participants was statistically significant (52.64±13.38
                   vs. 48.43±10.97; t=3.65919; [95% CI: 1.852365-6.147635]; p=0.0003).

                   The unemployed participants with previous work experience had the highest mean mental health score
                   for GHQ-28 (M=55.30), and consequently the highest impairment of mental health status. The
                   employed participants had the lowest mean mental health score (M=48.43), while the unemployed
                   participants with no work experience had the mean mental health score ranging between the values of
                   the other two groups (M=49.97). The highest individual differences, measured by standard deviations,
                   were observed in the group of unemployed participants with previous work experience (SD=13.957).
                   The lowest individual differences were found in the employed participants group (SD=10.968) (Table 2
                   ).




                      Table 2
                      Mean mental health score of participants related to employment status




                   The differences of the mean mental health status between groups of participants related to employment
                   status were significant and can be generalized to the population represented by this sample (F=13.907;
                   p=0.000). Data are shown in Table 3.




                      Table 3
                      Significance of mean mental health scores differences between groups related to employment
                      status




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                   Table 4. shows significant differences of mean mental health status between: a) the group of
                   unemployed participants with previous work experience and the group of employed participants (the
                   mean difference was the highest: MD=-6.877; p=0.000); b) the group of unemployed participants with
                   previous work experience and group of unemployed participants with no work experience (MD=-5.335;
                   p=0001). It indicated that unemployed individuals with previous work experience of more than 5 years
                   had the poorest mental health status compared to the other two groups. The difference of the mean
                   mental health status between the group of unemployed participants with no work experience and the
                   group of employed participants was the lowest (MD=-1.542) and was not significant (p=0.517). It
                   indicated that a job loss had the predictive role for mental health impairment of the working age
                   population.




                      Table 4
                      Comparisons of mean differences of mental health scores between groups related to employment
                      status




                   4. DISCUSSION
                   Economic recessions and crises have a negative impact on mental health. Global unemployment
                   remains very high, particularly among developed economies, with the situation in Europe being the
                   most challenging (20). Our findings indicate a different effect of the economic crisis on mental health
                   according to employment status and show that unemployment has been associated with worsening of
                   mental health of the working age population. We found that unemployment had a significant negative
                   impact on mental health of the working age population. The unemployed working age participants had
                   significantly poorer mental health compared to the employed participants. The participants who were

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                   unemployed with previous work experience of more than 5 years had the highest mean mental health
                   score for GHQ-28 (M=55.30), and consequently the highest impairment of mental health status. The
                   participants who had been employed for more than 5 years had the lowest mean mental health score
                   (M=48.43). Similar to our results, Córdoba-Doña et al. concluded that current economic recession was
                   associated with poorer mental health differentially according to labour market status (21). SESPAS
                   report 2014 suggested that economic difficulties contributed to poorer mental health. The most
                   important risk factor for this increase was unemployment (22). Our results showed that mental health
                   status of unemployed participants with previous work experience of more than 5 years was significantly
                   worsened compared to the unemployed with no work experience and employed participants. The
                   difference of mean mental health status among unemployed with no work experience and employed
                   participants can not be expected in the population. It indicated that a job loss had predictive role for
                   mental health impairment of the working age population.

                   This research has confirmed a positive correlation between unemployment and poorer mental health of
                   the working age population. Differences of mean mental health status between groups of participants
                   related to employment status were significant and can be generalized to the population represented by
                   this sample. Similar results were from cross-sectional study, carried out at the primary health care level
                   in Australia, which showed that unemployed patients had a higher average score for GHQ-12
                   questionnaire in relation to the employed (3.8 vs. 2.4; p <0.001) (23). A study about health-related
                   quality of life (HRQL) and economic downturns found that an increase in the average state
                   unemployment rate worsened an individual’s HRQL (24). Most prospective studies, in which
                   unemployment was assumed to cause health disorders, confirmed that job loss and long-term lack of
                   salaries, especially for long periods of time, can result in a deterioration of mood and self-assessment of
                   health with appearance of mental and somatic disorders in the initially healthy people. A preliminary
                   analysis of unemployed population of Warsaw indicated that the unemployed perceived their health,
                   physical and mental well-being as worse compared to the employed (25, 26).

                   5. CONCLUSION
                   Unemployment has a significant influence on mental health of the working age population in Bosnia
                   and Herzegovina. Unemployed individuals have a markedly higher impairment of mental health than
                   the employed. Job loss has a predictive role. Impaired mental health that occurs as a result of
                   unemployment in working age population represents a serious challenge for public health and family
                   medicine teams in Bosnia and Herzegovina. Results of this study suggest the need for generally
                   available health care, rapid special health-promoting measures for unemployed patients and social
                   interventions. With one of the highest unemployment rates in the Balkan region, Bosnia and
                   Herzegovina must develop social and health policies in order to improve well-being of its population.

                   Footnotes
                   • Conflict of interest: The authors have no conflict of interest to declare.


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FOOTNOTE 19




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3 Vicious Cycles: Links Among Financial, Physical And Mental Health        https://www.forbes.com/sites/brettwhysel/2018/06/27/3-vicious-cycles/#...




                                   I cover behavioral economics, decision-making, finance and philosophy.




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                      Feedback loops are powerful forces of nature. Melting polar ice caps reduce the earth
                      reflectivity, causing it to absorb more heat from the sun, which accelerates the
                      melting. The cumulative, accelerating aspects of such loops make it imperative to
                      break the cycle before it gets out of control. Below, I identify three feedback loops
                      among financial and physical and mental health and some ideas for breaking these
                      vicious cycles.

                      Financial Stress

                      Let's begin with stress. Stress is the body's response to any demand made on it. It
                      affects almost every system of the body, including heartbeat, breath, muscles and our
                      brains. A little stress can be a good thing, if it motivates us to respond constructively
                      a threat or opportunity and if it doesn't last too long.

                      Unfortunately, stress resulting from financial challenges is often chronic, affecting
                      26% of Americans most or all of the time. Unexpected expenses, the need to save for
                      retirement and out of pocket health care expenses are major culprits.

                      Stress Spiral No. 1: Physical Health




                      Chronic stress is linked to physical health issues. High stress causes a fight-or-flight
                      reaction, releasing adrenaline and cortisol. These hormones can suppress immune,
                      digestive, sleep and reproductive systems, which, if sustained, may cause them to sto
                      working normally.

                      Employees with high financial stress are twice as likely to report poor health overall
                      and are more than four times as likely to complain of headaches, depression, or other
                      ailments. The chart below shows how much sicker people with “debt stress” were
                      during the depths of the financial crisis.
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                      Stress is also associated with high-risk behavior including alcohol and drug abuse;
                      overeating, sedentary behaviors like web surfing and TV watching. These behaviors
                      can worsen one's health and finances.

                      The potential feedback loop then is financial challenges leading to poor health, direct
                      and indirectly via unhealthy behaviors. Poor health can worsen money challenges and
                      financial stress by increasing medical expenses, reducing productivity at work and
                      making it harder to make good financial and medical decisions:




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                      Stress Spiral No. 2: Delayed Healthcare

                      Financial stress can also harm health when lack of financial resources causes people t
                      delay necessary medical treatment. One in four Americans has trouble paying medica
                      bills, with some delaying treatment. Cost-related non-adherence may be most
                      important for people with chronic conditions such as high blood pressure, asthma an
                      diabetes. Fifty-six percent of Americans with common chronic diseases say they've
                      have missed medication because of cost.

                      This leads to the second feedback loop: a medical condition results in unexpectedly
                      high out of pocket costs, increasing stress, which worsens the condition directly and
                      indirectly as the patient delays needed medical care and medication. This spiral may
                      become more widespread as more employers switch to high-deductible health plans,
                      which put a greater financial risk on patients:




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                      Stress Spiral No. 3: Mental Health

                      Of course, we experience financial stress mentally as well as physically. People with
                      debt are three times more likely to have a mental health issue, especially depression,
                      anxiety and psychotic disorders. Financial stress is the second most common cause o
                      suicide, after depression. According to Therapist Rachel Mickenberg, humiliation
                      among the financially stressed makes it harder to seek help as it worsens mental
                      health.

                      Mental health challenges can impair financial (and medical) decision making, self-
                      control and employment possibilities. Those with dealing with scarcity suffer from
                      greater cognitive loads from managing the various challenges of making limited mean
                      work, impairing executive functioning including creativity, empathy, planning for the
                      future and problem-solving.

                      So we have our third vicious cycle. Financial stress is associated with mental health
                      challenges, which impair financial decision making and employment, further
                      worsening the financial situation. This can increase stress, which may then worsen th
                      mental health condition:




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                      Breaking the Chain

                      Left to themselves, vicious cycles like these can spiral out of control, with grave
                      consequences for individuals, employers and societies. Fortunately, there are things
                      individuals and organizations can do to break these loops.

                      Individuals can take steps to improve their financial behaviors, by better controlling
                      spending and increasing savings. This begins with empathetically planning for one's
                      future and creating a budget designed to make you happier. Others may benefit from
                      the advice of a financial advisor or credit counselor. We can also work on developing
                      "pride in good money habits - instead of money itself,” exercising, using relaxation
                      techniques such as yoga and meditation, and obtaining support from friends, family
                      and, perhaps, a therapist.

                      Governments, healthcare providers and businesses have a moral responsibility and a
                      direct interest in breaking these loops which destroy welfare, social capital and
                      shareholder value. They should sponsor financial (as well as general and mental)
                      wellness programs to help people control their spending, attain resiliency with
                      emergency funds, and plan for the future. Financial institutions need to support such
                      programs and provide products and services more appropriate to low and middle-
                      income consumers.

                      In short, the status quo for millions of Americans is not sustainable. The typical
                      American is stressed because she lives paycheck-to-paycheck, saves nothing for
                      retirement, has little financial literacy and is increasingly being asked to shoulder the
                      costs and uncertainties of healthcare and retirement. The resulting stress can
                      cause physical and mental health to spiral along with financial health. It's time we do
                      something about it.

                      Follow me on Twitter or LinkedIn. Check out my website.




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                                                                    ORIGINAL ARTICLE


                                        Mental Disorders in Asylum Seekers
                    The Role of the Refugee Determination Process and Employment
                                       Debbie C. Hocking, DPsych,*† Gerard A. Kennedy, PhD,‡
                                        and Suresh Sundram, MBBS, MMed, FRANZCP, PhD*§

                                                                                       Ryan et al., 2008), with one study finding that a long RDP waiting time
Abstract: The refugee determination process (RDP) and social factors puta-             combined with rejection of asylum claims to be associated with
tively impact on the psychiatric morbidity of adult asylum seekers (ASs) living        suicidality (Staehr and Munk-Andersen, 2006). In an Australian study
in the community. Clinical and sociodemographic data relevant to AS experience         (Silove et al., 2007), posttraumatic stress, depressive, and anxiety symp-
in the RDP were collected using self-report measures to assess posttraumatic           toms in a small cohort of asylum seekers were measured 3.8 months
stress (Harvard Trauma Questionnaire–Revised) and depressive and anxiety               after their initial application. Only those whose applications were
symptoms (25-item Hopkins Symptom Checklist), and the Mini-International               successful showed a reduction in symptom severity, whereas those
Neuropsychiatric Interview 6.0 psychiatric interview was used to establish a cut-      whose applications were rejected continued to demonstrate a high level
off for caseness. The prevalence of major depressive disorder (MDD) and                of psychiatric morbidity and functional impairment. Similar findings
posttraumatic stress disorder (PTSD) was 61% and 52%, respectively. Unem-              were reported in a prospective Canadian study of asylum claimants
ployment and greater numbers of both potentially traumatic events and RDP              (Davis, 2006), with prevalence of PTSD decreasing from 100% to 10%
rejections were predictors of symptom severity. Unemployed ASs were more               for those who received a positive RDP decision; conversely, 89% of
than twice as likely to have MDD (odds ratio, 2.61; 95% confidence interval            those who received a negative decision retained a PTSD diagnosis. PTSD
[CI], 1.11– 6.13; p = 0.03), and ASs with at least one RDP rejection were              has also been associated with self-reported delays in processing refugee
1.35 times more likely to develop PTSD for each additional rejection (95% CI,          applications in asylum seekers and greater exposure to premigration
1.00–1.84; p = 0.05). Reducing the asylum claim rejection rate and granting            trauma (Silove et al., 1997). Thus, it has been suggested that Australia's
work rights are likely to reduce the rate of PTSD and MDD in community-                procedures for processing asylum claims may contribute to high levels
based ASs.                                                                             of stress and psychiatric symptoms in people who are already traumatized
Key Words: Asylum seekers, refugee determination, posttraumatic stress,                (Silove et al., 1997).
depression, employment status
(J Nerv Ment Dis 2015;203: 28–32)
                                                                                       Research Aims
                                                                                              The present study aimed to cross-sectionally investigate the asso-

R    efugees and asylum seekers living in Western countries experience
     a high prevalence of mental disorders, particularly posttraumatic
stress disorder (PTSD), major depressive disorder (MDD), and other
                                                                                       ciation between psychiatric morbidity in community-based asylum
                                                                                       seekers and number of asylum claim rejections and time in the RDP.
                                                                                       Sociodemographic variables were also explored as potential predictive
anxiety disorders (Fazel et al., 2005; Steel et al., 2009), with asylum                factors for psychiatric morbidity.
seekers being more vulnerable than settled refugees (Macleod and
Reeve, 2005; Silove et al., 1998; Steel et al., 2009). However, most re-                                            METHODS
search on mental health in asylum seeker populations has focused on
the prearrival context and refugees whose status was established before
arrival in the host country (Ryan et al., 2008). Less consideration                    Participants
has been given to the circumstances encountered in host countries                             A convenience sample of 98 adult asylum seekers were recruited
(Gerritsen et al., 2006; Watters, 2001) and to those living in the commu-              through the casework program of the Asylum Seeker Resource Centre
nity, which is the case for most asylum seekers in Australia (Depart-                  (ASRC) in Melbourne, between September 2008 and October 2010.
ment of Immigration and Border Protection, 2014). Most asylum                          Because of database inaccuracies and the transient population, it was
seekers in Australia are ultimately granted protection visas and perma-                not possible to randomly sample participants, and thus, a convenience
nent residency; however, low rates of successful primary determination                 sample reflecting the current asylum seeker trends based on country
(e.g., 33% for nonirregular maritime arrivals) result in a protracted refu-            of origin was used. All participants had lodged an application for asy-
gee determination process (RDP) for most asylum seekers (Department                    lum and were residing in the community while their cases were being
of Immigration and Border Protection, 2013).                                           determined. An opt-in approach was applied to potential participants
        Few studies have investigated the association between mental                   who were not from clinical services and came to the ASRC for non-
health and the RDP itself. Internationally, a long asylum process has                  health reasons (e.g., for legal support or material aid). Caseworkers can-
been found to be associated with psychiatric disorders (Hallas et al.,                 vassed the study with eligible clients to determine their interest in
2007; Heeren et al., 2012; Laban et al., 2004; Mueller et al., 2010;                   participating and obtained verbal consent for the researcher to contact
                                                                                       them directly.
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   and Mental Health, Parkville; †School of Psychology, Victoria University, St.       Ethics
   Albans; ‡School of Psychology, Cairnmillar Institute, Camberwell; and §Depart-             Approval for the research study was granted by the Victoria Uni-
   ment of Psychiatry, University of Melbourne, Victoria, Australia.
Send reprint requests to Debbie C. Hocking, DPsych, Florey Institute of Neuroscience   versity Human Research Ethics Committee.
   and Mental Health, 30 Royal Parade (Cnr Genetics Lane), Parkville, Victoria,
   3052, Australia. E-mail: Debbie.hocking@florey.edu.au.                              Instruments
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ISSN: 0022-3018/15/20301–0028                                                                 Two questionnaires were used to assess levels of depression,
DOI: 10.1097/NMD.0000000000000230                                                      anxiety, and posttraumatic stress.

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                                                                                                                              AR004302
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The Journal of Nervous and Mental Disease • Volume 203, Number 1, January 2015                              Asylum Seekers: Work & Mental Health



                                                                                   The HSCL and HTQ have demonstrated efficacy in the identifi-
TABLE 1. Sociodemographic Characteristics of the Sample (n = 98a)          cation of mental illness and psychological distress in culturally diverse
                                                                           populations. Both instruments have widespread acceptance in the as-
                                                n                  %
                                                                           sessment of traumatized populations (Mollica et al., 1987) and are the
Sex                                                                        most widely used instruments in populations of forced migrants who
  Male                                         87                 88.8     have experienced premigration and postmigration trauma (Steel et al.,
  Female                                       11                 11.2     2009). Back-translated versions of the HTQ and HSCL were used for
Mode of arrival                                                            participants who were not conversant in English. Interpreters were used
                                                                           for interviews as necessary.
  Plane                                        87                 94.6
                                                                                   The Diagnostic and Statistical Manual of Mental Disorders, 4th
  Boat                                          5                  5.4     Edition American Psychiatric Association, 2000) diagnoses of MDD
Speaks English                                                             and PTSD were established using cutoff scores from the HSCL (2.29)
  Yes                                          12                 12.2     and HTQ (2.50) (Mollica et al., 2004), respectively, using the Mini-
  No                                           86                 87.8     International Neuropsychiatric Interview 6.0 (MINI) (Lecrubier et al.,
Country of origin                                                          1997). The cutoff for MDD was higher than that previously reported
  Sri Lanka                                    39                 39.8     (1.75; Mollica et al., 2004) and was based on our follow-up study
  Pakistan                                     30                 30.6     (Hocking et al., submitted for publication).
  Zimbabwe                                     12                 12.2             Data were also collected on a range of sociodemographic
  Iraq                                          8                  8.2     variables and information relevant to participants' status in the
                                                                           RDP, Medicare (free public health care) access, work rights, and
  Afghanistan                                   6                  6.1
                                                                           employment status.
  Iran                                          2                  2.0             Because of symptom measures being scales for neurotic disor-
  Lebanon                                       1                  1.0     ders, three cases with psychotic disorders as assessed by the MINI were
Immigration detention                                                      excluded from analyses examining anxiety, depressive, and posttrau-
  Yes                                           8                  8.2     matic stress symptoms.
  No                                           89                 91.8
Number of PTEsb                                                            Statistical Analyses
  <5                                            2                  2.2            Data were analyzed using the Statistical Package for the Social
  5–10                                         34                 37.0     Sciences for Windows, Version 20.
  11–26                                        56                 60.9            Because of the data being nonnormally distributed, Spearman's
Number of RDP rejections                                                   rho analyses were performed to examine the associations between
  0                                            51                 52.6     demographic variables and symptom scores. Post hoc nonparametric
  1–2                                          23                 23.7     tests (Mann-Whitney and Fisher's exact test) investigated relation-
                                                                           ships between diagnoses of MDD and/or PTSD and categorical
  ≥3                                           23                 23.7
                                                                           sociodemographic variables. For multiple regression analyses, the num-
Education                                                                  ber of RDP rejections was logarithmically transformed (log10) to
  Tertiary                                     59                 60.8     establish normality. Logistic and multiple regression analyses were
  Finished secondary                           26                 26.8     conducted to determine RDP and sociodemographic predictors of psy-
  Other                                        12                 12.4     chiatric diagnoses and symptom severity, respectively.
Previous occupation
  Professional                                 31                 31.6
  Administration/self-employed                 27                 27.6                                      RESULTS
  Skilled/trade                                16                 16.3            The sociodemographic characteristics of the sample are shown
  Unskilled/student/unemployed                 24                 24.5     in Table 1. The sample had a mean (SD) age of 34.6(10.63) years, with
Employment status                                                          the mean (SD) time spent in the RDP being 29.4(49.3) months. The
  Not working/nil work rights                  55                 57.3     mean (SD) number of RDP rejections and potentially traumatic events
  Working/students                             41                 42.7     (PTEs) experienced was 1.64 (2.39) and 13.1 (5.48), respectively.
Health cover                                                                      Most of the sample (52.6%) had yet to receive a refugee status
  Yes                                          61                 65.6     decision, whereas 23.7% had received one or two rejections. The same
  No                                           32                 34.4     number (23.7%) had received between 3 and 11 rejections. The time
                                                                           spent in the RDP was positively skewed, with a median of 6 months
  a
   Totals less than 98 are because of missing data.                        (interquartile range, 2–19 months).
  b
   Refers to different categories of PTEs, not the number of individual
PTEs experienced.
                                                                           TABLE 2. Depression, Anxiety, and PTSD Symptom Scores and Caseness

        The Harvard Trauma Questionnaire–Revised (HTQ) (Mollica                                                Symptom Score,
et al., 2004) is a cross-cultural instrument designed to assess trauma                                 n        Median (IQR)          Caseness, % (n)
and torture and their sequelae. A 16-item subscale of the HTQ mea-
                                                                           Depression                 95           2.67 (1.93–3.13)      61.1 (58)
sured PTSD symptoms, whereas anxiety and depressive symptoms
were measured by the 25-item Hopkins Symptom Checklist (HSCL)              Anxiety                    95           2.10 (1.50–2.80)        N/A
(Mollica et al., 1987). The range for both instruments is 1 to 4, with     Posttraumatic stress       94           2.50 (1.88–3.00)      52.1 (49)
higher scores indicating greater severity, and the scaled score is            IQR indicates interquartile range.
ascertained by dividing the total score by the number of items.

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        The prevalence of psychiatric morbidity is shown in Table 2.
Sixty-one percent of the sample met the cutoff score for a diagnosis            TABLE 4. Sociodemographic Predictors of Anxiety, Depression, and
                                                                                PTSD Symptoms
of MDD (≥2.29) and 52% for PTSD (≥2.50), as validated against
the MINI.
                                                                                Symptoms                           R2      Statistic     Part Correlation
        Correlations were performed between symptom scores and
sociodemographic variables (Table 3). There was a significant as-               Anxiety                    0.150 F4, 82 = 3.62**
sociation between number of PTEs and anxiety, depression, and                     Number of PTEs                      t = 2.72*                 0.28
posttraumatic stress. In addition, there was a moderate negative                  Employment status                   t = −2.01*               −0.20
association between employment status and both anxiety and depres-                Number of RDP rejections            t = 1.88                  0.19
sive symptoms. Mann-Whitney tests confirmed that being employed                   Speaks English                      t = −1.42                −0.14
was associated with reduced severity of anxiety (U = 793, p = 0.03,
                                                                                Depression                 0.195 F5, 81 = 3.94**
n = 95) and depressive (U = 807, p = 0.04, n = 95) symptoms.
Those who were not employed were 2.61 times more likely to be                     Number of PTEs                      t = 2.82**                0.28
diagnosed with MDD (95% confidence interval [CI], 1.11– 6.13;                     Employment status                   t = −2.79**              −0.28
p = 0.03, n = 95).                                                                Detention                           t = −1.61                −0.16
        No other significant relationships were observed between the              Number of RDP rejections            t = −1.51                 0.15
psychiatric indices and the remaining sociodemographic variables.                 Sex                                 t = −1.51                −0.15
        A logistic regression was performed to explore whether a diag-          PTSD                       0.231 F4, 82 = 6.17***
nosis of PTSD and MDD could be predicted by the number of RDP re-                 Number of PTEs                      t = 3.31**                0.32
jections for those who had received at least one rejection. This was              Number of RDP rejections            t = 2.84**                0.28
significant for PTSD (χ21, n = 44 = 4.56, p = 0.03), indicating that the          Employment status                   t = −2.38*               −0.23
model was able to distinguish between asylum seekers who did and asy-
                                                                                  Detention                           t = −2.20*               −0.21
lum seekers who did not incur a diagnosis of PTSD. One or more RDP
rejections explained between 9.8% (Cox and Snell R2) and 13.2%                     *Significant at the 0.05 level.
(Nagelkerke R2) of the variance in PTSD status and correctly classified            **Significant at the 0.01 level.
63.6% of cases. The odds ratio for one or more RDP rejections indi-                ***Significant at the 0.001 level.
cated that asylum seekers were 1.35 (95% CI, 1.00–1.84; p = 0.05)
times more likely to develop PTSD for every additional rejection re-
ceived. One or more rejections did not predict a diagnosis of MDD                       Twenty-three percent of the variance in posttraumatic stress
(χ21 = 0.51, p = 0.48, n = 44).                                                 symptom scores was accounted for by number of RDP rejections,
        Lastly, three multiple regression analyses were conducted with          number of PTEs, employment status, and experience of immigration
the 11 sociodemographic variables (see Table 1) entered simultaneously          detention. Number of PTEs, employment status, number of RDP rejec-
as predictors of anxiety, depressive, and posttraumatic stress symptoms,        tions, detention experience, and sex accounted for 19.5% of depressive
with missing values deleted pairwise.                                           symptom scores, and number of PTEs, employment status, number
        An initial regression analysis for each of the symptom scores as        of RDP rejections, and an inability to speak English accounted for
outcome variables indicated that the 11 sociodemographic variables              15% of anxiety symptom scores.
accounted for 21.5% of variance in anxiety symptoms (F11, 72 = 1.79,                    Number of PTEs was the most important predictor of anxiety,
p = 0.07), 23.5% of variance in depressive symptoms (F11, 72 =2.02,             depression, and posttraumatic stress symptom scores, independently
p = 0.04), and 26.9% of variance in posttraumatic stress symptoms               accounting for up to 10% of the variance for each symptom scale. Un-
(F11, 72 = 2.41, p = 0.01).                                                     employment and number of RDP rejections both contributed to the
        Because of the large number of independent variables for the            models for all symptom scales and made unique contributions to post-
sample size, a second regression analysis was performed for each                traumatic stress symptoms of 5.3% and 7.8%, respectively.
symptom scale. Predictor variables that resulted in a p value below 0.1                 Curiously, an experience of immigration detention (n = 7) was asso-
for the initial analyses were included in subsequent regression analyses.       ciated with lower symptom scores on depression and posttraumatic stress.
These final results are presented in Table 4.                                           The only psychosocial predictor of psychiatric symptoms was
                                                                                employment status. Unemployment (with or without work rights)
                                                                                accounted for 4% to 7.8% of all symptom scores and was the equal
TABLE 3. Correlation Between Symptom Scores and Sociodemographic                biggest predictor of self-reported depressive symptoms.
Variables

                            Anxiety     Depression    Posttraumatic Stress                                    DISCUSSION
                                                                                        The present research represents a large Australian cross-sectional
Sex                          −0.03       −0.15               −0.03              study of community-based asylum seekers. This is pertinent given the
Mode of arrival               0.08        0.00                0.02              comparatively large numbers of asylum seekers currently residing in
Speaks English               −0.10       −0.07                0.05              the community on bridging visas (approximately 24,000 in Australia)
Country of origin            −0.08       −0.10                0.11              (Department of Immigration and Border Protection, 2014). We sought
Detention                    −0.04       −0.14               −0.17              to investigate the influence of time and number of rejections in the
Number of PTEs                0.27*       0.26*               0.31**            RDP, as well as a range of psychosocial factors on the mental health of
Education                     0.00       −0.08               −0.03              community based asylum seekers.
Previous occupation          −0.07       −0.03               −0.04
                                                                                        Psychiatric morbidity was high, in keeping with other studies of
                                                                                asylum seeker populations (Hallas et al., 2007; Maier et al., 2010;
Employment status            −0.23*      −0.22*              −0.15
                                                                                Silove et al., 2006), with the prevalence of PTSD and MDD being
Medicare                     −0.08        0.04               −0.10              52.1% and 61.1%, respectively. The RDP was a significant predictor
     *Significant at the 0.05 level.                                            of PTSD for those with one or more rejections, with increased odds
     **Significant at the 0.01 level.                                           of 1.35 of developing PTSD for each additional rejection received. This
                                                                                is a preventable risk factor given that the majority of asylum seekers are

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The Journal of Nervous and Mental Disease • Volume 203, Number 1, January 2015                                   Asylum Seekers: Work & Mental Health



ultimately granted protection (Department of Immigration and Citizen-         rate of mentally ill individuals participating in the study, the prevalence
ship, 2011, 2013).                                                            of PTSD found in this sample is similar to that reported in other studies
        No relationship emerged between duration in the RDP and psy-          (Hallas et al., 2007; Mueller et al., 2010; Silove et al., 2006), and com-
chiatric symptoms. There have been mixed findings with respect to             parable or higher rates of MDD in cross-sectional studies have been
length of time in the RDP and psychological distress, with some studies       found elsewhere (Gerritsen et al., 2006; Mueller et al., 2010; Silove
reporting an association (Hosking et al., 1997) and others finding no re-     et al., 2006). Furthermore, the MINI was used because of the risk
lationship (Silove et al., 1997, 2007). A Swiss study (Toscani et al.,        of self-report measures inflating psychiatric prevalence (Steel et al.,
2007) considered a reduction in posttraumatic stress symptoms of              2009), although it is acknowledged that symptom scores were not di-
Kosovar asylum seekers living in the host country for more than               rectly validated against the MINI.
six months to be suggestive of an adaptation to the stress of asylum                  Finally, unfortunately, corroborating information regarding
seeking. Although recuperative living conditions during asylum seek-          the number of rejections and timeframes of these was not available
ing may influence the degree to which symptoms remit over time, the           in every case. Although a rigorous attempt was made to verify all re-
vicissitudes inherent in the RDP—particularly asylum claim rejections—        sponses in relation to RDP status and visa conditions, data were not
may impede or disrupt adaptation.                                             comprehensively vetted through immigration lawyers.
        RDP rejections may trigger fears of repatriation and, hence, a re-            Future studies should address the aforementioned limitations
capitulation of traumatic memories (Aron, 1992). Thus, RDP rejections         through prospective study designs incorporating random sampling
may themselves function as a trauma that reaches disorder proportions         and psychiatric interviews to establish caseness. Samples should in-
as the number of rejections increase. It is well established that a central   clude equal numbers of men and women where possible.
requisite for recovery from PTSD is a safe and secure environment
(Herman, 1992), which appears to be undermined by RDP rejections.                                            CONCLUSION
As noted by others (Silove et al., 2000), this finding raises important              The relationship between mental health, time in the RDP, and
questions about the degree to which the RDP may compound stress               number of rejections is complex. This is the first study to highlight
and distress for asylum seekers caused by past trauma. Furthermore,           the association between cumulative RDP rejections and sustained
this has particular significance for individuals exposed to high levels       levels of psychiatric symptoms in community-based asylum seekers.
of trauma in their homeland, given that such individuals may be more          The findings indicate that negative asylum decisions may be a better
sensitized to the effects of postmigration stress (Silove et al., 1998).      predictor of mental health than duration of the RDP. Although previ-
Thus, our data indicate that RDP decisions have far greater relevance         ous research has shown that an asylum claim rejection at the primary
to PTSD than does time alone and that posttraumatic stress symptoms           stage is associated with persisting high levels of psychiatric morbid-
are likely mediated by rejections.                                            ity, no study has demonstrated the cumulative deleterious impact of
        In contrast to RDP rejections potentially increasing an individu-     RDP rejections on mental health beyond the primary stage and into
al's vulnerability to posttraumatic symptoms, employment ameliorated          the appeals process. The protective role of gainful employment was
psychiatric symptoms and thus served a protective function. This find-        demonstrated by the reduced symptom severity in anxiety, depres-
ing is consistent with previous research demonstrating the protective         sion, and posttraumatic stress in those who were working and a de-
role of employment on psychological health through work's capacity            creased risk of developing major depression. Hence, these data
to reduce stress and anxiety and increase a sense of self-agency (Paul        indicate that the high prevalence of psychiatric morbidity in asylum
and Moser, 2009). Furthermore, it may provide financial capacity to           seekers may be potentially reduced through the granting of work
continue with RDP appeals and thus maintain hope. This finding is also        rights and reducing the RDP rejection rate.
consonant with employment potentially being more effective in re-
storing the mental health of asylum seekers than psychological in-                                  ACKNOWLEDGMENTS
terventions (Eastmond, 1998). It must be noted, however, that the                  The authors acknowledge the asylum seekers who participated
association between unemployment and MDD may be due to impair-                in the study, as well as the caseworkers at ASRC for their assistance
ment secondary to MDD, which may preclude sufferers from being able           in the recruitment process.
to work. Nevertheless, this finding has implications for policy changes
associated with asylum seekers being denied work rights (Beiser and                                     DISCLOSURES
Hou, 2001; Hollander et al., 2013).                                                This research was made possible by the generous financial sup-
        There are a number of limitations to the present research. First,     port of EastWeb, MinterEllison Lawyers, the Myer Foundation, and
being a cross-sectional study, causality of findings cannot be assumed.       the Nordia Foundation.
Second, regarding recruitment, asylum seekers are a difficult pop-                 The authors declare no conflict of interest.
ulation to research, with sampling posing a particular challenge. The re-
cruitment process attempted to maximize external validity by recruiting                                        REFERENCES
participants through the ASRC to reflect the broader asylum-seeking           American Psychiatric Association (2000) Diagnostic and statistical manual of mental
population by country of origin. The nationalities represented by the to-       disorders (4th, Text Revision ed). Washington, DC: American Psychiatric Pub-
tal sample comprised 37% of the total ASRC population by nationality.           lishing Inc.
Between 52% and 90% of asylum seekers from the largest five “coun-            Aron A (1992) Applications of psychology to the assessment of refugees seeking
try” groups were recruited, reflecting a good representation of these five       political asylum. Appl Psychol. 41:77–91.
nationalities within the broader ASRC population. The ASRC member
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base by sex was approximately 70:30 (male:female), which was not
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reflected by the study sample, being 89% men. This may have intro-
duced a sex bias into the findings.                                           Davis R (2006) PTSD symptom changes in refugees. Torture. 16:10–19.
        Third, potential bias may have been introduced by individuals         Department of Immigration and Border Protection (2013) Asylum Trends: Australia.
who agreed to participate in the hope that doing so would assist their le-       Retrieved from http://www.immi.gov.au/media/publications/statistics/immigration-
gal case. This is unlikely given that all participants were informed from        update/asylum-trends-aus-2012-13.pdf.
the outset that the research was independent of legal processes and that      Department of Immigration and Border Protection (2014) Immigration Detention and
participating would neither help nor hinder their asylum case. Fourth,           Community Statistics Summary. Retrieved from http://www.immi.gov.au/managing-
although it is possible that selection bias may have resulted in a higher        australias-borders/detention/_pdf/immigration-detention-statistics-march2014.pdf.


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5IF NBJO PCKFDUJWF PG UIJT SFQPSU JT UP FEVDBUF        &WFSZSFQPSUFEJODJEFOUXBTTVCKFDUFEUPBSJHPSPVT

MBXNBLFST BEWPDBUFT BOEUIFHFOFSBMQVCMJDBCPVU             GBDUDIFDLJOH QSPDFTT  EFTJHOFE UP FWBMVBUF BOE

IBUF DSJNFT BOE WJPMFODF DPNNJUUFE BHBJOTU UIF           WFSJGZ UIF BDDVSBDZ PG UIF SFQPSUFE FWFOUT 5IJT

IPNFMFTT DPNNVOJUZ JO PSEFS UP CSJOH BCPVU               QSPDFTT FOUBJMFE GPMMPXVQ EJTDVTTJPOT XJUI UIPTF

DIBOHFBOEFOTVSFUIFQSPUFDUJPOPGDJWJMSJHIUTGPS           DMPTFMZ JOWPMWFE XJUI UIF JODJEFOU $SPTT

FWFSZPOF SFHBSEMFTTPGFDPOPNJDDJSDVNTUBODFTPS              DPNQBSJTPOT XFSF BMTP NBEF XJUI PUIFS OFXT

IPVTJOH TUBUVT "T QBSU PG JUT NJTTJPO  UIF /BUJPOBM   TPVSDFTSFQPSUJOHUIFJODJEFOU

$PBMJUJPOGPSUIF)PNFMFTTJTDPNNJUUFEUPDSFBUJOH
                                                                8IJMF UIF NPUJWF GPS FBDI BUUBDL XBT OPU BMXBZT
UIF TZTUFNJD BOE BUUJUVEJOBM DIBOHFT OFDFTTBSZ UP
                                                                FWJEFOU GSPN UIF JOGPSNBUJPO BWBJMBCMF  JO NBOZ
FOE IPNFMFTTOFTT *O PSEFS UP CVJME IFBMUIZ BOE
                                                                DBTFT UIFSFXBTDPOGJSNBUJPOUIBUUIFTFWJPMFOUBDUT
DPNQBTTJPOBUF DPNNVOJUJFT  UIF DJWJM BOE IVNBO
                                                                XFSF QFSQFUSBUFE CFDBVTF PG B CJBT BHBJOTU UIF
SJHIUT PG QPPS QFPQMF BOE QFPQMF FYQFSJFODJOH
                                                                WJDUJNhT IPVTJOH TUBUVT 0UIFS BDUT XFSF EFFNFE
IPNFMFTTOFTT NVTU CF QSPUFDUFE BOE FOGPSDFE "U
                                                                PQQPSUVOJTUJD BOE DPNNJUUFE NFSFMZ CFDBVTF UIF
UIJT UJNF  UIFSF NVTU CF DPNNJUNFOU CZ PVS
                                                                WJDUJN  EVF UP UIFJS MBDL PG IPVTJOH  XBT JO B
MBXNBLFST UP DPNCBU CJBTNPUJWBUFE WJPMFOU BDUT
                                                                WVMOFSBCMF QPTJUJPO 0OMZ BUUBDLT QFSQFUSBUFE CZ
BHBJOTUQFPQMFXIPFYQFSJFODFIPNFMFTTOFTT
                                                                IPVTFE JOEJWJEVBMT BHBJOTU VOIPVTFE JOEJWJEVBMT

                                                                XFSF FWBMVBUFE $SJNFT DPNNJUUFE CZ QFSTPOT
.FUIPEPMPHZ
                                                                FYQFSJFODJOH    IPNFMFTTOFTT        BHBJOTU     BOPUIFS
5IF EBUB QSFTFOUFE JO UIJT SFQPSU PO WJPMFOU BDUT
                                                                IPVTFMFTTQFSTPOXFSFFYDMVEFEGSPNUIJTSFQPSU
DPNNJUUFE BHBJOTU UIF IPNFMFTT QPQVMBUJPO XFSF

HBUIFSFE GSPN B WBSJFUZ PG TPVSDFT /$) TUBGG           "MUIPVHI /$) IBT NBEF FWFSZ FGGPSU UP WFSJGZ UIF
DPMMFDUFE TUPSJFT GSPN QVCMJTIFE OBUJPOBM BOE MPDBM      GBDUTSFHBSEJOHFBDIJODJEFOUJODMVEFEJOUIJTSFQPSU 
OFXTSFQPSUT)PNFMFTTBEWPDBUFTBOEMPDBMTFSWJDF             OFXJOGPSNBUJPOBCPVUDBTFTNBZCFDPNFBWBJMBCMF
QSPWJEFST BDSPTT UIF DPVOUSZ QSPWJEFE JOGPSNBUJPO         BGUFSJUTQVCMJDBUJPO'PSUIJTSFBTPO /$)DPOTUBOUMZ
BCPVU JODJEFOUT JO UIFJS MPDBM DPNNVOJUJFT 'JOBMMZ      SFTFBSDIFT BOE SFWJFXT BMM GBDUT SFMBUFE UP UIF
UIJT SFQPSU SFMJFE PO UIF WPJDFT PG IPNFMFTT            JODMVEFE EBUB "T BEEJUJPOBM FWJEFODF FNFSHFT
JOEJWJEVBMTBOEGPSNFSMZIPNFMFTTQFPQMF XIPTFMG             BCPVUQSJPS OFX PSQSFWJPVTMZVOLOPXODBTFT JUJT
SFQPSUFEJODJEFOUTUIFZFYQFSJFODFEGJSTUIBOE               UIFQPMJDZPG/$)UPBEKVTUUBCVMBUJPOTCBTFEPOUIF

                                                                OFXJOGPSNBUJPO
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'#*WT/$)%FGJOFE)BUF$SJNF)PNJDJEFT
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                    SBDJBMMZ SFMJHJPVTMZ TFYVBMPSJFOUBUJPO FUIOJDBMMZNPUJWBUFE

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                             TFYVBMPSJFOUBUJPO SBDJBMMZ FUIOJDJUZNPUJWBUFE

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  TOTAL                                                      1                                                       
                                           Chart compiled with data from the Center for the Study of Hate & Extremism (California State University,
                                                    San Bernardino): Analysis of Data from the F.B.I. and the National Coalition for the Homeless.
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                                                                                                                                   >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎĝ
)PNFMFTTOFTTBT4USVDUVSBM7JPMFODF

         ľĝuÕĝÊ´ĝÎĝµĝèĝÕĝ^ąUąĝÇuÊÕ´µÕĝ¼ĝ4ÙÎÕěÎĝ                    BDDFQUFEPSQSPNPUFEJOUIFNBJOTUSFBNDVMUVSF"T
         Êu®ĝ ÙÊuÙĝ¼ĝ)µäÎÕuÕ¼µĝĒ )ēĝuÎĝuĝĘÊ´µu®ĝ¼µÎĝ                     B SFTVMU  QFPQMF XIP BSF IPNFMFTT  XIP XFSF
          ¼´´ÕÕĝuuµÎÕĝuĝÇÊÎ¼µĀĝÇÊ¼ÇÊÕèĀĝ¼ÊĝÎ¼ÕèĝÕuÕĝÎĝ
                                                                                         GPSNBMMZPOFPGUIFPOMZHSPVQTUIBUJUXBTDVMUVSBMMZ
          ´¼ÕäuÕĀĝµĝå¼®ĝ¼ÊĝµĝÇuÊÕĀĝèĝÕĝ¼µÊěÎĝuÎąęĝõ
                                                                                         BDDFQUBCMF UP IBUF  BSF OP MPOHFS UIF NPTU
5IF 'FEFSBM #VSFBV PG *OWFTUJHBUJPO '#*  EPFT OPU                                EFIVNBOJ[FE PG DPNNVOJUJFT 4UJMM  UIF EBUB
DVSSFOUMZ SFDPHOJ[F B QSPUFDUFE TUBUVT GPS QFPQMF                                DPMMFDUFECZ/$)EFNPOTUSBUFTUIBUCJBTNPUJWBUFE
FYQFSJFODJOHIPNFMFTTOFTT0WFSUIFQBTUZFBST                                       WJPMFODF BHBJOTU IPNFMFTT QFSTPOT DPOUJOVFT UP CF
/$) IBT SFDPSEFE   JODJEFOUT PG DSJNFT                                        IJHIMZQSFWBMFOUJOPVSDPNNVOJUJFT
DPNNJUUFE BHBJOTU UIJT VOQSPUFDUFE HSPVQ "DSPTT

 /$)CFDBNFBXBSFPGBUUBDLT PG                                          )µĝÕĝ^ąUąĀĝuÕĝÊ´ÎĝuÊĝ¼´´ÕÕĝuuµÎÕĝ
XIJDI SFTVMUFE JO EFBUI 8IJMF UIJT SFQPSU QSPWJEFT                                     uĝÊ¼ÙÇĝ¼ĝäÙ®µÊu®ĝÇ¼Ç®ĝå¼ĝuÊĝuÕĝ
BMBSNJOH TUBUJTUJDT  JU JT JNQPSUBOU UP OPUF UIBU                                       ¼µÎÕuµÕĝÊÎ«ĝuÙÎĝÕèĝ®äĝµĝÇÙ®ĝ
QFPQMFFYQFSJFODJOHIPNFMFTTOFTTBSFPGUFOUSFBUFE                                          ÎÇuÎąĝ=uµèĝ¼ĝ¼ÙÊĝ®¼u®ĝ¼´´ÙµÕÎĝ¼ĝµ¼Õĝ
TP QPPSMZ CZ TPDJFUZ UIBU BUUBDLT BSF GPSHPUUFO PS                                   uäĝÎ®ÕÊĝÎÇuĝ¼ÊĝuÉÙuÕĝu¼Êu®ĝ
VOSFQPSUFE                                                                                          ¼ÙÎµĝÕ¼ĝ´ÕĝÕÊĝµÎąĝ

)BUF DSJNFT SFQPSUFE UP QPMJDF JO "NFSJDBT UFO 5IFSF JT BO POHPJOH NZUI UIBU IPNFMFTTOFTT IBT

MBSHFTUDJUJFTSPTFQFSDFOUJO5IFJODSFBTF BMXBZTFYJTUFE#VUUIFDVSSFOUFSBPGIPNFMFTTOFTT

XBTUIFGPVSUIDPOTFDVUJWFBOOVBMSJTFJOBSPXBOE DBNF UP CF BGUFS TFWFSF DVUT UP GFEFSBM BGGPSEBCMF

UIF IJHIFTU UPUBM JO PWFS B EFDBEF BDDPSEJOH UP BO IPVTJOHQSPHSBNTJOUIFTBOET"SPVOE

BOBMZTJT CZ UIF $FOUFS GPS UIF 4UVEZ PG )BUF  UIF TBNF UJNF  UIF 3FBHBO "ENJOJTUSBUJPO

&YUSFNJTN BU $BMJGPSOJB 4UBUF 6OJWFSTJUZ  4BO EFJOTUJUVUJPOBMJ[FE                                                     SFTJEFOUJBM       NFOUBM      IFBMUI

#FSOBSEJOP $PJODJEFOUBMMZ  UIF OVNCFST PG BUUBDLT GBDJMJUJFT  XJUIPVU QSPWJEJOH GPS UIF IPVTJOH BOE

SFQPSUFEBHBJOTUQFPQMFFYQFSJFODJOHIPNFMFTTOFTT IFBMUIDBSFOFFETPGUIPTFOFFEJOHBTTJTUBODFUPSF

IBWF EFDSFBTFE EVSJOH UIJT UJNF *U JT MJLFMZ UIBU BT FOUFSUIFJSDPNNVOJUJFT5IJTLJOEPGEFJOWFTUNFOU

QPMJUJDBM WJFXT IBWF CJGVSDBUFE  CJBT BHBJOTU JOTPDJBMTVQQPSUTZTUFNTJTDPNNPOMZSFGFSSFEUPBT

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DJWJMSJHIUTIBUF@DSJNFTPWFSWJFX
-FWJO #SJBO BOE+PIO%BWJE3FJU[FM3FQPSUUPUIF/BUJPO)BUF$SJNFT3JTFJO64$JUJFTBOE$PVOUJFTJO5JNFPG%JWJTJPO'PSFJHO
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*OUFSGFSFODF DTCTDTVTCFEVTJUFTDTVTC@DTCTGJMFT)BUF'JOBM3FQPSUQEG                                                    iÙ®µÊu®ĝÕ¼ĝ&uÕĝ ù
                                                                                                                            >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎĝ

  ľ¼ÊµĝÕ¼ĝąąĝjµÕÊĝuµĝą ąĝ8Õ¼µĀĝÎÕÊÙÕÙÊu®ĝä¼®µĀĝ                 "DDPSEJOH UP )6%T DPVOUT  BMNPTU   QFPQMF
     Ęāĝ¼ÙÊÎĝåµäÊĝÇ¼Ç®ĝuÊĝÎuäuµÕuĝèĝÇ¼®Õu®Āĝ                     BSF VOTIFMUFSFE PO BOZ HJWFO OJHIU 5IF /BUJPOBM
       ®u®Āĝ¼µ¼´ĝ¼ÊĝÙ®ÕÙÊu®ĝÕÊuÕ¼µÎąĝ uÙÎĝÕèĝuÊĝ
                                                                                    -BX $FOUFS PO )PNFMFTTOFTT BOE 1PWFSUZ IBT
  ®¼µÎÕuµµĀĝÎÕÊÙÕÙÊu®ĝµÉÙÕÎĝÙÎÙu®®èĝÎ´ĝ¼ÊµuÊèĀĝÕèĝ
    åuèĝÕµÎĝuÊĝuµĝu®åuèÎĝuäĝµāĝÎÕÊÙÕÙÊu®ĝä¼®µĝÎĝ                    FTUJNBUFEDJUJFTIBWFMBXTUIBUDSJNJOBMJ[FEBJMZ
     ÕĝÊÎÙ®Õĝ¼ĝÎ¼Õu®ĝÎèÎÕ´ÎĀĝÎÙĝuĝÎ¼u®ĝÎÕÊuÕuÕ¼µĀĝ                 BDUT PG TVSWJWBM GPS QFPQMF XIP BSF GPSDFE UP MJWF
       ÕuÕĝuäĝµĝµĝÇ®uĝ¼ÊĝèuÊÎĝĕĝÎèÎÕ´ÎĝÕuÕĝÊuÕĝ
                                                                                    PVUEPPST 5IFTF MBXT QVTI B DZDMF PG TUSVDUVSBM
       ÎÕÙuÕ¼µÎĝåÊĝÇ¼Ç®ĝ¼µěÕĝuäĝuÎÎĝÕ¼ĝÕĝÕµÎĝ
             ÊÉÙÊĝÕ¼ĝÙ®®®ĝÕÊĝuÎĝÙ´uµĝµÎąęĝ÷                        WJPMFODF UIBU MFBET UP OFHBUJWF QFSDFQUJPOT PG

                                                                                    QFPQMF XIP BSF IPNFMFTT  UIBU GVSUIFS SFMBZT B
)PNFMFTTOFTTEJEOUKVTUIBQQFO XFBTBTPDJFUZ
                                                                                    HFOFSBM MBDL PG DPNQBTTJPO BOE BDUJPO UP JOWFTU JO
DIPTFOPUUPFOTVSFUIBUBMMSFTJEFOUTIBEBDDFTTUP
                                                                                    UIF IPVTJOH BOE PUIFS TZTUFNJD TPMVUJPOT UP
IPVTJOH1FPQMFBSFOUDIPPTJOHUPCFIPNFMFTTOFTT
                                                                                    FOEFNJDQPWFSUZ
 XFBSFNBLJOHJUJNQPTTJCMFGPSBMMQFPQMFUPFBSOB
MJWJOHXBHFBOEUPCFBCMFUPBGGPSEBEFRVBUF                                      'VSUIFSNPSF  TUSVDUVSBM WJPMFODF IBT OPU POMZ
IFBMUIDBSF5IFSFBSFTUSVDUVSFTJOQMBDFUIBUIBWF                               DSFBUFE IPNFMFTTOFTT  CVU IBT BMMPXFE GPS PVS
DSFBUFEBOFQJEFNJDPGJODPNFJOFRVBMJUZBOE                                       IPNFMFTTCSPUIFSTBOETJTUFSTUPEJFBUBOBMBSNJOH
IPNFMFTTOFTT
                                                                                    SBUF " HSPXJOH OVNCFS PG DJUJFT IBWF CFFO

*OJUTBOOVBM1PJOU*O5JNF$PVOU UIF64                                   SFMFBTJOH BOOVBM SFQPSUT PO UIF OVNCFS PG

%FQBSUNFOUPG)PVTJOHBOE6SCBO%FWFMPQNFOU                                        DPNNVOJUZ NFNCFST XIP IBWF EJFE XIJMF

)6% FTUJNBUFEUIBUPOBOZHJWFOOJHIUUIFSFXFSF                                  IPNFMFTT 5IJT SFQPSU POMZ EPDVNFOUT B GSBDUJPO PG

 NFOXPNFOBOEDIJMESFOXIPXFSF                                           UIFTF EFBUIT 5IF NPTU DPNNPO DBVTFT PG EFBUI

IPNFMFTT"OPUIFS PSTPGPSNFSMZ                                         BNPOH QFPQMF FYQFSJFODJOH IPNFMFTTOFTT BSF

IPNFMFTTJOEJWJEVBMTBOEGBNJMJFTSFTJEFJO                                        USBVNB  NFEJDBM DPOEJUJPOT  BOE iOBUVSBM DBVTFTw 

TVQQPSUJWFIPVTJOHUISPVHI)6%TIPNFMFTT                                          NPTU PG XIJDI DPVME CF SFEVDFE XJUI BQQSPQSJBUF

QSPHSBNT                                                                          IPVTJOH




                               
         $PRUH                                                                                                 
        DFFXUDWH                             ƉĞŽƉůĞĞǆƉĞƌŝĞŶĐŝŶŐ
                                             ŚŽŵĞůĞƐƐŶĞƐƐǀŝĂϮϬϭϳ                  ƌĞĐĞŶƚůǇŚŽŵĞůĞƐƐ
                                                                                       ƉĞŽƉůĞƐƚĂǇŝŶŐŝŶ
                                                                                                                             ƉĞŽƉůĞďĞŝŶŐƐĞƌǀĞĚ;Žƌ
                                                                                                                              ǁŚŽĐŽƵůĚďĞƐĞƌǀĞĚͿ

         FRXQW"                               WŽŝŶƚͲ/ŶͲdŝŵĞŽƵŶƚ                     ƐƵƉƉŽƌƚŝǀĞŚŽƵƐŝŶŐ                     ďǇŚŽŵĞůĞƐƐƉƌŽŐƌĂŵƐ



 &OHBSE #SJBOi3FDPHOJ[JOHBOE"EESFTTJOH4USVDUVSBM7JPMFODF]$60OMJOFw$BNQCFMMTWJMMF6OJWFSTJUZ0OMJOF +VOF 
POMJOFDBNQCFMMTWJMMFFEVTPDJBMXPSLTUSVDUVSBMWJPMFODF
)FOSZ .FHIBO FUBMi5IF"OOVBM)PNFMFTT"TTFTTNFOU3FQPSU ")"3 5P$POHSFTTw%FQBSUNFOUPG)PVTJOHBOE
6SCBO%FWFMPQNFOU %FD IUUQT8XXIVEFYDIBOHFJOGP3FTPVSDFT%PDVNFOUT")"31BSU1EG
)PVTJOH/PU)BOEDVGGT&OEJOHUIF$SJNJOBMJ[BUJPOPG)PNFMFTTOFTTJO64$JUJFT /BUJPOBM-BX$FOUFSPO)PNFMFTTOFTTBOE       AR004315
1PWFSUZ IUUQTXXXOMDIQPSHEPDVNFOUT)PVTJOH/PU)BOEDVGGT                                                                        iÙ®µÊu®ĝÕ¼ĝ&uÕĝ ú
                                                                                                                                                                                    >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎĝ

"T UIF /BUJPOBM )FBMUI $BSF GPS UIF )PNFMFTT                                                                   *OUIJTSFQPSU 7VMOFSBCMFUP)BUF"4VSWFZPG#JBT
$PVODJMQPJOUTPVU MJGFFYQFDUBODZGPSTPNFPOFXIP                                                                   .PUJWBUFE7JPMFODFBHBJOTU1FPQMF&YQFSJFODJOH
JT IPNFMFTT DBO CF  ZFBST ZPVOHFS UIBO UIF                                                               )PNFMFTTOFTTJO XFBOBMZ[FUIFEJSFDU
HFOFSBM QPQVMBUJPO 5IF /BUJPOBM $PBMJUJPO GPS UIF                                                             WJPMFODFQFPQMFFYQFSJFODJOHIPNFMFTTOFTTGBDF
)PNFMFTT IBT FTUJNBUFE UIBU BOOVBMMZ  UIFSF BSF                                                                 GSPNUIFIPVTFEDPNNVOJUZ5IJTSFQPSUJODMVEFT
  JOEJWJEVBMT XIP EJF PO PVS TUSFFUT GSPN                                                                 EFTDSJQUJPOTPGSFQPSUFEPDDVSSFODFTPGCJBT
FJUIFSEJSFDUWJPMFODF PSUIFTUSVDUVSBMWJPMFODFPVS                                                                NPUJWBUFEWJPMFODFBMMPGXIJDIDBOCFGPVOEJOUIF
TPDJFUZ QFSQFUSBUFT CZ OPU FOTVSJOH UIFZ IBWF B
                                                                                                                       "QQFOEJY MJTUFECZMPDBUJPO5IJTSFQPSUXJMMQSPWJEF
QMBDFUPDBMMIPNF%%8JOUFSBOE%$-FJHIUPO
                                                                                                                       TPMVUJPOTGPSBEWPDBUFTBOEDPNNVOJUZNFNCFSTUP
TUBUFUIBU iTUSVDUVSBMWJPMFODFJTQSPCMFNBUJDJOBOE
                                                                                                                       IFMQNJUJHBUFWJPMFODFBHBJOTUPVSNPTUWVMOFSBCMF
PG JUTFMGy CVU JT BMTP EBOHFSPVT CFDBVTF JU
                                                                                                                       -BTUMZ JUXJMMQSPWJEFQPMJDZTPMVUJPOTGPSPVS
GSFRVFOUMZMFBETUPEJSFDUWJPMFODFyw
                                                                                                                       MBXNBLFSTUPQSFWFOUWJPMFODFBHBJOTUIPNFMFTT
                                                                                                                       JOEJWJEVBMT



          Zľ 8ĝôÿĝĝ>^= QĝD ĝ)> )> UĝQ DQ
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           ó÷ò                                                                                                                                                                                         8Õu®ĝľÕÕu«Î



           óòò



            ÷ò



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                          Ěûû       Ěòò       Ěòó       Ěòô       Ěòõ       Ěòö        Ěò÷       Ěòø        Ěòù         Ěòú         Ěòû        Ěóò         Ěóó       Ěóô           Ěóõ       Ěóöĝ Ěó÷ĝ ĝĚóøĝ               ĝĚóùĝ
           8Õu®          öû        öõ        óú       óö         ú        ô÷         óõ         ôò         ôú         ôô          öõ         ôö          õô         óú           óú        ôø         ôù       õù        óó
           >¼µĖ
                           óô        ôõ       øó        ôó        øó        úò         ùõ        óôõ        óõô         ùû          ùö         úû          ùõ         ùò           ûó         ûø       ÷ò        öø        óú
           8Õu®
           Z¼Õu®           øó        øø       ùû        õ÷        øû        óò÷        úø        óöô        óøò         óòó         óóù        óóõ        óò÷        úú        óòû            óôô ùù             úõ        ôû




5IF)BSE $PME'BDUT"CPVUUIF%FBUITPG)PNFMFTT1FPQMF /BUJPOBM)FBMUI$BSFGPSUIF)PNFMFTT$PVODJM %FDFNCFS 
IUUQXXXOIDIDPSHXQDPOUFOUVQMPBET)BSE$PME'BDUTQEG                                                                                                                                  AR004316
4FF"QQFOEJY                                                                                                                                                                                    iÙ®µÊu®ĝÕ¼ĝ&uÕĝ û
                                                                                                                             >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ

(FPHSBQIJDBM%JTUSJCVUJPOPG)BUF$SJNFT
5IF  BUUBDLT DPNNJU !QľO&ĝóĝĝ8D ľZ)D>U D ĝ&ľZĝ Q)=Uĝ D==)ZZĝľ!ľ)>UZĝ&D=8UUĝ)>)i)^ľ8Uĝĝ)>ĝôòóøĖôòóù
UFE BHBJOTU JOEJWJEVBMT
FYQFSJFODJOH IPNFMFTT                              jľ
OFTT JO  BOE                                            =Z             >                                                                iZ >& =
                                                  DQ                                          =>
PDDVSSFEBDSPTTTUBUFT                                    )                    U                 j)                                        >m         =ľ
                                                                       jm                                        =)                                      Z Q)
BOE UIF %JTUSJDU PG
                                                                                    >          )ľ                                      Oľ   >4
$PMVNCJB 0WFS UIF MBTU                            >i
                                                                  ^Z                                      )8 )> D&                         = 
                                                ľ                          D                                             ji              iľ 
 ZFBST  BOUJIPNFMFTT                                                             6U         =D               6m
BUUBDLT     IBWF    CFFO                                                                                     Z>                           >
                                                               ľq       >=               D6
                                                                                                   ľQ                     U
SFQPSUFE JO  TUBUFT                                                                                       ľ8    !ľ
                                                                                                         =U
1VFSUP 3JDP BOE UIF                                                              Zl            8ľ
%JTUSJDUPG$PMVNCJB                               ľ6
                                                                                                                                         8
                                                                                    &)                                                                  OQ
"O BTUPOJTIJOH  PG
BUUBDLT SFQPSUFE JO
                                            ľ8) DQ>)ľ õù       !DQ!)ľ       õ      =) &)!ľ>     ô        &ľjľ))         ó
 UPPL QMBDF JO                >jĝmDQ6 ú          )88)>D)U      õ      >jĝ4QUm ô          8D^)U)ľ>ľ      ó
                                                                                                                                                   >Dĝi)D8>Zĝľ ZUĝ
                                                                                                                                                 ľ!ľ)>UZĝ)>)i)^ľ8Uĝ
$BMJGPSOJB 'PS UIF GJSTU              jľU&)>!ZD> ù        =ľUUľ &^UZZU õ      >iľľ       ô        =)>>UDZľ      ó                          lOQ)> )>!ĝ
                                           DQ!D>     ÷        ľ8ľ ľ=ľ       ô      D&)D         ô        >jĝ=l) D     ó
UJNF JO NBOZ ZFBST                                                                                                                           &D=8UU>UUĝjQĝ
                                           ZlľU      ÷        ľQ6ľ>UľU      ô      O>>Um8iľ>)ľ ô        UD^Z&ĝ ľQD8)>ľ ó                        QODQZĝ)>ĝDZ&Qĝ
                                            8DQ)ľ     ö       ľQ)qD>ľ       ô      Z>>UU ô           j)U D>U)>      ó
'MPSJEB EJE OPU SFQPSU                 D68ľ&D=ľ ö          )>)ľ>ľ       ô      ľ8ľU6ľ       ó
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POF PG UIF IJHIFTU                      D8DQľD õ          =ľQm8ľ>      ô      ą ą         ó

OVNCFS PG BUUBLT 5IFTF !QľO&ĝôĝ8D ľZ)D>U D ĝ&ľZĝ Q)=Uĝ D==)ZZĝľ!ľ)>UZĝ&D=8UUĝ)>)i)^ľ8Uĝĝĝ QD=ĝóûûûĖôòóù
UXP      TUBUFT     IBWF
DPOTJTUFOUMZ TFFO IJHI
SBUFT PG WJPMFODF BOE
BCVTF UPXBSET UIFJS
IPNFMFTT QPQVMBUJPOT
0WFS UIF MBTU  ZFBST 
/$) IBT SFDPSEFE PWFS
 BUUBDLT DPMMFDUJWFMZ
BDSPTT UIFTF UXP TUBUFT 
XIFSF IPNFMFTT GPMLT
UFOEUPCFNPSFWJTJCMF

*U JT MJLFMZ UIBU NVDI PG
UIF EFDSFBTFT JO UIJT
                                              ľ8) DQ>)ľ õùó   O>>Um8iľ>)ľ     öó   )>)ľ>ľ       ô÷   UD^Z&ĝ ľQD8)>ľ   ó÷      6ľ>UľU            û          =D>Zľ>ľ        ÷
SFQPSU BSF EVF UP BO                    8DQ)ľ     ô÷ô   >iľľ           õû   >jĝ4QUm    ô÷   &ľjľ))           óö      =)UU)UU)OO)       û          ^Zľ&           õ
                                            ZlľU        ûú   =ľUUľ &^UZZU    õø   ľ8ľU6ľ        ôõ   jľU&)>!ZD>Āĝ    óõ      >jĝ&ľ=OU&)Q     û          jmD=)>!        õ
PWFSBMM JODSFBTF JO UIF                 D&)D        úù    =) &)!ľ>         õø   i)Q!)>)ľ      ôó   8D^)U)ľ>ľ        óõ      > QľU6ľ          ú          8ľjľQ       ô
                                            )88)>D)U     øó   ľQ)qD>ľ          õõ   O^QZDĝQ) D   ôò   D68ľ&D=ľ         óõ      Q&Dĝ)U8ľ>      ú          >DQZ&ĝľ6DZľ   ó
OVNCFS PG IBUF DSJNFT                   >jĝmDQ6 øò       >DQZ&ĝ ľQD8)>ľ   ôú   ľQ6ľ>UľU      óû   >jĝ=l) D       óô      )Djľ              ù
BHBJOTUGFEFSBMMZQSPUFDUE                 DQ!D>      øò    Z>>UU        ôú   =)>>UDZľ     óø   UD^Z&ĝľ6DZľ     óô      j)U D>U)>         ù
                                              D8DQľD ÷ù      !DQ!)ľ          ôø   =ľ)>         ó÷   ľ8ľ ľ=ľ          óó      6>Z^ 6m          ø
DMBTTFT TJODF UIF                   jľU&)>!ZD> ÷÷     =ľQm8ľ>         ôø   =)UUD^Q)      ó÷    D>> Z) ^Z      óó      jUZĝi)Q!)>)ľ     ø

FMFDUJPO                                                                                                                             AR004317
                                                                                                                                       iÙ®µÊu®ĝÕ¼ĝ&uÕĝ óò
                                                                                                    >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
%FNPHSBQIJDTPG7JDUJNTBOE1FSQFUSBUPST
7JDUJNTPGIPNFMFTTIBUFDSJNFTBSFNPTUDPNNPOMZ              !QľO&ĝõÿĝi) Z)=ĝ!>Qĝ)UZQ) ^Z)D>ĝôòóøĖôòóù

NJEEMFBHFENFO#FUXFFOBOE POBWFS
BHF   PG UIF WJDUJNT XFSF PWFS UIF BHF PG 
0WFS UIFTF  ZFBST PG USBDLJOH   PG WJDUJNT PG
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BOUJIPNFMFTT BUUBDLT XFSF NBMF "T XF BSF TFFJOH
NPSF JOEJWJEVBMT GPSDFE UP MJWF VOTIFMUFSFE JO PVS                                                  úõĨ
DPNNVOJUJFT JOBOE UIFSFXFSFTMJHIUMZ
IJHIFSOVNCFSTPGGFNBMFWJDUJNT  BOEWJDUJNT
VOEFSUIFBHFPG  


*O DPOUSBTU UP UIF WJDUJNT  QFSQFUSBUPST PG IBUF        !QľO&ĝöÿĝOQOZQľZDQĝľ!ĝ)UZQ) ^Z)D>ĝôòóøĖôòóù

DSJNFT BHBJOTU IPNFMFTT JOEJWJEVBMT IBWF CFFO
PWFSXIFMNJOHMZ ZPVOH NFO  XJUI UIF BUUBDLFS
CFJOH NBMF  PG UIF UJNF PWFS UIF MBTU  ZFBST                     õõĨ
"EEJUJPOBMMZ TJODF    PG UIF QFSQFUSBUPST
IBWFCFFOVOEFSUIFBHFPGUIJSUZ*OBOE 
XJUIPGUIFQFSQFUSBUPSTCFJOHVOEFSZFBST
                                                                                                            øùĨ
PME JUJTDMFBSUIBUUIFQFSQFUSBUPSTPGBOUJIPNFMFTT
BUUBDLTBSFDPOUJOVJOHUPBDUBUZPVOHBHFT


4VNNBSZPGDBTFTJOBOE-FUIBM"UUBDLT
*O  BOE   PVU PG  EPDVNFOUFE BUUBDLT 

 WJDUJNT MPTU UIFJS MJWFT 5IFTF BSF UIF NPTU               !QľO&ĝöÿĝ8Z&ľ8ĝiUąĝ>D>Ė8Z&ľ8ĝ)> )> Uĝ
                                                                                                                           >¼µĖ8Õu®
FHSFHJPVT  BOE NPTU EJGGJDVMU UP VOEFSTUBOE BDUT PG                                                                8Õu®

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PG BMM TPSUT UP UBLF UIF MJWFT PG QFPQMF XIP XFSF
                                                                       ôòóù
WVMOFSBCMFEVFUPUIFJSIPVTJOHTUBUVT5IFTFBSFUIF

NPTUTIPDLJOHPGUIFJODJEFOUTUSBDLFEPWFSUIFMBTU                         ò   ôò     öò    øò      úò   óòò      óôò




UXP ZFBST  B GVMM TVNNBSZ PG SFQPSUFE DBTFT DBO CF

GPVOEJOUIF"QQFOEJY
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                                                                                                             iÙ®µÊu®ĝÕ¼ĝ&uÕĝ óó
                                                                                                                     >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
4BO'SBODJTDP $BMJGPSOJB                                                     "MCVRVFSRVF /FX.FYJDP
.PSF4VTQFDUT"SSFTUFEJO#FBUJOH%FBUIPG                                    .BO'PVOE%FDBQJUBUFE0VUTJEF"#28BM.BSU8BT
)PNFMFTT.BO                                                                     )PNFMFTT
.BZ    5IF MJGFMFTT CPEZ PG BO FMEFSMZ                          %FDFNCFS    $MJGGPSE .JMMFS    XBT GPVOE
IPNFMFTT NBO XBT GPVOE GMPBUJOH JO B QPOE JO                            OBLFE EFDBQJUBUFE BOENJTTJOHIJTHFOJUBMTCFIJOE
(PMEFO (BUF 1BSL  BGUFS IBWJOH TVGGFSFE B CSVUBM                         B 8BM.BSU CZ B TFDVSJUZ HVBSE .JMMFST IFBE XBT
UISFFEBZMPOH CFBUJOH CFGPSF CFJOH MFGU UP EJF                          OPUGPVOE5IFQPMJDFIBWFOPTVTQFDUT
4UFWFO #JMMJOHTMFZ    /JLLJ -FF 8JMMJBNT   
4BNBOUIB 3VOETUSPN    BOE .JDIBFM (SBTTP   
IBWFCFFODIBSHFEJODPOOFDUJPOUPUIFDBTF                                    3JWFSTJEF $BMJGPSOJB
                                                                                )PNFMFTTNBOIJUCZDBSUPSFDFJWFNJMJUBSZGVOFSBM
4BO%JFHP $BMJGPSOJB                                                         'FCSVBSZ "IPNFMFTTNBOXIPNQPMJDFTBZ
.BO"UUBDLFE8JUI)BNNFSJO-BUFTU$SJNFT                                       XBT JOUFOUJPOBMMZ IJU CZ B DBS XBT CVSJFE XJUI
"HBJOTU)PNFMFTT                                                                 NJMJUBSZ IPOPST 3BZNPOE +PIO $PPM  B  ZFBSPME
                                                                                 /BWZ WFUFSBO  MJWFE JO B DPSOFS PG B QBSLJOH MPU
+VMZ    "OHFMP %F /BSEP   BOE IPNFMFTT                          XIFSF IF XBT TUSVDL BOE LJMMFE PO 'FC SE  
XBTGPVOEEFBEBOECVSOFEJOBOPQFOBSFBPG#BZ                                5IF ESJWFS    -BXSFODF "BTFOH IBT QMFBE OPU
1BSL 1PMJDF CFMJFWF %F /BSEP XBT LJMMFE QSJPSUP                        HVJMUZUPNVSEFSBOEBTTBVMUXJUIBEFBEMZXFBQPO
CFJOH TFU PO GJSF *OWFTUJHBUPST JOJUJBMMZ TVTQFDUFE                      "VUIPSJUJFTTBZ"BTFOHJOUFOUJPOBMMZIJU$PPM XIP
"OUIPOZ 1BEHFUU    TFFO PO TVSWFJMMBODF WJEFP                          XBT TUBOEJOH OFBS B USFF  UIFO CBDLFE VQ BOE
CVZJOH HBTPMJOF BU B DPOWFOJFODF TUPSF 1BEHFUU                           JOUFOUJPOBMMZIJUBOPUIFSDBSBTIFUSJFEUPGMFF
XBT BSSFTUFE BOE MBUFS SFMFBTFE EVF UP MBDL PG
FWJEFODF +PIO % (VFSSFSP XBT MBUFS BSSFTUFE GPS B
TQSFF PG WJPMFODF BHBJOTU UIF IPNFMFTT QPQVMBUJPO                        1PSUMBOE 0SFHPO
JO4BO%JFHP                                                                   )PNFMFTTNBOLJMMFETUSVHHMFEXJUINFOUBMJMMOFTT
                                                                                 'FCSVBSZ +BTPO1FUFSTPO  XBTTIPUBOE
$PSPOB     $BMJGPSOJB                                                        LJMMFEXIFODPOGSPOUFECZUIFPXOFSPG(PMEFO,FZ
$PSPOB)PNFMFTT8PNBO,JMMFEJO#SVUBM"UUBDL                                   *OTVSBODF "HFODZ BCPVU QSPQFSUZ IF IBE MFGU JO
XJUI,OJGF #BU                                                                  GSPOU PG UIF CVTJOFTT $IBSMJF $IBO  UIF CVTJOFTT
                                                                                 PXOFS XIP SFQPSUFEMZ TIPU +BTPO  IBTOU CFFO
4FQUFNCFS    " IPNFMFTT XPNBO XBT                                  DIBSHFE
CSVUBMMZ BUUBDLFE JO CSPBE EBZMJHIU BU B TUPSF
QBSLJOH MPU 5IF WJDUJN XBT GJSTU TUBCCFE BOE UIFO
CFBUFO UP EFBUI XJUI B CBU 4UFWFO -PJB    IBT                       "EFMQIJ .BSZMBOE
CFFO BSSFTUFE BOE DIBSHFE XJUI IPNJDJEF                                   #PZT BOE "DDVTFEPG,JMMJOH)PNFMFTT.BOJO
8JUOFTTFT TBZ UIBU UIF WJDUJN EJE OPUIJOH UP                             .BSZMBOE
QSPWPLF-PJB BTTIFXBTKVTUTUBOEJOHJOGSPOUPGUIF                          +VMZ    &MJBT 1PSUJMMP    BOE B  ZFBSPME
TUPSFXIFSF-PJBCFHBOTUBCCJOHIFS-PJBUIFOSBO                              CPZ GSPN 1SJODF (FPSHFT $PVOUZ IBWF CFFO
BXBZ  SFUVSOFE XJUI B CBU  BOE CFBU IFS PWFS UIF                       DIBSHFE JO UIF +VMZ UI EFBUI PG 'SBODJTDP
IFBESFQFBUFEMZ                                                                 4BHBTUJ[BEP 0O UIF NPSOJOH PG +VMZ UI 
                                                                                 TPNFPOF GPVOE 4BHBTUJ[BEP VOSFTQPOTJWF XJUI
                                                                                 NVMUJQMF TUBC XPVOET 5IF PGGJDFST QSPOPVODFE
                                                                                 IJN EFBE )F XBT  ZFBST PME "DDPSEJOH UP
                                                                                 QSFMJNJOBSZ JOWFTUJHBUJPO  UIF CPZT TUBCCFE
 "TTPDJBUFE1SFTT 5XP.PSF4VTQFDUTBSSFTUFEJO#FBUJOH%FBUIPG           4BHBTUJ[[BEP XIFO IF SFGVTFE UP HJWF UIFN
)PNFMFTT.BO 5IF8BTIJOHUPO5JNFT "VHVTU  IUUQT                    NPOFZ
XXXXBTIJOHUPOUJNFTDPNOFXTBVHNPSFTVTQFDUTBSSFTUFEJO
CFBUJOHEFBUIPGIPNFM
"SDFHB%VOO .BSJB .BO"UUBDLFE8JUI)BNNFS*O-BUFTU$SJNF"HBJOTU)PNFMFTT 'PY +VMZ  IUUQ
GPYTBOEJFHPDPNIPNFMFTTNBOBUUBDLFEXJUIIBNNFSJOFBTUWJMMBHF
+VBSF[ -FUJDJB $PSPOB)PNFMFTT8PNBO,JMMJOHJO#SVUBM"UUBDLXJUI,OJGF #BU "#$ 4FQUFNCFS  IUUQBCDDPNOFXTDPSPOBIPNFMFTTXPNBO
LJMMFEJOCSVUBMBUUBDLXJUILOJGFCBU
,BQMBO &MTJF 'SJFOE.BO'PVOE%FDBQJUBUFE0VUTJEF"#28BM.BSU8BT)PNFMFTT "MCVRVFSRVF+PVSOBM %FDFNCFS  IUUQT
XXXBCRKPVSOBMDPNGSJFOENBOGPVOEEFDBQJUBUFEPVUTJEFOFBCRXBMNBSUXBTIPNFMFTTIUNM
"TTPDJBUFE1SFTTi)PNFMFTT7FUFSBO)JUCZ$BSUP3FDFJWF.JMJUBSZ'VOFSBMw.JMJUBSZDPN $PEZ6OEFSXPPE XXXNJMJUBSZDPNEBJMZOFXT
IPNFMFTTNBOIJUDBSSFDFJWFNJMJUBSZGVOFSBMIUNM
#VUUPO )BOOBIi)PNFMFTT.BO,JMMFE4USVHHMFEXJUI.FOUBM*MMOFTTw,0*/ ,0*/ 'FC XXXLPJODPNOFXTIPNFMFTTNBOLJMMFETUSVHHMFEXJUI
NFOUBMJMMOFTT@
1FSTPOi#PZT BOE "DDVTFEPG,JMMJOH)PNFMFTT.BOJO"EFMQIJw/#$8BTIJOHUPO /#$8BTIJOHUPO "VH XXXOCDXBTIJOHUPODPNOFXT
MPDBM#PZTBOE"DDVTFEPG,JMMJOH)PNFMFTT.BOJO"EFMQIJIUNM

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                                                                                                                                 iÙ®µÊu®ĝÕ¼ĝ&uÕĝ óô
                                                                                                                    >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
5VMTB 0LMBIPNB
.BO$IBSHFE8JUI,JMMJOH)PNFMFTT5VMTB.BO
4FQUFNCFS    +FSFNZ 5IBDLFS SBO PWFS B
HSPVQ PG IPNFMFTT QFPQMF CFIJOE UIF +PIO 
.JTTJPO 4IBXO #JSEP XBT LJMMFE  BOE JO B DPVSU
EPDVNFOUBXJUOFTTDMBJNT5IBDLFSUPMEIJNIFTBX
B CMBDL NBO BOE XIJUF XPNBO TMFFQJOH UPHFUIFS
BOEIFiEJEXIBUIJTCSBJOUPMEIJNUPEP SVOUIFN
PWFSw


4VNNBSZPGDBTFTJOBOE
/PO-FUIBM"UUBDLT
*OBOE PVUPGEPDVNFOUFEBUUBDLT 
WJDUJNT GPSUVOBUFMZ EJE OPU MPTF UIFJS MJWFT 
NBOZ XFSF TDBSSFE JO EFFQFS XBZT %BJMZ  QFPQMF
XIPBSFWJTJCMZVOIPVTFEFYQFSJFODFIBSBTTNFOUBU
UIF IBOET PG  IPVTFE QFPQMF  DJUZ BOE MBX
FOGPSDFNFOU QFSTPOOFM  FWFO CZ TPDJBM TFSWJDF                             $MFWFMBOE 0IJP
                                                                                )PNFMFTT8PNBO'PVOEJO$MFWFMBOE)PNF8BTB
QFSTPOOFM 5IF OPOMFUIBM BUUBDLT SFQPSUFE IFSF                           7JDUJNPG'PSDFE1SPTUJUVUJPO 1PMJDZ4BZ
                                                                                +VMZ "NJTTJOHXPNBO  XBTIFMEDBQUJWF
IJHIMJHIU        UIF     FOEFNJD          EJTDSJNJOBUJPO          BOE      GPS GPVS EBZT BOE GPSDFE JOUP QSPTUJUVUJPO 5IF
EFIVNBOJ[BUJPO PG QFPQMF FYQFSJFODJOH IPNFMFTT                             VOOBNFE XPNBO UPME QPMJDF TIF XBT IPNFMFTT
                                                                                XIFO TIF NFU B NBO JO NJE+VOF BU B IPTQJUBM JO
OFTT " GVMM TVNNBSZ PG SFQPSUFE OPOMFUIBM DBTFT                       -PSSBJO  XIP TIF TUBSUFE EBUJOH )F PGGFSFE UP HJWF
                                                                                IFS B SPPN BU BO BQBSUNFOU CVJMEJOH BOE TIF XBT
DBOCFGPVOEJOUIF"QQFOEJY                                                  JOJUJBMMZ DPODFSOFE CVU FWFOUVBMMZ BDDFQUFE
                                                                                )PXFWFS  BGUFS TIF NPWFE JO  IFS CPZGSJFOE BOE
                                                                                5BOHFMJDB 3BZ  BOE BOPUIFS SFTJEFOU PG UIF
4FYVBM"TTBVMU                                                                 BQBSUNFOU GPSDFEIFSJOUPQSPTUJUVUJPO USBQQJOHIFS
                                                                                JOUIFBQBSUNFOUXIFOTIFUSJFEUPMFBWF5IFHSPVQ
2VFFOT /FX:PSL                                                             BSSBOHFE GPS NFO UP DPNF JO UP IBWF TFY XJUI UIF
)PNFMFTTNBOSPCCFE TFYVBMMZBCVTFEXIJMF
MPPLJOHGPSTDSBQNFUBMTJO2VFFOT                                              XPNBO PWFS UIF OFYU GJWF EBZT 5IF GJSTU UJNF JU
                                                                                IBQQFOFE UIFHSPVQMPDLFEUIFNBOJOUPUIFSPPN
'FCSVBSZ 'PVSUIJFWFTSPCCFEBZFBSPME                            XJUI IFS  XIFSF IF QSPDFFEFE UP SBQF IFS BGUFS IFS
IPNFMFTT NBO MPPLJOH GPS TDSBQ NFUBM JO 2VFFOT                          SFGVTBM 0O +VMZ UI  TIF HSBCCFE NPOFZ GSPN UIF
BOE UIFO NPMFTUFE UIFJS WJDUJN XJUI B TPEB CPUUMF                     BQBSUNFOU BOE USJFE UP MFBWF  CVU UIF HSPVQ
5IF GPVS UIJFWFT EFNBOEFE UIF IPNFMFTT NBOT                             EFUBJOFE IFS  TMBNNJOH IFS IFBE JOUP UIF XBMM 
QSPQFSUZ5IFWJDUJNTBJEUIBUIFXBTKVTUMPPLJOHGPS                         QJDLJOH IFS VQ  UISPXJOH IFS EPXO UIF TUBJST  BOE
TDSBQ NFUBM BOE NFBOU OP IBSN  CVU UIF TVTQFDUT                        QVODIJOH IFS SFQFBUFEMZ 5IF XPNBO FWFOUVBMMZ
HSBCCFEIJNBOEUPPLIJTXBMMFU5IFOoJOBOBDUPG                           FTDBQFE BOE SBO UP B NBJM DBSSJFS  XIP DBMMFE 
TBEJTNUIFZQVMMFEUIFNBOTQBOUTBOEVOEFSXFBS                              4IF  XBT UBLFO UP UIF IPTQJUBM GPS IFS JOKVSJFT
EPXO BOE BCVTFE IJN XJUI B $PDB$PMB CPUUMF 5IF                       JODMVEJOHBEJTMPDBUFEKBX5IFHSPVQSBOPGGCFGPSF
WJDUJN QBTTFE PVU GSPN UIF QBJO  IF UPME QPMJDF                       QPMJDFBSSJWFE5BOHFMJDB3BZIBTCFFODIBSHFEXJUI
8IFO IF XPLF VQ  UIF UIJFWFT XIP TUPMF IJT XBMMFU                     QSPNPUJOH QSPTUJUVUJPO  CVU OP BSSFTUT IBWF CFFO
BOEIJTNPOFZ XIJDIBNPVOUFEUP XFSFHPOF                               NBEF
 /FXT0ODPNi.BO$IBSHFE8JUI,JMMJOH)PNFMFTT5VMTB.BO 8BOUT"$IBSHF%JTNJTTFEw0LMBIPNBhT0XO/FXT0O .BS XXXOFXTPODPN
TUPSZNBODIBSHFEXJUILJMMJOHIPNFMFTTUVMTBNBOXBOUTBDIBSHFEJTNJTTFE
1BSBTDBOEPMB 3PDDP BOE5IPNBT5SBDZi)PNFMFTT.BO3PCCFE 4FYVBMMZ"CVTFE8IJMF-PPLJOHGPS4DSBQ.FUBMJO2VFFOT/:%BJMZ/FXTw/ZEBJMZOFXTDPN 
/FX:PSL%BJMZ/FXT 'FC XXXOZEBJMZOFXTDPNOFXZPSLOZDDSJNFIPNFMFTTNBOSPCCFETFYVBMMZBCVTFERVFFOTBSUJDMF
'FSSJTF "EBN )PNFMFTT8PNBO'PVOEJO$MFWFMBOE"QBSUNFOUXBT7JDUJNPG'PSDFE1SPTUJUVUJPO 1PMJDF4BZ $MFWFMBOEDPN 
4FQUFNCFS  IUUQXXXDMFWFMBOEDPNNFUSPJOEFYTTGIPNFMFTT@XPNBO@GPVOE@JO@DMFWFMBOEIUNM                   AR004320
                                                                                                                                iÙ®µÊu®ĝÕ¼ĝ&uÕĝ óõ
                                                                                                                          >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
1PMJDF#SVUBMJUZ                                                                  #FBUJOHT
4BO"OUPOJP 5FYBT                                                               1BIPB )BXBJJ
'JSFE4BO"OUPOJP0GGJDFS"ENJUT5P(JWJOH1PPQ                                    "MMFHFE"TTBJMBOU1MFBET/PU(VJMUZJO)PNFMFTT
4BOEXJDIUP)PNFMFTT1FSTPO                                                         "UUBDL
%FDFNCFS .BUUIFX-VDLIVSTU BGPSNFS4BO                                  +VOF    $ISJTUPQIFS .PISMBOH    BUUBDLFE
"OUPOJPQPMJDFPGGJDFS GPVOEEPHQPPQ CSFBE BOE                                 +PIO )BSUMFZ   BOE IPNFMFTT  XIJMF IF TBU JO IJT
B DPOUBJOFS PO UIF HSPVOE  QVU JU JO UPHFUIFS  BOE                        XIFFMDIBJS .PISMBOH QPVSFE JDF XBUFS PO B
TFU JU CZ B IPNFMFTT NBO BT B KPLF UP FOUFSUBJO IJT                     TMFFQJOH )BSUMFZ  TQSBZFE IJN XJUI NBDF  BOE
DPMMFBHVFT 5IF PGGJDFS DBNF CBDL BOE UISFX BXBZ                            QVODIFE IJN JO UIF GBDF TFWFSBM UJNFT 5IF BUUBDL
UIF QPPQ TBOEXJDI IJNTFMG )F XBT MBUFS GJSFE BT B                        XBT DBVHIU PO WJEFP  BOE GPMMPXJOH QVCMJD VQSPBS 
SFTVMUPGUIFJODJEFOU                                                            .PISMBOHUVSOFEIJNTFMGJO)BSUMFZQMBOTUPQVSTVF
                                                                                    MJUJHBUJPO BHBJOTU IJT BUUBDLFS  XIP JT BMTP GBDJOH
                                                                                    DIBSHFT GPS BUUBDLJOH ,FWJO +FOLJOT   BOE
%FOWFS $PMPSBEP                                                                 IPNFMFTT PO4FQUFNCFSSE 
"DUJWJTUTBZWJEFPTIPXT%1%VTJOHFYDFTTJWFGPSDF
POBOVOBSNFEIPNFMFTTNBO
+BOVBSZ    "DUJWJTUT BSF PVUSBHFE PWFS B                             .FMCPVSOF 'MPSJEB
%FOWFS 1PMJDF CPEZ DBNFSB WJEFP UIBU TIPXT BO                               .FMCPVSOFQPMJDFJOWFTUJHBUFIPNFMFTTTUSFFU
                                                                                    CFBUJOH
PGGJDFSVTJOHB5BTFSPOBOVOBSNFEIPNFMFTTNBO
*OUIFWJEFP UIFPGGJDFSGJSFTIJT5BTFSMFTTUIBOUFO                            .BSDI     B DPVOUZXJEF BMFSU XBT JTTVFE GPS
TFDPOETBGUFSIJTGJSTUDPNNBOE                                                    UXP NFO XIP .FMCPVSOF QPMJDF SFQPSU TUSVDL B
                                                                                    IPNFMFTTNBOXJUIUIFJSUSVDLCFGPSFCFBUJOHIJNJO
                                                                                    CSPBE EBZMJHIU 8JUOFTTFT UPME QPMJDF UIBU BU MFBTU
"TTBVMUTXJUIB%FBEMZ8FBQPO                                                       UXPQFPQMFXFSFJOWPMWFEJOUIFCFBUJOHXIJDIMFGU
                                                                                    UIF NBO  XIP TVGGFSFE IFBE BOE MFH JOKVSJFT  CBEMZ
:VNB "SJ[POB                                                                    CMFFEJOHJOUIFTUSFFU
)PNFMFTT.BO4FUPO'JSF8IJMF4MFFQJOH
+VMZ    "O VOJEFOUJGJFE IPNFMFTT NBO XPLF
VQ UP GJOE CPUI PG IJT MFHT TFU PO GJSF EVSJOH UIF                     "CEVDUJPO
FBSMZ NPSOJOH IPVST 5IF WJDUJN TBZT IF TBX UISFF
NFO XBUDIJOH IJN XIFO IF XPLF VQ )JT JOKVSJFT                             0LMBIPNB$JUZ 0LMBIPNB
XFSFOPOMJGFUISFBUFOJOH1PMJDFBSFJOWFTUJHBUJOH                               0LMBIPNB$JUZ1PMJDF-PPLJOHUP*EFOUJGZ4VTQFDUT
                                                                                    8IP"MMFHFEMZ3PCCFE "TTBVMUFE)PNFMFTT.BO

/BTIWJMMF 5FOOFTTFF                                                             0DUPCFS    "O VOOBNFE IPNFMFTT NBO XBT
8PNBOTIPPUTIPNFMFTTNBOXIPBTLFEIFSUP                                         XBMLJOH XIFO UXP NFO BOE UXP XPNFO QVMMFE VQ
NPWF1PSTDIF                                                                        JO B HSFFO USVDL BOE PGGFSFE IJN B SJEF "GUFS IF
                                                                                    BDDFQUFE UIFZUPPLUIFNBOUPBNPUFMQBSLJOHMPU 
"VHVTU      ZFBSPME ,BUJF 2VBDLFOCVTI                             XIFSF UIFZ QSPDFFEFE UP SPC BOE BTTBVMU IJN 5IF
XBT DIBSHFE XJUI TIPPUJOH  ZFBSPME (FSBME                                 GPVSTVTQFDUTIBWFOPUCFFOJEFOUJGJFE
.FMUPO OFBS .VTJD 3PX .FUSP /BTIWJMMF QPMJDF TBZ
.FMUPO XBT EJTUVSCFE CZ FYIBVTU GVNFT BOE MPVE
NVTJD DPNJOH GSPN 2VBDLFOCVTIT 1PSTDIF 467
XIJMF USZJOH UP TMFFQ BU BN  BOE BTLFE IFS UP                         'BSNFS -J[ 'JSFE4BO"OUPOJP0GGJDFS"ENJUT(JWJOH1PPQ4BOEXJDIUP
NPWF UIF WFIJDMF 1PMJDF TBZ UIF UXP CFHBO ZFMMJOH                         )PNFMFTT1FSTPO %BMMBT.PSOJOH/FXT %FDFNCFS  IUUQ
BUFBDIPUIFS BOEUIBUJTXIFO2VBDLFOCVTIFYJUFE                                 XXXEBMMBTOFXTDPNOFXTUFYBTGJSFETBOBOUPOJPPGGJDFS
                                                                                    BENJUTHJWJOHQPPQTBOEXJDIIPNFMFTTQFSTPO
UIF WFIJDMF BOE TIPU .FMUPO UXJDF CFGPSF SVOOJOH                            ,PWBMFTLJ +FOOJGFSi"DUJWJTU4BZ7JEFP4IPXT%1%6TJOH&YDFTTJWF'PSDF
VQUIFTUSFFU                                                                     POBO6OBSNFE)PNFMFTT.BOw/&84 +BO 
                                                                                    XXXUIFEFOWFSDIBOOFMDPNOFXTGSPOUSBOHFEFOWFSBDUJWJTUTBZWJEFP
                                                                                    TIPXTEQEVTJOHFYDFTTJWFGPSDFPOBOVOBSNFEIPNFMFTTNBO
(PMJHIUMZ $IBTF )PNFMFTT.BO4FUPO'JSF8IJMF4MFFQJOH +VMZ  ,:." BWBJMBCMFBUIUUQTLZNBEHUNFIPNFMFTTNBOTFUPOGJSFXIJMFTMFFQJOH
3PCJOTPO $IFMTFBi1PMJDF8PNBO4IPU)PNFMFTT.BO8IP"TLFE)FSUP.PWF1PSTDIFw,0"5 ,0"5 0DU XXXLPBUDPNBSUJDMFQPMJDFXPNBO
TIPUIPNFMFTTNBOXIPBTLFEIFSUPNPWFQPSTDIF
+PIOTPO ,SJTUFO "MMFHFE"TTBJMBOU1MFBET/PU(VJMUZ*/)PNFMFTT"UUBDL 8FTU)BXBJJ5PEBZ +VMZ  IUUQXFTUIBXBJJUPEBZDPNOFXTMPDBMOFXT
BMMFHFEBTTBJMBOUQMFBETOPUHVJMUIPNFMFTTBUUBDL
(BMMPQ +%i.FMCPVSOF1PMJDF*OWFTUJHBUF)PNFMFTT4USFFU#FBUJOHw'MPSJEB5PEBZ 'MPSJEB5PEBZ .BS XXXGMPSJEBUPEBZDPNTUPSZ
OFXTNFMCPVSOFQPMJDFJOWFTUJHBUFIPNFMFTTTUSFFUCFBUJOH
'SBOLMJO %BMMBT 0LMBIPNB1PMJDF-PPLJOHUP*EFOUJGZ4VTQFDUT8IP"MMFHFEMZ3PCCFE"TTBVMUFE)PNFMFTTNBO 0LMBIPNB/FXT 0DUPCFS IUUQ
LGPSDPNQPMJDFMPPLJOHUPJEFOUJGZTVTQFDUTXIPBMMFHFEMZSPCCFEBTTBMUFEIPNFMFTTNBO
                                                                                                                                    AR004321
                                                                                                                                      iÙ®µÊu®ĝÕ¼ĝ&uÕĝ óö
                                                                                                                    >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
)BSBTTNFOU                                                                     .VMUJNFEJB&YQMPJUBUJPO
%FMBOE 'MPSJEB                                                              $PMVNCVT 0IJP
8PNBO"DDVTFEPG"MMPXJOH4POTUP4IPPU##TBU                                 .BO1VODIFT)PNFMFTT.BO 1PTUT7JEFPPO
)PNFMFTT.BO                                                                    *OTUBHSBN
"VHVTU "NJOB&M;BZBU  JTGBDJOHDIBSHFT                          +VMZ 5FSSBODF&1ZGSPN  QPTUFEBWJEFP
GPS BMMPXJOH IFS TPOT UP TIPPU ##T BU B IPNFMFTT                      PO *OTUBHSBN TIPXJOH IJN QVODIJOH B ZFBSPME
NBO 5IF WJDUJN DMBJNT UIF UXP CPZT DVSTFE IJN                         IPNFMFTT NBO "GUFS UIF BUUBDL  UIF WJDUJN XBT
CFGPSF TIPPUJOH BU IJN BT IF QJDLFE UISPVHI B                          UBVOUFE CZ B HSPVQ PG NFO JODMVEJOH 1ZGSPN
HBSCBHF DBO BU B HBT TUBUJPO 5IF CPZT UIFO                            1ZGSPN QMFBEFE HVJMUZ PO POF DPVOU PG GFMPOZ
SFUVSOFE MBUFS BOE TIPU BU IJN BHBJO 1PMJDF GPVOE                     BTTBVMU BOE XBT TFOUFODFE UP GPVS ZFBST JO QSJTPO
UIFBJSTPGUSJGMFTJO&M;BZBUTWFIJDMF4IFUPMEQPMJDF                      5IF BTTJTUBOU QSPTFDVUPS BSHVFE UIF IFGUJFS
UIBU TIF XBT IBWJOH USPVCMF XJUI IPNFMFTT QFPQMF                        TFOUFODF XBT BQQSPQSJBUF EVF UP UIF OBUVSF PG UIF
SVNNBHJOH UISPVHI IFS USBTI BU UIF DBSXBTI IFS                          VOQSPWPLFEBUUBDLPOBWVMOFSBCMFNBO
GBNJMZ PXOT &M;BZBU XBT BSSFTUFE GPS BHHSBWBUFE
CBUUFSZ DPOUSJCVUJOHUPEFMJORVFODZPGNJOPST BOE
DIJMEOFHMFDUDIBSHFT                                                         -PDBUJPOVODFSUBJO
                                                                                *OGVSJBUJOH7JEFP4IPXT.FFL.JMM.BLJOH)PNFMFTT
                                                                                .BO%P1VTIVQT'PS
1MFBTBOUPO $BMJGPSOJB
4MFFQJOHIPNFMFTTNBOBUUBDLFEVOEFS1MFBTBOUPO                                'FCSVBSZ    .FFL .JMMT  1IJMBEFMQIJB SBQQFS
PWFSQBTT                                                                        VTFE *OTUBHSBNT 4UPSJFT GFBUVSF UP QPTU B TFSJFT PG
                                                                                WJEFPT TIPXJOH B IPNFMFTT NBO BTLJOH GPS TPNF
"VHVTU "NBOTMFFQJOHVOEFSBOPWFSQBTT                              DIBOHF/FYUJUTIPXTUIFZFBSPMESBQQFSUFMMJOH
XBTJOKVSFEBGUFSCFJOHTIPUNPSFUIBOPODFXJUIB                             UIF IPNFMFTT NBO UP EP QVTIVQT GPS  5IF
##HVO5IFZFBSPMEJOKVSFENBOJTFYQFDUFEUP                             SBQQFS TUBUFE  i8F BJOU HPJOH UP HJWF PVU OP GSFF
TVSWJWF CVUTVGGFSFETFWFSBMJOKVSJFTBGUFSCFJOHTIPU                        NPOFZw 5IF OFYU WJEFP TIPXT UIF NBO EPJOH 
JO UIF CBDL BOE BSN NPSF UIBO POF 5IF BTTBJMBOUT                     QVTIVQTBT.FFL.JMMDPVOUT
BMTPIJUIJNXJUIBIPDLFZTUJDL5IFQPMJDFTFBSDIFE
UIFBSFBCVUXFSFVOBCMFUPGJOEBOZTVTQFDUT5IFZ
TBZUISFFQFPQMFXFSFJOWPMWFEJOUIFBUUBDL


                                             =^8Z)ĝ=)ľĝlO8D)ZľZ)D>ÿĝľ>ĝlO8ľ>ľZ)D>
     =Ù®Õ´uĝçÇ®¼ÕuÕ¼µĝ¼ĝÕĝ¼´®ÎÎĝÇ¼ÇÙ®uÕ¼µĝÎĝuĝÎäÊĝÊ¼åµĝÇÊ¼®´Āĝ©ÙÎÕĝuÎĝÕu®ĝÙ®®èµĝÎĝ¼´µĝ´¼Êĝ¼´´¼µĝ
                                                          u´¼µĝÕĝµÕÊĝÇ¼ÇÙ®uÕ¼µąĝ
      ľĝuĝu¼Āĝ> &ĝ´¼ÙµÕĝuĝu´ÇuµĝuuµÎÕĝuĝÊ¼ÙÇĝ¼ĝä¼ÎĝÕuÕĝåÊĝÊ®uÎĝÙµÊĝÕĝµu´ĀĝĘ Ù´ĝ ÕÎąęĝĝZÎĝä¼Îĝ
    µ®Ùĝ¼´®ÎÎĝ´µĝuÕµĝuĝ¼ÕÊĝÙÇĝuµĝÇÊ¼Ê´µĝuµÊ¼ÙÎĝÎÕÙµÕÎĝ®«ĝuµµĝÕÊĝuÎĝÕÊ¼Ùĝ®uÎÎĝåµ¼åÎĝuµĝ
  ¼µĝ¼åµĝÎÕuÊÎĝµĝuĝÎ¼ÇÇµĝuÊÕąĝZĝÙµĖ¼ÙÎĝÇ¼Ç®ĝå¼ĝÇuÊÕÇuÕĝåÊĝ¼´ÇµÎuÕĝåÕĝuĝåĝ¼®®uÊÎĝ¼ÊĝuĝÎçĝÇu«ĝ¼ĝÊĀĝ
      uµĝÎÙÊĝÎäÊĝµ©ÙÊÎĝuÎĝuĝÊÎÙ®Õĝ¼ĝÕĝä¼ÎąĝĝZÎĝä¼ÎĝÊuĝuµĝÎÕ´uÕìĝ¼´®ÎÎĝÇÊÎ¼µÎĝèĝÇÊÇÕÙuÕµĝÕĝ
  ÎÕÊ¼ÕèÇĝÕuÕĝÇ¼Ç®ĝ®äµĝµĝuĝÎÕuÕĝ¼ĝ¼´®ÎÎµÎÎĝuÊĝĘÙ´ÎęĝuµĝÕuÕĝÕèĝuäĝµ¼ĝ¼ÕÊĝå¼ÊÕĝÕuµĝÕ¼ĝÇÊ¼äĝµÕÊÕuµ´µÕĝÕ¼ĝ
       ÕĝÊÎÕĝ¼ĝÎ¼ÕèĝèĝuÙÎµĝÕ´Î®äÎĝ¼Êĝ¼ÕÊÎĝ¼®èĝuÊ´ąĝĘ Ù´ĝ ÕÎĀęĝuÎĝµ¼åĝµĝäåĝ´¼ÊĝÕuµĝùąùĝ´®®¼µĝÕ´ÎĀĝ
                                                  uÊµÊµĝu¼ÙÕĝøĀöûòĝ®«Îĝèĝm¼ÙZÙĝÙÎÊÎą
   )ÕĝÎĝÕĝÎ¼µĝ¼ĝÕĝ>uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎĝÕ¼ĝµ®Ùĝ´Ù®Õ´uĝçÇ®¼ÕuÕ¼µĝµĝuĝÊÇ¼ÊÕĝ¼µĝuÕĝÊ´Îĝuµĝä¼®µĝ
  uuµÎÕĝÕĝ¼´®ÎÎĀĝuÎĝÕÊĝuäĝµĝ¼Ù´µÕĝuÎÎĝÕuÕĝÎ¼åĝÕĝ´´uÕĝ¼ÊÊ®uÕ¼µĝÕåµĝåuÕµĝä¼ÎĝÕuÕĝÎÇ®uèĝ
    ä¼®µĝÕ¼åuÊĝ¼´®ÎÎĝµäÙu®ÎĀĝuµĝ¼´´ÕÕµĝĘ¼ÇèuÕęĝÊ´ÎĝuuµÎÕĝÕuÕĝÇ¼ÇÙ®uÕ¼µąĝĝZÎĝä¼ÎĝuÊĝ¼Ù®ĀĝuÕÙ®Āĝuµĝ
                                                  Ùµ¼´µĝ¼ĝuĝ´¼ÊµĝÇÊ¼ÊÎÎäĝÎ¼Õèąĝĝĝ

 "TTPDJBUFE1SFTT 8PNBO"DDVTFEPG"MMPXJOH4POTUP4IPPU##TBU)PNFMFTT.BO 847/DPN "VHVTU  IUUQXTWODPNOFXTMPDBMXPNBOBDDVTFE
PGBMMPXJOHTPOTUPTIPPUCCTBUIPNFMFTTNBO
)VSE 3JDLi4MFFQJOH)PNFMFTT.BO"UUBDLFEVOEFS1MFBTBOUPO0WFSQBTTw5IF.FSDVSZ/FXT 5IF.FSDVSZ/FXT "VH 
XXXNFSDVSZOFXTDPNIPNFMFTTNBOBUUBDLFEXIJMFTMFFQJOHVOEFSQMFBTBOUPOPWFSQBTT
'VUUZ +PIO .BO1VODIFT)PNFMFTT.BO 1PTUT7JEFPPO*OTUBHSBN $PMVNCVT%JTQBUDI +VMZ  IUUQXXXEJTQBUDIDPNDPOUFOUTUPSJFT
MPDBMNBOTFOUFODFEGPSBTTBVMUPOIPNFMFTTNBOIUNM
)FSSFSJB $BSMBi*OGVSJBUJOH7JEFP4IPXT.FFL.JMM.BLJOH)PNFMFTT.BO%P1VTIVQT'PSw5IF)VGGJOHUPO1PTU 5IF)VGGJOHUPO1PTUDPN 'FC 
XXXIVGGJOHUPOQPTUDPNFOUSZNFFLNJMMIPNFMFTTNBOQVTVQT@VT@CBFCCBDBG

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                                                                                                            >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎĝ
%JTDVTTJPO
4USVDUVSBM     WJPMFODF        BT    EFTDSJCFE       JO    UIF          &¼åĝO¼Ç®ĝçÇÊµµĝ&¼´®ÎÎµÎÎĝuÊĝÙ´uµìõó
JOUSPEVDUJPO        IBT    DSFBUFE      HSPXJOH        JODPNF
                                                                                     4FHSFHBUJPO
JOFRVBMJUZ BOE IPNFMFTTOFTT JO UIF 6OJUFE 4UBUFT
5IJT POHPJOH TUSVDUVSBM WJPMFODF DBO MFBE UP EJSFDU                          'FBS

WJPMFODF XIFO B DPNNVOJUZ JT UIPSPVHIMZ                                        *MMFHBMUPCF1PPS
EFIVNBOJ[FE
                                                                                     5IF$SJNJOBM-BCFM

5IFSFBSFNBOZSFBTPOTXIZBOJOEJWJEVBMPSGBNJMZ                                  "UUBDLFECZ1PMJDF
CFDPNFT         IPNFMFTT         #VU      XIBUFWFS         UIF
                                                                                     3FGVTFEB1MBDFUP4MFFQ
DJSDVNTUBODFT PODFTPNFPOFCFHJOTUIFJSUJNFPO
UIFTUSFFUPSJOBTIFMUFS UIFZBSFPSRVJDLMZCFDPNF                              1SPQFSUZ4UPMFO-FHBMMZ

TFQBSBUFE GSPN UIF QFPQMF UIFZ BSF NPTU GBNJMJBS                             %FOJFE'PPE #BUISPPNT )FBMUI$BSF
XJUI  5IJT TFHSFHBUJPO DPOUJOVFT BT UIF IPNFMFTT
                                                                                     &YJTUFODF%FOJFE
BSFBTTVNFEUPCFBiDMBTTBQBSUw5IJTBTTVNQUJPO
CFDPNFT B SFBMJUZ BT UIPTF FYQFSJFODJOH                                        7FSCBMMZBCVTFE

IPNFMFTTOFTT CFHJO UP SFDFJWF EBJMZ TVSWJWBM
                                                                                     "UUBDLFE
TFSWJDFT TVDIBTHFUUJOHDMPUIFTBOEGPPE GSPNUIF
TBNF QMBDF PS QMBDFT XIJDI MFBET UIF IPVTFE
QPQVMBUJPO UP QFSDFJWF UIBU BMM IPNFMFTT QFPQMF                    5IJT GFBS BOE EJTHVTU PG QFPQMF FYQFSJFODJOH

CFHJOUPMPPLMJLFFBDIPUIFS                                            IPNFMFTTOFTTIBTMFEDJUJFTBOETUBUFTUPDSJNJOBMJ[F
                                                                          QFPQMF XJUIPVU B IPNF *O UIFJS NPTU SFDFOU
5IJT JTPMBUJPO  TFHSFHBUJPO  BOE GFFMJOH PG CFJOH B               SFQPSU  i)PVTJOH /PU )BOEDVGGT &OEJOH UIF
iDMBTT BQBSUw MFBET UP B GFBS PG UIF IPNFMFTT                    $SJNJOBMJ[BUJPO PG )PNFMFTTOFTT JO 64 $JUJFTw 
QPQVMBUJPO CFDBVTF UIFZ BSF EJGGFSFOU  5IF MBDL PG              5IF /BUJPOBM -BX $FOUFS PO )PNFMFTTOFTT 
FEVDBUJPO BOE VOEFSTUBOEJOH PG IPX QFPQMF                           1PWFSUZ TVSWFZFE  DJUJFT BOE BTTFTTFE UIF
CFDPNF IPNFMFTT IFMQT DSFBUF B EJTUJODU                             OVNCFS PG UZQFT PG NVOJDJQBM DPEFT                        UIBU
iPUIFSOFTTw XIJDIMFBETUPBOJOEJWJEVBMSFBDUJPOPG                    DSJNJOBMMZ PS DJWJMMZ DSJNJOBMJ[F MJGFTVTUBJOJOH
GFBS BOE EJTHVTU XIFO IPVTFE JOEJWJEVBMT DPNF                      CFIBWJPST       PG    QFPQMF       FYQFSJFODJOH IPNFMFTT
BDSPTTBQFSTPOFYQFSJFODJOHIPNFMFTTOFTT                               OFTT


i)PX"SFUIF)PNFMFTT%FIVNBOJ[FE w"OBXJN$ISJTUJBO$PNNVOJUZ BOBXJNDDPSHIPXBSFUIFIPNFMFTTEFIVNBOJ[FE
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                                                                                                                                                                  >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ

                                                                              Q)=)>ľ8)q)>!ĝZ&ĝ&D=8UUĝ D==^>)Zm
  ZÊĝÎĝuĝ¼Ù´µÕĝÊ®uÕ¼µÎÇĝÕåµĝÕĝuÇÇuÊuµĝ¼ĝÊ´µu®ìuÕ¼µĝ¼ĝ¼´®ÎÎµÎÎĝ®uåÎĀĝuµĝÕĝµÊuÎĝ¼ĝuÕĝÊ´Îĝ¼Êĝä¼®µÕĝuÕÎĝuuµÎÕĝ
  ¼´®ÎÎĝÇ¼Ç®ąĝ)µĝ¼ÊÊĝÕ¼ĝÇÊ¼äĝÕÎĀĝ ®¼Êuĝuµĝ u®¼Êµuĝå®®ĝĝÙÎĝuÎĝuÎĝÎÕÙÎąĝ&ÎÕ¼Êu®®èĀĝ´uµèĝÕÎĝµĝÕÎĝÕå¼ĝÎÕuÕÎĝuäĝµuÕĝÎäÊĝ
      uµÕĖu´ÇµĀĝuµÕĖÇuµuµ®µĀĝuµĝuµÕĖ¼¼ĝÎuÊµĝ®uåÎĀĝuÎĝå®®ĝuÎĝ¼ÕÊĝÊÙ®uÕ¼µÎĝÕuÕĝÊ´µu®ìĝuÕäÕÎĝÊ®uÕĝåÕĝ¼´®ÎÎµÎÎąĝľĝĝ
   µÙ´Êĝ¼ĝÕÎĝÕuÕĝåÊĝ´µÕ¼µĝµĝ> &ěÎĝÇÊ¼ĝÊ´µu®ìuÕ¼µĝ¼ĝ¼´®ÎÎµÎÎĝÊÇ¼ÊÕÎĀĝu®Î¼ĝuäĝÎ¼´ĝ¼ĝÕĝ´¼ÎÕĝ®äuÕĝµÙ´ÊÎĝ¼ĝµµÕÎĝ
  ¼ĝuÕĝÊ´ÎĝuuµÎÕĝ¼´®ÎÎĝÇ¼Ç®ąĝ)µĝuÕĀĝ¼ÙÊĝ¼ĝÕĝÕµĝ´uµÎÕĝÕÎĝµÕĝµĝĚ&¼´Îĝ>¼Õĝ&uµÙÎěĝåÊĝ®¼uÕĝµĝ ®¼ÊuĝuµĝÕÊĝåÊĝµĝ
     u®¼ÊµuąõôĝZĝ®Î®uÕäĝÎµuÊ¼ĝ¼µÎÕÕÙÕÎĝ¼µĝ¼ĝÕĝuÕ¼ÊÎĝÕuÕĝçÇ®uµÎĝåèĝÕÎĝÕå¼ĝÎÕuÕÎĝ¼®ĝÕĝÎÕĝu´¼ÙµÕÎĝ¼ĝuÎĖ´¼ÕäuÕĝÊ´Îĝ
                                               uuµÎÕĝ¼´®ÎÎĝµäÙu®ÎĀĝuÊĝÎÙÊÇuÎÎµĝÕÊĝ®¼ÎÎÕĝ¼´ÇÕÕ¼ÊÎą
       DµĝÇ¼ÎÎ®ĝçÇ®uµuÕ¼µĝ¼ÊĝÕÎĝÎĝÕĝ´ÎÎuĝÕuÕĝÊ´µu®ìµĝ¼´®ÎÎµÎÎĝÎµÎĝÕ¼ĝÕĝµÊu®ĝÇÙ®ÿĝĘ&¼´®ÎÎĝÇ¼Ç®ĝ¼ĝµ¼Õĝ´uÕÕÊĝuµĝuÊĝµ¼Õĝ
       å¼ÊÕèĝ¼ĝ®äµĝµĝ¼ÙÊĝÕèąęĝZÎĝ´ÎÎuĝÎĝ®uÕuµÕĝµĝÕĝuÕÕÕÙÎĝ´uµèĝÕÎĝuäĝÕ¼åuÊĝ¼´®ÎÎĝÇ¼Ç®ĝuµĝuµĝĝÙÎĝuÎĝuµĝµÕÊµu®ĝ©ÙÎÕuÕ¼µĝ
                                                                            ¼ÊĝuÕÕu«µĝÎ¼´¼µą
  õô
       ĝZĝ>uÕ¼µu®ĝ8uåĝ µÕÊĝ¼µĝ&¼´®ÎÎµÎÎĝĪĝO¼äÊÕèĝuµĝZĝ>uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎąĝĝ&¼´Îĝ>¼Õĝ&uµÙÎÿĝZĝ Ê´µu®ìuÕ¼µĝ¼ĝ&¼´®ÎÎµÎÎĝµĝ^ąUąĝ ÕÎąĝ4Ù®èĝôòòûą



                                                                                                              /PX UIBU JU JT JMMFHBM UP CF XJUIPVU B IPNF  JU IBT
  &YBNQMFTPGNVOJDJQBMDPEFTUIBU
  DSJNJOBMJ[FMJGFTVTUBJOJOHCFIBWJPSJODMVEF                                                               CFFO NBEF DMFBS UIBU MBX FOGPSDFNFOU BOE UIF

        v -BXTUIBUQSPIJCJUTMFFQJOHJOQVCMJDDJUZ                                                         NPUUP iQSPUFDU BOE TFSWFw JT OPU HSBOUFE UP UIF
          XJEF
                                                                                                              IPNFMFTT QPQVMBUJPO CFDBVTF UIFZ BSF OPU iUSVMZw
        v -BXTUIBUQSPIJCJUTMFFQJOHJOBQBSUJDVMBS
          QVCMJDQMBDF                                                                                        QBSU PG UIF DPNNVOJUZ 5IJT MFBWFT B IPNFMFTT
        v -BXTUIBUQSPIJCJUDBNQJOHJOQVCMJDDJUZ
          XJEF                                                                                                JOEJWJEVBM BT BO FBTZ UBSHFU GPS QPMJDF CSVUBMJUZ BOE
        v -BXTUIBUQSPIJCJUDBNQJOHJOBQBSUJDVMBS                                                          JOIVNBOFUSFBUNFOUGSPNUIFDPNNVOJUZ
          QVCMJDTQBDF
        v -BXTUIBUQSPIJCJUTJUUJOHMZJOHJOB
          QBSUJDVMBSQVCMJDTQBDF                                                                             *O NBOZ DPNNVOJUJFT BDSPTT UIJT DPVOUSZ JU JT JMMFHBM
        v -BXTUIBUQSPIJCJUMPEHJOH MJWJOH PS
          TMFFQJOHJOWFIJDMFT PSQBSLJOHBWFIJDMF                                                          UP TMFFQ PO QVCMJD PS QSJWBUF MBOE 4P PO B NPOUIMZ 
          VTFEBTBMPEHJOHMJWJOHBDDPNNPEBUJPO
        v -BXTUIBUQSPIJCJUMPJUFSJOHMPBGJOH                                                               XFFLMZ  BOE TPNFUJNFT FWFO EBJMZ CBTJT TPNFPOF
          WBHSBODZDJUZXJEF
                                                                                                              XIP JT IPNFMFTT JT XPLFO VQ BOE UPME UP iNPWF
        v -BXTUIBUQSPIJCJUMPJUFSJOHMPBGJOHJO
          QBSUJDVMBSQVCMJDQMBDFT                                                                            BMPOH ZPVDBOUTMFFQIFSFw5IJTNJHIUOPUTFFNMJLF
        v -BXTUIBUQSPIJCJUCFHHJOHJOQVCMJDQMBDFT
                                                                                                              BCJHEFBM CVUXIFOZPVIBWFUPDPOTUBOUMZQBDLVQ
        v -BXTUIBUQSPIJCJUGPPETIBSJOHDJUZXJEFPS
          JOQBSUJDVMBSQVCMJDQMBDFT JFCBO                                                               ZPVS MJGF  JU XFBST PO ZPV :PV IBWF B IJHI SJTL PG

                                                                                                              MPTJOH ZPVS MJDFOTF  TPDJBM TFDVSJUZ DBSE  PS BOZ GPSN

*O UIF  DJUJFT TVSWFZFE CZ UIF /BUJPOBM -BX PG MFHBM EPDVNFOUBUJPO UIBU QSPWFT ZPVS FYJTUFODF

$FOUFSPO)PNFMFTTOFTTBOE1PWFSUZ  UIFSF BSF :PVNJHIUMPTFQFSTPOBMJUFNTTVDIQJDUVSFTPGMPWFE

PG UIFTF PSEJOBODFTPOUIFCPPLT UIBU DSJNJOBMJ[F POFTBOEUIFUIJOHTUIBULFQUZPVTBGFBUOJHIU TVDI

UIF TJUVBUJPO PG CFJOHIPNFMFTT                                                                           BTBUFOUPSBTMFFQJOHCBH


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                                                                                          >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ

.PSFPWFS JONBOZDPNNVOJUJFTJUJTJMMFHBM UP TIBSF UIF QPQVMBUJPO PG QFPQMF XIP BSF VOIPVTFE BT

GPPE XJUI QFPQMF FYQFSJFODJOH IPNFMFTTOFTT  DSJNJOBMT  BOE JO UVSO  EFOJFE UIFN BDDFTT UP MJGF

BOE CBUISPPNT BSF IBSE UP DPNF CZ "T IVNBO TVTUBJOJOH BDUJWJUJFT TVDI BT TMFFQJOH  BDDFTT UP GPPE 

CFJOHT  TMFFQ  GPPE BOE QFSTPOBM IZHJFOF BSF BMM BOE CBUISPPNT *O PUIFS XPSET  XF IBWF

MJGF TVTUBJOJOH BDUJWJUJFT UIBU XF OFFE UP EP UP EFIVNBOJ[FEPVSNPTUWVMOFSBCMFUPOPMPOHFSCFJOH

TVSWJWF BT B TQFDJFT  CVU BSF OPU HSBOUFE UP UIF QFPQMF CVU JOTUFBE  FBTZ UBSHFUT  BOE JO NBOZ DBTFT 

NPTU WVMOFSBCMF  PVSIPNFMFTTQPQVMBUJPO                  EFOZJOHUIFJSWFSZFYJTUFODF5IFNPSFXFDSJNJOBMJ[F 

                                                              UIF NPSF XF EFIVNBOJ[F  BOE UIF NPSF UIF EJSFDU
"TBTPDJFUZ XFIBWFJTPMBUFEBOETFHSFHBUFEQFPQMF         WJPMFODF UIJT WVMOFSBCMF QPQVMBUJPO GBDFT PO B EBJMZ
XIPBSFFYQFSJFODJOHIPNFMFTTOFTT XIJDIMFBETUPB          CBTJT JT TPDJBMMZ BDDFQUBCMF CZ UIJSE QBSUZ DPNNVOJUZ
DVMUVSF PG GFBS BOE EJTHVTU XIFO FODPVOUFSJOH B       NFNCFSTBOEPVSNVOJDJQBM DPVOUZ TUBUFBOEGFEFSBM
QFSTPOXIPJTIPNFMFTT$VMUVSBMMZ XFIBWFCSBOEFE          HPWFSONFOUT




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$PODMVTJPO
0WFSUIFQBTUZFBSTUIF/BUJPOBM$PBMJUJPOGPSUIF)PNFMFTTIBTEPDVNFOUFEPWFS CJBTNPUJWBUFE

WJPMFOUDSJNFTDPNNJUUFEBHBJOTUIPNFMFTTQFPQMFCZIPVTFEJOEJWJEVBMT5IFTFBUUBDLTIBWFDPTUVO

IPVTFEQFPQMFUIFJSMJWFT


*OUIJTSFQPSU /$)IBTEPDVNFOUFEWJPMFOUBUUBDLTBHBJOTUIPNFMFTTJOEJWJEVBMTPGUIFTF

JODJEFOUTSFTVMUFEJOEFBUIGFXFSBUUBDLTXFSFSFQPSUFEJO DPNQBSFEUP/BUJPOBMMZ IBUFDSJNFTBHBJOTU

BMMQSPUFDUFEBOEWVMOFSBCMFQPQVMBUJPOTIBWFJODSFBTFE*UJTMJLFMZUIBUUIJTJODSFBTFIBTTIJGUFEOFXTSFQPSUJOHBXBZGSPN

BUUBDLT BHBJOTU QFPQMF FYQFSJFODJOH IPNFMFTTOFTT UPXBSET CJBTNPUJWBUFE WJPMFODF BHBJOTU PUIFS QSPUFDUFE BOE

NBSHJOBMJ[FEHSPVQT

4QFDJGJDQPMJDZTPMVUJPOTBSFEJTDVTTFEBUMFOHUIJOUIF"QQFOEJY/$)BEWPDBUFTGPSCPUIJODMVEJOHQFPQMF

FYQFSJFODJOH IPNFMFTTOFTT BT B QSPUFDUFE DMBTT VOEFS IBUF DSJNFT TUBUVUFT  PS JNQMFNFOUJOH WVMOFSBCMF

WJDUJNTTFOUFODJOHHVJEFMJOFT&JUIFSUZQFPGJOJUJBUJWFTXPVMECPUIGJOEKVTUJDFGPSWJDUJNTBOEQSPNPUFUIF

IVNBOJUZPGBMMXIPFYQFSJFODFIPNFMFTTOFTT


/$) BMTP BEWPDBUFT GPS GFEFSBM  TUBUF  BOE DJUZ HPWFSONFOUT UP DPOEVDU EBUB DPMMFDUJPOT UP USBDL WJPMFODF

BHBJOTUBHBJOTUIPNFMFTTJOEJWJEVBMT"SSFTUSFQPSUTDPVMEJODMVEFBCPYJOEJDBUJOHJGBWJDUJNXBTIPNFMFTT 

PS)6%DPVMEBEEBWJDUJNJ[BUJPOTVSWFZUPJUTBOOVBM1PJOU*O5JNFDPVOUBOETFSWJDFJOUBLFTVSWFZT


"MUIPVHI TPNF DPNNVOJUJFT BSF UBLJOH QPTJUJWF TUFQT UPXBSE QSPUFDUJOH IPNFMFTT JOEJWJEVBMT  /$)

CFMJFWFTUIBUWJPMFODFBHBJOTUQFPQMFXIPBSFIPNFMFTTJTBUSFOEUIBUXJMMDPOUJOVFUPHSPXVOMFTTUIFSFJT

USVFBDDPVOUBCJMJUZGPSDSJNFTDPNNJUUFE FTUBCMJTIFEFGGFDUJWFNFUIPETPGQSFWFOUJPO BOEQPTJUJWFBDUJPO

UBLFOCZBEWPDBUFT MFHJTMBUPST BOEDPNNVOJUZNFNCFST1PMJDZBMPOFXJMMOPUDIBOHFUIFJOTUJUVUJPOBMJ[FE

GFBSBOEEJTHVTUGPSQFPQMFFYQFSJFODJOHIPNFMFTTOFTTUIBUPVSDPNNVOJUJFTIBWFDVMUJWBUFEPWFSUIFMBTU

ZFBST-FHJTMBUJWFQSPUFDUJPOTNVTUCFNBSSJFEXJUIBDVMUVSBMTIJGU


$VMUVSBMTIJGUTUBSUTXJUIEBJMZJOUFSBDUJPOCFUXFFOIPVTFEBOEVOIPVTFEDPNNVOJUZNFNCFST8FNVTU

CFHJOUPBDLOPXMFEHFPVSVOIPVTFEOFJHICPST BOEBGGJSNPVSTIBSFEIVNBOJUZ5SZUPTNJMFBOETBZIFMMP

BTZPVQBTTTPNFPOFZPVCFMJFWFUPCFIPNFMFTT"TLUIFQFSTPOUIFJSOBNFBOETIBSFZPVST3FDPHOJ[JOH

BQFSTPOXIPNBZIBWFCFFOJOWJTJCMFGPSBOFYUFOEFEBNPVOUPGUJNFDBOIBWFIVHFSBNJGJDBUJPOTPOUIFJS

IFBMUIBOEXFMMCFJOH
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                                                                                 >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ

*UJTDSJUJDBMMZJNQPSUBOUUIBUXFBDLOPXMFEHFUIFFYJTUFODFPGPVSNPTUNBSHJOBMJ[FEDPNNVOJUZNFNCFST

8JUIDPNQBTTJPOBUFBOEKVTUQPMJDZDIBOHF XFDBOFOEUIFEJSFDUWJPMFODFPVSIPNFMFTTDPNNVOJUZGBDFT

POBEBJMZCBTJTBOECFHJOUPDPSSFDUUIFTUSVDUVSBMWJPMFODFUIBUDSFBUFEFOEFNJDIPNFMFTTOFTT




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                                                      >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ



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ľÇÇµçĝľÿĝ&uÕĝ Ê´ÎĝäÎąĝiÙ®µÊu®ĝiÕ´ĝUÕuÕÙÎĝ
ľÇÇµçĝ ÿĝOÊ¼ÕÕµĝÕĝ&¼´®ÎÎĝÙµÊĝiÙ®µÊu®ĝiÕ´ĝUÕuÕÙÎ
ľÇÇµçĝ ÿĝ8Î®uÕ¼µ
ľÇÇµçĝÿĝľ®®ĝľÕÕu«ÎĝèĝUÕuÕĝ
ľÇÇµçĝÿĝ&¼åĝ> &ĝÎÕ´uÕÎĝÕĝZ¼Õu®ĝ>Ù´Êĝ¼ĝuÕÎ




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                                                                iÙ®µÊu®ĝÕ¼ĝ&uÕĝ ôó
                                                                                     >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ

"QQFOEJY")BUF$SJNFTWT7VMOFSBCMF7JDUJN4UBUVT

)BUF$SJNF4UBUVTWT7VMOFSBCMF7JDUJNT4UBUVT

#SJBO-FWJO +% $BMJG4UBUF6OJW 4BO#FSOBSEJOP #MFWJO!BPMDPN



*OUSPEVDUJPO)BUF$SJNF

#FHJOOJOHJOUIFMBUFTNBKPSNFUSPQPMJUBOBSFBTBOEWBSJPVTTUBUFTCFHBOUPBEESFTTIBUFWJPMFODFOPU

POMZUISPVHIOFXDSJNJOBMMBXTCVUBMTPUISPVHIUIFGPSNBUJPOPGEBUBDPMMFDUJPO TQFDJBMJ[FEQPMJDFVOJUT 

BOEOFXQPMJDJFTTUBSUJOHXJUI.BTTBDIVTFUUT



*OSFDFOUZFBST BEFCBUFIBTJOUFOTJGJFEBCPVUXIFUIFSUIFDSJNJOBMMBXTIPVMEJODMVEFUBSHFUFEWJPMFODF

BHBJOTUUIFIPNFMFTTJOTUBUFBOEGFEFSBMIBUFDSJNFTUBUVUFTBOEEBUBDPMMFDUJPOFGGPSUT$VSSFOUMZ BMNPTU

IBMGBEP[FOTUBUFTJODMVEFIPNFMFTTTUBUVTJOUIFJSIBUFDSJNFMBXT BMUIPVHIBUUFNQUTBUUIFGFEFSBMMFWFM

BOEJOPUIFSTUBUFTIBWFTUBMMFE 4UPPQT  )BUFDSJNFTBSFEJTDSJNJOBUPSZDSJNJOBMBDUTDPNNJUUFE

CFDBVTFPGBOJOEJWJEVBMTBDUVBMPSQFSDFJWFENFNCFSTIJQJOBQBSUJDVMBSTPDJBMMZJEFOUJGJBCMFTUBUVTHSPVQ

4UBUVTDIBSBDUFSJTUJDTBSFUIPTFNBUFSJBMBUUSJCVUFT MJLFSBDFPSTFYVBMPSJFOUBUJPO DPNNPOUPBTPDJBMMZ

JEFOUJGJBCMFDMBTTPGQFPQMF8IJMFIBUFDSJNFMBXTBOEPUIFSNPEFSOMFHBMQSPUFDUJPOTPOUIFCBTJTPGTUBUVT

BSFSFMBUJWFMZSFDFOUFOBDUNFOUT UIFJSSPPUTFYUFOEUPUIFQPTUoDJWJMXBSFSBDPOTUJUVUJPOBMBNFOENFOUT



'FEFSBM-BX

5IFGFEFSBMHPWFSONFOUEPFTOPUQSPUFDUUIFIPNFMFTTJOIBUFDSJNFMBX 64$ PSFOVNFSBUFBOUJ

IPNFMFTTCJBTJODJEFOUTJOJUTSFMBUFEBOOVBMIBUFDSJNFEBUBDPMMFDUJPO JUEPFTIBWFBEFGJOJUJPOPG

IPNFMFTTOFTTBOEBOVNFSJDBMFTUJNBUFPGQFPQMFBGGFDUFECZJU*OJUT"OOVBM)PNFMFTT"TTFTTNFOU

3FQPSUUP$POHSFTT UIF%FQBSUNFOUPG)PVTJOHBOE6SCBO%FWFMPQNFOUFTUJNBUFTUIBUUIFSFBSF 

IPNFMFTTJOEJWJEVBMTOJHIUMZ XJUIPGUIPTFPS CFJOHVOTIFMUFSFE DPNQBSFEXJUISFTJEJOH

JOTIFMUFST )FOSZ $PSUFT 4IJWKJ #VDL  5IF64QPQVMBUJPOJTNJMMJPO 64$FOTVT#VSFBV  



'FEFSBMMBXIBTEFGJOFEIPNFMFTTOFTTJOQBSUBTUIPTFXJUIPVUBiGJYFE SFHVMBSBOEBEFRVBUFOJHIUUJNF

SFTJEFODFwUIBUNBZJODMVEFTIFMUFSTBOEIPUFMTBTXFMMBTWFIJDMFTPSQVCMJDQMBDFTOPUEFTJHOFEGPSIPVTJOH 
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TVDIBTDBNQTJUFT QBSLT PSUSBOTQPSUBUJPOGBDJMJUJFT 5IF.D,JOOFZ7FOUP)PNFMFTT"TTJTUBODF"DU  



5IFPWFSBMMSBUFPGDSJNJOBMWJDUJNJ[BUJPOGPSUIFTFIPNFMFTT"NFSJDBOTJTTUBHHFSJOH GBSFYDFFEJOHUIBUPG

PUIFSHSPVQT"TFSJFTPGTUBUFBOEMPDBMTUVEJFTBOETVSWFZTDJUFEJO4FOBUFUFTUJNPOZTIPXFEBOOVBM

DSJNJOBMWJDUJNJ[BUJPOSBUFTGPSUIFIPNFMFTTCFUXFFOBOE i$SJNFT"HBJOTU"NFSJDBT)PNFMFTT w

 *ODPOUSBTU JOUIF/BUJPOBM$SJNF7JDUJNJ[BUJPO4VSWFZTIPXFEUIFPWFSBMMIPVTFEQPQVMBUJPO

ZFBSTBOEPMEFSGBDFEBOBOOVBMSBUFPGWJDUJNJ[BUJPOPGGPSWJPMFOUDSJNFBOEGPSTFSJPVTWJPMFOU

DSJNFT 5SVNBO-BOHUPO  



7VMOFSBCMF7JDUJNBOE)BUF$SJNF"QQSPBDIFT

8IJMFUIFSFJTMJUUMFEFCBUFBCPVUUIFGBDUUIBUUIFIPNFMFTTGBDFUBSHFUFEWJPMFODF UIFSFBSFWBTUMZEJGGFSJOH

WJFXTBCPVUIPXUPBEESFTTUIFQSPCMFN5IF/$)BOEPUIFSIPNFMFTTBEWPDBUFTJOUIFQBTUQSPNPUFEUIF

JODMVTJPOPGUIFIPNFMFTTBTBQSPUFDUFEBOEFOVNFSBUFEDBUFHPSZJOIBUFDSJNFMBXTBOEEBUBDPMMFDUJPO

JOJUJBUJWFT XIJMFPUIFSTCFMJFWFTVDIFGGPSUTBSFNJTQMBDFE1SFKVEJDFBOETUFSFPUZQFTBHBJOTUUIFIPNFMFTT 

BOEUIFBQQBSFOUSPMFUIFTFCJBTFTQMBZJONBOZWJPMFOUBUUBDLT BSFBTUSPOHGPVOEBUJPOBMBSHVNFOUGPSUIFJS

JODMVTJPOJOIBUFDSJNFMBXT TVQQPSUFSTDPOUFOE



0QQSFTTJPOBOEQSFKVEJDFBHBJOTUUIFNBTBTPDJBMMZJEFOUJGJBCMFDMBTT*EFOUJDBMPGGFOEFSTTVDIBTCJHPUFE

TLJOIFBET OFJHICPSIPPEEFGFOEFSTQSPUFDUJOHUIFJSUVSG BTXFMMBTZPVOHNBMFUISJMMPGGFOEFSTXIPTIBSF

JEFOUJGJBCMFDIBSBDUFSJTUJDTBOENPUJWBUJPOT*EFOUJDBMNFUIPETPGBUUBDLUIBUSFWPMWFBSPVOEQFSTPOBMPS
JNQSFDJTFXFBQPOTUIBUDBVTFTVCTUBOUJBMTVGGFSJOHGSFRVFOUMZIPTUJMFPSJOFGGFDUJWFMFHBMSFTQPOTFUPQSPUFDU

UIFN4UFJOFS  PCTFSWFT

   5IVTBTTVNJOHIPNFMFTTOFTTXFSFJODMVEFEBTBQSPIJCJUFECJBTNPUJWBUJPO UIFQSPTFDVUPSXPVMECF

  SFRVJSFEUPTIPXUIBUUIFWJDUJNJ[BUJPOPDDVSSFEOPUNFSFMZCFDBVTFUIFWJDUJNXBTIPNFMFTT CVUSBUIFS

    CFDBVTFPGBQSFFYJTUJOHOFHBUJWFBUUJUVEFUPXBSEIPNFMFTTOFTT BIJHITUBOEBSEUPCFTVSF Q



*ODPOUSBTU GFEFSBMWVMOFSBCMFWJDUJNTFOUFODJOHMBXTCSPBESBOHFBSHVBCMZDPVMEBMSFBEZDPWFS

IPNFMFTTOFTT



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     i7VMOFSBCMFWJDUJNwNFBOTBQFSTPO " XIPJTBWJDUJNPGUIFPGGFOTFPGDPOWJDUJPOBOE # XIPJT

        VOVTVBMMZWVMOFSBCMFEVFUPBHF QIZTJDBMPSNFOUBMDPOEJUJPO PSXIPJTPUIFSXJTFQBSUJDVMBSMZ

                      TVTDFQUJCMFUPUIFDSJNJOBMDPOEVDU 644(f" DPNNFOU <O>



4UJMM UIFNPTUMFHBMMZVOBNCJHVPVTXPSEJOHXPVMECFBTQFDJGJDTUBUVUPSZFOVNFSBUJPOPGIPNFMFTTOFTTBTB

QSPUFDUFETUBUVTJOWVMOFSBCMFWJDUJNMBX4VDIJODMVTJPOPOMZSFRVJSFTBTIPXJOHUIBUUIFWJDUJNXBT

IPNFMFTTXIFOUBSHFUFE XJUIPVUUIFOFDFTTJUZPGEFMWJOHJOUPNPUJWFBUBMM"MBTLBJTUIFPOMZTUBUFUP

BEESFTTUIFJTTVFJOUIJTXBZ



    UIFEFGFOEBOULOFXPSSFBTPOBCMZTIPVMEIBWFLOPXOUIBUUIFWJDUJNPGUIFPGGFOTFXBTQBSUJDVMBSMZ

  WVMOFSBCMFPSJODBQBCMFPGSFTJTUBODFEVFUPBEWBODFEBHF EJTBCJMJUZ JMMIFBMUI IPNFMFTTOFTT PSFYUSFNF

      ZPVUIPSXBTGPSBOZPUIFSSFBTPOTVCTUBOUJBMMZJODBQBCMFPGFYFSDJTJOHOPSNBMQIZTJDBMPSNFOUBM

                                 QPXFSTPGSFTJTUBODF "MBTLB4UBUf




"VUIPS#JP



#SJBO-FWJOJTBQSPGFTTPSPGDSJNJOBMKVTUJDFBU$BMJGPSOJB4UBUF6OJWFSTJUZ 4BO#FSOBSEJOP XIFSFIJTUIFEJSFDUPSPG

UIF$FOUFSGPSUIF4UVEZPG)BUFBOE&YUSFNJTN)FIBTUFTUJGJFECFGPSFCPUIIPVTFTPG$POHSFTTBOEWBSJPVTTUBUF

MFHJTMBUVSFTPOIBUFBOEFYUSFNJTN)FJTBMTPUIFQSJODJQBMBVUIPSPGWBSJPVT6OJUFE4UBUFT4VQSFNF$PVSUBNJDVT

CSJFGTPOIBUFDSJNFT)FSFDFJWFEIJT+%GSPN4UBOGPSE-BX4DIPPMXIFSFIFXBTBXBSEFEUIF#MPDL$JWJM-JCFSUJFT

"XBSEBOEIJT#"TVNNBDVNMBVEFGSPNUIF6OJWFSTJUZPG1FOOTZMWBOJBXJUIIPOPSTJO"NFSJDBO)JTUPSZ




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"QQFOEJY#1SPUFDUJOHUIF)PNFMFTT6OEFS7VMOFSBCMF7JDUJN
4FOUFODJOH(VJEFMJOFT
1SPUFDUJOHUIF)PNFMFTT6OEFS7VMOFSBCMF7JDUJN4FOUFODJOH(VJEFMJOFT

,BUIFSJOF#0,FFGF GSPN8JMMJBNBOE.BSZ-BX3FWJFX 7PM *TTVF



&OIBODFEQVOJTINFOUTBSFBVTFGVMUPPMJODPNNVOJDBUJOHTPDJFUZTDPOEFNOBUJPOPGBQBSUJDVMBSUZQFPG

DSJNF)BUFDSJNFTUBUVUFTBOEWVMOFSBCMFWJDUJNTFOUFODJOHHVJEFMJOFTCPUIPGGFSFOIBODFEQVOJTINFOUT

CBTFEPOUIFDSJNJOBMTDIPJDFPGWJDUJN)BUFDSJNFTQSPUFDUTFMGJEFOUJGZJOHHSPVQTCBTFEPOFJUIFSBO

JNNVUBCMFDIBSBDUFSJTUJDPSBDIBSBDUFSJTUJDUIBUBQQMJFTUPFWFSZPOFFRVBMMZ#ZDPOUSBTU WVMOFSBCMFWJDUJN

TFOUFODJOHHVJEFMJOFTQSPUFDUUIPTFXJUIJOTPDJFUZXIPBSFEFFNFENPSFWVMOFSBCMFCBTFEPOBQBSUJDVMBS

USBJUUIBUJTFJUIFSTFUGPSUIJOUIFTUBUVUFPSEFMJOFBUFECZUIFDPVSU



5IFIPNFMFTTEFTFSWFUIFFYUSBQSPUFDUJPOPGFOIBODFEQVOJTINFOU8JUIUIFEPXOUVSOJOUIFFDPOPNZ 

UIFGMVSSZPGIPVTJOHGPSFDMPTVSFT BOEUIFXBSTJO*SBRBOE"GHIBOJTUBO JUTFFNTMJLFMZUIBUUIFIPNFMFTT

QPQVMBUJPOJTEVFUPJODSFBTF BUMFBTUJOUIFOFBSGVUVSF"MPOHXJUIUIJTHSPXUIJOQPQVMBUJPODPNFTUIF

JODSFBTFEUISFBUPGWJPMFODFBHBJOTUUIFIPNFMFTT*OBEEJUJPOUPCFJOHBUUBDLFECZJOEJWJEVBMNFNCFSTPG

TPDJFUZ UIFIPNFMFTTBSFBMTPTVCKFDUUPMBXTUIBUDSJNJOBMJ[FUIFJSMJWFMJIPPE&OIBODFEQVOJTINFOUMBXT

SFGMFDUUIFOPUJPOUIBUUIFIPNFMFTTBSFOPUTFDPOEDMBTTDJUJ[FOT BOEUIFZDPOEFNOUIFVOVTVBMMZCSVUBM

DSJNFTDPNNJUUFEBHBJOTUUIFIPNFMFTT"MUIPVHIIPNFMFTTBEWPDBUFTUFOEUPDIBNQJPOUIFBEEJUJPOPG

UIFIPNFMFTTUPIBUFDSJNFTUBUVUFT QSPUFDUJPOVOEFSWVMOFSBCMFWJDUJNTFOUFODJOHHVJEFMJOFTJTBCFUUFS

BMUFSOBUJWF



1SPUFDUJPOPGUIFIPNFMFTTJTCFUUFSTVJUFEUPBNPSFGMFYJCMFTUBOEBSEUIBOUIBUXIJDIIBUFDSJNFMFHJTMBUJPO

QSPWJEFT)PNFMFTTOFTTJTBNVUBCMFUSBJUUIBUEPFTOPUBQQMZUPFWFSZPOF BOETPDJFUZJTDPOTUBOUMZUSZJOHUP

GJOEXBZTUPTISJOLUIFIPNFMFTTQPQVMBUJPO*OBEEJUJPO UIFTUBUVTPGIPNFMFTTOFTTNBLFTBOJOEJWJEVBM

QIZTJDBMMZNPSFWVMOFSBCMFUPDSJNFTUIBOUIFHFOFSBMQPQVMBUJPO#FDBVTFPGUIFTFSFBTPOT IPNFMFTTOFTT 

BUMFBTUPOBUIFPSFUJDBMMFWFM JTCFUUFSTVJUFEUPWVMOFSBCMFWJDUJNTFOUFODJOHHVJEFMJOFT




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)PNFMFTTOFTTJTCFUUFSTVJUFEUPQSPUFDUJPOVOEFSUIFWVMOFSBCMFWJDUJNTFOUFODJOHHVJEFMJOFPOBQSBDUJDBM

MFWFMBTXFMM$FSUBJODPVSUTIBWFBMSFBEZGPVOEUIBUIPNFMFTTOFTTJTBGBDUPSJOSFOEFSJOHBWJDUJNWVMOFSBCMF

GPSQVSQPTFTPGUIFGFEFSBMTUBUVUF0UIFSGBDUPSTBMTPFYJTU TVDIBTXIFUIFSUIFWJDUJNXBTBTMFFQ BOEUIF

WJDUJNTBHF QIZTJDBMDPOEJUJPO BOENFOUBMIFBMUI*OBEEJUJPOUPUIFIPNFMFTTOFTTPGUIFWJDUJN 

DPOTJEFSBUJPOPGUIFTFGBDUPSTXPVMETUSFOHUIFOUIFDBTFGPSBQQMZJOHUIFTFOUFODJOHFOIBODFNFOUXIFO

UIFDPVSUJTXFJHIJOHXIFUIFSUPBQQMZUIFTUBOEBSE*OKVSJTEJDUJPOTXIFSFUIFDBUDIBMMWVMOFSBCMFWJDUJNT

QISBTFJTVUJMJ[FE DPVSUTDBODVSSFOUMZCFHJOBQQMZJOHUIFWVMOFSBCMFWJDUJNTFOUFODJOHHVJEFMJOFT*OBMM

KVSJTEJDUJPOT FTQFDJBMMZUIPTFXJUIPVUUIFDBUDIBMMQISBTF MFHJTMBUVSFTNVTUUBLFTUFQTUPXSJUFOFXTUBUVUFT

UIBUJODMVEFUIFIPNFMFTTBTBQSPUFDUFEDBUFHPSZ PSBNFOEFYJTUJOHTUBUVUFT&JUIFSXBZ JUJTJNQFSBUJWF

UIBUUIFMFHBMTZTUFNBDUUPQSPUFDUUIFNPTUWVMOFSBCMFBOEVOGPSUVOBUFJOTPDJFUZGSPNWJPMFOUDSJNFT

$PWFSJOHUIFIPNFMFTTVOEFSWVMOFSBCMFWJDUJNTFOUFODJOHHVJEFMJOFTJTBOFYDFMMFOUCFHJOOJOHUPBDIJFWJOH

UIBUHPBM




,BUIFSJOF#0,FFGFTGVMMBSUJDMFDBOCFGPVOEBUIUUQTDIPMBSTIJQMBXXNFEVDHJWJFXDPOUFOUDHJ

BSUJDMFDPOUFYUXNMS




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  ĘľĝuÕĝÊ´ĝÎĝ¼µĝ¼ĝÕĝ´¼ÎÕĝÎÇu®ĝuµĝÇÊ©Ùu®ĝuÕÎĝ¼µĝ¼µÕ¼ĝuµ¼ÕÊĝÙ´uµĝµĝèĝuĝÙ´uµĝµĝ
  uµĝÎÙÊÇÊÎµ®èĝÕÎĝuÕÎĝuÕĝ¼´®ÎÎĝÇ¼Ç®ĝµĝÊuÕĝÇÊ¼Ç¼ÊÕ¼µÎąĝ)ÕĝÎĝ´ÇÊuÕäĝÕuÕĝåĝäĝÕÎĝÎÎÙĝÕĝ
  ÎÊ¼ÙÎĝuÕÕµÕ¼µĝÕuÕĝÕĝÎÊäÎĝèĝµ®Ùµĝ¼´®ÎÎĝÇ¼Ç®ĝµĝuÕĝÊ´ĝÎÕuÕÎÕÎąę
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PROPOSED FEDERAL LAW                                           CURRENT FEDERAL LAWS
5IF JTTVF PG IPNFMFTT IBUF DSJNFT JT OPU XJUIPVU      The 1968 Civil Rights ActFTUBCMJTIFTBOVNCFSPG
IPQF*OBEEJUJPOUPGJHIUJOHTPDJFUBMCFMJFGTBOECJBT      DSJNJOBMQFOBMUJFTGPSUIFVTFPGGPSDFPSJOUJNJEBUJPO
BHBJOTUIPNFMFTTJOEJWJEVBMT GFEFSBMBOETUBUFMFHJT         UPQSFWFOUUIFGSFFFYFSDJTFPGDJWJMSJHIUTPOUIFCB
MBUJPODBOCPUICSJOHBXBSFOFTTUPBOEEFDSFBTFWJP           TJTPGSBDF DPMPS SFMJHJPOPSOBUJPOBMPSJHJO5IF"DU
MFODF BHBJOTU IPNFMFTT JOEJWJEVBMT 'FEFSBM MFHJTMB      QSPWJEFTQFOBMUJFTGPSXIPFWFS iCZGPSDFPSUISFBUPG

UJPOPOIBUFDSJNFTBHBJOTUUIFIPNFMFTTIBTBMPOH           GPSDFXJMMGVMMZJOKVSFT JOUJNJEBUFTPSJOUFSGFSFTXJUI 

IJTUPSZBOEDPOUJOVFTUPCFGPVHIUGPSUPEBZ                  PSBUUFNQUTUPJOKVSF JOUJNJEBUFPSJOUFSGFSFXJUIwBO

                                                               PUIFS  iCFDBVTFPGwUIBUQFSTPOTiSBDF DPMPS SFMJ
Federal Legislation Proposed in ‘13/’14 - H.R. 1136
                                                               HJPOPSOBUJPOBMPSJHJO wBOE  iCFDBVTF<UIBUQFSTPO>
5IFQVSQPTFPGUIJTCJMMJTUPDPNQFMUIF%FQBSUNFOU
                                                               JTPSIBTCFFOwBUUFOEJOHBQVCMJDTDIPPM TFSWJOHBTB
PG+VTUJDFUPHSBOUQSPUFDUFETUBUVTUPUIFIPNFMFTT
                                                               KVSPSJOTUBUFDPVSU USBWFMJOHJOBGBDJMJUZPGJOUFSTUBUF
QPQVMBUJPOJOUIFPSJHJOBM)BUF$SJNFT4UBUJTUJDT"DU
                                                               DPNNFSDF NBLJOHVTFPGBQVCMJDBDDPNNPEBUJPO 
*G EPOF UIF %FQBSUNFOU PG +VTUJDF XPVME CF PCMJ
                                                               TFFLJOH PS UBLJOH FNQMPZNFOU  PS NBLJOH VTF PG
HBUFE UP BDRVJSF EBUB GSPN MBX FOGPSDFNFOU BHFO
                                                               UIF CFOFGJUT PG BOZ TUBUF QSPHSBN  *E f  C   
DJFTBDSPTTUIFDPVOUSZPODSJNFTDPNNJUUFEBHBJOTU
                                                               5IF"DUBMTPFTUBCMJTIFTQFOBMUJFTGPSXIPNFWFS iCZ
QFPQMFFYQFSJFODJOHIPNFMFTTOFTT"OBOOVBMTVN
                                                               GPSDFPSUISFBUPGGPSDFXJMMGVMMZJOKVSFT JOUJNJEBUFTPS
NBSZ PG UIF GJOEJOHT XPVME UIFO CF QVCMJTIFE JO
                                                               JOUFSGFSFT XJUI  PS BUUFNQUT UP JOKVSF  JOUJNJEBUF PS
PSEFS UP EJTTFNJOBUF UIF JOGPSNBUJPO UP UIF QVCMJD
                                                               JOUFSGFSFXJUIwBOPUIFSQFSTPOGPS  iQBSUJDJQBUJOHw
BOEEJTDPVSBHFTVDIBUUBDLTGSPNPDDVSSJOHGVSUIFS
                                                               JOGFEFSBMQSPHSBNTPSDJWJMEVUJFTiXJUIPVUEJTDSJNJ
)3JTBSFJOUSPEVDUJPOPG)3  )3
                                                               OBUJPOPOBDDPVOUPGSBDF DPMPS SFMJHJPOPSOBUJPOBM
  BOE)3  
                                                               PSJHJO w PS  iaffPSEJOH BOPUIFS QFSTPO PS DMBTT PG

                                                               QFSTPOTPQQPSUVOJUZPSQSPUFDUJPOUPTPQBSUJDJQBUFw

                                                               *Ef   "  # 

                                                                                                          AR004334
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4UBUF BOE MPDBM MBX FOGPSDFNFOU BHFODJFT BSF FY                                 TFYVBM PSJFOUBUJPO  PS FUIOJDJUZOBUJPOBM PSJHJOw

QSFTTMZBVUIPSJ[FEUPFOGPSDFUIF"DU'FEFSBMQSPT                                   6OEFSUIFTFHVJEFMJOFT DSJNFTCBTFEPOCJBTTIPVME

FDVUJPOTBSFBMTPQFSNJUUFE BMUIPVHIUIFTFSFRVJSF                                    CF SFQPSUFE UP UIF '#* CZ MPDBM MBX FOGPSDFNFOU

iUIFDFSUJGJD UJPOJOXSJUJOHPGUIF"UUPSOFZ(FOFSBM                                  BHFODJFT JG UIFSF JT PCKFDUJWF FWJEFODF UIBU UIF

UIF%FQVUZ"UUPSOFZ(FOFSBM UIF"TTPDJBUF"UUPSOFZ                                    DSJNFXBTNPUJWBUFEXIPMMZPSQBSUJBMMZCZCJBT

(FOFSBM PSBOZ"TTJTUBOU"UUPSOFZ(FOFSBMTQFDJBMMZ
                                                                                        The Violent Crime Control and Law Enforcement
EFTJHOBUFECZUIF"UUPSOFZ(FOFSBMUIBUJOIJTKVEH
                                                                                        Act of 1994 DPEJGJFE BTBOPUFUP64$f 
NFOU B QSPTFDVUJPO CZ UIF 6OJUFE 4UBUFT JT JO UIF
                                                                                        EJSFDUFE UIF 6OJUFE 4UBUFT 4FOUFODJOH $PNNJTTJPO
QVCMJD JOUFSFTU BOE OFDFTTBSZ UP TFDVSF TVCTUBOUJBM
                                                                                        UPiQSPNVMHBUFHVJEFMJOFTPSBNFOEFYJTUJOHHVJEF
KVTUJDFyw64$f  
                                                                                        MJOFT UP QSPWJEF TFOUFODJOH FOIBODFNFOUT PG OPU
5IF 1990 Hate Crime Statistics Act SFRVJSFT UIF                                   MFTT UIBO UISFF offFOTF MFWFMT GPS PffFOTFT UIBU UIF
"UUPSOFZ (FOFSBM UP DPMMFDU EBUB PO DFSUBJOiDSJNFT                              GJOEFSPGGBDUBUUSJBMEFUFSNJOFTCFZPOEBSFBTPOBCMF

UIBU NBOJGFTU FWJEFODF PG QSFKVEJDF CBTFE PO SBDF                               EPVCUBSFIBUFDSJNFTw6OEFSHVJEFMJOFTJTTVFEVO
SFMJHJPO  EJTBCJMJUZ  TFYVBM PSJFOUBUJPO  PS FUIOJDJUZ                            EFSUIJTTUBUVUF BiIBUFDSJNFwJTEFGJOFEBTBiDSJNF

JODMVEJOH XIFSF BQQSPQSJBUF UIF DSJNFT PG NVSEFS                                 JOXIJDIUIFEFGFOEBOUJOUFOUJPOBMMZTFMFDUTBWJDUJN 
OPOOFHMJHFOU NBOTMBVHIUFS GPSDJCMF SBQF BHHSB                                   PSJOUIFDBTFPGBQSPQFSUZDSJNF UIFQSPQFSUZUIBU
WBUFE BTTBVMU  TJNQMF BTTBVMU  JOUJNJEBUJPO BSTPO                               JT UIF PCKFDU PG UIF DSJNF CFDBVTF PG UIF BDUVBM PS
BOEEFTUSVDUJPO EBNBHFPSWBOEBMJTNPGQSPQFSUZw                                     QFSDFJWFE SBDF  DPMPS  SFMJHJPO  OBUJPOBM PSJHJO  FUI
5IF"DUBMTPEJSFDUFEUIF"UUPSOFZ(FOFSBMUPFTUBC                                    OJDJUZ HFOEFS EJTBCJMJUZ PSTFYVBMPSJFOUBUJPOPGBOZ
MJTI HVJEFMJOFT GPS UIF DPMMFDUJPO PG TVDI EBUB 5IF                          QFSTPOw
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                                                                                        5IJT JT B GBS OBSSPXFS EFGJOJUJPO UIBO BQQMJFT JO UIF
XIJDI IBT EFGJOFE B IBUF DSJNF BT BiCJBT DSJNFw
                                                                                        DPOUFYU PG UIF EBUB DPMMFDUJPO TUBUVUF  *O PSEFS GPS
UIBUJT BDSJNFiDPNNJUUFEBHBJOTUBQFSTPOPSQSPQ
                                                                                        UIF FOIBODFNFOU UP BQQMZ  UIF DPVSU PS  JO B KVSZ
FSUZXIJDIJTNPUJWBUFE JOXIPMFPSJOQBSU CZUIF
                                                                                        USJBM UIFKVSZ NVTUGJOE CFZPOEBSFBTPOBCMFEPVCU
offFOEFST CJBT BHBJOTU B SBDF  SFMJHJPO  EJTBCJMJUZ 
 1VC-/P "QS  4UBU BTBNFOEFE1VC-/P  4FQU  
                                                                                                                   UIBU UIF EFGFOEBOU JOUFOUJPO
4UBU JOTFSUJOHiEJTBCJMJUZw 1VC-/P  +VMZ  4UBU SFBVUIPSJ[JOHUIF
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DSJNFEBUB
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UIF%FQBSUNFOUPG+VTUJDFIBTJOUFSQSFUFEFUIOJDJUZUPJODMVEFCPUIFUIOJDJUZBOEOBUJPOBMPSJHJO
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  )BUF$SJNF%BUB$PMMFDUJPO(VJEFMJOFT TVQSBOPUF BU                                                        HJPO  OBUJPOBM PSJHJO  FUIOJDJUZ 
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    6OJUFE4UBUFT4FOUFODJOH(VJEFMJOFT.BOVBM" B   /PUF IPXFWFS UIBUUIF4FOUFODJOH(VJEFMJOFT
POMZBQQMZJOGFEFSBMDPVSU XIFSFUIFEFGFOEBOUIBTDPNNJUUFEBGFEFSBMDSJNF BDSJNFPOGFEFSBMMBOE JODMVE
JOHPO*OEJBOSFTFSWBUJPOT PSJTPUIFSXJTFTVCKFDUUPQFOBMUJFTVOEFSGFEFSBMMBX                                               AR004335
                                                                                                                                    iÙ®µÊu®ĝÕ¼ĝ&uÕĝ ôú
                                                                                                                    >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
HFOEFS EJTBCJMJUZ PSTFYVBMPSJFOUBUJPOPGUIFWJDUJN                              CJBTUPXBSETUIFWJDUJNTHFOEFS TFYVBMPSJFOUBUJPO 
PSBOPUIFSQFSTPO*GUIFEFGFOEBOUQMFBETHVJMUZPS                                HFOEFSJEFOUJUZ PSEJTBCJMJUZ5IFMBXPOMZQSP
OP DPOUFTU  UIF 4FOUFODJOH (VJEFMJOFT SFDPNNFOE                                 UFDUFEJOEJWJEVBMTUSBWFMJOHPSQBSUJDJQBUJOHJOGFEFS
UIBUUIFDPVSUGJOET TVDIGBDUTCFZPOEBSFBTPOBCMF                                  BMMZQSPUFDUFEBDUJWBUJFTTVDIBTHPJOHUPTDIPPMPS
EPVCUCFGPSFBQQMZJOHUIFFOIBODFNFOU                                             WPUJOH5IF.BUUIFX4IFQBSE"DUSFNPWFEUIJTQB

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                                                                                      FYQBOTJWF 5ISPVHI B GJ F NJMMJPO EPMMBS BMMPDBUJPO 
(VJEFMJOFT BSF POMZ BEWJTPSZ BOE GFEFSBM TFOUFOD
                                                                                      GFEFSBMBHFOUTBSFNPSFBEFRVBUFMZGVOEFEUPBTTJTU
JOH KVEHFT BSF SFRVJSFE UP UBLF JOUP BDDPVOU PUIFS
                                                                                      BOEJOEFQFOEFOUMZJOWFTUJHBUFIBUFDSJNFTUIBUBSF
GBDUPST XIFO TFOUFODJOH EFGFOEBOUT 5IF JNQBDU
                                                                                      UPP DPNQMFY GPS MPDBM BVUIPSJUJFT  "EEJUJPOBMMZ  UIF
PGUIFTFOUFODJOHFOIBODFNFOUMBXHPJOHGPSXBSE
                                                                                      CJMMNBOEBUFTUIBUUIF'#*USBDLIBUFDSJNFTDPNNJU
NBZUIFSFGPSFCFSFEVDFE
                                                                                      UFEBHBJOTUUSBOTHFOEFSJOEJWJEVBMT

5IF .BUUIFX 4IFQBSE BOE +BNFT #ZSE  +S )BUF
                                                                                      CURRENT STATE AND CITY LAWS
$SJNFT 1SFWFOUJPO "DU XBT QBTTFE CZ $POHSFTT PO
                                                                                      /VNFSPVT KVSJTEJDUJPOT BDSPTT UIF DPVOUSZ IBWF
0DUPCFS    BOE TJHOFE JOUP MBX CZ 1SFTJEFOU
                                                                                      QBTTFE )PNFMFTT )BUF $SJNFT MFHJTMBUJPO5IJT TFD
0CBNBPO0DUPCFS 5IFOBNFPGUIFMBXJT
                                                                                      UJPOJODMVEFTBOBOBMZTJTPGBTFMFDUGFXGSPNBSPVOE
OBNFEBGUFSWJDUJNTPGIBUFDSJNFT .BUUIFX4IFQB
                                                                                      UIFDPVOUSZUPQSFTFOUdiffFSJOHBQQSPBDIFT BTXFMM
SEBOE+BNFT#ZSE.BUUIFX4IFQBSEXBTBTUVEFOU
                                                                                      BTJOOPWBUJWFJEFBTGPSPUIFSKVSJTEJDUJPOTUPSFQMJDBUF
XIP XBT UPSUVSFE BOE NVSEFSFE CFDBVTF IF XBT
                                                                                      JOUIFQVSTVJUPGIBUFDSJNFQSFWFOUJPO
HBZ4JODF8ZPNJOHEJEOPUSFDPHOJ[FIPNPTFYVBMT

BT B QSPUFDUFE QPQVMBUJPO  OFJUIFS QFSQFUSBUPS XBT                             "-"4,"
DIBSHFE XJUI B IBUF DSJNF +BNFT #ZSE  BO "GSJDBO                            $PVSUTJO"MBTLB GSPNPOXBSET NBZUBLFJOUP
"NFSJDBO XBTUJFEUPBUSVDLBOECFIFBEFECZUXP                                    BDDPVOU XIFUIFS B EFGFOEBOU LOFX PS SFBTPOBCMZ
XIJUF TVQSFNBDJTUT 5FYBT EJE OPU SFDPHOJ[F IBUF                               TIPVMEIBWFLOPXOUIBUUIFWJDUJNPGBOoffFOTFXBT
DSJNFTBUUIBUUJNF                                                                  QBSUJDVMBSMZ WVMOFSBCMF PS JODBQBCMF PG SFTJTUBODF

                                                                                       EVFUPIPNFMFTTOFTT EVSJOHTFOUFODJOH.VDIMJLF
5IF CJMM FMBCPSBUFT PO UIF 'FEFSBM $JWJM 3JHIUT
                                                                                      .BJOF QH IPNFMFTTOFTTJTOPUDBUFHPSJ[FEVO
i)BUF$SJNFw-BXUPJODMVEFDSJNFTNPUJWBUFECZB
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TFOUFODF CVUUIFEJTUSJDUDPVSUTIPVMEOPUQSFTVNFUIFSBOHFJTSFBTPOBCMF 5IFGBDUPSTUIFTFOUFODJOH
DPVSUNVTUDPOTJEFSBSFFOVNFSBUFEJO64$ B                                                                AR004336
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EFS IBUF DSJNF QSPUFDUJPO BOE UIFSFGPSF JODMVEJOH      $BMJGPSOJB1FOBM$PEF
IPNFMFTTOFTTBTBNPUJWBUJOHGBDUPSEPFTOPUBVUP                (a) The Legislature finds and declares that research,
                                                                  including “Special Report to the Legislature on
NBUJDBMMZSFTVMUJOIBSTIFSTFOUFODJOH1VOJTINFOUT              Senate Resolution 18: Crimes Committed Against
                                                                  Homeless Persons” by the Department of Justice
WBSZEFQFOEJOHPOXIBUEFHSFFUIFKVEHFGJOET UIF                and “Hate, Violence, and Death: A Report on Hate
                                                                  Crimes Against People Experiencing Homelessness
WJDUJNTIPNFMFTTOFTTDPOUSJCVUFTBTBGBDUPSJOUIF             from 1999-2002” by the National Coalition for the
                                                                  Homeless demonstrate that California has had se-
DSJNF                                                            rious and unaddressed problems of crime against
                                                                  homeless persons, including homeless persons
                                                                  with disabilities.
Analysis
                                                                  (b) (1) By July 1, 2005, the Commission on Peace Of-
5IJTMBXJTTJNJMBSUPUIBUPGUIF.BJOFMBX QH JO         ficer Standards and Training, using available fund-
                                                                  ing, shall develop a two-hour telecourse to be made
UIBUTFOUFODJOHDPVSUTBSFHSBOUFEEJTDSFUJPOUPUBLF            available to all law enforcement agencies in Cali-
                                                                  fornia on crimes against homeless persons and on
BIBUFDSJNFBHBJOTUBIPNFMFTTQFSTPOJOUPBDDPVOU              how to deal effectively and humanely with home-
                                                                  less persons, including homeless persons with dis-
XIFO EFUFSNJOJOH QVOJTINFOUT IPNFMFTTOFTT JT                abilities. The telecourse shall include information
                                                                  on multimission criminal extremism, as defined
OPU DBUFHPSJ[FE VOEFS IBUF DSJNF QSPUFDUJPO  BOE           in Section 13519.6. In developing the telecourse,
                                                                  the commission shall consult subject-matter ex-
UIFSFGPSF JODMVEJOH IPNFMFTTOFTT  BT B NPUJWBUJOH           perts including, but not limited to, homeless and
                                                                  formerly homeless persons in California, service
GBDUPS EPFT OPU BVUPNBUJDBMMZ SFTVMU JO IBSTIFS TFO       providers and advocates for homeless persons in
                                                                  California, experts on the disabilities that homeless
UFODJOH 'VSUIFSNPSF  JU EPFT OPU SFRVJSFE UIBU UIF       persons commonly suffer, the California Council of
                                                                  Churches, the National Coalition for the Homeless,
TUBUFDPMMFDUEBUBPOUIFGSFRVFODZPGPDDVSBODF                 the Senate Office of Research, and the Criminal Jus-
                                                                  tice Statistics Center of the Department of Justice.
$"-*'03/*"                                                        (2) Every state law enforcement agency, and every
                                                                  local law enforcement agency, to the extent that
4FOBUF#JMM XIJDIXBTJOUSPEVDFEJO'FCSVBSZ               this requirement does not create a state-mandated
                                                                  local program cost, shall provide the telecourse to
PGCZ4UBUF4FOBUPS,VFIM CFDBNFQVCMJDMBXJO             its peace officers

4FQUFNCFSPGUIFTBNFZFBSBOEXFOUJOUPeffFDUJO
                                                              5IF-PT"OHFMFT#PBSEPG$PVOUZ4VQFSWJTPSTVOBOJ
+VMZPG*UJTOPX$BMJGPSOJB1FOBM$PEF
                                                              NPVTMZ QBTTFE B SFTPMVUJPO JO .BSDI  SFRVFTU

                                                              JOHUIBUUIF)VNBO3FMBUJPOT$PNNJTTJPO  JODPS

                                                              QPSBUFBXBSFOFTTPGIPNFMFTTOFTTJOUPIJHITDIPPM

                                                              BOE ZPVUI QSPHSBNT UP FODPVSBHF SFTQFDU BOE IV

                                                              NBOJ[BUJPOPGIPNFMFTTQFPQMF  DSFBUFUSBJOJOHT

                                                              GPS MBX FOGPSDFNFOU UP JOWFTUJHBUF DSJNFT BHBJOTU

                                                              UIFIPNFMFTTXJUIBOFZFPVUGPSFWJEFODFPGCJBTPS
                 Photo by Bryan Dozier (2014)


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  USBDLDSJNFTPGIBUFBHBJOTUUIFIPNFMFTTJOUIF                           MBXFOGPSDFNFOUUSBJOJOH PSIJHITDIPPMBXBSFOFTT
$PNNJTTJPOT EBUBCBTF BOE NPOJUPS USFOET UP FEV                         FEVDBUJPO
DBUFUIFDPNNVOJUZ  FODPVSBHFUIF4IFSiff %JT                            Ę>¼¼èĝÎĝ´¼ÊĝäÙ®µÊu®ąĝ)ĝÕĝÎ¼®ĝÊuÎ¼µĝè¼ÙĝuÕĝÕ´ĝåuÎĝuÙÎĝ
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USJDU "UUPSOFZ  BOE DJUZDPVOUZ QSPTFDVUPST UP USBDL                    ÇÊ¼ÕÕ¼µąę
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BOESFQPSUDSJNFTBHBJOTUIPNFMFTTQFPQMFUPIFMQ

JOEFWFMPQJOHBDUJPOTUPQSFWFOUBOETUPQUIFTFWJ                           ."*/&BEEFEQSPUFDUJPOGPSIPNFMFTTSFTJEFOUT CVU
PMFOUBDUTBOE  UPXPSLXJUIBMMIVNBOSFMBUJPOT                         EJE OPU GPSNBMMZ BEE IPNFMFTTOFTT BT B DPOUSJCVU
DPNNJTTJPOTBDSPTTUIFDPVOUZUPDSFBUFCFUUFSQSBD                          JOH GBDUPS  VOEFS TUBUF IBUF DSJNF TUBUVUFT *OTUFBE 
UJDFTBOEEBUBDPMMFDUJPO                                                   .BJOF TUBUVUFT BMMPX KVEHFT UP FOIBODF TFOUFODFT

                                                                              GPS DSJNFT BHBJOTU DFSUBJO SFDPHOJ[FE QPQVMBUJPOT
Analysis
                                                                              CBTFEPOSBDF SFMJHJPO BOEIPNFMFTTOFTT BHHSBWBU
5IJT MBX JT VOJRVF JO SFRVJSJOH UIF )VNBO 3JHIUT
                                                                              JOHGBDUPST "KVEHFJTQFSNJUUFEUPDPOTJEFSUIFTF
$PNNJTTJPO UP FEVDBUF IJHI TDIPPM TUVEFOUT PO
                                                                              BHHSBWBUJOH GBDUPST CVU JT OPU SFRVJSFE UP JODSFBTF
IPNFMFTTOFTT BOE DPPSEJOBUF MPDBM TFSWJDF QSPWJE
                                                                              QVOJTINFOUT *O BEEJUJPO UP NBLJOH IPNFMFTTOFTT
FST  *O BEEJUJPO  JU SFRVJSFT MBX FOGPSDFNFOU
                                                                              BO BHHSBWBUJOH GBDUPS JO TFOUFODJOH  .BJOF IBT SF
USBJOJOHBOEEBUBDPMMFDUJPO
                                                                              RVJSFE UIF #PBSE PG5SVTUFFT PG UIF .BJOF $SJNJOBM

*O '-03*%"  iIPNFMFTT TUBUVTw IBT CFFO BEEFE UP                       +VTUJDF "DBEFNZ UP QSPWJEF MBX FOGPSDFNFOU USBJO

TUBUF IBUF DSJNF MFHJTMBUJPO 0O .BZ    (PW                    JOH QSPHSBNT TQFDJGJDBMMZ UBSHFUFE UPXBSE EFBMJOH

FSOPS$IBSMJF$SJTUTJHOFEJOUPMBX'MPSJEB)PVTF#JMM                       XJUI UIF VOJRVF DIBMMFOHFT BTTPDJBUFE XJUI IPNF

 UIF$SJNFTBHBJOTU)PNFMFTT1FSTPOT"DU XIJDI                           MFTTOFTT5IFBCPWFDIBOHFTBSFUPCFNPOJUPSFECZ

SFDMBTTJGJFE offFOTFT UBSHFUJOH IPNFMFTT QFSTPOT                          UIF$PNNJTTJPOFSPG1VCMJD4BGFUZBOEUIF"UUPSOFZ

BT IBUF DSJNFT BOE QFSNJUT QFSQFUSBUPST UP SFDFJWF                    (FOFSBM

TUSJDUFSQFOBMUJFT
                                                                              Analysis

Analysis                                                                      .BJOF QBWFE UIF XBZ GPS TUBUFT MJLF .BSZMBOE BOE

"TXJUI.BSZMBOETMBX QH UIJTMBXVUJMJ[FTUIF                        'MPSJEBUPBEEUIFIPNFMFTTTUBUVTUPIBUFDSJNFTMFH

PMEFS EFGJOJUJPO PG IPNFMFTTOFTT  JODMVEFT IPNF                          JTMBUJPO.BJOF VOMJLFPUIFSTUBUFT EPFTOPUSFRVJSF

MFTTOFTT BT B IBUF DSJNF  BOE FOBDUT DSJNJOBM TBOD                   QVOJTINFOU GPS UIF DPNNJTTJPO PG B IBUF DSJNF *U



 :BSPTMBWTLZBOE,OBCF.PUJPO#Z:BSPTMBWTLZBOE,OBCF)PNFMFTTOFTTBOE
)VNBO3FMBUJPOT$PNNJUUFF"(//0.BSDI                                                                             AR004338
                                                                                                                                      iÙ®µÊu®ĝÕ¼ĝ&uÕĝ õó
                                                                                                              >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
NFSFMZHSBOUTKVEHFTUIFEJTDSFUJPOUPJNQPTFTUSPO                              FTGJOFT BOEQSJTPOTFOUFODFTCBTFEPOUIFEFHSFF
HFSTFOUFODFTGPSBIBUFDSJNF*UGBJMTUPSFRVJSFEBUB                        PGUIFDSJNFDPNNJUUFE
DPMMFDUJPO QSFWFOUJPOQMBOT MBXFOGPSDFNFOUUSBJO
                                                                                  16&350 3*$0 QBTTFE MFHJTMBUJPO JO  UIBU XBT
JOH PSIJHITDIPPMBXBSFOFTTFEVDBUJPO
                                                                                  EFTJHOFEUPHJWFNVDIOFFEFETVQQPSUUPJUTIPNF

."3:-"/%MBXOPXSFDPHOJ[FTIPNFMFTTJOEJWJEV                                    MFTTQPQVMBUJPO5IFMBXSFDPHOJ[FTUIBUPOBEBJMZ

BMT BT B QSPUFDUFE DMBTT VOEFS FOBDUFE IBUF DSJNF                        CBTJT IPNFMFTT QFPQMF BSF CFJOH FYQPTFE UP JO

TUBUVUFT0O.BZ (PWFSOPS.BSUJO0.BMMFZ                               TFOTJCMF BOE BCVTJWF USFBUNFOU " TFDUJPO PG UIJT

TJHOFEJOUPMBX.BSZMBOE4FOBUF#JMM UIFCSBJO                              MBX FNQIBTJ[FT UIF GBDU UIBU QFPQMF FYQFSJFODJOH

DIJMEPG3FQVCMJDBO4FOBUPS"MFY.PPOFZ5IFMFH                                IPNFMFTTOFTT TIPVME OPU CF EJTDSJNJOBUFE BHBJOTU

JTMBUJPOQSPUFDUTIPNFMFTTJOEJWJEVBMTGSPNEBNBHF                               GPS BOZ SFBTPO  'VSUIFS  BOUJEJTDSJNJOBUJPO XJMM CF

UPUIFJSTFMGPSSFBMQSPQFSUZ*GBDSJNFJTNPUJWBUFE                         BEESFTTFEUISPVHIUIFDSFBUJPOPGUIF.VMUJ4FDUPS

CZ UIF SBDF  DPMPS  SFMJHJPVT CFMJFGT  TFYVBM PSJFOUB                     )PNFMFTT 1PQVMBUJPO 4VQQPSU $PVODJM  XIJDI XJMM

UJPO OBUJPOBMPSJHJO PSIPNFMFTTTUBUVT UIFoffFOTF                           UBLFBDUJPOUPTVQQPSUIPNFMFTTJOEJWJEVBMT"EEJ

JTQVOJTIBCMFVOEFSUIFTUBUFIBUFDSJNFTTUBUVUF*G                           UJPOBMMZ JO14XBTTJHOFEJOUPMBX5IJTCJMM
BQFSQFUSBUPSJTDPOWJDUFEPGBIBUFDSJNF BIBSTIFS                            BNFOEFE"SUJDMF R PG-BX +VOF 
QVOJTINFOUJTJNQPTFE                                                           UIF1FOBM$PEFPG1VFSUP3JDP iTPBTUPFTUBCMJTIBT

                                                                                  BO BHHSBWBUJOH DJSDVNTUBODF UIF DPNNJTTJPO PG B
*O0)*0 $MFWFMBOEQBTTFEBDJUZPSEJOBODFJO"VHVTU
                                                                                  DSJNF NPUJWBUFE CZ QSFKVEJDF UPXBSET BOE BHBJOTU
EJDUBUJOHUIBUSFQFSDVTTJPOTXPVMECFFMFWBUFE
                                                                                  UIFWJDUJNGPSCFJOHBIPNFMFTTQFSTPOw
POF EFHSFF IJHIFS UIBO UIF offFOTF GPSiJOUJNJEBU

JOHwPSIBSBTTJOHBIPNFMFTTQFSTPOEVFUPIJTPS                                3)0%&*4-"/%BEEFEIPNFMFTTOFTT BTBQSPUFDU
IFSIPVTJOHTUBUVT                                                             FEDMBTTVOEFSIBUFDSJNFTUBUVUFT CVUPOMZGPSSF

                                                                                  QPSUJOHQVSQPTFT)PVTF#JMM BOEDPNQBOJPO
Analysis
                                                                                  4FOBUF #JMM   XFSF JOUSPEVDFE PO 'FCSVBSZ  
$MFWFMBOET MBX IJHIMJHIUT BOPUIFS UZQF PG DSJNJOBM
                                                                                  BOECFDBNF effFDUJWF XJUIPVU UIFHPWFSOPST
TBODUJPO6OMJLFMBXTUIBUFYQMJDJUMZTUBUFTBODUJPOT
                                                                                  TJHOBUVSF PO +VOF    5IF OFX MBX SFRVJSFT
GPSDSJNJOBMCFIBWJPS UIJTMBXJODSFNFOUBMMZJODSFBT
                                                                                  TUBUF QPMJDF UP SFQPSU BOE NPOJUPS DSJNFT BHBJOTU

                                                                                  UIFIPNFMFTT*UBMTPBEKVTUFEUIFEFGJOJUJPO PGIBUF

                                                                                  DSJNFTUPJODMVEFUIBUUIFTFBDUNBZCFiNPUJWBUFE

  'JOE-BX$JUZPG$MFWFMBOE$PEJGJFE0SEJOBODF/P

  -BX$PODJMJP.VMUJTFDUPSJBMFO"QPZPBMB1PCMBDJPOTJO)PHBS"QQSPWFE4FQUFNCFS 

                                                                                                                      AR004339

 Ibid.                                                                                                                 iÙ®µÊu®ĝÕ¼ĝ&uÕĝ õô
                                                                                          >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
CZ QSFKVEJDF BHBJOTU B QFSTPO XIP JT IPNFMFTT PS    UPBOEJOWFTUJHBUJOHDBTFT XJMMFOGPSDFUIFMBX5IF
QFSDFJWFEUPCFIPNFMFTT                                  TUBUFSFDPHOJ[FTNPSFOFFETUPCFEPOFCFGPSFIBUF

                                                             DSJNFTBHBJOTUIPNFMFTTJOEJWJEVBMTBSFSFEVDFE
Analysis
                                                             *O 4FBUUMF  UIF $JUZ $PVODJM BNFOEFE UIF DJUZT NB
.PTU OPUBCMZ  3IPEF *TMBOE SFDPHOJ[FT IBUF DSJNFT
                                                             MJDJPVT IBSBTTNFOU TUBUVUF JO %FDFNCFS  UP
BHBJOTUUIFIPNFMFTT BTXFMMBTUIPTFXIPBSFQFS
                                                             DSJNJOBMJ[F QBSUJDVMBS BDUT  JODMVEJOH NBMJDJPVT BOE
DFJWFE UP CF IPNFMFTT 5IJT MBX BMTP HPFT GVSUIFS
                                                             JOUFOUJPOBM JOKVSZ PS UISFBU BHBJOTU B QFSTPO  PS EF
UIBOUIPTFJO.BSZMBOEBOE'MPSJEBJOSFRVJSJOHUIF
                                                             TUSVDUJPOEBNBHFPGUIFQFSTPOTQSPQFSUZ CFDBVTF
DPNQJMBUJPO PG EBUB SFHBSEJOH IBUF DSJNFT BHBJOTU
                                                             PGUIFQFSDFQUJPOUIBUUIFQFSTPOJTIPNFMFTT
UIFIPNFMFTT QSPDFEVSFTGPSUIFJSEJTUSJCVUJPO BOE

EBUBBOBMZTJT*UEPFTOPU IPXFWFS TQFDJGZBSFRVJSF     Analysis
NFOUGPSUIFTVCNJUUBMPGSFDPNNFOEBUJPOTPOIPX            5IFPSEJOBODFGPDVTFTPOJODMVEJOHQFSDFJWFEIPNF
UPQSFWFOUIBUFDSJNFTGSPNPDDVSSJOH*UGVSUIFSGBJMT     MFTTOFTT JO UIF DSJNJOBMJ[BUJPO PG IBSBTTNFOU 5IF
UPSFRVJSFMBXFOGPSDFNFOUUSBJOJOHTPSIJHITDIPPM         MBX IPXFWFS EPFTOPUJODMVEFQSFWFOUJWFNFUIPET
BXBSFOFTTFEVDBUJPO                                         UPQSPUFDUIPNFMFTTJOEJWJEVBMTBHBJOTUTVDIBUUBDLT

                                                             PSNFBTVSFTUPFEVDBUFUIFQVCMJDPOTBGFUZGPSUIF
8"4)*/(50/MBXOPXSFDPHOJ[FTIPNFMFTTOFTTBT
                                                             IPNFMFTTQPQVMBUJPO
BQSPUFDUFETUBUVTVOEFSSFDFOUMZFOBDUFETUBUFIBUF

DSJNFTMFHJTMBUJPO0O"QSJM  (PWFSOPS$ISJT      *O8"4)*/(50/ %$MFHJTMBUJPO QBTTFECZUIF$JUZ

UJOF(SFHPJSFTJHOFE4FOBUF#JMMJOUPMBX XIJDI       $PVODJM JO   DMFBSMZ EFGJOFT IPNFMFTT JOEJWJEV

BEET IPNFMFTTOFTT UP B MJTU PG BHHSBWBUJOH GBDUPST   BMT BT B QSPUFDUFE DMBTT GSPN iCJBTSFMBUFE DSJNFw
GPSIBUFDSJNFBOBMZTJT QFSNJUUJOHBKVEHFUPJNQPTF       )PNFMFTT JOEJWJEVBMT BSF QSPUFDUFE GSPN DSJNJOBM
IBSTIFSTFOUFODFT%FNPDSBU4DPUU8IJUFTQPOTPSFE          BDUT  BT XFMM BT BUUFNQUT PS DPOTQJSBDJFT UP DPNNJU
UIJTMBXJOSFTQPOTFUPUIFCSVUBMNVSEFSPGBIPNF         BTTBVMU  JOKVSZ UP QSPQFSUZ  NVSEFS  SBQF  UIFGU  BOE
MFTTNBOOBNFE%BWJE#BMMFOHFSJO                      SPCCFSZ)PNFMFTTOFTTJTEFGJOFEJOUIFPSEJOBODF

                                                             VTJOH TJNJMBS MBOHVBHF UP UIBU DPOUBJOFE JO UIF
Analysis
                                                             .BSZMBOEMFHJTMBUJPO5IFTUBUVUFGVSUIFSSFRVJSFTUIF
8BTIJOHUPOT OFX MBX XJMM BMMPX KVEHFT UP JODSFBTF
                                                             .BZPSUPDPMMFDUBOEDPNQJMFEBUBPOUIFJODJEFODF
UIF QFSQFUSBUPST TFOUFODF CFDBVTF UIF WJDUJN XBT
                                                             PG CJBTSFMBUFE DSJNFT  BOOVBMMZ QVCMJTI B TVNNBSZ
FYQFSJFODJOH IPNFMFTTOFTT 1PMJDF BOE QSPTFDV
                                                             PGUIFEBUB USBOTNJUUIFTVNNBSZ BOENBLFSFDPN
UPST XIPXJMMIPMEUIFSFTQPOTJCJMJUZPGSFTQPOEJOH

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      %$$0%&#JBT3FMBUFE$SJNF                                                         AR004340
                                                                                                    iÙ®µÊu®ĝÕ¼ĝ&uÕĝ õõ
                                                                                          >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
                                                              Analysis
NFOEBUJPOT UP UIF $PVODJM 5IF TUBUVUF BMTP TUBUFT    5IF8BTIJOHUPO %$MFHJTMBUJPO MJLFUIBU PG 3IPEF
UIBU UIF TVNNBSJFT NBZ OPU DPOUBJO JOGPSNBUJPO         *TMBOE  JODMVEFT DSJNFT CBTFE PO UIF BDUVBM PS QFS
UIBU SFWFBMT UIF WJDUJNT JEFOUJUJFT $SJNJOBM          DFJWFE IPNFMFTT TUBUVT PG BO JOEJWJEVBM  5IF MBX
TBODUJPOT JO UIF GPSN PG GJOFT BOE JNQSJTPONFOU       BMTP DPWFSTiBUUFNQUJOHyPS DPOTQJSJOH UPDPNNJUw
BSF PVUMJOFE JO UIF MBX  7JDUJNT NBZ BMTP QVSTVF   BDSJNFBHBJOTUBQFSTPOPSUIFJSQSPQFSUZ BOEQSP
SFMJFG UISPVHI B DJWJM BDUJPO BOE NBZ SFDFJWF BO     WJEFTCPUIDSJNJOBMBOEDJWJMSFNFEJFT5IJTMBOHVBHF
JOKVODUJPO    SFBTPOBCMF     BDUVBM    PS   OPNJOBM     CSPBEFOTQSPUFDUJPOTBHBJOTUUIFIPNFMFTT'VSUIFS
EBNBHFT GPS FDPOPNJD PSOPOFDPOPNJDMPTT TVDI           NPSF UIJTPSEJOBODFSFRVJSFTUIFDPMMFDUJPOPGEBUB
BT FNPUJPOBM EJTUSFTT  QVOJUJWF EBNBHFT  PS            XJUIPVUSFWFBMJOHWJDUJNJEFOUJUJFTBOENBLJOHSFD
BUUPSOFZTGFFT                                             PNNFOEBUJPOTUPUIFDJUZDPVODJM




3FTPVSDF(VJEF
ENACTING EFFECTIVE HATE CRIME LEGISLATION IN YOUR COMMUNITY
i. Goals to Achieve

)BUFDSJNFMFHJTMBUJPOTFSWFTNBOZQVSQPTFT1SJNBSJMZ JUTFFLTUPQVOJTIBOEEFUFSJOEJWJEVBMTGSPNDPNNJU

UJOHCJBTNPUJWBUFEDSJNFT*OUIFOBNJOHBWVMOFSBCMFHSPVQ IBUFDSJNFMFHJTMBUJPONBLFTBTUBUFNFOUUP

UIFDPNNVOJUZUIBUUIJTHSPVQIBTUIFGVMMQSPUFDUJPOPGUIFMBXBOEJTEFTFSWJOHPGTVDIQSPUFDUJPO4VDI

MFHJTMBUJPOBMTPFOTVSFTUIFSFDPHOJUJPOPGGVOEBNFOUBMIVNBOSJHIUT


8IJMFUIFSFJTBDMFBSOFFEUPJODMVEFBOEQSPUFDUIPNFMFTTJOEJWJEVBMTJOIBUFDSJNFTMFHJTMBUJPO DJUJFTBOE

TUBUFT BDSPTT UIF DPVOUSZ diffFS JO UIFJS BQQSPBDIFT UPXBSET BDDPNQMJTIJOH UIJT HPBM /$) CFMJFWFT DFSUBJO

DPODFQUTBSFFTTFOUJBMGPSDPNQSFIFOTJWFBOEeffFDUJWFIBUFDSJNFTMFHJTMBUJPO5IJTHVJEFXJMMCFHJOCZPVU

MJOJOHUIPTFDPODFQUT*UDPOUJOVFTCZFYQMBJOJOHBOEBOBMZ[JOHFOBDUFEMFHJTMBUJPOJOPSEFSUPVOEFSTUBOE

UIFJSTUSFOHUITBOEXFBLOFTT*UBMTPFWBMVBUFTVOTVDDFTTGVMBUUFNQUTUPBNFOEIBUFDSJNFTMFHJTMBUJPOBOE

QPTTJCMF SFBTPOT GPS UIPTF GBJMVSFT  'JOBMMZ  UIJT HVJEF XJMM QPTF BSHVNFOUT SBJTFE JO PQQPTJUJPO UP UIF

JODMVTJPO PG IPNFMFTT TUBUVT JO IBUF DSJNFT MFHJTMBUJPO  BT XFMM BT QPTTJCMF DPVOUFSBSHVNFOUT  *O

VOEFSTUBOEJOHUIFTFNPEFMT PUIFSKVSJTEJDUJPOTDBODSFBUFUIFJSPXODPNQSFIFOTJWFIBUFDSJNFTMFHJTMBUJPO

UPFOTVSFNBYJNVNQSPUFDUJPOGPSJOEJWJEVBMTFYQFSJFODJOHIPNFMFTTOFTT

                                                                                                  AR004341
                                                                                                    iÙ®µÊu®ĝÕ¼ĝ&uÕĝ õö
                                                                                                                    >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ

ii. Recommendations for Hate Crimes Legislation

/$)SFDPHOJ[FTUIBUdiffFSFOUMPDBMJUJFTBSFHPWFSOFECZdiffFSFOUMBXTBOEIBWFWBSZJOHOFFET'PSUIJT
SFBTPO JUJTJNQPSUBOUGPSTUBUFBOEMPDBMDPNNVOJUJFTUPEFUFSNJOFXIBUQSPUFDUJPOTBSFBMSFBEZJOQMBDF
BOEXIBUUIFJSHPBMTBSFGPSQSPQPTJOHIBUFDSJNFTMFHJTMBUJPOUPQSPUFDUUIFIPNFMFTT/$)BMTPCFMJFWFT
IPXFWFS UIBUUIFIPNFMFTTQPQVMBUJPOJTEVFDFSUBJOGVOEBNFOUBMQSPUFDUJPOTBOEIBTJEFOUJGJFEDPODFQUT

UIBUBSFLFZUPDPNQSFIFOTJWFIBUFDSJNFTMFHJTMBUJPOBUBOZMFWFM5IFTFDPODFQUTJODMVEF

       3FDPHOJUJPOPGUIFIPNFMFTTPSBQFSTPOPGiIPNFMFTTTUBUVTwBTBQSPUFDUFEDMBTT UIVT UBSHFUJOHB

      QFSTPOEVFUPUIFJSIPNFMFTTTUBUVTPSQFSDFJWFEIPNFMFTTTUBUVTXPVMERVBMJGZBTWJPMBUJPOPGUIFMBX
       6TFPGBEFGJOJUJPOPGIPNFMFTTOFTTJOMJOFXJUI64$f  BT FWJTFECZUIF)&"35)"DU

       *ODMVTJPOPGCPUIDPNNJUUFEIBUFDSJNFTBOEBUUFNQUTPSDPOTQJSBDJFTUPDPNNJUBIBUFDSJNFBHBJOTU

      BQFSTPOPSUIFJSQSPQFSUZ
       $SJNJOBM BOE DJWJM TBODUJPOT JODMVEJOH JOKVODUJPOT  SFBTPOBCMF BDUVBM PS OPNJOBM EBNBHFT GPS FDP

      OPNJDPSOPOFDPOPNJDMPTT QVOJUJWFEBNBHFT PSBUUPSOFZTGFFT GPSWJPMBUJPOTPGIBUFDSJNFMBXT

       %FWFMPQNFOUPGQSPDFEVSFTUIBUGBDJMJUBUFUIFEBUBDPMMFDUJPOCZMBXFOGPSDFNFOUBOEMPDBMPSHBOJ[B

      UJPOTBOEUIFEJTUSJCVUJPOPGUIFEBUBUPHPWFSOJOHCPEJFTXIJMFNBJOUBJOJOHUIFQSJWBDZPGUIFWJDUJNT

      5IJTEBUBTIPVMECFVTFEUPDSFBUFTUSPOH TVQQPSUFESFDPNNFOEBUJPOTUPQSFTFOUUPMBXNBLFST

       3FRVJSFNFOUPGMBXFOGPSDFNFOUUPDPNQMFUFUSBJOJOHTPOIPXUPJOUFSBDUeffFDUJWFMZBOESFTQFDUGVMMZ

      XJUIIPNFMFTTQPQVMBUJPOT

       $PPSEJOBUJPOCFUXFFOMBXFOGPSDFNFOUBOE MPDBMTFSWJDF QSPWJEFSTUPFOTVSFIPNFMFTT JOEJWJEVBMT

      SFDFJWFOFDFTTBSZTFSWJDFT

       "XBSFOFTTDBNQBJHOTBNPOHTUIJHITDIPPMTUVEFOUTBOEPUIFSZPVOHQFPQMFBCPVUIPNFMFTTOFTT




  .PTUIPNFMFTTIBUFDSJNFTMFHJTMBUJPOUIBUIBTCFFOFOBDUFEIBTVUJMJ[FEUIF)6%EFGJOJUJPOPGIPNFMFTTOFTTGPVOEJO64$/$)BEWPDBUFT
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GPSUIFVUJMJ[BUJPOPGUIF)6%EFGJOJUJPO XIJDIXBTEFDMBSFEJOUIF)&"35)"DU5IFEFGJOJUJPOJTNVDIOBSSPXFSBOESFDPHOJ[FTGFXFSQFPQMFBT
IPNFMFTT

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COMMUNITY POLICY AND EDUCATION RECOMMENDATIONS


5IF/BUJPOBM$PBMJUJPOGPSUIF)PNFMFTTBEWPDBUFTGPSUIFGPMMPXJOH


    1. i)PNFMFTTTUBUVTwUPCFJODMVEFEJOUIFGFEFSBMIBUFDSJNFTTUBUJTUJDTTUBUVUF%PJOHTPXPVMESFRVJSF

    UIF'FEFSBM#VSFBVPG*OWFTUJHBUJPOUPDPMMFDUEBUBPOIBUFNPUJWBUFEWJPMFODFUBSHFUFEBHBJOTUJOEJWJEV

    BMTXIPBSFIPNFMFTT

    *OUIFUI4FTTJPOPG$POHSFTT)3XBTJOUSPEVDFECZ643FQSFTFOUBUJWF&EEJF#FSOJDF+PIOTPO 

    TFFLJOHUPBEEiIPNFMFTTTUBUVTwUPUIFGFEFSBMIBUFDSJNFTTUBUJTUJDTTUBUVUF)3JTJEFOUJDBMUPUISFF

    CJMMTJOUSPEVDFEJOQSFWJPVTTFTTJPOTPG$POHSFTT

     4UBUFTXJUIIBUFDSJNFTUBUVUFTUPJODMVEFiIPNFMFTTTUBUVTwXJUIJOUIFJSDVSSFOUIBUFDSJNFTGSBNF

    XPSL

     5IF64%FQBSUNFOUPG+VTUJDFUPJTTVFBQVCMJDTUBUFNFOUBDLOPXMFEHJOHUIBUIBUFDSJNFTBOEPS

    WJPMFODFBHBJOTUQFPQMFFYQFSJFODJOHIPNFMFTTOFTTBSFBTFSJPVTOBUJPOBMQSPCMFN

     5IF64%FQBSUNFOUPG+VTUJDFUPJTTVFHVJEFMJOFTGPSMBXFOGPSDFNFOUBHFODJFTPOIPXUPJOWFTUJHBUF

    BOEQSPTFDVUFCJBTNPUJWBUFEDSJNFTBHBJOTUQFPQMFFYQFSJFODJOHIPNFMFTTOFTT

     -BXFOGPSDFNFOUBHFODJFTUPQSPWJEFBXBSFOFTTUSBJOJOHGPSUSBJOFFTBOEofficFSTBCPVUUIFDBVTFT

    BOE TPMVUJPOT UP IPNFMFTTOFTT BOE IPX UP EFBM effFDUJWFMZ BOE SFTQFDUGVMMZ XJUI QFPQMF FYQFSJFODJOH

    IPNFMFTTOFTTJOUIFJSDPNNVOJUJFT

     "EWPDBUFTBOEIPNFMFTTTFSWJDFQSPWJEFSTUPQSPWJEFPQQPSUVOJUJFTGPSQFPQMFXIPIBWFFYQFSJFODFE

    IPNFMFTTOFTTBOETVSWJWFECJBTNPUJWBUFEWJPMFODFUPUFMMUIFJSTUPSJFT5IF'BDFTPG)PNFMFTTOFTT4QFBL

    FST#VSFBVT DPNQPTFEPGIPNFMFTTBOEGPSNFSMZIPNFMFTTQFPQMF XIJDIWJTJUCPUIQVCMJDBOEQSJWBUF

    TDIPPMTJODPNNVOJUJFTGPSUIFQVSQPTFTPGJOGPSNBUJPOBOEFEVDBUJPO XPVMECFPOFNFUIPEPGQSPWJE

    JOHPQQPSUVOJUJFTGPSTVSWJWPSTUPTIBSFUIFJSTUPSJFT

     'FEFSBM TUBUF BOEMPDBMHPWFSONFOUTUPBTTVSFBEFRVBUFaffPSEBCMFIPVTJOHBOETFSWJDFTUPCSJOHBO

    FOEUPIPNFMFTTOFTTJOPVSDPNNVOJUJFT BOEUIVTDSFBUFTBGFBMUFSOBUJWFTUPMJWJOHJOIPNFMFTTTJUVB

    UJPOT




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MODEL LANGUAGE FOR ALL LEGISLATION AND RESOLUTIONS


5IFGPMMPXJOHJTQSPQPTFEMBOHVBHFUPCFVTFEJOXIPMFPSJOQBSUCZMPDBMBEWPDBUFTUPQSPQPTFUIFJSPXO

GPSNTPGIPNFMFTTIBUFDSJNFMFHJTMBUJPO-PDBMBEWPDBUFTBSFFODPVSBHFEUPVTFUIFXIPMFCPEZPSUIFQJFDFT

PGUIFNPEFMUIFZEFFNNPTUOFDFTTBSZ5IFNPEFMMBOHVBHFXBTQSFQBSFECZUIF/BUJPOBM$PBMJUJPOGPSUIF

)PNFMFTT /$) BOEUIF/BUJPOBM-BX$FOUFSPO)PNFMFTTOFTTBOE1PWFSUZ /-$)1 "EWPDBUFTXIPIBWF

RVFTUJPOTBSFFODPVSBHFEUPDPOUBDUUIF/BUJPOBM$PBMJUJPOGPSUIF)PNFMFTTBUJOGP!OBUJPOBMIPNFMFTTPSH


    8IFSFBT IBUFDSJNFTBOEWJPMFODFBHBJOTUIPNFMFTTQFSTPOTIBTCFDPNFBOBUJPOXJEFUSFOE  SF

    QPSUFEDBTFTPGWJPMFODFBHBJOTUIPNFMFTTQFPQMFPWFSUIFQBTUZFBST  SFTVMUJOHJO

    EFBUIT


    8IFSFBT UIFTDPQFPGQSPIJCJUJPOTBHBJOTUUIFDPNNJTTJPOPGIBUFDSJNFTBHBJOTUDFSUBJOHSPVQTPGQFS

    TPOTTIPVMEJODMVEFIPNFMFTTQFSTPOT


    8IFSFBT VOEFSTUBOEJOHWJPMFOUDSJNFTDPNNJUUFEBHBJOTUIPNFMFTTQFSTPOTBOEBEFRVBUFQVOJTINFOU

    GPSTVDIDSJNFTQMBZLFZSPMFTJOQSFWFOUJOHBOENBOBHJOHWJPMFODFBHBJOTUIPNFMFTTQFSTPOTBOE


    8IFSFBT MBXFOGPSDFNFOUOFFETQSPQFSUSBJOJOHUPIBOEMFBOEQSFWFOUWJPMFOUDSJNFTBHBJOTUIPNFMFTT

    QFSTPOT

    #FJUFOBDUFE

     'PSUIFQVSQPTFTPGUIJTMFHJTMBUJPO BiIPNFMFTTQFSTPOwNFBOTBOJOEJWJEVBMPSNFNCFSPGBGBNJMZBT

    EFGJOFEJO 4$f  BOEBOZSFHVMBUJPOTQSPNVMHBUFEUIFSFBGUFS

       5IFTUBUFIBUFDSJNFTTUBUVUFTIBMMCFFYQBOEFEUPJODMVEFIPNFMFTTQFSTPOTBTBQSPUFDUFEDMBTT

        1SPIJCJUJPOPO)BUF$SJNFTBHBJOTU)PNFMFTT1FSTPOTo5IFGPMMPXJOHBDUTTIBMMCFEFFNFEBIBUF

    DSJNFBOEQSPIJCJUFEXIFODBSSJFEPVUBHBJOTUBQFSTPOPOUIFCBTJTUIBUQFSTPOTTUBUVTBTBIPNFMFTT

    QFSTPO

          " "TTBVMU BHHSBWBUFEBTTBVMU CBUUFSZ PSBHHSBWBUFECBUUFSZVQPOUIFQFSTPOPS

          # "DUT UIBU EFGBDF  EBNBHF  PS EFTUSPZ PS BUUFNQU UP EFGBDF  EBNBHF  PS EFTUSPZ UIF QFSTPOBM

         QSPQFSUZPGUIFQFSTPOPS

          $ "DUTUIBUSFTVMUJOUIFEFBUIPGUIFQFSTPOPS

          % "OZPUIFSDSJNFBHBJOTUUIFQFSTPO
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     " "QFSTPODPOWJDUFEPGBHHSBWBUFEBTTBVMUPSBHHSBWBUFECBUUFSZVQPOBIPNFMFTTQFSTPOCBTFE

    POUIFWJDUJNTTUBUVTBTBIPNFMFTTQFSTPOTIBMMCFTFOUFODFEUPBNJOJNVNUFSNPGZFBSTBOE

    GJOFE OPUNPSFUIBO 5IFQFSTPOTIBMMCFPSEFSFECZUIFTFOUFODJOHKVEHFUPNBLFBOZSFT

    UJUVUJPOUPUIFWJDUJNPGUIFoffFOTFBOEUPQFSGPSNIPVSTPGDPNNVOJUZTFSWJDFXPSL3FTUJUV

    UJPOBOEDPNNVOJUZTFSWJDFXPSLTIBMMCFJOBEEJUJPOUPBOZGJOF PSTFOUFODFUIBUNBZCFJNQPTFE

    BOETIBMMOPUCFJOMJFVUIFSFPG

     # 8IFOFWFSBQFSTPOJTDIBSHFEXJUIDPNNJUUJOHBOBTTBVMUPSBHHSBWBUFEBTTBVMUPSBCBUUFSZPS

    BHHSBWBUFECBUUFSZVQPOBIPNFMFTTQFSTPOCBTFEPOUIFWJDUJNTTUBUVTBTBIPNFMFTTQFSTPO UIF

    offFOTFGPSXIJDIUIFQFSTPOJTDIBSHFETIBMMCFSFDMBTTJGJFEBT PMMPXT

          *OUIFDBTFPGBHHSBWBUFECBUUFSZ GSPNBGFMPOZPGUIFTFDPOEEFHSFFUPBGFMPOZPGUIFGJSTU

        EFHSFF

          *OUIFDBTFPGBHHSBWBUFEBTTBVMU GSPNBGFMPOZPGUIFUIJSEEFHSFFUPBGFMPOZPGUIFTFDPOE

        EFHSFF

          *OUIFDBTFPGCBUUFSZ GSPNBNJTEFNFBOPSPGUIFGJSTU EFHSFFUPBGFMPOZPGUIFUIJSEEFHSFF

          *OUIFDBTFPGBTTBVMU GSPNBNJTEFNFBOPSPGUIFTFDPOEEFHSFFUPBNJTEFNFBOPSPGUIF

        GJSTUEF SFF

   4UBUF0fficFPGUIF"UUPSOFZ(FOFSBM4UVEZ

     " 5IF0fficFPGUIF"UUPSOFZ(FOFSBMTIBMMBTTFTTUIFFYUFOUPGUIFQSPCMFNPGDSJNFTBHBJOTUIPNF

    MFTTQFSTPOTBOEEFWFMPQBQMBOUPQSFWFOUUIFTFDSJNFTBOEBQQSFIFOEBOEQSPTFDVUFUIFQFSQF

    USBUPSTPGUIFTFDSJNFT

     # *OEFWFMPQJOHUIFBTTFTTNFOUBOEQMBO UIF0fficFPGUIF"UUPSOFZ(FOFSBMTIBMMDPOTVMUIPNF

    MFTTQFSTPOT TFSWJDFQSPWJEFSTBOEBEWPDBUFTGPSIPNFMFTTQFSTPOTBOEMBXFOGPSDFNFOUBHFODJFT

    XJUIFYQFSJFODFJOWFTUJHBUJOHDSJNFTBHBJOTUIPNFMFTTQFSTPOT

   -BX&OGPSDFNFOU5SBJOJOHPO)BUF$SJNFTBHBJOTU)PNFMFTT1FSTPOTo

     " 5IFMFBETUBUFMBXFOGPSDFNFOUBHFODZTIBMMEFWFMPQBUFMFDPVSTFUIBUTIBMMCFNBEFBWBJMBCMF

    UPBMMMBXFOGPSDFNFOUBHFODJFTJOUIFTUBUF&WFSZTUBUF MPDBM BOEDPSSFDUJPOBMMBXFOGPSDFNFOU

    BHFODZTIBMMDFSUJGZUIBUFBDIPGJUTofficFSTIBTUBLFOUIFDPVSTF5IFUFMFDPVSTFTIBMMBEESFTTDSJNFT

    BHBJOTU IPNFMFTT QFSTPOT BOE NFUIPET PG EFBMJOH effFDUJWFMZ BOE IVNBOFMZ XJUI IPNFMFTT QFS


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TPOT5IFDPVSTFTIBMMJODMVEFJOTUSVDUJPOPOFBDIPGUIFGPMMPXJOHUPQJDT

        *OGPSNBUJPOBCPVUIPNFMFTTOFTT JODMVEJOHDBVTFTPGIPNFMFTTOFTT JUTJNQBDU BOETPMV

    UJPOTUPIPNFMFTTOFTT

     *OEJDBUPSTPGIBUFDSJNFT

     5IFJNQBDUPGUIFTFDSJNFTPOUIFWJDUJN UIFWJDUJNTGBNJMZ BOEUIF DPNNVOJUZ

     5IFBTTJTUBODFBOEDPNQFOTBUJPOBWBJMBCMFUPWJDUJNT

        5IFMBXTEFBMJOHXJUIIBUFDSJNFTBOEUIFMFHBMSJHIUTPG BOEUIFSFNFEJFTBWBJMBCMFUP

    WJDUJNTPGIBUFDSJNFT

     -BXFOGPSDFNFOUQSPDFEVSFT SFQPSUJOH BOEEPDVNFOUBUJPOPGIBUFDSJNFT

     5FDIOJRVFTBOENFUIPETUPIBOEMFJODJEFOUTPGIBUFDSJNFT

     5IFTQFDJBMQSPCMFNTJOIFSFOUJOIBUFTDSJNFTBHBJOTUIPNFMFTTQFSTPOTBOEUFDIOJRVFTPO

    IPXUPEFBMXJUIUIFTFTQFDJBMQSPCMFNT

# 5IFMFBETUBUFMBXFOGPSDFNFOUBHFODZTIBMMEFWFMPQBQSPUPDPMUIBUMBXFOGPSDFNFOUQFSTPOOFM

BSFSFRVJSFEUPGPMMPX JODMVEJOH CVUOPUMJNJUFE UPUIFGPMMPXJOH

     1SFWFOUJOHMJLFMZIBUFDSJNFTCZ BNPOHPUIFSUIJOHT FTUBCMJTIJOHDPOUBDUXJUIQFSTPOTBOE

    DPNNVOJUJFTUIBUBSFMJLFMZUBSHFUT BOEGPSNJOHBOEDPPQFSBUJOHXJUIDPNNVOJUZIBUFDSJNF

    QSFWFOUJPOBOESFTQPOTFOFUXPSLT

        3FTQPOEJOHUPSFQPSUTPGIBUFDSJNFT JODMVEJOHSFQPSUTPGIBUFDSJNFTDPNNJUUFEVOEFS

    DPMPSPGMFHBMBVUIPSJUZ

     1SPWJEJOHWJDUJNBTTJTUBODFBOEGPMMPXVQ JODMVEJOHDPNNVOJUZGPMMPXVQ

     3FQPSUJOHNFUIPETBOEQSPDFEVSFTUPUSBDLIBUFDSJNFTBHBJOTUIPNFMFTTQFSTPOT

$ *OEFWFMPQJOHUIFUFMFDPVSTF UIFMFBETUBUFMBXFOGPSDFNFOUBHFODZTIBMMDPOTVMUTVCKFDUNBU

UFSFYQFSUTJODMVEJOH CVUOPUMJNJUFEUP UIFGPMMPXJOH

     )PNFMFTTBOEGPSNFSMZIPNFMFTTJOEJWJEVBMT

     5IF/BUJPOBM$PBMJUJPOGPSUIF)PNFMFTT

     0UIFSMPDBMIPNFMFTTTFSWJDFQSPWJEFSTBOEBEWPDBUFTGPSIPNFMFTTQFPQMF

     &YQFSUTPOUIFEJTBCJMJUJFTIPNFMFTTQFSTPOTDPNNPOMZFYQFSJFODFBOE

       -BXFOGPSDFNFOUBHFODJFTXJUIFYQFSJFODFJOJOWFTUJHBUJOHIBUFDSJNFTBHBJOTUIPNFMFTT

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/POMFUIBMBUUBDLTJO                                              -FUIBM
"TTBVMUTXJUIBEFBEMZXFBQPO                                            #JSNJOHIBN "MBCBNB
1PMJDF#SVUBMJUZ                                                         )PNJDJEF7JDUJN'PVOE%FBEJO#JSNJOHIBN)PNFM
#FBUJOHT                                                                 FTT$BNQ/PX*EFOUJGJFE
)BSBTTNFOU
3BQFT4FYVBM"TTBVMUT                                               "VHVTUUI +BNFT8JMMJBN(SJGGJO  XBT
.FEJB&YQMPJUBUJPO                                                       GPVOECZUIFMPDBMQPMJDFMZJOHJOBGJFMEUIBUNBLFT
                                                                            VQBIPNFMFTTFODBNQNFOU(SJGGJOIBECFFOTIPU
"MBTLBOPOMFUIBM                                                        JOUIFBSNBOEXBTQSPOPVODFEEFBEBUUIFTDFOF
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                                                                            7JDUJNPG"OPUIFS$SVFM"UUBDL
"VHVTUOE +POBUIBO"OBSVL  TFWFSFMZ
JOKVSFEBOVOBSNFEBIPNFMFTTXPNBOEVSJOHBO                              0DUPCFS UI   .T "MJDF  B IPNFMFTT
BUUFNQUFESPCCFSZ"OBSVLXBTBUUFNQUJOHUPTUFBM                          XPNBO XBT TUBCCFE NVMUJQMF UJNFT CZ B TVTQFDU
XPSUIPGBOPUIFSNBOTQPTTFTTJPOTBUB                               UIBU IBT TJODF CFFO UBLFO JOUP DVTUPEZ GPS
IPNFMFTTFODBNQNFOUXIFOUIFXPNBOBUUFNQUFE                               BUUFNQUFENVSEFS 8FFLT FBSMJFS  TPNFPOF VTFE
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QVODIFEIFSJOUIFGBDF BOETUSBOHMFEIFS5IF                            XIJUF XIJMF TIF TMFQU 4IF JT DVSSFOUMZ JO TUBCMF
WJDUJNXBTTFWFSFMZJOKVSFEBOE"OBSVLSFNBJOTBU                          DPOEJUJPO GPMMPXJOH UIF LOJGF BUUBDL *U JT VODMFBS
MBSHF UIFTVCKFDUPGBQPMJDFTFBSDIBOE                                  JG UIF JODJEFOUT XFSFMJOLFE
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JOEPXOUPXO-JUUMF3PDL5IFZFBSPMEWJDUJNUPMEJOWFTUJHBUPSTIFXBTXBMLJOHEPXOUIFTUSFFUTIPSUMZ
BGUFSQN XIFO B QFSTPO BQQSPBDIFE BOE IJU IJN JO UIF GBDF  4VSWFJMMBODF GPPUBHF TIPX UXP NFO JO
EBSLIPPEJFTDPNJOHBUUIFZFBSPMECFGPSFPOFQVODIFTUIFWFUFSBOJOUIFGBDFBOEUIFPUIFSQVODIFT
IJNJOUIFCBDL8IJMFUIFWJDUJNXBTPOUIFHSPVOE UIFUXPNFOUPPLIJTCMBDL/JLFTIPFTPGGIJTGFFU

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XBTXBMLJOH BOE UIFZ EFNBOEFE IJT DFMMQIPOF 8IFO IF EJEOU DPNQMZ  UIF SPCCFST QVODIFE IJN JO UIF
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1IPFOJY "SJ[POB
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+VMZ UI   "O VOJEFOUJGJFE IPNFMFTT NBO XPLF VQ UP GJOE CPUI PG IJT MFHT TFU PO GJSF EVSJOH UIF
FBSMZNPSOJOH IPVST 5IF WJDUJN TBZT IF TBX UISFF NFOXBUDIJOH IJN XIFO IF XPLF VQ )JT JOKVSJFT
XFSFOPOMJGFUISFBUFOJOH1PMJDFBSFJOWFTUJHBUJOH

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NPSOJOH IPVST 5IF WJDUJN TBZT IF TBX UISFF NFOXBUDIJOH IJN XIFO IF XPLF VQ )JT JOKVSJFT XFSF
OPOMJGFUISFBUFOJOH1PMJDFBSFJOWFTUJHBUJOH

$BMJGPSOJBMFUIBM OPOMFUIBM

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4BO+PTF $BMJGPSOJB
:FBS0ME"SSFTUFEJO'BUBM4BO+PTF)JUo"OE3VO/PX$MBTTJGJFEBT)PNJDJEF

+BOVBSZ "OVOJEFOUJGJFEIPNFMFTTNBO  XBT TUSVDL BOE LJMMFE CZ B QJDLVQ USVDL ESJWFO CZ
&SOFTU $FSWBOUFT   $FSWBOUFT JU UIPVHIU UP IBWFLOPXO UIF WJDUJN BOE IBT CFFO BSSFTUFE GPS
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i5IF-JGFBOE%FBUIPG-VJT(POHPSB5IF1PMJDF,JMMJOH/PCPEZ/PUJDFEw

"QSJMUI -VJT(POHPSB  LOPXOBTiUIFIPNFMFTTHVZXJUIUIFTPDDFSCBMM wXBTTIPUTFWFOUJNFT
BOE LJMMFE CZ QPMJDF JO UIF .JTTJPO %JTUSJDU (POHPSB IFME B LJUDIFO LOJGF BOE XBT UPME CZ 4FSHFBOU /BUF
4FHFSBOE0GGJDFS.JLF.FMMPOFUP i(FUPOUIFHSPVOEwBOEi1VUUIBUEPXOw)FEJFEGSPNBCVMMFUFOUFSJOH
UISPVHIUIFUPQPGIJTTLVMM"GUFSQPMJDFSFGPSNBEWPDBUFTBOEGBNJMZNFNCFSTTQPLFPVU JO+VMZ4FSHFBOU
4FHFSWPMVOUBSJMZBHSFFEUPMFBWFIJTQPTJUJPOBUUIFDPNNJUUFFPOVTFPGGPSDFSFDPNNFOEBUJPOT


4BO'SBODJTDP $BMJGPSOJB
i.PSF4VTQFDUT"SSFTUFE*O#FBUJOH%FBUIPG)PNFMFTT.BOw

.BZOE 5IFMJGFMFTTCPEZPGBOFMEFSIPNFMFTTNBOXBTGPVOEGMPBUJOHJOBQPOEJO(PMEFO(BUF
1BSL  BGUFS IBWJOH TVGGFSFE B CSVUBM UISFF EBZ MPOH CFBUJOH CFGPSF CFJOH MFGU UP EJF 4UFWFO #JMMJOHTMFZ  
/JLLJ-FF8JMMJBNT 4BNBOUIB3VOETUSPN  BOE.JDIBFM(SBTTPIBWFCFFODIBSHFEJODPOOFDUJPOUP
UIFDBTF

4BO+PTF $BMJGPSOJB
i.BO'PVOE%FBEJO4BO+PTF5SBTI$BO8BT,JMMFE1PMJDFw

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1PMJDFBSFJOWFTUJHBUJOH

4BO%JFHP $BMJGPSOJB
i.BO"UUBDLFE8JUI)BNNFSJO-BUFTU$SJNFT"HBJOTU)PNFMFTTw

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1PMJDF CFMJFWF %F /BSEP XBT LJMMFE QSJPS UP CFJOH TFU PO GJSF *OWFTUJHBUPST JOJUJBMMZ TVTQFDUFE "OUIPOZ
1BEHFUU  TFFOPOTVSWFJMMBODFWJEFPCVZJOHHBTPMJOFBUBDPOWFOJFODFTUPSF1BEHFUUXBTBSSFTUFEBOE
MBUFSSFMFBTFEEVFUPMBDLPGFWJEFODF+PIO%(VFSSFSPXBTMBUFSBSSFTUFEGPSBTQSFFPGWJPMFODFBHBJOTUUIF
IPNFMFTTQPQVMBUJPOJO4BO%JFHP

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IPNFMFTTNBOUIFEBZQSJPS*OWFTUJHBUPSTJOJUJBMMZBSSFTUFE"OUIPOZ1BEHFUU  CVUXBTMBUFSSFMFBTFEEVF
UP MBDL PG FWJEFODF 0O +VMZ UI   +PIO % (VFSSFSP XBT UBLFO JOUP DVTUPEZ BOE DIBSHFE XJUI -POHMFZT
NVSEFS BTXFMMBTGPSPUIFSSFMBUFEJODJEFOUT

4BO%JFHP $BMJGPSOJB
i.BO"UUBDLFE8JUI)BNNFSJO-BUFTU$SJNF"HBJOTU)PNFMFTTw

+VMZ UI   %JPOJDJP %FSFL 7BIJEZ    EJFE GPVS EBZT BGUFS CFJOH GPVOE JO DSJUJDBM DPOEJUJPO XJUI
FYUFOTJWF EBNBHF UP IJT VQQFS CPEZ BOE B UPXFM DPWFSJOH IJT IFBE UIBU IBE CFFO TFU PO GJSF 8JUOFTTFT
EFTDSJCF B NBO TQSBZJOH BO BDDFMFSBOU PO 7BIJEZ  JHOJUJOH IJN  BOE UIFO GMFFJOH UIF TDFOF 0O +VMZ UI
+PIO%(VFSSFSPXBTBSSFTUFEJO7BIJEZTEFBUI BTXFMMBTGPSJODJEFOUTJOWPMWJOHUISFFPUIFSIPNFMFTTNFO

4BO+PTF $BMJGPSOJB
i4BO+PTF1PMJDF*OWFTUJHBUJOH.BOT'BUBM4UBCCJOHw

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B QFSTPO EFDFBTFE 5IJT GPMMPXT UIF LJMMJOH PG UXP PUIFS IPNFMFTT QFPQMF JO 4BO +PTF 1PMJDF BSF
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SJEJOH B CJDZDMF XJUI OP TIJSU PO  BDDPSEJOH UP XJUOFTTFT 4BOUB "OB QPMJDF DMBJNFE UIBU 4XJIBSU CFDBNF
IPTUJMFBOEFOUFSFEJOUPBQIZTJDBMBMUFSDBUJPOXJUIPOFPGUIFPGGJDFST MBUFSUSZJOHUPHSBCUIFJSHVO XIJDI
QSPNQUFE UIF PGGJDFS UP GJSF NVMUJQMF SPVOET 4XJIBSU XBT TUSVDL JO UIF VQQFS UPSTP BOE UBLFO UP B
OFBSCZIPTQJUBM XIFSFIFSFNBJOFEJODSJUJDBMDPOEJUJPOVOUJMIFEJFEPGIJTXPVOETPO"VHVTUUI5IF
0SBOHF$PVOUZ%JTUSJDU"UUPSOFZTPGGJDFJTJOWFTUJHBUJOHUIFJODJEFOU

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BGUFSUIFZBUUFNQUFEUPTUPQIJNGSPNRVFTUJPOJOH#PXFSTXBTSJEJOHIJTCJLFEPXOUIFTUSFFU CVUGMFEPO
GPPUXIFO QPMJDF TUPQQFE IJN *U JT VOLOPXO XIZ UIF PGGJDFS VTFE EFBEMZ GPSDF EVSJOH UIF FODPVOUFS 
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i1PQVMBS)PNFMFTT.BO,JMMFEJO)JUBOE3VOw

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4BO+PTF $BMJGPSOJB
i4+1PMJDF4FFLJOH"OTXFSTJO3BTIPG)PNFMFTT4MBZJOHTw
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BGSFFXBZDPOOFDUPSSBNQ5IJTGPMMPXTUIFLJMMJOHPGUISFFPUIFSIPNFMFTTQFPQMFJO4BO+PTF/PBSSFTUT
IBWFCFFONBEF

4BO+PTF $BMJGPSOJB
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XBTQSPOPVODFEEFBEBUUIFTDFOF5IJTGPMMPXTUIFLJMMJOHPGGPVSPUIFSIPNFMFTTQFPQMFJO4BO+PTF/P
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SFTQPOEFEUPBEJTUVSCBODFDBMM.JDIFMXBTEFDMBSFEEFBEBUUIFTDFOF5IJTGPMMPXTUIFLJMMJOHPGGJWFPUIFS
IPNFMFTTQFPQMFJO4BO+PTF/PTVTQFDUTIBWFCFFOJEFOUJGJFE

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i)PNFMFTT.BO4IPU,JMMFE"GUFS$POGSPOUBUJPOXJUI
)VOUJOHUPO1BSL1PMJDF-"4%w
4FQUFNCFS TU   "O VOJEFOUJGJFE   ZFBSPME
NBO FYQFSJFODJOH IPNFMFTTOFTT XBT TIPU BOE LJMMFE
BGUFS B DPOGSPOUBUJPO XJUI )VOUJOHUPO 1BSL 1PMJDF
1PMJDF SFTQPOEFE UP B DBMM BCPVU B IPNFMFTT NBO
SFGVTJOH UP MFBWF UIF BSFB XIJMF B XPSL DSFX XBT
BUUFNQUJOHUPDMFBSSBJMSPBEUSBDLT5IFPGGJDFSTJOJUJBMMZ
USJFE UP VTF B TUVO HVO UP TVCEVF UIF NBO  CVU IF
QJDLFE VQ B GJWFGPPU MFBE QJQF XIJMF BO PGGJDFS
BUUFNQUFEUPIBOEDVGGIJN5IFTFDPOEPGGJDFSGJSFEIJT
XFBQPO BOE TIPU UIF NBO  TVQQPTFEMZ GFBSJOH GPS IJT
QBSUOFSTMJGF5IFSFXJMMCFBSPVUJOFJOWFTUJHBUJPO
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i#PEZ'PVOEPO%SJWFXBZ/FBS4BO+PTF(PMG$PVSTFBT)PNJDJEF3BUF4VSHFE1%w

4FQUFNCFS UI   #SBOEJO (BWJPMB   BOE IPNFMFTT  XBT GPVOE CZ QPMJDF JO B ESJWFXBZ OFBS B MBSHF
IPNFMFTTFODBNQNFOU EFBEPGBUMFBTUPOFHVOTIPUXPVOE5IJTGPMMPXTUIFLJMMJOHPGTJYPUIFSIPNFMFTT
QFPQMFJO4BO+PTF5IF1PMJDFIBWFOPTVTQFDUT

$PSPOB $BMJGPSOJB
i$PSPOB)PNFMFTT8PNBO,JMMFEJO#SVUBM"UUBDLXJUI,OJGF #BUw

4FQUFNCFSOE "IPNFMFTTXPNBOXBTCSVUBMMZBUUBDLFEJOCSPBEEBZMJHIUJOBTUPSFQBSLJOHMPU
5IFWJDUJNXBTGJSTUTUBCCFEBOEUIFOCFBUFOUPEFBUIXJUIBCBU4UFWFO-PJB  IBTCFFOBSSFTUFEBOE
DIBSHFEXJUIIPNJDJEF8JUOFTTFTTBZUIBUUIFWJDUJNEJEOPUIJOHUPQSPWPLF-PJB BTTIFXBTKVTUTUBOEJOH
JOGSPOUPGUIFTUPSFXIFO-PJBCFHBOTUBCCJOHIFS-PJBUIFOSBOBXBZ SFUVSOFEXJUIBCBU BOECFBUIFS
PWFSUIFIFBESFQFBUFEMZ

4BO+PTF $BMJGPSOJB
i4UBCCJOH7JDUJNJTUI)PNFMFTT.BO4MBJO5IJT:FBSJO4BO+PTFw

4FQUFNCFS UI   7BMFOUJOF $PSUFTPTHVFSB    XBT GPVOE TUBCCFE UP EFBUI JO B GJFME CZ QPMJDF 5IJT
GPMMPXTUIFLJMMJOHTPGTFWFOPUIFSIPNFMFTTQFPQMFJO4BO+PTF CVUUIFQPMJDFEPOPUTVTQFDUUIFJODJEFOUT
BSFSFMBUFE5IFSFIBWFCFFOOPBSSFTUTNBEFJOBOZPGUIFTFDBTFT

.JMQJUBT $BMJGPSOJB
i)PNFMFTT.BO4IPUUP%FBUIJO.JMQJUBTw

4FQUFNCFSUI 1PMJDFEJTDPWFSFEBIPNFMFTTNBO  TVGGFSJOHGSPNBHVOTIPUXPVOEPOUIFTUSFFU
BGUFSSFTQPOEJOHUPSFQPSUTPGTIPUTGJSFE)FXBTUBLFOUPUIFIPTQJUBMXIFSFIFMBUFSEJFEGSPNIJTXPVOET
"VUIPSJUJFTIBWFOPUJEFOUJGJFEBOZTVTQFDUT

4BO+PTF $BMJGPSOJB
iUI)PNJDJEF3FQPSUFEJO4BO+PTF/FBS)PNFMFTT&ODBNQNFOUw

0DUPCFSUI "IPNFMFTTNBOXBTGPVOEEFBEJOUIFQBSLJOHMPUPGB-PXFTTUPSFBCPVUZBSET
GSPN B MBSHF IPNFMFTT FODBNQNFOU 1PMJDF TFBSDIFE GPS UIF BTTBJMBOU CVU OP TVTQFDUT XFSF GPVOE 5IF
NVSEFS XBT QBSU PG B TFSJFT PG BUUBDLT PO UIF IPNFMFTT QPQVMBUJPO JO 4BO +PTF  EVSJOH XIJDI FJHIU PUIFS
QFPQMFMPTUUIFJSMJWFTJO

"OBIFJN $BMJGPSOJB
i)PNFMFTT.BO'PVOE4UBCCFEUP%FBUIJO"OBIFJNw

0DUPCFSUI "IPNFMFTTNBOXBTGPVOEGBUBMMZTUBCCFECFIJOEBSFTUBVSBOUJO"OBIFJNEVSJOHUIF
FBSMZNPSOJOHIPVST8IFOPGGJDFSTBSSJWFEUPUIFTDFOF UIFZQFSGPSNFE$13CVUUIFNBOXBTQSPOPVODFE
EFBEBUUIFTDFOF"OJOWFTUJHBUJPOJTVOEFSXBZ

'SFTOP $BMJGPSOJB
i,OPXOIPNFMFTTNBOGPVOEEFBEJOEVNQTUFSSFNFNCFSFEw

+BOVBSZUI "IPNFMFTTNBOXIPXBTXFMMLOPXOJOUIFDPNNVOJUZ CVUOPPOFLOFXIJTOBNF 
XBTGPVOEEFBEOFBSB'SFTOPEVNQTUFS5IFNBOXBTGPVOEXJUIUSBVNBUPIJTVQQFSCPEZCZBTFDVSJUZ
HVBSE

"OBIFJN $BMJGPSOJB
i)PNFMFTTNBOGPVOETUBCCFEUPEFBUIOFBS"OBIFJNCVTTUPQw

+BOVBSZUI "OBIFJNQPMJDFBSFJOWFTUJHBUJOHUIFTUBCCJOHEFBUIPGBNBOXIPTFCPEZXBTGPVOE
OFBS B CVT TUPQ BU B CVTZ JOUFSTFDUJPO  5IF NBO XBT TUBCCFE BU MFBTU PODF 0GGJDFST BOE QBSBNFEJDT
QFSGPSNFE $13 CVU UIF NBO XBT QSPOPVODFE EFBE BU UIF TDFOF  5IF WJDUJN IBT CFFO JEFOUJGJFE BT B 
ZFBSPMEIPNFMFTTNBOXIPGSFRVFOUFEUIFBSFB
                                                                                                   AR004351
                                                                                                     iÙ®µÊu®ĝÕ¼ĝ&uÕĝĝöö
                                                                                          >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
3JWFSTJEF $BMJGPSOJB
i)PNFMFTTNBOIJUCZDBSUPSFDFJWFNJMJUBSZGVOFSBMw

'FCSVBSZ SE   " IPNFMFTT NBO XIPN QPMJDF TBZ XBT JOUFOUJPOBMMZ IJU CZ B DBS XJMM CF CVSJFE XJUI
NJMJUBSZIPOPST3BZNPOE+PIO$PPM BZFBSPME/BWZWFUFSBO MJWFEJOBDPSOFSPGBQBSLJOHMPUXIFSFIF
XBTTUSVDLBOELJMMFEPO'FCSE 5IFESJWFS  -BXSFODF"BTFOHIBTQMFBEOPUHVJMUZUPNVSEFSBOE
BTTBVMUXJUIBEFBEMZXFBQPO"VUIPSJUJFTTBZ"BTFOHJOUFOUJPOBMMZIJU$PPM XIPXBTTUBOEJOHOFBSBUSFF 
UIFOCBDLFEVQBOEJOUFOUJPOBMMZIJUBOPUIFSDBSBTIFUSJFEUPGMFF

'SFTOP $BMJGPSOJB
i'SFTOP 1PMJDF #FMJFWF 5IF %FBUI 0G " )PNFMFTT 8PNBO "OE ,OJGF "UUBDL 0O " )PNFMFTT .BO .BZ #F
3FMBUFEw

'FCSVBSZUI "NJEEMFBHFEIPNFMFTTXPNBOXBTGPVOEJOUIFEPPSXBZPGUIF.JTTJPO-JGF$IVSDI 
CMFFEJOHGSPNIFBEXPVOETTIFEJFECFGPSFQBSBNFEJDTBSSJWFE

'SFTOP $BMJGPSOJB
i%PXOUPXO'SFTOP)PNJDJEF)JHIMJHIUT%JTUVSCJOH5SFOEPG7JPMFODF"HBJOTU)PNFMFTTw

'FCSVBSZUI 5IFEFBUIPGBIPNFMFTTNBOXIPXBTBUUBDLFEJOEPXOUPXO'SFTOPBQQFBSTUPCF
NJEEMFBHFEBOEUPIBWFCFFOCFBUFOUPEFBUI1PMJDFTBZUIFNBOBQQFBSTUPCF)JTQBOJDBOEJOIJTNJE
T BOEIBTEJFEGSPNUSBVNBUPIJTVQQFSCPEZ

1PMJDF#SVUBMJUZ

4BOUB"OB $BMJGPSOJB
i1PMJDF4IPPUBOE8PVOE)PNFMFTT.BO%VSJOH4USVHHMF0VUTJEF4BOUB"OB$JWJD$FOUFSw

"VHVTUTU 1PMJDFDPOGSPOUFE3JDIBSE(FOF4XJIBSU BOEIPNFMFTT PVUTJEFPGUIF4BOUB"OB$JWJD
$FOUFSOFBSBIPNFMFTTFODBNQNFOU5IFFODPVOUFSFTDBMBUFEJOUPBQIZTJDBMGJHIU BOEUIFPGGJDFSTGJSFEBU
MFBTUUXPCVMMFUTXIFO4XJIBSUNBEFUPHSBCPOFPGUIFPGGJDFSTHVOT4XJIBSUXBTTUSVDLJOUIFVQQFSUPSTP
BOESFNBJOTJODSJUJDBMDPOEJUJPOGPMMPXJOHTVSHFSZ5IFPGGJDFSTXFSFOPUJOKVSFE5IFJODJEFOUGPMMPXTNBOZ
DPNQMBJOUTCZDJUZPGGJDJBMTBCPVUIPNFMFTTJOEJWJEVBMTBOEFODBNQNFOUTOFBSUIFDPVSUIPVTF
"TTBVMUXJUIB%FBEMZ8FBQPO

4BO'SBODJTDP $BMJGPSOJB
i#"35'JHIUJOHUP'JSF4UBUJPO"HFOU"DDVTFEPG#FBUJOH)PNFMFTT.BOXJUI4UJDLw
.BSDI OE   4VSWFJMMBODF WJEFP IBT SFWFBMFE #"35 TUBUJPO BUUFOEBOU  1BVM #BJMFZ  TUFQQJOH PVU PG IJT
CPPUIBTBIPNFMFTTNBOBQQSPBDIFEEVSJOHUIFFBSMZNPSOJOHIPVST"TUIFIPNFMFTTNBOCMPDLFEUIF
FNFSHFODZ FYJU  #BJMFZ UPPL B GPPU SPE GSPN UIF BHFOU CPPUI BOE CFBU UIF IPNFMFTT NBO SFQFBUFEMZ
#BJMFZUIFODBMMFEPGGJDFSTBOESFQPSUFEUPUIFNUIBUIFIBEGJSTUCFFOIJUXJUIBTUJDLCZUIFIPNFMFTTNBO
#BJMFZIBTTJODFCFFODIBSHFEXJUINJTEFNFBOPSCSBOEJTIJOHBOECBUUFSZ

4BO%JFHP $BMJGPSOJB
i.BO4FWFSFMZ8PVOEFEJO$SJNF"HBJOTU)PNFMFTTw

+VMZUI .BOVFM.BTPO BOEIPNFMFTT XBTTFWFSFMZXPVOEFEEVSJOHUIFFBSMZNPSOJOHIPVSTCZB
TVTQFDUUIPVHIUPIBWFNVSEFSFEUISFFPUIFSMPDBMIPNFMFTTNFO5IJTTUSJOHPGBUUBDLTXBTJOJUJBMMZQJOOFE
PO"OUIPOZ1BEHFUU  CVUXBTMBUFSBUUSJCVUFEUP+PIO%(VFSSFSP

4BO%JFHP $BMJGPSOJB
i.BO"UUBDLFE8JUI)BNNFS*O-BUFTU$SJNF"HBJOTU)PNFMFTTw

+VMZUI "IPNFMFTTNBOXBTBUUBDLFEXIJMFIFXBMLFEEPXOUIFTJEFXBMLCZBOVOJEFOUJGJFENBMF
XJUIBIBNNFS)FXBTTUSVDLJOUIFIFBE CVUIJTJOKVSJFTXFSFOPOMJGFUISFBUFOJOH5IFBUUBDLDBNFEVSJOH
BTQSFFPGWJPMFODFUPXBSETUIF4BO%JFHPIPNFMFTTQPQVMBUJPOEVSJOHFBSMZ+VMZ IPXFWFS UIF4BO%JFHP
QPMJDFUXFFUFEUIBUUIFBUUBDLEJEOPUTFFNUPCFDPOOFDUFEUPUIFPUIFSBUUBDLT
                                                                                                  AR004352
                                                                                                    iÙ®µÊu®ĝÕ¼ĝ&uÕĝ ö÷
                                                                                         >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
#FBUJOHT

#FSLFMFZ $BMJGPSOJB
i7JEFP4IPXT#FSLMFZ)PNFMFTT.BO"UUBDLFECZA)PTQJUBMJUZ"NCBTTBEPSw

.BSDIUI 5XPIPNFMFTTNFOXFSFIBSBTTFEBOECFBUFOJOBOBMMFZCZUXPIPTQJUBMJUZBNCBTTBEPST
GPS B EPXOUPXO CVTJOFTT BTTPDJBUJPO 5IF UXP IPNFMFTT NFO XFSF DIBSHFE XJUI NJTEFNFBOPS CBUUFSZ
DIBSHFT7JEFPGPPUBHFPGUIFJODJEFOUFNFSHFEEBZTMBUFS IPXFWFS SFWFBMJOHUIBUUIFBNCBTTBEPSXBTUIF
USVFBHHSFTTPS SFQFBUFEMZQVODIJOHPOFPGUIFIPNFMFTTNFOXIJMFUIFPUIFSBNCBTTBEPSSFTUSBJOFEUIF
WJDUJNTGSJFOE5IFBNCBTTBEPSIBTTJODFCFFOGJSFEBOEUIFTFDPOEBNCBTTBEPSIBTCFFOTVTQFOEFE

4BO%JFHP $BMJGPSOJB
i5SBOTJFOU#FMJFWFT.VSEFS4QSFF4VTQFDU"UUBDLFE)JNJO)JMMDSFTU$BOZPOw

+VMZUI "IPNFMFTTNBO 1IJMMJQ1FUSJOB DMBJNTIFBXPLFUPBNBOTNBTIJOHIJTIBOEXJUIBSPDL
5IFZ IBE BO BMUFSDBUJPO BOE FYDIBOHFE CMPXT CFGPSF UIF BUUBDLFS UPPL PGG PO B CJLF 1FUSJOB TVGGFSFE B
DSVTIFEFZFTPDLFU GSBDUVSFEIBOE BOECSPLFOKBX)FCFMJFWFTUIJTNBZIBWFCFFOBOBUUBDLCZTFSJBMLJMMFS
+PIO%(VFSSFSP"MUIPVHI1FUSJOBJTDPOWJODFEIJTBUUBDLFSXBT(VFSSFSP PUIFSTCFMJFWFJUNBZIBWFCFFO
1FUSJOBTESVHEFBMFS

+VMZUI "OVOJEFOUJGJFEIPNFMFTTNBO  XBTGPVOECBEMZCFBUFOPO+VMZ UIFMBTUJOBTUSJOHPG
WJPMFODFBHBJOTUUIFIPNFMFTTJO4BO%JFHP+PIO%(VFSSFSP UIFTVTQFDUFEQFSQFUSBUPSPGNPTUJGOPUBMMPG
UIFDPODFOUSBUFEBUUBDLTPOUIFIPNFMFTTJO4BO%JFHP XBTBSSFTUFEMBUFSUIBUNPSOJOH

)BSBTTNFOU

#VFOB1BSL $BMJGPSOJB
i)PNFMFTT1FPQMF)VSUJO##(VO%SJWF#Z4IPPUJOHw

+VMZUI 5XPIPNFMFTTNFOXFSFTIPUXJUI##HVOTEVSJOHUXPTFQBSBUFESJWFCZTIPPUJOHT0OF
NBOXBTTIPUJOUIFGBDFUXJDFBOEUBLFOUPUIFIPTQJUBMXJUIOPOMJGFUISFBUFOJOHJOKVSJFT XIJMFUIFPUIFS
NBOXBTTIPUJOUIFGBDFXIJMFTJUUJOHBUBCVTTUPQ"VUIPSJUJFTCFMJFWFUIFJODJEFOUTUPCFDPOOFDUFE

4BO+PTF $BMJGPSOJB
i4BO+PTF)PNFMFTT4BZA.BDIFUF+BDL4MBTIJOH5IFJS5FOUTw

"VHVTU UI   " TNBMM IPNFMFTT QPQVMBUJPO MPDBUFE VOEFS BO PWFSQBTT JO 4BO +PTF IBWF CFFO
FYQFSJFODJOHWBOEBMJTNPGUIFJSQFSTPOBMCFMPOHJOHT5IFZTBZUIBUUIFZXPVMEMFBWFGPSBTNBMMBNPVOUPG
UJNFBOEDPNFCBDLUPUIFJSUFOUTTMBTIFE CFMPOHJOHTTQSBXMFEBSPVOE BOEFWFOUIFJSCJLFUJSFTTMBTIFE
5IFBUUBDLTIBWFIBQQFOFEJOBUMFBTUUISFFMPDBUJPOTJOSFDFOUXFFLT5IFWJDUJNTBSFDBMMJOHUIFTVTQFDU
i.BDIFUF+BDLwCVUIBWFOPUSFQPSUFEUIFJODJEFOUTUPUIFQPMJDFEVFUPBMBDLPGUSVTUJOBVUIPSJUZ

-PT"OHFMFT $BMJGPSOJB
i-")PNFMFTT8PNBO1PTUT7JEFP1SPUFDUJOH5SVNQ8BMLPG'BNF4UBSw

0DUPCFS UI   " WJEFP QPTUFE UP :PV5VCF TIPXT BO VOJEFOUJGJFE IPNFMFTT XPNBO CFJOH IBSBTTFE
BOE GBMMJOH UP UIF HSPVOE BT TIF QSPUFDUFE %POBME 5SVNQT TUBS PO UIF )PMMZXPPE 8BML PG 'BNF "GUFS
TFFJOHUIFWJEFP NBOZQFPQMFDPNQMBJOFEUIBUUIFQPMJDFEJEOUJOUFSWFOF-"1%0GGJDFS5POZ*NTBJEUIF
XPNBOJODJUFEUIFDSPXEXJUISBDJBMTMVST-"1%IBEGJMFEBCBUUFSZSFQPSUCVUIBTCFFOVOBCMFUPGJOEUIF
XPNBO

-PT"OHFMFT $BMJGPSOJB
i7JEFP)PNFMFTT.BO4VDLFS1VODIFEBU)PMMZXPPE.FUSP4UBUJPOw

%FDFNCFS UI   " NBO SFDPSEJOH MJWF WJEFP DBQUVSFE B IPNFMFTT NBO  QPUFOUJBMMZ EFBMJOH XJUI
NFOUBMJMMOFTT CFJOHTVEEFOMZQVODIFEGSPNCFIJOECZBOVOLOPXOTVTQFDUBUB.FUSPTUBUJPO5IFNBO
DBMMFEUIFQPMJDF CVUCPUIUIFTVTQFDUBOEUIFWJDUJNIBEGMFEUIFTDFOF              AR004353
                                                                                                     iÙ®µÊu®ĝÕ¼ĝ&uÕĝ öø
                                                                                           >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
1MFBTBOUPO $BMJGPSOJB
i4MFFQJOHIPNFMFTTNBOBUUBDLFEVOEFS1MFBTBOUPOPWFSQBTTw

"VHVTUUI "NBOTMFFQJOHVOEFSBOPWFSQBTTXBTJOKVSFEBGUFSCFJOHTIPUNPSFUIBOPODFXJUIB
##HVO5IFZFBSPMEJOKVSFENBOJTFYQFDUFEUPTVSWJWFCVUTVGGFSFETFWFSBMJOKVSJFTBGUFSCFJOHTIPUJO
UIFCBDLBOEBSNNPSFUIBOPOF5IFBTTBJMBOUTBMTPIJUIJNXJUIBIPDLFZTUJDL5IFQPMJDFTFBSDIFEUIF
BSFBCVUXFSFVOBCMFUPGJOEBOZTVTQFDUT5IFZTBZUISFFQFPQMFXFSFJOWPMWFEJOUIFBUUBDL

$PMPSBEPMFUIBM OPOMFUIBM

-FUIBM

%FOWFS $PMPSBEP
i%FOWFS1SPTFDVUPST$IBSHF4VTQFDUXJUI.VSEFSJO)PNFMFTT.BOT4MBZJOHw

/PWFNCFSUI .JLIBJM"OUIPOZ1VSQVSB  TIPUBOELJMMFE8BZMBOE#VTCZ BOEIPNFMFTT EVSJOH
BO BUUFNQUFE UIFGU #VTCZ IBE CFFO MJWJOH JO B UFOU BOE XBT EJTDPWFSFE UIFSF CZ B QBSL SBOHFS EVSJOH B
SPVUJOFDIFDLPGUIFBSFB1VSQVSBIBTCFFODIBSHFEXJUIGJSTUEFHSFFNVSEFSBOEBHHSBWBUFESPCCFSZ
1PMJDF#SVUBMJUZ

%FOWFS $PMPSBEP
i"DUJWJTUTBZWJEFPTIPXT%1%VTJOHFYDFTTJWFGPSDFPOBOVOBSNFEIPNFMFTTNBOw

+BOVBSZ UI   "DUJWJTUT BSF PVUSBHFE PWFS B %FOWFS 1PMJDF CPEZ DBNFSB WJEFP UIBU TIPXT BO PGGJDFS
VTJOHB5BTFSPOBOVOBSNFEIPNFMFTTNBO*OUIFWJEFP UIFPGGJDFSGJSFTIJT5BTFSMFTTUIBOUFOTFDPOET
BGUFSIJTGJSTUDPNNBOE
#FBUJOHT

$PMPSBEP4QSJOHT $PMPSBEP
i5XPZPVUITTFWFSFMZCFBUIPNFMFTTNBOJOSBOEPN$PMPSBEP4QSJOHTBUUBDLw

'FCSVBSZUI $PMPSBEP4QSJOHTQPMJDFIBWFBSSFTUFEBOZFBSPMENBOBOEBKVWFOJMFCPZBGUFSUIFZ
BMMFHFEMZSBOEPNMZBUUBDLFEBIPNFMFTTNBOGPVOETMFFQJOHOFYUUPBXPNBOPVUTJEFBCVTJOFTT3BQIBFM
8PPESJEHF   XBT BSSFTUFE GPS JOWFTUJHBUJPO PG TFDPOEEFHSFF BTTBVMU BOE BUUFNQU UP JOGMVFODF B QVCMJD
TFSWBOU5IFIPNFMFTTNBOXBTUBLFOUPBIPTQJUBMXJUITFSJPVT CVUOPUMJGFUISFBUFOJOHJOKVSJFT
%JTUSJDUPG$PMVNCJBMFUIBM

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8BTIJOHUPO %$
i.PVSOJOHB#SPUIFS 'BNJMZ"TLTGPS)FMQ4PMWJOH%$T'JSTU)PNJDJEFPGUIF:FBSw

0DUPCFS OE   3JDIBSE -FXJT    XBT BUUBDLFE FBSMZ JO UIF NPSOJOH XIJMF TMFFQJOH PVUTJEF PG 6OJPO
4UBUJPO 5IF TVTQFDU LJDLFE IJN SFQFBUFEMZ JO UIF IFBE VOUJM IF QBTTFE PVU  BOE -FXJT OFWFS SFHBJOFE
DPOTDJPVTOFTT  EZJOH PO +BOVBSZ UI   5IF QPMJDF SFMFBTFE B WJEFP PG UIF QFSTPO PG JOUFSFTU  CVU UIF
TVTQFDUXBTOFWFSGPVOE




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i%FQVUZ'JSFE"GUFS%BTI$BN3FDPSET"CVTFPG)PNFMFTT.BOw

4FQUFNCFS UI   'SBODJT %SFFTTFO   BOE IPNFMFTT  XBT QFUUJOH IJT EPH BMPOH B IJHIXBZ XIFO B
SFTJEFOUDBMMFEJOUPSFQPSUBiTVTQJDJPVTwNBOPOUIFSPBE"QPMJDFPGGJDFS %PNJOJD#FWJMBDRVB BSSJWFEPO
UIFTDFOF"T%SFFTTFOBUUFNQUFEUPQSPDVSFIJT*%GPSUIFPGGJDFS UIFPGGJDFSTMBNNFEIJTIFBEPOUIFIPPE
PG UIF QPMJDF DBS BOE TIPWFE IJN UP UIF HSPVOE /POF PG IJT JOGPSNBUJPO XBT LOPXO VOUJM BVUIPSJUJFT
SFWJFXFEEBTIDBNGPPUBHF XIJDISFDPSEFEUIFCSVUBMBCVTF5IFPGGJDFSXBTMBUFSGJSFE

"TTBVMUTXJUI%FBEMZ8FBQPOT

'PSU-BVEFSEBMF 'MPSJEB
i8PNBO4UBCT)PNFMFTT8PNBO8JUI#PY$VUUFS"GUFS4NPLJOH'MBLLB #404BZTw

4FQUFNCFSUI .BSTIB-FF#PPUIF  XBTBSSFTUFEBGUFSTIFTNPLFEGMBLLBPOBCVTCFODIBOEUIFO
TUBCCFEBIPNFMFTTXPNBOXJUIBCPYDVUUFS4IFIBTCFFODIBSHFEXJUIBHHSBWBUFECBUUFSZXJUIBEFBEMZ
XFBQPO 4POKB ,JOH XBT TJUUJOH PO B CVT CFODI XIFO #PPUIF TBU EPXO BOE TUBSUFE TNPLJOH GMBLLB  B
TZOUIFUJDESVH8IFO,JOHHPUVQBOEMFGU #PPUIFGPMMPXFEIFS,JOHBTLFE#PPUIFXIZTIFXBTGPMMPXJOH
IFS CVU#PPUIFEJEOPUSFTQPOEBOEJOTUFBECFHBODVUUJOH,JOHXJUIBCPYDVUUFS4IFMFGUHBTIFTPO,JOHT
BSNT DIFTU BOECSFBTUCFGPSFGMFFJOHUIFTDFOF,JOHTQFOUUISFFEBZTJOUIFIPTQJUBMXIFSFTIFVOEFSXFOU
TVSHFSZGPSBXPVOEPOIFSSJHIUBSNUIBUIBECFFODVUUPUIFCPOFBOESFDFJWFEUXPTUJUDIFTBDSPTTIFS
DIFTU,JOHMBUFSTQPUUFE#PPUIFJOQVCJDBOESFQPSUFEIFSUPBEFQVUZXIPBSSFTUFEIFS
)BSBTTNFOU

%FMBOE 'MPSJEB
i8PNBO"DDVTFEPG"MMPXJOH4POTUP4IPPU##TBU)PNFMFTT.BOw

"VHVTUUI "NJOB&M;BZBU  JTGBDJOHDIBSHFTGPSBMMPXJOHIFSTPOTUPTIPPU##TBUBIPNFMFTTNBO
5IFWJDUJNDMBJNTUIFUXPCPZTDVSTFEIJNCFGPSFTIPPUJOHBUIJNBTIFQJDLFEUISPVHIBHBSCBHFDBOBUB
HBTTUBUJPO5IFCPZTUIFOSFUVSOFEMBUFSBOETIPUBUIJNBHBJO1PMJDFGPVOEUIFBJSTPGUSJGMFTJO&M;BZBUT
WFIJDMF4IFUPMEQPMJDFUIBUTIFXBTIBWJOHUSPVCMFXJUIIPNFMFTTQFPQMFSVNNBHJOHUIPVHIIFSUSBTIBU
UIFDBSXBTIIFSGBNJMZPXOT&M;BZBUXBTBSSFTUFEGPSBHHSBWBUFECBUUFSZ DPOUSJCVUJOHUPEFMJORVFODZPG
NJOPST BOEDIJMEOFHMFDUDIBSHFT
#FBUJOHT

.FMCPVSOF 'MPSJEB
i.FMCPVSOFQPMJDFJOWFTUJHBUFIPNFMFTTTUSFFUCFBUJOHw

.BSDIUI BDPVOUZXJEFBMFSUXBTJTTVFEGPSUXPNFOXIP.FMCPVSOFQPMJDFSFQPSUTUSVDLBIPNFMFTT
NBO XJUI UIFJS USVDL CFGPSF CFBUJOH IJN JO CSPBE EBZMJHIU 8JUOFTTFT UPME QPMJDF UIBU BU MFBTU UXP QFPQMF
XFSFJOWPMWFEJOUIFCFBUJOH XIJDIMFGUUIFNBO XIPTVGGFSFEIFBEBOEMFHJOKVSJFT CBEMZCMFFEJOHJOUIF
TUSFFU

(FPSHJBOPOMFUIBM

3BQF4FYVBM"TTBVMU

"MCBOZ (FPSHJB
i1PMJDF*OWFTUJHBUF3BQFPG)PNFMFTT8PNBOw

"VHVTUUI "OVOOBNFEIPNFMFTTXPNBOTMFFQJOHPVUTJEFPGBNPUFMBXPLFUPBOVOLOPXONBO
SBQJOHIFSEVSJOHUIFFBSMZNPSOJOHIPVST8IFOTIFBUUFNQUFEUPSFTJTUIJN IFCFBUIFSXJUIBCBTFCBMM
CBU6OGPSUVOBUFMZ XIJMFUIJTXPNBOSFQPSUFEIFSSBQFUPUIFQPMJDF BOPUIFSXPNBOUSFBUFEBUUIFIPTQJUBM
GPSBTJNJMBSJODJEFOUXPVMEOPUSFQPSUUIFBUUBDL1PMJDFBSFJOWFTUJHBUJOH          AR004355
                                                                                                        iÙ®µÊu®ĝÕ¼ĝ&uÕĝ öú
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4NZSOB    (FPSHJB
i(FPSHJB1BTUPS$IBSHFE8JUI"MMFHFE4FYVBM"CVTFPG:FBS0ME(JSM4UBZJOHBU)PNFMFTT4IFMUFSw

4FQUFNCFSUI 1BTUPS%BOOZ8FMMTXBTBSSFTUFEBOEDIBSHFEGPSSBQFBOEBHHSBWBUFEDIJME
NPMFTUBUJPO"OVOOBNFEIPNFMFTTHJSM  UPMEQPMJDFTIFIBECFFOBCVTFEJOIFSCFEBU5IF(BSEFO B
SFDPWFSZDFOUFSGPSUIFIPNFMFTTJO4NZSOB (FPSHJB8FMMTXBTIFMEJOQSJTPOXJUIPVUCPOE
"TTBVMUXJUIB%FBEMZ8FBQPO

$PCC$PVOUZ (FPSHJB
i5FFOTBDDVTFEPGTIPPUJOH$PCCIPNFMFTTNBOw
+BOVBSZTU 5XPZFBSPMET #MBLF4FSHFMBOE$PEZ(BJOFT XFSFBSSFTUFEGPSUIFBMMFHFESPCCFSZPG
3PCFSU3PESJHVF[BIPNFMFTTNBO5IFUXPZFBSPMETBMMFHFEMZSPCCFE3PCFSUP3PESJHVF[GPSDJHBSFUUFT
XIJMFIFXBTTMFFQJOHVOEFSBCSJEHF4FSHFMBMMFHFEMZVTFEBNBHOVNUPEFNBOEDBTI3PESJHVF[XBT
MFGUQBSBMZ[FEGSPNUIFXBJTUEPXOBGUFSBCVMMFUIJUIJTTQJOF
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1BIPB )BXBJJ
i"MMFHFE"TTBJMBOU1MFBET/PU(VJMUZJO)PNFMFTT"UUBDLw
+VOFUI $ISJTUPQIFS.PISMBOH  BUUBDLFE+PIO)BSUMFZ BOEIPNFMFTT XIJMFIFTBUJOIJT
XIFFMDIBJS.PISMBOHQPVSFEJDFXBUFSPOBTMFFQJOH)BSUMFZ TQSBZFEIJNXJUINBDF BOEQVODIFEIJNJO
UIFGBDFTFWFSBMUJNFT5IFBUUBDLXBTDBVHIUPOWJEFP BOEGPMMPXJOHQVCMJDVQSPBS .PISMBOHUVSOFE
IJNTFMGJO)BSUMFZQMBOTUPQVSTVFMJUJHBUJPOBHBJOTUIJTBUUBDLFS XIPJTBMTPGBDJOHDIBSHFTGPSBUUBDLJOH
,FWJO+FOLJOT BOEIPNFMFTT PO4FQUFNCFSSE 

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i)PNFMFTT.BO'PVOE#FBUFO %FBEJO3PDLGPSEA5FOU$JUZw

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CFBUFO5XPQFPQMFMJWJOHBUUIFDBNQDBMMFEQPMJDFBOEEJSFDUFEUIFNUPUIFUFOUPGNBOJOIJTMBUFTXIP
BQQFBSFEVOSFTQPOTJWFBOEXBTTVCTFRVFOUMZQSPOPVODFEEFBEBUUIFTDFOF"EFBUIJOWFTUJHBUJPOXBT
MBVODIFE

"TTBVMUTXJUI%FBEMZ8FBQPOT

/BQFSWJMMF *MMJOPJT
i'JSFBU/BQFSWJMMF)PNFMFTT.BOT$BNQ.JHIU#F"STPOw

+VMZUI 4DPUU)VCFS BOEIPNFMFTT MPTUCPUIPGIJTUFOUTBOEBMMPGIJTQPTTFTTJPOTJOBOBDUPG
BSTPO JODMVEJOHGPPE DMPUIFT BOEEBUBSFMBUFEUPIJTNBOZQPMJUJDBMCBUUMFTXJUIUIFDJUZ)VCFSCFMJFWFEUIF
TVTQFDUXBTBUUFNQUJOHUPJOKVSFIJN+BNFT31PWPMP BOEBSFUJSFE$IJDBHPQPMJDFTFSHFBOU XBT
BSSFTUFEUXPXFFLTMBUFSGPSMJHIUJOHUIFUFOUPOGJSFXJUIBDJHBSFUUF

$IJDBHP *MMJOPJT
i$IBSHFE8JUI4UBCCJOH)PNFMFTT.BOJO4PVUI-PPQw

/PWFNCFSSE 0GGJDFSTTBX+FSSZ5FSBO  +VMJP$IBWF[  BOE'SBODJTDP"SSPZP  CFBUJOHVQB
IPNFMFTTNBO  BOECSPLFVQUIFGJHIU5IFWJDUJNIBECFFOTUBCCFEUJNFTBOESPCCFE5IFUISFFNFO
XFSFDIBSHFEXJUISPCCFSZBOECBUUFSZ BOEPOFXJUISFTJTUBODFUPQPMJDF5IFWJDUJNXBTUBLFOUPUIF
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DPVOTFMPSTBUUIF+PIO#POFS/FJHICPSIPPEDFOUFSJO*OEJBOBQPMJTXIFOTIFXBTGPVOEEFBE CMPPEZBOE
XSBQQFEJOBCMBOLFUBUIFSVTVBMDBNQTJUF.FBOTIBETVGGFSFEGSPNNVMUJQMFTUBCXPVOET$BSPMZO:PVOH 
 XBTBSSFTUFEJODPOOFDUJPOXJUIUIFEFBUI
"TTBVMUTXJUI%FBEMZ8FBQPOT

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i)PNFMFTT.BO5FMMT1PMJDF)F8BT4IPU*O-FH*O)BNNPOEw

+VMZUI "OVOJEFOUJGJFEIPNFMFTTNBO  UIPVHIUIFIFBSEGJSFDSBDLFST CVUSFBMJ[FEIFIBECFFO
TIPUJOUIFMFH"XPNBOQJDLFEIJNVQJOIFSWFIJDMFBOEESPQQFEIJNPGGBUBIPTQJUBMBSPVOEBN)JT
JOKVSJFTXFSFOPOMJGFUISFBUFOJOH1PMJDFIBWFOPTVTQFDUT

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"TTBVMUXJUIB%FBEMZ8FBQPO

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i)PNFMFTTNBOTBZTIFXBTTIPUCZPDDVQBOUTPGBHSBZDBSw

"VHVTUUI "IPNFMFTTNBOTUBOEJOHBUBOFJHICPSIPPECVTTUPQTBJEIFXBTTIPU8FEOFTEBZ
OJHIU5IFWJDUJNBOEXJUOFTTFTTBJEBHSBZDBSXJUIUXPPSUISFFQFPQMFJOTJEFQVMMFEVQBOEPQFOFEGJSFBUF
UIFNBO TUSJLJOHIJNJOUIFTIPVMEFS BOEESPWFBXBZ5IFWJDUJNSFGVTFENFEJDBMUSFBUNFOU

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#SJEHFXBUFS .BTTBDIVTFUUT
i)PNFMFTT.BO4UBCCFEBU#SJEHFXBUFS"QBSUNFOU$PNQMFYw

+VMZUI $ISJTUPQIFS)BZT BOEIPNFMFTT XBTTUBCCFECZUISFFVOJEFOUJGJFEXIJUFNBMFTJOUIFJS
MBUFUFFOTPSFBSMZUXFOUJFTPOBCBTLFUCBMMDPVSUBUQN)BZTXBTTUBCCFEOFBSIJTDIFTUBOEBSNQJU)JT
HJSMGSJFOEDBMMFEUIFQPMJDFBOEIFXBTUSBOTQPSUFEUPUIFIPTQJUBM)BZTTVSWJWFEUIFJODJEFOU5IFQPMJDF
JOWFTUJHBUFEUIFDSJNF CVUUIFTVTQFDUTXFSFOPUGPVOEBOEUIFNPUJWFJTVOLOPXO

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iUFFOTSPC VTFTUVOHVOPOIPNFMFTTNBO QPMJDFTBZw

'FCSVBSZTU 5ISFFUFFOBHFSTBSFGBDJOHSPCCFSZBOEBTTBVMUDIBSHFTBGUFSBUUBDLJOHBIPNFMFTTNBO
5IFUFFOTSBOHFEGSPNUP0OFPGUIFUFFOTQVUBTUVOHVOUPUIFNBOTGBDF BOETQBSLTDPVMECFTFFO
XIJMFBTFDPOEUFFOQVODIFEUIFNBO XIPGFMMJOUPBXBMM5IFUFFOTBSFDIBSHFEXJUIEFMJORVFODZCZ
BSNFESPCCFSZ MBSDFOZGSPNBQFSTPOBOEBTTBVMUBOECBUUFSZPOBQFSTPOPWFS5IFZFBSPMEJTBMTP
DIBSHFEXJUIJMMFHBMQPTTFTTJPOPGBTUVOHVO




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4BMFN .BTTBDIVTFUUT
iBSSFTUFEJODPOOFDUJPOUPCFBUJOHPGIPNFMFTTNBOw

+BOVBSZUI 5IFQPMJDFXFSFDBMMFEUPBCSJEHFOFBSCMPDLPG(MBEF4USFFUUPGJOEZFBSPME
"SUIVS#MPYIBN+S#MPYIBN+SUPMEQPMJDFUIBUIFXBTTMFFQJOHVOEFSUIFCSJEHFXIFOUISFFQFPQMFTUBSUFE
CFBUJOHIJN)FXBTUBLFOUPUIFIPTQJUBMBOEQMBDFEJOJOUFOTJWFDBSF0O+BOVBSZUI 5SFNBZOF+BRVBO
#VUMFS XBTBSSFTUFEPODPNQMBJOUPGGFMPOJPVTBTTBVMUJOJOGMJDUJOHTFSJPVTCPEJMZJOKVSZ5IFJOWFTUJHBUJPOJT
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#BMUJNPSF .BSZMBOE
i#BMUJNPSF$JUZ1PMJDFTA1VCMJD&OFNZ/0"SSFTUFE"DDVTFEPG'BUBMMZ4UBCCJOH)PNFMFTT.BOw

%FDFNCFSUI "IPNFMFTTNBO  XBTXBMLJOHBMPOHBIJHIXBZXIFOIFXBTTVEEFOMZTUBCCFE
NVMUJQMFUJNFTJOUIFBCEPNFO5IFNBOJNNFEJBUFMZEJFEGSPNIJTXPVOET$ISJTUPQIFS4USBIBN  XBT
BSSFTUFEBGUFSUIFJODJEFOUBOEGBDFTDIBSHFTGPSNVSEFS BTTBVMU SPCCFSZBOEEBOHFSPVTXFBQPOXJUIJOUFOU
UPJOKVSF5IFUXPBSFUIPVHIUUPIBWFBQSFFYJTUJOHDPOOFDUJPO

"EFMQIJ .BSZMBOE
i#PZT BOE "DDVTFEPG,JMMJOH)PNFMFTT.BOJO.BSZMBOEw

+VMZUI &MJBT1PSUJMMP  BOEBZFBSPMECPZGSPN1SJODF(FPSHFT$PVOUZIBWFCFFODIBSHFEJO
UIF+VMZUIEFBUIPG'SBODJTDP4BHBTUJ[BEP0OUIFNPSOJOHPG+VMZUI TPNFPOFGPVOE4BHBTUJ[BEP
VOSFTQPOTJWFXJUINVMUJQMFTUBCXPVOET5IFPGGJDFSTQSPOPVODFEIJNEFBE)FXBTZFBSTPME"DDPSEJOH
UPQSFMJNJOBSZJOWFTUJHBUJPO UIFCPZTTUBCCFE4BHBTUJ[[BEPXIFOIFSFGVTFEUPHJWFUIFNNPOFZ

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5SBWFSTF$JUZ .JDIJHBO
i5XP.FO*EFOUJGJFEJO)PNFMFTT"TTBVMUT$BTFw
+VMZUI .BBZJOHBO#SBVLFS BOE5JNPUIZ#PPNFS  IBECFFOBSSFTUFEBOEDIBSHFEXJUI
BHHSBWBUFEBTTBVMUBOECBUUFSZGPSUXPTFQBSBUFJODJEFOUTMFWJFEBHBJOTUBHSPVQPGIPNFMFTTQFPQMF
#SBVLFS #PPNFS BOEUXPUPUISFFPUIFSZPVOHNFOUISFXGJSFXPSLTBOEHSBWFMBUTJYTMFFQJOHIPNFMFTT
QFPQMFEVSJOHUIFFBSMZNPSOJOHIPVST JOKVSJOHPOF POFNBOTFZF5IFGPMMPXJOHEBZEVSJOHUIFFBSMZ
NPSOJOH#SBVLFSBOE#PPNFSLJDLFE QVTIFEBOETIPWFEBHSPVQPGGPVSIPNFMFTTQFPQMFBHFEJO
UIFTBNFMPDBUJPO0OFQFSTPOXBTUBLFOUPUIFIPTQJUBM
)BSBTTNFOU

,BMBNB[PP .JDIJHBO
i+VWFOJMFT4IPPU)PNFMFTT.BOJOUIF'BDF8JUI1FMMFU(VO"GUFS"UUFNQUFE3PCCFSZw

4FQUFNCFSTU "OVOBSNFEIPNFMFTTNBOXBTTMFFQJOHXIFOBHSPVQPGKVWFOJMFTVTQFDUTBUUFNQUFE
UPSPCIJN5IFTVTQFDUTUIFOTIPUIJNJOUIFGBDFNVMUJQMFUJNFTXJUIBQFMMFUHVOBOESBOPGG5IFWJDUJN
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i.BO$IBSHFE8JUI3BQJOH 3PCCJOH8PNBO/FBS6QUPXO#VT4IFMUFS

0DUPCFSSE &MPOHF"LBMF  IBTCFFOBSSFTUFEBOEDIBSHFEJODPOOFDUJPOXJUIUIFSPCCFSZBOE
TFYVBMBTTBVMUPGBOVOJEFOUJGJFEIPNFMFTTXPNBO "LBMFBQQSPBDIFEUIFXPNBOJOUIFNJEEMFPGUIF
OJHIU TUPMFUIFUXPCBDLQBDLTDPOUBJOJOHIFSCFMPOHJOHT BOEESBHHFEIFSPVUPGUIFCVTTIFMUFSUPB
OFBSCZXPPEFEBSFB5IFSF "LBMFGPSDFEUIFWJDUJNUPQFSGPSNPSBMTFYPOIJNGPSBCPVUBOIPVS4IFXBT
MBUFSUSFBUFEGPSJOKVSJFTUPIFSSJCTBOEGBDF"LBMFIBTTJODFCFFOBSSFTUFEBOEDIBSHFEXJUIGJSTUEFHSFF
DSJNJOBMTFYVBMDPOEVDUBOEGJSTUEFHSFFSPCCFSZ

/FX+FSTFZOPOMFUIBM
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$MJGUPO /FX+FSTFZ
i5FFO5SJFEUP3PC)PNFMFTT8PNBO 4MBTIFE.BO8IP$BNFUP)FS"JE $PQT4BZw

+VMZUI "NBMFJOIJTMBUFUFFOTUSJFEUPSPCBOVOJEFOUJGJFEIPNFMFTTXPNBO  BUUFNQUJOHUP
TUFBMIFSDFMMQIPOFBOEDJHBSFUUFT5IFXPNBOTGSJFOE BZFBSPMEIPNFMFTTNBO DBNFUPIFMQIFS5IF
UFFO BSNFEXJUIBIBOEHVOBOELOJGF TMBTIFEUIFNBOXJUIUIFLOJGFBOESBOBXBZXJUIPVUBOZPGUIF
XPNBOTJUFNT5IFWJDUJNTXFSFCPUIUSFBUFEBUUIFTDFOF1PMJDFBSFTFBSDIJOHGPSUIFTVTQFDU
#FBUJOHT

+FSTFZ$JUZ /FX+FSTFZ
i)PNFMFTT.BO (JSMGSJFOEA+VNQFEJO+FSTFZ$JUZ1PMJDFw
"VHVTUUI "OVOOBNFEIPNFMFTTNBO  XBTGPVOECZQPMJDFMZJOHPOUIFQBWFNFOUXJUICMPPE
ESJQQJOHGSPNIJTGBDF5IFWJDUJNBOEIJTHJSMGSJFOE  SFQPSUUPIBWFCFFOTUPNQFEPOBOEKVNQFECZB
HSPVQPGBTTBJMBOUT5IFZXFSFUBLFOUPUIFIPTQJUBMGPSUSFBUNFOU/PBSSFTUTXFSFNBEF

/FX.FYJDPMFUIBM
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"MCVRVFSRVF /FX.FYJDP
i'SJFOE.BO'PVOE%FDBQJUBUFE0VUTJEF"#28BM.BSU8BT)PNFMFTTw

%FDFNCFSTU $MJGGPSE.JMMFS BOEIPNFMFTT XBTGPVOEOBLFE EFDBQJUBUFE BOENJTTJOHIJT
HFOJUBMTCFIJOEB8BM.BSUCZBTFDVSJUZHVBSE.JMMFSTIFBEXBTOPUGPVOE5IFQPMJDFIBWFOPTVTQFDUT

/FWBEBMFUIBM

-FUIBM
-BT7FHBT /FWBEB
i.BOOFRVJOTUJOHDBUDIFTTVTQFDUJO-BT7FHBTIPNFMFTTNVSEFSTw
.BSDIUI *UXBTBNXIFOBGJHVSFTUSPEFCBDLBOEGPSUI IJTBUUFOUJPOESBXOUPBNPUJPOMFTTGPSN
VOEFSTPNFCMBOLFUT5IFNBOJEFOUJGJFECZQPMJDFXBT4IBOF4DIJOEMFS ZFBSTPME XIPMJGUFEBGPVS
QPVOEIBNNFSXJUICPUIIBOETUPiHFOFSBUFNBYJNVNGPSDFwBDDPSEJOHUPQPMJDF BOECSPVHIUJUEPXOPO
UIFSFDVNCFOUTIBQFiXJUIUIFJOUFOUUPLJMMw"UUIFTBNFMPDBUJPOUIFSFIBWFCFFOUXPNVSEFSTPG
IPNFMFTTNFOTJODFUIFCFHJOOJOHPG%BOJFM"MEBQF XBTGPVOEEFBEPO+BOVBSZUITUJMMXSBQQFE
JOIJTCMBOLFUTBOEXBTBWJDUJNPGCMVOUGPSDFUSBVNB%BWJE%VOO  XBTNVSEFSFEPOUIFPQQPTJUF
DPSOFSPO'FCSVBSZSE XIPBMTPTVGGFSFEFYUSFNFIFBEUSBVNB4IBOF4DIJMOEFSQMFBEHVJMUZUPPOFDPVOU
PGBUUFNQUFENVSEFS)FGBDFTVQUPZFBSTJOQSJTPO                                 AR004359
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i-BXZFS'PS4UPSF$MFSL"DDVTFEPG'BUBMMZ4UBCCJOH)PNFMFTT.BO  JO)BSMFN$MBJNT4FMG%FGFOTFw

0DUPCFSUI "TIUPO/JMFT BOEIPNFMFTT XBTTUBCCFEUPEFBUIXJUIBCPYDVUUFSCZ$IFJLI'BMM 
 BMPDBMTIPQDMFSL'BMMJTDIBSHFEXJUINVSEFS CVUDMBJNTIJTBDUJPOTXFSFPVUPGTFMGEFGFOTF)FJTIFME
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i(VONBO8BOEFSFE*OUP.BOIBUUBO%FMJ"GUFS#SZBOU1BSL4MBZJOHw

%FDFNCFSUI 5FSSBODF8BMLFS BOEIPNFMFTT XBTGBUBMMZTIPUEVSJOHBEJTQVUFJO#SZBOU1BSL
8BMLFSXBTTIPUJOUIFDIFTUBOECBDLBGUFSFYDIBOHJOHQVODIFTXJUIUIFHVONBO5IFTVTQFDUMJOHFSFE
OFBSUIFDSJNFTDFOFBOEXBTDBVHIUPOBTFDVSJUZDBNFSB CVUSFNBJOTBUMBSHF
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i$SFFQ#VTUFEGPS4FYVBMMZ"TTBVMUJOH)PNFMFTT8PNBO"T4IF4MFQUJO'JOBODJBM%JTUSJDUw

"VHVTUUI "OVOOBNFEIPNFMFTTXPNBO  BXPLFXIJMFTMFFQJOHPVUTJEFBTVCXBZTUBUJPOUP
GJOEBOVOLOPXONBOTQFOJTJOIFSNPVUI"GUFSTDSFBNJOHGPSIFMQ DPQTBSSJWFEBOEBSSFTUFE'MPSJCFSUP
$IBWF[(BSDJB )FIBTTJODFCFFODIBSHFEXJUITFYVBMNJTDPOEVDU QVCMJDMFXEOFTT BOEBDSJNJOBM
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2VFFOT /FX:PSL
i1PMJDF4IPPU,OJGF8JFMEJOH.BOJBD8IP,JMMFE.BO 4MBTIFE8PNBO 4FU)PNFMFTT1FSTPOPO'JSFJO
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.BSDIUI "IPNFMFTTNBOXBTTFUPOGJSFCZBEFSBOHFETMBTIFSXIPLJMMFEBMJRVPSTUPSFPXOFS 
LOJGFEBNPUIFSPGGPVS BOECVSOFEUXPDPQTXJUIDBVTUJDMJRVJECFGPSFIFXBTTIPU FOEJOHIJTSBNQBHF
+BNFT%JMMPO  TQMBTIFEUIFPXOFSPGUIFMJRVPSTUPSFXJUIBDIFNJDBMBOETUBCCFEIJNCFGPSFUVSOJOHPO
+VMJP#PMBOPT BOEIPNFMFTT#PMBOPT XIPIFMQFEPVUJOUIFTUPSF XBTEPVTFEXJUIUIFMJRVJEBOETFUPO
GJSF)FXBTMJTUFEJODSJUJDBMDPOEJUJPO XJUIBQPMJDFTPVSDFTBZJOHIJTCVSOTXFSFTFWFSFBOEIBEDBVTFEIJT
TLJOUPiQFFMPGGw

/FX:PSL /FX:PSL
i)PNFMFTTNBOTUBCCFEJODIFTUXIJMFQMBZJOHDIFTTJO6OJPO4RVBSFw

"VHVTUTU "WJPMFOUUSJPBUUBDLFEBOETUBCCFEBIPNFMFTTNBOXIPXBTQMBZJOHDIFTTJO6OJPO
4RVBSF5IFUISFFNFOBQQSPBDIFEUIFZFBSPMEWJDUJNXIPXBTUBLFOUPUIFIPTQJUBMBOEXBTSFQPSUFE
JOTUBCMFDPOEJUJPO

i.BO3FQFBUFEMZ4UBCT)PNFMFTT$PVQMFPO5XP#SJEHF8BUFSGSPOU 1PMJDF4BZw

"VHVTU TU   " NBO TUBCCFE B IPNFMFTT DPVQMF SFQFBUFEMZ PO UIF 5XP #SJEHFT XBUFSGSPOU 5IF
BUUBDLFSXBMLFEVQUPUIFNBMFBOEGFNBMFWJDUJNT CPUI BOETUBCCFEUIFNNVMUJQMFUJNFTJOUIFUPSTP
CFGPSFGMFFJOH5IFDPVQMFXBTUBLFOUPUIFIPTQJUBMBOEJOTUBCMFDPOEJUJPO5IFBUUBDLFSXBTEFTDSJCFEBTB
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"VHVTU UI   "MFYJT 'MFNJOH    XBT BUUBDLFE CZ UXP XPSLFST BU 5IF %BXO GBNJMZ TIFMUFS BGUFS
DPNQMBJOJOH GPS NPOUIT BCPVU UIF GBDJMJUZT NPMEZ CBUISPPNT BOE DPDLSPBDIJOGFTUFE SPPNT &GSBJO
&DIFWBSSJB  BOE&SJDL+JNFOF[  XFSFDIBSHFEXJUINJTEFNFBOPSBTTBVMUBOEJTTVFEEFTLBQQFBSBODF
UJDLFUT QPMJDFTBJE0GGJDJBMTTBJEUIBUUIFTVTQFDUTBSFOPUDJUZXPSLFSTBOEBOFXQSPWJEFSIBECFFODIPTFO
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2VFFOT /FX:PSL
i)PNFMFTTNBOSPCCFE TFYVBMMZBCVTFEXIJMFMPPLJOHGPSTDSBQNFUBMTJO2VFFOTw

'FCSVBSZUI 'PVSUIJFWFTSPCCFEBZFBSPMEIPNFMFTTNBOMPPLJOHGPSTDSBQNFUBMJORVFFOTUIFO
NPMFTUFE UIFJS WJDUJN XJUI B TPEB CPUUMF 5IF GPVS UIJFWFT EFNBOEFE UIF IPNFMFTT NBOT QSPQFSUZ 5IF
WJDUJNTBJEUIBUIFXBTKVTUMPPLJOHGPSTDSBQNFUBMBOENFBOUOPIBSN CVUUIFTVTQFDUTHSBCCFEIJNBOE
UPPLIJTXBMMFU5IFO JOBOBDUPGTBEJTN UIFZQVMMFEUIFNBOTQBOUTBOEVOEFSXFBSEPXOBOEBCVTFEIJN
XJUIB$PDB$PMBCPUUMF5IFWJDUJNQBTTFEPVUGSPNUIFQBJO IFUPMEQPMJDF8IFOIFXPLFVQ UIFUIJFWFT 
IJTXBMMFUBOEIJTNPOFZ XIJDIBNPVOUFEUPBCPVU XFSFHPOF

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i)PNFMFTT8PNBO'PVOEJO$MFWFMBOE)PNF8BTB7JDUJNPG'PSDFE1SPTUJUVUJPO 1PMJDZ4BZw

+VMZ UI   " NJTTJOH XPNBO    XBT IFME DBQUJWF GPS GPVS EBZT BOE GPSDFE JOUP QSPTUJUVUJPO 5IF
VOOBNFEXPNBOUPMEQPMJDFTIFXBTIPNFMFTTXIFOTIFNFUBNBOJONJE+VOFBUBIPTQJUBMJO-PSSBJO 
XIP TIF TUBSUFE EBUJOH )F PGGFSFE UP HJWF IFS B SPPN BU BO BQBSUNFOU CVJMEJOH BOE TIF XBT JOJUJBMMZ
DPODFSOFECVUFWFOUVBMMZBDDFQUFE)PXFWFS BGUFSTIFNPWFEJO IFSCPZGSJFOEBOE5BOHFMJDB3BZ BOE
BOPUIFS SFTJEFOU PG UIF BQBSUNFOU  GPSDFE  IFS JOUP QSPTUJUVUJPO  USBQQJOH IFS JO UIF BQBSUNFOU XIFO TIF
USJFEUPMFBWF UIFHSPVQBSSBOHFEGPSNFOUPDPNFJOUPIBWFTFYXJUIUIFXPNBOPWFSUIFOFYUGJWFEBZT
5IFGJSTUUJNFJUIBQQFOFE UIFHSPVQMPDLFEUIFNBJOUPUIFSPPNXJUIIFS XIFSFIFQSPDFFEFEUPSBQFIFS
BGUFS IFS SFGVTBM 0O +VMZ UI  TIF HSBCCFE NPOFZ GSPN UIF BQBSUNFOU BOE USJFE UP MFBWF  CVU UIF HSPVQ
EFUBJOFEIFS TMBNNJOHIFSIFBEJOUPUIFXBMM QJDLJOHIFSVQ UISPXJOHIFSEPXOUIFTUBJST BOEQVODIJOH
IFSSFQFBUFEMZ5IFXPNBOFWFOUVBMMZFTDBQFEBOESBOUPBNBJMDBSSJFS XIPDBMMFE4IFXBTUBLFOUP
UIFIPTQJUBMGPSIFSJOKVSJFTJODMVEJOHBEJTMPDBUFEKBX5IFHSPVQSBOPGGCFGPSFQPMJDFBSSJWFE5BOHFMJDB3BZ
IBTCFFODIBSHFEXJUIQSPNPUJOHQSPTUJUVUJPO CVUOPBSSFTUTIBWFCFFONBEF

.VMUJNFEJB&YQMPJUBUJPO

$PMVNCVT 0IJP
i.BO1VODIFT)PNFMFTT.BO 1PTUT7JEFPPO*OTUBHSBNw

+VMZOE 5FSSBODF&1ZGSPN  QPTUFEBWJEFPPO*OTUBHSBNTIPXJOHIJNQVODIJOHBZFBSPME
IPNFMFTTNBO"GUFSUIFBUUBDL UIFWJDUJNXBTUBVOUFECZBHSPVQPGNFOJODMVEJOH1ZGSPN1ZGSPNQMFBEFE
HVJMUZPOPOFDPVOUPGGFMPOZBTTBVMUBOEXBTTFOUFODFEUPGPVSZFBSTJOQSJTPO5IFBTTJTUBOUQSPTFDVUPS
BSHVFEUIFIFGUJFSTFOUFODFXBTBQQSPQSJBUFEVFUPUIFOBUVSFPGUIFVOQSPWPLFEBUUBDLPOBWVMOFSBCMF
NBO



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0LMBIPNB$JUZ 0LMBIPNB
i)PNFMFTT8PNBO%JFT%BZT"GUFS#FJOH4IPUJOUIF)FBEJO4&0LMBIPNB$JUZw

0DUPCFSOE 5XPQFPQMFKVNQFEPVUPGBDBSBOEEFNBOEFEDBTIBOEWBMVBCMFTGSPNUXPIPNFMFTT
JOEJWJEVBMT #FUI"OO+PSEBO  BOE"MFYBOEFS*SWJO1BUPO 8IFO+PSEBOBOE1BZUPOIBEOPUIJOHUP
HJWF UIFTVTQFDUTTIPUUIFN0O0DUPCFSUI +PSEBOQBTTFEBXBZJOUIFIPTQJUBMGSPNIFSJOKVSJFT1BUPO
XBTXPVOEFEBOEUIFFYUFOUPGIJTJOKVSJFTBSFVOLOPXO/PTVTQFDUTIBWFCFFOJEFOUJGJFE

5VMTB 0LMBIPNB
i.BO$IBSHFE8JUI,JMMJOH)PNFMFTT5VMTB.BO 8BOUT"$IBSHFE%JTNJTTFEw

4FQUFNCFSUI +FSFNZ5IBDLFSSBOPWFSBHSPVQPGIPNFMFTTQFPQMFCFIJOEUIF+PIO.JTTJPO
4IBXO#JSEPXBTLJMMFE BOEJOBDPVSUEPDVNFOUTBXJUOFTTDMBJNT5IBDLFSUPMEIJNIFTBXBCMBDLNBOBOE
XIJUFXPNBOTMFFQJOHUPHFUIFSBOEIFiEJEXIBUIJTCSBJOUPMEIJNUPEP SVOUIFNPWFSw

"CEVDUJPOT

0LMBIPNB$JUZ 0LMBIPNB
i0LMBIPNB$JUZ1PMJDF-PPLJOHUP*EFOUJGZ4VTQFDUT8IP"MMFHFEMZ3PCCFE "TTBVMUFE)PNFMFTT.BOw

0DUPCFSUI "OVOOBNFEIPNFMFTTNBOXBTXBMLJOHXIFOUXPNFOBOEUXPXPNFOQVMMFEVQJOB
HSFFOUSVDLBOEPGGFSFEIJNBSJEF"GUFSIFBDDFQUFE UIFZUPPLUIFNBOUPBNPUFMQBSLJOHMPU XIFSFUIFZ
QSPDFFEFEUPSPCBOEBTTBVMUIJN5IFGPVSTVTQFDUTIBWFOPUCFFOJEFOUJGJFE

)BSBTTNFOU

5VMTB 0LMBIPNB
i5VMTB1PMJDF)PNFMFTT.BO4IPUJO/FDLXJUI##(VOw

+VMZUI "OVOJEFOUJGJFEIPNFMFTTNBO  XBTXBMLJOHEPXOBTUSFFUXIFOBZPVOHNBOTIPUIJN
JOUIFOFDLXJUIB##HVOTFWFSBMUJNFT5IFWJDUJNXBTUBLFOUPUIFIPTQJUBMUPUSFBUIJTJOKVSJFT*UJTQPTTJCMF
UIFBUUBDLJTDPOOFDUFEUPBTFSJFTPG##HVOTIPPUJOHTUIBUPDDVSSFEBNPOUIFBSMJFS XIFOBHSPVQPGZPVOH
NFOTIPUUISFFIPNFMFTTNFOJOPOFXFFL0OFNBOXBTUBLFOUPUIFIPTQJUBM

0SFHPOMFUIBM OPOMFUIBM

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1PSUMBOE 0SFHPO
i)PNFMFTTNBOLJMMFETUSVHHMFEXJUINFOUBMJMMOFTTw

'FCSVBSZUI +BTPO1FUFSTPO XBTTIPUBOELJMMFEXIFODPOGSPOUFECZUIFPXOFSPG(PMEFO,FZ
*OTVSBODF"HFODZBCPVUQSPQFSUZIFIBEMFGUJOGSPOUPGUIFCVTJOFTT$IBSMJF$IBO UIFCVTJOFTTPXOFSXIP
SFQPSUFEMZTIPU+BTPO IBTOUCFFODIBSHFE




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1PMJDF#SVUBMJUZ

"TIMBOE 0SFHPO
i"TIMBOE"SSFTU7JEFP1SPQFS1PMJDJOHPS&YDFTTJWF'PSDF w

.BZUI "WJEFPQPTUFEUP'BDFCPPLEFQJDUFEGJWF"TIMBOEQPMJDFPGGJDFSTQJMJOHPOUPQPG$IBSMFT
"MCFSU$PMFOBUZ BOEIPNFMFTT XIPJTBVUJTUJD$PMFOBUZBMMFHFEMZBUUFNQUFEUPFYQMBJOUPUIFQPMJDFUIBU
UIFJSBDUJPOTUPXBSETBOPUIFSIPNFMFTTNBOIBSBTTJOHBOEUJDLFUJOHIJTGSJFOEGPSIBWJOHBOVOWBDDJOBUFE
EJTBCJMJUZTFSWJDFEPHJOQVCMJDoWJPMBUFEGFEFSBMMBX5IFCZTUBOEFSCFHBOSFDPSEJOHWJEFPXIFOUIF
"TIMBOEDPQBQQSPBDIFE$PMFOBUZBOEQIZTJDBMMZDPOGSPOUFEIJN"TUBUFNFOUSFMFBTFECZ"TIMBOEQPMJDF
TBZUIBUUIFIPNFMFTTNBOBHHSFTTJWFMZBQQSPBDIFEPGGJDFST CVUUIFWJEFPTIPXTUIFQPMJDFNVTDMJOH
$PMFOBUZUPUIFHSPVOEXIJMFIFTBZTIFJTBVUJTUJDBOEUIBUUIFZXFSFIVSUJOHIJN#PEZDBNFSBWJEFPIBT
CFFOSFMFBTFEXJUIJOUIFQPMJDFEFQBSUNFOU CVUIBTOPUCFFOSFMFBTFEUPUIFQVCMJDCFDBVTFJUJTQBSUPGB
QFOEJOHDPVSUDBTF5IFIPNFMFTTNBOJORVFTUJPO $IBSMFT"MCFSU$PMFOBUZ QMFBEFEOPUHVJMUZUP
NJTEFNFBOPSSFTJTUJOHBSSFTU JOUFSGFSJOHXJUIBQPMJDFPGGJDFS BOETFDPOEEFHSFFEJTPSEFSMZDPOEVDU
DIBSHFT

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1PSUMBOE 0SFHPO
i)BSBTTFE)PNFMFTT8PNBO*8BT3JEJDVMFE :FMMFE"Uw

"VHVTUUI ,PSFZBOE+PIO)PFLTUSB IPNFMFTTBOEMJWJOHJOBO37 IBWFCFFOSPVUJOFMZIBSBTTFECZ
+FSFNZ,JEXFMM BNBOMJWJOHOFBSCZ6QPOQBSLJOHJOBOBSFBXJUIOVNFSPVTPUIFSIPNFMFTTSFTJEFOUT 
,JEXFMMUISFBUFOFEUIFN TFUPGGGJSFXPSLT BOEFWFOUVBMMZMFGUBIPNFNBEFJNQSPWJTFEQJQFCPNCOFBS
UIFJS37,JEXFMMXBTBSSFTUFEBOEGBDFTUISFFGFMPOZDIBSHFE%VSJOHIJTBSSFTU IFBENJUUFEIFXBTUJSFEPG
UIFUSBOTJFOUQPQVMBUJPO

"TTBVMUXJUI%FBEMZ8FBQPOT

1PSUMBOE 0SFHPO
i.BOBOHSZXJUIIPNFMFTTUPTTFTIPNFNBEFCPNCVOEFSEJMBQJEBUFE37 BWPJETKBJMUJNFw

+BOVBSZSE "ZFBSPMENBOXBTVQTFUXJUIIPNFMFTTQFPQMFMJWJOHJOIJT1PSUMBOEOFJHICPSIPPE
BOEUPPLBDUJPOJOUPIJTPXOIBOET)FNBEFBIPNFNBEFCPNCVOEFSBIPNFMFTTXPNBOTEJMBQJEBUFE
37+FSFNZ1BUSJDL,JEXFMMQMFBEHVJMUZUPVOMBXGVMNBOVGBDUVSFPGBEFTUSVDUJPOEFWJDFBOEXBTTFOUFODFE
UPZFBSTPGQSPCBUJPO

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1PSUMBOE 0SFHPO
i")PNFMFTT1PSUMBOE4UVEFOUJT4VJOH4FDVSJUZBU4BGFXBZGPS"MMFHFEMZ*OUFSSVQUJOH)JT1BOIBOEMJOH8JUIB
#FBUJOHw

"QSJMUI *O"QSJM 8FTUMFZ'PTUFS BOEIPNFMFTT XBTCFBUFOCZ4BGFXBZTFDVSJUZXIJMF
QBOIBOEMJOH)FXBTUIFSFGPSBCPVUNJOVUFT XIFOUXPTFDVSJUZHVBSETESFTTFEJOCMVFVOJGPSNTDBNF
PVUUPDPOGSPOUIJN$ISJT5FNQMFUPOBQQSPBDIFE'PTUFSBOEUPMEIJNIFDPVMEOUTUBZJOGSPOUPGUIFTUPSF
'PTUFSTBZTIFSFTQPOEFEUIBUIFIBEBSJHIUUPCFPOUIFQVCMJDTJEFXBML%VSJOHUIFJSDPOWFSTBUJPOB
TFDPOETFDVSJUZHVBSE ZFBSPME*CSBIJN4FSBQIJOXBMLFEVQUP'PTUFSBOEQVTIFEIJNPGGUIFDVSCBOE
JOUPBCVTZTUSFFU8IFO'PTUFSUVSOFEBSPVOEUPQJDLVQIJTCBDLQBDLXIJDIXBTVTFEUPDBSSZIJTTDIPPM
CPPLTJTXIFO4FSBQIJDTUBSUFECFBUJOHIJNXJUIBCBUPO4FSBQIJOBOE5FNQMFUPOIBOEDVGGFE'PTUFS
'PTUFSIBECSVJTFTPOIJTSJCTBOECBDLGSPNCFJOHTIPWFEBOECFBUFO




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$PBUFTWJMMF 1FOOTZMWBOJB
i1PMJDF)PNFMFTT.BO4IPUBOE,JMMFEJO$PBUFTWJMMFw

"VHVTUUI 1PMJDFEJTDPWFSFEBNBOXJUITFWFSBMHVOTIPUXPVOETBGUFSSFTQPOEJOHUPSFQPSUTPGTIPU
GJSFEJOUIFBSFB5IFNBOXBTQSPOPVODFEEFBEPOUIFTDFOF5IFWJDUJNXBTJEFOUJGJFEBTBNBO
FYQFSJFODJOHIPNFMFTTOFTT iNBUFSJBMMZBOENFOUBMMZMPTUw GSPNBOFBSCZDPVOUZXIPPDDBTJPOBMMZTUBZFEJO
$PBUFTWJMMFTIFMUFST5IFQFSQFUSBUPSIBTOPUCFFOJEFOUJGJFE
.VMUJNFEJB&YQMPJUBUJPO

-PDBUJPOVODFSUBJO
i*OGVSJBUJOH7JEFP4IPXT.FFL.JMM.BLJOH)PNFMFTT.BO%P1VTIVQT'PSw

'FCSVBSZUI .FFL.JMMT 1IJMBEFMQIJBSBQQFSVTFE*OTUBHSBNT4UPSJFTGFBUVSFUPQPTUBTFSJFTPG
WJEFPTTIPXJOHBIPNFMFTTNBOBTLJOHGPSTPNFDIBOHF/FYUJUTIPXFEUIFZFBSPMESBQQFSUFMMJOHUIF
IPNFMFTTNBOUPEPQVTIVQTGPS5IFSBQQFSTUBUFE i8FBJOUHPJOHUPHJWFPVUOPGSFFNPOFZw5IF
OFYUWJEFPTIPXTUIFNBOEPJOHQVTIVQTBT.FFL.JMMDPVOUT

4PVUI$BSPMJOBOPOMFUIBM

#FBUJOH

"OEFSTPO 4PVUI$BSPMJOB
i)PNFMFTTA.BOPO.BJO4USFFU+FTTJF"MFYBOEFSCFBUFOBOESPCCFEJO"OEFSTPO$PVOUZw

4FQUFNCFSUI "MFYBOEFS  IBTCFFOIPNFMFTTPGGBOEPOGPSNPSFUIBOBEFDBEF"MFYBOEFSBTLFE
BSFTJEFOUBUUIF3FE3PPG*OO XIFSFIFJTBMTPTUBZJOH UPESJWFIJNUPEPBGFXFSSBOET"MFYBOEFSTUBUFE 
i*UTUBSUFEPVUGJOF CVUUIFOIFTQSBZFENBDFJONZFZFTBOEIJUNFJOUIFIFBEXJUITPNFUIJOHBOE
LOPDLFENFEPXO*USJFEUPGJHIUCBDL CVU*DPVMEOUTFFXJUIUIBUNBDFJONZFZFT*IBEBCBHTUSBQQFEPO
NFBOEIFDVUUIFNPGG5IFIFTUPMFNZDBS)FHPUBOENZ*%BOENZQJMMTBOENZIFBSUBOEIJHI
CMPPEQSFTTVSFw5IFTVTQFDUJTTUJMMBUMBSHF

5FOOFTTFFOPOMFUIBM
"TTBVMUTXJUI%FBEMZ8FBQPOT

/BTIWJMMF 5FOOFTTFF
i3PCCFS6TFT3PDLUP4UFBMGSPN)PNFMFTT.BOJO/BTIWJMMFw

0DUPCFSTU "OVOOBNFEIPNFMFTTNBOXBTBQQSPBDIFEGSPNCFIJOECZBOVOLOPXOTUSBOHFSBOE
IJUPOUIFIFBEXJUIBSPDL)JTQPTTFTTJPOTXFSFUIFOTUPMFO5IFWJDUJNTJOKVSJFTXFSFNJOPS5IFQPMJDF
IBWFOPUSFMFBTFEBOZGVSUIFSJOGPSNBUJPO

/BTIWJMMF 5FOOFTTFF
i8PNBOTIPPUTIPNFMFTTNBOXIPBTLFEIFSUPNPWF1PSTDIFDPQTw

"VHVTUUI 5XFOUZ4JYZFBSPME,BUJF2VBDLFOCVTIXBTDIBSHFEXJUITIPPUJOHZFBSPME(FSBME
.FMUPOOFBS.VTJD3PX.FUSP/BTIWJMMFQPMJDFTBZ.FMUPOXBTEJTUVSCFECZFYIBVTUGVNFTBOEMPVENVTJD
DPNJOHGSPN2VBDLFOCVTIT1PSTDIF467XIJMFUSZJOHUPTMFFQBUBN BOEBTLFEIFSUPNPWFUIF
WFIJDMF1PMJDFTBZUIFUXPCFHBOZFMMJOHBUFBDIPUIFS BOEUIBUJTXIFO2VBDLFOCVTIFYJUFEUIFWFIJDMF
BOETIPU.FMUPOUXJDFCFGPSFSVOOJOHVQUIFTUSFFU

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i7JEFP3FMFBTFEPG)PVTUPO1PMJDF#FBUJOH)PNFMFTT.BOw

4FQUFNCFSUI %BOJFM3FZOPTPBOE+BSJVT8BSSFO UXPQPMJDFPGGJDFST BQQSPBDIFE%BSSFMM(JMFT B
IPNFMFTTNBO BUBMJHIUSBJMTUBUJPO8BSSFOIJU(JMFTXJUIBCBUPONVMUJQMFUJNFT3FZOPTPTUPQQFE8BSSFO 
CVUMBUFSIFMQFEIJNQJO(JMFTUPUIFHSPVOE8BSSFOQVMMFE(JMFTVOEFSQBOUTEPXO-BUFS UIFUXPPGGJDFST
BSSFTUFE(JMFT DIBSHJOHIJNXJUIDSJNJOBMUSFTQBTTJOHBOESFTJTUJOHBSSFTU5IFDIBSHFTXFSFEJTNJTTFEBOE
(JMFTXBTSFMFBTFEGSPNKBJM"TVSWFJMMBODFWJEFPPGUIFCFBUJOHXBTSFMFBTFEUPUIFQVCMJD'PMMPXJOHUIF
SFMFBTF 8BSSFOSFTJHOFEGSPNIJTQPTJUJPOCVU3FZOPTPSFUVSOFEUPTFSWJDFBGUFSBEEJUJPOBMUSBJOJOH

4BO"OUPOJP 5FYBT
i'JSFE4BO"OUPOJP0GGJDFS"ENJUT5P(JWJOH1PPQ4BOEXJDIUP)PNFMFTT1FSTPOw

%FDFNCFSUI .BUUIFX-VDLIVSTU BGPSNFS4BO"OUPOJPQPMJDFPGGJDFS GPVOEEPHQPPQ CSFBE BOEB
DPOUBJOFSPOUIFHSPVOE QVUJUJOUPHFUIFS BOETFUJUCZBIPNFMFTTNBOBTBKPLFUPFOUFSUBJOIJT
DPMMFBHVFT5IFPGGJDFSDBNFCBDLBOEUISFXBXBZUIFQPPQTBOEXJDIIJNTFMG)FXBTMBUFSGJSFEBTBSFTVMU
PGUIFJODJEFOU

"TTBVMUTXJUIB%FBEMZ8FBQPOT

4BO"OUPOJP 5FYBT
i)PNFMFTT.BO4UBCCFE1PMJDF4FBSDIJOHGPS"UUBDLFSw

4FQUFNCFSUI "OVOOBNFEIPNFMFTTNBOXBTTUBCCFEBUBDBSXBTIEVSJOHUIFNJEEMFPGUIFOJHIU
5IF WJDUJN TPVHIU PVU B GSJFOE BOE XBT UBLFO UP UIF IPTQJUBM JO DSJUJDBM DPOEJUJPO  TVGGFSJOH GSPN
NVMUJQMFTUBCXPVOET1PMJDFTBJEUIFBUUBDLFSSBOBXBZGSPNUIFTDFOFUPXBSEUIFQBSLJOHMPUPGBOFBSCZ
8BM.BSUBOEIBTOPUZFUCFFOMPDBUFE

"NBSJMMP 5FYBT
i)PNFMFTT8PNBO4UBCCFE4UPQQJOH1FSTPOBM3PCCFSZw

4FQUFNCFS UI   "O VOOBNFE IPNFMFTT XPNBO XBT TMFFQJOH JO BO BMMFZ XIFO TIF GFMU IFS QVSTF
CFJOH UBLFO BXBZ )FS CPZGSJFOE QVTIFE UIF TVTQFDU BXBZ  CVU UIF TVTQFDU CFHBO TXJOHJOH B LOJGF
CFGPSF TUBCCJOH UIF XPNBOT MFH 5IF WJDUJN XBT UBLFO UP UIF IPTQJUBM XJUI OPOMJGF UISFBUFOJOH JOKVSJFT
1PMJDFBSFJOWFTUJHBUJOH

)PVTUPO 5FYBT
i)1%1SPQFSUZPXOFSTIPPUTIPNFMFTTQFSTPOJO.VTFVN%JTUSJDUw

"VHVTU OE  1PMJDFTBZUFNQFSTGMBSFEXIFO BIPNFMFTTQFSTPOTUFQQFE POUPUIF NBOTQSPQFSUZ
5IFIPNFPXOFSUIFOPQFOFEGJSF TIPPUJOHUIFIPNFMFTTQFSTPO4VTQFDUTUJMMBUMBSHF




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i5XPEFBEJOAWFSZUBSHFUTIPPUJOHBUDBNQGPSIPNFMFTTQFPQMFJO4FBUUMFw

+BOVBSZ UI   5XP QFPQMF XFSF LJMMFE BOE UISFF XFSF JOKVSFE EVSJOH B TIPPUJOH BU i5IF
+VOHMFw IPNFMFTT FODBNQNFOU 1PMJDF CFMJFWF UIF JODJEFOU XBT iWFSZ UBSHFUFEw BOE IBWF JEFOUJGJFE UXP
iQFSTPOTPGJOUFSFTUw0OFVOJEFOUJGJFEXPNBOEJFEPOUIFTDFOF XIJMFBNBOEJFEMBUFSBUUIFIPTQJUBM

"VCVSO 8BTIJOHUPO
i"VCVSO1PMJDF*OWFTUJHBUJOH%FBUIPG)PNFMFTT.BOBTB)PNJDJEFw

+VMZUI "OVOJEFOUJGJFEIPNFMFTTNBOJOIJTNJEUXFOUJFTXBTGPVOEEFBEJO'FOTUFS1BSL)FXBT
UIPVHIUUPIBWFCFFOMJWJOHJOBUFOUOFBS(SFFO3JWFS5IFQPMJDFCFMJFWFUIFEFBUIXBTIPNJDJEFBOEIBWF
PQFOFEBOJOWFTUJHBUJPO

,FOU 8BTIJOHUPO
i,FOU1PMJDF4FBSDIGPS4VTQFDUT"GUFS)PNJDJEFTBU)PNFMFTT&ODBNQNFOUw

"VHVTUUI ,FOUQPMJDFEJTDPWFSFEUXPIPNFMFTTJOEJWJEVBMTTIPUUPEFBUIBUBMPDBMIPNFMFTT
FODBNQNFOU5IFGJSTU BXPNBO IBECFFOTIPUTFWFSBMUJNFT BOEUIFZGPVOEUIFCPEZPGBNBOBUUIF
TBNFMPDBUJPOBEBZMBUFS8IJMFQPMJDFEJEOPUSFMFBTFBQPTTJCMFNPUJWF UIFZTVTQFDUUIBUUIFIPNJDJEFT
XFSFSFMBUFE BOEBSFMPPLJOHGPSBNBMFTVTQFDU

4FBUUMF 8BTIJOHUPO
i%SJWFS"DDVTFEPG,JMMJOH)PNFMFTT.BOJO5FOU#PPLFEPO7FIJDVMBS)PNJDJEF 'FMPOZ)JU"OE3VOw

4FQUFNCFS "IPNFMFTTNBOXBTLJMMFECZBDBSUSBWFMJOHOPSUIPO*OUFSTUBUF0TDBS(VUJFSSF[
%F+FTVTSBOPWFSBUFOUXIFSF8BMUFS-#VSUPO XBTBTMFFQJOTJEF UIFOUBLJOHPGGPOGPPU(VUJFSSF[
%F+FTVT XBTMBUFSBSSFTUFEBOECPPLFEPOWFIJDVMBSIPNJDJEFBOEGFMPOZIJUBOESVODIBSHFT

4FBUUMF 8BTIJOHUPO
i.BO'BUBMMZ4IPUCZ0GGJDFS/FBS)PNFMFTT$BNQ*EFOUJGJFEw

0DUPCFSUI 1PMJDFPGGJDFSTEJTDPWFSFEUXPNFOJOBLOJGFGJHIUEVSJOHBIPNFMFTTFODBNQNFOU
TXFFQ8IFOUIFPGGJDFSUSJFEUPTFQBSBUFUIFUXPNFO POFPGUIFQPMJDFPGGJDFST 4HU)FJEJ5VUUMF GJSFEBOE
XPVOEFE.JDIBFM-5BZMPS )FMBUFSEJFEJOUIFIPTQJUBMGSPNNVMUJQMFHVOTIPUXPVOET
"TTBVMUTXJUI%FBEMZ8FBQPOT

4FBUUMF 8BTIJOHUPO
i5XP%FBEJOAWFSZUBSHFUFETIPPUJOHBUDBNQGPSIPNFMFTTQFPQMFJO4FBUUMFw

+BOVBSZUI 5XPQFPQMFXFSFLJMMFEBOEUISFFXFSFJOKVSFEEVSJOHBTIPPUJOHBUi5IF+VOHMFw
IPNFMFTTFODBNQNFOU1PMJDFCFMJFWFUIFJODJEFOUXBTiWFSZUBSHFUFEwBOEIBWFJEFOUJGJFEUXPiQFSTPOTPG
JOUFSFTUw5XPXPNFOBOEPOFNBO BHFTSBOHJOHGSPN SFDFJWFETVSHFSZGPSJOKVSJFTUPUIFDIFTU 
BCEPNFO BOECBDL

4FBUUMF 8BTIJOHUPO
i8PNBO$IBSHFEXJUI4IPPUJOHPG)PNFMFTT.BOJO4PVUI4FBUUMFw

+VOFSE $ISZTUJOB"ULFTPOBQQSPBDIFEBIPNFMFTTNBOXPSLJOHBUBDBSEFUBJMJOHTIPQBOETIPU
UIFNBOJOUIFTUPNBDI"ULFTPOUIFOGMFEUIFTDFOFBOEUIFNBOXBTUBLFOUPUIFIPTQJUBMXJUITFSJPVT
JOKVSJFT$PVSUSFDPSETTUBUFUIBUUIFTIPPUJOHPDDVSSFECFDBVTFUIFNBOPXFE"ULFTPO"ULFTPOXBT
DIBSHFEXJUIGJSTUEFHSFFBTTBVMU
                                                                                             AR004366
                                                                                               iÙ®µÊu®ĝÕ¼ĝ&uÕĝ ÷û
                                                                                                                         >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
8JTDPOTJOOPOMFUIBM

#FBUJOHT

.BEJTPO 8JTDPOTJO
i.BEJTPO.BO"SSFTUFE"GUFS"UUBDLJOH)PNFMFTT.BOw

"VHVTUUI 1IJMJQ.D%POBME  XBTBSSFTUFEGPSBUUBDLJOHBIPNFMFTTNBO.D%POBMEDMBJNFEUIBU
UIFNBOQSPWPLFEIJN BOEUIFIPNFMFTTWJDUJNTVGGFSFEBCSPLFOOPTFBOEDVUTUIBUSFRVJSFETUJUDIFT

3FGFSFODFTGPSJODJEFOUTJOUIJTTFDUJPO
 ,MJOU $ISJT .BO8BOUFEJO.BDIFUF"UUBDLJO.JEUPXO)PNFMFTT$BNQ4UJMM"U-BSHF "ODIPSBHF%BJMZ/FXT "VHVTUO BWBJMBCMFBUIUUQT
XXXBEODPNBMBTLBOFXTDSJNFDPVSUTNBOXBOUFEJONBDIFUFBUUBDLBUNJEUPXOIPNFMFTTDBNQTUJMMBUMBSHF
3PCJOTPO $BSPM )PNJDJEF7JDUJN'PVOE%FBEJO#JSNJOHIBN)PNFMFTT$BNQ/PX*EFOUJGJFE "MDPN "VHVTU  BWBJMBCMFBUIUUQXXXBMDPNOFXT
CJSNJOHIBNJOEFYTTGIPNJDJEF@WJDUJN@GPVOE@EFBE@JOIUNM
3PCJOTPO $BSPM )PNFMFTT8PNBO4UBCCFEJO#JSNJOHIBNXBT7JDUJNPG"OPUIFSDSVFM"UUBDL "MDPN 0DUPCFS  BWBJMBCMFBUIUUQXXXBMDPNOFXT
CJSNJOHIBNJOEFYTTGIPNFMFTT@XPNBO@TUBCCFE@JO@CJSNIUNM
.D/FBSZ .BHHJFi1PMJDF1VODI)PNFMFTT7FUFSBOOFBS-JUUMF3PDL(BT4UBUJPO 4UFBM4IPFTPGG)JT'FFUw1PMJDF1VODI)PNFMFTT7FUFSBOOFBS-JUUMF3PDL
(BT4UBUJPO 4UFBM4IPFTPGG)JT'FFU +BO
3JEEMF #SBOEPOi1PMJDF)PNFMFTT.BO3PCCFEOFBS/PSUI-JUUMF3PDL#VSHFS,JOHCZ"TTBJMBOUTw"SLBOTBT0OMJOF +BO XXXBSLBOTBTPOMJOFDPN
OFXTKBOQPMJDFIPNFMFTTNBOSPCCFEDFMMQIPOFQSFQBJEWJTB
1BEJMMB 7JWJBOi1IPFOJY1PMJDF*OWFTUJHBUJOHBGUFS)PNFMFTT.BO,JMMFE #JLF4UPMFOw,/97 'FC XXXBCDDPNOFXTSFHJPOQIPFOJYNFUSPXFTU
QIPFOJYQPMJDFJOWFTUJHBUJOHBGUFSIPNFMFTTNBOTIPUCJLFTUPMFO
#BZ$JUZ/FXT :FBS0ME"SSFTUFEJO'BUBM)JU"OE3VO/PX$MBTTJGJFEBTB)PNJDJEF +BOVBSZ  BWBJMBCMFBUIUUQTXXXOCDCBZBSFBDPNOFXT
MPDBM:FBS0ME"SSFTUFEJO'BUB4BO+PTF)JU"OE3VO/PX$MBTTJGJFEBT)PNJDJEFIUNM
"TTPDJBUFE1SFTT 5XP.PSF4VTQFDUTBSSFTUFEJO#FBUJOH%FBUIPG)PNFMFTT.BO 5IF8BTIJOHUPO5JNFT "VHVTU  BWBJMBCMFBUIUUQT
XXXXBTIJOHUPOUJNFTDPNOFXTBVHNPSFTVTQFDUTBSSFTUFEJOCFBUJOHEFBUIPGIPNFM
.BICVCBOJ 3IFB .BO'PVOE%FBEJO4BO+PTF5SBTI$BO8BT,JMMFE1PMJDF /#$#BZ"SFB .BZ BWBJMBCMFBUIUUQTXXXOCDCBZBSFBDPNOFXT
MPDBM.BO'PVOE%FBEJO4BO+PTF5SBTI$BOXBT,JMMFE1PMJDFIUNM
$MBSL $SZTUBM 1JOFMMBT1BSLNPUIFSMFBSOTTPOXBTLJMMFEJOBUUBDLTPOIPNFMFTTJO$" 'PY +VMZ  BWBJMBCMFBUIUUQXXXGPYOFXTDPNOFXT
MPDBMOFXTQJOFMMBTQBSLNPUIFSMFBSOTTPOXBTLJMMFEJOBUUBDLTPOIPNFMFTTJODB
"SDFHB%VOO .BSJB .BO"UUBDLFE8JUI)BNNFSJO-BUFTU$SJNF"HBJOTU)PNFMFTT 'PY +VMZ  BWBJMBCMFBUIUUQGPYTBOEJFHPDPN
IPNFMFTTNBOBUUBDLFEXJUIIBNNFSJOFBTUWJMMBHF
/#$#BZ"SFB4UBGG 4BO+PTF1PMJDF*OWFTUJHBUJOH.BOT'BUBM4UBCCJOH /#$#BZ"SFB +VMZ  BWBJMBCMFBUIUUQTXXXOCDCBZBSFBDPNOFXTMPDBM4BO
+PTF1PMJDF*OWFTUJHBUJOH.BOT'BUBM4UBCCJOHIUNM
1VFOUF ,FMMZ )PNFMFTT.BO4IPUCZ4BOUB"OB1PMJDF%JFTGSPN*OKVSJFT 0SBOHF$PVOUZ3FHJTUFS 4FQUFNCFS  BWBJMBCMFBUIUUQT
XXXPDSFHJTUFSDPNIPNFMFTTNBOTIPUCZTBOUBBOBQPMJDFEJFTGSPNJOKVSJFT
8JOUPO 3JDIBSEBOE#SBOTPO1PUUT )BJMFZ %FQVUZ4IPPUTBOE,JMMT6OBSNFE)PNFMFTT.BO 1SPNQUJOH*OWFTUJHBUJPO -"5JNFT "VHVTU  BWBJMBCMFBU
IUUQCFUBMBUJNFTDPNMPDBMMBOPXMBNF*ODBTUJDEFQVUZTIPPUJOHTOBQTUPSZIUNM
1PQVMBS)PNFMFTT.BO,JMMFE*O)JUBOE3VO :PVS$FOUSBM7BMMFZ "VHVTU  BWBJMBCMFBUIUUQXXXZPVSDFOUSBMWBMMFZDPNOFXTQPQVMBSIPNFMFTT
NBOLJMMFEJOIJUBOESVO
5SVKJMMP %BNJFO BOE&MMJTPO 4UFQIFO 4+1PMJDF4FFLJOH"OTXFSTJO3BTIPG)PNFMFTT4MBZJOHT /#$#BZ"SFB 4FQUFNCFS BWBJMBCMFBUIUUQT
XXXOCDCBZBSFBDPNOFXTMPDBM4+1PMJDF4FFLJOH"OTXFSTJO3BTIPG)PNFMFTT,JMMJOHTIUNM
/#$#BZ"SFB4UBGG 4BO+PTF1PMJDF*OWFTUJHBUFUI)PNJDJEFPG /#$#BZ"SFB "VHVTU BWBJMBCMFBUIUUQTXXXOCDCBZBSFBDPNOFXTMPDBM
4BO+PTF1PMJDF*OWFTUJHBUFUI)PNJDJEFPGIUNM
8FCFS #SFOEBO 1PMJDF*OWFTUJHBUFUI4BO+PTF)PNJDJEFJO0OF8FFL /#$#BZ"SFB "VHVTU  BWBJMBCMFBUIUUQTXXXOCDCBZBSFBDPNOFXT
MPDBM1PMJDF*OWFTUJHBUJOH'PVSUI4BO+PTF)PNJDJEFJO0OF8FFLIUNM
5VSOFS .BSJFM BOEWPO2VFEOPX $JOEZ )PNFMFTT.BO4IPU ,JMMFEBGUFS$POGSPOUBUJPOXJUI1BSL1PMJDF-"4% ,5-" 4FQUFNCFS  BWBJMBCMFBUIUUQ
LUMBDPNNBOTIPUCZIVOUJOHUPOQBSLQPMJDFDPOEJUJPOVOLOPXO
)BOEB 3PCFSU BOE3FEFMM #PC #PEZ'PVOEPO%SJWFXBZ/FBS4BO+PTF(PMG$PVSTFBT)PNJDJEF3BUF4VSHFT1% /#$#BZ"SFB 4FQUFNCFS  
BWBJMBCMFBUIUUQTXXXOCDCBZBSFBDPNOFXTMPDBM#PEZ'PVOEJOTJEFXBMLPG4BO+PTF)PNF/FBS&ODBNQNFOU(PMG$PVSTFIUNM
3BWBO 4BSBI 4UBCCJOH7JDUJNJTUI)PNFMFTTNBO4MBJO5IJT:FBSJO4BO+PTF 4'(BUF 4FQUFNCFS  BWBJMBCMFBUIUUQXXXTGHBUFDPNDSJNFBSUJDMF
4UBCCJOHWJDUJNJTUIIPNFMFTTNBJOTMBJOUIJTQIQ
-ZPOT +FOOB )PNFMFTT.BO4IPUUP%FBUIJO.JMQJUBT 4'(BUF 4FQUFNCFS  BWBJMBCMFBUIUUQXXXTGHBUFDPNDSJNFBSUJDMF)PNFMFTTNBOTIPUUP
EFBUIJO.JMQJUBTQIQ
#PEMFZ .JDIBFM UI)PNJDJEF3FQPSUFEJO4BO+PTF/FBS)PNFMFTT&ODBNQNFOU 4BO'SBODJTDP$ISPOJDMF 0DUPCFS  BWBJMBCMFBUIUUQ
XXXTGHBUFDPNDSJNFBSUJDMFUIIPNJDJEFSFQPSUFEJO4BO+PTFOFBSIPNFMFTTQIQ
%F4PDJP +FGGSFZ5IPNBT )PNFMFTT.BO'PVOE4UBCCFEUP%FBUIJO"OBIFJN 'PY 0DUPCFS  BWBJMBCMFBUIUUQXXXGPYMBDPNOFXTMPDBMOFXT
IPNFMFTTNBOGPVOETUBCCFEUPEFBUIJOBOBIFJN
#SJTF "OESFB'JHVFSPBi7JHJMGPS+%)PNFMFTT.BO'PVOE%FBECFIJOE%VNQTUFS%FTFSWFE#FUUFS "DUJWJTUT4BZw'SFTOPCFF 5IF'SFTOP#FF +BO 
XXXGSFTOPCFFDPNOFXTMPDBMBSUJDMFIUNM
#SBOTPO1PUUT )BJMFZi)PNFMFTT.BO'PVOE4UBCCFEUP%FBUIOFBS"OBIFJN#VT4UPQw-PT"OHFMFT5JNFT -PT"OHFMFT5JNFT +BO 
XXXMBUJNFTDPNMPDBMMBOPXMBNFMOBOBIFJNTUBCCJOHTUPSZIUNM
)BBHFOTPO (FOFi'SFTOP1%#FMJFWFUIF%FBUIPGB)PNFMFTT8PNBOBOE,OJGF"UUBDLPOB)PNFMFTT.BO3FMBUFEw"#$'SFTOP 'FC IUUQ
BCDDPNOFXTGSFTOPQECFMJFWFUIFEFBUIPGBIPNFMFTTXPNBOBOELOJGFBUUBDLPOBIPNFMFTTNBOSFMBUFE


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                                                                                                                                    iÙ®µÊu®ĝÕ¼ĝ&uÕĝ øò
                                                                                                                     >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
)BBHFOTPO (FOFi%PXOUPXO'SFTOP)PNJDJEF)JHIMJHIUT%JTUVSCJOH5SFOEPG7JPMFODFBHBJOTU)PNFMFTTw"#$'SFTOP 'FC IUUQBCDDPN
OFXTEPXOUPXOGSFTOPIPNJDJEFIJHIMJHIUTEJTUVSCJOHUSFOEPGWJPMFODFBHBJOTUIPNFMFTT
#SBOTPO1PUUT )BJMFZ BOE)BNJMUPO .BUU 1PMJDF4IPPUBOE8PVOE)PNFMFTT.BO%VSJOH4USVHHMF0VUTJEF4BOUB"OB$JWJD$FOUFS -"5JNFT "VHVTU  
BWBJMBCMFBUIUUQCFUBMBUJNFTDPNMPDBMMBOPXMBNF*OTBOUBBOBPJTTOBQTUPSZIUNM
#BZ$JUZ/FXT4FSWJDF #"35'JHIUJOHUP'JSF4UBUJPO"HFOU"DDVTFEPG#FBUJOHIPNFMFTT.BO8JUI4UJDL 4'(BUF "VHVTU  BWBJMBCMFBUIUUQ
XXXTGHBUFDPNOFXTCBZBSFBBSUJDMF#BSU'JHIUJOH5P'JSF4UBUJPO"HFOU"DDVTFE0GQIQ
"SDFHB%VOO .BSJB .BO"UUBDLFEXJUI)BNNFSJO-BUFTU$SJNF"HBJOTU)PNFMFTT 'PY +VMZ  BWBJMBCMFBUIUUQGPYTBOEJFHPDPN
IPNFMFTTNBOBUUBDLFEXJUIIBNNFSJOFBTUWJMMBHF
"SDFHB%VOO .BSJB .BO"UUBDLFEXJUI)BNNFSJO-BUFTU$SJNF"HBJOTU)PNFMFTT 'PY +VMZ  BWBJMBCMFBUIUUQGPYTBOEJFHPDPN
IPNFMFTTNBOBUUBDLFEXJUIIBNNFSJOFBTUWJMMBHF
(BNCJOP -BVSFO 7JEFP4IPXT)PNFMFTT.BO"UUBDLFE#Z)PTQJUBMJUZ"NCBTTBEPS 5IF(VBSEJBO .BSDI  BWBJMBCMFBUIUUQT
XXXUIFHVBSEJBODPNVTOFXTNBSDICFSLFMFZIPNFMFTTNBOBUUBDLFEWJEFP
#JBODP 3BDIFM 5SBOTJFOU#FMJFWFT.VSEFS4QSFF4VTQFDU"UUBDLFE)JNJO)JMMDSFTU$BOZPO OFXTDPN +VMZ  BWBJMBCMFBUIUUQTXXXOFXTDPN
OFXTIPNFMFTTNBOCFMJFWFTHVFSSFSPBUUBDLFEIJNXJUISPDLJOIJMMDSFTUBSFBDBOZPOKVMZ
"SSFPMB "OOFUUF )PNFMFTTQFPQMF)VSUJO##(VO%SJWF#Z4IPPUJOH /#$-PT"OHFMFT +VMZ  BWBJMBCMFBUIUUQTXXXOCDMPTBOHFMFTDPNOFXT
MPDBM)PNFMFTT1FPQMF)VSUJO##(VO%SJWF#Z4IPPUJOHIUNM
,VSIJ &SJD 4BO+PTF)PNFMFTT4BZTA.BDIFUF+BDL4MBTIJOH5IFJS5FOUT .FSDVSZ/FXT +VMZ  BWBJMBCMFBUIUUQTXXXNFDVSZOFXTDPN
TBOKPTFIPNFMFTTTBZNBDIFUFKBDLTMBTIJOHUIFJSUFOUT
"TTPDJBUFE1SFTT -")PNFMFTT8PNBO1PTUT7JEFP1SPUFDUJOH5SVNQ8BMLPG'BNF4UBS $#4/FXT 0DUPCFS  BWBJMBCMFBUIUUQTXXXDCTOFXTDPN
OFXTMPTBOHFMFTIPNFMFTTXPNBOQPTUTWJEFPQSPUFDUJOHUSVNQXBMLPGGBNFTUBS
,"#$ )PNFMFTT.BO4VDLFS1VODIFEBU)PMMZXPPE.FUSP4UBUJPO "#$ %FDFNCFS  BWBJMBCMFBUIUUQBCDDPNOFXTWJEFPIPNFMFTTNBO
TVDLFSQVODIFEBUIPMMZXPPENFUSPTUBUJPO
1BVM +FTTF %FOWFS1SPTFDVUPST$IBSHF4VTQFDUXJUI.VSEFSJO)PNFMFTT.BOT4MBZJOH %FOWFS1PTU %FDFNCFS  BWBJMBCMFBUIUUQT
XXXEFOWFSQPTUDPNEFOWFSQSPTFDVUPSTDIBSHFTVTQFDUXJUINVSEFSJOIPNFMFTTNBOTTMBZJOH
.JUDIFMM ,JSLi5XP:PVUIT4FWFSFMZ#FBU)PNFMFTT.BOJO3BOEPN$PMPSBEP4QSJOHT"UUBDLw5IF%FOWFS1PTU 5IF%FOWFS1PTU 'FC 
XXXEFOWFSQPTUDPNIPNFMFTTNBODPMPSBEPTQSJOHTBUUBDL
;BVTNFS +VMJF BOE&SJDLTPO "OEFF .PVSOJOHB#SPUIFS 'BNJMZBTLTGPS)FMQ4PMWJOH%$T'JSTU)PNJDJEFPGUIF:FBS 8BTIJOHUPO1PTU +BOVBSZ  
BWBJMBCMFBUIUUQTXXXXBTIJOHUPOQPTUDPNMPDBMQVCMJDTBGFUZNPVSOJOHBCSPUIFSGBNJMZBTLTGPSIFMQTPMWJOHEDTGJSTUIPNJDJEFPGUIF
ZFBSEBEDFCCDCCFCBC@TUPSZIUNM VUN@UFSNFEB
4XJSLP $JOEZ %FQVUZ8IP"CVTFE)PNFMFTT.BO'JSFE (BJOFTWJMMFDPN %FDFNCFS  BWBJMBCMFBUIUUQXXXHBJOFTWJMMFDPNOFXT
EFQVUZXIPBCVTFEIPNFMFTTNBOGJSFE
#VSLF 1FUFS 8PNBO4UBCT)PNFMFTT8PNBOXJUI#PY$VUUFSBGUFS4NPLJOH'MBLLB #404BZT -PDBMDPN 4FQUFNCFS  BWBJMBCMFBUIUUQT
XXXMPDBMDPNOFXTDSJNFXPNBOTUBCTIPNFMFTTXPNBOXJUICPYDVUUFSBGUFSTNPLJOHGMBLLB
8"-#/FXT5FBN 1PMJDF*OWFTUJHBUF3BQFPG)PNFMFTT8PNBO 857.DPN "VHVTU  BWBJMBCMFBUIUUQXXXXUWNDPNTUPSZQPMJDF
JOWFTUJHBUFSBQFPGIPNFMFTTXPNBO
'FMENBO ,BUF (FPSHF1BTUPS$IBSHFEXJUI"MMFHFE4FYVBM"CVTFPGZFBSPME(JSM4UBZJOHBU)PNFMFTT4IFMUFS /:%BJMZ/FXT 4FQUFNCFS  
BWBJMBCMFBUIUUQXXXOZEBJMZOFXTDPNOFXTDSJNFHBQBTUPSDIBSHFEBMMFHFETFYVBMBCVTFZFBSPMEHJSMBSUJDMF
&MESJEHF &MMFOi5FFOT"DDVTFEPG4IPPUJOH$PCC)PNFMFTT.BOw"KD 5IF"UMBOUB+PVSOBM$POTUJUVUJPO +BO XXXBKDDPNOFXTDSJNFMBX
UFFOTBDDVTFETIPPUJOHDPCCIPNFMFTTNBOU5*0,/&N12CFWP3)7RC-
,PMLFZ +FGG )PNFMFTT.BO'PVOE#FBUFO %FBEJO3PDLGPSEA5FOU$JUZ SSTUBSDPN 4FQUFNCFS  BWBJMBCMFBUIUUQXXXSSTUBSDPNOFXT
IPNFMFTTNBOGPVOECFBUFOEFBEJOSPDLGPSEUFOUDJUZ
#JSE #JMM BOE#PPLXBMUFS (FOFWJWF 'JSFBU/BQFSWJMMF)PNFMFTT.BOTDBNQNJHIU#F"STPO /BQFSWJMMF4VO +VMZ  BWBJMBCMFBUIUUQ
XXXDIJDBHPUSJCVOFDPNTVCVSCTOBQFSWJMMFTVODUOWTOBQFSWJMMFIVCFSUFOUGJSFTUTUPSZIUNM
)FOESJDLTPO .BUUIFX $IBSHFEXJUI4UBCCJOH)PNFMFTTNBOJO4PVUI-PPQ $IJDBHP4VO5JNFT /PWFNCFS  BWBJMBCMFBUIUUQT
DIJDBHPTVOUJNFTDPNOFXTUISFFDIBSHFEXJUITUBCCJOHIPNFMFTTNBOJOTPVUIMPPQ
3ZDLBFSU 7JD *.1%.BLFT"SSFTUJO)PNFMFTT8PNBOT%FBUI *OEZ4UBS %FDFNCFS  BWBJMBCMFBUIUUQTXXXJOEZTUBSDPNTUPSZOFXT
DSJNFNBOBSSFTUFEIPNFMFTTXPNBOTEFBUI
3FFTF 4BSBI )PNFMFTTNBO5FMMT1PMJDF)F8BT4IPUJO-FHJO)BNNPOE OXJDPN +VMZ  BWBJMBCMFBUIUUQXXXOXJUJNFTDPNOFXTMPDBMDSJNF
BOEDPVSUTIPNFMFTTNBOUFMMTQPMJDFIFXBTTIPUJOMFHJOBSUJDMF@BCGCCGFCFGDIUNM
4UBGG '09-JWFDPNi)PNFMFTT.BO4BZT)F8BT4IPUCZ0DDVQBOUTPG(SBZ$BSw/FX0SMFBOT/FXT 8FBUIFS 4BJOUT'09 876& GPYMJWF$PN 8FBUIFS 
"QQ /FXT 4BJOUT "VH XXXGPYMJWFDPNTUPSZIPNFMFTTNBOTBZTIFXBTTIPUCZPDDVQBOUTPGHSBZDBS
)PNFMFTTNBO4UBCCFE"U#SJEHFXBUFS"QBSUNFOU$PNQMFY 5IF&OUFSQSJTF +VMZ  BWBJMBCMFBUIUUQXXXFOUFSQSJTFOFXTDPNOFXT
IPNFMFTTNBOTUBCCFEBUCSEJHFXBUFSBQBSUNFOUDPNQMFY
.BOHBOJT +VMJFi5FFOT$IBSHFEJO"UUBDLPO)PNFMFTT.BOw4BMFN/FXT 'FC XXXTBMFNOFXTDPNOFXTMPDBM@OFXTUFFOTDIBSHFEJOBUUBDL
POIPNFMFTTNBOBSUJDMF@FBGFBBFCIUNM
&OHFM 4BNJOB BOE)FBSTU5FMFWJTJPO*ODi)PNFMFTT.BO4UJMM)PTQJUBMJ[FEB.POUIBGUFS4FWFSF#FBUJOHw89** 89** 0DU XXXXYJJDPNBSUJDMF
IPNFMFTTNBOTUJMMIPTQJUBMJ[FEBNPOUIBGUFSTFWFSFCFBUJOH
4USBJOFS .BSJB #BMUJNPSF$JUZ1PMJDFTA1VCMJD&OFNZ/P"SSFTUFE"DDVTFEPG'BUBMMZ4UBCCJOH)PNFMFTT.BO 8BTIJOHUPO5JNFT %FDFNCFS  
IUUQTXXXXBTIJOHUPOUJNFTDPNOFXTEFDDISJTUPQIFSTUSBIBNCBMUJNPSFNVSEFSTVTQFDUBDDVTF
5XP.FO*EFOUJGJFEJO)PNFMFTT"TTBVMUT$BTF 6Q/PSUI-JWF +VMZ  BWBJMBCMFBUIUUQVQOPSUIMJWFDPNOFXTMPDBMUXPNFOJEFOUJGJFEJOIPNFMFTT
BTTBVMUTDBTF
7BOCFSHFO 4UFWF +VWFOJMFTTIPPUIPNFMFTTNBOJOGBDFXJUIQFMMFUHVOBGUFSBUUFNQUFESPCCFSZ 'PY 4FQUFNCFS  BWBJMBCMFBUIUUQ
GPYPOMJOFDPNKVWFOJMFTTIPPUIPNFMFTTNBOJOGBDFXJUIQFMMFUHVOBGUFSBUUFNQUFESPCCFSZ
-JCPS+BOFZ .BO$IBSHFEXJUI3BQJOH 3PCJOH8PNBO/FBS6QUPXO#VTI4IFMUFS 4UBS5SJCVOF +BOVBSZ  BWBJMBCMFBUIUUQXXXTUBSUSJCVOFDPN
NBODIBSHFEXJUISBQQJOHSPCCJOHXPNBOOFBSVQUPXONQMTCVTTIFMUFS
;BSFNCB +VTUJO 5FFO5SJFTUP3PC)PNFMFTT8PNBO 4MBTIFT.BO8IP$BNF5P)FS"JE 1PMJDF4BZ /+DPN +VMZ  BWBJMBCMFBUIUUQXXXOKDPN
QBTTBJDDPVOUZJOEFYTTGNBO@USJFE@UP@SPC@IPNFMFTT@XPNBO@TMBTIFE@NBO@XIP@DBIUOM
.PUB $BJUMJO )PNFMFTTNBO (JSMGSJFOE +VNQFEJO+FSTFZ$JUZ1PMJDF /+DPN "VHVTU  BWBJMBCMFBUIUUQXXXOKDPNIVETPOJOEFYTTG
IPNFMFTT@NBO@HJSMGSJFOE@KVNQFE@JO@KFSTFZ@DJUZ@GJHIIUNM
                                                                                                                              AR004368
                                                                                                                                iÙ®µÊu®ĝÕ¼ĝ&uÕĝ øó
                                                                                                                     >uÕ¼µu®ĝ ¼u®Õ¼µĝ¼ÊĝÕĝ&¼´®ÎÎ
)FSOBOEF[ %BOi.BOOFRVJO4UJOH$BUDIFT4VTQFDUJO-BT7FHBT)PNFMFTT.VSEFSTw5IF(VBSEJBO (VBSEJBO/FXTBOE.FEJB .BS 
XXXUIFHVBSEJBODPNVTOFXTNBSIPNFMFTTNVSEFSTMBTWFHBTQPMJDFBSSFTUNBOOFRVJOQMPU
+BDPCT 4IBZBOB .D-BVHIMJO "JEBO BOE3BZNBO(SBIBN -BXZFSGPS4UPSF$MFSL"DDVTFEPG'BUBMMZ4UBCCJOH)PNFMFTT.BO  JO)BSMFN$MBJNT4FMG
%FGFOTF /:%BJMZ/FXT 0DUPCFS  BWBJMBCMFBUIUUQXXXOZEBJMZOFXTDPNOFXZPSLOZDDSJNFTVTQFDUBSSFTUFETUBCCJOHIPNFMFTTNBOEFBUI
IBSMFNBSUJDMF
)FOTMFZ /JDPMF (VONBO8BOEFST*OUP.BOIBUUBO%FMJBGUFS4MBZJOH)PNFMFTT.BOJO#SZBOU1BSL /:%BJMZ/FXT %FDFNCFS  BWBJMBCMFBUIUUQ
XXXOZEBJMZOFXTDPNOFXZPSLNBOIBUUBOHVONBOXBOEFSFENBOIBUUBOEFMJCSZBOUQBSLTMBZJOHBSUJDMF
3BZNBO (SBIBN $SFFQ#VTUFEGPS4FYVBMMZ"TTBVMUJOH)PNFMFTT8PNBOBT4IF4MFQUJO'JOBODJBM%JTUSJDU /:%BJMZ/FXT "VHVTU  BWBJMBCMFBU
IUUQXXXOZEBJMZOFXTDPNOFXZPSLOZDDSJNFDSFFQCVTUFETFYVBMMZBTTBVMUJOHIPNFMFTTXPNBOTMFQUBSUJDMF
3FZOB 3JLLJ .BJ "OEZ "OOFTF +PIO BOE4MBUUFSZ %FOJT 1PMJDF4IPPU,OJGF8JFMEJOH.BOJBDXIP,JMMFE.BO 4MBTIFE8PNBO 4MBTIFE)PNFMFTT1FSTPOPO
'JSFJO2VFFOT /:%BJMZ/FXT .BSDI  BWBJMBCMFBUIUUQXXXOZEBJMZOFXTDPNOFXZPSLOZDDSJNFNBOJBDTUBCCFENBOTFUIPNFMFTTQFSTPOGJSF
RVFFOTBSUJDMF
%JNPO -BVSBi)PNFMFTT.BO4UBCCFEJO$IFTU8IJMF1MBZJOH$IFTTJO6OJPO4RVBSF/:%BJMZ/FXTw/ZEBJMZOFXTDPN /FX:PSL%BJMZ/FXT "VH
 XXXOZEBJMZOFXTDPNOFXZPSLOZDDSJNFIPNFMFTTNBOTUBCCFEQMBZJOHDIFTTVOJPOTRVBSFBSUJDMF
)PCCT "MMFHSBi.BO3FQFBUFEMZ4UBCT)PNFMFTT$PVQMFPO5XP#SJEHFT8BUFSGSPOU 1PMJDF4BZw%/"JOGP/FX:PSL %/"JOGP/FX:PSL "VH 
XXXEOBJOGPDPNOFXZPSLMPXFSFBTUTJEFIPNFMFTTDPVQMFTUBCCJOH
3PTF.BSDJVT $IFMTJB BOE3BZNBO (SBIBN )PNFMFTTNBOTMBNT)BSMFNTIFMUFSBGUFSUXPXPSLFSTBUUBDLFEIJNGPSDPNQMBJOJOHBCPVUHSVOHZMJWJOH
DPOEJUJPOT /:%BJMZ/FXT "VHVTU BWBJMBCMFBUIUUQXXXOZEBJMZOFXTDPNOFXZPSLNBOIBUUBOIPNFMFTTNBOTMBNTIBSMFNTIFMUFSXPSLFSTBUUBDLFE
BSUJDMF
'SBOLMJO %BMMBT )PNFMFTT8PNBO%JFT%BZTBGUFS#FJOH4IPUJOUIF)FBEJO4&0LMBIPNB$JUZ ,'03DPN 0DUPCFS  BWBJMBCMFBUIUUQ
LGPSDPNIPNFMFTTXPNBOEJFTBGUFSCFJOHTIPUJOUIFIFBEJOTFPLMBIPNBDJUZ
%BWJT %BWF )PNFMFTTNBO4IPU*O/FDL8JUI##(VO /&XT0ODPN +VMZ  IUUQXXXOFXTPODPNTUPSZUVMTBQPMJDFIPNFMFTTNBO
TIPUJOOFDLXJUICCHVO
3ZBO +JN "TIMBOE"SSFTU7JEFP1SPQFS1PMJDJOHPS&YDFTTJWF'PSDF 5IF0SFHPOJBO "VHVTU  BWBJMBCMFBUIUUQXXXPSFHPOMJWFDPNQBDJGJD
OPSUIXFTUOFXTJOEFYTTGBTIMBOE@BSSFTU@WJEFP@QSPQFS@QPIUNM
)PNTUSPN $ISJT )BSSBTTFE)PNFMFTT8PNBO *XBT3JEJDVMFE :FMMFE"U ,0*/DPN "VHVTU  BWBJMBCMFBUIUUQLPJO DPNXPNBOTBZT
TPNFPOFIBSBTTFEIFSGPSCFJOHIPNFMFTT
(SFFO "JNFFi.BO"OHSZXJUI)PNFMFTT5PTTFT)PNFNBEF#PNCVOEFS%JMBQJEBUFE37 "WPJET+BJM5JNFw0SFHPO-JWFDPN 0SFHPO-JWFDPN +BO
 XXXPSFHPOMJWFDPNQPSUMBOEJOEFYTTGSFTJEFOU@GFE@VQ@XJUI@IPNFMFTTIUNM
4IFQIFSE ,BUJF FUBMi")PNFMFTT1PSUMBOE4UVEFOU*T4VJOH4FDVSJUZBU4BGFXBZGPS"MMFHFEMZ*OUFSSVQUJOH)JT1BOIBOEMJOH8JUIB#FBUJOHw8JMMBNFUUF
8FFL XXXXXFFLDPNOFXTBIPNFMFTTQPSUMBOETUVEFOUJTTVJOHTFDVSJUZBUTBGFXBZGPSBMMFHFEMZJOUFSSVQUJOHIJTQBOIBOEMJOHXJUIB
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          California is the U.S. state that hosts the largest total number of immigrants as well as the largest
          number of unauthorized immigrants, and the largest number of immigrants who participate in the
          workforce (both authorized and unauthorized). Unauthorized immigrants make up 5 percent of the U.S.
          labor force and 9 percent of California’s labor force. Unauthorized immigrant workers across the United
          States, including in California, are often subject to workplace abuse and retaliation by their employers
          that is based on and/or facilitated by those workers’ lack of an authorized immigration status.

          Unauthorized immigrants contribute to the economy in vital industries, pay billions of dollars in taxes,
          and contribute billions to California’s economy. But unauthorized immigrant workers, who on paper
          have labor and employment law protections,1 in practice are often restrained from complaining about
          unpaid wages and substandard working conditions because of fears—or actual threats—that their
          employers will retaliate by reporting their immigration status to federal immigration enforcement
          authorities. In California, reports of instances of such retaliation have been on the rise. From January 1
          to December 22, 2017, workers in California “filed 94 immigration-related retaliation claims” with the
          California Labor Commissioner’s Office, “up from 20 in all of 2016 and only seven” in 2015 (Khouri
          2018). The threat of retaliation gives employers extraordinary power to exploit and underpay
          unauthorized immigrants. This power dynamic also undercuts the bargaining power of U.S. workers
          who work side by side with unauthorized immigrants.

          The ideal solution to this problem would be federal immigration reform that provides legalization and a
          path to citizenship for the 11.3 million unauthorized immigrants in the United States. This would level
          the playing field in terms of labor standards for all workers. However, in the absence of such nationwide
          reform, the government of the state of California has taken measures to improve labor standards for




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          vulnerable immigrant workers present in the state. Between 2013 and 2017 the California legislature
          considered and passed seven laws designed to protect workers in the state from retaliation and
          discrimination related to their immigration status: AB 263 (2013), SB 666 (2013), AB 524 (2013), AB
          2751 (2014), AB 622 (2015), SB 1001 (2016), and AB 450 (2017). Another law, SB 54 (2017), includes a
          provision that may improve access to justice for immigrant workers seeking redress for labor violations.
          All were signed into law by Governor Jerry Brown and each went into effect on January 1 of the year
          following their passage by the legislature.

          This report analyzes these laws and finds that they have provided California’s labor commissioner and
          attorney general with new tools to combat retaliation and exploitation based on immigration status and
          that they have provided immigrant workers with new causes of actions for civil lawsuits to enforce their
          rights and recover monetary damages from employers who violate labor and employment laws. The
          penalties provided by the laws may also act to deter employers from engaging in unscrupulous behavior
          in the first place. Other states should follow California’s lead and pass laws that protect immigrant
          workers from retaliation, wage theft, and other workplace abuses that are facilitated by virtue of their
          immigration status—and they should enforce those laws vigorously.

          These laws are summarized below.

              California’s AB 263 (2013) prohibits employers from using threats related to
              immigration status to retaliate against employees who have exercised their labor
              rights. For example, if an employee complains to an employer about wages owed to her, and if the
              employer retaliates with threats related to the worker’s immigration status as an excuse to discharge
              or not pay the worker, the California Division of Labor Standards Enforcement (DLSE) can
              investigate and fine the employer, or the worker can bring a civil lawsuit against the employer.
              Employers guilty of retaliation based on immigration status may be subject to a civil penalty of up to
              $10,000 and the employer’s business license may be temporarily suspended.
              California’s SB 666 (2013) is similar and complementary to AB 263, but expands the
              options for penalizing bad actors and also makes it easier for immigrant workers to
              sue employers for damages when they are retaliated against for exercising their
              workplace rights. Under SB 666, an employer’s business license may be revoked (not just
              suspended temporarily) if the employer is found to have retaliated against an employee based on
              immigration status. In addition, a lawyer who participates in retaliatory activities on behalf of an
              employer may be suspended or disbarred. Further, while AB 263 waived the requirement to exhaust
              administrative remedies before filing a lawsuit for claims specifically related to unlawful discharge
              or discrimination, under SB 666 that requirement is waived for nearly all claims related to labor
              code violations.
              California’s AB 2571 (2014) modifies and clarifies provisions in AB 263 by specifying
              that (1) an “unfair immigration-related practice” also includes filing or threatening to file “a false
              report or complaint with any state or federal agency” (not just a police report, as AB 263 prohibits),




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             and that (2) the $10,000 civil penalty for retaliation from AB 263 be awarded to the employee who
             suffered the violation rather than the penalty being awarded to the state of California.
             California’s AB 524 (2013) expands the definition of “criminal extortion” to include
             threats related to immigration status and provide for possible criminal penalties
             —imprisonment for up to one year and/or a fine of up to $10,000—for employers who make threats
             related to an employee’s immigration status.
             California’s SB 1001 (2016) and AB 622 (2015) narrowly specify what constitutes
             lawful use of the employment authorization process, making it more difficult for
             employers to use this process to retaliate against unauthorized immigrant workers.
             California’s SB 1001 and AB 622 specifically prohibit employers from using the employment
             authorization process in ways that are not required under federal law, with penalties up to $10,000
             per violation. Under these laws, complainants don’t have to prove that the employer’s action was
             specifically retaliatory (as would be required under AB 263, for example).
             California’s AB 450 (2017) can provide due process for workers in the face of an I-9
             worksite audit and discourage employers from using the I-9 audit process to retaliate
             against employees. Under AB 450, employers are prohibited from providing Immigration and
             Customs Enforcement (ICE) with access to nonpublic areas of the workplace and employment
             records when ICE has not obtained a warrant or subpoena, and AB 450 requires employers to notify
             workers when ICE plans to conduct an audit and inform workers about the details of the audit.
             Employers can be fined $2,000 to $5,000 for the first violation, and $5,000 to $10,000 for each
             additional violation. In addition, employers are prohibited from requiring their existing employees
             to reverify their work authorization at a time or manner not required by federal immigration law,
             and may face penalties of up to $10,000 for each violation.
             California’s SB 54 (2017), also known as the California Values Act, includes a
             provision that has the potential to make courts and government buildings more
             accessible to unauthorized workers (by decreasing the risk of detention by ICE agents
             while pursuing claims for workplace violations by employers). In light of increasing
             immigration enforcement activities at courthouses and state government buildings by ICE,
             unauthorized immigrant workers will face significant difficulties accessing the judicial system and
             due process. SB 54 provides for the upcoming publication (by October 2018) of model policies for
             ensuring that public facilities “remain safe and accessible to all California residents, regardless of
             immigration status.” These model policies have the potential to provide unauthorized immigrant
             workers with greater certainty that ICE agents will not be present in California courtrooms, thus
             creating a safer environment for immigrants to access the legal system and obtain due process.




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          Immigrants—defined as all foreign-born persons and including all immigration statuses (temporary,
          permanent, and unauthorized)—are a significant and important part of California’s population and
          workforce. A total of 43.7 immigrants live in the United States, representing 13.5 percent of the U.S.
          population (Zong, Batalova, and Hallock 2018); 10.7 million of those immigrants live in California,
          representing 27.3 percent of the state’s population. And 6.6 million immigrants are part of California’s
          workforce, accounting for a third of California’s total workforce (AIC 2017).

          Of the 43.7 million immigrants living in the United States, approximately 11.3 million are unauthorized
          (Krogstad, Passel, and Cohn 2017); these unauthorized immigrants account for one-quarter of all
          immigrants in the country (López and Bialik 2017). Most unauthorized immigrants are not newcomers,
          but are long-term residents of the United States. Two-thirds have resided in the United States for over
          10 years, while only 14 percent have resided in the United States for less than 5 years; their median
          duration of residence was 13.6 years in 2014, nearly double what it was in 1995 (Passel and Cohn 2016a).
          The Pew Research Center estimated that in 2012 there were approximately 4.5 million U.S.-born
          children who were younger than 18 and living with their unauthorized immigrant parents, meaning that
          millions of American children are in mixed-status households (Passel and Cohn 2015a).

          California is the state that hosts the largest population of unauthorized immigrants by far—2.3 million,
          which accounts for 6 percent of California’s total population (Pew 2016). The vast majority of
          unauthorized immigrants in California are employed—1.7 million, which is 9.0 percent of the total labor
          force in the state (Passel and Cohn 2016b);2 this is second only to Nevada in terms of the unauthorized
          share of the labor force, but Nevada has less than a tenth of the number of total unauthorized
          immigrants that California has (210,000 vs. 2.3 million) (Pew 2016).




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          Unauthorized immigrants contribute to the economy in many industries vital to the U.S. economy
          (Passel and Cohn 2015b) and pay billions in state and local taxes (Gee, Gardner, and Wiehe 2016).
          According to California State Controller Betty Yee, unauthorized immigrants’ labor “is worth more than
          $180 billion per year to California’s economy” (Hamilton 2017). Despite these contributions,
          unauthorized immigrants are often subjected to workplace abuse and retaliation by their employers that
          is based on, or facilitated by, their lack of an authorized immigration status—as is illustrated by
          numerous anecdotes reported in the media and by immigrant worker advocates.




          Although on paper unauthorized immigrant workers have labor and employment law protections—state
          labor laws and the federal Fair Labor Standards Act require that all workers be paid no less than the
          federal minimum wage and for overtime hours (if applicable) regardless of their immigration status—in
          practice, they are typically unable to complain about unpaid wages and substandard working conditions
          because employers can retaliate against them by taking actions that can lead to their removal by federal
          immigration authorities. In California, instances of this—employer retaliation against workers based on
          their immigration status—have been on the rise. From January 1 to December 22, 2017, workers in
          California “filed 94 immigration-related retaliation claims” with the California Labor Commissioner’s
          Office, “up from 20 in all of 2016 and only seven” in 2015 (Khouri 2018).

          As a result, in practice unauthorized immigrant workers have little access to labor and employment law
          protections under U.S. law. When unauthorized workers complain about substandard conditions or
          unpaid wages, or engage in protected activities like organizing to join or form a union, their employers
          can and often do retaliate by using their immigration status as an excuse to fire them, by threatening to
          call federal immigration authorities, or by actually calling immigration authorities. In some cases,
          employers may threaten to report (or actually report) not only an employee but also members of the
          employee’s family. The employer’s actions could ultimately lead to the removal of the unauthorized
          immigrant employee and/or his or her family from the United States. This obviously has a chilling effect
          on employees when they are considering whether to seek redress in courts for workplace violations or to
          report violations to state or federal labor standards enforcement agencies. The fear of deportation also
          strongly discourages unauthorized immigrant employees from organizing to join or form a union. 3 And
          even absent employer threats, unauthorized immigrant employees may be afraid to avail themselves of
          help from state or federal labor agencies or law enforcement out of fear that their personal information
          will be shared with immigration enforcement agencies like U.S. Immigration and Customs Enforcement
          (ICE), which is responsible for removing unauthorized immigrants from the interior of the United
          States.




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          Research, surveys, and other anecdotal evidence have established that workplace violations are common
          occurrences for unauthorized immigrant workers. For example, a 2009 landmark study and survey by
          Annette Bernhardt, Ruth Milkman, Nik Theodore, and a number of other scholars, titled Broken Laws,
          Unprotected Workers, found that 37.1 percent of unauthorized immigrant workers had been victims of
          minimum wage violations in the week prior to their being surveyed—meaning they had not been paid
          the legally required minimum wage for hours worked that week—compared with 21.3 percent for
          authorized immigrants and 15.6 percent for U.S.-born citizens. In terms of overtime law violations
          —cases where workers were not paid the legally required time-and-a-half rate for the hours worked in a
          week beyond 40 hours—the statistics are even more disturbing, with all workers suffering extremely
          high rates of violations and unauthorized workers topping the list. Among full-time unauthorized
          immigrant workers who reported working more than 40 hours for a single employer during the previous
          workweek, an astounding 84.9 percent reported not being paid time-and-a-half for their overtime hours,
          compared with 67.2 percent for authorized immigrants and 68.2 percent for U.S.-born citizens
          (Bernhardt et al. 2009).

          In addition, labor inspections at the state and federal levels are infrequent, and even when workers who
          have been victims of wage theft succeed in winning a judgment to recover lost wages, a significant share
          of these victims are unable to recover the back pay they are entitled to (Levine 2018).




          The end result of all this is that U.S. employers benefit by having an extraordinary amount of power to
          exploit and underpay unauthorized immigrants with impunity. This also undercuts the bargaining
          power of U.S. workers who work side by side with unauthorized immigrants who are easily exploitable.
          When the wages and labor standards of unauthorized immigrants in the U.S. labor market are degraded,
          so are the wages and labor standards of U.S. workers in similar jobs.




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          In the absence of federal immigration reform that provides legalization and a path to citizenship for the
          11.3 million unauthorized immigrants in the United States—which would level the playing field in terms
          of labor standards for all workers—the state of California has taken measures to improve labor standards
          for the 9.0 percent of its labor force composed of workers who lack an authorized immigration status. It
          is important to note that the state of California cannot stop ICE from lawfully arresting and removing
          any unauthorized immigrant who is present in the state. Nevertheless, in order to combat some of the
          most common workplace abuses that unauthorized immigrant workers face, and therefore improve
          labor standards for all workers, the California legislature has considered and passed seven laws designed
          and intended to protect all immigrant workers from retaliation and discrimination related to their
          immigration status. These laws are AB 263 (2013), SB 666 (2013), AB 524 (2013), AB 2751 (2014), AB
          622 (2015), SB 1001 (2016), and AB 450 (2017).




          In 2013 and 2014, the California legislature considered and passed four laws designed and intended to
          protect unauthorized immigrant workers from threats related to their immigration status: AB 263, SB
          666, AB 524, and AB 2751.4 Governor Jerry Brown signed AB 263, SB 666, and AB 524 in 2013 and the
          laws went into effect on January 1, 2014. AB 2751 was signed in 2014 and went into effect on January 1,
          2015. This section offers a brief synopsis of the main components of these four laws.




          Both AB 263 and SB 666 provide workers with certain protections against retaliation by their employers
          that is related to their immigration status. AB 263 prohibits “unfair immigration-related practices” by an
          employer or any other person who takes any number of listed actions against any person for exercising a
          right protected in the California Labor Code (Labor Code) or any local ordinance applicable to
          employees. AB 263 protects persons who file a complaint against an employer, persons who investigate
          whether an employer has broken the law, or persons who inform others about their rights or help them
          assert those rights under the Labor Code. An unfair immigration-related practice can include requesting
          more or different documents to verify employment authorization than are required under federal law, or
          refusing to honor documents to verify work authorization that on their face reasonably appear to be
          genuine; using the federal E-Verify system (the federal government’s web-based electronic employment
          authorization system)5 to check the employment authorization status of a person at a time or in a
          manner not required under federal law or not authorized under any memorandum of understanding




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          governing the use of the federal E-Verify system; threatening to file or actually filing a false police
          report; or threatening to contact or actually contacting immigration authorities. AB 263 also establishes
          that an employer who engages “in an unfair immigration-related practice against a person within 90
          days of the person’s exercise of rights” creates a rebuttable presumption that the employer retaliated
          against a person for exercising their rights.

          AB 263 provides a private right of action for the aggrieved worker or person who has been retaliated
          against and waives the requirement that the worker exhaust any administrative remedies before filing a
          lawsuit for claims related to unlawful discharge or discrimination. AB 263 also allows the plaintiff to
          recover attorney’s fees and authorizes a civil penalty of up to $10,000. If an employer has been found to
          have committed an unfair immigration-related practice, the business associated with the workplace
          violation may have its business license temporarily suspended.

          SB 666 is similar and complementary to AB 263. Under SB 666, employers are prohibited from
          reporting or threatening to report the citizenship or immigration status of any employee or the
          citizenship or immigration status of an employee’s family member in retaliation for exercising a right or
          engaging in protected conduct. If the California Division of Labor Standards Enforcement (DLSE) or a
          court finds that an employer retaliated in this manner against an employee for exercising a right in the
          Labor Code, an employer’s business license may be revoked or suspended. In addition, if the employer’s
          attorney (or any other attorney) engages in this activity—e.g., reports the citizenship or immigration
          status of an employee or employee’s family member, or of a witness or party to a civil or administrative
          action to a federal, state, or local agency, for exercising a protected right—it will be “cause for
          suspension, disbarment, or other discipline” by the State Bar of California. SB 666 also includes a
          broader standard than AB 263 in terms of the exhaustion of administrative remedies: it establishes that
          individuals are not required to exhaust available administrative remedies or procedures before they may
          bring a civil action under any provision of the Labor Code (unless the section requires exhaustion of an
          administrative remedy).

          Both AB 263 and SB 666 expand protected conduct to include a written or oral complaint by an
          employee that he or she is owed unpaid wages, as well as prohibit retaliation by any person acting on
          behalf of an employer. Under both laws, employers may face penalties of up to $10,000 for each
          instance of retaliation, per employee.




          AB 2571, signed into law a year after AB 263, modifies and clarifies provisions in AB 263. These
          modifications and clarifications include specifying that (1) an “unfair immigration-related practice” also
          includes filing or threatening to file “a false report or complaint with any state or federal agency” (not
          just a police report, as AB 263 prohibits), and that (2) the $10,000 civil penalty for retaliation from AB
          263 be awarded to the employee who suffered the violation rather than the penalty being awarded to the
          state of California. (AB 263 did not specify who would receive the funds.)




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          AB 524 expands the definition of criminal extortion to include threats related to immigration status.
          This law makes it criminal to threaten to report any individual’s immigration status or suspected
          immigration status, or that of an individual’s relative or a member of his or her family, in order to obtain
          property from the individual (which could include wages owed to a worker, for example). The penalty for
          criminal extortion under California Penal Code Section 524 is imprisonment of up to one year and/or a
          fine of up to $10,000.




          AB 263, SB 666, AB 2751, and AB 524 can be used either by DLSE in an investigation or enforcement
          action or by an individual worker who brings a civil lawsuit.

          In general, if a worker has been the victim of a labor violation by a California employer, he or she may
          file a complaint with DLSE. DLSE’s Bureau of Field Enforcement (BOFE) reviews the complaint and
          decides whether to begin an investigation of the employer. If an inspection is undertaken by BOFE, a
          BOFE deputy may interview the employer about the suspected violation and review the employer’s
          records that are pertinent to the case as well as interview workers about wages and working conditions.
          If BOFE finds that a legal violation has occurred, it can penalize the guilty employer by issuing a citation
          that requires the employer to pay back wages or civil penalties or to remedy other violations.6

          If a worker has filed a complaint with DLSE and the worker’s employer retaliates—for example, by
          withholding wages or threatening to file a report with federal immigration authorities—in response to
          the worker engaging in a protected activity (which includes cooperating with a DLSE investigation
          regarding a labor violation), then the worker may file a claim to DLSE alleging retaliation in violation of
          the law.7 The claim is then investigated by the Retaliation Complaint Investigation Unit (RCI).8 An RCI
          investigator will contact the employer and witnesses, if necessary, and may facilitate a discussion
          between the employer and employee to discuss a possible settlement; in the course of this, the
          investigator has the authority to issue subpoenas to obtain relevant evidence. If no settlement is reached
          between the employer and employee, the case is submitted to the labor commissioner, who reviews the
          case and makes a determination as to whether the employer violated the law and what is the appropriate
          remedy. The employer may appeal, but if the employer ultimately fails to comply with the terms of the
          labor commissioner’s determination, the labor commissioner may then file a court action to enforce the
          remedy (DLSE 2013).

          As part of this process, if the RCI investigator determines that an employer retaliated against an
          employee with an unlawful immigration-status-related threat, the investigator may, as part of the
          settlement negotiations, point to the provisions of the Labor Code put in place by AB 263, SB 666,
          and/or AB 524 that were violated and specify what are the appropriate remedies and fines are for the
          violation or violations. If no settlement is reached and the case rises to the level of the labor




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       commissioner, the labor commissioner may issue a determination to fine the employer and/or suspend
       or terminate their business license as allowed by law if the facts of the case warrant such fines or
       suspensions.

       According to California Labor Commissioner Julie Su, the most common labor violation that precedes
       employer retaliation via threats related to immigration status is wage theft, which occurs after an
       employee asks to be paid wages owed to him or her, or after filing a complaint with DLSE.9 The ability of
       DLSE to threaten lawbreaking employers with a $10,000 fine for each violation gives DLSE a significant
       amount of leverage in settlement negotiations and helps level the playing field in terms of power
       between employers and immigrant workers. The fact that the $10,000 fine goes to the employee (as
       specified by AB 2751) means workers have a much better chance of recouping lost wages, because suing
       for lost wages and recovering them in a private civil action is much costlier, may take years, and may
       ultimately be unsuccessful even when a worker wins the case (for example, if an employer is unable to
       pay).

       Workers in California who are victims of unlawful retaliation based on threats related to immigration
       status may also file a private lawsuit against their employer, even if they have not exhausted all of their
       possible administrative remedies through DLSE (unless they are seeking to enforce a claim that
       specifically requires exhaustion by law). While a private civil lawsuit is expensive and may take years,
       the attorneys who represent workers who have been the victims of retaliation may first send letters to
       employers notifying them of their obligations under AB 263 and SB 666, for example, and the possible
       fines and penalties they may be liable for if they lose in court or if the labor commissioner determines
       they have violated the laws. According to one attorney who spoke with the author and is familiar with
       California’s anti-retaliation laws, such letters have acted as a valuable deterrent to further unlawful
       conduct by the employer and have sometimes succeeded in obtaining remedies for workers.




       California laws passed in 2015, 2016, and 2017 create additional barriers for employers who are
       attempting to retaliate against workers through means related to their immigration status.




       California’s SB 1001 and AB 622 further proscribe what is appropriate employer use of the employment
       authorization process. Employers using the system outside of these proscribed uses can be penalized
       without the need to prove that retaliation was the motive.

       SB 1001 was signed into law in 2016 and went into effect on January 1, 2017.10 SB 1001 makes it
       unlawful for employers to (1) request from the employee more or different documents than are required
       under Section 1324a(b) of Title 8 of the United States Code; (2) refuse to honor documents tendered that




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       on their face reasonably appear to be genuine; (3) refuse to honor documents or work authorization
       based upon the specific status or term of status that accompanies the authorization to work; or (4)
       attempt to reinvestigate or reverify an incumbent employee’s authorization to work using an unfair
       immigration-related practice. Employees or job applicants can complain to DLSE if SB 1001 has been
       violated or sue the employer. Any person who violates SB 1001 is subject to penalties of up to $10,000
       that can be imposed by DLSE and are liable for equitable relief.

       AB 622 was signed into law in 2015 and went into effect on January 1, 2016.11 AB 622 relates to E-Verify,
       and expands the definition of an unlawful employment practice in the California Labor Code to prohibit
       an employer or any other person or entity from using E-Verify at a time or in a manner not required by
       federal law, or in a manner that is not required by a memorandum of understanding between an
       employer and the federal government, to check whether an incumbent employee or a new job applicant
       is authorized to be lawfully employed. Under AB 622, employers can check only the status of job
       applicants to whom they’ve offered a job but who have not yet begun working, and employers must
       notify job applicants promptly if E-Verify does not confirm that they are authorized to be employed. The
       penalty for each violation of AB 622 is $10,000.

       SB 1001 and AB 622 prohibit employers from forcing employees whom they suspect to be unauthorized
       immigrants from establishing whether they are authorized to be employed lawfully in the United States
       in retaliation for those workers asserting their labor and employment rights or engaging in any other
       protected activity (for example, if a worker requests an employer pay her any owed but unpaid wages, or
       files a complaint for unpaid wages with DLSE). Together, SB 1001 and AB 622 can deter employers from
       using the employment authorization process to retaliate against unauthorized immigrant workers who
       try to exercise their rights. The laws also provide aggrieved workers with a monetary remedy.




       AB 450, also known as the Immigrant Worker Protection Act, was signed into law in 2017 and went into
       effect on January 1, 2018.12 AB 450 mandates new guidelines and requirements for all public and
       private employers in California when dealing with an audit of I-9 Employment Eligibility Verification
       forms13 or investigation of other employee records. AB 450 prohibits employers from permitting federal
       immigration enforcement agents to enter any “nonpublic areas of a place of labor” 14 without a judicial
       warrant, and it prohibits employers from providing employment records to immigration enforcement
       agents without a judicial warrant or subpoena, unless a Notice of Inspection (NOI) has been provided to
       the employer by ICE.

       AB 450 also requires that employers notify their employees and any applicable union of an upcoming
       immigration audit by ICE within 72 hours of receiving an NOI from ICE, and employers must also
       provide a copy of the NOI to any affected employee. Employers must also provide each affected
       employee with written notice of the obligations of the employer and the affected employee arising from
       the results of the inspection of I-9 forms or other employment records. Employers who fail to comply




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       with the requirements of AB 450 can be fined $2,000 to $5,000 for the first violation, and $5,000 to
       $10,000 for each additional violation.

       AB 450 also includes a provision that prohibits employers from requiring their existing employees to
       reverify their work authorization at a time or manner not required by federal immigration law. Federal
       law at Section 1324a of Title 8 of the United States Code requires employers to verify employment
       authorization at time of hire, and Department of Homeland Security (DHS) regulations outline the
       specific circumstances in which employers are required to reverify,15 such as when an employment
       authorization document or temporary work visa has expired, or when an employer has “constructive
       knowledge” that an employee is not authorized to work.16 Federal law and regulations also describe
       specific instances in which an employer is not deemed to have “hired” someone, and therefore the
       employer is not required to reverify whether the employee is authorized to work. 17 DLSE may fine
       employers who violate this provision up to $10,000 for each time they reverify the employment
       eligibility of an incumbent employee at a time or in a manner not required by federal law.

       Both DLSE and the California attorney general have authority to enforce the provisions of AB 450, and
       California Attorney General Xavier Becerra has stated publicly his intention to prosecute employers who
       do not comply with AB 450 (Hart 2018).

       Thomas Homan, the Trump administration’s acting director of ICE, has recently stated his intention to
       increase the number of I-9 audits conducted by ICE by 400 percent (Kavilanz 2018), saying that the
       state of California will “see a lot more special agents, a lot more deportation officers” (Fox News 2018)
       and that ICE will “have no choice but to conduct at-large arrests in local neighborhoods and at
       worksites” (ICE 2017) in retaliation for California passing sanctuary city laws. Acting Director Homan’s
       comments, which reflect his intentions to focus enforcement efforts in California, combined with the fact
       that numerous I-9 audits have already been conducted in California by ICE in 2018 (Emslie, Small, and
       Muñoz 2018), makes it likely that AB 450 will be an important and useful tool to help protect labor
       standards for unauthorized immigrant workers and provide them with more due process protections
       than they currently have when their worksite is facing an ICE audit. AB 450 can do this by protecting the
       rights of unauthorized immigrant workers at their place of employment, especially in the case of an I-9
       audit that ICE may attempt to conduct without an adequate level of reasonable suspicion that would
       justify the issuance of a warrant (for example, if ICE agents attempt to conduct an audit that is based on
       an anonymous tip, racial profiling, or any other reason not substantiated by enough evidence to justify a
       warrant).

       In addition, as described by California Labor Commissioner Julie Su (Khouri 2018), employers
       sometimes go to extremes to carry out retaliation by calling ICE on themselves and requesting an I-9
       audit in order to retaliate against their own workers; AB 450’s penalties may also help protect
       unauthorized immigrant workers by making it less likely that an employer will call ICE to request an
       audit as a form of retaliation against workers the employer suspects are unauthorized. AB 450 can be
       beneficial for employers, too, because it provides them with clear procedures to follow in the course of a




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       visit from ICE agents.




       Unauthorized immigrant workers who seek to enforce their rights under California or federal labor and
       employment laws may either file a complaint with the federal U.S. Department of Labor or, as discussed
       above, file a complaint with the California labor commissioner at DLSE. Alternatively, they may file a
       private lawsuit. In California, the ability of unauthorized immigrant workers to access DLSE offices and
       courthouses is therefore of crucial importance to being able to recover stolen wages or seek redress for
       other legal violations and ultimately hold lawbreaking employers accountable. If unauthorized
       immigrant workers are too afraid to access DLSE offices or federal, state, and local courthouses, then
       they will not be able to access the legal system that is in place to protect the labor standards of all
       workers, and they will be deprived of due process.




       In 2017, a number of cases were reported in the media describing immigration enforcement actions
       taken by ICE at courthouses in the United States, including in California, where ICE was seeking
       unauthorized immigrants who were involved in legal proceedings in order to detain them.18 Some of the
       immigrants ICE has pursued in courtrooms had no criminal record and were accessing family court
       (Allyn 2017; Coll 2017) or seeking a restraining order against a spouse (Queally 2017), for example. The
       Immigrant Defense Project estimated that in New York there were 110 ICE courthouse arrests in 2017,
       compared with 11 arrests in 2016—a 900 percent increase (Immigrant Defense Project 2017). An
       increase in ICE courthouse arrests led California’s chief justice to publish an open letter to U.S. Attorney
       General Jeff Sessions and then-Secretary of DHS John Kelly in March 2017, urging them to refrain from
       pursuing and arresting immigrants in California courts (Queally 2017; Medina 2017; Cantil-Sakauye
       2017).

       ICE responded to the public outcry for its visits to courthouses in January 2018 by issuing new formal
       guidance detailing the circumstances under which agents may enter courthouses to pursue and arrest
       unauthorized immigrants (Rosenberg 2018). It was an addition to ICE’s “sensitive locations” policy,
       which did not originally include courthouses (Quesenberry 2017). The new guidance on ICE operations
       in courthouses allows ICE to continue targeting unauthorized immigrants in courthouses but narrows
       the scope of its operations. The policy states ICE should make arrests “discreetly to minimize their
       impact on court proceedings” and “generally avoid” making arrests in noncriminal courts. It also states
       that ICE enforcement actions will focus on “targeted aliens with criminal convictions, gang members,




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       national security or public safety threats, aliens who have been ordered removed from the United States
       but have failed to depart, and aliens who have reentered the country illegally after being removed” and
       that family members or friends of the targeted alien will not be arrested “absent special circumstances,
       such as where the individual poses a threat to public safety or interferes with ICE’s enforcement actions”
       (ICE 2018). The implications of the new ICE policy are ultimately unclear: it is better than the status
       quo—if ICE complies with its terms—but the policy puts no real binding restrictions on ICE agents in
       courthouses, nor does it create a private right of action for individuals to sue ICE if agents fail to comply
       with it (Hallman 2018; Martelle 2018).




       ICE agents have also shown up twice at DLSE labor dispute proceedings in California, seeking to arrest
       unauthorized immigrant workers who brought claims against their employers. The agents “arrived [at
       DLSE] within a half hour of when the meetings with employers were supposed to begin,” according to
       Labor Commissioner Julie Su (Kitroeff 2017). The Los Angeles Times reporter who broke this story
       pointed out that “the timing of wage hearings isn’t public, and generally the worker and employer are the
       only ones who know that information outside of the agency.” This suggests the employers may have
       notified ICE about their workers’ unauthorized status and called ICE to inform them where the workers
       would be at the time of the meeting in the labor commissioner’s office. Commissioner Su elaborated
       further, noting that “we should not enable unscrupulous employers who use immigration status as a
       vulnerability to retaliate unlawfully against a worker who is seeking our protection”—which is what
       results if ICE agents are able to operate freely in DLSE offices where workers are seeking redress for
       wage theft and other workplace violations. These incidents led to a memo being sent to state officials
       “instructing staff members to refuse entry to ICE agents who visit its offices to apprehend immigrants
       who are in the country without authorization” (Kitroeff 2017). Commissioner Su told the Los Angeles
       Times in January 2018 that ICE agents have not returned since the two incidents that were reported in
       the Los Angeles Times in August of 2017 (Khouri 2018). However, there is no agreement between ICE
       and the California state government, nor is there any ICE policy statement or regulation, that would
       prevent ICE agents from attempting to enter state offices to pursue and arrest unauthorized immigrants.




       ICE arrests or attempted arrests at government offices and courthouses undermine a key element of
       American democracy and the ability of the government and the U.S. judicial system to protect residents
       from abuses by corporations, employers, or other private individuals. If immigrants do not feel safe and
       are too afraid to attend mediated discussions with employers in government offices or to visit
       courtrooms in order to seek protection or testify against someone who has harmed them or stolen their
       wages, the only beneficiaries will be criminals and lawbreaking employers. The impact of this is not
       theoretical. For example, in Denver, prosecutors were forced to drop four domestic violence cases




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       because the victims were too afraid to testify in court for fear of deportation (Stern 2017). And a
       nationwide survey from the Tahirih Justice Center found that three out of four advocates “report[ed]
       that immigrant survivors have concerns about going to court for a matter related to the abuser/offender”
       (Tahirih 2017). Workers who have been the victims of wage theft and other workplace violations or
       retaliation may similarly fear visiting government offices or courthouses in person to hold their
       employers accountable.

       A number of state laws that are often referred to as “sanctuary” laws have been passed and enacted in
       California to help protect the rights of immigrants and unauthorized immigrants, including SB 54, the
       Values Act; AB 4, the TRUST Act; and AB 2792, the TRUTH Act.19 Since many of the provisions in
       sanctuary laws are not focused on issues related to labor violations that affect immigrant workers
       (rather, they primarily outline the conduct required of state and local law enforcement vis-à-vis federal
       immigration enforcement authorities), these provisions are not discussed in depth in this report. One
       provision in SB 54, however—which was signed into law in 2017 and went into effect on January 1,
       2018—may have a significant impact on the ability of unauthorized immigrant workers to be able to
       access the court system and labor agencies in order to seek redress for workplace violations, such as
       wage theft, that they have suffered at the hands of employers.

       SB 54 adds a new provision, numbered 7284.8, to Chapter 17.25 of Division 7 of Title 1 of California’s
       Government Code, which reads:

            The Attorney General, by October 1, 2018, in consultation with the appropriate stakeholders, shall
            publish model policies limiting assistance with immigration enforcement to the fullest extent
            possible consistent with federal and state law at public schools, public libraries, health facilities
            operated by the state or a political subdivision of the state, courthouses, Division of Labor
            Standards Enforcement facilities, the Agricultural Labor Relations Board, the Division of Workers
            Compensation, and shelters, and ensuring that they remain safe and accessible to all California
            residents, regardless of immigration status. All public schools, health facilities operated by the
            state or a political subdivision of the state, and courthouses shall implement the model policy, or
            an equivalent policy. The Agricultural Labor Relations Board, the Division of Workers’
            Compensation, the Division of Labor Standards Enforcement, shelters, libraries, and all other
            organizations and entities that provide services related to physical or mental health and wellness,
            education, or access to justice, including the University of California, are encouraged to adopt the
            model policy.

       The state attorney general’s new model policies “limiting assistance with immigration enforcement to
       the fullest extent possible,” which will be published by the fall of 2018 and must be implemented by
       courthouses, have the potential—if adhered to—to provide unauthorized immigrant workers with greater
       certainty that ICE agents will not be present in courtrooms and create a safer environment for workers
       to access the legal system and obtain due process. The same goes for DLSE offices if DLSE adopts the
       model policies, which it will have the option to do.




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       It is unclear so far what substantive provisions the state attorney general’s model policies will contain,
       but one piece of proposed legislation from State Senator Ricardo Lara may provide a hint (Ulloa 2018).
       Senator Lara’s legislation, SB 183 (which passed the California State Senate in January 2018), would
       prohibit officials at California schools, courthouses, and other state buildings from allowing federal
       immigration authorities to enter the premises “to perform surveillance, effectuate an arrest, or question
       an individual therein, without a valid federal warrant.” In addition, the activities of officials who possess
       a federal warrant and enter one of the listed locations in the bill “shall be limited to the individual who is
       subject of the warrant.”20 It is also unclear whether the attorney general’s guidelines could go as far as
       SB 183 by strictly prohibiting access to courthouses without a warrant, but they are nevertheless likely to
       be a massive improvement on the status quo.




       The Trump administration ushered in a new immigration enforcement regime in 2017 that has broken
       with the latter years of the Obama administration. The Obama administration had adhered to a
       prioritization scheme it had developed for the removal of unauthorized immigrants, focusing on those
       with criminal records and recent arrivals (DHS 2014). The Trump administration’s cancellation of the
       Obama DHS’s removal priorities (reflected in Trump’s January 2017 Executive Order on interior
       enforcement [White House 2017]), along with the stated priorities of Acting ICE Director Tom Homan,
       represent a shift toward an increased focus on federal immigration enforcement in the interior of the
       United States.

       As ICE ramps up its enforcement under Trump’s and Homan’s leadership, we are likely to see many
       more worksite raids and audits, as well as more removals of unauthorized immigrants, regardless of the
       extent of their ties to the United States and regardless of whether they have a clean criminal record. 21 At
       the same time, complaints by immigrant workers who say “their bosses are threatening to have them
       deported” are on the rise (Khouri 2018). It’s possible that the Trump administration’s statements and
       actions and a simultaneous increase in worker complaints about deportation threats are not a
       coincidence, since employers who have unauthorized immigrant employees may be emboldened to use
       an increase in immigration enforcement as a tool to keep wages low and workers in fear of reporting
       legal violations to labor standards enforcement agencies (Mansfield 2017).

       Numerous members of the Trump administration, including President Trump himself and U.S. Attorney
       General Jeff Sessions, have expressed their displeasure with California’s immigration policies and
       sanctuary laws (Fuller and Yee 2018; Koseff 2018). On March 6, 2018, the U.S. Department of Justice
       (DOJ) filed a complaint against California Governor Jerry Brown and Attorney General Xavier Becerra
       in federal district court, seeking to overturn three California laws related to immigration on
       constitutional grounds (Benner and Medina 2018), including two of the laws discussed in this report, AB




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       450 and SB 54, claiming that they interfere with federal immigration enforcement efforts and conflict
       with federal law. The dispute between the federal and California governments is likely to take months, if
       not years, to resolve, and it is far too early to make predictions about the outcome.

       California’s laws intended to protect unauthorized workers from retaliation and other abuses based on
       immigration status are relatively new innovations; together, they constitute a groundbreaking
       experiment that has the capability to reduce some of the inherent vulnerabilities workers face when they
       are employed without work authorization. California’s efforts in this area are especially valuable in an
       era of increased immigration enforcement at the federal level.

       While it is too early to judge the success of California’s laws that protect immigrant workers—or to guess
       how the DOJ’s lawsuit against California will be resolved—these laws are a promising beginning for
       addressing immigration-related labor standards issues and reveal a willingness on the part of the
       California legislature and the Brown administration to think outside the box in order to grapple with a
       new, ramped-up version of immigration enforcement during the Trump era. Other states should follow
       California’s lead and innovate with new laws that protect workers from retaliation, wage theft, and other
       workplace abuses that are facilitated by virtue of their immigration status—and then enforce those laws
       vigorously.




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       skilled migration, immigrant workers’ rights, and forced migration, including refugee and asylum issues
       and the global migration crisis. He has testified on immigration before the U.S. Congress, has been
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       have appeared in various publications. He received his LL.M in International and Comparative Law
       from Georgetown University and his J.D. in International Law from Syracuse University.




       1. State labor laws and the federal Fair Labor Standards Act do not distinguish between workers by immigration




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           status.

       2. The share of unauthorized immigrants in California’s labor force has declined to 9.0 percent in 2014 from 9.7
         percent in 2010 (Passel and Cohn 2011).

       3. See, for example, Greenhouse and Yaccino 2012.

       4. The text of these bills is available at leginfo.legislature.ca.gov: AB-263 Employment: retaliation:
         immigration-related practices (2013–2014); SB-666 Employment: retaliation (2013–2014);
         AB-524 Immigrants: extortion (2013–2014); AB-2751 Retaliation (2013–2014).

       5. For more on E-Verify, see the “E-Verify” webpage on the U.S. Citizenship and Immigration Services website at
         www.uscis.gov/e-verify.

       6. For more background on reporting a labor violation in California, see DLSE 2014.

       7. For more background on filing a retaliation complaint in California, see DLSE 2013.

       8. For more background and information about retaliation complaints and investigations, see the “Retaliation
         Complaint Investigation Unit (RCI)” webpage on the California Labor Commissioner’s Office website at
         www.dir.ca.gov/dlse/dlseRetaliation.html.

       9. Conversation between the author and California Labor Commissioner Julie Su.

       10. SB-1001 Employment: unfair practices (2015–2016) (text available at leginfo.legislature.ca.gov).

       11. AB-622 Employment: E-Verify system: unlawful business practices (2015–2016) (text available at
         leginfo.legislature.ca.gov).

       12. AB-450 Employment regulation: immigration worksite enforcement actions (2017–2018) (text
         available at leginfo.legislature.ca.gov).

       13. For more background on I-9 forms, see the “I-9, Employment Eligibility Verification” webpage on the U.S.
         Citizenship and Immigration Services website at www.uscis.gov/i-9.

       14. For more background on AB 450 and the definition of “nonpublic areas of a place of labor,” see California Labor
         Commissioner and California Attorney General 2017.

       15. See 8 C.F.R. § 274a.2. Verification of identity and employment authorization.

       16. “Constructive knowledge” means the employer has positive information such as a notice from DHS that an
         employee is not authorized to work. For a further discussion of constructive knowledge in the employment
         context, see Aramark Facility Svs. v. SEIU Local 1877, No. 06-56662 (9th Cir. June 16, 2008).

       17. For example, when an employee is reinstated after being suspended or disciplined, he or she is continuing
         employment and is not considered a new hire. For a further discussion about employment verification and
         determining whether an employee is continuing employment or is a new hire, see Santillan v. USA Waste of
         California, Inc., No. 15-55238 (9th Cir. April 7, 2017) (discussing 8 C.F.R. § 274a.2).




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       18. See, for example, García Hernández 2017, Queally 2017, Meltzer 2017, Hurowitz and de la Hoz 2017, World staff
         2017, and Coll 2017.

       19. The text of these bills is available at leginfo.legislature.ca.gov: SB-54 Law enforcement: sharing data
         (2017–2018); AB-4 State government: federal immigration policy enforcement (2013–2014);
         AB-2792 Local law enforcement agencies: federal immigration policy enforcement: ICE access
         (2015–2016). For additional background, see the ICE Out of California website at www.iceoutofca.org.

       20. SB-183 State buildings: federal immigration agents (2017–2018) (text available at
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       21. The most recent data on I-9 audits shows that the number of audits increased only slightly in fiscal 2017
         compared with fiscal 2016, from 1,279 to 1,360 (Francis 2018). However, fiscal 2017 included the final four
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       See related work on Immigration | Wage hour and safety laws

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FOOTNOTE 33




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                                                                                     FACT SHEET | MARCH 2019




Billions Are Lost to Wage Theft
Every Year—New Jersey Must Act to
Protect Workers’ Paychecks and
Level Playing Field for Employers
More money is lost every year to wage theft than to shoplifting, resulting in billions of dollars in
losses to the economy and wreaking havoc in the lives of millions of workers. The failure to
enforce wage laws encourages unscrupulous employers to exploit workers in low-wage jobs,
unwittingly subsidizing abusive business models at the expense of honest, law-abiding
employers. According to an analysis by the Economic Policy Institute of existing survey data,
an estimated $15 billion is lost just to minimum wage violations every year.

States and cities have been starting to fight back with improved enforcement measures and
dedicating more resources to ensure that workers are compensated for the hard work they do.
New Jersey legislators are currently considering Senate bill S1790/A2903, which would
strengthen protections for workers in several ways—increasing the penalties that wage
violators face (including escalating penalties for repeat violators), providing liquidated
damages worth 200 percent of unpaid wages, providing remedies for workers who are
retaliated against for filing complaints, and allowing for community-based organizations to do
outreach in support of enforcement. With New Jersey’s minimum wage set to increase to $15 by
2024, it is crucial that these gains are not siphoned off by employer wage theft, which has been
called a “national emergency.”

Workers Lose Billions Every Year to Wage Theft in the United States
Every year, workers lose billions to wage theft. The Economic Policy Institute studied survey
data in the ten largest states (representing over half of the country’s working population)
and found that $8 billion had been lost to wage theft resulting just from minimum wage
violations (not counting overtime and other violations).1 Adjusted for the entire country,
that would mean $15 billion is lost to wage theft every year, more than the $14.7 billion that
is estimated to be lost to shoplifting. 2 For the average worker, that can be thousands of
dollars lost each year—money that could go towards paying rent, buying clothes and food
for children, making necessary repairs to cars, and spending money in the local economy.
Workers who experience wage theft are also more likely to be living in poverty and reliant
on public assistance to make ends meet. 3

Wage theft occurs when workers do not receive their promised and legally required wages.
It can result from various different violations: Failure to pay minimum wage or overtime,


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           asking workers to work off the clock, meal break violations, illegal deductions, tipped
           minimum wage violations, and employee misclassification. 4 And yet wage theft receives far
           less attention from the media and law enforcement, partly because employers have a great
           deal more power and influence with lawmakers. The problem is so acute that M. Patricia
           Smith, NELP senior counsel and the former Solicitor of the federal Department of Labor,
           called wage theft an “epidemic” and a “national emergency” in a recent op-ed in The
           American Prospect.5 Good Jobs First and Jobs with Justice found that since 2000, from large
           employers alone, $9.2 billion in penalties had been collected—clearly only a fraction of
           annual losses due to wage theft. 6


Table 1. 2.4 million workers lose $8 billion annually to minimum wage violations in 10 most populous states
                                                  Share of                                Average
                    Total number      Workers     eligible     Average      Average        annual        Share of       Total earned
                    of minimum-      suffering      low-        weekly       weekly        under-         earned        annual wages
                    wage-eligible      wage        wage         under-       wages       payment if       wages          not paid to
                    workers          violations   workers      payment      received      full-year      not paid         workers
Total                 59,014,000
California            14,569,000      590,000       19.2%         $64         $224          $3,400        22.3%         $1,979,000,000
Florida                5,515,000      404,000       24.9%         $54         $213          $2,800        20.1%         $1,124,000,000
Georgia                3,769,000       82,000       9.4%          $71         $203          $3,700        25.9%         $301,000,000
Illinois               5,185,000      243,000       22.1%         $53         $205          $2,800        20.6%         $675,000,000
Michigan               2,861,000      130,000       17.2%         $63         $169          $3,300        27.3%         $429,000,000
New York               6,047,000      300,000       19.4%         $62         $210          $3,200        22.8%         $965,000,000
North                  3,111,000       84,000       12.3%         $72         $179          $3,800        28.8%         $316,000,000
Carolina
Ohio                   3,915,000      217,000       22.7%         $53         $185          $2,800        22.4%         $601,000,000
Pennsylvania           4,299,000      107,000       10.4%         $80         $164          $4,200        32.9%         $448,000,000
Texas                  9,743,000      265,000       10.8%         $85         $182          $4,400        31.7%         $1,165,000,000
Note: Full-year annual wages are calculated by multiplying weekly wages by 52 weeks per year. Numbers may not add due to
rounding. Shares are computed based on unrounded numbers. “Eligible low-wage workers” includes all minimum-wage-eligible
workers in the bottom quintile of wage earners in each state. New Jersey was not included in this survey but table is provided as
indication of scope of issue in states with large populations.
Source: EPI analysis of Current Population Survey Outgoing Rotation Group data, 2013–2015


           S1790/A2903 Would Strengthen Protections for Workers Who Are
           Cheated Out of Their Paychecks by Unscrupulous Employers
           New Jersey legislators are in the process of considering a bill, S1790/A2903, that could
           vastly improve workers’ chances of recovering unpaid wages and deter dishonest actors
           from taking advantage of workers in low-wage jobs who are ill-equipped to fight powerful,
           deep-pocketed employers.7 The bill would make several important changes in the law that
           would help to bring New Jersey in line with surrounding states, by removing obstacles to
           workers filing complaints and increasing penalties for employers who evade the law.
           Workers would now be able to file a complaint with the Department of Labor and Workforce
           Development if they experienced retaliation for exercising their right to complain about



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unpaid wages. In the event of a finding of unpaid wages, workers would be able to receive
200 percent of the amount of unpaid wages in liquidated damages.
At present, the law is skewed towards employers, making it difficult for employees to speak
up for fear of retaliation. These and other provisions would give workers better standing to
pursue justice and ensure that law-abiding employers are not disadvantaged by employers
who rely on abusive business models to pay their employees less than they are owed.

S1970/A2903 Helps Businesses by Leveling the Playing Field – Weak
Enforcement Rewards Unscrupulous Employers and Skews Competition
Too often, unscrupulous businesses try to gain an advantage over law-abiding employers by
exploiting workers, knowing that the likelihood that they will get caught – or even that an
employee will speak out – may be small. Underpaying workers has sadly become the
business model for too many irresponsible companies. That means that employers paying
higher wages and providing decent working conditions may bear a higher cost for operating
ethically and within the law. The result is that economic competition, particularly in
industries with tight profit margins, is often skewed in favor of those businesses willing to
skirt the law by underpaying their employees when they see the risk as small.

S1970 helps to change that by raising the costs of illegal practices. Good employers would no
longer be disadvantaged by a weak law that rewards non-compliance. Better enforcement
is, in other words, good for business. Nor would those same unprincipled employers be
able any longer to pass on the costs of their dodgy business practices to society, in the form
of employees’ greater reliance on public benefits, decreased purchasing power, the costs of
legal enforcement itself, and a weaker, lower-wage economy. Leveling the playing field will
strengthen New Jersey’s economy and bring it in line with regional leaders.


Wage Theft Hurts the Most Vulnerable Workers, Further Destabilizing
Those Who Rely the Most on Their Paychecks to Survive
Wage theft is a crime of opportunity, most often found in industries with high concentrations
of workers in low-wage jobs who, living paycheck to paycheck, are especially vulnerable to
retaliation. A 2009 landmark study, “Broken Laws, Unprotected Workers” of thousands of
workers in low-wage jobs in New York, Chicago, and Los Angeles found that two-thirds had
been the victim of wage theft in their previous work week, including 76% who were not paid
required overtime, and a quarter who were not even paid the minimum wage.8 One recent
survey of fast food workers in the ten most populous U.S. metropolitan areas found that 9
out of 10 had been victims of wage theft. 9

Immigrants and workers of colors, who are overrepresented in low-wage industries like
food services and retail, are particularly vulnerable to wage theft.10 The Broken Laws study
found that 37 percent of undocumented immigrants surveyed reported being victims of
wage theft, comparted to 24 percent of immigrants with work authorization, and 16 percent
of U.S.-born workers.11 The current federal administration’s callous and xenophobic policies
have only engendered more fear among immigrant communities.




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Retaliation Against Workers Who Speak Up About Stolen Wages Is
Rampant and Must Be Curbed to Ensure Effective Enforcement
Too many workers fear speaking up or filing a complaint about wage theft because of how
rampant retaliation is, compounding the problem and allowing unscrupulous employers to
go undetected, sometimes for years. Retaliation against workers who assert their rights is a
significant challenge for the enforcement of employment laws. Termination, hours reduction,
and harassment are just a few of the tools that employers use to retaliate against workers
who speak up for their rights, wreaking havoc on their lives and making it even harder for
them to cover their bills. Last month, the National Employment Law Project, the Center for
Popular Democracy, SEIU 32BJ, and Fast Food Justice released a report with the results of a
survey of 539 New York City fast food workers, finding that fifty percent had lost a job
because their employers had made conditions intolerable. 12

A forthcoming analysis by NELP of retaliation laws across the country finds that New Jersey
is among a third tier of states that provide some process for wage recovery, yet still falls
short of truly protecting workers.13 At present, New Jersey does allow workers to file private
lawsuits for retaliation.14 However, workers who make a complaint for retaliation with the
state’s Commissioner of Labor do not have a clear right to recover damages, likely leading
most workers to find legal representation in an environment that is increasingly hostile for
workers in low-wage jobs seeking their day in court, thanks to numerous setbacks at the U.S.
Supreme Court and elsewhere.15 As NELP noted in its Winning Wage Justice report: “The high
cost of legal representation is a significant barrier to workers achieving redress for wage
theft by means of a lawsuit.”16

Workers need and deserve retaliation protection laws that both contain the essential
elements for adequate compensation and deterrence and that do not place the burden
exclusively on workers to ensure employer compliance with the law.

Conclusion and Recommendations
Wage theft is an endemic problem in our society, costing billions every year to workers and
the economy. Experience and research have shown that some businesses come to rely on it
as almost part of their business model. The result is an uneven playing field for law-abiding
businesses and havoc in the lives of working people who depend on their paychecks to
survive. New Jersey can improve its ability to combat wage theft by approving S1790/
A2903, a measure that will bring the state’s laws in line with the most advanced states in
fighting wage theft.




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9. Hart Research Associates, “Key Findings for Survey of Fast Food workers,” April 1, 2014.
10. Cooper, op. cit.
11. Bernhardt, op. cit.
12. National Employment Law Project et al, “Fired on a Whim: The Precarious Existence of Fast Food
   Workers,” February 13, 2019.
13. Forthcoming NELP analysis.
14. See N.J. Stat. Ann. § 34:19-3; N.J. Stat. Ann. § 34:19-5.
15. See N.J. Stat. Ann. § 34:11-56a24.
16. National Employment Law Project, “Winning Wage Justice: An Advocate’s guide to State and City
  Policies to Fight Wage Theft,” January 2011.




NELP | S1790/A2903 WOULD PROTECT NEW JERSEY’S WORKERS FROM WAGE THEFT | MARCH 2019                        5
                                                                                                       AR004400
FOOTNOTE 42




              AR004401
11/7/2019                                                  New Jersey - Locations - New American Economy




                                                                                                                 

        Select Location           ▾

       Overview
       Demographics
       Entrepreneurship
       Taxes & Spending Power
       Workforce
       Science, Technology, Engineering, and Math
       Healthcare
       Housing
       International Students
       Voting Power
       Undocumented Immigrants
       The DACA-Eligible Population
       Temporary Protected Status Holders

       Share:




https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                           AR004402   1/22
11/7/2019                                                      New Jersey - Locations - New American Economy




       Immigrants and the economy in:

       New Jersey                        Choose a District ▾


       Immigrant Residents
       2,048,953

       Immigrant Share of Population
       22.8%

       Immigrant Taxes Paid
       $24.2B

       Immigrant Spending Power
       $60.9B

https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                               AR004403   2/22
11/7/2019                                                          New Jersey - Locations - New American Economy




       Immigrant Entrepreneurs
       121,459

       Employees at Immigrant-Owned Firms
       389,580



       Demographics
       In the United States, immigrants are more likely to be working-age than their U.S.-born counterparts. This means they are more likely to be
       active in the labor force, allowing them to contribute to the economy not only as consumers but also as taxpayers, helping fund social services
       and programs like Medicare and Social Security.


       Age Group
       0-15

       Foreign-Born Population Share
       5.0%
       U.S.-Born Population Share
       23.5%




https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                      AR004404           3/22
11/7/2019                                                          New Jersey - Locations - New American Economy


       Age Group
       16-64

       Foreign-Born Population Share
       79.1%
       U.S.-Born Population Share
       60.8%

       Age Group
       65+

       Foreign-Born Population Share
       16.0%
       U.S.-Born Population Share
       15.6%


            SHARE DEMOGRAPHICS




       Entrepreneurship
       It is hard to overstate the importance of entrepreneurship since new businesses are the main driver of job growth in the United States.
       Immigrants play a particularly important role in this—founding businesses at far higher rates than the U.S. population overall. Today, millions
       of American workers are employed at immigrant-founded and immigrant-owned companies.




https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                      AR004405           4/22
11/7/2019                                                             New Jersey - Locations - New American Economy



       People employed by immigrant-owned firms

       389,580

       Immigrant entrepreneurs

       121,459

       Total sales of immigrant-owned firms

       $63.8B

            This British Immigrant Entrepreneur Calls Immigration “The Ultimate Entrepreneurial Act”




            SHARE ENTREPRENEURSHIP




       Taxes & Spending Power
       Immigrant households contribute hundreds of billions of dollars in federal income, state, and local taxes nationwide and hold a tremendous
       amount of spending power. This gives them significant economic clout, helping support local communities as consumers and taxpayers. Like
       all residents in the United States regardless of where they were born, immigrants make use of public services like education, healthcare, and
       public safety. Even with these costs, however, immigrants’ economic contributions far outweigh the extra cost of additional public services
       they incur.




https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                     AR004406          5/22
11/7/2019                                                          New Jersey - Locations - New American Economy



       Immigrant Household Income

       $85.1B

       Taxes Paid

       $24.2B

       — State & Local Taxes

       $7.4B

       — Federal Taxes

       $16.8B

       Total Spending Power

       $60.9B

       Net economic benefit of immigrants

       $9.7B

            Hispanic Chamber of Commerce Chairman Explains Why Immigrant Entrepreneurs Help New Jersey Make $10 Billion Each Year




https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                    AR004407   6/22
11/7/2019                                                          New Jersey - Locations - New American Economy




            SHARE TAXES & SPENDING POWER




       Workforce
       The growth in the immigrant population has helped to strengthen America’s labor force. As baby boomers retire, younger immigrants are filling
       crucial gaps in the market. Nationally, immigrants are more likely to hold an advanced degree than the U.S.-born. They are also more likely to
       have less than a high school education. Uniquely, this allows them to fill critical shortages at both ends of the skill spectrum, from high-tech
       fields to agriculture, hospitality, and service industries.



       Educational Attainment by Nativity, Age 25+

       Workforce Education
       Less Than High School
       Foreign-Born Population
       17.7%
       U.S.-Born Population
       6.5%




https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                     AR004408             7/22
11/7/2019                                                  New Jersey - Locations - New American Economy


       Workforce Education
       High School & Some College

       Foreign-Born Population
       42.2%
       U.S.-Born Population
       53.9%

       Workforce Education
       Bachelor's Degree
       Foreign-Born Population
       23.1%

       U.S.-Born Population
       24.7%

       Workforce Education
       Graduate Degree
       Foreign-Born Population
       17.0%
       U.S.-Born Population
       14.9%


       Top Industries with Highest Share of Foreign-Born Workers


https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                           AR004409   8/22
11/7/2019                                                  New Jersey - Locations - New American Economy



       Drycleaning and laundry services

       69.3%

       Nail salons and other personal care services

       64.2%

       Private households

       60.3%

       Taxi and limousine service

       59.3%

       Not specified manufacturing industries

       56.3%


       Top Occupations with Highest Share of Foreign-Born Workers

       Maids and Housekeeping Cleaners

       71.7%


https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                           AR004410   9/22
11/7/2019                                                          New Jersey - Locations - New American Economy



       Software Developers, Applications and Systems Software

       61.6%

       Packers and Packagers, Hand

       61.5%

       Computer Programmers

       58.2%

       Other production workers including semiconductor processors and cooling and freezing
       equipment operators

       55.6%


            SHARE WORKFORCE




       Science, Technology, Engineering, and Math
       Jobs in fields related to science, technology, engineering, and math—or “STEM”—fields are some of the most productive jobs in the U.S.
       economy. These jobs are also expected to experience some of the highest growth rates in the next decade, second only to healthcare jobs.
       While immigrants already play a huge part in maintaining the United States’ role as a leading innovator, they will also be instrumental in
       helping high-tech industries meet their full potential as their needs for high-skilled STEM workers increase rapidly in the future.

https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                     AR004411       10/22
11/7/2019                                                          New Jersey - Locations - New American Economy


       STEM workers who are immigrants

       42.9%


            SHARE SCIENCE, TECHNOLOGY, ENGINEERING, AND MATH




       Healthcare
       As millions of baby boomers become elderly, the U.S. healthcare system is facing unprecedented demand, adding jobs faster than any other
       segment of the economy. Many healthcare businesses and providers are struggling with finding enough workers, and in some rural areas,
       shortages are particularly acute. Immigrants have already been filling some of our most glaring healthcare needs. They are twice as likely as the
       U.S.-born to work as home health aides, but also twice as likely to be physicians and surgeons.


       Nurses who are foreign-born

       30.3%

       Health aides who are foreign-born

       45.7%


            SHARE HEALTHCARE




https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                      AR004412             11/22
11/7/2019                                                         New Jersey - Locations - New American Economy

       Housing
       Immigrant families have long played an important role helping to build housing wealth in the United States. In recent decades, the more than
       40 million immigrants collectively in the country increased U.S. housing wealth by $3.7 trillion. Much of this was possible because immigrants
       moved into neighborhoods once in decline, helping to revitalize communities and make them more attractive to U.S.-born residents.


       Immigrant homeowners

       423,133

       Share of recent homebuyers who were foreign-born

       26.4%

       Housing wealth held by immigrant households

       $175.1B

       Amount paid by immigrant-led households in rent

       $6.2B


            SHARE HOUSING




       International Students

https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                    AR004413            12/22
11/7/2019                                                           New Jersey - Locations - New American Economy

       International students in the United States contribute tens of billions of dollars to the U.S. economy every year and support a significant
       number of U.S. jobs through their tuition payments and day-to-day spending. Research has also found that increases in the number of
       international students at American universities boost innovation and patent creation.


       Students at New Jersey colleges and universities who are international students

       5.0%

       Economic contribution of international students

       $823.7M

       Jobs supported by international students

       9,993


            SHARE INTERNATIONAL STUDENTS




       Voting Power
       As more immigrants naturalize and become eligible to vote, they continue to gain power at the voting booth. The number of immigrant voters
       is only projected to rise in the next decade, but already in some states, foreign-born voters are already capable of deciding elections.




https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                        AR004414     13/22
11/7/2019                                                        New Jersey - Locations - New American Economy

       Immigrants eligible to vote

       1,077,966


            SHARE VOTING POWER




       Undocumented Immigrants
       The presence of the significant number of undocumented immigrants in the United States, the vast majority of whom have lived in the country
       for more than five years, poses many legal and political challenges. But while politicians continue to debate what to do about illegal
       immigration without any resolution, millions of undocumented immigrants are working across the country, collectively contributing billions to
       the U.S. economy.


       Undocumented immigrants

       500,567

       Share of undocumented immigrants, working age

       86.5%

       Undocumented Entrepreneurs

       26,245



https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                   AR004415            14/22
11/7/2019                                                              New Jersey - Locations - New American Economy



       Undocumented Household Income

       $11.3B

       Taxes Paid

       $1.5B

       — State & Local Taxes

       $505.0M

       — Federal Taxes

       $955.0M

       Total Spending Power

       $9.8B

            Deportation and Lack of Occupational Licensing Takes Toll on Families and the Economy




                       Immigrants and Labor Unions are “Natural Allies,” According to Cornell Union Leadership Institute Co-Director




https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                       AR004416   15/22
11/7/2019                                                         New Jersey - Locations - New American Economy




            SHARE UNDOCUMENTED IMMIGRANTS




       The DACA-Eligible Population
       DACA-eligible people contribute billions of dollars to the U.S. economy. Clawing back the protections aﬀorded to DACA recipients will likely
       upset local economies, communities, and schools, hurting employers and businesses dependent these young immigrants as workers and
       customers.


       Number of DACA Eligible Residents

       47,511

       Share of DACA Eligible Population in Labor Force that is Employed

       94.1%

       DACA-Eligible Household Income

       $910.6M

       Taxes Paid

       $157.8M


https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                    AR004417          16/22
11/7/2019                                                            New Jersey - Locations - New American Economy



       — State & Local Taxes

       $68.2M

       — Federal Taxes

       $89.7M

       Total Spending Power

       $752.7M


            SHARE THE DACA-ELIGIBLE POPULATION




       Temporary Protected Status Holders
       Recipients of Temporary Protected Status (TPS) have made enormous contributions to various industries and paid a significant amount in
       federal, state, and local taxes in the United States. Forcing them to leave the country not only risks putting these individuals in danger, but also
       threatens significant disruption to local economies.


       Number of TPS Holders

       14,765



https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                                         AR004418             17/22
11/7/2019                                                  New Jersey - Locations - New American Economy



       Share of TPS Holders, Working Age

       97.0%

       Share of TPS Holders in Labor Force, Employed

       92.9%

       TPS Holders' Household Income

       $350.7M

       Taxes Paid

       $76.8M

       — State & Local Taxes

       $44.7M

       — Federal Taxes

       $32.1M

       Total Spending Power

       $273.9M
https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                           AR004419   18/22
11/7/2019                                                  New Jersey - Locations - New American Economy




            SHARE TEMPORARY PROTECTED STATUS HOLDERS




       Issue: All


       Type: All

       Explore Key Issues in: New Jersey
       View All States & Districts
       23 Results

       Feature                                                              Feature
       New Jersey                                                           New Jersey

       The Philadelphia Inquirer Opinion: A long walk                       USA Today Opinion: Why voters abandoned
       to a new life: Ragged sneakers remind Cherry…                        anti-immigrant Republicans: Coleman




       Video                                                                Video
       New Jersey                                                           New Jersey

       Watch: U.S. Senator Cory Booker Joins the                            Watch: Jason Groupp’s Reason for Reform
       iMarch



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11/7/2019                                                  New Jersey - Locations - New American Economy


       Video                                                                Feature
       New Jersey                                                           New Jersey

       Watch: Elizabeth Lewis’ Reason for Reform




                                                                            Meet the New Jersey Entrepreneur Helping 90,000 Children Eat
                                                                            Healthier



       Feature                                                              Feature
       New Jersey                                                           New Jersey

       Colombian-American Student Helps U.S.                                Bangladeshi Uses an Overseas Education to
       Immigrants Gain Acceptance                                           Fight for Worker Rights in U.S.




       Feature                                                              Feature
       New Jersey                                                           New Jersey


https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                             AR004421      20/22
11/7/2019                                                  New Jersey - Locations - New American Economy

       A Stowaway’s Son Uses Business Acumen to                             Rather Than Innovate in U.S., Foreign Students
       Help New Jersey Elders                                               Now Consider Leaving



       Feature                                                              Feature
       New Jersey                                                           New Jersey

       Smuggled Across the Border, Mexican                                  New Jersey Town Re-elects — and Re-elects
       Entrepreneur a Testament to Hard Work                                and Re-elects — its Muslim Immigrant Mayor




              Prev                                                 1         2                                      Next




       About NAE


       New American Economy is a bipartisan research and advocacy organization fighting for smart federal, state,
       and local immigration policies that help grow our economy and create jobs for all Americans. More…




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11/7/2019                                                         New Jersey - Locations - New American Economy



       The Latest


       OCTOBER 30, 2019

       New Data Shows Cedar Rapids’ Immigrants Accounted for Nearly Half of the County’s Total
       Population Growth


       OCTOBER 18, 2019

       New American Economy on the RELIEF Act of 2019


       OCTOBER 17, 2019

       New American Economy and the Tennessee Immigrant and Refugee Rights Coalition launch the
       Nashville New American Festival



                                                           How does NAE define an immigrant?

                                                                        Learn More




https://www.newamericaneconomy.org/locations/new-jersey/
                                                                                                                  AR004423   22/22
FOOTNOTE 43




              AR004424
11/7/2019                                                  California - Locations - New American Economy




                                                                                                                 

         Select Location           ▾

        Overview
        Demographics
        Entrepreneurship
        Taxes & Spending Power
        Workforce
        Science, Technology, Engineering, and Math
        Healthcare
        Housing
        International Students
        Voting Power
        Undocumented Immigrants
        The DACA-Eligible Population
        Temporary Protected Status Holders

        Share:




https://www.newamericaneconomy.org/locations/california/
                                                                                                           AR004425   1/23
11/7/2019                                                  California - Locations - New American Economy




        Immigrants and the economy in:

        California                   Choose a District ▾


        Immigrant Residents
        10,620,982

        Immigrant Share of Population
        26.9%

        Immigrant Taxes Paid
        $105.1B

        Immigrant Spending Power
        $282.8B

https://www.newamericaneconomy.org/locations/california/
                                                                                                           AR004426   2/23
11/7/2019                                                            California - Locations - New American Economy




        Immigrant Entrepreneurs
        818,323

        Employees at Immigrant-Owned Firms
        1,893,843



        Demographics
        In the United States, immigrants are more likely to be working-age than their U.S.-born counterparts. This means they are more likely to be
        active in the labor force, allowing them to contribute to the economy not only as consumers but also as taxpayers, helping fund social services
        and programs like Medicare and Social Security.


        Age Group
        0-15

        Foreign-Born Population Share
        3.1%
        U.S.-Born Population Share
        26.6%




https://www.newamericaneconomy.org/locations/california/
                                                                                                                                       AR004427           3/23
11/7/2019                                                            California - Locations - New American Economy


        Age Group
        16-64

        Foreign-Born Population Share
        79.3%
        U.S.-Born Population Share
        60.8%

        Age Group
        65+

        Foreign-Born Population Share
        17.6%
        U.S.-Born Population Share
        12.6%

            Watch: Jason Aguilar’s Reason for Reform




            SHARE DEMOGRAPHICS




        Entrepreneurship
        It is hard to overstate the importance of entrepreneurship since new businesses are the main driver of job growth in the United States.
        Immigrants play a particularly important role in this—founding businesses at far higher rates than the U.S. population overall. Today, millions
        of American workers are employed at immigrant-founded and immigrant-owned companies.

https://www.newamericaneconomy.org/locations/california/
                                                                                                                                       AR004428           4/23
11/7/2019                                                           California - Locations - New American Economy



        People employed by immigrant-owned firms

        1,893,843

        Immigrant entrepreneurs

        818,323

        Total sales of immigrant-owned firms

        $310.0B

            Watch: Venky Ganesan’s Reason for Reform




                        Read: Indian Immigrant Starts New VC Fund




            SHARE ENTREPRENEURSHIP




        Taxes & Spending Power
        Immigrant households contribute hundreds of billions of dollars in federal income, state, and local taxes nationwide and hold a tremendous
        amount of spending power. This gives them significant economic clout, helping support local communities as consumers and taxpayers. Like
        all residents in the United States regardless of where they were born, immigrants make use of public services like education, healthcare, and

https://www.newamericaneconomy.org/locations/california/
                                                                                                                                      AR004429          5/23
11/7/2019                                                           California - Locations - New American Economy

        public safety. Even with these costs, however, immigrants’ economic contributions far outweigh the extra cost of additional public services
        they incur.


        Immigrant Household Income

        $387.9B

        Taxes Paid

        $105.1B

        — State & Local Taxes

        $31.5B

        — Federal Taxes

        $73.5B

        Total Spending Power

        $282.8B

        Net economic benefit of immigrants

        $38.7B

            Watch: Jasmine Martinez’s Reason for Reform

https://www.newamericaneconomy.org/locations/california/
                                                                                                                                      AR004430        6/23
11/7/2019                                                           California - Locations - New American Economy




            SHARE TAXES & SPENDING POWER




        Workforce
        The growth in the immigrant population has helped to strengthen America’s labor force. As baby boomers retire, younger immigrants are filling
        crucial gaps in the market. Nationally, immigrants are more likely to hold an advanced degree than the U.S.-born. They are also more likely to
        have less than a high school education. Uniquely, this allows them to fill critical shortages at both ends of the skill spectrum, from high-tech
        fields to agriculture, hospitality, and service industries.



        Educational Attainment by Nativity, Age 25+

        Workforce Education
        Less Than High School
        Foreign-Born Population
        32.3%
        U.S.-Born Population
        7.7%




https://www.newamericaneconomy.org/locations/california/
                                                                                                                                      AR004431             7/23
11/7/2019                                                  California - Locations - New American Economy


        Workforce Education
        High School & Some College

        Foreign-Born Population
        38.7%
        U.S.-Born Population
        56.1%

        Workforce Education
        Bachelor's Degree
        Foreign-Born Population
        17.8%

        U.S.-Born Population
        22.9%

        Workforce Education
        Graduate Degree
        Foreign-Born Population
        11.3%
        U.S.-Born Population
        13.3%


        Top Industries with Highest Share of Foreign-Born Workers


https://www.newamericaneconomy.org/locations/california/
                                                                                                           AR004432   8/23
11/7/2019                                                  California - Locations - New American Economy



        Cut and sew apparel manufacturing

        74.8%

        Crop production

        68.0%

        Private households

        67.8%

        Landscaping services

        67.3%

        Support activities for agriculture and forestry

        66.3%


        Top Occupations with Highest Share of Foreign-Born Workers

        Sewing Machine Operators

        86.0%


https://www.newamericaneconomy.org/locations/california/
                                                                                                           AR004433   9/23
11/7/2019                                                             California - Locations - New American Economy



        Maids and Housekeeping Cleaners

        81.1%

        Graders and Sorters, Agricultural Products

        80.6%

        Agricultural workers, nec

        77.7%

        Personal Appearance Workers, nec

        72.3%

            Read: Immigrant Chef Brings New Food to Central CA




                        Watch: Kyle Cherryholmes’ Reason for Reform




            SHARE WORKFORCE




https://www.newamericaneconomy.org/locations/california/
                                                                                                                      AR004434   10/23
11/7/2019                                                            California - Locations - New American Economy

        Science, Technology, Engineering, and Math
        Jobs in fields related to science, technology, engineering, and math—or “STEM”—fields are some of the most productive jobs in the U.S.
        economy. These jobs are also expected to experience some of the highest growth rates in the next decade, second only to healthcare jobs.
        While immigrants already play a huge part in maintaining the United States’ role as a leading innovator, they will also be instrumental in
        helping high-tech industries meet their full potential as their needs for high-skilled STEM workers increase rapidly in the future.


        STEM workers who are immigrants

        40.4%

            Read: Immigrants Help Start Ups Make Billions




                        Watch: Tim Wong’s Reason for Reform




            SHARE SCIENCE, TECHNOLOGY, ENGINEERING, AND MATH




        Healthcare
        As millions of baby boomers become elderly, the U.S. healthcare system is facing unprecedented demand, adding jobs faster than any other
        segment of the economy. Many healthcare businesses and providers are struggling with finding enough workers, and in some rural areas,
        shortages are particularly acute. Immigrants have already been filling some of our most glaring healthcare needs. They are twice as likely as the
        U.S.-born to work as home health aides, but also twice as likely to be physicians and surgeons.




https://www.newamericaneconomy.org/locations/california/
                                                                                                                                       AR004435             11/23
11/7/2019                                                           California - Locations - New American Economy



        Nurses who are foreign-born

        35.6%

        Health aides who are foreign-born

        43.7%


            SHARE HEALTHCARE




        Housing
        Immigrant families have long played an important role helping to build housing wealth in the United States. In recent decades, the more than
        40 million immigrants collectively in the country increased U.S. housing wealth by $3.7 trillion. Much of this was possible because immigrants
        moved into neighborhoods once in decline, helping to revitalize communities and make them more attractive to U.S.-born residents.


        Immigrant homeowners

        2,093,481

        Share of recent homebuyers who were foreign-born

        29.8%


        Housing wealth held by immigrant households
https://www.newamericaneconomy.org/locations/california/
                                                                                                                                     AR004436            12/23
11/7/2019                                                             California - Locations - New American Economy




        $1.4T

        Amount paid by immigrant-led households in rent

        $34.6B


            SHARE HOUSING




        International Students
        International students in the United States contribute tens of billions of dollars to the U.S. economy every year and support a significant
        number of U.S. jobs through their tuition payments and day-to-day spending. Research has also found that increases in the number of
        international students at American universities boost innovation and patent creation.


        Students at California colleges and universities who are international students

        5.2%

        Economic contribution of international students

        $6.6B




https://www.newamericaneconomy.org/locations/california/
                                                                                                                                         AR004437     13/23
11/7/2019                                                           California - Locations - New American Economy



        Jobs supported by international students

        74,086

            Read: Immigrant Entrepreneur May Take His Business Abroad




            SHARE INTERNATIONAL STUDENTS




        Voting Power
        As more immigrants naturalize and become eligible to vote, they continue to gain power at the voting booth. The number of immigrant voters
        is only projected to rise in the next decade, but already in some states, foreign-born voters are already capable of deciding elections.


        Immigrants eligible to vote

        5,296,146


            SHARE VOTING POWER




        Undocumented Immigrants


https://www.newamericaneconomy.org/locations/california/
                                                                                                                                  AR004438           14/23
11/7/2019                                                          California - Locations - New American Economy

        The presence of the significant number of undocumented immigrants in the United States, the vast majority of whom have lived in the country
        for more than five years, poses many legal and political challenges. But while politicians continue to debate what to do about illegal
        immigration without any resolution, millions of undocumented immigrants are working across the country, collectively contributing billions to
        the U.S. economy.


        Undocumented immigrants

        2,171,155

        Share of undocumented immigrants, working age

        92.2%

        Undocumented Entrepreneurs

        174,769

        Undocumented Household Income

        $48.6B

        Taxes Paid

        $5.9B

        — State & Local Taxes

        $2.0B
https://www.newamericaneconomy.org/locations/california/
                                                                                                                                    AR004439            15/23
11/7/2019                                                           California - Locations - New American Economy




        — Federal Taxes

        $3.9B

        Total Spending Power

        $42.7B

            Watch: Juan-Daniel Espitia’s Reason for Reform




                        Watch: Raquel Toledo’s Reason for Reform




            SHARE UNDOCUMENTED IMMIGRANTS




        The DACA-Eligible Population
        DACA-eligible people contribute billions of dollars to the U.S. economy. Clawing back the protections aﬀorded to DACA recipients will likely
        upset local economies, communities, and schools, hurting employers and businesses dependent these young immigrants as workers and
        customers.




https://www.newamericaneconomy.org/locations/california/
                                                                                                                                     AR004440          16/23
11/7/2019                                                  California - Locations - New American Economy



        Number of DACA Eligible Residents

        287,971

        Share of DACA Eligible Population in Labor Force that is Employed

        93.3%

        Number of DACA-Eligible Entrepreneurs

        8,789

        DACA-Eligible Household Income

        $5.9B

        Taxes Paid

        $999.9M

        — State & Local Taxes

        $418.6M

        — Federal Taxes

        $581.3M
https://www.newamericaneconomy.org/locations/california/
                                                                                                           AR004441   17/23
11/7/2019                                                             California - Locations - New American Economy



        Total Spending Power

        $4.9B


            SHARE THE DACA-ELIGIBLE POPULATION




        Temporary Protected Status Holders
        Recipients of Temporary Protected Status (TPS) have made enormous contributions to various industries and paid a significant amount in
        federal, state, and local taxes in the United States. Forcing them to leave the country not only risks putting these individuals in danger, but also
        threatens significant disruption to local economies.


        Number of TPS Holders

        57,554

        Share of TPS Holders, Working Age

        97.0%

        Share of TPS Holders in Labor Force, Employed

        93.5%



https://www.newamericaneconomy.org/locations/california/
                                                                                                                                          AR004442             18/23
11/7/2019                                                  California - Locations - New American Economy



        TPS Holders' Household Income

        $1.2B

        Taxes Paid

        $257.2M

        — State & Local Taxes

        $152.6M

        — Federal Taxes

        $104.6M

        Total Spending Power

        $988.0M


            SHARE TEMPORARY PROTECTED STATUS HOLDERS




        Issue: All


        Type: All
https://www.newamericaneconomy.org/locations/california/
                                                                                                           AR004443   19/23
11/7/2019                                                  California - Locations - New American Economy

        Explore Key Issues in: California
        View All States & Districts
        171 Results

        Press Release                                                       Press Release
        California                                                          California

        No Immigrants No Spice and New American                             New data shows San Jose’s immigrant
        Economy Host “BBQ Without Borders” in                               household income increased by more than $4
        Oakland, California                                                 billion in…



        Feature                                                             Feature
        California                                                          California

        The Los Angeles Daily News Opinion: The                             The U.S. Needs Science Teachers — Ending the
        continuing cost of the Trump Muslim ban                             H-4 EAD Pushes This One Out




        Feature                                                             Feature
        California                                                          California

        Times of San Diego Opinion: Trump’s Border                          St. Louis Tribune Commentary: Two years after
        Wall Fixation Drives Voters Away from GOP                           Muslim ban, Utah remains a bright spot of…



https://www.newamericaneconomy.org/locations/california/
                                                                                                             AR004444       20/23
11/7/2019                                                  California - Locations - New American Economy



        Feature                                                             Feature
        California                                                          California


        Los Angeles Daily News Opinion: Two years
        later, the continuing cost of the Muslim ban




                                                                            Salvadorian Immigrant Gives Back through Community Leadership



        Feature                                                             Feature
        California                                                          California




https://www.newamericaneconomy.org/locations/california/
                                                                                                                            AR004445        21/23
11/7/2019                                                              California - Locations - New American Economy

        After a Career in Computer Science, Cambodian Immigrant Focuses on              Mexican Immigrant Turns a Single Taqueria into a $25M Restaurant
        Community                                                                       Group



        Video                                                                           Video
        California                                                                      California

        Watch: Dean Saunders’ Reason for Reform                                         Watch: Tayde Aburto’s Reason for Reform




              Prev                            1            2   3   4    5          6         7          8         9    …    15                   Next




        About NAE


        New American Economy is a bipartisan research and advocacy organization fighting for smart federal, state,
        and local immigration policies that help grow our economy and create jobs for all Americans. More…



        The Latest


https://www.newamericaneconomy.org/locations/california/
                                                                                                                                          AR004446         22/23
11/7/2019                                                         California - Locations - New American Economy

        OCTOBER 30, 2019

        New Data Shows Cedar Rapids’ Immigrants Accounted for Nearly Half of the County’s Total
        Population Growth


        OCTOBER 18, 2019

        New American Economy on the RELIEF Act of 2019


        OCTOBER 17, 2019

        New American Economy and the Tennessee Immigrant and Refugee Rights Coalition launch the
        Nashville New American Festival



                                                           How does NAE define an immigrant?

                                                                        Learn More




https://www.newamericaneconomy.org/locations/california/
                                                                                                                  AR004447   23/23
FOOTNOTE 44




              AR004448
11/7/2019                                                Michigan - Locations - New American Economy




                                                                                                             

        Select Location          ▾

       Overview
       Demographics
       Entrepreneurship
       Taxes & Spending Power
       Workforce
       Science, Technology, Engineering, and Math
       Healthcare
       Housing
       International Students
       Voting Power
       Undocumented Immigrants
       The DACA-Eligible Population

       Share:




https://www.newamericaneconomy.org/locations/michigan/
                                                                                                       AR004449   1/22
11/7/2019                                                Michigan - Locations - New American Economy




       Immigrants and the economy in:

       Michigan                   Choose a District ▾


       Immigrant Residents
       705,183

       Immigrant Share of Population
       7.1%

       Immigrant Taxes Paid
       $6.7B

       Immigrant Spending Power
       $18.2B

https://www.newamericaneconomy.org/locations/michigan/
                                                                                                       AR004450   2/22
11/7/2019                                                           Michigan - Locations - New American Economy




       Immigrant Entrepreneurs
       33,713

       Employees at Immigrant-Owned Firms
       167,079



       Demographics
       In the United States, immigrants are more likely to be working-age than their U.S.-born counterparts. This means they are more likely to be
       active in the labor force, allowing them to contribute to the economy not only as consumers but also as taxpayers, helping fund social services
       and programs like Medicare and Social Security.


       Age Group
       0-15

       Foreign-Born Population Share
       6.8%
       U.S.-Born Population Share
       20.0%




https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                      AR004451           3/22
11/7/2019                                                           Michigan - Locations - New American Economy


       Age Group
       16-64

       Foreign-Born Population Share
       78.1%
       U.S.-Born Population Share
       63.1%

       Age Group
       65+

       Foreign-Born Population Share
       15.1%
       U.S.-Born Population Share
       16.8%


            SHARE DEMOGRAPHICS




       Entrepreneurship
       It is hard to overstate the importance of entrepreneurship since new businesses are the main driver of job growth in the United States.
       Immigrants play a particularly important role in this—founding businesses at far higher rates than the U.S. population overall. Today, millions
       of American workers are employed at immigrant-founded and immigrant-owned companies.




https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                      AR004452           4/22
11/7/2019                                                             Michigan - Locations - New American Economy



       People employed by immigrant-owned firms

       167,079

       Immigrant entrepreneurs

       33,713

       Total sales of immigrant-owned firms

       $27.3B

            In Immigrants, Michigan’s Business Community Sees a Way to Grow the Economy, Says Entrepreneur




                       US Immigration System Isn’t Designed for Competition in a Globalized Marketplace, Warns Immigrant CEO of Mavin Global




            SHARE ENTREPRENEURSHIP




       Taxes & Spending Power
       Immigrant households contribute hundreds of billions of dollars in federal income, state, and local taxes nationwide and hold a tremendous
       amount of spending power. This gives them significant economic clout, helping support local communities as consumers and taxpayers. Like
       all residents in the United States regardless of where they were born, immigrants make use of public services like education, healthcare, and

https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                       AR004453        5/22
11/7/2019                                                               Michigan - Locations - New American Economy

       public safety. Even with these costs, however, immigrants’ economic contributions far outweigh the extra cost of additional public services
       they incur.


       Immigrant Household Income

       $24.9B

       Taxes Paid

       $6.7B

       — State & Local Taxes

       $1.9B

       — Federal Taxes

       $4.8B

       Total Spending Power

       $18.2B

       Net economic benefit of immigrants

       $1.9B

            This Immigrant is Bringing Billions in Investments and Tens of Thousands of Jobs to Michigan

https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                     AR004454        6/22
11/7/2019                                                            Michigan - Locations - New American Economy




                       Why Republican Governor Rick Snyder Calls Immigrants “Job Generators”




            SHARE TAXES & SPENDING POWER




       Workforce
       The growth in the immigrant population has helped to strengthen America’s labor force. As baby boomers retire, younger immigrants are filling
       crucial gaps in the market. Nationally, immigrants are more likely to hold an advanced degree than the U.S.-born. They are also more likely to
       have less than a high school education. Uniquely, this allows them to fill critical shortages at both ends of the skill spectrum, from high-tech
       fields to agriculture, hospitality, and service industries.



       Educational Attainment by Nativity, Age 25+

       Workforce Education
       Less Than High School
       Foreign-Born Population
       20.6%
       U.S.-Born Population
       8.1%



https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                     AR004455             7/22
11/7/2019                                                Michigan - Locations - New American Economy

       Workforce Education
       High School & Some College

       Foreign-Born Population
       38.0%
       U.S.-Born Population
       64.0%

       Workforce Education
       Bachelor's Degree
       Foreign-Born Population
       20.2%
       U.S.-Born Population
       17.1%

       Workforce Education
       Graduate Degree

       Foreign-Born Population
       21.2%
       U.S.-Born Population
       10.8%


       Top Industries with Highest Share of Foreign-Born Workers


https://www.newamericaneconomy.org/locations/michigan/
                                                                                                       AR004456   8/22
11/7/2019                                                Michigan - Locations - New American Economy


       Computer systems design and related services

       25.8%

       Nail salons and other personal care services

       22.5%

       Warehousing and storage

       21.3%

       Services incidental to transportation

       16.1%

       Colleges, universities, and professional schools

       15.5%


       Top Occupations with Highest Share of Foreign-Born Workers

       Software Developers, Applications and Systems Software

       38.4%


https://www.newamericaneconomy.org/locations/michigan/
                                                                                                       AR004457   9/22
11/7/2019                                                               Michigan - Locations - New American Economy


       Physicians and Surgeons

       26.3%

       Mechanical Engineers

       25.8%

       Computer Programmers

       25.6%

       Postsecondary Teachers

       22.6%

            Cherry Farm’s Ad for American Workers Fails to Get a Single Reply




                       Watch: Steve Bardenhagen’s Reason for Reform




            SHARE WORKFORCE




       Science, Technology, Engineering, and Math
https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                      AR004458   10/22
11/7/2019                                                           Michigan - Locations - New American Economy

       Jobs in fields related to science, technology, engineering, and math—or “STEM”—fields are some of the most productive jobs in the U.S.
       economy. These jobs are also expected to experience some of the highest growth rates in the next decade, second only to healthcare jobs.
       While immigrants already play a huge part in maintaining the United States’ role as a leading innovator, they will also be instrumental in
       helping high-tech industries meet their full potential as their needs for high-skilled STEM workers increase rapidly in the future.


       STEM workers who are immigrants

       18.5%

            Miss Michigan 2016 Just Happens to Be an Automotive Designer–and a Chinese Immigrant




            SHARE SCIENCE, TECHNOLOGY, ENGINEERING, AND MATH




       Healthcare
       As millions of baby boomers become elderly, the U.S. healthcare system is facing unprecedented demand, adding jobs faster than any other
       segment of the economy. Many healthcare businesses and providers are struggling with finding enough workers, and in some rural areas,
       shortages are particularly acute. Immigrants have already been filling some of our most glaring healthcare needs. They are twice as likely as the
       U.S.-born to work as home health aides, but also twice as likely to be physicians and surgeons.


       Nurses who are foreign-born

       8.1%




https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                      AR004459             11/22
11/7/2019                                                          Michigan - Locations - New American Economy



       Health aides who are foreign-born

       5.9%


            SHARE HEALTHCARE




       Housing
       Immigrant families have long played an important role helping to build housing wealth in the United States. In recent decades, the more than
       40 million immigrants collectively in the country increased U.S. housing wealth by $3.7 trillion. Much of this was possible because immigrants
       moved into neighborhoods once in decline, helping to revitalize communities and make them more attractive to U.S.-born residents.


       Immigrant homeowners

       181,647

       Share of recent homebuyers who were foreign-born

       8.2%

       Housing wealth held by immigrant households

       $44.7B



https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                    AR004460            12/22
11/7/2019                                                             Michigan - Locations - New American Economy

       Amount paid by immigrant-led households in rent

       $1.2B


            SHARE HOUSING




       International Students
       International students in the United States contribute tens of billions of dollars to the U.S. economy every year and support a significant
       number of U.S. jobs through their tuition payments and day-to-day spending. Research has also found that increases in the number of
       international students at American universities boost innovation and patent creation.


       Students at Michigan colleges and universities who are international students

       5.6%

       Economic contribution of international students

       $1.2B

       Jobs supported by international students

       14,385

            Immigration Policy Has a Real Impact on Employers’ Bottom Lines in Michigan Says Immigration Lawyer



https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                        AR004461     13/22
11/7/2019                                                            Michigan - Locations - New American Economy



                       Founder of Aspiring Americans Wants to Help Other Undocumented Students Excel




            SHARE INTERNATIONAL STUDENTS




       Voting Power
       As more immigrants naturalize and become eligible to vote, they continue to gain power at the voting booth. The number of immigrant voters
       is only projected to rise in the next decade, but already in some states, foreign-born voters are already capable of deciding elections.


       Immigrants eligible to vote

       330,524


            SHARE VOTING POWER




       Undocumented Immigrants
       The presence of the significant number of undocumented immigrants in the United States, the vast majority of whom have lived in the country
       for more than five years, poses many legal and political challenges. But while politicians continue to debate what to do about illegal
       immigration without any resolution, millions of undocumented immigrants are working across the country, collectively contributing billions to
       the U.S. economy.


https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                   AR004462            14/22
11/7/2019                                                Michigan - Locations - New American Economy



       Undocumented immigrants

       136,158

       Share of undocumented immigrants, working age

       84.7%

       Undocumented Household Income

       $2.8B

       Taxes Paid

       $352.6M

       — State & Local Taxes

       $114.8M

       — Federal Taxes

       $237.8M

       Total Spending Power

       $2.4B
https://www.newamericaneconomy.org/locations/michigan/
                                                                                                       AR004463   15/22
11/7/2019                                                           Michigan - Locations - New American Economy


            One of Western Michigan’s Most Respected Lawyers Says Deporting Undocumented Immigrants Will Hurt American Workers




                       Watch: Saleem Usmani’s Reason for Reform




            SHARE UNDOCUMENTED IMMIGRANTS




       The DACA-Eligible Population
       DACA-eligible people contribute billions of dollars to the U.S. economy. Clawing back the protections aﬀorded to DACA recipients will likely
       upset local economies, communities, and schools, hurting employers and businesses dependent these young immigrants as workers and
       customers.


       Number of DACA Eligible Residents

       11,747

       Share of DACA Eligible Population in Labor Force that is Employed

       97.0%




https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                    AR004464          16/22
11/7/2019                                                Michigan - Locations - New American Economy



       DACA-Eligible Household Income

       $201.9M

       Taxes Paid

       $32.6M

       — State & Local Taxes

       $14.4M

       — Federal Taxes

       $18.2M

       Total Spending Power

       $169.3M


            SHARE THE DACA-ELIGIBLE POPULATION




       Issue: All


       Type: All
https://www.newamericaneconomy.org/locations/michigan/
                                                                                                       AR004465   17/22
11/7/2019                                                          Michigan - Locations - New American Economy

       Explore Key Issues in: Michigan
       View All States & Districts
       71 Results

       Feature                                                                     Feature
       Michigan                                                                    Michigan




       Immigrant Entrepreneur Opens Doors for Innovation and Design in             Immigrant Engineer Driven By a Call to Serve His Country and
       Wayne County                                                                Community



       Press Release                                                               Press Release
       Michigan                                                                    Michigan

       New Data: Wayne County Immigrants                                           New Report Shows Immigrants in Genesee
       Contributed More Than $10.5B to GDP                                         County Paid More than $100 Million in Taxes
                                                                                   in…



https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                       AR004466   18/22
11/7/2019                                                                Michigan - Locations - New American Economy


       Feature
       Michigan                                                                          Feature
                                                                                         Michigan




       Immigrant Entrepreneur Helps the City of Flint Pilots Soar with                   Immigrant Opens Family-Centered Daycare for Flint Families
       Innovative Training Programs



       Press Release                                                                     Video
       Michigan                                                                          Michigan

       Launch of Looking for America: Detroit, part of                                   Baobab Fare: The Fighter & The Hustler
       a new dialogue and art initiative that…




       Press Release                                                                     Press Release
       Michigan                                                                          Michigan

       New data shows immigrants in Detroit paid                                         New data shows Grand Rapids’ immigrants
https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                            AR004467   19/22
11/7/2019                                                        Michigan - Locations - New American Economy

       more than $4.4 billion in taxes in 2017,…                                 earned close to $2 billion in household income
                                                                                 in…


       In the News                                                               Press Release
       Michigan                                                                  Michigan

       Grand Rapids Business Journal: Report
       documents immigrant contributions




                                                                                 Foreign-Born Residents Contributed $3.3 Billion to Kent County GDP in
                                                                                 2016




              Prev                                       1   2          3         4         5         6                                     Next




       About NAE
https://www.newamericaneconomy.org/locations/michigan/
                                                                                                                                     AR004468            20/22
11/7/2019                                                       Michigan - Locations - New American Economy




       New American Economy is a bipartisan research and advocacy organization fighting for smart federal, state,
       and local immigration policies that help grow our economy and create jobs for all Americans. More…



       The Latest


       OCTOBER 30, 2019

       New Data Shows Cedar Rapids’ Immigrants Accounted for Nearly Half of the County’s Total
       Population Growth


       OCTOBER 18, 2019

       New American Economy on the RELIEF Act of 2019


       OCTOBER 17, 2019

       New American Economy and the Tennessee Immigrant and Refugee Rights Coalition launch the
       Nashville New American Festival



                                                         How does NAE define an immigrant?

                                                                     Learn More


https://www.newamericaneconomy.org/locations/michigan/
                                                                                                              AR004469   21/22
11/7/2019                                                Michigan - Locations - New American Economy




https://www.newamericaneconomy.org/locations/michigan/
                                                                                                       AR004470   22/22
FOOTNOTE 45




              AR004471
11/7/2019                                                Illinois - Locations - New American Economy




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         Select Location           ▾

        Overview
        Demographics
        Entrepreneurship
        Taxes & Spending Power
        Workforce
        Science, Technology, Engineering, and Math
        Healthcare
        Housing
        International Students
        Voting Power
        Undocumented Immigrants
        The DACA-Eligible Population

        Share:




https://www.newamericaneconomy.org/locations/illinois/
                                                                                                       AR004472   1/21
11/7/2019                                                Illinois - Locations - New American Economy




        Immigrants and the economy in:

        Illinois            Choose a District ▾


        Immigrant Residents
        1,824,508

        Immigrant Share of Population
        14.3%

        Immigrant Taxes Paid
        $17.6B

        Immigrant Spending Power
        $46.6B

https://www.newamericaneconomy.org/locations/illinois/
                                                                                                       AR004473   2/21
11/7/2019                                                             Illinois - Locations - New American Economy




        Immigrant Entrepreneurs
        118,055

        Employees at Immigrant-Owned Firms
        390,685



        Demographics
        In the United States, immigrants are more likely to be working-age than their U.S.-born counterparts. This means they are more likely to be
        active in the labor force, allowing them to contribute to the economy not only as consumers but also as taxpayers, helping fund social services
        and programs like Medicare and Social Security.


        Age Group
        0-15

        Foreign-Born Population Share
        3.3%
        U.S.-Born Population Share
        22.7%




https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                                       AR004474           3/21
11/7/2019                                                               Illinois - Locations - New American Economy


        Age Group
        16-64

        Foreign-Born Population Share
        81.0%
        U.S.-Born Population Share
        62.2%

        Age Group
        65+

        Foreign-Born Population Share
        15.7%
        U.S.-Born Population Share
        15.1%

            Watch: Cliﬀ Williams’ Reason for Reform




                        Read: Immigrants Teach the Value of Community




            SHARE DEMOGRAPHICS




https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                      AR004475   4/21
11/7/2019                                                             Illinois - Locations - New American Economy

        Entrepreneurship
        It is hard to overstate the importance of entrepreneurship since new businesses are the main driver of job growth in the United States.
        Immigrants play a particularly important role in this—founding businesses at far higher rates than the U.S. population overall. Today, millions
        of American workers are employed at immigrant-founded and immigrant-owned companies.


        People employed by immigrant-owned firms

        390,685

        Immigrant entrepreneurs

        118,055

        Total sales of immigrant-owned firms

        $63.9B

            Read: Real Estate Tycoon, Philanthropist, Immigrant




            SHARE ENTREPRENEURSHIP




        Taxes & Spending Power
        Immigrant households contribute hundreds of billions of dollars in federal income, state, and local taxes nationwide and hold a tremendous
        amount of spending power. This gives them significant economic clout, helping support local communities as consumers and taxpayers. Like
        all residents in the United States regardless of where they were born, immigrants make use of public services like education, healthcare, and
https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                                       AR004476           5/21
11/7/2019                                                            Illinois - Locations - New American Economy

        public safety. Even with these costs, however, immigrants’ economic contributions far outweigh the extra cost of additional public services
        they incur.


        Immigrant Household Income

        $64.1B

        Taxes Paid

        $17.6B

        — State & Local Taxes

        $6.0B

        — Federal Taxes

        $11.5B

        Total Spending Power

        $46.6B

        Net economic benefit of immigrants

        $8.0B

            Watch: Lincoln Lounsbury’s Reason for Reform

https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                                      AR004477        6/21
11/7/2019                                                             Illinois - Locations - New American Economy




                        Read: A Meatpacker with a Master's Degree




            SHARE TAXES & SPENDING POWER




        Workforce
        The growth in the immigrant population has helped to strengthen America’s labor force. As baby boomers retire, younger immigrants are filling
        crucial gaps in the market. Nationally, immigrants are more likely to hold an advanced degree than the U.S.-born. They are also more likely to
        have less than a high school education. Uniquely, this allows them to fill critical shortages at both ends of the skill spectrum, from high-tech
        fields to agriculture, hospitality, and service industries.



        Educational Attainment by Nativity, Age 25+

        Workforce Education
        Less Than High School
        Foreign-Born Population
        26.7%
        U.S.-Born Population
        7.3%



https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                                      AR004478             7/21
11/7/2019                                                Illinois - Locations - New American Economy

        Workforce Education
        High School & Some College

        Foreign-Born Population
        41.4%
        U.S.-Born Population
        57.7%

        Workforce Education
        Bachelor's Degree

        Foreign-Born Population
        18.7%
        U.S.-Born Population
        21.5%

        Workforce Education
        Graduate Degree
        Foreign-Born Population
        13.2%

        U.S.-Born Population
        13.5%


        Top Industries with Highest Share of Foreign-Born Workers


https://www.newamericaneconomy.org/locations/illinois/
                                                                                                       AR004479   8/21
11/7/2019                                                Illinois - Locations - New American Economy


        Nail salons and other personal care services

        57.3%

        Animal slaughtering and processing

        53.0%

        Taxi and limousine service

        45.8%

        Services to buildings and dwellings

        45.3%

        Private households

        44.7%


        Top Occupations with Highest Share of Foreign-Born Workers

        Personal Appearance Workers, nec

        69.3%


https://www.newamericaneconomy.org/locations/illinois/
                                                                                                       AR004480   9/21
11/7/2019                                                      Illinois - Locations - New American Economy


        Painters, Construction and Maintenance

        51.5%

        Food preparation and serving related workers, nec

        48.3%

        Maids and Housekeeping Cleaners

        47.7%

        Packaging and Filling Machine Operators and Tenders

        46.9%

            Watch: Eric Wu’s Reason for Reform




                        Read: A Diversity Visa Success Story




            SHARE WORKFORCE




        Science, Technology, Engineering, and Math
https://www.newamericaneconomy.org/locations/illinois/
                                                                                                             AR004481   10/21
11/7/2019                                                             Illinois - Locations - New American Economy

        Jobs in fields related to science, technology, engineering, and math—or “STEM”—fields are some of the most productive jobs in the U.S.
        economy. These jobs are also expected to experience some of the highest growth rates in the next decade, second only to healthcare jobs.
        While immigrants already play a huge part in maintaining the United States’ role as a leading innovator, they will also be instrumental in
        helping high-tech industries meet their full potential as their needs for high-skilled STEM workers increase rapidly in the future.


        STEM workers who are immigrants

        24.1%


            SHARE SCIENCE, TECHNOLOGY, ENGINEERING, AND MATH




        Healthcare
        As millions of baby boomers become elderly, the U.S. healthcare system is facing unprecedented demand, adding jobs faster than any other
        segment of the economy. Many healthcare businesses and providers are struggling with finding enough workers, and in some rural areas,
        shortages are particularly acute. Immigrants have already been filling some of our most glaring healthcare needs. They are twice as likely as the
        U.S.-born to work as home health aides, but also twice as likely to be physicians and surgeons.


        Nurses who are foreign-born

        16.7%

        Health aides who are foreign-born

        15.2%

            Read: A Peoria Doctor Praises Immigrants
https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                                       AR004482             11/21
11/7/2019                                                            Illinois - Locations - New American Economy




            SHARE HEALTHCARE




        Housing
        Immigrant families have long played an important role helping to build housing wealth in the United States. In recent decades, the more than
        40 million immigrants collectively in the country increased U.S. housing wealth by $3.7 trillion. Much of this was possible because immigrants
        moved into neighborhoods once in decline, helping to revitalize communities and make them more attractive to U.S.-born residents.


        Immigrant homeowners

        468,137

        Share of recent homebuyers who were foreign-born

        17.3%

        Housing wealth held by immigrant households

        $132.1B

        Amount paid by immigrant-led households in rent

        $3.7B


https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                                     AR004483            12/21
11/7/2019                                                              Illinois - Locations - New American Economy



            SHARE HOUSING




        International Students
        International students in the United States contribute tens of billions of dollars to the U.S. economy every year and support a significant
        number of U.S. jobs through their tuition payments and day-to-day spending. Research has also found that increases in the number of
        international students at American universities boost innovation and patent creation.


        Students at Illinois colleges and universities who are international students

        5.6%

        Economic contribution of international students

        $1.8B

        Jobs supported by international students

        24,330

            Read: Republican Prof Says Our Economy Needs Immigrants




            SHARE INTERNATIONAL STUDENTS




https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                                         AR004484     13/21
11/7/2019                                                           Illinois - Locations - New American Economy



        Voting Power
        As more immigrants naturalize and become eligible to vote, they continue to gain power at the voting booth. The number of immigrant voters
        is only projected to rise in the next decade, but already in some states, foreign-born voters are already capable of deciding elections.


        Immigrants eligible to vote

        884,726


            SHARE VOTING POWER




        Undocumented Immigrants
        The presence of the significant number of undocumented immigrants in the United States, the vast majority of whom have lived in the country
        for more than five years, poses many legal and political challenges. But while politicians continue to debate what to do about illegal
        immigration without any resolution, millions of undocumented immigrants are working across the country, collectively contributing billions to
        the U.S. economy.


        Undocumented immigrants

        488,873

        Share of undocumented immigrants, working age

        91.7%

https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                                    AR004485            14/21
11/7/2019                                                Illinois - Locations - New American Economy



        Undocumented Entrepreneurs

        27,396

        Undocumented Household Income

        $10.5B

        Taxes Paid

        $1.3B

        — State & Local Taxes

        $539.1M

        — Federal Taxes

        $720.9M

        Total Spending Power

        $9.2B

            Watch: Nancy Long’s Reason for Reform




https://www.newamericaneconomy.org/locations/illinois/
                                                                                                       AR004486   15/21
11/7/2019                                                            Illinois - Locations - New American Economy




            SHARE UNDOCUMENTED IMMIGRANTS




        The DACA-Eligible Population
        DACA-eligible people contribute billions of dollars to the U.S. economy. Clawing back the protections aﬀorded to DACA recipients will likely
        upset local economies, communities, and schools, hurting employers and businesses dependent these young immigrants as workers and
        customers.


        Number of DACA Eligible Residents

        62,511

        Share of DACA Eligible Population in Labor Force that is Employed

        94.1%

        DACA-Eligible Household Income

        $1.2B

        Taxes Paid

        $209.0M


https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                                     AR004487          16/21
11/7/2019                                                Illinois - Locations - New American Economy




        — State & Local Taxes

        $105.9M

        — Federal Taxes

        $103.1M

        Total Spending Power

        $947.9M


            SHARE THE DACA-ELIGIBLE POPULATION




        Issue: All


        Type: All

        Explore Key Issues in: Illinois
        View All States & Districts
        95 Results

        Feature                                                          Feature
        Illinois                                                         Illinois


        Religion News Service Opinion: The refugee                       Crain’s Chicago Business Opinion: Illinois job
https://www.newamericaneconomy.org/locations/illinois/
                                                                                                             AR004488     17/21
11/7/2019                                                Illinois - Locations - New American Economy

        crisis broke my heart, but refugees mended it                    creators need this immigration act now




        Feature                                                          Feature
        Illinois                                                         Illinois


        Chicago Tribune Commentary: I helped                             Communications of the ACM Opinion:
        refugees in Iraq. Now I’m a refugee working in                   Immigrants Help Solve the Looming STEM
        the…                                                             Worker Shortage



        Press Release                                                    Feature
        Illinois                                                         Illinois


        Immigrants Accounted for One-Third of
        Chicago’s Entrepreneurs in 2016




                                                                         After 23 Years of Waiting, Rohingya Refugee Builds New Life in Chicago



https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                             AR004489             18/21
11/7/2019                                                         Illinois - Locations - New American Economy


        Feature                                                                   Feature
        Illinois                                                                  Illinois




        An Indian Entrepreneur’s Unexpected Exercise Innovation                   Chicago Business Leader, Grandson of Italian Immigrant, Advocates for
                                                                                  Restaurant Workers Across Illinois



        In the News                                                               In the News
        Illinois                                                                  Illinois

        The Daily Inni: Champaign County immigration                              WILL: New Report Shows Immigrants
        impact report shows need for inclusive                                    Contribute $1.4 Billion To Champaign County
        community                                                                 Economy



        In the News                                                               In the News
        Illinois                                                                  Illinois

        FOX Illinois: New study shows immigrants                                  The News-Gazette: Immigration panelists:
https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                                     AR004490             19/21
11/7/2019                                                            Illinois - Locations - New American Economy

        contribute $1.4B to Champaign County’s                                       Integration requires bridging culture-shock gap
        economy



               Prev                                      1   2   3         4          5         6          7       8         Next




        About NAE


        New American Economy is a bipartisan research and advocacy organization fighting for smart federal, state,
        and local immigration policies that help grow our economy and create jobs for all Americans. More…



        The Latest


        OCTOBER 30, 2019

        New Data Shows Cedar Rapids’ Immigrants Accounted for Nearly Half of the County’s Total
        Population Growth


        OCTOBER 18, 2019

https://www.newamericaneconomy.org/locations/illinois/
                                                                                                                        AR004491       20/21
11/7/2019                                                        Illinois - Locations - New American Economy

        New American Economy on the RELIEF Act of 2019


        OCTOBER 17, 2019

        New American Economy and the Tennessee Immigrant and Refugee Rights Coalition launch the
        Nashville New American Festival



                                                         How does NAE define an immigrant?

                                                                     Learn More




https://www.newamericaneconomy.org/locations/illinois/
                                                                                                               AR004492   21/21
FOOTNOTE 46




              AR004493
11/7/2019                                              Hawaii - Locations - New American Economy




                                                                                                         

        Select Location           ▾

       Overview
       Demographics
       Entrepreneurship
       Taxes & Spending Power
       Workforce
       Science, Technology, Engineering, and Math
       Healthcare
       Housing
       International Students
       Voting Power
       Undocumented Immigrants
       The DACA-Eligible Population

       Share:




https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                   AR004494   1/20
11/7/2019                                              Hawaii - Locations - New American Economy




       Immigrants and the economy in:

       Hawaii               Choose a District ▾


       Immigrant Residents
       258,997

       Immigrant Share of Population
       18.1%

       Immigrant Taxes Paid
       $2.2B

       Immigrant Spending Power
       $5.8B

https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                   AR004495   2/20
11/7/2019                                                            Hawaii - Locations - New American Economy




       Immigrant Entrepreneurs
       18,698

       Employees at Immigrant-Owned Firms
       42,169



       Demographics
       In the United States, immigrants are more likely to be working-age than their U.S.-born counterparts. This means they are more likely to be
       active in the labor force, allowing them to contribute to the economy not only as consumers but also as taxpayers, helping fund social services
       and programs like Medicare and Social Security.


       Age Group
       0-15

       Foreign-Born Population Share
       3.7%
       U.S.-Born Population Share
       22.6%




https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                                                      AR004496           3/20
11/7/2019                                                            Hawaii - Locations - New American Economy


       Age Group
       16-64

       Foreign-Born Population Share
       73.1%
       U.S.-Born Population Share
       60.9%

       Age Group
       65+

       Foreign-Born Population Share
       23.2%
       U.S.-Born Population Share
       16.6%


            SHARE DEMOGRAPHICS




       Entrepreneurship
       It is hard to overstate the importance of entrepreneurship since new businesses are the main driver of job growth in the United States.
       Immigrants play a particularly important role in this—founding businesses at far higher rates than the U.S. population overall. Today, millions
       of American workers are employed at immigrant-founded and immigrant-owned companies.




https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                                                      AR004497           4/20
11/7/2019                                                           Hawaii - Locations - New American Economy



       People employed by immigrant-owned firms

       42,169

       Immigrant entrepreneurs

       18,698

       Total sales of immigrant-owned firms

       $6.9B

            Read: Immigrant-Run Franchises Rarely Fail




            SHARE ENTREPRENEURSHIP




       Taxes & Spending Power
       Immigrant households contribute hundreds of billions of dollars in federal income, state, and local taxes nationwide and hold a tremendous
       amount of spending power. This gives them significant economic clout, helping support local communities as consumers and taxpayers. Like
       all residents in the United States regardless of where they were born, immigrants make use of public services like education, healthcare, and
       public safety. Even with these costs, however, immigrants’ economic contributions far outweigh the extra cost of additional public services
       they incur.




https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                                                     AR004498          5/20
11/7/2019                                              Hawaii - Locations - New American Economy


       Immigrant Household Income

       $8.0B

       Taxes Paid

       $2.2B

       — State & Local Taxes

       $774.0M

       — Federal Taxes

       $1.5B

       Total Spending Power

       $5.8B

       Net economic benefit of immigrants

       $805.6M


            SHARE TAXES & SPENDING POWER



https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                   AR004499   6/20
11/7/2019                                                           Hawaii - Locations - New American Economy




       Workforce
       The growth in the immigrant population has helped to strengthen America’s labor force. As baby boomers retire, younger immigrants are filling
       crucial gaps in the market. Nationally, immigrants are more likely to hold an advanced degree than the U.S.-born. They are also more likely to
       have less than a high school education. Uniquely, this allows them to fill critical shortages at both ends of the skill spectrum, from high-tech
       fields to agriculture, hospitality, and service industries.



       Educational Attainment by Nativity, Age 25+

       Workforce Education
       Less Than High School

       Foreign-Born Population
       19.8%
       U.S.-Born Population
       4.8%

       Workforce Education
       High School & Some College
       Foreign-Born Population
       53.2%

       U.S.-Born Population
       60.6%



https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                                                     AR004500             7/20
11/7/2019                                              Hawaii - Locations - New American Economy


       Workforce Education
       Bachelor's Degree

       Foreign-Born Population
       18.8%
       U.S.-Born Population
       22.8%

       Workforce Education
       Graduate Degree
       Foreign-Born Population
       8.1%

       U.S.-Born Population
       11.8%


       Top Industries with Highest Share of Foreign-Born Workers

       Traveler accommodation

       38.0%

       Restaurants and other food services

       30.2%


https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                   AR004501   8/20
11/7/2019                                              Hawaii - Locations - New American Economy



       Grocery stores

       26.1%

       Real estate

       25.7%

       Colleges, universities, and professional schools

       23.6%


       Top Occupations with Highest Share of Foreign-Born Workers

       Janitors and Building Cleaners

       41.8%

       Chefs and Cooks

       37.3%

       Cashiers

       31.6%


https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                   AR004502   9/20
11/7/2019                                                           Hawaii - Locations - New American Economy



       Oﬃce Clerks, General

       26.1%

       Accountants and Auditors

       24.7%


            SHARE WORKFORCE




       Science, Technology, Engineering, and Math
       Jobs in fields related to science, technology, engineering, and math—or “STEM”—fields are some of the most productive jobs in the U.S.
       economy. These jobs are also expected to experience some of the highest growth rates in the next decade, second only to healthcare jobs.
       While immigrants already play a huge part in maintaining the United States’ role as a leading innovator, they will also be instrumental in
       helping high-tech industries meet their full potential as their needs for high-skilled STEM workers increase rapidly in the future.


       STEM workers who are immigrants

       19.5%


            SHARE SCIENCE, TECHNOLOGY, ENGINEERING, AND MATH




https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                                                     AR004503       10/20
11/7/2019                                                            Hawaii - Locations - New American Economy


       Healthcare
       As millions of baby boomers become elderly, the U.S. healthcare system is facing unprecedented demand, adding jobs faster than any other
       segment of the economy. Many healthcare businesses and providers are struggling with finding enough workers, and in some rural areas,
       shortages are particularly acute. Immigrants have already been filling some of our most glaring healthcare needs. They are twice as likely as the
       U.S.-born to work as home health aides, but also twice as likely to be physicians and surgeons.


       Nurses who are foreign-born

       23.8%

       Health aides who are foreign-born

       37.8%


            SHARE HEALTHCARE




       Housing
       Immigrant families have long played an important role helping to build housing wealth in the United States. In recent decades, the more than
       40 million immigrants collectively in the country increased U.S. housing wealth by $3.7 trillion. Much of this was possible because immigrants
       moved into neighborhoods once in decline, helping to revitalize communities and make them more attractive to U.S.-born residents.




https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                                                      AR004504             11/20
11/7/2019                                                             Hawaii - Locations - New American Economy

       Immigrant homeowners

       50,033

       Share of recent homebuyers who were foreign-born

       22.3%

       Housing wealth held by immigrant households

       $35.8B

       Amount paid by immigrant-led households in rent

       $613.7M


            SHARE HOUSING




       International Students
       International students in the United States contribute tens of billions of dollars to the U.S. economy every year and support a significant
       number of U.S. jobs through their tuition payments and day-to-day spending. Research has also found that increases in the number of
       international students at American universities boost innovation and patent creation.




https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                                                        AR004505     12/20
11/7/2019                                                          Hawaii - Locations - New American Economy



       Students at Hawaii colleges and universities who are international students

       6.2%

       Economic contribution of international students

       $114.2M

       Jobs supported by international students

       970


            SHARE INTERNATIONAL STUDENTS




       Voting Power
       As more immigrants naturalize and become eligible to vote, they continue to gain power at the voting booth. The number of immigrant voters
       is only projected to rise in the next decade, but already in some states, foreign-born voters are already capable of deciding elections.


       Immigrants eligible to vote

       148,701



https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                                                 AR004506           13/20
11/7/2019                                                          Hawaii - Locations - New American Economy



            SHARE VOTING POWER




       Undocumented Immigrants
       The presence of the significant number of undocumented immigrants in the United States, the vast majority of whom have lived in the country
       for more than five years, poses many legal and political challenges. But while politicians continue to debate what to do about illegal
       immigration without any resolution, millions of undocumented immigrants are working across the country, collectively contributing billions to
       the U.S. economy.


       Undocumented immigrants

       45,473

       Share of undocumented immigrants, working age

       86.1%

       Undocumented Household Income

       $503.0M

       Taxes Paid

       $61.3M


https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                                                   AR004507            14/20
11/7/2019                                                           Hawaii - Locations - New American Economy



       — State & Local Taxes

       $28.4M

       — Federal Taxes

       $32.9M

       Total Spending Power

       $441.8M


            SHARE UNDOCUMENTED IMMIGRANTS




       The DACA-Eligible Population
       DACA-eligible people contribute billions of dollars to the U.S. economy. Clawing back the protections aﬀorded to DACA recipients will likely
       upset local economies, communities, and schools, hurting employers and businesses dependent these young immigrants as workers and
       customers.


       Number of DACA Eligible Residents

       5,035


       DACA-Eligible Household Income
https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                                                    AR004508          15/20
11/7/2019                                              Hawaii - Locations - New American Economy




       $97.5M

       Taxes Paid

       $18.0M

       — State & Local Taxes

       $9.5M

       — Federal Taxes

       $8.4M

       Total Spending Power

       $79.6M


            SHARE THE DACA-ELIGIBLE POPULATION




       Issue: All


       Type: All

       Explore Key Issues in: Hawaii
https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                   AR004509   16/20
11/7/2019                                              Hawaii - Locations - New American Economy

       7 Results
       View All States & Districts

       Video                                                          Video
       Hawaii                                                         Hawaii

       Watch: Eddie Flores’ Reason for Reform                         Watch: Donovan De La Cruz’s Reason for
                                                                      Reform




       Feature                                                        In the News
       Hawaii                                                         Hawaii

       DACA Recipient Wants to Give Her All to Only                   KHon2: Hawaii one of top 10 states benefiting
       Country She Knows                                              economically from immigration




       In the News                                                    Research
       Hawaii                                                         Hawaii


       KHON: Analysis: Hawaii one of top 10 states
       benefiting economically from immigration




https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                         AR004510     17/20
11/7/2019                                                        Hawaii - Locations - New American Economy




                                                                                The Contributions of New Americans in Hawaii



       Feature
       Hawaii




       Successful Foreign-Born CEO Explains Why Immigrant-Run Franchises
       Almost Never Fail




       About NAE

https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                                               AR004511   18/20
11/7/2019                                                      Hawaii - Locations - New American Economy




       New American Economy is a bipartisan research and advocacy organization fighting for smart federal, state,
       and local immigration policies that help grow our economy and create jobs for all Americans. More…



       The Latest


       OCTOBER 30, 2019

       New Data Shows Cedar Rapids’ Immigrants Accounted for Nearly Half of the County’s Total
       Population Growth


       OCTOBER 18, 2019

       New American Economy on the RELIEF Act of 2019


       OCTOBER 17, 2019

       New American Economy and the Tennessee Immigrant and Refugee Rights Coalition launch the
       Nashville New American Festival



                                                       How does NAE define an immigrant?

                                                                   Learn More


https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                           AR004512   19/20
11/7/2019                                              Hawaii - Locations - New American Economy




https://www.newamericaneconomy.org/locations/hawaii/
                                                                                                   AR004513   20/20
FOOTNOTE 47




              AR004514
11/7/2019                                                                        New York - Locations - New American Economy




                                                                                                                                     

        Select Location          ▾

       Overview
       Demographics
       Entrepreneurship
       Taxes & Spending Power
       Workforce
       Science, Technology, Engineering, and Math
       Healthcare
       Housing
       International Students
       Voting Power
       Undocumented Immigrants
       The DACA-Eligible Population
       Temporary Protected Status Holders

       Share:




https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                               AR004515   1/23
11/7/2019                                                                        New York - Locations - New American Economy




       Immigrants and the economy in:

       New York                    Choose a District ▾


       Immigrant Residents
       4,525,241

       Immigrant Share of Population
       22.8%

       Immigrant Taxes Paid
       $51.6B

       Immigrant Spending Power
       $117.8B

https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                               AR004516   2/23
11/7/2019                                                                        New York - Locations - New American Economy




       Immigrant Entrepreneurs
       316,244

       Employees at Immigrant-Owned Firms
       825,557



       Demographics
       In the United States, immigrants are more likely to be working-age than their U.S.-born counterparts. This means they are more likely to be
       active in the labor force, allowing them to contribute to the economy not only as consumers but also as taxpayers, helping fund social services
       and programs like Medicare and Social Security.


       Age Group
       0-15

       Foreign-Born Population Share
       3.9%
       U.S.-Born Population Share
       22.8%




https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                      AR004517           3/23
11/7/2019                                                                        New York - Locations - New American Economy


       Age Group
       16-64

       Foreign-Born Population Share
       77.1%
       U.S.-Born Population Share
       62.1%

       Age Group
       65+

       Foreign-Born Population Share
       18.9%
       U.S.-Born Population Share
       15.1%


            SHARE DEMOGRAPHICS




       Entrepreneurship
       It is hard to overstate the importance of entrepreneurship since new businesses are the main driver of job growth in the United States.
       Immigrants play a particularly important role in this—founding businesses at far higher rates than the U.S. population overall. Today, millions
       of American workers are employed at immigrant-founded and immigrant-owned companies.




https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                      AR004518           4/23
11/7/2019                                                                        New York - Locations - New American Economy



       People employed by immigrant-owned firms

       825,557

       Immigrant entrepreneurs

       316,244

       Total sales of immigrant-owned firms

       $135.1B


            SHARE ENTREPRENEURSHIP




       Taxes & Spending Power
       Immigrant households contribute hundreds of billions of dollars in federal income, state, and local taxes nationwide and hold a tremendous
       amount of spending power. This gives them significant economic clout, helping support local communities as consumers and taxpayers. Like
       all residents in the United States regardless of where they were born, immigrants make use of public services like education, healthcare, and
       public safety. Even with these costs, however, immigrants’ economic contributions far outweigh the extra cost of additional public services
       they incur.


       Immigrant Household Income

       $169.4B

https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                     AR004519          5/23
11/7/2019                                                                        New York - Locations - New American Economy



       Taxes Paid

       $51.6B

       — State & Local Taxes

       $18.5B

       — Federal Taxes

       $33.1B

       Total Spending Power

       $117.8B

       Net economic benefit of immigrants

       $18.1B


            SHARE TAXES & SPENDING POWER




       Workforce

https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                               AR004520   6/23
11/7/2019                                                                        New York - Locations - New American Economy

       The growth in the immigrant population has helped to strengthen America’s labor force. As baby boomers retire, younger immigrants are filling
       crucial gaps in the market. Nationally, immigrants are more likely to hold an advanced degree than the U.S.-born. They are also more likely to
       have less than a high school education. Uniquely, this allows them to fill critical shortages at both ends of the skill spectrum, from high-tech
       fields to agriculture, hospitality, and service industries.



       Educational Attainment by Nativity, Age 25+

       Workforce Education
       Less Than High School
       Foreign-Born Population
       24.6%

       U.S.-Born Population
       8.8%

       Workforce Education
       High School & Some College
       Foreign-Born Population
       44.7%
       U.S.-Born Population
       52.8%




https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                     AR004521             7/23
11/7/2019                                                                        New York - Locations - New American Economy




       Workforce Education
       Bachelor's Degree
       Foreign-Born Population
       17.4%

       U.S.-Born Population
       21.5%

       Workforce Education
       Graduate Degree
       Foreign-Born Population
       13.3%
       U.S.-Born Population
       16.9%


       Top Industries with Highest Share of Foreign-Born Workers

       Taxi and limousine service

       79.1%

       Private households

       66.3%

https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                               AR004522   8/23
11/7/2019                                                                        New York - Locations - New American Economy




       Home health care services

       64.4%

       Cut and sew apparel manufacturing

       61.5%

       Services to buildings and dwellings

       59.9%


       Top Occupations with Highest Share of Foreign-Born Workers

       Taxi Drivers and Chauﬀeurs

       77.0%

       Personal Appearance Workers, nec

       71.0%

       Maids and Housekeeping Cleaners

       64.7%

https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                               AR004523   9/23
11/7/2019                                                                        New York - Locations - New American Economy




       Nursing, Psychiatric, and Home Health Aides

       63.0%

       Construction Laborers

       55.1%

            Upstate, a Fourth Generation Farmer Makes Passionate Plea for Immigration Reform




                       Watch: Derrick De Lise’s Reason for Reform




            SHARE WORKFORCE




       Science, Technology, Engineering, and Math
       Jobs in fields related to science, technology, engineering, and math—or “STEM”—fields are some of the most productive jobs in the U.S.
       economy. These jobs are also expected to experience some of the highest growth rates in the next decade, second only to healthcare jobs.
       While immigrants already play a huge part in maintaining the United States’ role as a leading innovator, they will also be instrumental in
       helping high-tech industries meet their full potential as their needs for high-skilled STEM workers increase rapidly in the future.




https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                     AR004524       10/23
11/7/2019                                                                        New York - Locations - New American Economy

       STEM workers who are immigrants

       26.7%


            SHARE SCIENCE, TECHNOLOGY, ENGINEERING, AND MATH




       Healthcare
       As millions of baby boomers become elderly, the U.S. healthcare system is facing unprecedented demand, adding jobs faster than any other
       segment of the economy. Many healthcare businesses and providers are struggling with finding enough workers, and in some rural areas,
       shortages are particularly acute. Immigrants have already been filling some of our most glaring healthcare needs. They are twice as likely as the
       U.S.-born to work as home health aides, but also twice as likely to be physicians and surgeons.


       Nurses who are foreign-born

       28.0%

       Health aides who are foreign-born

       59.0%


            SHARE HEALTHCARE




https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                      AR004525             11/23
11/7/2019                                                                        New York - Locations - New American Economy

       Housing
       Immigrant families have long played an important role helping to build housing wealth in the United States. In recent decades, the more than
       40 million immigrants collectively in the country increased U.S. housing wealth by $3.7 trillion. Much of this was possible because immigrants
       moved into neighborhoods once in decline, helping to revitalize communities and make them more attractive to U.S.-born residents.


       Immigrant homeowners

       770,781

       Share of recent homebuyers who were foreign-born

       22.4%

       Housing wealth held by immigrant households

       $463.1B

       Amount paid by immigrant-led households in rent

       $17.5B


            SHARE HOUSING




       International Students

https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                    AR004526            12/23
11/7/2019                                                                        New York - Locations - New American Economy

       International students in the United States contribute tens of billions of dollars to the U.S. economy every year and support a significant
       number of U.S. jobs through their tuition payments and day-to-day spending. Research has also found that increases in the number of
       international students at American universities boost innovation and patent creation.


       Students at New York colleges and universities who are international students

       8.2%

       Economic contribution of international students

       $5.0B

       Jobs supported by international students

       58,095

            Immigration Policy Is Preventing This New York Family From Fully Contributing to U.S. Economy




            SHARE INTERNATIONAL STUDENTS




       Voting Power
       As more immigrants naturalize and become eligible to vote, they continue to gain power at the voting booth. The number of immigrant voters
       is only projected to rise in the next decade, but already in some states, foreign-born voters are already capable of deciding elections.




       Immigrants eligible to vote
https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                        AR004527     13/23
11/7/2019                                                                        New York - Locations - New American Economy
       Immigrants eligible to vote

       2,409,827


            SHARE VOTING POWER




       Undocumented Immigrants
       The presence of the significant number of undocumented immigrants in the United States, the vast majority of whom have lived in the country
       for more than five years, poses many legal and political challenges. But while politicians continue to debate what to do about illegal
       immigration without any resolution, millions of undocumented immigrants are working across the country, collectively contributing billions to
       the U.S. economy.


       Undocumented immigrants

       794,832

       Share of undocumented immigrants, working age

       92.3%

       Undocumented Entrepreneurs

       69,280



https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                   AR004528            14/23
11/7/2019                                                                        New York - Locations - New American Economy



       Undocumented Household Income

       $21.5B

       Taxes Paid

       $3.2B

       — State & Local Taxes

       $1.2B

       — Federal Taxes

       $2.0B

       Total Spending Power

       $18.3B


            SHARE UNDOCUMENTED IMMIGRANTS




       The DACA-Eligible Population

https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                               AR004529   15/23
11/7/2019                                                                        New York - Locations - New American Economy

       DACA-eligible people contribute billions of dollars to the U.S. economy. Clawing back the protections aﬀorded to DACA recipients will likely
       upset local economies, communities, and schools, hurting employers and businesses dependent these young immigrants as workers and
       customers.


       Number of DACA Eligible Residents

       76,262

       Share of DACA Eligible Population in Labor Force that is Employed

       93.0%

       Number of DACA-Eligible Entrepreneurs

       2,816

       DACA-Eligible Household Income

       $1.8B

       Taxes Paid

       $359.3M

       — State & Local Taxes

       $156.3M

https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                    AR004530          16/23
11/7/2019                                                                        New York - Locations - New American Economy




       — Federal Taxes

       $203.0M

       Total Spending Power

       $1.4B


            SHARE THE DACA-ELIGIBLE POPULATION




       Temporary Protected Status Holders
       Recipients of Temporary Protected Status (TPS) have made enormous contributions to various industries and paid a significant amount in
       federal, state, and local taxes in the United States. Forcing them to leave the country not only risks putting these individuals in danger, but also
       threatens significant disruption to local economies.


       Number of TPS Holders

       27,347

       Share of TPS Holders, Working Age

       97.0%

https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                         AR004531             17/23
11/7/2019                                                                        New York - Locations - New American Economy



       Share of TPS Holders in Labor Force, Employed

       94.9%

       TPS Holders' Household Income

       $739.1M

       Taxes Paid

       $188.2M

       — State & Local Taxes

       $104.9M

       — Federal Taxes

       $83.2M

       Total Spending Power

       $551.0M


            SHARE TEMPORARY PROTECTED STATUS HOLDERS



https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                               AR004532   18/23
11/7/2019                                                                        New York - Locations - New American Economy




       Issue: All


       Type: All
       Explore Key Issues in: New York
       View All States & Districts
       82 Results

       Press Release                                                                             Press Release
       New York                                                                                  New York

       New American Economy Announces Complete                                                   New American Economy Launches Ticket
       Schedule of Events For Inaugural New                                                      Sales and Announces Additional Talent for the
       American Festival, a Celebration…                                                         New American Festival



       Video                                                                                     Press Release
       New York                                                                                  New York

       Cookbook Author Julia Turshen and the                                                     New data shows that immigrant household
       Unifying Power of Food                                                                    income in the New York metro area grew by…




       Feature                                                                                   Feature
       New York                                                                                  New York



https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                   AR004533      19/23
11/7/2019                                                                        New York - Locations - New American Economy

       Utica Observer Dispatch Guest View: Trump                                                 Press-Republican In My Opinion: Let
       could learn from Utica’s refugees                                                         international students stay



       Press Release                                                                             Video
       New York                                                                                  New York


       New American Economy and Oﬀ Ramp Films                                                    Trailer for Mahira Patkovich: A Refugee Rises
       Debut Mahira Patkovich: A Refugee Rises




       Video                                                                                     Feature
       New York                                                                                  New York

       Mahira Patkovich: A Refugee Rises




                                                                                                 Rwandan Refugee Expands Immigrant-Focused Newspaper into
                                                                                                 Buﬀalo-Based Non-Profit

https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                               AR004534     20/23
11/7/2019                                                                        New York - Locations - New American Economy




       Feature                                                                                   In the News
       New York                                                                                  Illinois


                                                                                                 World Aﬀairs Council of Pittsburgh: The Role of
                                                                                                 Immigrants in Reviving the Great Lakes Region




       New York State Assemblyman Reflects on Immigrant Legacy in New
       York City



              Prev                                               1        2        3         4         5         6         7             Next




       About NAE




https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                                    AR004535       21/23
11/7/2019                                                                        New York - Locations - New American Economy




       New American Economy is a bipartisan research and advocacy organization fighting for smart federal, state,
       and local immigration policies that help grow our economy and create jobs for all Americans. More…



       The Latest


       OCTOBER 30, 2019

       New Data Shows Cedar Rapids’ Immigrants Accounted for Nearly Half of the County’s Total
       Population Growth


       OCTOBER 18, 2019

       New American Economy on the RELIEF Act of 2019


       OCTOBER 17, 2019

       New American Economy and the Tennessee Immigrant and Refugee Rights Coalition launch the
       Nashville New American Festival



                                                                      How does NAE define an immigrant?

                                                                                      Learn More


https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                               AR004536   22/23
11/7/2019                                                                        New York - Locations - New American Economy




https://www.newamericaneconomy.org/locations/new-york/#taxes-&-spending-power.
                                                                                                                               AR004537   23/23
FOOTNOTE 48




              AR004538
11/7/2019                                                   Connecticut - Locations - New American Economy




                                                                                                                   

        Select Location           ▾

        Overview
        Demographics
        Entrepreneurship
        Taxes & Spending Power
        Workforce
        Science, Technology, Engineering, and Math
        Healthcare
        Housing
        International Students
        Voting Power
        Undocumented Immigrants
        The DACA-Eligible Population

        Share:




https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                             AR004539   1/20
11/7/2019                                                         Connecticut - Locations - New American Economy




        Immigrants and the economy in:

        Connecticut                         Choose a District ▾


        Immigrant Residents
        525,813

        Immigrant Share of Population
        14.7%

        Immigrant Taxes Paid
        $5.9B

        Immigrant Spending Power
        $14.5B

https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                   AR004540   2/20
11/7/2019                                                           Connecticut - Locations - New American Economy




        Immigrant Entrepreneurs
        37,285

        Employees at Immigrant-Owned Firms
        95,177



        Demographics
        In the United States, immigrants are more likely to be working-age than their U.S.-born counterparts. This means they are more likely to be
        active in the labor force, allowing them to contribute to the economy not only as consumers but also as taxpayers, helping fund social services
        and programs like Medicare and Social Security.


        Age Group
        0-15

        Foreign-Born Population Share
        5.1%
        U.S.-Born Population Share
        20.4%




https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                                       AR004541           3/20
11/7/2019                                                           Connecticut - Locations - New American Economy


        Age Group
        16-64

        Foreign-Born Population Share
        78.2%
        U.S.-Born Population Share
        62.8%

        Age Group
        65+

        Foreign-Born Population Share
        16.6%
        U.S.-Born Population Share
        16.7%


            SHARE DEMOGRAPHICS




        Entrepreneurship
        It is hard to overstate the importance of entrepreneurship since new businesses are the main driver of job growth in the United States.
        Immigrants play a particularly important role in this—founding businesses at far higher rates than the U.S. population overall. Today, millions
        of American workers are employed at immigrant-founded and immigrant-owned companies.




https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                                       AR004542           4/20
11/7/2019                                                          Connecticut - Locations - New American Economy



        People employed by immigrant-owned firms

        95,177

        Immigrant entrepreneurs

        37,285

        Total sales of immigrant-owned firms

        $15.6B


            SHARE ENTREPRENEURSHIP




        Taxes & Spending Power
        Immigrant households contribute hundreds of billions of dollars in federal income, state, and local taxes nationwide and hold a tremendous
        amount of spending power. This gives them significant economic clout, helping support local communities as consumers and taxpayers. Like
        all residents in the United States regardless of where they were born, immigrants make use of public services like education, healthcare, and
        public safety. Even with these costs, however, immigrants’ economic contributions far outweigh the extra cost of additional public services
        they incur.




        Immigrant Household Income
https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                                      AR004543          5/20
11/7/2019                                                   Connecticut - Locations - New American Economy


        $20.5B

        Taxes Paid

        $5.9B

        — State & Local Taxes

        $1.9B

        — Federal Taxes

        $4.0B

        Total Spending Power

        $14.5B

        Net economic benefit of immigrants

        $1.9B


            SHARE TAXES & SPENDING POWER




https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                             AR004544   6/20
11/7/2019                                                          Connecticut - Locations - New American Economy

        Workforce
        The growth in the immigrant population has helped to strengthen America’s labor force. As baby boomers retire, younger immigrants are filling
        crucial gaps in the market. Nationally, immigrants are more likely to hold an advanced degree than the U.S.-born. They are also more likely to
        have less than a high school education. Uniquely, this allows them to fill critical shortages at both ends of the skill spectrum, from high-tech
        fields to agriculture, hospitality, and service industries.



        Educational Attainment by Nativity, Age 25+

        Workforce Education
        Less Than High School
        Foreign-Born Population
        19.9%
        U.S.-Born Population
        7.1%

        Workforce Education
        High School & Some College
        Foreign-Born Population
        45.8%
        U.S.-Born Population
        53.6%




https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                                      AR004545             7/20
11/7/2019                                                   Connecticut - Locations - New American Economy




        Workforce Education
        Bachelor's Degree

        Foreign-Born Population
        17.9%
        U.S.-Born Population
        22.1%

        Workforce Education
        Graduate Degree
        Foreign-Born Population
        16.5%
        U.S.-Born Population
        17.2%


        Top Industries with Highest Share of Foreign-Born Workers

        Services to buildings and dwellings

        49.5%

        Landscaping services

        35.5%

https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                             AR004546   8/20
11/7/2019                                                   Connecticut - Locations - New American Economy




        Computer systems design and related services

        31.9%

        Construction

        27.3%

        Nursing care facilities

        27.3%


        Top Occupations with Highest Share of Foreign-Born Workers

        Maids and Housekeeping Cleaners

        70.3%

        Chefs and Cooks

        46.7%

        Carpenters

        42.8%

https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                             AR004547   9/20
11/7/2019                                                           Connecticut - Locations - New American Economy




        Grounds Maintenance Workers

        40.6%

        Construction Laborers

        40.5%


            SHARE WORKFORCE




        Science, Technology, Engineering, and Math
        Jobs in fields related to science, technology, engineering, and math—or “STEM”—fields are some of the most productive jobs in the U.S.
        economy. These jobs are also expected to experience some of the highest growth rates in the next decade, second only to healthcare jobs.
        While immigrants already play a huge part in maintaining the United States’ role as a leading innovator, they will also be instrumental in
        helping high-tech industries meet their full potential as their needs for high-skilled STEM workers increase rapidly in the future.


        STEM workers who are immigrants

        23.1%


            SHARE SCIENCE, TECHNOLOGY, ENGINEERING, AND MATH




https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                                      AR004548       10/20
11/7/2019                                                           Connecticut - Locations - New American Economy



        Healthcare
        As millions of baby boomers become elderly, the U.S. healthcare system is facing unprecedented demand, adding jobs faster than any other
        segment of the economy. Many healthcare businesses and providers are struggling with finding enough workers, and in some rural areas,
        shortages are particularly acute. Immigrants have already been filling some of our most glaring healthcare needs. They are twice as likely as the
        U.S.-born to work as home health aides, but also twice as likely to be physicians and surgeons.


        Nurses who are foreign-born

        15.7%

        Health aides who are foreign-born

        34.6%


            SHARE HEALTHCARE




        Housing
        Immigrant families have long played an important role helping to build housing wealth in the United States. In recent decades, the more than
        40 million immigrants collectively in the country increased U.S. housing wealth by $3.7 trillion. Much of this was possible because immigrants
        moved into neighborhoods once in decline, helping to revitalize communities and make them more attractive to U.S.-born residents.




https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                                       AR004549             11/20
11/7/2019                                                            Connecticut - Locations - New American Economy

        Immigrant homeowners

        120,651

        Share of recent homebuyers who were foreign-born

        14.3%

        Housing wealth held by immigrant households

        $44.1B

        Amount paid by immigrant-led households in rent

        $1.3B


            SHARE HOUSING




        International Students
        International students in the United States contribute tens of billions of dollars to the U.S. economy every year and support a significant
        number of U.S. jobs through their tuition payments and day-to-day spending. Research has also found that increases in the number of
        international students at American universities boost innovation and patent creation.




https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                                         AR004550     12/20
11/7/2019                                                         Connecticut - Locations - New American Economy



        Students at Connecticut colleges and universities who are international students

        5.9%

        Economic contribution of international students

        $583.6M

        Jobs supported by international students

        6,409

            Watch: Ryan Yeh’s Reason for Reform




            SHARE INTERNATIONAL STUDENTS




        Voting Power
        As more immigrants naturalize and become eligible to vote, they continue to gain power at the voting booth. The number of immigrant voters
        is only projected to rise in the next decade, but already in some states, foreign-born voters are already capable of deciding elections.


        Immigrants eligible to vote

        255,940

https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                                  AR004551           13/20
11/7/2019                                                         Connecticut - Locations - New American Economy



            SHARE VOTING POWER




        Undocumented Immigrants
        The presence of the significant number of undocumented immigrants in the United States, the vast majority of whom have lived in the country
        for more than five years, poses many legal and political challenges. But while politicians continue to debate what to do about illegal
        immigration without any resolution, millions of undocumented immigrants are working across the country, collectively contributing billions to
        the U.S. economy.


        Undocumented immigrants

        135,999

        Share of undocumented immigrants, working age

        88.1%

        Undocumented Entrepreneurs

        13,332

        Undocumented Household Income

        $3.8B


https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                                    AR004552            14/20
11/7/2019                                                          Connecticut - Locations - New American Economy



        Taxes Paid

        $522.6M

        — State & Local Taxes

        $172.8M

        — Federal Taxes

        $349.8M

        Total Spending Power

        $3.2B

            Read: Former Yale Dean Says Immigrants Make America Unique




            SHARE UNDOCUMENTED IMMIGRANTS




        The DACA-Eligible Population
        DACA-eligible people contribute billions of dollars to the U.S. economy. Clawing back the protections aﬀorded to DACA recipients will likely
        upset local economies, communities, and schools, hurting employers and businesses dependent these young immigrants as workers and
        customers.

https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                                     AR004553          15/20
11/7/2019                                                   Connecticut - Locations - New American Economy



        Number of DACA Eligible Residents

        11,753

        Share of DACA Eligible Population in Labor Force that is Employed

        88.1%

        DACA-Eligible Household Income

        $207.9M

        Taxes Paid

        $34.1M

        — State & Local Taxes

        $15.8M

        — Federal Taxes

        $18.3M

        Total Spending Power

        $173.8M
https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                             AR004554   16/20
11/7/2019                                                   Connecticut - Locations - New American Economy




            SHARE THE DACA-ELIGIBLE POPULATION




        Issue: All


        Type: All

        Explore Key Issues in: Connecticut
        View All States & Districts
        14 Results


        Feature                                                               Video
        Connecticut                                                           Connecticut

        Undocumented for Years, Republican                                    Watch: Kovey Kovalan’s Reason for Reform
        Immigrant Runs for State House




        Video                                                                 Feature
        Connecticut                                                           Connecticut

        Watch: Art Feltman’s Reason for Reform                                After Fleeing Pinochet, Family Endures the
                                                                              Long Wait of U.S. Policy



https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                 AR004555   17/20
11/7/2019                                                   Connecticut - Locations - New American Economy


        In the News                                                           In the News
        Connecticut                                                           Connecticut

        Hartford Courant (CT): Study Shows Immigrant                          Hartford Business (CT): Visa delay adds
        Labor Essential For The Night Shift                                   uncertainty for CT immigrant- entrepreneurs




        In the News                                                           In the News
        Connecticut                                                           Connecticut

        Connecticut Mirror: English Learners: Other                           CT Post: Study shows value of undocumented
        Places Are Showing What Works                                         immigrants




        In the News                                                           In the News
        Connecticut                                                           Connecticut

        CT News Junkie: Report Finds Immigrants Are                           WTNH: Senator Richard Blumenthal Outlines
        A Powerful Economic Force In Connecticut                              Contributions of Immigrants




        In the News                                                           Video
        Connecticut                                                           Connecticut

https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                               AR004556     18/20
11/7/2019                                                   Connecticut - Locations - New American Economy


        Hartford Courant: Advocates: Immigrants
        Contribute To Connecticut Economy




                                                                              Watch: Ryan Yeh’s Reason for Reform




              Prev                                                   1        2                                         Next




        About NAE


        New American Economy is a bipartisan research and advocacy organization fighting for smart federal, state,
        and local immigration policies that help grow our economy and create jobs for all Americans. More…



        The Latest
https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                    AR004557   19/20
11/7/2019                                                         Connecticut - Locations - New American Economy



        OCTOBER 30, 2019

        New Data Shows Cedar Rapids’ Immigrants Accounted for Nearly Half of the County’s Total
        Population Growth


        OCTOBER 18, 2019

        New American Economy on the RELIEF Act of 2019


        OCTOBER 17, 2019

        New American Economy and the Tennessee Immigrant and Refugee Rights Coalition launch the
        Nashville New American Festival



                                                            How does NAE define an immigrant?

                                                                         Learn More




https://www.newamericaneconomy.org/locations/connecticut/
                                                                                                                   AR004558   20/20
FOOTNOTE 49




              AR004559
11/7/2019                                                            District of Columbia - Locations - New American Economy




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         Select Location           ▾

        Overview
        Demographics
        Entrepreneurship
        Taxes & Spending Power
        Workforce
        Science, Technology, Engineering, and Math
        Healthcare
        Housing
        International Students
        Voting Power
        Undocumented Immigrants

        Share:




https://www.newamericaneconomy.org/locations/district-of-columbia/
                                                                                                                               AR004560   1/19
11/7/2019                                                            District of Columbia - Locations - New American Economy




        Immigrants and the economy in:

        District of Columbia
        Immigrant Residents
        103,730

        Immigrant Share of Population
        14.9%

        Immigrant Taxes Paid
        $1.5B

        Immigrant Spending Power
        $3.3B

https://www.newamericaneconomy.org/locations/district-of-columbia/
                                                                                                                               AR004561   2/19
11/7/2019                                                            District of Columbia - Locations - New American Economy




        Immigrant Entrepreneurs
        —

        Employees at Immigrant-Owned Firms
        20,143



        Demographics
        In the United States, immigrants are more likely to be working-age than their U.S.-born counterparts. This means they are more likely to be
        active in the labor force, allowing them to contribute to the economy not only as consumers but also as taxpayers, helping fund social services
        and programs like Medicare and Social Security.


        Age Group
        0-15

        Foreign-Born Population Share
        4.4%
        U.S.-Born Population Share
        18.4%




https://www.newamericaneconomy.org/locations/district-of-columbia/
                                                                                                                                       AR004562           3/19
11/7/2019                                                            District of Columbia - Locations - New American Economy


        Age Group
        16-64

        Foreign-Born Population Share
        85.4%
        U.S.-Born Population Share
        69.1%

        Age Group
        65+

        Foreign-Born Population Share
        10.2%
        U.S.-Born Population Share
        12.4%

            Read: Reform Gives Young People a Voice




            SHARE DEMOGRAPHICS




        Entrepreneurship
        It is hard to overstate the importance of entrepreneurship since new businesses are the main driver of job growth in the United States.
        Immigrants play a particularly important role in this—founding businesses at far higher rates than the U.S. population overall. Today, millions
        of American workers are employed at immigrant-founded and immigrant-owned companies.

https://www.newamericaneconomy.org/locations/district-of-columbia/
                                                                                                                                       AR004563           4/19
11/7/2019                                                            District of Columbia - Locations - New American Economy



        People employed by immigrant-owned firms

        20,143

        Total sales of immigrant-owned firms

        $3.3B

            Watch: Ramon Cornejo’s Reason for Reform




                        Read: An Immigrant Creates Jobs




            SHARE ENTREPRENEURSHIP




        Taxes & Spending Power
        Immigrant households contribute hundreds of billions of dollars in federal income, state, and local taxes nationwide and hold a tremendous
        amount of spending power. This gives them significant economic clout, helping support local communities as consumers and taxpayers. Like
        all residents in the United States regardless of where they were born, immigrants make use of public services like education, healthcare, and
        public safety. Even with these costs, however, immigrants’ economic contributions far outweigh the extra cost of additional public services
        they incur.




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                                                                                                                                      AR004564          5/19
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        Immigrant Household Income

        $4.8B

        Taxes Paid

        $1.5B

        — State & Local Taxes

        $410.6M

        — Federal Taxes

        $1.1B

        Total Spending Power

        $3.3B

            Watch: Raul Herrera’s Reason for Reform




            SHARE TAXES & SPENDING POWER




https://www.newamericaneconomy.org/locations/district-of-columbia/
                                                                                                                               AR004565   6/19
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        Workforce
        The growth in the immigrant population has helped to strengthen America’s labor force. As baby boomers retire, younger immigrants are filling
        crucial gaps in the market. Nationally, immigrants are more likely to hold an advanced degree than the U.S.-born. They are also more likely to
        have less than a high school education. Uniquely, this allows them to fill critical shortages at both ends of the skill spectrum, from high-tech
        fields to agriculture, hospitality, and service industries.



        Educational Attainment by Nativity, Age 25+

        Workforce Education
        Less Than High School
        Foreign-Born Population
        20.4%
        U.S.-Born Population
        7.0%

        Workforce Education
        High School & Some College
        Foreign-Born Population
        26.5%
        U.S.-Born Population
        34.8%




https://www.newamericaneconomy.org/locations/district-of-columbia/
                                                                                                                                      AR004566             7/19
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        Workforce Education
        Bachelor's Degree
        Foreign-Born Population
        16.9%
        U.S.-Born Population
        25.0%

        Workforce Education
        Graduate Degree
        Foreign-Born Population
        36.2%
        U.S.-Born Population
        33.2%


        Top Industries with Highest Share of Foreign-Born Workers

        Restaurants and other food services

        43.7%

        National security and international aﬀairs

        27.8%

https://www.newamericaneconomy.org/locations/district-of-columbia/
                                                                                                                               AR004567   8/19
11/7/2019                                                            District of Columbia - Locations - New American Economy




        Scientific research and development services

        22.8%

        Computer systems design and related services

        21.7%

        Colleges, universities, and professional schools

        15.1%


        Top Occupations with Highest Share of Foreign-Born Workers

        Managers, nec (including Postmasters)

        15.5%

        Lawyers, and judges, magistrates, and other judicial workers

        14.3%

        Management Analysts

        10.5%

            Read: A CEO's Firm Depends on Reform                                                                               AR004568
https://www.newamericaneconomy.org/locations/district-of-columbia/                                                                        9/19
11/7/2019                                                            District of Columbia - Locations - New American Economy
            Read: A CEO s Firm Depends on Reform




            SHARE WORKFORCE




        Science, Technology, Engineering, and Math
        Jobs in fields related to science, technology, engineering, and math—or “STEM”—fields are some of the most productive jobs in the U.S.
        economy. These jobs are also expected to experience some of the highest growth rates in the next decade, second only to healthcare jobs.
        While immigrants already play a huge part in maintaining the United States’ role as a leading innovator, they will also be instrumental in
        helping high-tech industries meet their full potential as their needs for high-skilled STEM workers increase rapidly in the future.


        STEM workers who are immigrants

        22.7%

            Watch: Roman Holton’s Reason for Reform




            SHARE SCIENCE, TECHNOLOGY, ENGINEERING, AND MATH




        Healthcare
        As millions of baby boomers become elderly, the U.S. healthcare system is facing unprecedented demand, adding jobs faster than any other
        segment of the economy. Many healthcare businesses and providers are struggling with finding enough workers, and in some rural areas,
        shortages are particularly acute. Immigrants have already been filling some of our most glaring healthcare needs. They are twice as likely as the

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                                                                                                                                       AR004569             10/19
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        U.S.-born to work as home health aides, but also twice as likely to be physicians and surgeons.


        Health aides who are foreign-born

        26.0%


            SHARE HEALTHCARE




        Housing
        Immigrant families have long played an important role helping to build housing wealth in the United States. In recent decades, the more than
        40 million immigrants collectively in the country increased U.S. housing wealth by $3.7 trillion. Much of this was possible because immigrants
        moved into neighborhoods once in decline, helping to revitalize communities and make them more attractive to U.S.-born residents.


        Immigrant homeowners

        15,281

        Share of recent homebuyers who were foreign-born

        17.3%

        Housing wealth held by immigrant households

        $12.7B

https://www.newamericaneconomy.org/locations/district-of-columbia/
                                                                                                                                     AR004570            11/19
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        Amount paid by immigrant-led households in rent

        $486.8M


            SHARE HOUSING




        International Students
        International students in the United States contribute tens of billions of dollars to the U.S. economy every year and support a significant
        number of U.S. jobs through their tuition payments and day-to-day spending. Research has also found that increases in the number of
        international students at American universities boost innovation and patent creation.


        Students at District of Columbia colleges and universities who are international students

        11.3%

        Economic contribution of international students

        $557.3M

        Jobs supported by international students

        5,901


            SHARE INTERNATIONAL STUDENTS

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                                                                                                                                         AR004571     12/19
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        Voting Power
        As more immigrants naturalize and become eligible to vote, they continue to gain power at the voting booth. The number of immigrant voters
        is only projected to rise in the next decade, but already in some states, foreign-born voters are already capable of deciding elections.


        Immigrants eligible to vote

        36,590


            SHARE VOTING POWER




        Undocumented Immigrants
        The presence of the significant number of undocumented immigrants in the United States, the vast majority of whom have lived in the country
        for more than five years, poses many legal and political challenges. But while politicians continue to debate what to do about illegal
        immigration without any resolution, millions of undocumented immigrants are working across the country, collectively contributing billions to
        the U.S. economy.


        Undocumented immigrants

        24,617




https://www.newamericaneconomy.org/locations/district-of-columbia/
                                                                                                                                    AR004572            13/19
11/7/2019                                                            District of Columbia - Locations - New American Economy



        Share of undocumented immigrants, working age

        89.8%

        Undocumented Household Income

        $721.4M

        Taxes Paid

        $110.1M

        — State & Local Taxes

        $31.4M

        — Federal Taxes

        $78.6M

        Total Spending Power

        $611.3M

            Watch: Dakar Lanzino’s Reason for Reform




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                                                                                                                               AR004573   14/19
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                        Watch: Pablo Manriquez’s Reason for Reform




            SHARE UNDOCUMENTED IMMIGRANTS




        Issue: All


        Type: All

        Explore Key Issues in: District of Columbia
        View All States & Districts
        23 Results


        Press Release                                                                      Video
        District of Columbia                                                               District of Columbia

        New data shows the number of immigrant                                             Watch: Dale Moore’s Reason for Reform
        entrepreneurs in the Washington, D.C. metro
        area grew…



        Video                                                                              Video
        District of Columbia                                                               District of Columbia

        Watch: Alexis Miller’s Reason for Reform                                           Watch: Chuck Rocha’s Reason for Reform

https://www.newamericaneconomy.org/locations/district-of-columbia/
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        Video                                                                              In the News
        District of Columbia                                                               District of Columbia

        Watch: MSNBC Contributor Maria Teresa                                              Washington Post: Region’s demand for bilingual
        Kumar Joins the iMarch                                                             workers is booming. Should D.C. schools oﬀer
                                                                                           more dual-language…



        Feature                                                                            Video
        District of Columbia                                                               District of Columbia




        Entrepreneur from New Zealand Creates Jobs while Helping                           Watch: Ricardo Villaba’s Reason for Reform
        Americans Give Back



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        Video                                                                              Video

        District of Columbia                                                               District of Columbia




        Watch: Ofelia Ramirez’s Reason for Reform                                          Watch: Kony Serrano’s Reason for Reform



        Feature                                                                            Video
        District of Columbia                                                               District of Columbia

        ‘Just Give Them a Meal,’ Says Pakistani-
        American Whose Restaurant Feeds the
        Homeless




https://www.newamericaneconomy.org/locations/district-of-columbia/
                                                                                                                                     AR004576   17/19
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                                                                                           Watch: Roman Holton’s Reason for Reform




               Prev                                                               1         2                                            Next




        About NAE


        New American Economy is a bipartisan research and advocacy organization fighting for smart federal, state,
        and local immigration policies that help grow our economy and create jobs for all Americans. More…



        The Latest


        OCTOBER 30, 2019

        New Data Shows Cedar Rapids’ Immigrants Accounted for Nearly Half of the County’s Total
        Population Growth


        OCTOBER 18, 2019

        New American Economy on the RELIEF Act of 2019

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                                                                                                                                     AR004577   18/19
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        OCTOBER 17, 2019

        New American Economy and the Tennessee Immigrant and Refugee Rights Coalition launch the
        Nashville New American Festival



                                                                     How does NAE define an immigrant?

                                                                                   Learn More




https://www.newamericaneconomy.org/locations/district-of-columbia/
                                                                                                                                   AR004578   19/19
FOOTNOTE 50




              AR004579
AR004580
    Undocumented Immigrants are:
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Current vs. Full Legal Status for All Undocumented Immigrants




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AR004586
Appendix 1: Detailed State and Local Tax Contributions of Total Undocumented Immigrant Population
Current vs. Full Legal Status for All Undocumented Immigrants
                                                                                                                                                     Undocumented
                                                                                                                                                                          Top 1% Effective Tax Rate
                                          Sales and Excise Tax Total Personal Income Tax Total   Property Tax Total   Total State and Local Taxes Immigrant Effective Tax
                                                                                                                                                                               (All Taxpayers)1
                                                                                                                                                          Rate
                  Current                        $45,311,000                $10,471,000               $6,530,000            $62,312,000                     7.2%
Alabama                                                                                                                                                                              3.8%
                  Full Legal Status               $49,842,000               $23,036,000               $7,183,000            $80,061,000                     8.4%
                  Current                          $1,877,000                                         $2,167,000             $4,043,000                     4.3%
Alaska                                                                     No Income Tax                                                                                             2.5%
                  Full Legal Status                $2,064,000                                         $2,383,000             $4,448,000                     4.3%
                  Current                        $144,232,000                $16,388,000              $52,954,000           $213,574,000                    8.0%
Arizona                                                                                                                                                                              4.6%
                  Full Legal Status              $158,655,000                $36,054,000              $58,250,000           $252,958,000                    8.6%
                  Current                         $47,382,000                $7,384,000               $8,002,000            $62,767,000                     9.1%
Arkansas                                                                                                                                                                             5.6%
                  Full Legal Status               $52,120,000               $16,244,000               $8,802,000            $77,166,000                    10.1%
                  Current                       $1,970,679,000              $157,883,000            $1,070,833,000         $3,199,394,000                   8.0%
California                                                                                                                                                                           8.7%
                  Full Legal Status             $2,167,746,000              $308,322,000            $1,177,916,000         $3,653,985,000                   8.3%
                  Current                         $82,211,000                $21,429,000              $35,883,000           $139,524,000                    6.6%
Colorado                                                                                                                                                                             4.6%
                  Full Legal Status               $90,433,000                $42,346,000              $39,471,000           $172,250,000                    7.4%
                  Current                         $58,469,000                $15,551,000              $50,682,000           $124,701,000                    7.6%
Connecticut                                                                                                                                                                          5.3%
                  Full Legal Status               $64,316,000                $25,219,000              $55,750,000           $145,284,000                    8.0%
                  Current                          $4,794,000                 $4,662,000               $4,076,000           $13,532,000                     3.9%
Delaware                                                                                                                                                                             4.8%
                  Full Legal Status                $5,274,000                 $9,937,000               $4,483,000           $19,694,000                     5.1%
                  Current                         $19,467,000                $6,647,000               $5,651,000            $31,765,000                     7.3%
Dist. of Col.                                                                                                                                                                        6.4%
                  Full Legal Status               $21,414,000               $11,101,000               $6,216,000            $38,731,000                     8.1%
                  Current                        $463,955,000                                        $134,722,586           $598,677,875                    7.3%
Florida                                                                    No Income Tax                                                                                             1.9%
                  Full Legal Status              $510,351,000                                          $           $                      7.3%
                  Current                        $214,416,000                $62,447,000              $74,856,000           $351,718,000                    7.3%
Georgia                                                                                                                                                                              5.0%
                  Full Legal Status              $235,857,000               $137,383,000              $82,341,000           $455,581,000                    8.6%
                  Current                         $20,571,000                 $6,521,000              $5,251,000            $32,343,000                     8.9%
Hawaii                                                                                                                                                                               7.0%
                  Full Legal Status              $22,628,000                $14,347,000               $5,776,000            $42,750,000                    10.7%
                  Current                        $17,056,000                 $2,802,000               $8,754,000            $28,613,000                     7.0%
Idaho                                                                                                                                                                                6.4%
                  Full Legal Status               $18,762,000                 $6,165,000              $9,630,000            $34,557,000                     7.7%
                  Current                        $351,926,000                $95,945,000             $311,009,000           $758,881,000                   10.3%
Illinois                                                                                                                                                                             4.6%
                  Full Legal Status              $387,119,000               $188,141,000             $342,110,000           $917,370,000                   11.3%
                  Current                        $55,396,000                 $19,802,000              $17,001,000           $92,200,000                     8.1%
Indiana                                                                                                                                                                              5.2%
                  Full Legal Status               $60,936,000                $41,263,000              $18,701,000           $120,900,000                    9.7%
                  Current                         $21,333,000                 $5,974,000              $9,420,000            $36,728,000                     7.9%
Iowa                                                                                                                                                                                 6.0%
                  Full Legal Status               $23,466,000                $11,741,000              $10,362,000            $45,570,000                    8.9%
                  Current                         $43,049,000                 $6,473,000              $18,322,000            $67,843,000                    8.2%
Kansas                                                                                                                                                                               3.6%
                  Full Legal Status               $47,354,000                $11,390,000              $20,154,000            $78,897,000                    8.7%
                  Current                         $20,136,000               $11,282,000               $5,211,000             $36,629,000                    6.9%
Kentucky                                                                                                                                                                             6.0%
                  Full Legal Status               $22,150,000               $24,821,000               $5,732,000             $52,702,000                    9.0%
                  Current                         $52,210,000                 $8,536,000              $7,244,000             $67,991,000                    7.8%
Louisiana                                                                                                                                                                            4.2%
                  Full Legal Status               $57,431,000               $17,788,000               $7,969,000             $83,188,000                    8.7%




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Appendix 1: Detailed State and Local Tax Contributions of Total Undocumented Immigrant Population
Current vs. Full Legal Status for All Undocumented Immigrants
                                                                                                                                                     Undocumented
                                                                                                                                                                          Top 1% Effective Tax Rate
                                          Sales and Excise Tax Total Personal Income Tax Total   Property Tax Total   Total State and Local Taxes Immigrant Effective Tax
                                                                                                                                                                               (All Taxpayers)1
                                                                                                                                                          Rate
                  Current                         $2,605,000                   $681,000              $1,081,000              $4,367,000                    6.5%
Maine                                                                                                                                                                                7.5%
                  Full Legal Status               $2,865,000                  $1,470,000             $1,190,000              $5,525,000                    7.5%
                  Current                        $168,717,000                $77,970,000             $85,561,000            $332,248,000                   8.2%
Maryland                                                                                                                                                                             6.7%
                  Full Legal Status              $185,589,000               $146,073,000             $94,118,000            $425,779,000                   9.5%
                  Current                        $81,821,000                 $42,471,000             $60,313,000            $184,605,000                   7.0%
Massachusetts                                                                                                                                                                        4.9%
                  Full Legal Status              $90,003,000                 $84,426,000             $66,344,000            $240,773,000                   8.3%
                  Current                        $46,699,000                 $18,499,000             $21,495,000            $86,692,000                    6.9%
Michigan                                                                                                                                                                             5.1%
                  Full Legal Status              $51,368,000                 $38,897,000             $23,645,000            $113,910,000                   8.3%
                  Current                        $49,713,000                 $14,796,000             $18,684,000            $83,192,000                    7.3%
Minnesota                                                                                                                                                                            7.5%
                  Full Legal Status              $54,684,000                 $27,409,000             $20,552,000            $102,646,000                   8.2%
                  Current                        $17,180,000                 $2,796,000              $2,708,000             $22,684,000                    7.4%
Mississippi                                                                                                                                                                          5.3%
                  Full Legal Status              $18,898,000                 $6,152,000              $2,978,000             $28,028,000                    8.4%
                  Current                        $28,660,000                 $8,771,000             $11,466,000             $48,897,000                    6.8%
Missouri                                                                                                                                                                             5.5%
                  Full Legal Status              $31,526,000                 $19,297,000             $12,613,000            $63,435,000                    8.0%
                  Current                          $168,000                    $144,000               $237,000                $548,000                     4.1%
Montana                                                                                                                                                                              4.7%
                  Full Legal Status                $185,000                    $316,000               $260,000                $762,000                     5.2%
                  Current                        $21,557,000                 $4,778,000             $13,465,000             $39,800,000                    8.3%
Nebraska                                                                                                                                                                             6.3%
                  Full Legal Status              $23,713,000                 $9,652,000             $14,812,000             $48,177,000                    9.1%
                  Current                        $65,830,000                                        $20,271,000             $86,101,000                    5.0%
Nevada                                                                     No Income Tax                                                                                             1.4%
                  Full Legal Status              $72,413,000                                        $22,298,000             $94,712,000                    5.0%
                  Current                         $1,987,000                                         $5,207,000              $7,236,000                    6.0%
New Hampshire                                                          No Income Tax on Wages                                                                                        2.6%
                  Full Legal Status               $2,186,000                                         $5,727,000              $8,005,000                    6.1%
                  Current                        $265,945,000                $49,148,000            $272,322,000            $587,415,000                   7.7%
New Jersey                                                                                                                                                                           7.1%
                  Full Legal Status              $292,540,000                $69,036,000            $299,554,000            $661,130,000                   7.9%
                  Current                        $50,098,000                 $3,956,000             $13,689,000             $67,743,000                    9.1%
New Mexico                                                                                                                                                                           4.8%
                  Full Legal Status              $55,108,000                 $5,590,000             $15,058,000             $75,756,000                    9.3%
                  Current                        $564,962,000               $182,675,000            $354,686,000           $1,102,323,000                  8.9%
New York                                                                                                                                                                             8.1%
                  Full Legal Status              $621,458,000               $337,864,000            $390,154,000           $1,349,476,000                  9.9%
                  Current                        $163,163,000                $59,671,000             $54,568,000            $277,402,000                   6.8%
North Carolina                                                                                                                                                                       5.3%
                  Full Legal Status              $179,479,000               $131,276,000             $60,025,000            $370,780,000                   8.3%
                  Current                         $2,214,000                  $123,000                $507,000               $2,844,000                    7.1%
North Dakota                                                                                                                                                                         3.0%
                  Full Legal Status               $2,435,000                  $270,000                $558,000               $3,263,000                    7.4%
                  Current                        $47,540,000                 $15,649,000             $20,059,000            $83,247,000                    7.8%
Ohio                                                                                                                                                                                 5.5%
                  Full Legal Status              $52,294,000                 $34,427,000             $22,064,000            $108,786,000                   9.3%
                  Current                        $57,647,000                 $10,935,000             $16,183,000            $84,765,000                    7.8%
Oklahoma                                                                                                                                                                             4.3%
                  Full Legal Status              $63,411,000                $23,436,000              $17,801,000            $104,648,000                   8.7%
                  Current                        $15,292,000                $29,831,000              $35,652,000            $80,775,000                    5.5%
Oregon                                                                                                                                                                               6.5%
                  Full Legal Status              $16,821,000                $63,327,000              $39,217,000            $119,365,000                   7.4%




                                                                                                                                                                                          AR004588
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Appendix 1: Detailed State and Local Tax Contributions of Total Undocumented Immigrant Population
Current vs. Full Legal Status for All Undocumented Immigrants
                                                                                                                                                                               Undocumented
                                                                                                                                                                                                    Top 1% Effective Tax Rate
                                                  Sales and Excise Tax Total Personal Income Tax Total              Property Tax Total          Total State and Local Taxes Immigrant Effective Tax
                                                                                                                                                                                                         (All Taxpayers)1
                                                                                                                                                                                    Rate
                     Current                              $64,545,000                    $34,440,000                     $35,887,000                    $134,872,000                  7.2%
Pennsylvania                                                                                                                                                                                                   4.2%
                     Full Legal Status                     $71,000,000                   $75,769,000                     $39,475,000                    $186,244,000                  9.0%
                     Current                               $17,615,000                    $3,887,000                      $9,652,000                    $31,154,000                   7.4%
Rhode Island                                                                                                                                                                                                   6.3%
                     Full Legal Status                     $19,377,000                    $7,571,000                     $10,617,000                    $37,564,000                   8.1%
                     Current                               $43,859,000                   $10,606,000                     $13,288,000                    $67,753,000                   5.5%
South Carolina                                                                                                                                                                                                 4.5%
                     Full Legal Status                     $48,245,000                   $23,333,000                     $14,616,000                    $86,195,000                   6.4%
                     Current                                $4,302,000                                                    $1,036,000                     $5,338,000                   8.0%
South Dakota                                                                            No Income Tax                                                                                                          1.8%
                     Full Legal Status                      $4,732,000                                                    $1,140,000                     $5,872,000                   8.0%
                     Current                               $91,169,000                                                   $16,260,000                    $107,465,000                  7.4%
Tennessee                                                                           No Income Tax on Wages                                                                                                     3.0%
                     Full Legal Status                    $100,286,000                                                   $17,886,000                    $118,251,000                  7.4%
                     Current                             $1,067,260,000                                                  $493,636,000                  $1,560,896,000                 8.6%
Texas                                                                                   No Income Tax                                                                                                          2.9%
                     Full Legal Status                   $1,173,985,000                                                  $543,000,000                  $1,716,985,000                 8.6%
                     Current                               $40,863,000                   $13,189,000                     $15,718,000                    $69,770,000                   6.7%
Utah                                                                                                                                                                                                           4.8%
                     Full Legal Status                     $44,950,000                   $29,015,000                     $17,290,000                    $91,255,000                   8.0%
                     Current                                $1,515,000                    $326,000                        $1,094,000                     $2,936,000                   7.3%
Vermont                                                                                                                                                                                                        7.7%
                     Full Legal Status                      $1,667,000                    $540,000                        $1,204,000                     $3,411,000                   7.7%
                     Current                              $121,514,000                   $71,310,000                      $63,142,000                   $255,965,000                  6.0%
Virginia                                                                                                                                                                                                       5.1%
                     Full Legal Status                    $133,665,000                  $152,803,000                     $69,456,000                    $355,924,000                  7.6%
                     Current                              $243,047,000                                                   $73,577,000                    $316,624,000                 10.7%
Washington                                                                              No Income Tax                                                                                                          2.4%
                     Full Legal Status                    $267,352,000                                                   $80,935,000                    $348,287,000                 10.7%
                     Current                                $3,531,000                    $1,080,000                       $501,000                      $5,112,000                   6.4%
West Virginia                                                                                                                                                                                                  6.5%
                     Full Legal Status                      $3,884,000                    $2,376,000                       $551,000                      $6,811,000                   7.7%
                     Current                               $36,367,000                   $13,230,000                     $22,195,000                    $71,792,000                   7.5%
Wisconsin                                                                                                                                                                                                      6.2%
                     Full Legal Status                     $40,004,000                   $27,273,000                     $24,414,000                    $91,691,000                   8.7%
                     Current                                $3,442,000                                                     $723,000                      $4,165,000                   5.2%
Wyoming                                                                                 No Income Tax                                                                                                          1.2%
                     Full Legal Status                      $3,787,000                                                     $795,000                      $4,582,000                   5.2%
                     Current                         $7,025,296,000                 $1,131,236,000                  $3,583,429,000                  $11,739,961,000                 8.0%
                                                                                                                                                                                                             5.4%
    All States       Full Legal Status               $7,727,826,000                 $2,243,067,000                  $3,941,771,000                  $13,912,665,000                 8.6%
                       Change                             +$702,530,000                 +$1,111,831,000                       +$358,343,000               +$2,172,703,000
1 Institute on Taxation and Economic Policy, A Distributional Analysis of the Tax Systems in All Fifty States, 5th Edition, January 2015. www.whopays.org




                                                                                                                                                                                                     *OTUJUVUFPO5BYBUJPOBOE&DPOPNJD1PMJDZ
                                                                                                                                                                                                                      AR004589
Appendix 2: Data Used to Estimate State and Local Tax Contributions of Undocumented Immigrants
                                                                Est. Share of                                                                                     Est. Share of
                           Estimated Total                                                         Average                              Estimated Total                                  Average
                                                              Undocumented                                                                                      Undocumented
                           Undocumented                                                         Undocumented                            Undocumented                                  Undocumented
                                                            Immigrant Population                                                                              Immigrant Population
                         Immigrant Population1                                  2               Family Income3                        Immigrant Population1                       2   Family Income3
                                                            who are Homeowners                                                                                who are Homeowners
Alabama                             71,000                           29%                             $28,000         Montana                  1,000                    31%               $30,600
Alaska                              7,000                            31%                             $30,600         Nebraska                 38,000                   37%               $29,000
Arizona                            244,000                           36%                             $25,200         Nevada                  129,000                   32%               $30,600
Arkansas                            56,000                           37%                             $28,400         New Hampshire            9,000                    31%               $30,600
California                        3,019,000                          27%                             $30,300         New Jersey              498,000                   24%               $35,100
Colorado                           163,000                           33%                             $29,600         New Mexico               68,000                   45%               $25,000
Connecticut                        105,000                           24%                             $35,900         New York                850,000                   19%               $33,300
Delaware                            23,000                           32%                             $34,800         North Carolina          338,000                   33%               $27,500
Dist. of Col.                       27,000                           23%                             $37,000         North Dakota             3,000                    31%               $30,600
Florida                            610,000                           33%                             $30,700         Ohio                     83,000                   26%               $29,300
Georgia                            377,000                           33%                             $29,200         Oklahoma                 85,000                   38%               $29,400
Hawaii                              21,000                           40%                             $39,600         Oregon                  116,000                   30%               $28,900
Idaho                               33,000                           44%                             $28,200         Pennsylvania            137,000                   30%               $31,400
Illinois                           519,000                           39%                             $32,500         Rhode Island             29,000                   20%               $33,300
Indiana                             94,000                           40%                             $27,700         South Carolina           98,000                   29%               $28,700
Iowa                                36,000                           39%                             $29,500         South Dakota             5,000                    31%               $30,600
Kansas                              63,000                           44%                             $30,100         Tennessee               120,000                   27%               $27,900
Kentucky                            45,000                           21%                             $27,000         Texas                  1,470,000                  41%               $28,200
Louisiana                           66,000                           20%                             $30,100         Utah                     81,000                   38%               $29,300
Maine                               5,000                            31%                             $30,600         Vermont                  3,000                    31%               $30,600
Maryland                           253,000                           32%                             $36,700         Virginia                272,000                   32%               $36,100
Massachusetts                      173,000                           21%                             $34,800         Washington              219,000                   32%               $30,900
Michigan                            97,000                           40%                             $29,500         West Virginia            6,000                    31%               $30,600
Minnesota                           85,000                           32%                             $30,500         Wisconsin                71,000                   32%               $30,800
Mississippi                         25,000                           23%                             $27,900         Wyoming                  6,000                    31%               $30,600
Missouri                            57,000                           37%                             $28,900
1
  Migration Policy Institute (MPI) analysis of U.S. Census Bureau data from the 2010-2014 ACS pooled, and the 2008
Survey of Income and Program Participation (SIPP) by Colin Hammar and James Bachmeier of Temple University and       All States            11,009,000                 31%                $30,700
Jennifer Van Hook of The Pennsylvania State University, Population Research Institute.
2
    Ibid.
3
    Ibid.
4
    Ibid




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                                                                                                                                                                          AR004590
FOOTNOTE 57




              AR004591
                                   Immigrants in California
California has long been home to the largest number of immigrants in the United States, having accepted early
settlers along their seaports as far back as the 17th century. Immigrants now account for over one quarter of the
state’s population and comprise nearly 34 percent of the entire labor force. As workers, business owners,
taxpayers, and neighbors, immigrants are an integral part of California’s diverse and thriving communities and
make extensive contributions that benefit all.


More than a quarter of California residents are immigrants, while nearly one in four
residents is a native-born U.S. citizen with at least one immigrant parent.

   In 2015, 10.7 million immigrants (foreign-born individuals) comprised 27.3 percent of the population. 1

   California was home to 5.3 million women, 4.9 million men, and 449,878 children who were immigrants. 2

   The top countries of origin for immigrants were Mexico (40 percent of immigrants), the Philippines (8
    percent), China (5.9 percent), Vietnam (4.8 percent), and India (4.5 percent). 3

   In 2016, 9.3 million people in California (23.8 percent of the state’s population) were native-born
    Americans who had at least one immigrant parent. 4


Nearly half of all immigrants in California are naturalized U.S. citizens.

   5.3 million immigrants (49.7 percent) had naturalized as of 2015, 5 and 2.2 million immigrants were eligible
    to become naturalized U.S. citizens in 2015. 6

   Two-thirds (66.7 percent) of immigrants reported speaking English “well” or “very well.” 7




                                                                                                 AR004592
                             Immigrants in California | American Immigration Council | 2017



Immigrants in California are distributed across the educational spectrum.

   More than a quarter of adult immigrants had a college degree or more education in 2015, while over a
    third had less than a high school diploma. 8

         E ducation Level                      Share (%) of All Immigrants          Share (%) of All Natives

         College degree or more                               27.4                            35.1

         Some college                                         18.6                            35.3

         High school diploma only                             19.6                            21.5

         Less than a high-school diploma                      34.4                            8.0


Two million U.S. citizens in California live with at least one family member who is
undocumented.

   2.4 million undocumented immigrants comprised 22 percent of the immigrant population and 6 percent
    of the total state population in 2014. 9

   4.7 million people in California, including 2 million born in the United States, lived with at least one
    undocumented family member between 2010 and 2014. 10

   During the same period, nearly one in five children in the state was a U.S.-citizen living with at least one
    undocumented family member (2.4 million children in total). 11


Nearly 200,000 Deferred Action for Childhood Arrivals (DACA) recipients live in California.

   As of 2016, 64 percent of DACA-eligible immigrants in California, or 242,339 people, had applied for DACA. 12

   An additional 120,000 residents of the state satisfied all but the educational requirements for DACA, and
    another 62,000 would be eligible as they grew older. 13


Immigrants make up more than a third of the labor force in California and are integral to a
range of industries.

   6.6 million immigrant workers comprised 33.9 percent of the labor force in 2015. 14




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                                  Immigrants in California | American Immigration Council | 2017



   Immigrant workers were most numerous in the following industries:

                             Industry                                          Number of Immigrant Workers

     Manufacturing                                                                            930,261

     Health Care and Social Assistance                                                        874,169

     Accommodation and Food Services                                                          691,552

     Retail Trade                                                                             663,977

     Construction                                                                             524,665
     Analysis of the U.S. Census Bureau’s 2015 American Community Survey 1-year PUMS data by the American Immigration Council.



   The largest shares of immigrant workers were in the following industries: 15

                                                                                                 Immigrant Share (%)
                                         Industry
                                                                                               (of all industry workers)
     Agriculture, Forestry, Fishing & Hunting                                                               66.9

     Manufacturing                                                                                          45.6

     Administrative & Support; Waste Management; and Remediation
                                                                                                            43.2
     Services

     Other Services (except Public Administration)                                                          39.7

     Accommodation and Food Services                                                                        39.2
     Analysis of the U.S. Census Bureau’s 2015 American Community Survey 1-year PUMS data by the American Immigration Council.




Immigrants are an integral part of the California workforce in a range of occupations.

   In 2015, immigrant workers were most numerous in the following occupation groups: 16

                     Occupation Category                                      Number of Immigrant Workers

     Office and Administrative Support                                                        675,184

     Sales and Related                                                                        641,880

     Production                                                                               596,157

     Management                                                                               587,525

     Building and Grounds Cleaning & Maintenance                                              580,164
     Analysis of the U.S. Census Bureau’s 2015 American Community Survey 1-year PUMS data by the American Immigration Council.




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                                  Immigrants in California | American Immigration Council | 2017



   The largest shares of immigrant workers were in the following occupation groups:17

                    O ccupation Category                                           Immigrant Share (%)
                                                                              (of all workers in occupation)
     Farming, Fishing, and Forestry                                                            77.1

     Building and Grounds Cleaning & Maintenance                                               61.7

     Production                                                                                53.3

     Construction and Extraction                                                               43.0

     Computer and Mathematical Sciences                                                        41.3
     Analysis of the U.S. Census Bureau’s 2015 American Community Survey 1-year PUMS data by the American Immigration Council.



   Undocumented immigrants comprised 9 percent of the state’s workforce in 2014. 18


Immigrants in California have contributed tens of billions of dollars in taxes.

   Immigrant-led households in the state paid $56.5 billion in federal taxes and $26.4 billion in state and local
    taxes in 2014. 19

   Undocumented immigrants in California paid an estimated $3.2 billion in state and local taxes in 2014.
    Their contribution would rise to $3.7 billion if they could receive legal status.20

   DACA recipients in California paid an estimated $534.1 million in state and local taxes in 2016. 21


As consumers, immigrants add hundreds of billions of dollars to California’s economy.

   California residents in immigrant-led households had $238.7 billion in spending power (after-tax income)
    in 2014. 22


Immigrant entrepreneurs in California generate billions of dollars in business revenue.

   Nearly 880,000 immigrant business owners accounted for 38.2 percent of all self-employed California
    residents in 2015 and generated $21.8 billion in business income.23

   In the following California metropolitan areas in 2015, at least one in six business owners was an
    immigrant. Immigrants accounted for:
     40.2 percent of business owners in the Los Angeles/Long Beach/Anaheim metro area,
     24.1 percent in Riverside/San Bernardino,
     17.4 percent in Sacramento/Arden/Arcade/Roseville,
     34.3 percent in San Diego/Carlsbad/San Marcos,
     31.2 percent in San Francisco/Oakland/Fremont, and
     42.4 percent in San Jose/Sunnyvale/Santa Clara. 24

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                                                                                                                    AR004595
                                       Immigrants in California | American Immigration Council | 2017



Endnotes

1.    “Foreign born” does not include people born in Puerto Rico or U.S. island areas or U.S. citizens born abroad of American parent(s). U.S.
      Census Bureau, 2015 American Community Survey 1-Year Estimates. The American Immigration Council elected to use data from the 2015
      ACS 1-Year estimates wherever possible to provide the most current information available. Since these estimates are based on a smaller
      sample size than the ACS 5-year, however, they are more sensitive to fluctuations and may result in greater margins of error (compared to 5-
      year estimates).
2.    Children are defined as people age 17 or younger. Men and women do not include children. Ibid.
3.    Analysis of the U.S. Census Bureau’s 2015 American Community Survey 1-year PUMS data by the American Immigration Council.
4.    Analysis of data from the 2016 Current Population Survey by the American Immigration Council, using IPUMS-CPS. Sarah Flood, Miriam
      King, Steven Ruggles, and J. Robert Warren, Integrated Public Use Microdata Series, Current Population Survey: Version 5.0 [dataset]
      (Minneapolis, MN: University of Minnesota, 2017).
5.    2015 ACS 1-Year Estimates.
6.    Augmented IPUMS-ACS data, as published in “State-Level Unauthorized Population and Eligible-to-Naturalize Estimates,” Center for
      Migration Studies data tool, accessed August 2017, data.cmsny.org/state.html.
7.    Figure includes immigrants who speak only English. Data based on survey respondents age 5 and over. Analysis of 2015 ACS 1-Year
      Estimates by the American Immigration Council.
8.    Data based on survey respondents age 25 and older. Ibid.
9.    Pew Research Center, “U.S. unauthorized immigration population estimates,” November 3, 2016,
      www.pewhispanic.org/interactives/unauthorized-immigrants/.
10.   Silva Mathema, “State-by-State Estimates of the Family Members of Unauthorized Immigrants,” University of Southern California’s Center
      for the Study of Immigrant Integration and the Center for American Progress, March 2017,
    www.americanprogress.org/issues/immigration/news/2017/03/16/427868/state-state-estimates-family-members-unauthorized-
    immigrants/.
11. American Immigration Council analysis of data from the 2010-2014 ACS 5-Year, using Silva Mathema’s “State-by-State Estimates of
    the Family Members of Unauthorized Immigrants” and IPUMS-USA. Steven Ruggles, Katie Genadek, Ronald Goeken, Josiah Grover,
    and Matthew Sobek, Integrated Public Use Microdata Series: Version 7.0 [dataset] (Minneapolis, MN: University of Minnesota, 2017).
12. “DACA-eligible” refers to immigrants who were immediately eligible to apply for DACA as of 2016. Migration Policy Institute analysis
    of U.S. Census Bureau data from the 2014 American Community Survey (ACS), 2010-14 ACS pooled, and the 2008 Survey of Income
    and Program Participation (SIPP), as cited in “Deferred Action for Childhood Arrivals (DACA) Data Tools,” accessed June 2017,
    www.migrationpolicy.org/programs/data-hub/deferred-action-childhood-arrivals-daca-profiles.
13. Ibid.
14.   Analysis of 2015 ACS 1-year PUMS data by the American Immigration Council. Categories are based on the 2012 North American Industry
      Classification System (NAICS), www.census.gov/eos/www/naics/index.html.
15.   Ibid.
16.   Analysis of 2015 ACS 1-year PUMS data by the American Immigration Council. Categories are based on the 2010 Standard Occupational
      Classification (SOC) system, www.bls.gov/soc/major_groups.htm.
17.   Ibid.
18.   Pew Research Center, “U.S. unauthorized immigration population estimates,” 2016.
19.   New American Economy, The Contributions of New Americans in California (New York, NY: August 2016), 5,
      http://www.newamericaneconomy.org/research/the-contributions-of-new-americans-in-california.
20.   Institute on Taxation & Economic Policy (ITEP), Undocumented Immigrants’ State & Local Tax Contributions (Washington, DC: March 2017), 3,
      www.itep.org/undocumented-immigrants-state-local-tax-contributions-2/.
21. ITEP, State & Local Tax Contributions of Young Undocumented Immigrants (Washington, DC: April 2017), Appendix 1,
    https://itep.org/state-local-tax-contributions-of-young-undocumented-immigrants/.
22.   New American Economy, The Contributions of New Americans in California, 4.
23.   “Business owners” include people who are self-employed, at least 18 years old, and work at least 15 hours per week at their businesses.
      Analysis of 2015 ACS 1-year PUMS data by the American Immigration Council.
24. American Immigration Council analysis of 2016 CPS data. Flood, King, Ruggles, and Warren, IPUMS CPS dataset.




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                                                                                                                             AR004596
FOOTNOTE 58




              AR004597
Illinois’ Undocumented Immigrant Population:
          A Summary of Recent Research
           by Rob Paral and Associates




                                By Fred Tsao
           Illinois Coalition for Immigrant and Refugee Rights
                               February 2014
 This report is made possible through the generous support of the Polk Bros. Foundation,
   the John D. and Catherine T. MacArthur Foundation, the Illinois Funders DACA Relief
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                                                                              AR004598
       Illinois’ Undocumented Immigrant Population:
  A Summary of Recent Research by Rob Paral and Associates
The numbers included in this report are based on estimates; the results should be used as a
guide to understand the general characteristics of the community. Information regarding the
methodology behind these figures is available at this link. More detailed data is available from
Rob Paral and Associates, rob@robparal.com.


More than half of Illinois’ undocumented immigrants live in suburban Chicago
Roughly 511,000 undocumented immigrants live in the state of Illinois. While concentrated in
metro Chicago, these immigrants live in counties throughout the state.

                                                        Suburban Chicago is home to about 54%
        Geographic Distribution of                      percent of the state’s undocumented
         Illinois Undocumented                          population, compared to 36% who live in
                Immigrants                              the city. DuPage, Kane, Lake, and Will
                                                        Counties are each home to more than
                   10%
                                                        10,000 undocumented residents, as are
                                                        Aurora Township (Kane County), Waukegan
                                                        Township (Lake), Elgin Township (Kane),
                                     36%                and Cicero, Hanover, and Elk Grove
                                                        Townships in Cook County.
        30%
                                                        In Chicago, South Lawndale (Little Village) is
                                                        the community area with the largest
                                                        number of undocumented immigrants
                                                        (20,000). Recent movements of
                         24%                            immigrants have created large
                                                        undocumented populations in Belmont
    Chicago                 Suburban Cook County        Cragin, Gage Park, Albany Park, and
    7 collar counties       94 downstate counties
                                                        Brighton Park that now outnumber the
                                                        undocumented in Pilsen (Lower West Side).

                          Undocumented populations in selected Illinois regions
                                         Estimated undocumented          Share of total population that is
                                                population                       undocumented
 Illinois                                                    511,000                                  4%
 Chicago                                                     183,000                                  7%
 Suburban Cook County                                        125,000                                  5%
 Collar counties (DuPage, Grundy, Kane,
                                                             151,000                                4.5%
 Kendall, Lake, McHenry, Will)
 Downstate (94 counties)                                      53,000                                  1%

                                                    1
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               Undocumented populations in selected Illinois regions
Selected Illinois counties                Estimated undocumented population
Kane County                                                          43,000
Lake County                                                          39,000
DuPage County                                                        36,000
Will County                                                          22,000
Champaign County                                                     11,000
McHenry County                                                        8,000
Winnebago County                                                      7,000


     Undocumented populations in Chicago and surrounding communities
          A more detailed on-line map of undocumented immigrant residential patterns
                     throughout the state of Illinois is available at this link.




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              Undocumented populations in selected Illinois regions
Selected townships                       Estimated undocumented population
Aurora (Kane County)                                                23,000
Cicero (Cook)                                                       18,000
Waukegan (Lake)                                                     14,000
Hanover (Cook)                                                      11,000
Elgin (Kane)                                                        10,000
Elk Grove (Cook)                                                    10,000
Joliet (Will)                                                        9,000
Addison (DuPage)                                                     9,000
Wheeling (Cook)                                                      9,000
Leyden (Cook)                                                        8,000
Proviso (Cook)                                                       8,000
Avon (DuPage)                                                        7,000
Palatine (Cook)                                                      7,000
Maine (Cook)                                                         7,000
Winfield (DuPage)                                                    6,000
Bloomingdale (DuPage)                                                6,000
Schaumburg (Cook)                                                    6,000
Dundee (Kane)                                                        6,000
Du Page (Will)                                                       5,000
Lyons (Cook)                                                         5,000
Berwyn (Cook)                                                        5,000

Selected Chicago community areas        Estimated undocumented population
South Lawndale (Little Village)                                   20,000
Belmont Cragin                                                    12,000
Gage Park                                                         11,000
Albany Park                                                       10,000
Brighton Park                                                      9,000
Lower West Side (Pilsen)                                           8,000
Avondale                                                           7,000
Logan Square                                                       7,000
New City (Back of the Yards)                                       7,000
West Ridge                                                         6,000
West Lawn                                                          6,000
Chicago Lawn                                                       6,000
Rogers Park                                                        5,000
Irving Park                                                        5,000




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Illinois’ undocumented are largely from Latin America, but immigrants from Asia and Europe
make up significant portions
Latin American immigrants make up approximately 84% of Illinois’ undocumented population.
Mexicans alone account for 77%. Asians make up approximately 9% of the undocumented
population in Illinois, but make up 12% of the undocumented population in the collar counties
and 21% of the undocumented downstate. The most significant Asian countries of origin are
the Philippines, India, Korea, and China. Another 5% are from Europe, mostly from Poland, the
former Soviet Union, and elsewhere in Eastern Europe.

                 Country/ region of origin of Illinois undocumented population
                          Number (share) Number (share) Number (share)                Number
                            from Mexico             from          from Asia         (share) from
                                               Latin America                           Europe
 Illinois                   392,000 (77%)       430,000 (84%)      48,000 (9%)        25,000 (5%)
 Chicago                    138,000 (75%)       155,000 (85%)      12,000 (7%)        11,000 (6%)
 Suburban Cook                95,000 (76%)      102,000 (82%)    15,000 (12%)           6,000 (5%)
 Collar counties            125,000 (83%)       136,000 (90%)       9,000 (6%)          4,000 (3%)
 Downstate 94 counties        34,000 (64%)        37,000 (70%)   11,000 (21%)           3,000 (5%)

Illinois’ undocumented immigrants are largely younger adults
Three out of every
five undocumented               Age Distribution of Illinois Undocumented
immigrants in Illinois                             Immigrants
are between the ages
of 25 and 44. The age                               15%    11%
distribution of the
undocumented are                                               15%
consistent across the
state, except that
downstate the
undocumented skew                                    58%
slightly younger.
                                Under 18 Years   18 to 24 Years   25 to 44 Years   total 45 or older



                     Age distribution of Illinois undocumented population
                          Number (share) Number (share) Number (share)             Number (share)
                             under 18            age 18-24      age 25-44          age 45 or older
 Illinois                    58,000 (11%)        78,000 (15%)  298,000 (58%)         77,000 (15%)
 Chicago                     19,000 (10%)        28,000 (16%)  106,000 (58%)         29,000 (16%)
 Suburban Cook               15,000 (12%)        17,000 (14%)   72,000 (58%)         21,000 (17%)
 Collar counties             18,000 (12%)        21,000 (14%)   91,000 (61%)         21,000 (14%)
 Downstate 94 counties        7,000 (13%)        12,000 (23%)   28,000 (53%)          6,000 (11%)


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Illinois’ undocumented immigrants skew slightly more male than the overall population,
Compared to the general population of Illinois, which is split 49%-51% male-female,
undocumented immigrants skew slightly more male, particularly in the collar counties and
downstate. In suburban Cook, women outnumber men among the undocumented.

                Gender distribution of Illinois undocumented population
                                 Number (share) male         Number (share) female
 Illinois                                    265,000 (52%)              246,000 (48%)
 Chicago                                      95,000 (52%)               87,000 (48%)
 Suburban Cook                                62,000 (50%)               63,000 (50%)
 Collar counties                              79,000 (53%)               71,000 (47%)
 Downstate 94 counties                        28,000 (54%)               24,000 (46%)

Illinois’ undocumented immigrants live overwhelmingly in families, many of which are mixed-
status families that include U.S. citizen spouses and children
Undocumented immigrants in Illinois live overwhelmingly in family households. Throughout
the Chicago area, roughly nine in ten undocumented immigrants live in family households.

                   Illinois undocumented immigrants living in family households
                                  Total          Undocumented           Share of undocumented
                              undocumented     immigrants living in      immigrants who live in
                                population      family households          family households
 Illinois                            511,000                 454,000                         89%
 Chicago                             183,000                 160,000                         88%
 Suburban Cook                       125,000                 114,000                         91%
 7 collar counties                   151,000                 140,000                         93%
 Downstate 94 counties                53,000                   40,000                        75%

Among the undocumented immigrants in Illinois, nearly half are heads of households that
include their spouse or minor children:
    x 29% are married and living with their own minor children
    x 10% are married with no children
    x 8% are single parents living with their own minor children.
    x 3% are single heads of households who do not live with their own children, but who live
       with other relatives.
    x 11% are the undocumented minor children living with a parent.
    x 20% live in family households as relatives of the head of the household; these
       individuals include adult children, parents, siblings, and other individuals who are
       related to the heads of household by birth, marriage, or adoption.
    x 8% live in family households but are unrelated to the head of household. These persons
       include boarders, roommates, unmarried partners, and unrelated foster children.
    x 11% of undocumented immigrants do not live in family households—that is, they do not
       live in a household in which any members are related to the head of the household.


                                                   5
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                        Relationship and household type among
                           Illinois undocumented immigrants

                                       11%



                            8%                                       29%




                      20%

                                                                        8%




                                      11%                      10%
                                                  3%

                             Married householder with own children
                             Single householder with own children
                             Married householder without own children
                             Single family householder without own children
                             Minor children living with parent
                             Other relative in family household
                             Nonrelative in family household
                             In non-family household




              Relationship and household type among Illinois undocumented immigrants
                                 Married            Single           Married       Single family
                               householder      householder        householder     householder
                             with own minor    with own minor      without own     without own
                                 children          children          children     minor children
Illinois                              149,000            43,000            53,000          14,000
Chicago                                48,000            15,000            19,000           6,000
Suburban Cook                          38,000            11,000            15,000           4,000
7 collar counties                      50,000            13,000            14,000           3,000
Downstate 94 counties                  13,000              4,000            6,000           1,000


                                                   6
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                Relationship and household type among Illinois undocumented immigrants
                                Minor children   Other relatives     Nonrelatives      In non-family
                                  living with    living in family   living in family   household or
                                     parent         household          household      group quarters
 Illinois                                 54,000          100,000              41,000          57,000
 Chicago                                  18,000            41,000             13,000          23,000
 Suburban Cook                            14,000            25,000              8,000          11,000
 7 collar counties                        16,000            29,000             16,000          10,000
 Downstate 94 counties                     6,000             6,000              5,000          13,000

Roughly 5% of all Illinois households, and 6% of family households, include at least one
undocumented immigrant. In Chicago alone, more than 8% of total households and more than
12% of family households include at least one undocumented immigrant.

                     Illinois households that include undocumented immigrants
                                 Total         Households with at least Share of total households
                              households         one undocumented         that have at least one
                                                      member             undocumented member
 Illinois                         4,745,000                    237,000                           5%
 Chicago                          1,015,000                     85,000                           8%
 Suburban Cook                      904,000                     59,000                           6%
 7 collar counties                1,130,000                     69,000                           6%
 Downstate 94 counties            1,696,000                     25,000                           1%

                   Illinois family households that include undocumented immigrants
                               Total family     Family households with         Share of total family
                               households              at least one        households that have at least
                                                undocumented member one undocumented member
 Illinois                           3,121,000                     198,000                             6%
 Chicago                              559,000                       68,000                           12%
 Suburban Cook                        619,000                       51,000                            8%
 7 collar counties                    839,000                       61,000                            7%
 Downstate 94 counties              1,104,000                       18,000                            2%

Of those Illinois family households that include at least one undocumented immigrant, 87% are
mixed-status--that is, they also include at least one U.S. citizen or immigrant with lawful status-
and 74% include a native-born U.S. citizen. In the collar counties surrounding Chicago, 90% of
family households are mixed-status, and 79% include at least one native-born U.S. citizen.




                                                    7
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         Illinois family households that include both undocumented immigrants and U.S. citizens
                             Family households that     Number (share) of such    Number (share) of
                               include at least one      households that also    such households that
                                 undocumented          include a legal immigrant also include a native-
                                    immigrant               or a U.S. citizen       born U.S. citizen
Illinois                                      198,000              172,000 (87%)          146,000 (74%)
Chicago                                        68,000               57,000 (84%)           47,000 (70%)
Suburban Cook                                  51,000               46,000 (89%)           38,000 (74%)
7 collar counties                              61,000               55,000 (90%)           48,000 (79%)
Downstate 94 counties                          18,000               15,000 (83%)           13,000 (70%)

Approximately 886,000 Illinois residents live with relatives in family households that include at
least one undocumented immigrant. (This count includes the immigrants themselves and all
other relatives in the family household, regardless of the status of those relatives.) Of these
residents, roughly 799,000 (90%) live in mixed-status households that also include a family
member who is a U.S. citizen or has lawful immigration status. Roughly 711,000 (80%) live in a
household with at least one native-born U.S. citizen and one undocumented immigrant.

                   Related persons in Illinois living in family households that include
                                 at least one undocumented immigrant
                             Related persons in        Number (share) of these Number (share) of these
                          family households that              Individuals in             individuals in
                            include at least one        households that also a      households that also
                              undocumented             legal immigrant or a U.S.    include a native-born
                                 immigrant                       citizen                    citizen
 Illinois                                  886,000                 799,000 (90%)              711,000 (80%)
 Chicago                                   301,000                 266,000 (88%)              233,000 (77%)
 Suburban Cook                             238,000                 217,000 (91%)              190,000 (80%)
 7 collar counties                         273,000                 252,000 (92%)              230,000 (84%)
 Downstate 94 counties                      74,000                  65,000 (88%)               58,000 (78%)

About 145,000 Illinois families with children include at least one undocumented parent, making
up 36% of all immigrant families with children. Among these families, 126,000 (88%) include at
least one native-born child, and 107,000 (74%) include only native-born children.

             Illinois family households with undocumented parents and U.S.-born children
                              Families with children    Number (share) of      Number (share) of
                               that include at least  these families with at   these families with
                               one undocumented        least one U.S.-born   only U.S.-born children
                                      parent                  child
 Illinois                                    145,000          126,000 (87%)           107,000 (74%)
 Chicago                                       48,000          42,000 (87%)            35,000 (74%)
 Suburban Cook                                 38,000          33,000 (86%)            29,000 (76%)
 7 collar counties                             46,000          41,000 (88%)            34,000 (73%)
 Downstate 94 counties                         13,000          11,000 (84%)             9,000 (72%)


                                                     8
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In 55% of all Illinois married couples with at least one undocumented spouse, the other spouse
is lawfully present (either native-born, naturalized, or lawful permanent resident). In 37% of
these couples, the other spouse is a U.S. citizen.

                   Illinois married couples with at least one undocumented spouse
                             Married couples with       Number (share) of      Number (share) of
                                  at least one        these couples in which these couples in which
                            undocumented spouse        one spouse is lawfully  one spouse is a US
                                                              present                citizen
 Illinois                                   141,000             78,000 (55%)           53,000 (37%)
 Chicago                                     46,000             25,000 (54%)           17,000 (38%)
 Suburban Cook                               38,000             23,000 (61%)           15,000 (38%)
 7 collar counties                           44,000             23,000 (53%)           16,000 (37%)
 Downstate 94 counties                       13,000              7,000 (54%)             5,000 (36%)

Illinois’ undocumented immigrants largely speak Spanish, but significant numbers speak
Asian/Pacific languages
More than four-fifths of Illinois’ undocumented immigrants speak Spanish. Roughly 20% of
undocumented immigrants in downstate Illinois speak an Asian or Pacific Island language—a
figure that corresponds to the 21% share of downstate undocumented immigrants who came
to the U.S. from Asia.

                   Languages spoken by Illinois undocumented immigrants
                            Undocumented          Number (share)    Number (share) who
                            persons 5 years      who speak Spanish speak an Asian/Pacific
                              old or older                               language
 Illinois                             505,000       415,000 (82%)            44,000 (9%)
 Chicago                              181,000       151,000 (83%)            10,000 (5%)
 Suburban Cook                        123,000         99,000 (81%)          15,000 (12%)
 7 collar counties                    150,000       131,000 (88%)             9,000 (6%)
 Downstate 94 counties                 52,000         34,000 (66%)          11,000 (20%)

Roughly half of Illinois’ undocumented immigrants have limited English proficiency
Half of Illinois’ undocumented immigrants (254,000) have difficulty with English; 93,000 speak
no English. About 57% of the undocumented in Chicago have limited English proficiency.

              English proficiency among Illinois undocumented immigrants
                              Undocumented         Number (share)   Number (share)
                              persons 5 years     who speak English  who speak no
                                old or older          not well           English
 Illinois                               505,000      161,000 (32%)      93,000 (19%)
 Chicago                                181,000        63,000 (35%)     41,000 (23%)
 Suburban Cook                          123,000        38,000 (31%)     22,000 (18%)
 7 collar counties                      150,000        45,000 (30%)     25,000 (17%)
 Downstate 94 counties                   52,000        15,000 (28%)       6,000 (11%)


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                                                                                        AR004607
Nearly half of Illinois’ undocumented immigrants have not completed high school, though a
significant share have earned a college degree
Approximately 47% of Illinois’ undocumented population (176,000) have not earned a high
school diploma. About 30% (113,000) have never attended high school. On the other hand,
29% (109,000) have a high school diploma but never attended college, 8% (29,000) have
attended college but have not earned a degree, and 16% (61,000) have earned at least an
associate’s degree. In downstate Illinois, 20% of undocumented immigrants have earned at
least a bachelor’s degree.


                         Educational Attainment Among Illinois
                              Undocumented Immigrants

                                             16%
                                                            30%
                                       8%




                                            29%             17%



                     No high school                     Some high school, no diploma
                     High school diploma, no college    Some college, no degree
                     At least Associate's Degree


                   Educational attainment among Illinois undocumented immigrants
                    Undocumented      Did not    Attended Completed Attended               Completed
                      persons 25       attend        high     high school, college,          at least
                      years old or      high     school, no no college no degree           associate’s
                         older         school     diploma                                    degree
 Illinois                  375,000     113,000       63,000       109,000    29,000             61,000
 Chicago                   135,000       43,000      21,000        41,000    10,000             21,000
 Suburban Cook               93,000      27,000      13,000        29,000      8,000            17,000
 7 collar counties         112,000       35,000      22,000        30,000      9,000            16,000
 Downstate 94                34,000       9,000        6,000         9,000     3,000              7,000
 counties

Roughly one-third of Illinois’ undocumented immigrants live below the federal poverty line
Approximately 29% of Illinois’ undocumented immigrants (146,000) live below 100% of the
federal poverty level ($23,550 for a household of four). Another 34% (171,000) are between
100% and 200% of the poverty line. In Chicago alone, 33% (60,000) are below 100% of the
federal poverty level, and 67% (122,000) are below 200% of the poverty line.


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                         Income among Illinois undocumented immigrants
                          Undocumented persons     Number (share) with      Number (share) with
                          for whom poverty status income below 200% of     income below 100% of
                               is determined       federal poverty level    federal poverty level
 Illinois                                 503,000         316,000 (63%)             146,000 (29%)
 Chicago                                  181,000         122,000 (67%)              60,000 (33%)
 Suburban Cook                            124,000           70,000 (57%)             30,000 (24%)
 7 collar counties                        149,000           89,000 (60%)             38,000 (25%)
 Downstate 94 counties                     48,000           35,000 (72%)             18,000 (37%)

Under the Senate immigration reform bill, legalizing immigrants must either maintain regular
employment or average income of at least 100% of the federal poverty level to renew their
provisional status. To gain lawful permanent resident (green card) status, they must maintain
regular employment or income of average income of at least 125% of the poverty line.

Illinois’ undocumented immigrants participate in the state labor force at high rates, working
in a broad range of industries and occupations
Roughly 68% of undocumented immigrants participate in the Illinois labor force—a slightly
higher participation rate than that of the general population (66%). The labor force
participation rate is particularly high in the collar counties (75%).

                   Labor force participation among Illinois undocumented immigrants
                              Undocumented       Number (share)        Number       Number (share)
                             persons 16 years civilian employed (share) civilian    not in the labor
                                old or older                         unemployed          force
 Illinois                               465,000      286,000 (62%)     33,000 (7%)    145,000 (31%)
 Chicago                                168,000        99,000 (59%)    14,000 (9%)     54,000 (32%)
 Suburban Cook                          112,000        69,000 (61%)     7,000 (6%)     37,000 (33%)
 7 collar counties                      138,000        93,000 (68%)    10,000 (7%)     35,000 (25%)
 Downstate 94 counties                   47,000        25,000 (53%)     3,000 (6%)     19,000 (41%)

Roughly one-fifth of Illinois’ undocumented immigrants work in manufacturing, while another
one-fifth work in accommodations and food services. Approximately 11% work in
administrative and support services (including waste management), and another 10% work in
construction.

           Common industries of employment among Illinois undocumented immigrants
                          Manufacturing Accommodations Administrative Construction
                                          and food services    and support
                                                                 services
 Illinois                    63,000 (22%)     59,000 (21%)      31,000 (11%) 28,000 (10%)
 Chicago                     22,000 (23%)     21,000 (21%)        8,000 (8%) 12,000 (12%)
 Suburban Cook               13,000 (19%)     12,000 (18%)       8,000 (12%)   8,000 (12%)
 Collar counties             21,000 (22%)     22,000 (23%)      12,000 (13%)    6,000 (7%)
 Downstate 94 counties        7,000 (27%)       5,000 (19%)       2,000 (7%)    1,000 (5%)

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 The most common occupations among Illinois’ undocumented immigrants are in production
and in food preparation and service. Other common occupations involve sales and office work;
transportation and material moving; building and grounds cleaning and maintenance;
management, business, science, and arts professional work, and construction.

                   Common occupations among Illinois undocumented immigrants
                   Civilian employed   Production        Food       Sales and      Transportation
                    undocumented                     preparation      office        and material
                   persons 16 years                  and serving                      moving
                      old or older                     related
 Illinois                     286,000 52,000 (18%) 50,000 (18%) 38,000 (13%)         36,000 (13%)
 Chicago                       99,000 18,000 (18%) 18,000 (18%) 13,000 (13%)         13,000 (13%)
 Suburban Cook                 69,000 12,000 (17%) 11,000 (16%) 10,000 (14%)          8,000 (12%)
 Collar counties               93,000 18,000 (19%) 17,000 (19%) 12,000 (13%)         12,000 (13%)
 Downstate 94                  25,000  5,000 (19%)    4,000 (15%)  3,000 (12%)        3,000 (11%)
 counties

          Common occupations among Illinois undocumented immigrants (continued)
                  Civilian employed      Building and    Management,      Construction
                    undocumented            grounds         business,
                   persons 16 years      cleaning and   science, and arts
                     old or older       maintenance       professional
 Illinois                    286,000       33,000 (12%)     28,000 (10%)   26,000 (9%)
 Chicago                      99,000       10,000 (10%)       8,000 (9%) 11,000 (11%)
 Suburban Cook                69,000        7,000 (11%)      7,000 (10%)   8,000 (11%)
 Collar counties              93,000       13,000 (14%)       8,000 (8%)    7,000 (7%)
 Downstate 94                 25,000        3,000 (10%)      5,000 (20%)    1,000 (4%)
 counties

Implications for immigration reform
The characteristics of Illinois’ undocumented immigrants bear several significant implications
for any potential reform of our immigration system, such as that outlined in the Senate
immigration bill.

Undocumented immigrants are increasingly present in the Chicago suburbs, with more than
half living there compared to 36% in the city. Immigration service infrastructure in the suburbs,
however, is still limited compared to that which serves immigrants living in the city of Chicago.
Should immigration reform legislation that includes legalization win passage, this suburban
infrastructure will need significant additional investment in order to adequately serve all
those suburban immigrants who seek legalization.

Since Illinois’ undocumented population overwhelmingly hails from Latin America and speaks
Spanish, any effective outreach to the undocumented must therefore be conducted primarily
in Spanish. However, significant undocumented populations hail from Asia (the Philippines,
India, Korea, and China) and from Eastern Europe. Organizations that serve Asian and Eastern

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European communities must therefore be included in any informational outreach and direct
service should immigration reform win enactment.

Illinois’ undocumented immigrants live predominantly in mixed-status families, often with a
U.S. citizen spouse or child. This finding is contrary to the common image of undocumented
immigrants as single and unattached. On the contrary, undocumented immigrants have strong
equities in this country, a fact that provides a powerful argument against enforcement policies
that separate these immigrants from their lawfully present spouses and children. Indeed, the
fact that 78,000 undocumented immigrants in Illinois are married to a U.S. citizen or lawfully
present immigrant spouse further suggests that any immigration reform legislation should fix
the unlawful presence bars and other obstacles that currently block the undocumented
spouses from gaining lawful status through sponsorship of the lawfully present spouses. Such
fixes would remove the threat of deportation and separation for these couples, and offer a
simpler and quicker alternative to legalization, which, if the Senate bill offers any indication,
would involve a long and rigorous process.

Undocumented immigrants will also need significant assistance to meet any educational,
language, and work requirements that legalization might impose. Half of the state’s
undocumented immigrants have difficulty with English, and roughly half have not earned a high
school diploma. And while the undocumented have strong rates of labor force participation,
nearly two-thirds have incomes below 200% of the federal poverty level. To have a fair
opportunity to gain lawful status through a legalization program, our state’s undocumented
immigrants will need to have available to them English language and vocational training
programs that would enable them to enhance their education and job skills. Such programming
would enable legalizing immigrants to not only meet the requirements of legalization but also
to contribute even more to our state’s economic and civic life.




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The Contributions of
New Americans in New York




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Partners




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The Contributions of
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The Contributions of New Americans in New York | Demographics




Demographics
         ew York, our country’s third largest state by          community and its historical ties to America’s

N        population, is a giant among even the most
         immigrant-rich states. From the 1960s to
the 1990s, New York was one of seven states that as
                                                                immigration history are just two reasons why the Empire
                                                                State is known as a place where people from all over the
                                                                world come to build new lives and grab a piece of the
a group attracted between 60 to 75 percent of all the           American Dream.
immigrants arriving in America each year.1 Today, New
York is home to nearly 4.5 million immigrants, the third        Today, New York is home to nearly
largest number of foreign-born residents in the country,
surpassed only by California and Texas.
                                                                4.5 million immigrants, the
                                                                third largest number of foreign-
Even today, the number of immigrants in the state
continues to rise. From 2010 to 2014, New York’s
                                                                born residents in the country,
immigrant population grew by more than 160,000                  surpassed only by California and
people, allowing New York to increase its already               Texas.
sizable immigrant population by almost 4 percent. In
2014, more than one out of every 5 New Yorkers was
born in another country. New York’s large immigrant




4,462,737                                                       161,579
New York residents were                                         people immigrated to New York
born abroad.                                                    between 2010 and 2014.
                                                                                                5.8%
                                                                                                Growth in immigrant
                                                                                                population, U.S.

                                                                          3.8%
                                                                          Growth in immigrant
            23%                           13%                             population, NY




    Share of New York            Share of U.S. residents
    residents born abroad        born abroad                    2010                                                  2014


                                                                                                                         1



                                                                                                    AR004616
The Contributions of New Americans in New York |   The Role of Immigrants as Entrepreneurs




The Role of Immigrants
as Entrepreneurs
288,737                                                                     33%
                                                                                                Share of entrepreneurs
                                                                                                in New York who are
                                                                                                immigrants
immigrants in New York are
self-employed
Immigrant-owned businesses                                             496,928 people in New York
generated $6.13 B in business                                          are employed at ﬁrms owned by
income in 2014.                                                        immigrants.
                                                                      * This is a conservative estimate that excludes large, publicly
                                                                        owned ﬁrms.




           iven that the act of picking up and moving to               The super-charged entrepreneurial activity of

G          another country is inherently brave and risky,
           it should be little surprise that immigrants
have repeatedly been found to be more entrepreneurial
                                                                       immigrants provides real and meaningful benefits
                                                                       to everyday Americans. In 2010, roughly one in 10
                                                                       American workers with jobs at private firms were
than the U.S. population as a whole.2 According to The                 employed at immigrant-founded companies. Such
Kauffman Foundation, a nonprofit group that studies                    businesses also generated more than $775 billion in
entrepreneurship, immigrants were almost twice as                      annual business revenue that year.6 In New York, like the
likely to start a new business in 2015 than the native-                country as a whole, immigrants are currently punching
born population.3 The companies they founded ranged                    far above their weight class as entrepreneurs. Foreign-
from small businesses on Main Street to large firms                    born workers currently make up 32.7 percent of all
responsible for thousands of American jobs. Recent                     entrepreneurs in the state, despite accounting for 22.6
studies, for instance, have indicated that immigrants                  percent of New York’s population. Their firms generated
own more than half of the grocery stores in America and                $6.13 billion in business income in 2014. New York firms
48 percent of nail salons.4 Foreign-born entrepreneurs                 with immigrant owners also provided jobs to roughly
are also behind 51 percent of our country’s billion dollar             497,000 Americans in 2007.7
startups, and a substantial share of our Fortune 500
firms.5                                                                Immigrant entrepreneurship was also important to New
                                                                       York’s recovery after the Great Recession. From 2007



                                                                                                                                        2



                                                                                                                    AR004617
The Contributions of New Americans in New York |   The Role of Immigrants as Entrepreneurs




to 2011, immigrants founded 42.0 percent of all new                    entrepreneurs sell a majority stake in their company and
businesses in the state.8                                              then apply for a visa as a high-skilled worker, rather than
                                                                       the owner of their firm. And a few enterprising venture
In 2010, roughly 1 in 10 American                                      capitalists, led by Jeff Bussgang in Boston and Brad Feld
                                                                       in Colorado, have launched programs that bring over
workers with jobs at private ﬁrms                                      foreign-born entrepreneurs to serve as “entrepreneurs
were employed at immigrant-                                            in residence” at colleges and universities. Because
founded companies.                                                     nonprofit academic institutions are exempt from the
                                                                       H-1B cap, such entrepreneurs can secure their visas by
Immigrant entrepreneurs have long been a critical part                 working as mentors at a school, and then build their
of New York’s economic success story. Ralph Lauren,                    startups in their free time.
the founder of the New York City-based Fortune 500
fashion company of the same name, was the child of two                 These innovative programs, which are currently
immigrants from Belarus.9 Lauren, born Ralph Lifshitz,                 available at 13 colleges and universities across the
claims that his upbringing as a child of two European                  country, are already resulting in meaningful economic
Jews in the Bronx informed his brand, which is strongly                contributions. As of mid-2016, 23 entrepreneurs had
identified with Old World glamour and a desire to                      secured visas through these programs nationally. The
achieve wealth and success.10 Thirty other Fortune 500                 companies they founded had created 261 jobs and raised
firms based in the state—including banks like Goldman                  more than $100 million in funding.12
Sachs and media giants like NewsCorp and CBS—had at
least one founder who either immigrated to the United
States or was the child of immigrants. Together, those
31 companies employ almost 1.8 million people globally
and bring in more than $797 billion in revenues each
year.

All told, immigrants and their children have played a
larger role founding Fortune 500 firms in New York
than they have nationwide. Of the 55 Fortune 500 firms
based in New York, 56.4 percent of firms had at least
one founder who was an immigrant or the child of an



                                                                       56%
immigrant. For the country as a whole, the equivalent
figure is 41.4 percent.

Currently, there is no visa to come to America, start a
company, and create jobs for U.S. workers—even if an
entrepreneur already has a business plan and has raised                of Fortune 500 companies
hundreds of thousands of dollars to support his or her
idea. Trying to exploit that flaw in our system, countries             based in New York were founded
around the world—from Canada to Singapore, Australia                   by immigrants or their children.
to Chile—have enacted startup visas, often with the
explicit purpose of luring away entrepreneurs who want                 Those ﬁrms generate $797.2 B
to build a U.S. business but cannot get a visa to do so.11
Here in the United States, many individuals have gone to               in annual revenue, and employ
great lengths to circumnavigate the visa hurdles. Many                 1,771,183 people globally.
                                                                                                                                 3



                                                                                                             AR004618
 The Contributions of New Americans in New York |   Spotlight On: Shan-Lyn Ma




  SPOTLIGHT ON




Shan-Lyn Ma
 Co-founder & CEO of Zola


        han-Lyn Ma, the co-founder and CEO of Zola,

S       a $40 million dollar modern wedding registry
        business, says she would have started her
 business much earlier if not for the limitations posed by
 U.S. immigration laws.

 Ma, who was born in Singapore but grew up in Australia,
 moved to America in 2004 to pursue an MBA at Stanford
 University. After graduating, she took a job at Yahoo!,
 where she worked for two years. While Ma loved her
 experience at Yahoo!, she soon, as she puts it, “started
 craving a startup experience.” In 2008, she moved to
 New York City to join the newly founded Gilt Groupe, an
 online shopping startup. Ma was the creator and general
 manager of Gilt Taste, an arm of the larger group that
 sold gourmet wine and food. After her time at Gilt, Ma
 felt ready to branch out on her own. “I finally had the
 experience under my belt to take the plunge,” she says.

 Inspiration came when many of Ma’s friends started
 getting married. “I was going to a lot of weddings and
 all the newlyweds expressed a frustration with the                     Zola has been wildly successful. The New-York-City-
 classic gift registry system,” she explains. “They would               based company has raised over $16 million in venture
 say: ‘I loved my wedding but I hated my registry.’”                    capital funding and is the fastest-growing wedding
 So, in 2013, Ma, along with Kevin Ryan and Nobu                        registry company in the United States. It also grossed
 Nakaguchi, founded Zola, a company that would                          $40 million in 2015. In the last two and a half years,
“transform wedding registries from the most frustrating                 the team has grown from three co-founders to 40
 part of wedding planning to the most enjoyable                         employees—38 of whom are American-born.
 aspect.” Geared toward tech-savvy millennials,
 Zola offers a mobile app that allows couples to build                 Zola grossed $40 M in 2015 and,
 customized registries with ease. And, unlike traditional              in the last 2.5 years, its team has
 wedding registries, Zola allows wedding guests to gift
 experiences, like a hot-air balloon ride or a winery tour,
                                                                       grown from three co-founders to
 as well as cash for down payments or other expenses.                  40 employees—38 of whom are
                                                                       American-born.

                                                                                                                                 4



                                                                                                             AR004619
The Contributions of New Americans in New York |   Spotlight On: Shan-Lyn Ma




But despite this success, the immigration system slowed
the company’s progress. “Until I got my green card, I felt
like my place in the United States was very precarious,”
she says, “like I could be asked to leave the country at
any time.” She adds that for an inherently risky field like
entrepreneurship, the uncertainty around immigration
status can be prohibitive. Although Ma and her team
eventually figured out a way for Zola to sponsor her
green card, “it took a lot of work to figure out how to
do so in a way that would allow me to work for my own
company,” she says.

Still, Ma considers herself one of the lucky ones. “There
are many immigrants in this country who would start
companies and create jobs if there was an easier way
for them to do so,” she says, “but the current system
stifles this entrepreneurial spirit and hurts the American
economy in the process.”




                                                                                          5



                                                                               AR004620
The Contributions of New Americans in New York |          Income and Tax Contributions




Income and Tax
Contributions
    mmigrants in New York play an important role                             By spending the money they earn at businesses such as

I   contributing to the state as both taxpayers and
    consumers. In 2014, immigrant-led households in
New York earned $ 145.8 billion dollars—or 23.2 percent
                                                                             hair salons, grocery stores, and coffee shops, immigrants
                                                                             also support small business owners and job creation
                                                                             in the communities where they live. In New York
of all income earned by New Yorkers that year. With                          immigrants held $ 103.3 billion in spending power in
those earnings, the state’s foreign-born households                          2014, defined in this brief as the net income available to
were able to contribute more than one in every five                          a family after paying federal, state, and local taxes. Some
dollars paid by New York residents in state and local                        specific ethnic groups within the immigrant community
tax revenues, payments that support important public                         had particular power as consumers, such as Asians and
services such as public schools and police. Through                          immigrants from the Middle East and North Africa.
their individual wage contributions, immigrants also
paid almost $ 17.4 billion into the Social Security and
Medicare programs that year.


INCOME AND TAX CONTRIBUTIONS OF KEY GROUPS WITHIN NEW YORK'S IMMIGRANT POPULATION, 2014


Asian                                   Hispanic                                Middle Eastern                  Sub-Saharan African
                                                                                & North African


$40.9 B                                 $31.4 B                                 $5.9 B                          $4.6 B
Total Income in 2014                   Total Income in 2014                     Total Income in 2014           Total Income in 2014

$12.4 B                                 $8.3 B                                  $ 1.8 B                         $1.3 B
Total amount paid in taxes             Total amount paid in taxes               Total amount paid in taxes     Total amount paid in taxes




                       $8B                                                                                                   $811.0 M
        $40.9 B                               $31.4 B                                           $1.2 B
                                                               $4.7 B                $5.9 B                        $4.6 B


                                                                                         $634.3M                       $509.4M
                  $4.4 B                                    $3.5 B



   Total income            Amount paid in federal taxes           Amount paid in state and local taxes


                                                                                                                                        6



                                                                                                                   AR004621
The Contributions of New Americans in New York |   Income and Tax Contributions




                                                   In 2014, immigrants
                                                   in New York earned
                                                   $145.8 B.


                                                                      $15.9 B — went to state and local taxes…

                                                                      $26.5 B — went to federal taxes…



                                                                      Leaving them with $103.3 B in
                                                                      remaining spending power.




ENTITLEMENT CONTRIBUTIONS



New York's immigrants also contribute                                               $3.7 B
to our country’s entitlement programs.                                                           $13.7B
In 2014, through taxes on their individual                                        Medicare
wages, immigrants contributed $3.7 B to
Medicare and $13.7 B to Social Security.
                                                                                             Social Security


                                                                                                                 7



                                                                                                      AR004622
The Contributions of New Americans in New York |    The Role of Immigrants in the Broader Workforce




The Role of
Immigrants in the
Broader Workforce
                                                                        Because they tended to be working-age,


     23%
                       Immigrants made up 23%
                       of New York's population                         Immigrants were 32% more
                       in 2014…
                                                                        likely to work than native-born
                                                                        New Yorkers.
                                                                        58.4%                              44.3%
                       But they made up 28% of
    28%                the employed population in
                       the state.
                                                                        of immigrants of all
                                                                        ages worked in 2014.
                                                                                                           of the native-born
                                                                                                           population worked.




         eople who come to the United States often come                 workers are less interested in pursuing, as well as high-

P        here to work. Because of that, they often have
         skills that make them a good fit for our labor
force—and a strong complement to American workers
                                                                        level positions that allow innovation-driven firms to
                                                                        expand and add jobs for Americans at all skill levels.

already here. In the country as a whole, immigrants                     In New York, 71% of the foreign-
are much more likely to be working-age than the U.S.-
born. They also have a notably different educational
                                                                        born population is of working
profile. The vast majority of Americans – more than                     age — deﬁned in this brief as
79 percent of the U.S.-born population – fall into the                  falling between the ages of 25 and
middle of the education spectrum by holding a high
school or bachelor’s degree. Immigrants, by contrast,                   64 — compared to less than 50%
are more likely to gravitate toward either end of the                   of the native-born population.
skill spectrum. They are more likely to lack a high
school diploma than the native born, but also more                      Immigrants in New York in many ways resemble the
likely to have an advanced degree. This makes them                      trend in the country as whole. In New York, 71.0 percent
good candidates for labor-intensive positions, such                     of the foreign-born population is working aged, defined
as housekeeping, that many more educated U.S.-born                      in this brief as falling between the ages 25 and 64, while


                                                                                                                                    8



                                                                                                                 AR004623
The Contributions of New Americans in New York |   The Role of Immigrants in the Broader Workforce




AGE BREAKDOWN OF NEW YORK'S FOREIGN-BORN AND                           EDUCATIONAL ATTAINMENT OF NEW YORK'S FOREIGN-
NATIVE-BORN POPULATIONS, 2014                                          BORN AND NATIVE-BORN POPULATION (AGES 25+), 2014


FOREIGN-BORN                                                           FOREIGN-BORN

                    WORKING AGE


12%                     71%                         17%                     26%                      44%           18%         12%

NATIVE-BORN                                                            NATIVE-BORN

                               WORKING AGE


         37%                        49%              14%              9%                   54%                  21%          16%


  0-24         25-64          65+                                         Less than High School            Bachelor's Degree

                                                                          High School/Some College         Graduate Degree




only 49.0 percent of the native-born population is. That               state’s workers in traveler accommodation, contributing
22.0-percentage point gap has major implications for the               to New York’s sizeable tourism industry, which added
state’s workforce. In 2014, immigrants in the state were               $62.5 billion to the state’s Gross Domestic Product
31.8 percent more likely to be actively employed than the              (GDP) in 2014.13 Immigrants also frequently gravitate
state’s native-born residents—a reality driven largely by              toward sectors where employers may struggle to find
the fact that a larger than average portion of the native-             enough interested U.S.-born workers. Immigrants in
born population was under the age of 25. Foreign-born                  New York, for instance, make up 68.3 percent of workers
individuals punched above their weight class as workers                in private households, an industry that includes maids,
in the state as well: In 2014, they made up 27.8 percent of            housekeepers, and nannies.
all employed individuals in the state, despite accounting
for 22.6 percent of the New York’s overall population.                 In recent decades, immigrants have also played an
                                                                       important role in New York’s manufacturing industry.
When it comes to education, however, New York differs                  Studies have found that the arrival of immigrants to
from the national pattern. Immigrants here are less                    a community can have a powerful impact creating
likely to have either a bachelor’s degree or graduate                  or preserving manufacturing jobs. This is because
level training than native-born residents. Instead, they               foreign-born workers give employers access to a large
are considerably more likely to have less than a high-                 and relatively affordable pool of laborers, making
school education: More than one in four of the state’s                 it less attractive for firms to move work to cheaper
immigrants fall into that category, compared to 9.3                    locations offshore. One study by the Partnership for a
percent of natives.                                                    New American Economy and the Americas Society/
                                                                       Council of the Americas, for instance, found that every
The immigrants who are working in New York contribute                  time 1,000 immigrants arrive in a given U.S. county, 46
to a wide range of different industries in the state—many              manufacturing jobs are preserved that would otherwise
of which are growing and important parts of the local                  not exist or have moved elsewhere.14 The more than
economy. Foreign-born residents make up more than                      4.3 million immigrants who were living in the state in
three out of five workers in New York’s home health                    2010 were responsible for creating or preserving nearly
care sector. They also account for 44.7 percent of the                 198,000 manufacturing jobs.


                                                                                                                                     9



                                                                                                                AR004624
The Contributions of New Americans in New York |   The Role of Immigrants in the Broader Workforce




Aside from just looking at overarching industry groups,
our work also examines the share of workers that are
foreign-born in specific occupations and jobs. Reflecting
their unique educational profile, immigrants in New
York are often overrepresented in particularly labor-
intensive positions. While foreign-born workers make
up 27.8 percent of the state’s employed population, they
account for 71.4 percent of taxi driver and chauffeurs.
They also make up 57.9 percent of those working as chefs
and head cooks, and 57.3 percent of nursing, psychiatric,
and home health aides.



INDUSTRIES WITH LARGEST SHARE OF FOREIGN-BORN WORKERS, 2014


    Share of workers who are immigrants

1                          2                           3                             4                       5
Taxi and Limousine         Private Households          Home Healthcare               Services to Buildings   Traveler
Service                                                Services                      and Dwellings           Accommodation




        75%                       68%                      60%                               55%                    45%


63,768 immigrant           69,471 immigrant            112,637 immigrant             63,931 immigrant        42,682 immigrant
workers                    workers                     workers                       workers                 workers
85,387 total workers       101,685 total workers       186,812 total workers         116,894 total workers   95,561 total workers




                                                                                                                                    10



                                                                                                              AR004625
The Contributions of New Americans in New York |   The Role of Immigrants in the Broader Workforce




OCCUPATIONS WITH LARGEST SHARE OF FOREIGN-BORN WORKERS, 2014

1                                 2                                    3                                 4
Taxi Drivers and Chauﬀeurs        Maids and                            Chefs and Head Cooks              Nursing, Psychiatric, and
                                  Housekeeping Cleaners                                                  Home Health Aides




            71%                             67%                                     58%
                                                                                                                 57%

66,327 immigrant workers          273,324 immigrant workers            32,131 immigrant workers          170,502 immigrant workers
92,914 total workers              352,093 total workers                295,203 total workers             297,591 total workers

5                                 6                                    7                                 8
Construction Laborers             Painters, Construction               Misc. food preparation and        Cooks
                                  and Maintenance                      serving-related workers




          50%                                 48%                                   44%                            41%


79,759 immigrant workers         21,461 immigrant workers              15,700 immigrant workers          62,581 immigrant workers
160,298 total workers            44,900 total workers                  35,917 total workers              151,595 total workers

9                                 10
Personal Care Aides              Janitors and Building
                                 Cleaners




           40%
                                         39%

40,552 immigrant workers          105,237 immigrant workers
100,815 total workers             268,244 total workers                    Share of workers who are immigrants


                                                                                                                                     11



                                                                                                                 AR004626
The Contributions of New Americans in New York   |   Science, Technology, Engineering, and Math




Science, Technology,
Engineering, and Math
          etween 2014 and 2024, science, technology,                     In 2011, Cornell University earned
B         engineering, and math — or “STEM” — fields are
          projected to play a key role in U.S. economic
growth, adding almost 800,000 new jobs and growing
                                                                         almost 91 patents, placing it
                                                                         among the top 10 most productive
37.0 percent faster than the U.S. economy as a whole.15
Immigrants are already playing a huge part ensuring
                                                                         in the country. Almost 2 out of
that New York remains a leading innovator in STEM                        every 3 of those patents had at
fields like healthcare and biotechnology. Despite making                 least one foreign-born inventor.
up 22.6 percent of the state’s population, foreign-born
New Yorkers made up 26.5 percent of STEM workers in                      Immigrants, however, are not just a crucial piece
the state in 2014. Our outdated immigration system,                      of New York’s STEM workforce now—they are also
however, makes it difficult for STEM employers to                        likely to power it in the future. In 2014 students on
sponsor the high-skilled workers they need to fill critical              temporary visas made up roughly one out of every 3
positions. This is problematic because it can slow the                   students earning a STEM Master’s degree at New York’s
ability of firms to expand and add jobs for U.S.-born                    universities, and 40.7 percent of students earning
workers. It also makes little sense, given the country’s                 a PhD-level degree in STEM. Even after America’s
ongoing shortage of STEM talent — an issue that heavily                  universities invest in their education, however, many of
impacts employers here. In 2014, 11.2 STEM jobs were                     those students struggle to remain in the country after
advertised online in New York for every one unemployed                   graduation. Creating visa pathways that would make it
STEM worker in the state.                                                easier for them to stay would have a major economic
                                                                         benefit to New York. A study by the Partnership for a




164,854                                                                 The resulting ratio of open jobs to
                                                                        available workers was
available STEM jobs were
advertised online in 2014,
compared to 14,673
                                                                         11.2 to 1
unemployed STEM workers.

                                                                                                                                12



                                                                                                              AR004627
The Contributions of New Americans in New York |   Science, Technology, Engineering, and Math




If half of New York's 7,479
advanced level STEM grads on                                                                     Share of students earning

temporary visas stayed in the                                                   35%              STEM Master's degrees
                                                                                                 who are foreign-born.

state after graduation…

9,797
jobs for U.S.-born workers would                                                41%
                                                                                                 Share of students earning
                                                                                                 STEM PhDs who are
                                                                                                 foreign-born.

be created by 2021.


New American Economy and the American Enterprise                       UNIVERSITY PATENTS WITH FOREIGN-BORN INVENTORS, 2011
Institute found that every time a state gains 100 foreign-
born STEM workers with graduate-level STEM training                    Cornell University
from a U.S. school, 262 more jobs are created for U.S.-
born workers there in the seven years that follow.16 For                                                                              91

New York, that means that retaining even half of the                                   65%
7,479 graduates earning advanced-level STEM degrees
in 2014 could result in the creation of almost 9,800 new                   Share of patents with at least one foreign-born inventor
positions for U.S.-born workers by 2021.
                                                                           Total number of patents produced
New York’s immigrants also contribute to the state’s
economic growth and competitiveness by earning
patents on cutting-edge research and products. In 2011,
Cornell University earned almost 91 patents, placing
it among the top 10 most productive in the country.
Almost two out of every three of those patents had
at least one foreign-born inventor. Such patents are
licensed to existing companies or used as foundations
for new companies, creating American jobs and revenue
along the way.17




                                                                                                                                       13



                                                                                                                  AR004628
The Contributions of New Americans in New York |   Spotlight On: Ragy Thomas




 SPOTLIGHT ON




Ragy Thomas
Founder & CEO of Sprinklr


        agy Thomas, founder and CEO of the social

R        media platform Sprinklr, believes that an
        open, streamlined immigration policy is vital
to the economic future of America. As a technology
entrepreneur, investor, and visionary, who has founded
four startups and created thousands of jobs, Thomas’
own story reveals how drawing global talent to America
can fuel innovation, build businesses, and multiply job
opportunities for other Americans.

Thomas was born and educated in India and received an
undergraduate degree in computer science engineering
from Pondicherry University. At 22, he came to the
United States for a computer-programming job in
Wisconsin. After six months in Wisconsin, he moved
to the East Coast and advanced his career in leaps and
bounds over the next 20 years. After getting his MBA
in finance and information systems from New York
University, he launched a series of successful startups,
including an email marketing business that sold for
$120 million. Today, Thomas runs Sprinklr, where he                   Photo Credit: David Yellen
employs 1,200 people around the world.
                                                                      targeted marketing. Thomas’ clients include some of
After getting his MBA in ﬁnance                                       the biggest global brands and half of the largest U.S.
                                                                      companies, such as Nike, McDonald’s, and Verizon.
and information systems                                               According to Forbes, Sprinklr surpassed $100 million in
from New York University,                                             annualized revenue in 2015, up 150 percent from a year
                                                                      earlier. In a sector where marketers are known to change
Thomas launched a series of                                           their preferences at the drop of a hat, Sprinklr has an
successful startups, including                                        impressive client retention rate of close to 95 percent.
an email marketing business                                           This is partly due to the level of customization and
                                                                      nimbleness that the firm provides each of its clients. An
that sold for $120 M.                                                 organizational culture that places the client at the center
Sprinklr helps more than 1,000 brands reach customers                 of all decisions and Thomas’ personal commitment to
through various channels of social media and provides                 instantly fix any customer complaints have played a
them with tracking and analytical data for improved                   contributing role in the success of the firm.


                                                                                                                               14



                                                                                                            AR004629
The Contributions of New Americans in New York |   Spotlight On: Ragy Thomas




“History is such a beautiful guide
 of what happens when you come
 together instead of stay apart,”
 Thomas says.
This is the type of economic gain that America attains
by attracting the best talent, Thomas says. And yet he
knows how difficult bringing and retaining that talent
can be. His path toward citizenship was sluggish. It took
Thomas about six years to receive his green card and
nearly a dozen before he was able to become a citizen.
He supports immigration policies that would eliminate
hurdles for newcomers, offer security to immigrant
families, and make it easier to attract talented minds
to the country. To him, immigrant innovation is what
makes America great. “History is such a beautiful guide
of what happens when you come together instead of stay
apart,” he says. “For countries to function, you need
the rules and you need a structure. But as a country,
we are blessed by being able to attract amazing people.
We have to preserve the DNA [of the United States] by
encouraging that.”




                                                                                          15



                                                                               AR004630
The Contributions of New Americans in New York | Healthcare




Healthcare
    n the coming years, the American healthcare               times more on healthcare services than those of working

I   industry is projected to see incredibly rapid growth—
    adding more new positions from 2014 to 2024 than
any other industry in our economy.18 Already, caregivers
                                                              age each year.20

                                                              Only two other states have a
are facing near unprecedented levels of demand.
Between 2013 and 2015, the number of Americans with
                                                              higher share of foreign-educated
health insurance rose by almost 17 million, opening the       physicians than New York.
door for many patients to receive more regular care.19
                                                              Immigrants are already playing a valuable role helping
The country’s 76.4 million baby boomers are also
                                                              New York meet some of its healthcare workforce gaps.
aging rapidly—at a major cost to our healthcare system.
                                                              In 2016 more than one in three physicians in New York
Studies have found that elderly Americans spend three


NEW YORK HAS A SHORTAGE OF HEALTHCARE WORKERS




91,911                                                        The resulting ratio of open jobs to
                                                              available workers was
available healthcare jobs were
advertised online in 2014,
compared to 31,897
                                                              2.9 to 1
unemployed healthcare workers.



Additional number of psychiatrists                            Shortage of occupational
needed now: 1,614                                             therapists by 2030: 1,048


Shortage of dentists
projected by 2025: 1,024


                                                                                                                       16



                                                                                                  AR004631
The Contributions of New Americans in New York | Healthcare




FOREIGN-BORN AND FOREIGN-EDUCATED PROFESSIONALS HELP FILL HEALTHCARE LABOR GAPS


Foreign-Educated                                              Foreign-Born


                                                                                            Nursing, Psychiatric, and
Doctors                          Psychiatrists                Nurses                        Home Health Aides
28,845 graduates of foreign      2,546 graduates of foreign   59,785 foreign-born workers   169,575 foreign-born workers
medical schools                  medical schools




      37%                              43%                          28%                           55%

graduated from a foreign medical school, a likely sign
they were born elsewhere. Only two other states in
the country have a higher share of foreign-educated
physicians. Immigrant healthcare practitioners also
made up 28.4 percent of the state’s nurses in 2014,
as well as 54.9 percent of those working as nursing,
psychiatric, or home health aides.




                                                                                                                        17



                                                                                                   AR004632
The Contributions of New Americans in New York | Agriculture




Agriculture
55%                                                                 $3.5 B
of farms in New York produced        Amount agriculture contributes to
fresh fruits and vegetables in 2014. New York's GDP annually.

                       Share of miscellaneous agriculture                                 Share of hired
                       workers on farms who are immigrants.
     23%               (This is the occupation made up largely of        21%              farmworkers in the state
                                                                                          who are immigrants.
                       laborers who hand pick crops in the ﬁeld.)




          ne sector of the economy of particular                    and equipment managers are included, immigrants

O         importance to New York is agriculture. In
          2014, the agriculture industry contributed $3.5
billion to New York’s GDP. It also provided jobs to almost
                                                                    are still a huge part of the state’s overall agricultural
                                                                    workforce. In 2014, more than one in five agriculture
                                                                    workers in the state were born abroad.
50,000 New Yorkers. Within that large industry, fresh
fruits and vegetables played a prominent role. In 2014,             The current visa system for agriculture presents many
55.5 percent of farms in New York grew fresh fruits and             problems for states like New York. The H-2A visa
vegetables, a far higher share than the 33.4 percent that           program, which is designed to bring in temporary farm
did nationally. New York—the Big Apple—also grew                    laborers, is too expensive and burdensome for many U.S.
more apples, as measured in farm receipts, than any                 farms.21 Growers frequently complain that delays issuing
state in the country that year except Washington.                   H-2A visas result in workers arriving weeks late, which
                                                                    can lead to crop loss. The visa’s lack of portability also
New York’s leading role as a produce producer makes                 means that growers must often commit to pay workers
the state’s agriculture industry inherently reliant                 for a longer period than they actually need them. For
on immigrants. Fresh fruits and vegetables—unlike                   New York growers, the lack of a workable visa—coupled
commodity crops such as corn, soybeans, and wheat—                  with a huge drop-off in the number of farmworkers who
almost always must be harvested by hand. And the                    have immigrated in recent years—has led to a labor
so-called “field and crop workers” that perform that                picture that is increasingly untenable. Between 2002
work are overwhelmingly immigrant: From 2008-2012,                  and 2014, the number of field and crop workers in the
foreign-born workers made up 72.9 percent of field and              Northeast decreased by 17.9 percent.22 Wage trends
crop laborers in the country as a whole. In New York,               indicate that caused a major labor shortage on New York
that reality means that even when managers, packers,                farms: From 2002 to 2014, the real wages of New York’s


                                                                                                                                18



                                                                                                            AR004633
The Contributions of New Americans in New York | Agriculture




$737.9 M
                                                               TOP FOUR FRESH PRODUCE ITEMS PRODUCED IN THE
                                                               STATE, AS MEASURED BY FARM RECEIPTS


                                                               Apples
Sale receipts generated from the                                                                                  $240.4M
sale of fruits, vegetables, and nuts                           Beans

in 2014.                                                                        $79.7M

                                                               Cabbage
New York's leading agricultural exports include dairy                         $72.4M
products, plant products (including sweeteners and             Grapes
planting seeds), processed vegetables.
                                                                              $69.4M




field and crop workers increased, while they fell for the      vegetables. Between the 1998-2000 and 2010-2012 time
broader population of workers in the state with a high         periods, for instance, the share of produce consumed
school education or less.                                      by Americans that was imported from other countries
                                                               grew by 79.3 percent. Labor issues explain an estimated
If labor shortages had not been                                27 percent of that market share loss. Many farmers say
                                                               a shortage of manpower has forced them to either cut
an issue, the country would                                    back on the acres devoted to labor intensive crops or
have had an additional 24,000                                  abandon expansion plans altogether.23 Such moves, in
jobs by 2012, including 17,000                                 New York and elsewhere, have cost the U.S. economy in
                                                               recent years. If labor shortages had not been an issue,
in ﬁelds outside agriculture like                              the country would have had an additional 24,000 jobs
transportation and irrigation.                                 by 2012, including 17,000 in fields outside agriculture
                                                               like transportation and irrigation. The U.S. economy
The shortage of qualified field and crop workers has           would have had $1.3 billion in additional farm income by
made it difficult for many farmers in New York to keep         2012 as well.
pace with rising consumer demand for fresh fruits and




                                                               5,027
THE SUPPLY OF FIELD AND CROP WORKERS IN NEW YORK
IS DECREASING, LEADING TO LABOR SHORTAGES


   2002          2014
                                                               Decline in the number of ﬁeld and
Number of ﬁeld and crop workers                                crop workers in NY, CT, ME, MA,
                                                               NH and VT from 2002-2014
                                        17.9%
                                                               When farms lack enough ﬁeld and crop workers, they often
                                                               are unable to complete their harvest, leading to crop loss
Wages of ﬁeld and crop workers
                                                               in the ﬁelds. Wages go up as well, as growers struggle to
                                                               compete for the small pool of workers remaining.

                                                      3.3%


                                                                                                                        19



                                                                                                     AR004634
The Contributions of New Americans in New York |   Spotlight On: Brian Reeves




 SPOTLIGHT ON




Brian Reeves
Co-owner & Operator of Reeves Farms


         rian Reeves has a hiring problem. In order                  “The United States has zero
B        to bring immigrants over on the H-2A visa
         program--the way farmers legally solicit
seasonal labor from abroad — Reeves must first advertise
                                                                      population growth, and we are
                                                                      aging out,” he points out. “We
these job openings in the local media. But Reeves, who
sells his produce to both national chains and mom and
                                                                      need immigrants.”
pop groceries, says he almost never gets any takers.                   The sort of worries Reeves has about getting enough
                                                                       labor each year are common in states like New York. In
Employees start picking at 6 am and the labor is physical
                                                                       2014, agriculture contributed $3.5 billion to New York’s
and hard. It is also seasonal, so he can’t promise his
                                                                       overall GDP. The state was also produced $240.7 million
employees year-round employment. “When [local
                                                                       worth of apples, a crop that often is picked by hand.
residents] have expressed interest,” he says, “it’s with
                                                                       Local dairy operations and fresh produce farms are
these conditions. Like they will have to leave the job
                                                                       frequently in the media for the many challenges they’ve
by July to go to lacrosse camp.” As a result, overseas
                                                                       faced in recent years finding enough labor.
workers are the only people who will commit.
                                                                       For his part, Reeves says a guest worker program that
"When [local residents] have                                           didn’t require so much red tape could cut down on his
 expressed interest, it's with these                                   costs and introduce more certainty to his business. But
                                                                       beyond his own financial wellbeing, Reeves is also
 conditions," Reeves says, "Like                                       concerned about his community. He’s in his late 50s,
 they have to leave the job by July                                    and has lived in upstate New York almost all of his life.
                                                                       He sometimes hears people asking questions about his
 to go to lacrosse camp."                                              workers. “Is that guy here legally?” he says, “Is he one
As Reeves points out, there’s already a lot of uncertainty             of us?” By bringing people out of the shadows, Reeves
in the agricultural sector. “You are at the mercy of                   believes much of that speculation would be eliminated
Mother Nature,” he says. Add to this the stress of                     and help engender more support for newcomers. “The
navigating a Byzantine and arduous visa program, and                   United States has zero population growth, and we are
Reeves is constantly worried that his berries, peppers,                aging out,” he points out. “We need immigrants.”
organic broccoli and the other vegetables that he
supplies to major stores like Walmart, will rot in the
fields. To ensure a full harvest, he needs approval to
bring approximately 50 workers from Mexico. But doing
so requires Reeves to seek approvals from local and state
labor departments and the Department of Homeland
Security and to coordinate consular interviews for his
applicants.

                                                                                                                               20



                                                                                                             AR004635
The Contributions of New Americans in New York | Housing




Housing
    mmigrant families have long played an important         households held more than $378 billion in housing

I   role helping to build housing wealth in the United
    States. One study released by the Partnership for a
New American Economy and Americas Society/Council
                                                            wealth in New York or more than one out of every four
                                                            dollars concentrated in real estate that year. They also
                                                            paid 35.4 percent of the money New Yorkers spent
of the Americas, for instance, found that in recent         on rent, despite making up 25.8 percent of the state’s
decades the country’s more than 40 million immigrants       households. Because New York’s immigrants are more
collectively raised U.S. housing wealth by $3.7 trillion.   likely to be working age, they help address another
Much of this was possible because immigrants moved          major concern of housing experts as well— that the
into neighborhoods once in decline, helping to revitalize   large wave of baby boomers retiring in the coming years
communities and make them more attractive to U.S.-          could result in more homes going up for sale than there
born residents.24                                           are buyers to purchase them. In a state where seniors
                                                            already own 29.6 percent of homes, immigrant families
In New York, immigrants are actively strengthening          made up more than one in four new homebuyers from
the state’s housing market. In 2014, immigrant-led          2010 to 2014.




Immigrants are bolstering the
housing market by buying the                                713,013
wave of homes coming on the                                 Number of immigrant homeowners
                                                            in 2014
market as the baby boomers

                                                            $378.1 B
retire.

                                                            Amount of housing wealth held by
                                                            immigrant households
         30%              Share of homeowners
                          who are already elderly.

                                                            25% OF TOTAL




                                                            $1.5 B
                          Share of homebuyers in            Amount paid by immigrant-led
          21%             the last four years who
                          were foreign-born.                households in rent
                                                            35% OF TOTAL


                                                                                                                   21



                                                                                                 AR004636
The Contributions of New Americans in New York | Visa Demand




Visa Demand
          One key measure of the demand for immigrant          LCA the employer must detail the position the foreign

O         workers involves the number of visas requested
          by employers in a given state. Before an
employer can formally apply for many types of visas,
                                                               national would fill, the salary he would be paid, and the
                                                               geographic location of the job. Firms must also attest
                                                               that hiring an immigrant will not adversely impact
however, it must first obtain “certification” from the         similarly situated American workers. For two other
Department of Labor—essentially a go-ahead from                large work visa categories—the H-2A for agricultural
the DOL that the employer can apply for a visa to fill         laborers and the H-2B for seasonal or temporary needs—
a given job or role. For the H-1B visa, which is used to       employers file what is known as a Labor Certification
sponsor high-skilled workers with at least a bachelor’s        application, or a “labor cert” for short. To get a labor
degree, an employer gains certification by filing what’s       cert approved, the employer must demonstrate that it is
known as a Labor Condition Application, or LCA. In the


H-1B                             GREEN CARD                    CERTIFIED POSITIONS BY VISA TYPE, 2014


Number of positions:             Number of positions:


76,105
Top jobs:
                                 5,142
                                 Top jobs:
                                                               H-1B: 76,105



                                                               GREEN CARD: 5,142         H-2A: 4,680       H-2B: 3,218
Computer Systems Analysts        Software Developers,
                                 Applications
Software Developers,
Applications                     Computer Systems Analysts     * This includes only employment-based green cards
Computer Programmers             Financial Analysts
                                                               IF ALL APPROVED LCAS HAD TURNED INTO VISAS…


                                                               76,105 LCAs for H-1B workers could have created 139,272 jobs.

H-2A                             H-2B


Number of positions:             Number of positions:


4,680
Top crops or jobs:
                                 3,218
                                 Top jobs:
                                                                              76,105
                                                                                                        139,272




Apple                            Landscaping and
                                 Groundskeeping Workers
Squash
                                 Nonfarm Animal Caretakers
Cabbage                                                           Approved LCAs
                                 Waiters and Waitresses
                                                                  Potential jobs created by 2020




                                                                                                                               22



                                                                                                         AR004637
The Contributions of New Americans in New York | Visa Demand




unable to locate an American worker that is available,         CITIES ARE DEMANDING VISAS ALL OVER THE STATE
willing, and able to fill the job.
                                                               H-1B                       H-2A
In fiscal year 2014, New York employers received
DOL certification for more than 89,000 positions,              Top cities:                Top cities:
including jobs across a wide variety of occupations and        1 New York                 1 Peru

geographies within the state. This included more than          2 Brooklyn                 2 Elba

76,100 positions for potential workers on H-1B visas, as       3 Albany                   3 Wolcott

well as roughly 4,700 temporary agriculture workers on
                                                               H-2B
the H-2A visas. Federal officials also issued more than
                                                                                                 1
3,200 certifications for H-2B visas. Employers frequently      Top cities:
use the H-2B to staff places like hotels, fisheries, and       1 Montauk
stables. Given that it is expensive and cumbersome             2 Elmont
for employers to obtain labor certs—and daunting to            3 Garden City
formally apply for an H-1B visa—the large interest in
all these visa categories indicates New York employers
likely were having real trouble finding the workers they                                                3
                                                                               3
needed on U.S. soil.                                                   2


Applying for certification, however, is not the same as
receiving a visa. The H-1B program is currently capped at                                                                   1
85,000 visas a year for private sector employers. In the
                                                                                                                        3
country as a whole, this resulted in almost half of all such                                                1       2
                                                                                                                2
applications being rejected in fiscal year 2014 alone. The
H-2B program is similarly limited to just 66,000 visas per
year. Even permanent immigrants get ensnared in the
limitations of our outdated immigration system. Only
seven percent of all green cards can go to nationals of
any one country in a given year—resulting in backlogs
lasting years for many Indian, Chinese, Mexican, and
Filipino workers.25

When companies are denied the visas they need,
company expansion is commonly slowed—often at a real
and meaningful cost to the U.S.-born population. One
study by the Partnership for a New American Economy
and the American Enterprise Institute estimated that
when a state receives 100 H-2B visas, 464 jobs are
created for U.S.-born workers in the seven years that
follow.26 The fact that H-1B visa holders actually create—
not take away—jobs from Americans has also been
widely supported in the literature. A 2013 paper written
by professors at Harvard University looking at the 1995
to 2008 period found that 1 additional young, high-
skilled immigrant worker hired by a firm created 3.1 jobs


                                                                                                                            23



                                                                                                   AR004638
The Contributions of New Americans in New York | Visa Demand




for U.S.-born workers at that same company during the          HOW THE SMALL SUPPLY OF H-1B VISAS HURTS TECH
                                                               WORKERS IN NEW YORK CITIES
period studied.27 Other academics have tied each H-1B
visa award or labor request with the creation of four28 or
                                                               NY-NORTHEASTERN NJ’S              DUTCHESS COUNTY’S
five29 American jobs in the immediate years that follow.       METRO AREA                        METRO AREA

In this brief, we rely on a more conservative estimate
                                                               34,208 H-1B denials for tech      156 H-1B denials for tech
of the impact of the H-1B program on the American              workers in the metro area         workers in the metro area
workforce. Specifically, we use the estimate that every        cost computer workers there…      cost computer workers there…


                                                               28,055 171
1 additional H-1B visa awarded to a state was associated
with the creation of 1.83 more jobs for U.S.-born workers
there in the following seven years.30 On the previous
                                                               Potential new jobs and $470.5M    Potential new jobs and $3.4 M
page, we show the number of jobs that would have been
                                                               in aggregate wage growth in the   in aggregate wage growth in
created for U.S.-born workers in New York by 2020 if all       two years that followed.          the two years that followed.
the fiscal year 2014 LCAs for H-1Bs had turned into actual
visas.                                                         ALBANY-SCHENECTADY-
                                                               TROY METRO AREA
We also show how the large number of H-1B visas denied
to New York and Albany metropolitan areas in 2007 and          376 H-1B denials for tech
                                                               workers in the metro area
2008 cost U.S.-born tech workers in those cities in the
                                                               cost computer workers there…


                                                               545
two years that followed.31


                                                               Potential new jobs and $5.3M
                                                               in aggregate wage growth in
                                                               the two years that followed.




                                                                                                                            24



                                                                                                        AR004639
The Contributions of New Americans in New York |   Naturalization




Naturalization
         ew York’s immigrants are not only living in the            higher education at greater rates than non-citizens.32

N        state, they are also laying down roots in the state
         as well. Our analysis found that immigrants
in New York are naturalizing, or becoming citizens, at
                                                                    Because citizenship allows immigrants to pursue a
                                                                    greater range of positions, including public and private
                                                                    sector jobs requiring a security clearance, it also has
considerably higher rates than they are in the country              been found to raise a person’s annual wages.33 One study
overall. In 2014, 54.6 percent immigrants in New York               by researchers at the University of Southern California
were already U.S. citizens. Nationally, the equivalent              pegged the size of that wage increase at 8 to 11 percent.34
figure was 47.3 percent.                                            If the average non-citizen in New York saw a wage boost
                                                                    at the low end of that range, or 8 percent, she would earn
Like almost all parts of the country, however, New York             more than $3,000 more per year — money that could be
is also home to a population of immigrants who are                  reinvested in the state’s economy through her spending
eligible to naturalize, but haven’t yet done so. Embracing          at local businesses. Multiplied by the roughly 1 million
public policies that would help those individuals                   non-citizens in New York currently eligible to naturalize,
navigate the naturalization process could have an                   such policy initiatives could collectively boost wages in
important economic impact on the state. Studies have                the state by $3.0 billion.
found that immigrants who become citizens seek out




996,507                                                             NATURALIZATION RATES IN NEW YORK




Number of non-citizens eligible to
naturalize in 2014


   49%
                  Share of non-citizen
                  population eligible to
                  naturalize.                                             55%                      Share of immigrants in
                                                                                                   New York who are citizens.



The average non-citizen in New York earns $37,758 per
year. If they naturalized, they each could earn an average of
$3,021 more per year.



$3.0 B                                                                              47%            Share of immigrants in the U.S.
                                                                                                   as a whole who are citizens.
Aggregate additional earnings if
eligible non-citizens naturalized.
                                                                                                                                25



                                                                                                          AR004640
The Contributions of New Americans in New York |   International Students




International Students
        olicymakers are increasingly realizing that                    Through their tuition payments
P       international students provide huge benefits to
        the communities where they live and study. The
World Bank has found that an increase in the number of
                                                                       and day-to-day spending,
                                                                       international students in the
international graduate students studying at American
schools leads to large boosts in the number of patents
                                                                       broader United States also
awarded to local research universities in the years that               contributed more than $30.5 B
follow.35 Through their tuition payments and day-to-                   to the U.S. economy in the 2014-
day spending, international students in the broader
United States also contributed more than $30.5 billion
                                                                       2015 school year and supported
to the U.S. economy in the 2014-2015 school year and                   more than 370,000 jobs.
supported more than 370,000 jobs.36

In New York, the roughly 100,000 international college
students studying on temporary visas make up just 7.8
percent of all college students in the state. Still, their
economic contribution is enormous. They support
almost 41,000 jobs in the state, including positions in
transportation, health insurance, and retail.




International students represent a very small portion of all students in
New York, but they make a big impact…


                                                                       $3.5 B                      40,985
        8%
                                 International students                Economic contribution of    Jobs supported by
                                 make up only 8% of all                international students to   international students,
                                 students in New York.                 the state, 2015.            2015.




                                                                                                                             26



                                                                                                         AR004641
The Contributions of New Americans in New York |   Voting Power




Voting Power
    mmigrants in New York do not only make a                      The power of immigrant voters is likely to continue

I   difference to the state’s economy, they also play a
    large role at the voting booth. In 2014, New York was
home to more than 2.3 million foreign-born residents
                                                                  to be a large factor in upcoming elections. Based on
                                                                  participation patterns in recent years, we would expect
                                                                  more than 976,000 million foreign-born voters to cast
who were eligible to vote—a group that made up more               formal ballots in the presidential election this year. An
than one in 5 of the state’s eligible voters. An estimated        additional roughly 474,000 more immigrants will either
almost 1.3 million foreign-born New Yorkers had also              naturalize or turn 18 by 2020, expanding the estimated
taken the step of formally registering. Although few              pool of eligible new American voters in New York to
would call New York a swing state, the sheer size of              more than 2.6 million people.
the immigrant voting population here means it has
a powerful impact on the way the state votes in both              THE GROWING POWER OF THE IMMIGRANT VOTE
national and state elections. In 2012, for instance,
Barack Obama won New York by roughly 2 million
                                                                     Immigrants who will become eligible to vote by turning 18
votes—a smaller margin than the number of eligible
foreign-born voters in the state.                                    Immigrants who will become eligible to vote through naturalization




2,339,969
                                                                  2016

                                                                                        144,910

                                                                     17,130
Number of immigrants eligible
to vote.                                                          2020

                                                                                                                                   434,729

                                                                         39,719
                   Share of eligble voters who
    18%            are immigrants.                                PROJECTED POOL OF ELIGIBLE IMMIGRANT VOTERS,
                                                                  2014-2020




1,299,978
                                                                  1,995,310
                                                                  Margin of victory in the
                                                                  2012 presidential election

                                                                                                                                 2,618,070
Number of immigrants                                              2,339,969           2,438,771
registered to vote.

1,995,310
Margin of victory in the 2012
presidential election.                                              2014                2016                                       2020


                                                                                                                                          27



                                                                                                                  AR004642
The Contributions of New Americans in New York | Undocumented Population




Undocumented
Population
          he United States is currently home to an                 many undocumented individuals are paying into our tax

T         estimated 11.4 million undocumented
          immigrants, the vast majority of whom have
lived in the United States for more than five years. The
                                                                   system as well—often under falsified or incorrect Social
                                                                   Security numbers.38 These undocumented immigrants
                                                                   generally lack access to federal aid programs such as
presence of so many undocumented immigrants in                     Medicaid, food stamps, and Temporary Assistance for
our country for such a long time presents many legal               Needy Families, so they also draw down far less from
and political challenges that are beyond the scope of              these programs than their native-born counterparts.39
this report. But while politicians continue to debate
what to do about illegal immigration without any                   One recent study found that
resolution, millions of undocumented immigrants are
actively working across the country, and collectively,
                                                                   86.6% of undocumented males
these immigrants have a large impact on the U.S.                   in the country were employed in
economy. One recent study found that 86.6 percent of               2012 and 2013, suggesting that
undocumented males in the country were employed
in 2012 and 2013, suggesting that most immigrants                  most immigrants who come here
who come here illegally do so because of work                      illegally do so because of work
opportunities.37 And because employers are required by
law to gather Social Security numbers for all their hires,
                                                                   opportunities.


886,983
                                                                   UNDOCUMENTED IMMIGRANTS ARE MORE LIKELY TO BE
                                                                   WORKING-AGED THAN NATIVES OR OTHER IMMIGRANTS


                                                                   Share of population ages 25-64, 2014
Estimated number of undocumented
immigrants in New York.
                                                                   Undocumented immigrants




                                5%
                                                                                                                  86%


                                                                   All immigrants
                                Share of New York's population                                             71%
                                made up of undocumented
                                immigrants.

                                                                   Native-born

                                                                                                49%



                                                                                                                         28



                                                                                                          AR004643
The Contributions of New Americans in New York | Undocumented Population




86,503
                                                                   THE NEW YORK INDUSTRIES WHERE UNDOCUMENTED
                                                                   IMMIGRANTS MAKE UP THE LARGEST SHARE OF
                                                                   THE WORKFORCE, 2014


Estimated number of undocumented                                   Accommodation and food services
entrepreneurs in New York.                                                                              Share of workforce that is
                                                                                                        undocumented
                                                                   22% 100,463 undocumented workers
                                                                                                        Total number of workers
                                                                   Construction

                   Rate of entrepreneurship
    11%            among undocumented
                   population (ages 25-64).
                                                                   17% 80,792 undocumented workers


                                                                   Other Services


                                                                   14% 55,018 undocumented workers




$1.6 B
Total business income of
                                                                   Administrative, support, waste
                                                                   management services


                                                                   14% 40,555 undocumented workers

self-employed entrepreneurs.                                       Transportation




9.8%
                                                                   9% 33,380 undocumented workers

                                                                   Mining


                                                                   8% 582 undocumented workers
Share of all working-age
entrepreneurs in New York who are                                  Retail trade

undocumented immigrants.
                                                                   8% 55,426 undocumented workers




Of course, there are many compelling reasons that                  studies have also indicated that these undocumented
having a large undocumented population is a problem                workers are not displacing the U.S.-born, but rather,
for a society. It undermines law and order, permits a              taking jobs few Americans are interested in pursuing.
shadow economy that is far harder to regulate, and is              Economists have found that low-skilled immigrants, the
simply unfair to the millions of people who have come              group that most undocumented immigrants fall into,
here legally. But as the undocumented immigration                  tend to pursue different jobs than less-skilled natives.
problem has gone largely unaddressed for the past                  While U.S.-born workers without a high school degree
30 years, undocumented workers in the country have                 are often overrepresented in forward-facing roles like
begun to play an increasingly integral role in many                cashiers, receptionists, and coffee shop attendants,
U.S. industries. In some sectors, such as agriculture,             many less-skilled immigrants pursue more labor-
undocumented immigrants account for 50 percent of                  intensive work requiring less human interaction, filling
all hired crop workers, making them a critical reason              jobs as meat processors, sewing machine operators, or
why the industry is able to thrive on U.S. soil.40 Many            nail salon workers.43 This phenomenon exists within


                                                                                                                               29



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The Contributions of New Americans in New York | Undocumented Population




industries as well. In construction, for instance, less-           population—or even the broader foreign-born one—
skilled immigrants often work as painters and drywall              to be in the prime of their working years, or ranging
installers, allowing natives to move into higher paying            in age from 25-64. They also contribute to a range of
positions requiring more training, such as electricians,           industries that could not thrive without a pool of workers
contractors, and plumbers.42                                       willing to take on highly labor-intensive roles. In 2014,
                                                                   for instance, undocumented immigrants made up 13.5
The challenge of undocumented immigration is                       percent of all employees in New York’s administrative,
particularly evident in New York, which is home to                 support, and waste management services industry, a
one of the largest undocumented populations in the                 sector that includes grounds maintenance workers,
country. But just as with the nation as a whole, as these          janitors and building cleaners, and security guards. They
immigrants spend years and decades in America, they                also made up more than one in five workers employed
get further integrated into our economy. In New York,              in the accommodation and food services sector, as well
there is evidence that undocumented immigrants are                 as .86 percent of workers in the mining industry. In New
playing an important role in the workforce. In this                York, a state that grows a large amount of fresh produce,
section, we estimate the size and the characteristics              many agriculture positions require workers to handpick
of the undocumented population in New York by                      crops in the field.
conducting a close analysis of the American Community
Survey from the U.S. Census. This work uses a series of            Large numbers of undocumented immigrants in New
variables to identify immigrants in the survey who are             York have also managed to overcome licensing and
likely to lack legal status—a method that has recently             financing obstacles to start small businesses. In 2014,
emerged in the academic literature on immigration.43               an estimated 11.4 percent of the state’s working-age
(See the Methodology Appendix for more details.)                   undocumented immigrants were self-employed—
                                                                   meaning New York was one of roughly two dozen
Using this technique, we estimate that New York is home            states where unauthorized immigrants boasted higher
to almost 887,000 undocumented immigrants. These                   rates of entrepreneurship than either legal permanent
individuals are far more likely than the native-born

MEASURES OF ASSIMILATION AMONG NEW YORK'S UNDOCUMENTED POPULATION, 2014



Time in the United States                                          English Proﬁciency (population ages 5+)



                                                                                       12%         18%




                      79%                                                       29%                      21%




                                                                                             20%


              Share of undocumented immigrants                        Speaks only English          Speaks English well
              who have been in the U.S. for ﬁve
              years or more.                                          Speaks English very well     Does not speak English well
                                                                                                   Does not speak any English


                                                                                                                                 30



                                                                                                               AR004645
The Contributions of New Americans in New York | Undocumented Population




                                                In 2014,
                                                undocumented
                                                immigrants in
                                                New York earned
                                                $18.3 B.
                                                                   $1.0 B — went to state and local taxes…
                                                                   $1.6 B — went to federal taxes…



                                                                   Leaving them with $15.8 B in
                                                                   remaining spending power.




ENTITLEMENT CONTRIBUTIONS



Undocumented immigrants also                                                $359.2M
contribute to our country’s entitlement
programs. In 2014, through taxes on                                                        $1.3 B

their individual wages, undocumented                                       Medicare
immigrants contributed $359.2 M to
Medicare and $1.3 B to Social Security.
                                                                                      Social Security


                                                                                                               31



                                                                                                    AR004646
The Contributions of New Americans in New York | Undocumented Population




residents or immigrant citizens of the same age group.             taxes annually.47 Federal government officials have also
Almost 87,000 undocumented immigrants in New York                  estimated that 75 percent of undocumented workers
were self-employed in 2014, many providing jobs and                have taxes withheld from their paychecks.48 In this
economic opportunities to others in their community.               paper, we make the assumption that 50 percent of the
Undocumented entrepreneurs in the state also earned                country’s undocumented households paid income taxes
an estimated $1.6 billion in business income that year.            in 2014. Although many experts would call this share
                                                                   highly conservative, it has been modeled in several
The larger political debate around the economic cost or            academic papers, and also by think tanks that specialize
benefits of undocumented immigration tends to focus                exclusively in the study of U.S. tax policy.49
on the expense of educating immigrant children or
the healthcare costs associated with increased use of
emergency rooms and other services. These costs are
                                                                   In 2014, we estimate that
real and can be substantial, but taken alone they paint            New York households led by
an incomplete picture of the impact of undocumented                undocumented immigrants
immigration. This is because the debate infrequently
recognizes that since most undocumented immigrants
                                                                   earned more than $18.3 B in
are working, they make large federal and state tax                 income.
contributions and frequently are net contributors to
many of our most important—and most imperiled—                     In 2014, we estimate that New York households led by
benefits programs. Social Security’s Chief Actuary, for            undocumented immigrants earned more than $18.3
example, has credited unauthorized immigrants with                 billion in income. Of that, they paid an estimated $1.6
contributing $100 billion more to Social Security than             billion in federal taxes. They also contributed more
they drew down in benefits during the last decade.44               than $1.3 billion directly to the Social Security program
                                                                   through taxes on their individual wages. New York ’s
Several in-depth studies at the state level have similarly
                                                                   undocumented immigrants also made an important
come to the conclusion that undocumented immigrants
                                                                   impact through their state and local tax contributions—
represent a net benefit to the states in which they live.
                                                                   money that many localities use to pay for police
One paper, from researchers at Arizona State University,
                                                                   forces, public education, and city services like garbage
estimated that undocumented immigrants in that
                                                                   collection and recycling. We estimate that New York ’s
state pay $2.4 billion in taxes each year—a figure far
                                                                   undocumented immigrants paid more than $1 billion in
eclipsing the $1.4 billion spent on the law enforcement,
                                                                   state and local taxes in 2014.
education, and healthcare resources they use.45 Another
study estimated that, on a per capita basis, Florida’s             Giving legal status to undocumented immigrants would
undocumented immigrants pay $1,500 more in taxes                   increase their access to a variety of public benefits—
than they draw down in public benefits each year.46                resulting in potentially higher costs for federal, state,
                                                                   and local governments. But because legalization is
Although we are currently unable to calculate the
                                                                   expected to raise the earning power of undocumented
amount spent on any public benefits or services used
                                                                   immigrants and give them access to a wider array of
by undocumented immigrant families, we can gain
                                                                   jobs and educational opportunities, it would have the
a fairly clear sense of the amount they are paying in
                                                                   opposite effect as well, potentially allowing them to
taxes each year. A variety of studies have estimated
                                                                   spend more as consumers and pay more in taxes each
that anywhere from 50 to 80 percent of households
                                                                   year.50 Provisions within immigration reform requiring
led by undocumented immigrants file federal income




                                                                                                                           32



                                                                                                         AR004647
The Contributions of New Americans in New York | Undocumented Population




that undocumented immigrants pay any back taxes
before normalizing their status would temporarily boost
U.S. tax revenues still further.

But while the debate over legalization continues without
resolution, the data suggests that the undocumented
immigrants in New York have largely assimilated
into the United States, making it less likely that mass
deportation will ever be a realistic option. We estimate
that 78.5 percent of the state’s undocumented population
has been in the United States for five or more years.
More than 58.4 percent speak English well, very well,
or fluently. Studies show that when immigrants with
limited English proficiency learn the language, they see
a substantial wage benefit and become less isolated in
their communities.51 The labor market outcomes and
educational levels of their children increase with time as
well.52




                                                                                      33



                                                                           AR004648
The Contributions of New Americans in New York | Methodology




Methodology
The vast majority of data that appears in this brief was       500 employees or more. As a result, the final number of
calculated by the Partnership for a New American               employees at immigrant-owned companies in this report
Economy research team, using a variety of publicly             is a conservative estimate, and is likely lower than the
available data sources. Our work relied most heavily           true value.
on the 2014 American Community Survey (ACS) 1-year
sample using the Integrated Public Use Microdata Series        Fortune magazine ranks U.S. companies by revenue and
(IPUMS) database.1 Unless otherwise noted this data is         publishes a list of top 500 companies and their annual
weighted using the person weight for analysis at the           revenue as well as their employment level each year. To
individual level, and is weighted using the household          produce our estimates, we use the 2015 Fortune 500 list.3
weight for analysis at the household level.                    Our estimates in this section build on past work done
                                                               by PNAE examining each of the Fortune 500 firms in the
                                                               country in 2011, and determining who founded them.4
Demographics                                                   We then use publicly available data, including historical
                                                               U.S. Census records and information obtained directly
The data points on the foreign-born population in the          by the firms, to determine the background of each
demographics section are calculated using both the 2010        founder. In the rare cases where we could not determine
and 2014 ACS 1-year sample.                                    a founder’s background, we assumed that the individual
                                                               was U.S.-born to be conservative in our estimates. Some
Entrepreneurship                                               firms created through the merger of a large number of
                                                               smaller companies or public entities were also excluded
The data on self-employed immigrants and the business          from our analysis. These included all companies in the
income generated by immigrant entrepreneurs come               utilities sector and several in insurance.
from the 2014 ACS 1-year sample. We define immigrants
as foreign-born individuals (excluding those that are          To produce the Fortune 500 estimates for each state,
children of U.S. citizens or born on U.S. territories).        we allocate firms to the states where their current
                                                               headquarters are located. We then aggregate and report
The number of employees at immigrant-owned firms is            the annual revenue and employment of the firms in each
estimated by using the 2007 Survey of Business Owners          state that we identify as “New American” Fortune 500
(SBO) Public Use Microdata Sample (PUMS),2 which is            companies. These are firms with at least one founder
the most recent microdata on business owners currently         who was an immigrant or the child of immigrants.
available. The estimates are weighted using the
tabulation weights provided in the dataset. We define
immigrant-owned businesses as firms with at least one          Income and Tax Contributions
foreign-born owner. For confidentiality, the data exclude
                                                               Using the 2014 ACS 1-year data, we estimate the
businesses classified as publicly owned firms because
                                                               aggregate household income, tax contributions, and
they can be easily identified in many states. Based on
                                                               spending power of foreign-born households.
our own analysis, we believe that many of the publicly
owned firms excluded from this data are companies with


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To produce these estimates, a foreign-born household is        program is capped at $117,000, while there no such limit
defined as a household with a foreign-born household           for the Medicare program.9 We use a flat tax rate of 12.4
head. Immigrant sub-groups are defined as follows: 1)          percent to estimate Social Security contributions and
Asian immigrants refer to the foreign-born persons who         2.9 percent for to capture Medicare contributions. This
self identify as Chinese, Taiwanese, Japanese, Filipino,       estimates the total amount that immigrants and their
Asian Indian, Korean, Native Hawaiian, Vietnamese,             employers contributed in 2014.10
Bhutanese, Mongolian, Nepalese, Cambodian, Hmong,
Laotian, Thai, Bangladeshi, Burmese, Indonesian,               It is also worth noting that half of the amount
Malaysian, Pakistani, Sri Lankan, Samoan, Tongan,              contributed to Social Security and Medicare (6.4 percent
Guamanian/Chamorro, Fijian, or other Pacific Islanders;        of Social Security tax rate and 1.45 percent of Medicare
2) Hispanic immigrants include those foreign-born              tax rate) comes from individual workers, while the other
persons who report their ethnicity as Hispanic; 3)             half comes directly from their employers. Self-employed
Immigrants grouped under Sub-Saharan Africa originate          workers have to pay the full tax themselves. When
from African countries, excluding the North African            estimating Social Security and Medicare contributions,
countries of Egypt, Libya, Tunisia, Algeria, and Morocco       we include all individual wage earners in the households
; 4) Middle Eastern and North African immigrants are           and aggregate the amount paid by state.
foreign-born persons from North Africa as well as the
following Middle Eastern countries: Iran, Iraq, Bahrain,       Workforce
Israel, Jordan, Kuwait, Lebanon, Oman, Palestine, Qatar,
Saudi Arab, Syria, United Arab Emirates, and Yemen.            We use the 2014 ACS 1-year sample to estimate all data
                                                               points in the workforce segment of the report. We define
In this brief, mirroring past PNAE reports on this topic,      the working age population as those 25 to 64 years old.
we use the term “spending power.”5 Here and elsewhere          When estimating how much more foreign-born persons
we define spending power as the disposable income              are likely to be employed than native-born persons,
leftover after subtracting federal, state, and local taxes     however, we calculate the percentage of native-born and
from household income. We estimate state and local             foreign-born residents of all ages who were employed
taxes using the tax rates estimates produced by Institute      in 2014. The reason why we choose a more inclusive
on Taxation and Economic Policy by state income                population for that estimate is because we want to make
quintiles.6 For federal tax rate estimates, we use data        the point that the increased likelihood of being working
released by the Congressional Budget Office in 2014 and        aged that we see among immigrants leads to higher
calculate the federal tax based on the household income        employment in the vast majority of states.
federal tax bracket.7
                                                               Because the employment status of people who are 16
Social Security and Medicare contributions are drawn           years old or younger is not available in the ACS, we
from taxes on an individual’s wage earnings.8 This is          assume that these young people are not employed. The
far different from a household’s overall income, which         employed population also does not include those in the
may include other revenue streams such as rental               Armed Forces.
income and returns on investments. To account for this
difference between overall federal taxes and Social            To estimate how much more likely immigrants are to
Security and Medicare contributions, we estimate               be employed than natives, we calculate the percent
Medicare and Social Security contributions based on            difference between the immigrant and native-born
wage and salary data provided at the individual level in       employment rates. Our estimates on the share of
the ACS. For self-employed individuals, we use the self-       immigrants and natives of different education levels
employment income as the income base. The amount               only take into consideration individuals aged 25 or older.
of earnings that can be taxed by the Social Security


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The North American Industry Classification System, or          percentage of crop farms producing fresh fruits and
NAICS Industry code, is used to estimate the industries        vegetables, and change in real wage of agricultural
with the largest share of foreign-born workers. All            workers between 2002 and 2014. The QCEW data uses
individuals 16 years old and above are included in these       the North American Industry Classification System
calculations. The total number of workers for certain          (NAICS) to assign establishments to different industries.
industries in some states is extremely small, thus             We identify the following farms as fresh fruits and
skewing results. In order to avoid this, we calculate the      vegetable farms: other vegetable and melon farming,
percentile distribution of the total number of workers         orange groves, citrus, apple orchards, grape vineyards,
per industry per state and drop the industries in each         strawberry farming, berry farming, fruit and tree nut
state that fall below the lowest 25th percentile. Estimated    combination farming, other non-citrus fruit farming,
occupations with the largest share of foreign-born             mushroom production, other food crops grown under
workers per state also follow the same restrictions — the      cover, and sugar beet farming.
universe is restricted to workers age 16 and above,
and the occupations per state that fall under the 25th         The decline in the number of field and crop workers
percentile benchmark are not included.                         comes from the quarterly Farm Labor Survey (FLS)
                                                               administered by USDA.15 Stephen Bronars, an economist
Our estimates on the number of manufacturing                   with Edgeworth Economics, previously analyzed and
jobs created or preserved by immigrants rely on a              produced these estimates for the PNAE report, “A
2013 report by the Partnership for a New American              Vanishing Breed: How the Decline in U.S. Farm Laborers
Economy and the Americas Society/Council of the                Over the Last Decade has Hurt the U.S. Economy and
Americas. That report used instrumental variable (IV)          Slowed Production on American Farms” published in
strategy in regression analysis and found that every           2015. Additional information on those calculations can
1,000 immigrants living in a county in 2010 created or         be found in the methodology section of that paper.16
preserved 46 manufacturing jobs there.11 We use that
multiplier and apply it to the 2010 population data from        Finally, for a small number of states, we also produce
the ACS to produce our estimates.                               estimates showing how growers in the state are losing
                                                                market share for specific produce items consumed each
                                                                year by Americans, such as avocados or strawberries.
Agriculture                                                    Those estimates originate in a 2014 report produced
                                                                by PNAE and the Agriculture Coalition for Immigration
We access the agriculture GDP by state from Bureau of           Reform.17 The author used data from the USDA’s annual
Economic Analysis, which includes GDP contributions            “yearbook” for fresh fruits and vegetables, among other
from the agriculture, forestry, fishing, and hunting            sources, to produce those estimates. More detail can be
industry.12 The share of foreign-born agricultural              found in the methodology of that report.
workers is estimated using 2014 ACS 1-year sample.
Additional data on agriculture output, top three crops
per state, and leading agricultural exports come from          Science, Technology,
United State Department of Agriculture (USDA)’s state          Engineering, and Math
fact sheets.13 When displayed, data on sales receipts
generated by the top fresh produce items in each state         We use the STEM occupation list released by U.S.
come the Farm and Wealth Statistics cash receipts by           Census Bureau to determine the number and share of
commodity tables available from the USDA’s Economic            foreign-born STEM workers as well as the number of
Research Service.14                                            unemployed STEM workers from 2014 ACS 1-year data.18
                                                               Per U.S. Census classification, healthcare workers such
The agriculture section uses the Quarterly Census              as physicians and dentists are not counted as working in
of Employment and Wage (QCEW) to estimate the

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the STEM occupations. All unemployed workers who list          Unemployed healthcare workers are individuals who
their previous job as a STEM occupation are counted as         report their previous job as a healthcare occupation, and
unemployed STEM workers.                                       their employment status as currently not working but
                                                               looking for work. We took the number of job postings
To capture the demand for STEM workers, we use                 for healthcare workers from the Burning Glass Labor
the Labor Insight tool developed by Burning Glass              Insight tool, a database that scours online sources and
Technologies, a leading labor market analytics firm.           identifies the number and types of job postings. We
Burning Glass, which is used by policy researchers             describe this resource in detail in the section on STEM
and academics, scours almost 40,000 online sources             methodology.
daily and compiles results on the number and types
of jobs and skills being sought by U.S. employers. This        We then delve into specific occupations within the
search includes online job boards, individual employer         broader healthcare industry. To produce the figures
sites, newspapers, and public agencies, among other            on the total number of physicians and psychiatrists
sources. Burning Glass has an algorithm and artificial         and the share born abroad, we use American Medical
intelligence tool that identifies and eliminates duplicate     Association (AMA) Physician Masterfile data. To give
listings — including ones posted to multiple job boards as     a sense of the supply and demand of physicians and
part of a broad search.19                                      psychiatrists, we also calculate the physician and
                                                               psychiatrist density in each state by dividing the total
The data on STEM graduates are from the 2014                   number of physicians or psychiatrists by the population
Integrated Postsecondary Education Data System (IPEDS)         estimates in 2015 for each state.24 As for the share of
completion survey.20 A study by the Partnership for a          foreign-born nurses and home health aides, we use
New American Economy and the American Enterprise               the 2014 ACS 5-year sample data because data from the
Institute found that every time a state gains 100 foreign-     1-year sample is too small to make reliable estimates.
born STEM workers with graduate-level STEM training
from a U.S. school, 262 more jobs are created for U.S.-        We estimate the shortage of psychiatrists, dentists, and
born workers there in the seven years that follow.21 We use    occupational therapists using data from the various
this multiplier and the number of STEM advanced level          U.S. government offices. For example, the shortage of
graduates on temporary visas to estimate the number of         psychiatrists refers to the current lack of psychiatrists
jobs created for U.S.-born workers.                            per the U.S. government’s official definition of a mental
                                                               health shortage area (1/30,000 residents) in each
The last part of the STEM section presents data on             county, aggregated within each state.25 The shortage
patents with at least one foreign-born inventor. The           of dentists is from an analysis by U.S. Department
data is originally from a study by Partnership for a New       of Health and Human Services,26 and the shortage of
American Economy in 2012, which relied on data from            occupational workers is from a journal article published
U.S. Patent and Trademark Office’s database as well as         by PM&R, the official scientific journal of the American
LinkedIn, direct correspondence, and online profiles to        Academy of Physical Medicine and Rehabilitation.27 For
determine the nativity of individual inventors.22              psychiatrists, we project future shortages by accounting
                                                               for individuals in these occupations as they reach the
Healthcare                                                     retirement age of 65.

We estimate the number of unemployed healthcare
workers using the 2014 ACS 1-year sample. Healthcare           Housing
workers are healthcare practitioners and technical             The data in the housing section comes from the 2014
occupations, or healthcare support occupations as              ACS 1-year sample. Immigrant homeowners are defined
defined by U.S. Census Bureau.23                               as foreign-born householders who reported living in

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their own home. We estimate the amount of housing              In many of the state reports, we also present figures
wealth held by immigrant households by aggregating the         showing how visa denials resulting from the 2007 and
total housing value of homes owned by immigrant–led            2008 H-1B lotteries cost the tech sectors of metropolitan
households. We also estimate the amount of rent paid by        areas both employment and wage growth in the two
immigrant-led households by aggregating the rent paid          years that followed. The economists Giovanni Peri,
by such families. We then calculate the share of housing       Kevin Shih, and Chad Sparber produced these estimates
wealth and rent that immigrant households held or paid         for a PNAE report on the H-1B visa system that was
compared to the total population. For characteristics of       released in 2014. That report relied on Labor Condition
homeowners, a foreign-born new homebuyer is defined            Application and I-129 data that the authors obtained
as a household with a foreign-born household head who          through a Freedom of Information Act request, as well
owned and moved to the current residence within the            as American Community Survey data from 2006 and
last five years.                                               2011. The authors did regressions that examined the
                                                               causal relationship between a “shock” in the supply of
                                                               H-1B computer workers and computer employment in
Visa Demand                                                    subsequent years for more than 200 metropolitan areas.
The data on visa demand are drawn primarily from the           More information on those estimates can be found in the
2014 Annual Report produced by the Office of Foreign           methodology appendix of that report.30
Labor Certification within the U.S. Department of
Labor.28 Our figures on the number of visa requests            Naturalization
authorized for each state — as well as the occupations
and cities those visas are tied to — originate directly from   Using the ACS 2014 1-year sample, non-citizens eligible
that report.                                                   to naturalize are defined as non-citizens who are 18
                                                               years or above, can speak English, and have continuous
In this section, we also present estimates on the number       residence in the United States for at least five years.
of jobs that would have been created if all the visas
authorized in 2014 had resulted in actual visa awards.         Researchers at the University of Southern California’s
The multipliers we use to produce these estimates              Center for the Study of Immigrant Integration published
originate in a 2011 report released by PNAE and the            a report in 2012, “Citizen Gain: The Economic Benefits
American Enterprise Institute. That report, written            of Naturalization for Immigrants and the Economy,”
by the economist Madeline Zavodny, used a reduced-             which concluded that immigrants experience an 8 to
form model to examine the relationship between the             11 percent gain in their individual wages as a result
share of each state’s population that was immigrant            of becoming naturalized. Because this earnings gain
and the employment rate of U.S. natives. More detail           phases in over time — and we want to be conservative
on Zavodny’s calculations and the multipliers produced         in our estimates — we model a wage increase of just 8
for each visa type can be found in the methodology             percent when discussing the possible gains that could
appendix of that report.29                                     accrue due to naturalization.31 We use this multiplier and
                                                               the mean individual wages of non-citizens in each state
For purposes of these briefs, we use Zavodny’s finding         to estimate the additional earnings that non-citizens
that the award of 100 additional H-1B visas in a state is      would earn if they naturalized. Finally, we calculate
tied to 183 additional jobs for natives there in the 7 years   the aggregate wage earnings boost by multiplying
that follow. The award of 100 additional H-2B visas            the total number of non-citizens who are eligible for
creates 464 additional jobs for natives in the state during    naturalization by the average increase in wage income
that same time period. We apply these multipliers to the       per person.
number of visas in those categories authorized for each
state in 2014.

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International Students                                          naturalization, as well as the total number of foreign-
                                                                born voters in these years. The estimates of newly
We obtain the size and share of postsecondary students          eligible voters for 2016 include naturalized citizen
who are international in each state from the 2014               ages 16 and 17 as of 2014 (thereby becoming of voting
Integrated Postsecondary Education Data System                  age by 2016). Those eligible to vote in 2020 include
(IPEDS) fall enrollment data. Those figures are then            all naturalized citizens ages 12-17 in 2014. Applicable
applied to preexisting work previously done by NAFSA, an        mortality rates are also applied.33 In addition, we
organization representing professionals employed in the         estimate newly naturalized citizens using data from the
international offices of colleges and universities across the   Department of Homeland Security, which show the two-
United States. NAFSA has developed an economic value            year average of new naturalized citizens by state.34 We
tool and methodology that estimates the total economic          discount from these numbers the percentage of children
benefit and jobs created or supported by international          below 18 in households with a naturalized householder
students and their dependents in each state.32 The              by state. Estimates of total foreign-born voters include
economic contributions include the costs of higher              naturalized citizens aged 18 or older in 2014, discounted
education along with living expenses minus U.S.-based           by average U.S. mortality rates by age brackets, summed
financial support that international students receive.          to the pool of newly eligible foreign-born voters.

Because the enrollment data from IPEDS that we use              Margin of victory in 2012 refers to President Barack
in this brief is different from the underlying data used        Obama’s margin of victory over Republican candidate
by NAFSA, our figures differ slightly from the NAFSA            Mitt Romney in terms of popular vote. The margins are
estimates of the economic contributions made by                 negative in states that Romney won in 2012.35
international students in the 2014-2015 school year.

                                                                Undocumented
Voting
                                                                Using data from the 2014 ACS, we applied the
The estimates for the number of registered and active           methodological approach outlined by Harvard
voters who are foreign-born are calculated from the             University economist George Borjas36 to arrive at an
Voter Supplement in the Current Population Survey               estimate of the undocumented immigrant population
(CPS) for the years 2008, 2010, 2012, and 2014 using the        in the overall United States and individual states. The
IPUMS database. The sample in CPS includes civilian             foreign-born population is adjusted for misreporting
non-institutional persons only. Foreign-born individuals        in two ways. Foreign-born individuals who reported
who stated having voted between 2008 and 2014 are               naturalization are reclassified as non-naturalized if the
termed active voters.                                           individual had resided in the United States for less than
                                                                six years (as of 2014) or, if married to a U.S. citizen, for
Using data from the 2014 ACS 1-year sample, we                  less than three years. We use the following criteria to
estimate the number and share of foreign-born eligible          code foreign-born individuals as legal U.S. residents:
voters. We define them as naturalized citizens aged
18 or older who live in housing units. Persons living            • Arrived in the U.S. before 1980
in institutional group quarters such as correctional             • Citizens and children less than 18 year old reporting
facilities or non- institutional group quarters such as            that at least one parent is native-born
residential treatment facilities for adults are excluded
from the estimation. We also estimate the number of              • Recipients of Social Security benefits, SSI, Medicaid,
new foreign-born voters who will become eligible to                Medicare, Military insurance, or public assistance
vote in 2016 and 2020, either by turning 18 or through


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 • Households with at least one citizen that received
   SNAP
 • People in the armed forces and veterans
 • People attending college and graduate school
 • Refugees
 • Working in occupations requiring a license
 • Government employees, and people working in the
   public administration sector
 • Any of the above conditions applies to the
   householder’s spouse

The remainder of the foreign-born population that do
not meet this criteria is reclassified as undocumented.
Estimates regarding the economic contribution of
undocumented immigrants and the role they play in
various industries, and tax contributions are made using
the same methods used to capture this information for
the broader immigrant population in the broader brief.
When estimating the aggregate household income,
spending power, and tax contributions, we are not
able to make reliable estimates for undocumented-
led households in Alaska, Maine, Montana, North
Dakota, South Dakota, Vermont, and West Virginia
due to the small sample size of undocumented-led
households in ACS. Finally, the variables giving a
sense of the undocumented population’s level of
assimilation — including their English proficiency and
time in the United States — are estimated by examining
the traits of the undocumented population in the 1-year
sample of the ACS.




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Democratic and Independent mayors and business
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                                                        AR004663
FOOTNOTE 60




              AR004664
                                 Immigrants in Connecticut
Connecticut has a sizable community of immigrants, much of which hails from India and Poland. Nearly 15
percent of the state’s population was born in another country, and over 14 percent of residents are native-born
Americans who have at least one immigrant parent. Immigrants support Connecticut’s economy across
sectors, comprising more than 25 percent of all computer and math sciences employees and one third of
residents working in building and grounds cleaning and maintenance. As workers, business owners, taxpayers,
and neighbors, immigrants are an integral part of Connecticut’s diverse and thriving communities and make
extensive contributions that benefit all.


More than one in seven Connecticut residents is an immigrant, while another one in eight
is a native-born U.S. citizen with at least one immigrant parent.

   In 2015, 519,648 immigrants (foreign-born individuals) comprised 14.5 percent of the state’s population. 1

   Connecticut was home to 250,118 women, 236,720 men, and 32,810 children who were immigrants. 2

   The top countries of origin for immigrants were India (6.6 percent of immigrants), Poland (6.4 percent),
    Jamaica (6.3 percent), the Dominican Republic (5.1 percent), and Mexico (4.8 percent). 3

   In 2016, 480,001 people in Connecticut (13.5 percent of the state’s population) were native-born Americans
    who had at least one immigrant parent. 4


Nearly half of all immigrants in Connecticut are naturalized U.S. citizens.

   253,505 (48.8 percent) immigrants had naturalized as of 2015, 5 and 98,652 immigrants were eligible to
    become naturalized U.S. citizens in 2015. 6

   More than four in five immigrants (82.3 percent) reported speaking English “well” or “very well.” 7


Immigrants in Connecticut are distributed across the educational spectrum.

   One in three adult immigrants had a college degree or more education in 2015, while one in five had less
    than a high-school diploma.8




                                                                                                 AR004665
                                 Immigrants in Connecticut | American Immigration Council | 2017




                   E ducation Level                  Share (%) of All Immigrants             Share (%) of A ll Natives

          College degree or more                                     34.0                                39.3

          Some college                                               20.4                                25.4

          High school diploma only                                   25.8                                27.8

          Less than a high-school diploma                            19.8                                 7.6


Nearly 60,000 U.S. citizens in Connecticut live with at least one family member who is
undocumented.

   120,000 undocumented immigrants comprised 24 percent of the immigrant population and 3.4 percent of
    the total state population in 2014. 9

   143,784 people in Connecticut, including 47,220 born in the United States, lived with at least one
    undocumented family member between 2010 and 2014. 10

   During the same period, 5 percent of children in the state were U.S. citizens living with at least one
    undocumented family member (40,931 children in total). 11


Nearly 4,000 Deferred Action for Childhood Arrivals (DACA) recipients live in Connecticut. 12

   As of 2016, half of DACA-eligible immigrants in Connecticut, or 5,676 people, had applied for DACA. 13

   Another 2,000 residents of the state satisfied all but the educational requirements for DACA, and up to
    2,000 others would be additionally eligible as they grew older. 14


One in six workers in Connecticut is an immigrant, together making up a significant part of
the state’s labor force across industries.

   341,718 immigrant workers comprised 17.6 percent of the labor force in 2015. 15

   Immigrant workers were most numerous in the following industries:

                                       Industry                                        Number of Immigrant Workers

      Health Care and Social Assistance                                                                53,245

      Manufacturing                                                                                    46,357

      Retail Trade                                                                                     38,514

      Construction                                                                                     34,518

      Educational Services                                                                             29,782
      Analysis of the U.S. Census Bureau’s 2015 American Community Survey 1-year PUMS data by the American Immigration Council.


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   The largest shares of immigrant workers were in the following industries: 16

                                                                                                 Immigrant Share (%)
                                           Industry
                                                                                               (of all industry workers)

      Construction                                                                                          26.3

      Administrative & Support; Waste Management; and Remediation
                                                                                                            24.8
      Services

      Other Services (except Public Administration)                                                         21.4

      Manufacturing                                                                                         20.6

      Accommodation and Food Services                                                                       20.6
      Analysis of the U.S. Census Bureau’s 2015 American Community Survey 1-year PUMS data by the American Immigration Council.



Immigrants are an integral part of the Connecticut workforce in a range of occupations.

   In 2015, immigrant workers were most numerous in the following occupation groups: 17

                               Occupation Category                                     Number of Immigrant Workers

     Building and Grounds Cleaning & Maintenance                                                        34,020

     Sales and Related                                                                                  32,916

     Management                                                                                         31,764

     Production                                                                                         31,588

     Construction and Extraction                                                                        31,506
     Analysis of the U.S. Census Bureau’s 2015 American Community Survey 1-year PUMS data by the American Immigration Council.


   The largest shares of immigrant workers were in the following occupation groups:18

                                                                                              Immigrant Share (%)
                               Occupation Category
                                                                                        (of all workers in occupation)

      Building and Grounds Cleaning & Maintenance                                                        36.6

      Construction and Extraction                                                                        29.1

      Production                                                                                         28.6

      Farming, Fishing, and Forestry                                                                     26.9

      Computer and Mathematical Sciences                                                                 26.5
      Analysis of the U.S. Census Bureau’s 2015 American Community Survey 1-year PUMS data by the American Immigration Council.


   Undocumented immigrants comprised 4.7 percent of the state’s workforce in 2014. 19



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Immigrants in Connecticut have contributed billions of dollars in taxes.

   Immigrant-led households in the state paid $3.3 billion in federal taxes and $1.8 billion in state and local
    taxes in 2014. 20

   Undocumented immigrants in Connecticut paid an estimated $124.7 million in state and local taxes in
    2014. Their contribution would rise to $145.3 million if they could receive legal status. 21

   DACA recipients in Connecticut paid an estimated $17.6 million in state and local taxes in 2016. 22


As consumers, immigrants add billions of dollars to Connecticut’s economy.

   Connecticut residents in immigrant-led households had $13.8 billion in spending power (after-tax income)
    in 2014. 23


Immigrant entrepreneurs represent nearly one in four Connecticut business owners.

   More than 46,351 immigrant business owners accounted for 23.7 percent of all self-employed Connecticut
    residents in 2015 and generated $1.2 billion in business income. 24




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                                     Immigrants in Connecticut | American Immigration Council | 2017



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Unregulated
Work in Chicago
The Breakdown of Workplace Protections
in the Low-Wage Labor Market

Nik Theodore, Mirabai Auer, Ryan Hollon, and Sandra Morales-Mirque
With Annette Bernhardt, Ruth Milkman, Douglas Heckathorn, James DeFilippis,
Ana Luz González, Victor Narro, Jason Perelshteyn, Diana Polson, and Michael Spiller




Center for Urban Economic Development, University of Illinois at Chicago       April 2010
                                                                               AR004671
NationalAdvisoryCommittee
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JenniferGordon,FordhamLawSchool
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MarielenaHincapie,NationalImmigrationLawCenter
MartinIguchi,UCLA/Rand
ManuelPastor,UniversityofSouthernCalifornia
CathyRuckelshaus,NationalEmploymentLawProject

ChicagoAdvisoryCommittee
ARISEChicago!
CentroRomero
ChicagoCommunityandWorkersRightsCenter
ChicagoWorkersCollaborative
KoreanAmericanResourceandCulturalCenter
LatinoUnion
NorthLawndaleEmploymentNetwork
RestaurantOpportunityCenterofChicago(ROCͲChicago)
WestHumboldtParkFamilyandCommunityDevelopmentCouncil
WomenEmployed
WorkingHandsLegalClinic


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                                                                                    AR004673
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capacitybuildingandparticipatoryresearch.
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                                                                                                         AR004675
ExecutiveSummary
Thisreportexposesaworldofworkinwhichcoreemploymentandlaborlawsarefailing
significantnumbersofworkers.Theseprotections—therighttobepaidatleasttheminimum
wage,therighttobepaidforovertimehours,therighttotakemealbreaks,accesstoworkers’
compensationwheninjured,andtherighttoadvocateforbetterworkingconditions—arebeing
violatedatalarmingratesinthelowͲwagelabormarket.Thesheerbreadthoftheproblem,
spanningkeyindustriesintheeconomy,aswellasitsprofoundimpactonworkersandtheir
communities,entailingsignificanteconomichardship,demandsurgentattention.

In2008,alongwithourcolleaguesinLosAngelesandNewYorkCity,weconductedalandmark
surveyof4,387workersinlowͲwageindustries,1,140ofwhomareemployedinChicagoand
suburbanCookCounty.Weusedaninnovative,rigorousmethodologythatallowedustoreach
vulnerableworkerswhoareoftenmissedinstandardsurveys,suchasunauthorizedimmigrants
andthosepaidincash.Ourgoalwastoobtainaccurateandstatisticallyrepresentative
estimatesoftheprevalenceofworkplaceviolations.Allfindingsareadjustedtobe
representativeoffrontͲlineworkers(i.e.excludingmanagers,professionalortechnicalworkers)
inlowͲwageindustries—apopulationofabout310,205workersemployedinCookCounty.

Finding1
WorkplaceviolationsaresevereandwidespreadinthelowͲwagelabormarket

Wefoundthatemploymentandlaborlawsareregularlyandsystematicallyviolated,impacting
asignificantpartofthelowͲwagelaborforceinChicagoandsuburbanCookCounty.

Minimumwageviolations:

 Fully26percentofworkersinoursamplewerepaidlessthanthelegallyrequiredminimum

    wageinthepreviousworkweek.
 Minimumwageviolationswerenottrivialinmagnitude:over60percentofworkerswere

    underpaidbymorethan$1perhour.

Overtimeviolations:

 OneͲquarterofourrespondentsworkedmorethan40hoursduringthepreviousweek.Of

    those,67percentwerenotpaidthelegallyrequiredovertimeratebytheiremployers.
 Likeminimumwageviolations,overtimeviolationswereofsubstantialmagnitude.The

    averageworkerwithaviolationhadputin8hoursofovertimeinthepreviousweek—hours
    thatwereeitherunderpaidornotpaidatall.



i
                                                                                   AR004676
“OffͲtheͲclock”violations:

 NearlyoneͲquarter(23percent)oftheworkersinoursamplecameinearlyand/orstayed

    lateaftertheirshiftduringthepreviousworkweek.Oftheseworkers,69percentdidnot
    receiveanypayatallfortheworktheyperformedoutsideoftheirregularshift.

Mealbreakviolations:

 ThreeͲquartersofourrespondentsworkedenoughconsecutivehourstobelegallyentitled

    toatleastonemealbreakduringthepreviousweek.Oftheseworkers,43percentreceived
    nobreakatall,hadtheirbreakshortened,wereinterruptedbytheiremployer,orworked
    duringthebreak—allofwhichconstituteaviolationofmealbreaklaw.

Paystubviolationsandillegaldeductions:

 InIllinois,workersarerequiredtoreceivedocumentationoftheirearningsanddeductions,

    regardlessofwhethertheyarepaidincashorbycheck.However,45percentofworkersin
    oursampledidnotreceivethismandatorydocumentationinthepreviousworkweek.
 Employersaregenerallynotpermittedtotakedeductionsfromaworker’spayfordamage

    orloss,workͲrelatedtoolsormaterialsortransportation.But44percentofrespondents
    whoreporteddeductionsfromtheirpayinthepreviousworkweekweresubjectedtothese
    typesofillegaldeductions.

Tippedjobviolations:

 Ofthetippedworkersinoursample,15percentwerenotpaidthetippedworkerminimum

    wage(whichinIllinoisislowerthantheregularstateminimumwage).

Illegalemployerretaliation:

Wefoundthatwhenworkerscomplainedabouttheirworkingconditionsortriedtoorganizea
union,employersoftenrespondedbyretaliatingagainstthem.Justasimportant,many
workersnevermadecomplaintsinthefirstplace,oftenbecausetheyfearedretaliationbytheir
employer.

 OveroneͲquarter(26percent)ofworkersinoursamplereportedthattheyhadmadea

    complainttotheiremployerorattemptedtoformaunioninthelastyear.Ofthose,35
    percentexperiencedoneormoreformsofillegalretaliationfromtheiremployeror
    supervisor.Forexample,employersfiredorsuspendedworkers,threatenedtocall
    immigrationauthorities,orthreatenedtocutworkers’hoursorpay.


ii
                                                                                   AR004677
      Another15percentofworkersreportedthattheydidnotmakeacomplainttotheir
       employerduringthepast12months,eventhoughtheyhadexperiencedaseriousproblem
       suchasdangerousworkingconditionsornotbeingpaidtheminimumwage.Overhalfwere
       afraidoflosingtheirjob,12percentwereafraidtheywouldhavetheirhoursorwagescut,
       and36percentthoughtitwouldnotmakeadifference.

Workers’compensationviolations:

Wefoundthattheworkers’compensationsystemisnotfunctioningforworkersinthelowͲ
wagelabormarket.

 Oftheworkersinoursamplewhoexperiencedaseriousinjuryonthejob,only9percent

   filedaworkers’compensationclaim.
 Whenworkerstoldtheiremployerabouttheinjury,20percentexperiencedanillegal

   employerreaction—includingfiringtheworker,callingimmigrationauthorities,or
   instructingtheworkernottofileforworkers’compensation.
 NearlyhalfofworkersinjuredonthejobhadtopaytheirbillsoutͲofͲpocket(41percent)or

   usetheirhealthinsurancetocovertheexpenses(8percent).Workers’compensation
   insurancepaid(allorpart)medicalexpensesforonly3percentoftheinjuredworkersinour
   sample.

Finding2
Jobandemployercharacteristicsarekeytounderstandingworkplaceviolations

Workplaceviolationsareultimatelytheresultofdecisionsmadebyemployers–whethertopay
theminimumwageorovertime,whethertogiveworkersmealbreaks,andhowtorespondto
complaintsaboutworkingconditions.Wefoundthatworkplaceviolationratesarestrongly
influencedbyjobandemployercharacteristics.

 Minimumwageviolationratesvariedsignificantlybyindustry.Violationsweremost

    commoninprivatehouseholdsandinpersonalandrepairservices,wheremorethan60
    percentofworkerswerepaidlessthantheminimumwage.Otherhighviolationindustries
    include,retailanddrugstores,socialassistanceandeducation,andgrocerystores.
      Minimumwageviolationratesalsovariedbyoccupation.Forexample,childcareworkers,
       manyofwhomworkinprivatehouseholds,hadaviolationrateof75percent.Sixty
       percentofpersonalservicesandrepairworkersalsohadaminimumwageviolation.Other
       highͲviolationoccupationsinclude,buildingservicesandgroundsworkers;cashiers,retail
       salespersonsandtellersandhomehealthcareworkers.




iii
                                                                                      AR004678
     Workerswhowerepaidaflatweeklyrateorpaidincashhadmuchhigherviolationrates
      thanthosepaidastandardhourlyrateorbycompanycheck.
     Workersatbusinesseswithlessthan100employeeswereatgreaterriskofexperiencing
      violationsthanthoseatlargerbusinesses.Butworkersinbigcompanieswerenotimmune:
      nearlyoneinsixhadaminimumwageviolationinthepreviousweek,andofthosewho
      workedovertime,52percentwerenotpaidtimeandahalf.

Finding3
Allworkersareatriskofworkplaceviolations

ImmigrantsandpeopleofcoloraredisproportionatelylikelytobeemployedinlowͲwage
industries,andthereforeareatgreaterriskofworkplaceviolations.Butviolationsarenot
limitedtoimmigrantworkersorothervulnerablegroupsinthelaborforce—everyoneisatrisk,
althoughtodifferentdegrees.

Wefoundthatarangeofworkercharacteristicswerecorrelatedwithhigherminimumwage
violationrates:

 ForeignͲbornworkerswere1.5timesmorelikelythantheirU.S.Ͳborncounterpartstohave

    aminimumwageviolation.
     AmongU.S.Ͳbornworkers,therewasasignificantdifferencebyrace:theviolationratefor
      AfricanͲAmericanworkerswastriplethatoftheirLatinocounterpartsand27timesthatof
      theirwhitecounterparts(whohadbyfarthelowestviolationratesinthesample).
     HigherlevelsofeducationandEnglishproficiency(forimmigrants)eachofferedsome
      protectionfromminimumwageviolations.
     Overtime,offͲtheͲclockandmealbreakviolationsgenerallyvariedlittlebyworker
      characteristics.Onthewhole,jobandemployercharacteristicsweremorepowerful
      predictorsoftheworkplaceviolationsconsideredinthisstudy.
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iv
                                                                                      AR004679
Finding4
Wagetheft

WagetheftnotonlydepressesthealreadymeagerearningsoflowͲwageworkers,butalso
adverselyimpactstheircommunitiesandthelocaleconomiesofwhichtheyareapart.

 Workers:Nearlyhalf(47percent)ofoursampleexperiencedatleastonepayͲrelated

   violationinthepreviousworkweek.Theaverageworkerlost$50,outofaverageweekly
   earningsof$322.Thattranslatesintowagetheftof16percentofearnings.Assuminga
   fullͲtime,fullͲyearworkschedule,weestimatethattheseworkerslostanaverageof$2,595
   annuallyduetoworkplaceviolations,outoftotalearningsof$16,753.
    Communities:Weestimatethatinagivenweek,approximately146,300workersinChicago
     andsuburbanCookCountyhaveatleastonepayͲbasedviolation.Extrapolatingfromthis
     figure,frontͲlineworkersinlowͲwageindustrieslosemorethan$7.3millionperweekasa
     resultofemploymentandlaborlawviolations.

Strengtheningworkerprotections

Everyonehasastakeinaddressingtheproblemofworkplaceviolations.Whenimpacted
workersandtheirfamiliesstruggleinpovertyandconstanteconomicinsecurity,thestrength
andresiliencyoflocalcommunitiessuffers.Whenunscrupulousemployersviolatethelaw,
responsibleemployersareforcedintounfaircompetition,settingoffaracetothebottomthat
threatenstobringdownstandardsthroughoutthelabormarket.Andwhensignificant
numbersofworkersareunderpaid,taxrevenuesarelost.

Policyreformsareneededatthefederallevel,butstateandlocalgovernmentshavea
significantroletoplayaswell.ThepolicyagendatoprotecttherightsofworkersinIllinois
shouldbedrivenbytwocoreprinciples:

Strengthenstateandcityenforcementofemploymentandlaborlaws:IllinoisiswellͲplacedto
tackletheproblemofworkplaceviolations,giventhestate’scommitmenttoenforcementand
itsenergizedcommunityadvocates.Inrecentyears,stateenforcementhasbeenimproved
substantiallythroughtheuseofproactiveinvestigationsandoutreachtocommunitygroups,
butrecentbudgetcutshavestrainedresourcesandslowedprogress.Illinoismustrecommit
resourcestowardenforcement,institutionalizerecentsuccessesandenactnewlegislationto
strengthenenforcementtools.Cityandcountygovernmentsmustdotheirpartbyenforcing
thelaborstandardsthatfallundertheirauthority,whilealsodedicatingresourcestopublic
educationcampaignsandtosupportenforcementeffortsbycommunityͲbasedorganizations,
workercentersandlegalservicesproviders.
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Updatelegalstandardsforthe21stcenturylabormarket:Strongenforcementisimportant,
butsoarestronglegalstandardsthatrecognizethechangingorganizationofworkintheUnited
States.Thestrengthoflawsandthestrengthoftheirenforcementaredeeplyintertwined—
weakemploymentandlaborlawssendthewrongsignal,openingthedoortolowͲroadbusiness
strategiestocutlaborcosts.Raisingtheminimumwage,closingloopholesthatexclude
workersfromkeyprotectionsandensuringstateandcityresourcesareusedtocreatelivingͲ
wagejobsareallkeyimprovementsthatwouldraisecomplianceintheworkplaceandimprove
thecompetitivepositionofemployerswhoplaybytherules.
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Introduction
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LastyearinIllinois,alargetemporarystaffingagencysettledaclassactionlawsuitwithover
25,000workers,totaling$11million.Formorethansevenyears,theagencyhadanunlawful
vacationpolicydenyingemployeesvestedvacationtimeandpay.Workerswerenotallowed
toaccruevacationtimeproportionallyastheyworkedthroughouttheyear;moreover,
companypolicystipulatedthatanemployeeneedbeonpayrollinDecemberinordertoreceive
theirvacationpay.Thecompanyalsofailedtoprovideworkerswithanitemizedstatementof
earnings. 1

Anothertemporarystaffingagencysettledaclassactionsuitwithover3,300workers,totaling
nearlyhalfamilliondollars.Usuallyhiredbytheday,workerswereplacedinminimumͲwage
jobsdoingassembly,packagingandjanitorialwork.Butwhentheyaccumulatedmorethan40
hoursinaweekworkingfordifferentclientcompanies,theydidn’treceiveovertime—instead,
thetempagency“split”theircheckstoavoidtriggeringmandatoryovertimepay.Workersalso
reportedthatregardlessoftheactualamountofhourstheyworkedinagivenday,theirtime
wasroundeddowntoeighthoursbytheagency. 2

Andearlierthisyear,theownerofasmallgrocerystorereachedasettlementwithadozen
workers,agreeingtoacodeofconductafteradmittingtopayingworkersbelowtheminimum
wageanddenyingworkersfullovertimepay.Employeesreportedoftenworkinginexcessof60
hoursaweekforlessthantheminimumwageandnoovertime. 3 

Unfortunately,thesecasesarenotunusual,noraretheylimitedtosmallbusinessesortemp
agencies.In2008,forexample,WalͲMartannounceditwouldsettle63casesin42states
chargingthatthecompanyforceditsemployeestowork“offtheclock”—thatis,requiring
unpaidworkafteremployeeshadclockedoutattheendoftheirofficialshifts.Thesettlement
totaled$352millioninunpaidwagesandinvolvedhundredsofthousandsofcurrentand
formeremployees. 4 
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Increasingly,itisclearthattherehasbeenabreakdownintheenforcementofcore
employmentandlaborlawsintheUnitedStates.Thesearelawsthatmostofusconsider
absoluteandinviolate,andthatdatebacktotheNewDeal.Employersmustpayworkersat
leasttheminimumwage,andtimeandahalfforovertime.Theymustfollowregulationsto


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                                                                                   AR004682
protectworkers’healthandsafety,andcarryworkers’compensationinsurancetocoveronͲ
theͲjobinjuries.Theymaynotdiscriminateagainstworkersonthebasisofage,race,religion,
nationalorigin,gender,sexualorientationordisability.Andtheymustrespectworkers’rightto
organizeandbringcomplaintsaboutworkingconditions.Yetthereisgrowingevidencethat
employersarebreakingthesebedrocklaws.Themanyworkplaceviolationsdocumentedby
communityorganizationsandgovernmentagenciesinrecentyears,aswellasagrowingbody
ofresearch,suggesttheneedtotakeacloserlookatthestateofworkerprotections.

Todate,veryfewstudieshavebeenabletolookacrossabroadsetofindustriestoestimatethe
proportionofworkersexperiencingworkplaceviolations,ortheproportionofemployers
committingthem.Asaresult,welackrobustdataontheextentoftheproblem,theindustries
thatarethebiggestoffenders,ortheworkerswhoaremostaffected.Thelimiteddata,inturn,
hampereffectivepolicyresponsestosubstandardemploymentconditions.

Thisreportpresentsnewresearchfindingstofillthisgap.Drawingonasurveyof4,387
workersinlowͲwageindustriesinthethreelargestU.S.cities—Chicago,LosAngeles,andNew
York—itfocusesontheresultsforChicagoandsuburbanCookCounty,where1,140workers
weresurveyedbetweenJanuaryandJune2008.Anationalreportonourfindings,Broken
Laws,UnprotectedWorkers:ViolationsofEmploymentandLaborLawsinAmerica’sCities,
combineddatafromallthreecitiesandwasreleasedin2009. 5 Here,wepresentfindingsfor
ChicagoandsuburbanCookCounty,inordertodocumenttheextenttowhichemployersinthe
Chicagoareaarecomplyingwithstateandfederallaws.

Usingarigoroussurveymethodologythatallowedustoreachvulnerableworkerswhoare
oftenmissedinstandardsurveys,weattemptedtoanswerthefollowingquestions:

     Howcommonareworkplaceviolations,suchasthepercentageofworkersearningless
        thantheminimumwageorworkingovertimewithoutpay?
        Whichindustriesandoccupationshaveespeciallyhighconcentrationsofviolations?
        Whoaretheworkersmostaffected?

Wethinkofthissurveyasa“censusoftheinvisible”because,fromthestandpointofpublic
policy,thesejobsarealltoooftenofftheradarscreen.

Thisreportexposessignificant,pervasiveviolationsofcoreemploymentandlaborlawsinlowͲ
wageindustriesintheChicagoarea.Workersarebeingpaidlessthantheminimumwageand



2
                                                                                     AR004683
arenotreceivingovertimepay.Theyareworkingofftheclockwithoutpay,andarenotgetting
mealbreaks.Whenworkersareinjured,theyarenotreceivingworkers’compensation.And
whentheytrytoasserttheirrightsorattempttoorganize,workersoftenfaceillegalretaliation
fromtheiremployers.

Theseproblemsarenotlimitedtotheundergroundeconomyortoafew“badapple”
employers;rather,violationsoccurinawidevarietyofindustriesthatarethecoreofthe
regionaleconomy.Noraretheseabuseslimitedtoanarrowsegmentofthelaborforce.
Althoughimmigrantsandpeopleofcoloraredisproportionatelyaffectedbyworkplace
violations,wefoundthatallworkersinthelowͲwagelabormarketareatriskofexperiencing
workplaceviolations.Itmustbenoted,however,thatnotallemployersviolatethelaw.Our
researchsuggeststhat,evenwithinhighͲviolationindustries,thereareresponsibleemployers
thatmanagetobecompetitivewhilecomplyingwithcoreemploymentandlaborlaws. 6 Both
thoseemployers,andtheworkerswhoregularlyexperienceworkplaceviolations,urgently
needarenewedcommitmenttothefullenforcementoflaborstandards.
                                                  
Butbetterenforcementaloneisnotenough.Oursystemofemploymentandlaborlawsis
badlyoutofdateandriddledwithweakstandards.Someoccupationsandindustriesareeither
partlyorcompletelyexemptedfromcoverage.Healthandsafetyprotectionshavenotbeen
substantiallyupdatedinyears.Andmanyemployersaretreatingworkersasindependent
contractorsorhiringthemthroughsubcontractors,strainingalegalframeworkpredicatedona
traditionalemploymentrelationship.

Thehighratesofworkplaceviolationsthatwedocumentinthisreportraiseanurgent,
resoundingwarningthatevenexistingprotectionsarefailingworkersintheChicagoarea—and
astheregionstrugglestoemergefromaprotractedeconomicdownturn,therearereasonsto
believethattheconditionswedocumentinthisreporthaveworsened.Communitygroupsand
legalassistanceorganizationsarereportingthattherecessionhasintensifiedworkplaceabuses,
asemployersareevermorefocusedoncostcuttingandworkersfeelincreasedpressureto
acceptsubminimumwagesandunpaidovertimeinthefaceofhighunemploymentrates.

Rebuildingoureconomyonthebackofillegalworkingconditionsisnotonlymorallybutalso
economicallyuntenable.Whenunscrupulousemployersbreakthelawanddrivedownlabor
standards,theyrobworkersofhardͲearnedincomeneededtosupporttheirfamilies.Theyrob
communitiesofspendingpower.Theyrobstateandlocalgovernmentsofvitaltaxrevenues.
AndtheyrobChicago,CookCountyandIllinoisofthegoodjobsandworkplacestandards
neededtocompeteinthe21stcenturyeconomy.


3
                                                                                     AR004684
1. ALandmarkSurveyoftheLowͲWageLaborMarket
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Studyingviolationsofworkplacelawsisachallengingtask.Employersareunlikelytoadmitthat
theyarepayingworkerslessthantheminimumwage,denyingworkersmealbreaks,or
otherwisebreakingthelaw.Businesseswiththeworstconditionsmaybeoperating
undergroundandthusdifficulttofind.Workerswhoneedtosupporttheirfamiliesare
understandablyreluctanttotalktoresearchersabouttheiremployers,becauseoffearsof
retaliation,worriesabouttheirimmigrationstatus,orbecausetheyareemployed“offthe
books.”Asaresult,existingdataareinadequatetoassessthecurrentstateofemployer
compliancewithemploymentandlaborlaws.

Inthisstudy,webuildonanemergingbodyofresearchthathasestablishedtheviabilityof
gatheringreliabledataonworkplacepracticesdirectlyfromworkers. 7 In2008,weconducteda
representativesurveyoflowͲwageworkersinChicagoandsuburbanCookCountyaspartofthe
larger2008UnregulatedWorkSurveyProject(whichconsistedofcoordinatedsurveysin
Chicago,LosAngelesandNewYorkCity).Weadoptedtwokeymethodologicalinnovationsto
overcometheinadequaciesofpreviousstudies.First,weusedacuttingͲedgesampling
methodologythatallowedustoreachthefullrangeofworkersinthelowͲwagelabormarket,
includingunauthorizedimmigrantsandworkerswhoareemployed“offthebooks.”Second,
wedevelopedanextensivequestionnairethatallowedustorigorouslyassesswhether
employmentandlaborlawswerebeingbroken,withoutrelyingonworkers’ownknowledgeof
theselaws.Theresultisalandmarksurveythatofferspolicymakers,regulatoryagencies,
communitygroups,legalserviceslawyersandresearchersawindowintothecurrentstateof
workerprotectionsinthelowͲwagelabormarketsofmajorU.S.cities.

ThelowͲwagelaborforce
FromJanuarythroughJuneof2008,wecompletedvalidsurveysof1,140workersinChicago
andsuburbanCookCounty.Toqualifyforthesurvey,workershadtobe:

     Age18orolder.
     CurrentlyworkingforanemployerinCookCounty,includinghavingworkedatleast
         eighthoursintheweekbeforetheinterview.
     A“frontͲline”worker—thatis,notamanager,professionalortechnicalworker.
     EmployedinalowͲwageindustryastheirprimaryjob(seeAppendixAforthedetailed
         listofeligiblejobs).



4
                                                                                    AR004685
Wedesignedthesurveytobebroadenoughtocapturearangeofindustriesandoccupations
acrosstheurbaneconomy,yettargetedenoughtoexcludeupperͲleveloccupationssuchas
lawyersorstockbrokers(mostofwhicharenotcoveredbymanyofthelawsofinteresthere).

Anoteontiming:Wefieldedthesurveyatthestartoftherecessionin2008,when
unemploymentrateswerestillrelativelylow.Ourassessment,therefore,isthattheworkplace
violationratesdocumentedinthisstudywerenotsignificantlyinfluencedbytherecession,and
thattheyrepresent“businessasusual”intheregion’slowͲwageindustries.

RespondentͲDrivenSampling(RDS)
Ourgoalwastoobtainaccurate,statisticallyrepresentativeestimatesoftheprevalenceof
workplaceviolations.Onekeychallengewefacedwashowtoreachtheworkers.Surveysthat
relyontelephoneinterviewsorCensusͲstylehomevisitsareunlikelytogaintheparticipationof
thefullpopulationoflowͲwageworkers,manyofwhomaremissingfromofficialdatabases,
vulnerablebecauseoftheirimmigrationstatus,and/orreluctanttotakepartinasurvey
becauseoffearofretaliationbytheiremployers.Trustisalsoanissuewhenaskingfordetails
aboutaworker’sjob,thewagestheyreceive,andwhetherornottheyarepaidoffthebooks.

Theseproblemshaverecentlyreceivedsignificantattentionfromstatisticiansandsocial
scientists.Inthissurveyweuseaninnovativesamplingstrategythatwasdevelopedto
overcomethebarriersofsurveying“hidden”or“hardͲtoͲreach”populations:RespondentͲ
DrivenSampling(RDS),originallydevelopedbyCornellUniversitysociologistandcollaborator
DouglasHeckathorn,andsubsequentlyelaboratedalongwithotherscholars.

AppendixAprovidesadetaileddescriptionoftheRDSmethodandhowweimplementeditin
thissurvey,butthebasicconceptisstraightforward:samplingisdonethroughsocialnetworks.
Recruitingstartedwithasmallnumberofworkerswhofitthestudycriteria.Aftertheywere
interviewedtheyrecruitedotherworkersintheirexistingsocialnetworks;thoseworkers
completedthesurveyandthenrecruitedothers,andsoon.Throughsuccessivewavesof
recruitment,thesampleincreasedovertime.Akeyadvantageofthismethodisthatworkers
arerecruitedbytrustedfriendsandacquaintanceswhoalreadyhaveparticipatedinthesurvey
andcanvouchforitsconfidentiality.Thisprovidesapowerfulwaytoovercomethebarriersof
fearanddisclosure.

Wetookseveralstepstoensurethatoursampleisrepresentativeofthelargerpopulationof
frontͲlineworkersinlowͲwageindustries.First,bycollectingdataonthesocialnetworksofthe
respondents,andinparticulartakingintoaccountthesizeandinterconnectivityofthose


5
                                                                                     AR004686
networks,RDSadjustsforthefactthatsomeindividualshavemoresocialconnectionsthan
others,andthusaremorelikelytoberecruitedintothesurvey.Second,RDSadjustsforthe
factthatdifferentgroupsofworkershavepatternsofrecruitmentthatvarybothinthetypeof
workerstheyrecruitandintheeffectivenessoftheirrecruitmentefforts.Finally,wealso
includedanadjustmenttoensurethatthedistributionofindustriesandoccupationsinour
samplefullyreflectedthecompositionoftheregion’slowͲwagelabormarket.

SurveyswereconductedatsixsitesinChicagoandsuburbanCookCounty,including
communityͲbasedorganizations,churches,andauniversity.Thesamesurveyinstrumentwas
usedatthevarioussites,andtheRDSmethodologywasimplementedinthesameway,with
detailedfieldingprotocolstoensurefullcomparability.Alloutreachmaterialsweretranslated
intomultiplelanguages,andthesurveyswereconductedinEnglish,PolishandSpanish.
Includingsurveyors,translators,fieldcoordinatorsandresearchers,atotalof18stafffielded
thissurvey(seeAppendixAformoredetailsonthefieldingandmethodology).Interviews
typicallylastedbetween60and90minutes.Inadditiontothesurvey,weconducted87inͲ
depth,semiͲstructuredinterviewswithlowͲwageworkers.InͲdepthinterviewswereusedto
betterunderstandworkers’experiencesinthelowͲwagelabormarket.

Measuringworkplaceviolations
Thesurveyisuniqueinthatitusesanoriginalseriesofdetailed,inͲdepthquestionstomeasure
arangeofviolationsofemploymentandlaborlaw.Thesurveyinstrumentwasdesignedto
gatherinformationthatwouldallowustodetectviolationsoflawsguaranteeingtheminimum
wageandovertimepay;fullandtimelypaymentofwagesowed;provisionoflegallyrequired
mealandrestbreaks;protectionagainstretaliationbyemployersforcomplaintsaboutworking
conditionsorattemptingtoorganize;andaccesstoworkers’compensationinsuranceinthe
caseofanonͲtheͲjobinjury.

Thequestionnairedidnotrelyonworkershavinganydirectknowledgeabouttheirrightsunder
employmentandlaborlaw,oraboutwhethertheyhadexperiencedaworkplaceviolation.
Instead,ourstrategywastogatherraw“inputs”fromworkers—thenecessarydataabouttheir
hours,earningsandworkingconditions,aswellasrelevantemployeractions.Wethenused
thesedatatodeterminewhetherornotalawhadbeenviolated.

Forexample,wedidnotaskworkerswhethertheywerebeingpaidtheminimumwage.
Instead,wegathereddayͲbyͲdaydataonexactlyhowmanyhourstherespondentworkedthe
weekbeforethesurvey,theamountofmoneyheorshereceived,whethertheemployermade
anydeductions(e.g.foruniformsormeals),andwhethertherespondentworkedofftheclock.


6
                                                                                    AR004687
Wethencalculatedtheworker’seffectivehourlywage,anddeterminedwhetherornotitwas
belowtheminimumwage.Thisapproach—gatheringrawdataandthencalculatingwhethera
workplaceviolationoccurred—wasusedforthemajorityofthemeasuresthatwereport.In
calculatingthevariousviolationmeasures,wewerecarefulnevertodoubleͲcountviolations.
Forexample,ifarespondentworkedfiveovertimehoursbutwasnotpaidforthosehours,we
recordedanovertimeviolation;oncethesefivehourswere“tagged”asunpaid,theydidnot
contributetoanyotherviolation(forexample,theycouldnotalsotriggeraminimumwage
violation).

Respondentcharacteristics
Weclosethissectionwithaninitiallookatthe1,140workersinoursample.Table2.1presents
anoverviewofkeydemographicandemploymentcharacteristics.LikethelowͲwageworkforce
incitiesacrosstheUnitedStates,oursamplehasmorewomenthanmen;significantnumbers
ofpersonsofcolor,especiallyLatinoworkers; 8 andarangeofagegroupsandeducationlevels.
ConsistentwithrecenttrendsinthelowͲwagelabormarket,immigrantscomprisealargepart
ofoursample—50percentofthesamplewasU.S.Ͳborn,withtheremaindercomprisedof
naturalizedcitizens,andauthorizedandunauthorizedimmigrants.Thesizeablenumberofthe
lattercategoryinoursampleisanindicatorofoursuccessincapturingthishardͲtoͲreachpart
ofthelabormarket.

GiventhatourfocuswasonemploymentpracticesinlowͲwageindustries,itisnotsurprising
thatworkersinoursampleearnedverylowwages.Themedianwage(in2008dollars)forour
samplewas$7.75anhour,withfewrespondentsearningsignificantlymorethanthisamount:
morethanthreeͲquartersofoursampleearnedlessthan$10.00anhour.Thesample
representsarangeofindustries(typesofbusinesses)andoccupations(jobtasksorfunctions).
Reflectingthelargereconomy,mostworkersinoursampleareemployedintheservice
sector—inindustriessuchasrestaurants,retailstores,andhomehealthcare—butthereisalso
asizablesegmentemployedinresidentialconstruction,manufacturingandwarehousing.
Similarly,manyoftheoccupationsinoursampleareservicejobs,suchascashiers,cooks,
childcareworkers,waitersandsalesworkers,butconstructionlaborersandfactoryworkersare
alsowellrepresented.Inshort,oursamplerepresentsarichanddiversemixoftheindustries
andoccupationsthatcomprisetheregionaleconomy.Alloftheworkplaceviolationprevalence
ratesandotherfindingsreportedinthefollowingsectionshavebeenweightedsothattheyare
representativeofthelargerpopulationoffrontͲlineworkersinlowͲwageindustriesinCook
Countyin2008.Byourestimate,thatpopulationincludesabout310,205workers,whichis25
percentofallfrontͲlineworkersand12percentofallworkersinCookCounty,asignificant
portionoftheregionallabormarket(seeTableA.2inAppendixA).


7
                                                                                     AR004688
 Table2.1:CharacteristicsofWorkersinthe2008UnregulatedWorkSurvey,Chicagoand
 SuburbanCookCounty
                                                                                        Percentofworkers
 Gender                                                    Male                                                                       38.2
                                                          Female                                                                     61.8
 
 Age                                                       18Ͳ25                                                                      24.0
                                                          26Ͳ35                                                                      34.4
                                                          36Ͳ45                                                                      18.8
                                                          46+                                                                        22.8
 
 Race                                                      Latino/Latina                                                              56.7
                                                          Black                                                                      26.1
                                                          Asian/other                                                                 6.6
                                                          White                                                                      10.6
 
 Education                                                 Lessthanhighschool,noGED                                              38.0
                                                          HighschoolgraduateorGED                                                35.6
                                                          Somecollegeorhigher                                                     26.5
 
 Nativityandlegalstatus                                 U.S.Ͳborncitizen                                                          50.3
                                                          ForeignͲbornauthorized(includesnaturalizedcitizens)                    18.8
                                                          ForeignͲbornunauthorized                                                 31.0
 
                                                            Other(finance&otherhealthcare)                                         2.8
 Mainindustryduring
                                                            Homehealthcare                                                            3.0
 previousworkweek
                                                          Residentialconstruction                                                    4.3
                                                          Grocerystores                                                              5.8
                                                          Retail&drugstores                                                        6.3
                                                          Personal&repairservices                                                  7.8
                                                          Security,building&groundsservices                                       9.3
                                                          Socialassistance&education                                               9.6
                                                          Privatehouseholds                                                         11.9
                                                          Manufacturing,transportation&warehousing                                18.9
                                                          Restaurants&hotels                                                       20.2
 
                                                            Teacherassistants                                                          0.7
 Mainoccupationduring
                                                            Securityguards                                                             2.6
 previousworkweek
                                                            Generalconstruction                                                        3.9
 
                                                            Waiters,cafeteriaworkers&bartenders                                     4.1
 
                                                          Stock&officeclerks                                                       4.5
                                                          Homehealthcareworkers                                                    4.8
                                                          Maids&housekeepers                                                        5.6
                                                          Personal&repairservicesworkers                                          6.6
                                                          Cashiers,retailsalespersons&tellers                                    11.3
                                                          Buildingservices&groundsworkers                                        11.8
                                                          Childcareworkers                                                         12.8
                                                          Cooks,dishwashers&foodpreparers                                        15.1
                                                          Factory&packagingworkers                                                16.2
 
 Hourlywageduringpreviousworkweek(2008$)             Medianhourlywage                                                       $7.75
 
 Totalnumberofworkersinthesample                                                                               1,140
 
 Source:Authors'analysisof2008UnregulatedWorkSurvey.




8
                                                                                                                   AR004689
3. ThePrevalenceofWorkplaceViolations

TheAmericanworkplaceisgovernedbyacoresetofemploymentandlaborlawsthatestablish
minimumstandardsforwages,healthandsafetyonthejob,fairtreatment,andtherightto
organize.Butourfindingsshowthattheselawsaresystematicallyviolated,significantly
impactingthelowͲwagelaborforceinChicagoandsuburbanCookCounty.Asweshowinthe
followingpages,workersinlowͲwageindustriesregularlyexperienceviolationsoflaws
mandatingminimumwageandovertimepay,andtheyarefrequentlyforcedtoworkoffthe
clockorduringtheirbreaks.

Table3.1summarizestheworkplaceviolationsexperiencedbysurveyrespondents.We
computedtheseviolationratesusingtwodistinctmeasures.Thefirstisdesignedtospecify
whatproportionofallworkersinoursurveysamplewhoexperiencedaviolation,whereasthe
secondmeasurespecifiestheproportionofworkersexperiencingaviolationwhowere“atrisk”
forthatviolation.Forexample,inthecaseofweeklyovertimepaylaws,aworkerisonlyatrisk
ofaviolationifsheorheworksmorethan40hoursinaweek.Table3.1shows,inseparate
columns,boththepercentageofallworkerssurveyedwhoexperiencedeachviolationandthe
percentageof“atrisk”workerswhoexperiencedeachviolation.Inthissection,wepresent
bothviolationmeasures;latersectionsfocusontheriskͲsetmeasuresalone. 9



 Raul and his wife Maribel lost their jobs when the factory where they worked for almost twenty years closed its
 doors. Raul says: “The company informed us about it one week before the closing. They said to us, ‘On Friday,
 when you’ve finished your job you’ll get paid and I’ll thank you for the work you’ve done.’” Maribel inquired about
 the vacation time workers had accrued: “We won’t pay it,” the manager responded, “We don’t have money.” Raul
 was surprised by the situation: “We didn’t know the company didn’t have any money because we had been
 working seven days a week.”

 The employer had denied them due wages in the past as well. “They treated us poorly,” Raul says. “The
 supervisor would ask us to work overtime but the company wouldn’t pay that time. They would claim that the
 supervisor didn’t have the power to authorize overtime work.” Raul filed a complaint and the union sent a letter
 requesting the overtime payment. “The supervisor told me that he could fire me for having complained,” Raul
 says. “I told them, ‘if you think you can fire me for standing up for my rights, go ahead. I know my rights.’”




9
                                                                                                     AR004690
                                                                  
Table3.1:WorkplaceViolationRates
                                                                                                         Percentofworkers

                                                                                                           withviolations
                                                                                                    Allworkers        Workersatrisk
Violation
                                                                                                     surveyed*         ofaviolation**
Minimumwageviolationsinweekpriortosurvey
       Workerwaspaidbelowtheminimumwage                                                             25.5                  same
       
Overtimeviolationsinweekpriortosurvey
       Workerhadunpaidorunderpaidovertime                                                          15.3                   67.1

OffͲtheͲclockviolationsinweekpriortosurvey
       WorkernotpaidforoffͲtheͲclockwork                                                             16.7                   68.8

Mealbreakviolationsinweekpriortosurvey
       Workerhadanyofthebelowmealbreakviolations                                                  28.3                   43.0
             Workerwasdeniedmealbreak                                                                 12.0                   17.3
             Mealbreakwasinterruptedbyemployerorsupervisor                                          8.1                   13.6
             Workerworkedthroughmealbreak                                                             10.1                   17.3
             Mealbreakwasshorterthanlegallyrequired                                                  8.2                   12.7
       
Otherpayviolationsinweekpriortosurvey
       Workerwaspaidlate                                                                               3.0                  same
       Workerdidnotreceiveapaystub                                                                  44.8                  same
       Workerwassubjectedtoanillegalpaydeduction                                                    3.3                   43.9
       Tipswerestolenbyemployerorsupervisor                                                          0.6                    4.6
       
Violationsinthe12Ͳmonthperiodpriortosurvey
       Workerhadanyofthebelowpayviolationsinlast12months                                       45.2                  same
           WorkedoffͲtheͲclockwithoutpayinlast12months                                             28.7                  same
           Paidlateinlast12months                                                                    22.9                  same
           Paidlessthanowedinlast12months                                                          16.9                  same
           Notpaidatallinlast12months                                                               4.2                  same
       Regularandrepeatedverbalabuseonthebasisofaprotectedcategoryinlast12months           2.0                  same
       
Retaliationviolationsformostrecentcomplaintororganizingeffort
       Workerexperiencedretaliationbyemployerformakingcomplaintororganizingaunion               5.0                   35.1

Workers'compensationviolationsformostrecentonͲtheͲjobinjury                                              
    Workerexperiencedanillegalactionbyemployer                                                    2.1                   19.6
    
Tippedworkerminimumwageviolationsinweekpriortosurvey
       Tippedworkerdidnotreceivethetippedminimumwage                                               2.4                   15.2
                                                                                                                  

Source:Authors'analysisof2008UnregulatedWorkSurvey.
*Calculatedasapercentofallworkersinoursample.
**Calculatedasapercentofworkerswhowereatriskofaviolation.
                                                                  
 
 



 10
                                                                                                                   AR004691

Minimumwageviolations
MinimumwagelawshavebeenthebasicstandardofpayforfrontͲlineworkersintheU.S.labor
marketsince1938,whentheFairLaborStandardsActwaspassedintolaw.Employersare
requiredtopaycoveredworkersatorabovetheminimumwageassetbyfederalorstatelaw,
whicheverishigher. 10 Minimumwagelawsapplytoworkersregardlessofwhethertheyare
employedfullͲorpartͲtime,orwhethertheyarepaidbythehour,bythepieceorinsome
othermanner.Minimumwagelawsalsocoverunauthorizedimmigrantworkers,asdoallof
theotherlawsconsideredinthisstudy.Atthetimeofoursurvey,theIllinoisminimumwage
was$7.50.

AsTable3.1shows,26percentoftheworkersinoursamplewerepaidlessthantheminimum
wageinthepreviousworkweek.Moreover,theseminimumwageviolationswerenottrivialin
magnitude:over60percentofworkersinoursamplewereunderpaidbymorethan$1per
hour(Figure3.1),andthemedianunderpaymentwas$1.45belowtheStateofIllinoisminimum
wage.

    Figure3.1:AmountPaidBelowtheHourlyMinimumWagefor
    WorkerswithaMinimumWageViolation




                                           Morethan$4perhour




                           $3.01to$4perhour                13.1%
                                                                                    $1perhourorless


                                                     10.0%                  36.5%

                     $2.01to$3perhour            11.5%


                                                                  28.8%




                                                             $1.01to$2perhour




                                                                                                                 
Source:Authors'analysisof2008UnregulatedWorkSurvey.




11
                                                                                                          AR004692
AsnotedinSection2,wedidnotrelyonourrespondents’knowledgeofemploymentandlabor
lawstomeasuretheprevalenceofworkplaceviolations.Instead,wegathereddetailed
informationfromeachworkerregardingtheworkweekimmediatelypriortohisorher
interview.Wecalculatedeachrespondent’shourlywagerateforthejob(s)inwhichheorshe
workedthatweek,dividingtotalweeklyearningsbythenumberofhoursworked,aftertaking
intoaccountbonuses,taxes,deductionsandovertimepay.Wethencomparedthiscalculated
hourlywageratetotheIllinoisminimumwagetodeterminewhetherornottherewasa
minimumwageviolation. 11

Overtimeviolations
Federallawrequiresthatcoveredemployeesmustbepaid“timeandahalf”(1.5timestheir
regularrateofpay)forallhoursworkedover40duringeachweekforasingleemployer.One
quarterofourrespondentsworkedmorethan40hoursduringthepreviousworkweekfora
singleemployerandthereforewereeligibleforovertimepay,and67percentofthese“atrisk”
workerswerenotpaidthelegallyrequiredovertimeratebytheiremployers(Table3.1). 12 

Nonpaymentorunderpaymentforovertimeworktakesavarietyofforms.SixtyͲthreepercent
ofrespondentswhohadanovertimeviolationwerepaidonlytheirregularhourlyrateforthe
hourstheyworkedover40,another30percentwerenotpaidatallforthosehours,and7
percentwerepaidlessthantheirusualhourlyrateorwerepromised“comptime”inlieuof
overtimepay.Likeminimumwageviolations,overtimeviolationswerefarfromtrivialin
magnitude.Amongthoseworkerswithanovertimeviolation,theaveragerespondenthad
workedeightovertimehoursinthepreviousweek,and11percenthadworkedmorethan20
overtimehours(seeFigure3.2).







12
                                                                                  AR004693
  Figure3.2:NumberofHoursWorkedOvertime(Beyond40Hours)for
  WorkerswithanOvertimeViolation




                                                Morethan20hours



                                                              11.1%

                              10to20hours
                                                   16.3%

                                                                      50.7%   5hoursorless


                                                      25.6%




                                           5to10hours




                                                                                                            
Source:Authors'analysisof2008UnregulatedWorkSurvey.


“OffͲtheͲclock”violations:unpaidtimebeforeorafteraregularshift
Inadditiontounpaidovertime,manyfrontͲlineworkersinthelowͲwagelabormarketperform
workthatisunpaid.Thisis“offtheclock”workthattakesplacebeforeorafteraregularly
scheduledshiftandforwhichnopayisprovided. 13 OffͲtheͲclockworkistechnicallyatypeof
minimumwageviolation,butwechosetomeasureitseparatelyinthisstudybecauseit
involvesemployeesnotbeingpaidatallfortimeworked.Bylaw,employeesmustbepaidfor
allofthehourstheywork,andthereforeanyworkperformedbeforeorafterofficialstartand
endtimesmustbecompensatedinaccordancewithminimumwagelaws.Inoursurvey,we
askedworkerswhethertheybeganworkbeforetheirofficialshiftwastobeginorifthey
workedaftertheirofficialendingtimeand,ifso,whetherornottheyreceivedpaymentforthis
timeonthejob.Ifworkerscameinearlyand/orstayedlateandwerenotpaidatallforwork
theyperformedduringthosetimeperiods,theyhadexperiencedanoffͲtheͲclockviolation.





13
                                                                                                 AR004694
NearlyoneͲquarterofworkerssurveyed(23percent)statedthattheyhadworkedbefore
and/oraftertheirregularshiftsinthepreviousworkweek.Ofthese“atrisk”workers,69
percentdidnotreceiveanypayatallfortheworktheyperformedoutsideoftheirregularshift.
Respondentswhoexperiencedthisviolationtypicallyworkedanaverageoftwohoursperweek
withoutpay.

Mealbreakviolations
Illinoislawrequiresemployerstoprovideworkersanuninterruptedmealbreakduringshiftsof
7.5hoursorlonger.Thelawdoesnotrequiretheemployertopayworkersduringthemeal
break,butiftheemployeeworksduringthebreak,heorshemustbecompensated.We
determinedwhetherworkersreceivedalloftheirrequiredmealbreaksandifthesebreaks
wereoftherequiredlength.

SeventyͲfivepercentofourrespondentsworkedenoughconsecutivehourstobelegally
entitledtoamealbreak.However,asTable3.1indicates,43percentofthese“atrisk”workers
experiencedamealbreakviolationinthepreviousworkweek.Mealbreakviolationstooka
varietyofforms.Oneinsixworkers(17percent)withthisviolationreceivednomealbreakat
allatsomepointduringthepreviousweek,while13percenthadamealbreakthatwasshorter
thanrequiredbylaw.Workersalsoreportedbeinginterruptedbytheiremployerduringtheir
mealbreak(14percent)andworkingduringpartoftheirmealbreak(17percent).

Otherpayviolations
Inadditiontominimumwage,overtime,offͲtheͲclock,andmealbreakviolations,wecollected
dataonseveralotherpayͲrelatedviolations.Weaskedworkersiftheyhadreceivedapaystub
orotherdocumentationoftheirearningsanddeductions.AccordingtoIllinoislaw,all
workers—regardlessofwhethertheyarepaidincashorbycheck—arerequiredtoreceive
documentationoftheirearningsanddeductions.However,45percentofworkersinour
sampledidnotreceivethismandatorydocumentation.Wealsoaskedaboutanydeductions
thatweremadeduringthepreviousworkweek.InIllinois,employersaregenerallynot
permittedtotakedeductionsfromaworker’spayfordamageorloss,workͲrelatedtools,
materialsortransportation,oruniforms. 14 Amongrespondentswhoreporteddeductionsfrom
theirpay,44percentweresubjectedtoillegaldeductions.

WealsoexaminedpayͲrelatedviolationsaffectingtippedworkers.UnderIllinoislaw,thereisa
specialprovisionforworkerswhoreceivetipsasaregularpartoftheirwages.Inadditionto
thetipstheyreceivefromcustomers,tippedworkersmustbepaidatleastaminimumbase
wagebytheiremployerforthehourstheywork;however,thisbasewageislessthanthe


14
                                                                                     AR004695
minimumwagefornonͲtippedworkers.Wecalculatedthetippedminimumwageviolation
ratebycomparingeachtippedworker’sbasewagetothelegallyrequiredwagerate.Fourteen
percentofworkersinoursamplereceivedtipsinthepreviousweek.Thesetippedworkers
wereemployedinavarietyofjobs,themostcommonbeingrestaurantworkers,carwash
workers,housekeepers,andotherpersonalserviceworkers.Ofthesetippedworkers,15
percentexperiencedviolationsofthetippedworkerminimumwage.Itisalsoillegalfor
employersormanagerstoappropriateanyportionofthetipsgivenbycustomersinrestaurants
orotherbusinesseswheretipsarecustomary.Nevertheless,5percentoftippedworkersinour
samplereportedsuch“tipstealing”duringthepreviousworkweek.


 Last year Evan worked in the restaurant industry as a waiter and experienced tip stealing. His employer stole tips
 from numerous paychecks. “I hated getting credit card tips because that’s where she would take it,” says Evan. “I
 calculated the percentage and I remember it was close to $50 to $100 dollars per paycheck.”

 “We actually confronted her about this at one point and she said that, when processing a credit card, there’s
 usually a 2-3 percent fee that they pay. But she passed more than the fee on to us. I sat down with all of my
 credit card receipts at the end of the day, tallied it up, and was like ‘well, this is more than 3 percent taken out of
 my paycheck for the month.’ … I think it was close to 10 percent. There were no excuses for her to take money
 out of my paycheck.”

Workplaceviolationsduringthelast12months
Foralloftheviolationratesdiscussedsofar,wecalculatedwhetherornotaviolationoccurred
duringtheweekpriortotheinterview,basedoninformationcollectedabouteachworker’s
hoursandearnings.Inaddition,weaskedworkersaseriesofquestionsabouttheir
experiencesovertheprevious12months.Thepurposeofthesequestionswastomeasurethe
prevalenceofworkplaceviolationsthatoccurrelativelyinfrequentlyandthusmightbemissed
byquestionslimitedtoasingleworkweek.

FortyͲfivepercentofrespondentsexperiencedatleastonepayͲrelatedviolation(offͲtheͲclock
work,latepayment,beingpaidlessthanowed,ornotbeingpaidatall)inthe12Ͳmonthperiod
priortotheirinterview:

         29percenthadworkedoffͲtheͲclockwithoutpayatleastonceinthelastyear.When
          workersexperiencedthisviolation,theydidsofrequently,onaverage20timesinthe
          lastyear.

         23percentofworkershadbeenpaidlateatsomepointinthelastyear;onaverage,this
          groupexperiencedfourincidentsoflatepaymentovertheyear.




15
                                                                                                         AR004696
         17percentofworkershadbeenpaidlessthantheywereowedbytheiremployersat
          leastonceinthelast12months;onaverage,thistookplacefourtimesforthosewho
          experiencedsuchunderpayment.

         4percentofworkersinoursamplewerenotpaidatallforworktheyhadperformedat
          leastonceinthepreviousyear;amongtheseworkers,nonpaymentofwagesoccurred
          anaverageoftwotimesinthelastyear.

Illegalretaliationbyemployers
Thelawprotectsworkersfromemployerretaliationiftheycomplaintotheiremployerortoa
governmentagencyabouttheirworkingconditions;retaliationagainstworkerswhoattemptto
organizeaunionisalsoillegal. 15 Threateningtofireaworker,actuallyfiringorsuspending
workers,cuttinghoursorpay,harassingorabusingworkers,orgivingworkersaworsework
assignment—allareillegalformsofemployerretaliationiftheyoccurasadirectresultofa
complaintorunionorganizingeffort.

Weaskedrespondentswhethertheyhadmadeacomplaintinthelastyeartotheiremployer,
totheirsupervisorortoagovernmentagency.Iftheyhad,wethengatheredinformation
aboutthemostrecentcomplaint.Iftheyhadnotcomplained,weaskediftheyhadany
problem(s)onthejoband,ifso,whytheychosenottocomplainabouttheproblem(s).

Overall,25percentofworkersinoursampleeithermadeacomplaintorattemptedtoforma
unioninthelastyear.Complaintsweremaderegardinganumberofworkplaceissues,
including:dangerousworkingconditions(20percent),notbeingpaidforallhoursworked(9
percent),beingpaidbelowtheminimumwage(6percent),notbeingpaidontime(4percent),
andnotbeingpaidforovertime(1percent).Ofthoseworkerswhomadeacomplaint,35
percentreportedexperiencingretaliationfromtheiremployerorsupervisorasadirectresultof
theirmostrecentcomplaintororganizingeffort.Figure3.3showsthevariouswaysinwhich
employersillegallyretaliatedagainstworkers—includingactionssuchascuttingworkers’hours
andpay,threateningtocallimmigrationauthorities,firingworkers,andincreasingworkloads.

Despitetheexistenceoflegalprotectionsfromretaliation,manyworkerschosenottomake
complaintstotheiremployers,evenwhentheyencounteredsubstandardconditionsinthe
workplace.Inoursample,15percentofworkersindicatedthattheydidnotmakeacomplaint
duringthepast12monthseventhoughtheyhadexperiencedaseriousproblemsuchas
dangerousworkingconditions,discriminationornotbeingpaidtheminimumwage.Overhalf
(52percent)oftheseworkersindicatedthattheydidnotmakeacomplaintbecausetheywere



16
                                                                                      AR004697
afraidoflosingtheirjob,12percentwereafraidtheywouldhavetheirhoursorwagescut,and
36percentthoughtitwouldnotmakeanydifferenceiftheycomplained.Fearofretaliation
andexpectationsofemployerindifference,then,figurestronglyinworkers’decisionsabout
whetherornottomakeacomplaint.


      Figure3.3:TypesofIllegalRetaliationbyEmployers*



                  100%


                    90%


                    80%


                    70%

      Violation
                 60%                57.3%
        Rate

                    50%                                          44.7%
                                                                                              39.9%
                    40%


                    30%


                    20%                                                                                                   17.1%

                    10%


                     0%
                           Employercutworkers' Employerthreatenedto                 Employerfiredor         Employerharassedor
                            hoursorpay,orgave  fireworkersorcall                suspendedworkers           abusedworkers,or
                          worseworkassignments immigrationauthorities                                           increasedworkload

                                                                                                                                                   
Source:Authors'analysisof2008UnregulatedWorkSurvey.
*Calculatedonlyforworkerswhohadexperiencedillegalretaliationformakingacomplaintororganizingaunionduringtheyearpreviousto
thesurvey.Workerscouldreportmorethanonetypeofretaliation.


Workers’compensation
Withveryfewexceptions,workers’compensationlawstipulatesthatemployersareobligated
tocarryworkers’compensationinsuranceinordertocovercostsincurredwhenanemployeeis
injuredorbecomessickonthejobforworkͲrelatedreasons.Thesecostsincludemedicalbills
aswellaswageslostduetotimeawayfromworkbecauseoftheinjuryorillness.




17
                                                                                                                            AR004698
FifteenpercentofourrespondentsexperiencedaseriousonͲtheͲjobinjury 16 duringthe
previousthreeyearsofwork.Fortheseworkers,wegatheredinformationaboutthemost
recentworkͲrelatedinjury,andabouttheemployer’sresponsetothatinjury,inorderto
determinewhetheraviolationofworkers’compensationlawhadoccurred.Wefoundthatthe
workers’compensationsystemisveryrarelyusedbyourrespondents.Only9percentofthe
workersinoursamplewhoexperiencedaseriousinjuryduringthepreviousthreeyearshad
filedaworkers’compensationclaimfortheirmostrecentinjury.Thisfindingclearlyindicates
thattheworkers’compensationsystemisnotfunctioningasintendedforfrontͲlineworkersin
thelowͲwagelabormarket.

Thesurveydatasuggestthatemployersfrequentlyfailtoobservetherequirementsofworkers’
compensationlawwhenrespondingtoonͲtheͲjobinjuries.Fully38percentofseriouslyinjured
respondentsreportedthattheywererequiredtoworkdespitetheirinjury;anadditional25
percentsaidtheiremployerrefusedtohelpthemwiththeinjury;18percentwerefiredshortly
aftertheinjury;8percentsaidtheiremployermadethemcomeintoworkandjustsitthereall
day;5percentwerethreatenedwithdeportationornotificationofimmigrationauthorities;and
2percentweretoldbytheiremployersnottofileaworkers’compensationclaim.Only8
percentofemployersinstructedinjuredworkerstofileaworkers’compensationclaim.

NotalloftheemployerresponsestoonͲtheͲjobinjuriesreportedaboveareillegal.Table3.1
showsworkers’compensationviolationrates,butonlyforillegalemployeractionssuchas:
firingorthreateningtofireaninjuredworker,callingimmigrationauthoritiesinresponsetoan
onͲtheͲjobinjuryofanunauthorizedworker,orinstructinganinjuredworkernottofilefor
workers’compensationinsurance. 17 Twentypercentofthoserespondentswhosufferedan
injuryinthepastthreeyearsexperiencedaviolationofworkers’compensationlawfortheir
mostrecentinjury.

Wealsogatheredinformationonwhopaidforinjuredworkers’medicalexpenses.FiftyͲfive
percentofrespondentswhoexperiencedaseriousinjuryatworksoughtmedicalattentionfor
thatinjury,butwithinthisgroup,only44percentindicatedthattheiremployerspaidforallor
partoftheirmedicalbills.AbouthalfoftheworkerswhosoughtmedicalattentionafteranonͲ
theͲjobinjuryhadtopaytheirbillsoutͲofͲpocket(41percent)orusedtheirhealthinsuranceto
covertheexpenses(8percent).Workers’compensationinsurancepaidthemedicalexpenses
foronly3percentoftheworkersinoursamplewhovisitedadoctorforanonͲtheͲjobinjuryor
illness.




18
                                                                                    AR004699
  Ana worked for a cleaning company for five years, where she earned $8 an hour and was paid regular time when
 she worked overtime. Ana comments: “One time I worked for 22 hours in a row and I got paid only $120. My
 boss told me that was all he could give me.” She is owed about $1,800 from bounced checks, plus wages she
 should have received if her employer had abided by overtime laws.

 She was fired from her cleaning job after she developed carpal tunnel syndrome. Ana says the debilitating illness
 was caused by the strenuous work she had been doing: “I got carpal tunnel in my hands from the repetitive
 motion. My sister had to help me do everything during that time. I went to Cook County Hospital and I covered
 my medical expenses. But I couldn’t afford to go to therapy. I’m lucky because I live with my sister—that is how I
 have been able to survive. I fell behind on my school payments, and now I even owe the IRS because my
 employer was not deducting money from my check.”

Summary
FrontͲlineworkersinChicagoandsuburbanCookCountyfrequentlyarepaidbelowthe
minimumwage,notpaidforovertime,workoffͲtheͲclockwithoutpay,andhavetheirmeal
breaksdenied,interruptedorshortened.Infact,nearlyhalf(47percent)oftheworkersinour
sampleexperiencedatleastonetypeofpayͲrelatedviolationintheirpreviousweekofwork. 18 
MorethanoneͲquarteroftheworkersinoursamplewerepaidlessthantheminimumwagefor
theirpreviousworkweek,andamongworkerswhoworkedmorethan40hoursintheir
previousworkweek,morethantwoͲthirdswerenotpaidthelegallyrequiredovertimerate.
Ourdataalsoshowthatemployerretaliationiscommon:amongthoseworkersinoursample
whomadecomplaintsorattemptedtoorganizeaunion,35percentexperiencedretaliation
fromtheiremployerorsupervisor.Inaddition,wefoundthattheworkers’compensation
systemisnotfunctioningforworkersinthelowͲwagelabormarket.Thesystemisveryseldom
usedbyinjuredworkersand(likelynotunrelated)manyemployerseitherdirectlyorindirectly
discourageworkersfromfilingclaims.Inshort,thecoreworkplacelawsestablishedduringthe
lastcenturyarebeingregularlyviolatedbyemployersinthelowͲwagelabormarket.Intherest
ofthisreportweexploretheseviolationsinmoredetail,examiningtheindustriesand
occupationsinwhichtheymostoftenarefound,aswellastheworkerswhoaremostaffected.




19
                                                                                                    AR004700


4. TheRoleofJobandEmployerCharacteristics

Workplaceviolationsultimatelyaretheresultofdecisionsmadebyemployers—whethertopay
theminimumwageorovertime,whethertogiveworkersmealbreaks,orhowtorespondto
complaintsaboutworkingconditions.Forthisreason,weexploresomekeycharacteristicsof
ourrespondents’employersinthissectionofthereport,asking:Whichtypesofbusinesses
tendtoviolateemploymentandlaborlawsthemost?Whichoccupationsarehardesthit?Do
violationratesvarybythesizeofthebusiness?Andaretherespecificemployerpracticesthat
areassociatedwithorenableworkplaceviolations?Thissectionexaminesworkplaceviolations
throughthelensofjobandemployercharacteristics,analyzingdifferencesinworkplace
violationratesbyindustry,occupation,companysize,aswellasbypayarrangement(Table
4.1). 19

    Table4.1:WorkplaceViolationRatesbyJobandEmployerCharacteristics
                                                                               Percentofworkerswithviolations
    
                                                            Minimumwage            Overtime            OffͲtheͲclock      Mealbreak
    
                                                             violationrate      violationrate*       violationrate*   violationrate*
    
    PayType             Hourly                                        16.4                 58.5                60.0              35.3
                        NonͲhourly                                    53.1                 82.1                91.0              64.6
    PayMethod           Cash                                          42.5                 70.1                70.8              54.1
                        Companycheck                                 15.8                 60.1                68.2              36.3
    CompanySize         Lessthan100employees                       33.1                 84.5                73.9              54.0
                        100employeesormore                         15.5                 52.0                64.3              29.1
    Source:Authors'analysisof2008UnregulatedWorkSurvey.
    *Calculatedasapercentageofallworkerswhowereatriskforaviolationduringthepreviousworkweek.
                                                                          
                                                                          
Minimumwageviolations
Minimumwageviolationratesvarysignificantlybyindustry,asshowninFigure4.1. 20 
Violationsweremostcommoninprivatehouseholdsandinpersonalandrepairservices,where
morethan60percentofworkerswerepaidlessthantheminimumwage.Otherhighviolation
industriesinclude,retailanddrugstores,socialassistanceandeducation,andgrocerystores. 21 




20
                                                                                                                            AR004701
   Figure4.1:MinimumWageViolationRatesbyIndustry


                             Privatehouseholds                                                     61.3%


                      Personal&repairservices                                                   60.1%


                             Retail&drugstores                                  32.0%


                  Socialassistance&education                                30.2%


                                  Grocerystores                             25.9%


                               Homehealthcare                            22.5%


                           Restaurants&hotels                            22.3%


                        Residentialconstruction                       21.2%


 Manufacturing,transportation&warehousing                           21.1%


          Security,building&groundsservices                       19.7%


            Other(finance&otherhealthcare)           5.8%

                                                    0%     10%       20%     30%      40%   50%   60%   70%   80%   90%   100%
                                                    ViolationRate

                                                                                                                                 
Source:Authors'analysisof2008UnregulatedWorkSurvey.

AsFigure4.2shows,minimumwageviolationratesalsovarybyoccupation.Childcare
workers,manyofwhomworkinprivatehouseholds,hadaviolationrateof75percent.Sixty
percentofpersonalservicesandrepairworkersalsohadaminimumwageviolation.Other
highͲviolationoccupationsinclude,buildingservicesandgroundsworkers;cashiers,retail
salespersonsandtellers;andhomehealthcareworkers.





21
                                                                                                                AR004702
                                                                       
   Figure4.2:MinimumWageViolationRatesbyOccupation


                        Childcareworkers                                                                  74.6%


       Personal&repairservicesworkers                                                        60.1%


      Buildingservices&groundsworkers                                         35.8%


   Cashiers,retailsalespersons&tellers                                       33.0%


               Homehealthcareworkers                                     29.8%


    Cooks,dishwashers&foodpreparers                               24.7%


                      Stock&officeclerks                          24.0%


                     Generalconstruction                            22.6%


                   Maids&housekeepers                         19.9%


             Factory&packagingworkers                       18.1%


                           Securityguards             8.2%


 Waiters,cafeteriaworkers&bartenders           2.4%

                                              0%      10%      20%         30%     40%    50%   60%   70%    80%     90%   100%
                                              ViolationRate
                                                                                                                                  
Source:Authors'analysisof2008UnregulatedWorkSurvey.


AlthoughmanyemployersinlowͲwageindustriespaytheirworkersaregularhourlywage,
othersuseweekly,dailyorotherpaytypes. 22 Manyworkersarepaidonaflatweeklybasis,so
thattheirpaydoesnotincreasewiththenumberofhourstheywork.Aprepcook,for
example,mightbepaid$300weeklyandbeexpectedtoworkbetween35and50hourseach
week,dependingonhowbusytherestaurantisandhowthemanagerschedulesworkshifts.
Otherworkersarepaidonaflatdailybasis.Intheresidentialconstructionindustry,aday
laborermightreceive$80foraday’swork,regardlessofthenumberofhoursinvolved.In
apparelandtextilemanufacturing,workersareoftenpaidbythepiece—forexample,a
garmentworkermightbepaidsevencentsforeachshirtsleeveshesews.Overall,74percent
ofoursamplewaspaidanhourlywage;oftheremaining26percent,mostwerepaideithera
flatweeklyoraflatdailyamount.



22
                                                                                                                    AR004703
AsTable4.1shows,workersinoursamplewhohadnonͲhourlypaytypeshadsubstantially
higherminimumwageviolationrates(53percent)thanthosewhowerepaidanhourlywage
(16percent).Thisisnotsurprising,sincewhenemployersusenonͲhourlypaytypes,workers’
wagesareonlylooselytiedtothenumberofhourstheyworkandanyincreaseinhourscan
resultinwagesfallingbelowthelegalminimum.Inoursample,higherminimumwageviolation
ratesfornonͲhourlyworkersareevidentwithin(aswellasacross)industriesandoccupations.

Minimumwageviolationratesalsovarysharplydependingonwhetherworkersarepaidincash
orbycompanycheck. 23 Althoughitisnotillegalforemployerstopayemployeesincash,the
lawrequiresthatemployeesbeprovidedanitemizedstatementofearningsanddeductionsfor
eachpayperiod.Asnotedintheprevioussection,45percentofworkersinoursampledidnot
receivetherequiredstatementfromtheiremployer—andamongworkerswhowerepaidin
cash,fully94percentdidnotreceivesuchastatement.Withoutthetransparencyaffordedby
paystatements,workersoftenareunabletodeterminewhethertheyhavereceivedthewages
theyaredue.AsTable4.1shows,workerswhowerepaidincashhadnearlytriplethe
minimumwageviolationrateofthosepaidbycompanycheck(43percentand16percent,
respectively).

Paytype(hourlyversusnonͲhourly)andpaymethod(cashversuscompanycheck)arerelated
butnotthesame.Onemightexpectthatworkerswhowerepaidaregularhourlywagewould
generallybepaidbycompanycheck,butnearlyoneͲquarterofhourlyworkersinoursample
werepaidincash.Thatsaid,whenbothpaytypeandpaymethodwerenonstandard,
minimumwageviolationswereespeciallyhighforworkersinoursample.AsFigure4.3shows,
workerswhowerepaidonanhourlybasisandbycompanycheckhadthelowestminimum
wageviolationrate,at13percent.BycontrastnonͲhourlyworkerswhowerepaidincashhada
violationrateoverfourtimesthislevel(60percent).

Finally,companysizehasasignificantrelationshiptominimumwageviolationrates.AsTable
4.1shows,workersemployedincompanieswithlessthan100employeeshadaviolationrate
morethandoublethatofworkersinlargercompanies(33percentand16percent,
respectively).




23
                                                                                  AR004704
   Figure4.3:MinimumWageViolationRatesbyPayArrangement
           100%

            90%

            80%

            70%
                                                                                                            60.1%
            60%
 Violation
            50%
   Rate

            40%

                                                                                  28.8%
            30%
                                                              24.8%
            20%
                              13.3%
            10%

              0%
                       Workerpaidhourly           Workerpaidhourly   WorkerpaidnonͲhourly   WorkerpaidnonͲhourly
                       bycompanycheck                  incash            bycompanycheck               bycash

                                                                                                                              
Source:Authors'analysisof2008UnregulatedWorkSurvey.





  As a former restaurant and cleaning services employee, Mercedes has experienced wage theft numerous times.
  In both industries she worked long hours for little pay. Mercedes says: “I took my last job at a restaurant because
  I had a great economic need. The employer offered to pay me $300 for six days of work, working 12 hours every
  day. I worked from 11 a.m. to 11 p.m. At work we couldn’t eat or we would have to eat standing, there was not
  time…there was too much work to be done.” The employer also withheld three days of wages from Mercedes as
  a deposit when she began working, which she never recovered. “They never paid me the three days of work that
  they kept as deposit when I started working. They never paid me minimum wage or overtime. They owe me
  $10,000 not including the three days of deposit,” she says.

  Mercedes quit her job at the restaurant and found another job at a cleaning company. “At first, the guy in charge
  told me that there were no set wages, and that they divided the money they made equally among everyone in the
  team and that they paid monthly,” says Mercedes. “I decided to give it a try because, again, I needed to work.
  The first time I got paid was for a week worth of work. I got paid $250 for nine days working 12 hours a day! I
  asked him about it and he tried to explain. He gave me some mumble-jumble that didn’t make any sense. We
  agreed that from then on he was going to pay me $30 a day, and when we had fewer people in the team he
  would pay me $50. I worked 22 days and received $500. I was expecting at least $700. Although it doesn’t
  sound like much, I need that money. I’m not making enough money to pay my bills right now, and I have debts to
  pay. All this time I’ve been turning to friends to borrow money to be able to pay rent.”




24
                                                                                                             AR004705
Overtimeviolations
Overtimeviolationscanoccurinanumberofways. 24 Someemployersonlypayworkerstheir
regularhourlyrate—or“straighttime”—forovertimehours,ratherthanthetimeͲandͲaͲhalf
raterequiredbylaw.Otheremployersfailtopayemployeesanythingatallfortheirovertime
hours.Forexample,afullͲtimechildcareworkermightbepaid$400aweektocareforsmall
childrenandtoperformvariouslighthousekeepingduties.Sheroutinelymaybeexpectedto
extendthosehoursbeyondthe40Ͳhourthresholdwhenfamilymembersreturnhomelate,
thoughhersalaryremainsthesame.Stillotheremployersmaygiveworkerssmallamountsof
payforovertime—say,anextra$20forfiveadditionalhoursonSaturday,afterafullweek’s
work.Aswesawintheprevioussection,67percentofrespondentsinoursamplewhoworked
morethan40hoursduringthepreviousworkweekforasingleemployerdidnotgetpaidfor
overtimeasrequiredbylaw.Figure4.4showsthatovertimeviolationratesarehighacrossall
theindustriesinoursample,rangingfrom52percentinthegrocery,retail,anddrugstore
industry,to89percentforworkersintheprivatehouseholdindustry.

   Figure4.4:OvertimeViolationRatesbyIndustry*


            Privatehouseholds                                                                                              88.6%




      Personal&repairservices                                                                                77.1%




           Restaurants&hotels                                                                            70.6%



   Socialassistance,education,
                                                                                              58.8%
      finance&healthcare


     Residentialconstruction,
   security,building&grounds                                                                  58.0%
              services


 Manufacturing,transportation
                                                                                          54.8%
       &warehousing



   Grocery,retail&drugstores                                                         52.1%


                                   0%       10%      20%       30%       40%       50%       60%         70%       80%     90%      100%

                                   ViolationRate
                                                                                                                                           
Source:Authors'analysisof2008UnregulatedWorkSurvey.
*Calculatedasapercentofworkerswhoworkedmorethan40hoursforasingleemployerduringthepreviousworkweek.




25
                                                                                                                          AR004706
Figure4.5showsthatovertimeviolationratesarehighacrossalltheoccupationsinoursample,
buttherealsoissubstantialvariationinviolationrates.Ratesareparticularlyhighforchildcare
workersandteacherassistants,withaviolationrateoffully92percentamongthosewho
workedmorethan40hoursduringthepreviousworkweek.

  Figure4.5:OvertimeViolationRatesbyOccupation*


  Childcareworkers&teacher
                                                                                                                                 91.9%
            assistants



 Maids,housekeepers&home
                                                                                                                     81.8%
     healthcareworkers



  Cashiers,retailsalespersons,
                                                                                                     65.7%
   tellers,stock&officeclerks



 Cooks,waiters,dishwashers&
                                                                                                  61.8%
        foodpreparers



      Personal&repairservices
                                                                                            57.3%
              workers



      Security,construction,and
                                                                                          55.3%
       buildingservicesworkers


                                    0%        10%    20%       30%       40%       50%      60%       70%       80%        90%      100%
                                    ViolationRate
                                                                                                                                           
Source:Authors'analysisof2008UnregulatedWorkSurvey.
*Calculatedasapercentofworkerswhoworkedmorethan40hoursforasingleemployerduringthepreviousworkweek.
                                                                     

Table4.1showstherelationshipbetweenpaytypeandovertimeviolations.Aswasthecasefor
minimumwageviolations,nonͲhourlyworkersinoursampleexperienceddisproportionately
highovertimeviolationrates.Amongthosewhoworkedmorethan40hoursduringthe
previousworkweekforasingleemployer,82percentofnonͲhourlyworkershadanovertime
payviolation.Thishighviolationrateisnotsurprising,sinceflatweeklyorflatdailypayrates,
bydefinition,donotvarywithhoursworked.Buthourlyworkersalsofaceveryhighovertime
violationrates:59percentwerenotpaidorwereunderpaidfortheirovertimehoursinthe


26
                                                                                                                          AR004707
previousworkweek.Overtimeviolationratesalsovarywithcompanysize.AsTable4.1shows,
frontͲlineworkersincompanieswithlessthan100employeeshadanovertimeviolationrateof
85percent. 25 Bycontrast,workersincompanieswith100ormoreemployeeshadaviolation
rateof52percent.

OffͲtheͲclockviolations
Alargemajority(69percent)ofworkersinoursamplewhoworkedbeforeand/oraftertheir
shiftinthepreviousworkweekwerenotpaidforthatpartoftheirworkingtime.Figures4.6
and4.7showtheseoffͲtheͲclockviolationratesbyindustryandoccupation.


    Figure4.6:OffͲtheͲclockViolationRatesbyIndustry*


  Socialassistance,education,
                                                                                                                               78.0%
     finance&healthcare




            Privatehouseholds                                                                                                 77.9%




      Personal&repairservices                                                                                       70.2%




  Grocery,retail&drugstores                                                                                        70.2%




           Restaurants&hotels                                                                                 65.3%



   Residentialconstruction,
  security,building&grounds                                                                                 64.6%
             services

                                   0%        10%         20%        30%         40%         50%        60%            70%      80%     90%

                                  ViolationRate

Source:Authors'analysisof2008UnregulatedWorkSurvey.
*Calculatedasapercentofworkerswhoworkedbeforeoraftertheirofficialshiftduringthepreviousworkweek.




27
                                                                                                                            AR004708
      Figure4.7:OffͲtheͲclockViolationRatesbyOccupation*



    Cashiers,retailsalespersons,
                                                                                                                      75.5%
     tellers,stock&officeclerks




   Maids,housekeepers&home
                                                                                                                 72.9%
       healthcareworkers




       Security,construction,and
                                                                                                           67.6%
        buildingservicesworkers




  Cooks,waiters,dishwashers&
                                                                                                         65.8%
         foodpreparers




       Personal&repairservices
                                                                                                         64.9%
                workers



                                      0%       10%      20%       30%        40%       50%       60%       70%         80%     90%   100%
                                      ViolationRate
                                                                                                                                            
Source:Authors'analysisof2008UnregulatedWorkSurvey.
*Calculatedasapercentofworkerswhoworkedbeforeoraftertheirofficialshiftduringthepreviousworkweek.

AsTable4.1shows,workerswithnonͲhourlypaytype(suchasflatdailyorweeklypay)had
higheroffͲtheͲclockpayviolationratesthanthosepaidbythehour.

  Three years ago Eduardo joined the staff of a newly-opened restaurant on the North Side of Chicago. He was
  offered a weekly pay rate of $750 and worked five days a week from 3 p.m. to midnight. He was in charge of the
  kitchen and responsible for opening the restaurant. Eduardo says: “Everything was going well at the beginning
  but after about eight months my checks began to bounce. When we confronted the employer she would say ‘I
  don’t have money,’ and she would ask us to wait until the next pay period. And every time she would replace the
  check that had bounced but she kept on staying behind on the new payment. She also began to pay us with
  personal checks and was no longer deducting taxes.”

  He also accrued substantial amounts of off-the-clock time. “I prepared the food and I even went shopping for the
  products with her (employer) at 7 or 8 a.m. I didn’t get paid for those hours. My responsibilities and my hours
  increased. … I was working 12 or 13 hours, seven days a week. I didn’t have any time for my family. I felt bad
  because I didn’t have money to take the kids out, or even to buy them shoes and winter jackets.”




28
                                                                                                                              AR004709
Mealbreakviolations
Figures4.8and4.9showmealbreakviolationratesbyindustryandoccupation.Among
respondentswhoworkedenoughhourstoqualifyforamealbreak,43percenthadtheirbreaks
denied,shortenedorinterrupted.ViolationrateswereespeciallyhighforworkersincareͲ
givingindustriesandoccupations(privatehouseholdsandchildcareworkers).

      Figure4.8:MealBreakViolationRatesbyIndustry*

               Privatehouseholds                                                                                   77.9%


             Restaurants&hotels                                                            53.9%


        Personal&repairservices                                             40.7%


      Security,building&grounds
                                                                               40.4%
                 services


     Socialassistance&education                                     33.7%


              Retail&drugstores                                 30.3%


          Residentialconstruction                               28.2%


                   Grocerystores                                28.0%


    Other(finance&otherhealth
                                                                27.4%
                care)

    Manufacturing,transportation
                                               10.6%
          &warehousing

                                  0%        10%        20%      30%        40%         50%     60%       70%        80%      90%   100%
                                  ViolationRate
                                                                                                                                          
Source:Authors'analysisof2008UnregulatedWorkSurvey.
*Calculatedasapercentofworkerswhowerelegallyentitledtoatleastonemealbreakduringthepreviousworkweek.





29
                                                                                                                            AR004710
   Figure4.9:MealBreakViolationRatesbyOccupation*

                         Childcareworkers                                                                                   88.7%

                             Securityguards                                                               64.0%

 Waiters,cafeteriaworkers&bartenders                                                                   63.0%

                 Homehealthcareworkers                                                                  62.8%

         Personal&repairservicesworkers                                                   51.1%

      Cooks,dishwashers&foodpreparers                                                    48.7%

                     Maids&housekeepers                                            40.8%

      Cashiers,retailsalespersons&tellers                                    36.0%

                       Generalconstruction                            26.1%

                       Stock&officeclerks                           24.6%

       Buildingservices&groundsworkers                         20.4%

               Factory&packagingworkers               7.3%

                                                0%       10%     20%     30%      40%      50%       60%     70%      80%    90%      100%

                                                ViolationRate
                                                                                                                                             
Source:Authors'analysisof2008UnregulatedWorkSurvey.
*Calculatedasapercentofworkerswhowerelegallyentitledtoatleastonemealbreakduringthepreviousworkweek.

Finally,Table4.1showsthatmealbreakviolationsratesvarybypayarrangement.SixtyͲfive
percentofnonͲhourlyworkersand54percentofworkerspaidincashreportedamealbreak
violation.

Violationratesalsovarybycompanysize.Overhalfofthoseemployedbycompanieswithless
than100workershadamealbreakviolation,comparedwithlessthanonethirdofthose
employedbylargercompanies.

Summary
Jobandemployercharacteristicsarestrongdeterminantsofworkplaceviolations—andinfact,
haveamuchgreaterimpactonviolationratesthandoworkercharacteristics,aswewillseein
Section6below.Specifically:



30
                                                                                                                            AR004711
      x   Workplaceviolationratesvarysignificantlybyindustryandoccupation.Forexample,
          minimumwageviolationratesrangedfromaslittleas6percentinsomeindustriestoas
          muchas61percentinothers,andtherangeacrossoccupationsissimilarlywide.
      
      x   Someindustriesandoccupationsarerifewithmultipleviolations,suggestingthatnonͲ
          compliancewithemploymentandlaborlawsmayhavebecomeastandardbusiness
          practice.Forexample,over60percentofallpersonalandrepairservicesworkersinour
          samplehadaminimumwageviolationand77percenthadanovertimeviolation.High
          violationrateswerealsotypicaloftheprivatehouseholdindustry.

      x   EmployerscandisguisepayͲrelatedviolationsbyusingnonͲhourlypayarrangements
          and/orpayingworkersincashwithoutprovidingastatementofearningsand
          deductions.Workerspaidaflatweeklyrateorpaidincashhadmuchhigherviolation
          ratesthanthosepaidastandardhourlyrateandpaidbycompanycheck.Informalpay
          systemsmayfacilitateminimumwageandotherviolations,whilemakingitharderfor
          workerstoclaimtheirrightsunderthelaw.

      x   Workersemployedbycompanieswithlessthan100employeeswereatgreaterriskof
          experiencingviolationsthanthoseemployedbylargercompanies.Buttheproblemof
          workplaceviolationsisbynomeanslimitedtosmallfirms.Inoursample,nearlyone
          outofsixworkersatlargecompanieshadaminimumwageviolationintheprevious
          week,andamongthosewhoworkedovertime,overhalfwereunderpaidornotpaidat
          allfortheextrahours.




31
                                                                                      AR004712
5. TheRoleofWorkerCharacteristics

WorkplaceviolationsarenotevenlydistributedthroughoutthelowͲwagelabormarket,aswe
haveseen,butvarywithindustry,occupationandotherjobandemployercharacteristics.
Thesevariationshaveademographicdimensionaswell.Workercharacteristicsplayarolein
twoimportantways:somegroupsofworkersaremorelikelytoholdjobsinthelowͲwagelabor
marketthanothers(e.g.women,immigrantsandpeopleofcolor),andwithinthelowͲwage
labormarket,somegroupsofworkersaremorelikelytoexperienceviolationsthanothers,as
wewillseeinthissection.Specifically,weexamineworkplaceviolationsinrelationtogender,
race/ethnicity,education,ageandnativity;andamongtheforeignͲborn,bydateofarrivalin
theU.S.,EnglishͲlanguageproficiencyandimmigrationstatus.

Minimumwageviolations
AsTable5.1shows,minimumwageviolationratesvariedwithraceandethnicity:35percentof
blackand30percentofLatinoworkersinoursampleexperiencedminimumwageviolations,
comparedto5percentofwhiterespondents.Nativityisalsoasalientfactorhere:31percent
offoreignͲbornworkershadminimumwageviolations,comparedto20percentfortheirU.S.Ͳ
borncounterparts.WedidnotfindstatisticallysignificantdifferencesinminimumͲwage
violationratesbetweenwomenandmen. 26

U.S.ͲbornworkersinoursamplehadlowerminimumͲwageviolationratesthanforeignͲborn
workers.Butheretoothestoryismorenuanced,asshowninTable5.1.Forexample,foreignͲ
bornLatinoshadanespeciallyhighminimumͲwageviolationrateof32percent,nearlytriple
therateofU.S.ͲbornLatinosandmorethan24timestherateofU.S.Ͳbornwhites.Andrace
playsanimportantroleamongU.S.Ͳbornrespondents,whereAfricanͲAmericanworkershada
violationrate27timesthatofwhiteworkers(andtriplethatofU.S.ͲbornLatinoworkers).

Educationplaysanimportantroleinpredictingminimumwageviolationrates.Workers
withoutahighͲschooldegreeorGEDhaveviolationratesthataresignificantlyhigherthan
thoseofworkerswithahighͲschooldegreeorwhohaveattendedcollege(seeTable5.1).That
said,highereducationdoesnotcompletelyinsulateworkersfromminimumwageviolations.In
addition,violationratesarelowerforworkerswhohadvocationaltraining.Thissuggeststhat
trainingandplacementprovidershavebeensuccessfulinplacingworkersinto“better”jobs
wherelaborstandardsare,ingeneral,higher.




32
                                                                                    AR004713
        Table5.1:MinimumWageViolationRatesbyWorkerCharacteristics
                                                     Percentofworkerswithviolations
                                                    Allworkers U.S.Ͳborn ForeignͲborn
        Allrespondents                                     25.5        20.3         30.8
        
        Gender                              Male                                       18.8        17.7    20.0
                                           Female                                 28.1        22.3    34.0
        
        Race/ethnicity                      Latino/Latina                              30.0        11.8    31.8
                                           Black                                      34.7        34.8    N/A
                                           Asian/other                                15.2        17.3    N/A
                                           White                                       4.5         1.3    N/A
        
        Education                           Lessthanhighschool,noGED              37.7        28.1    47.4
                                           HighschoolgraduateorGED                21.5        20.5    22.5
                                           Somecollegeorhigher                     13.3        12.4    14.2
        
        Age                                 18Ͳ25                                      27.2        24.5    29.9
                                           26Ͳ35                                      24.4        11.3    37.7
                                           36Ͳ45                                      21.8        18.8    24.9
                                           46+                                        24.7        23.9    25.6
        
        Vocationaltraining                 None                                      28.7        23.1    34.3
                                           Completedtrainingprogram                 18.0        16.0    19.9
        
        Jobtenure                          Lessthan3years                          28.7        24.7    32.8
                                           3Ͳ4years                                  16.2        10.2    22.2
                                           5+years                                   20.5        11.4    29.7
        
        ForeignͲbornrespondents
                                                                                                                   
        Legalstatus                        Authorized                                                   28.9
                                           Unauthorized                                                 38.1
        
        YearssincearrivalintheU.S.     Lessthan6years                                            28.0
                                           6+years                                                     32.8
        
        Englishproficiency                 Speaksverywellorwell                                     13.3
                                           Speaksnotwellornotatall                                34.2
        Source:Authors'analysisof2008UnregulatedWorkSurvey.
        N/Aindicatesthatthedatawereinsufficienttopermitreliableestimates.
                                                  
ImmigrantswhospeakEnglish“well”or“verywell”(asselfͲreported)hadsignificantlylower
minimumwageviolationratesthanthosewhospeak“notwell”or“notatall”(seeTable5.1).
Table5.1alsoshowsthatforeignͲbornrespondentswhohadlivedintheU.S.sixormoreyears
atthetimeofthesurveyhadaminimumwageviolationratesimilartothatofnewcomers.

Jobtenureandageareoftenstrongpredictorsoflabormarketoutcomes,suchashigherwages,
benefits,promotions,andthelike.Butinoursampleofworkers,neithervariablewasagood
predictorofviolationrates(seeTable5.1). 27


33
                                                                                                              AR004714
Overtimeviolations
Overtimeviolationsvarymuchlessamongdemographicgroupsthandominimumwage
violations.Forrespondentswhoworkedmorethan40hoursforasingleemployerduringthe
previousworkweek,theprevalenceofovertimeviolationsisveryhighacrossvirtuallyall
demographicgroups,asTable5.2shows.

    Table5.2:OvertimeViolationRatesbyWorkerCharacteristics
                                                                  Percentofworkerswithviolations*
                                                                 Allworkers    U.S.Ͳborn ForeignͲborn
    Allrespondents                                                      67.1           61.4          72.9
                                                                                                                          
    Gender                                   Male                                                   64.4              60.2         68.5
                                            Female                                             71.6              69.5         73.7
    
    Race/ethnicity                           Latino/Latina                                          68.8              N/A          69.3
                                            Black                                                  58.7              58.8         N/A
                                            Asian/other                                            N/A               N/A          N/A
                                            White                                                  N/A               N/A          N/A
    
    Education                                Lessthanhighschool,noGED                          76.8              49.3         83.8
                                            HighschoolgraduateorGED                            69.4              63.9         76.0
                                            Somecollegeorhigher                                 63.5              64.9         63.4
    
    Age                                      18Ͳ25                                                  54.9              53.8         56.1
                                            26Ͳ35                                                  67.8              62.8         72.8
                                            36Ͳ45                                                  67.1              62.8         N/A
                                            46+                                                    73.5              71.9         N/A
    
    Vocationaltraining                      None                                                  64.4              57.6         71.2
                                            Completedtrainingprogram                             72.9              66.4         N/A
    
    Jobtenure                               Lessthan3years                                      65.8              66.2         65.3
                                            3Ͳ4years                                              54.7              52.9         N/A
                                            5+years                                               73.2              N/A          N/A
        
    ForeignͲbornrespondents
    
    Legalstatus                             Authorized                                                                          73.5
                                            Unauthorized                                                                        66.2
    
    YearssincearrivalintheU.S.          Lessthan6years                                                                   75.2
                                            6+years                                                                            68.4
    
    Englishproficiency                      Speaksverywellorwell                                                            67.2
                                            Speaksnotwellornotatall                                                       73.8
    Source:Authors'analysisof2008UnregulatedWorkSurvey.
    *Calculatedasapercentofworkerswhoworkedmorethan40hoursforasingleemployerduringthepreviousworkweek.
    N/Aindicatesthatthedatawereinsufficienttopermitreliableestimates.




34
                                                                                                                            AR004715
OffͲtheͲclockviolations
ThepatternsforoffͲtheͲclockviolationsaresimilartothoseforovertime,asTable5.3shows,
withoffͲtheͲclockviolationratesvaryinglittleacrossdemographicgroups.
                                                    
    Table5.3:OffͲtheͲclockViolationRatesbyWorkerCharacteristics
                                                                    Percentofworkerswithviolations*
                                                                                              Allworkers           U.S.Ͳborn       ForeignͲborn
    Allrespondents                                                                                       68.8                  68.8           68.9
    
    Gender                                   Male                                                         60.2                 67.9           52.4
                                            Female                                                   69.2                 69.4           69.0
    
    Race/ethnicity                           Latino/Latina                                                68.2                 N/A             N/A
                                            Black                                                        75.5                 N/A             N/A
                                            Asian/other                                                  N/A                  N/A             N/A
                                            White                                                        N/A                  N/A             N/A
    
    Education                                Lessthanhighschool,noGED                                79.9                 85.7           73.9
                                            HighschoolgraduateorGED                                  56.9                 52.9           61.0
                                            Somecollegeorhigher                                       75.4                 74.9           75.9
    
    Age                                      18Ͳ25                                                        53.3                 68.0           38.5
                                            26Ͳ35                                                        61.2                 43.1           79.5
                                            36Ͳ45                                                        72.3                 82.9           N/A
                                            46+                                                          76.5                 87.9           N/A
    
    Vocationaltraining                      None                                                        68.0                 67.1           68.9
                                            Completedtrainingprogram                                   70.1                 70.5           68.3
    
    Jobtenure                               Lessthan3years                                            64.7                 70.4           58.9
                                            3Ͳ4years                                                    84.3                 80.7           N/A
                                            5+years                                                     73.3                 N/A            N/A
    
    ForeignͲbornrespondents
                                                                                                                                                      
    Legalstatus                             Authorized                                                                                     71.2
                                            Unauthorized                                                                                   59.9
    
    YearssincearrivalintheU.S.          Lessthan6years                                                                              65.6
                                            6+years                                                                                       72.0
    
    Englishproficiency                      Speaksverywellorwell                                                                       57.7
                                            Speaksnotwellornotatall                                                                  72.4
    Source:Authors'analysisof2008UnregulatedWorkSurvey.
    *Calculatedasapercentofworkerswhoworkedbeforeoraftertheirofficialshiftduringthepreviousworkweek.
    N/Aindicatesthatthedatawereinsufficienttopermitreliableestimates.
                                                                           





35
                                                                                                                                    AR004716
Mealbreakviolations
Mealbreakviolationsalsoshowverylimitedvariationacrossdemographiccategories.Meal
breakviolationrateswerehigherforwhitesthanforLatinos,andforunauthorizedimmigrant
workersthanforauthorizedimmigrantworkers,asTable5.4shows.Therewerenoother
statisticallysignificantdifferencesamongdemographicgroupsforthisviolation.

    Table5.4:MealBreakViolationRatesbyWorkerCharacteristics
                                                                    Percentofworkerswithviolations*
                                                                                             Allworkers           U.S.Ͳborn        ForeignͲborn
    Allrespondents                                                                                       43.0                  47.6              38.3
    
    Gender                                  Male                                                         38.7                 42.3              35.0
                                           Female                                                   47.5                 55.1              39.7
    
    Race/ethnicity                          Latino/Latina                                                35.1                 N/A               N/A
                                           Black                                                        43.1                 N/A               N/A
                                           Asian/other                                                  36.7                 N/A               N/A
                                           White                                                        64.4                 N/A               N/A
                                                                                                                                       
    Education                               Lessthanhighschool,noGED                                46.7                 54.1              39.3
                                           HighschoolgraduateorGED                                  48.4                 52.9              43.8
                                           Somecollegeorhigher                                       35.7                 39.1              32.3
    
    Age                                     18Ͳ25                                                        42.4                 49.0              35.8
                                           26Ͳ35                                                        51.8                 63.3              40.2
                                           36Ͳ45                                                        38.4                 39.7              37.2
                                           46+                                                          36.1                 33.8              38.4
    
    Vocationaltraining                     None                                                        45.4                 50.0              40.8
                                           Completedtrainingprogram                                   38.0                 43.2              32.7
    
    Jobtenure                              Lessthan3years                                            44.2                 50.1              38.1
                                           3Ͳ4years                                                    47.6                 47.3              48.0
                                           5+years                                                     37.1                 37.0              37.3
        
    ForeignͲbornrespondents
                                                                                                                                                        
    Legalstatus                            Authorized                                                                                        53.6
                                           Unauthorized                                                                                      25.8
    
    YearssincearrivalintheU.S.         Lessthan6years                                                                                 28.9
                                           6+years                                                                                          N/A
    
    Englishproficiency                     Speaksverywellorwell                                                                          50.2
                                           Speaksnotwellornotatall                                                                     34.9
    Source:Authors'analysisof2008UnregulatedWorkSurvey.
    *Calculatedasapercentofworkerswhowerelegallyentitledtoatleastonemealbreakduringthepreviousworkweek.
    N/Aindicatesthatthedatawereinsufficienttopermitreliableestimates.





36
                                                                                                                                    AR004717
Summary
Nativity,raceandethnicityeachplayaroleinshapingthepatternsofworkplaceviolations
reportedhere.Butthesedimensionsaredeeplyintertwined,andneedtobeexamined
togetherinordertounderstandwhichgroupsofworkersaremostatriskofaviolation.

       x   ForeignͲbornworkersweremorelikelythantheirU.S.Ͳborncounterpartstohavea
           minimumͲwageviolation.

       x   AmongU.S.Ͳbornworkers,therewasasignificantdifferencebyrace:theviolation
           rateforAfricanͲAmericanworkerswastriplethatoftheirLatinocounterpartsand27
           timesthatoftheirwhitecounterparts(whohadbyfarthelowestviolationratesin
           thesample).

       x   HigherlevelsofeducationandproficiencyinEnglish(forimmigrants)wereeach
           associatedwithlowerminimumͲwageviolationrates.Thatsaid,evencollegeͲ
           educatedworkersandthosewhohadbeenwiththeiremployersforfiveormore
           yearswerestillatsignificantriskofaviolation.

       x   Twofactorshadasurprisinglyweakimpactonviolationrates:theworker’sageand,
           forimmigrants,numberofyearsintheU.S.

       x   Incontrasttominimumwageviolations,overtime,offͲtheͲclock,andmealbreak
           violationsvariedlittleacrossthevariousdemographiccategories.




37
                                                                                     AR004718
6. WageTheftinChicago

Inthisreport,wehavedocumentedthatviolationsofcoreemploymentandlaborlawsare
pervasiveinChicagoandsuburbanCookCounty.Minimumwage,overtime,mealbreakand
otherviolationsarenotconfinedtotheperipheryoftheeconomyortomarginalemployers.
Onthecontrary,violationsareprevalentinkeyindustriesandoccupationsthatareattheheart
ofChicago’sregionaleconomy.

Assessingtheroleofjobandworkercharacteristics
Aswehaveseen,arangeofjobandworkercharacteristicsarecorrelatedwithworkplace
violations.Furtheranalysis(seeAppendixAfordetails)revealsthatjobandworker
characteristicshaveindependenteffectsontheviolationswehavedocumentedinthisreport.
Bothmatter,buttheyarenotofequalimportance.InthelowͲwageindustriesexaminedhere,
jobandemployercharacteristicsarefarmorepowerfulpredictorsofviolationratesthanare
workercharacteristics—especiallywhenitcomestominimumwage,overtimeandmealbreak
violations.Ourfindingssuggestthatemployers’businessstrategiesshapetheirdecisionsabout
whetherornottocomplywiththelaw.

Thehighcostofworkplaceviolations
Theextensiveviolationsofemploymentandlaborlawsdocumentedinthisreportdirectly
impacttheearningsoflowͲwageworkers.Thevariousformsofnonpaymentand
underpaymentofwagestakeaheavymonetarytollontheseworkersandtheirfamilies.For
theworkersinoursamplewhoexperiencedapayͲbasedviolationinthepreviousweek,the
averageamountoflostwageswas$50,outofaverageweeklyearningsof$322.Thatamounts
towagetheftof16percent.AssumingafullͲyearworkschedule,weestimatethatthese
workerslostanaverageof$2,595annuallyduetoworkplaceviolations,outoftotalannual
earningsofjust$16,753.

Furthermore,weestimatethatinagivenweek,approximately146,300workersinChicagoand
suburbanCookCountyexperienceatleastonepayͲbasedviolation.Extrapolatingfromthis
figure,frontͲlineworkersinlowͲwageindustrieslosemorethan$7.3millionperweekasa
resultofemploymentandlaborlawviolations.Thelargestportionoftheselostwagesisdueto
minimumwageviolations(71percent),followedbyovertimeviolations(16percent),andoffͲ
theͲclockviolations(9percent).



38
                                                                                   AR004719
WagetheftnotonlydepressesthealreadymeagerearningsoflowͲwageworkers,italso
adverselyimpactstheircommunitiesandthelocaleconomiesofwhichtheyarepart.LowͲ
incomefamiliesspendthelargemajorityoftheirearningsonbasicnecessities,suchasfood,
clothingandhousing.Theirexpenditurescirculatethroughlocaleconomies,supporting
businessesandjobs.Wagetheftrobslocalcommunitiesofthisspending,andultimatelylimits
economicgrowth.



    Ramon and his son work in the construction industry. Last summer they worked for a contractor who offered an
    hourly rate of $25 to Ramon and $14 to his son. After the first two weeks of work, they received payment only
    after demanding it. However, the contractor refused to pay for the following two weeks of work. Ramon and his
    son are owed $3,550.

    This is not the only incident of wage theft that Ramon and his son have experienced. A few months later, they
    worked for a different employer who failed to pay them $800 for work completed. Both employers cited family
    illness as the reason for non-payment.

    “We feel like thirsty people begging for water. We need that money so badly,” says Ramon. “Everything is so
    difficult these days; everything has been affected at home. We eat only because our daughter (who had to quit
    school) is working. They should not employ workers if they know that they are in a bad situation or can’t pay …
    [but] they know they can get away with it.”



    Jim works in the construction industry. He has been trying to recover wages for a job he completed last year.
    Although he worked from March through September, his employer refused to pay him for his last month of work.
    “He was late for the first payment but then he was paying on time. It wasn’t until the last month that he decided
    not to pay,” comments Jim. “I asked him to give me at least enough money to pay rent.” The employer sent him
    a partial payment, only $500 out of $2,100 that he was owed. Jim has yet to recover the remaining $1,600.

    Jim filed a lawsuit against the employer and is waiting for a decision on the case. Jim is not optimistic that he’ll
    be able to recover the money and doesn’t know what to do if the court doesn’t help. “This is not an isolated case
    (of wage theft). I hear stories from the workers everyday,” says Jim.

    Jim’s two children, ages 3 and 13, live in the Ukraine with his parents. They rely on Jim and his wife, for financial
    help, but extra money is scarce these days. Because of his financial needs, Jim continues to go to a day labor
    corner everyday hoping to be picked up for work. “That’s life. You don’t know what is going to happen to you.
    One day you can fall of the ladder. I can only hope for the best,” he says.








39
                                                                                                          AR004720
7. Strengtheningworkerprotections

ThisreportexposesaworldofworkinwhichthecoreprotectionsthatmanyAmericanstakefor
granted—therighttobepaidatleasttheminimumwage,therighttobepaidforovertime
hours,therighttotakemealbreaks,accesstoworkers’compensationwheninjured,theright
toadvocateforbetterworkingconditions—arefailingsignificantnumbersofworkers.The
sheerbreadthoftheproblem,spanningkeyindustries,aswellasitsprofoundimpacton
workers,entailingsignificanteconomichardship,demandsurgentattentionandaction.

What,then,canbedone?Ourstartingpointisthateveryonehasastakeinaddressingthe
problemofworkplaceviolations.WhenlowͲwageworkersandtheirfamiliesstrugglein
povertyandfaceconstanteconomicinsecurity,thestrengthandresilienceoflocalcommunities
suffers.Whenresponsibleemployersareforcedtocompetewithunscrupulousemployerswho
violatecoreworkplacelawsbypayingsubminimumwagesorcostͲcuttingonworkersafety,the
resultisaracetothebottomthatthreatenstobringdownstandardsthroughoutthelabor
market.Andwhensignificantnumbersofworkersareillegallyunderpaid,taxrevenuesarelost
tothewidercommunity.

Inshort,publicpolicyhasafundamentalroletoplayinprotectingtherightsofworkers.
Drawingonourownstudyaswellasresearchandpolicyanalysisbyotherorganizations
workinginthisarea,wehaveidentifiedthreekeyprinciplesthatshoulddrivethedevelopment
ofastrongpolicyagendaatthefederal,stateandlocallevels. 28

1.StrengthenGovernmentEnforcementofEmploymentandLaborLaws

Governmentenforcementisthecornerstoneofanyviableresponsetoworkplaceviolations.
Policymakersmustrecognizethesignificantresourcesthatresidewiththevariousagencies
responsibleforenforcingwageandhour,healthandsafety,prevailingwage,antiͲ
discrimination,andrightͲtoͲorganizelaws.Tappingtheoftenunrealizedpotentialofthese
agencieswillrequireadditionalfundingtoincreasestaffing,butevenmoreimportant,anew
setofstrategiestoaddresstherealitythatworkplaceviolationsarebecomingstandardpractice
inmanylowͲwageindustries. 29 Governmentenforcementagenciesshould:

      Movetowardproactive,“investigationͲdriven”enforcementinlowͲwageindustries,
        ratherthansimplyreactingtocomplaints.Thismeansidentifyingindustrieswhere
        violationsaresystemic,conductingstrategic,repeatedandwellͲpublicizedworkplace


40
                                                                                   AR004721
          audits,andcrackingdownonemployerswhoarerepeatoffendersaswellasthosewho
          misclassifytheirworkers.ThegoalshouldbetosendindustryͲwidesignalsthatthe
          governmentwillpursueviolations,andthatthelikelihoodofinspectionistangible.Data
          suchasthosecontainedinthisreportontheindustriesandoccupationsmostatriskof
          violationscanhelpagenciesintargetingtheirproactiveenforcementefforts. 30

         Increasethereachandeffectivenessofenforcementbypartneringwithimmigrant
          workercenters,laborunions,socialserviceproviders,legaladvocatesand,where
          possible,responsibleemployers. 31 Governmentalonewillneverhaveenoughstaffand
          resourcestomonitoreveryworkplaceinthecountryonaregularbasis.Community
          partnershipscanprovidethevitalinformationaboutwhereworkplaceviolationsare
          mostconcentrated,asexemplifiedbyrecentinnovativestateͲlevelcollaborationswith
          communityorganizations. 32

         Restorefundinglevelsforenforcementagenciestoincreasethenumberof
          investigatorsandotherstaff.Between1980and2007,thenumberofinspectors
          enforcingfederalminimumwageandovertimelawsdeclinedby31percent,evenasthe
          laborforcegrewby52percent. 33Similarly,thebudgetoftheU.S.OccupationalSafety
          andHealthAdministrationhasbeencutby$25millioninrealdollartermsbetween
          2001and2007;atitscurrentstaffingandinspectionlevels,itwouldtaketheagency133
          yearstoinspecteachworkplacejustonce. 34 WhiletheU.SDepartmentofLaborhas
          recentlyaddedinvestigatorstaff,significantlymoreareneededtomatchthegrowthin
          thenumberofworkplacesthathasoccurredoverthepastseveraldecades.TheStateof
          Illinois,too,shouldincreaseitsfundingtotheIllinoisDepartmentofLaborsothatthe
          agencycanexpanditsenforcementeffortsinhighͲviolationindustries.

         Strengthenpenaltiesforviolations.Currently,penaltiesformanyworkplaceviolations
          aresomodestthattheyfailtodetermanyemployers.Forexample,thesavingsto
          employersfrompayingtheirworkerslessthantheminimumwageoftenoutweighsthe
          costs,evenforthosefewwhoareapprehended.Enforcementagenciesthereforeneed
          tofullypursueexistingpenaltiesforviolationsofwageandhourlaws,healthandsafety
          regulations,andotherestablishedlegalstandards.Butevenmoreimportant,those
          penaltiesrequiresignificantstrengtheningandupdating,tobetterensurecompliance
          andmoreeffectivedeterrence.





41
                                                                                       AR004722
2.UpdateLegalStandardsforthe21stCenturyWorkplace

Strongenforcementisimportant,butsoarestronglegalstandardsthatrecognizethechanging
organizationofworkintheUnitedStates.Specifically,changesareneededonthreefronts:

      Strengthenlegalstandards.Thestrengthoflawsandthestrengthoftheirenforcement
         aredeeplyintertwined:weakemploymentandlaborlawssendthewrongsignal,
         openingthedoortolowͲroadbusinessstrategiestocutlaborcostsbyviolating
         employmentandlaborlaws.Whenthebarissettoolow,employershavelittleorno
         incentivetocomply.Raisingtheminimumwage,updatinghealthandsafetystandards,
         expandingovertimecoverage,andstrengtheningtherightofworkerstoorganize
         throughlaborlawreform—allarekeyimprovementsthatwillraisecomplianceinthe
         workplaceandimprovethecompetitivepositionofemployerswhoplaybytherules.

      Closecoveragegaps.Someemployersexploithistorical“coveragegaps”thatexclude
         certaincategoriesofworkersfromprotection;thesegapsmustbeclosedonceandfor
         all.Forexample,homehealthcareanddomesticworkersarenotfullycoveredby
         employmentandlaborlaws.
     
      Holdemployersresponsiblefortheirworkers.Employmentandlaborlawsmustbe
         updatedwhenunscrupulousemployersdevisenewstrategiesforevadingtheirlegal
         obligations—suchasmisclassifyingworkersasindependentcontractorsand
         subcontractingworktoflyͲbyͲnightoperatorswhobreakthelaw.Theprincipleshould
         bethatemployersareresponsiblefortheworkplacestandardstheycontrol,whether
         directlyorindirectly.

3.EstablishEqualStatusforImmigrantsintheWorkplace

Thebestinoculationagainstworkplaceviolationsisworkerswhoknowtheirrights,havefull
statusunderthelawtoassertthem,haveaccesstosufficientlegalresources,anddonotfear
exposureorretaliationwhenbringingclaimsagainsttheiremployers.Achievingthisisalwaysa
substantialchallenge,butforunauthorizedimmigrantworkers,itcanbeanearimpossibility.
Whileintheory,unauthorizedimmigrantsarecoveredbymostemploymentandlaborlaws,in
practice,theyareeffectivelydisenfranchisedintheworkplace,bythelackoflegalstatus,fear
ofdeportation,andthewillingnessofalltoomanyemployerstoexploittheirvulnerability.The
resultisthehighprevalenceofworkplaceviolationsamongunauthorizedimmigrantsthatwe



42
                                                                                    AR004723
documentinthisreport.Anypolicyinitiativetoreduceworkplaceviolationsmustthereforeact
ontwofronts:

     Prioritizeequalprotectionandequalstatusinnationalimmigrationreform.
       Immigrationreformlegislationwithoutcloseattentiontolabormarketimpactsand
       workers’rightsthreatenstopushmoreworkersintotheinformaleconomy,leadingto
       greaterinsecurityforimmigrantfamiliesandlesseconomicintegration.Aguiding
       principleforreformmustbethatimmigrantworkersreceiveequalprotectionandequal
       statusintheworkplace.Anyimmigrationreformthatcreatesasecondclassofworkers
       willonlyworsentheproblemsexposedinthisreport,ultimatelyhurtingallU.S.workers.

     EnsurestatusͲblindenforcementofemploymentandlaborlawsbymaintaininga
       strongfirewallbetweenworkplaceandimmigrationinspections.Agenciesenforcing
       minimumwage,prevailingwage,overtime,andotherworkplacelawscanandshould
       createafirewallbetweenthemselvesandimmigrationauthorities,sothatworkersdo
       notfeardeportationwhenbringingawageclaimorworkplacegrievance.Withoutthis
       protection,unauthorizedworkerswillbedrivenfurtherunderground,toofearfulto
       claimtheirrightstoworkplaceprotections.

                                               ᪺᪺᪺

Governmentenforcementisonlypartofthesolution.Justasimportantisthatpublicpolicy
helpstofostertheeffortsofimmigrantworkercentersandunionstorepresentandorganize
lowͲwageworkers,enhancesthecapacityoflegalservicesorganizationstosupportworkersin
claimingtheirrights,andfacilitatestheeffortsofprivateattorneystoadvancestrategic
litigation.Publicpoliciesalsoneedtosupportresponsibleemployers.Aboveall,strong,vibrant
employmentandlaborlawsmustbeintegratedintothebroaderpolicyagendatorebuildgood
jobsandeconomicopportunityin21stcenturyAmerica.





43
                                                                                      AR004724
  A group of six workers who performed electrical work for a single-room-occupancy hotel were denied wages for
 the hours they worked (both regular and overtime hours). The workers were owed back pay for between six to 13
 weeks of work. The project they worked on included public financing. Not only were they underpaid, but the
 workers were also not provided proper health and safety information or training. In addition, the workers were
 told to report to city inspectors that they were unionized, when, in fact, they were not. The workers joined ARISE
 Chicago! (a worker center) and arranged a series of meetings with city and state officials as well as the project’s
 general contractor. The workers' testimony, along with the assistance of ARISE Chicago!, pressured the
 contractor to pay the wages and they recovered over $21,000 in unpaid wages.




44
                                                                                                    AR004725
AppendixA:DataandMethods

Anexhaustive,inͲdepthtechnicalreportdescribingthemethodsusedinthisstudyisavailable
uponrequestfromtheauthors.InthisappendixwegiveanonͲtechnicaloverviewofour
surveymethodology.

Definingthesurveypopulation
OurgoalinthisstudywastosurveyworkersinlowͲwageindustriesinCookCounty. 35 More
precisely,inordertobeincludedinourstudy,workershadtobe:

        a. age18orolder,andcurrentlyworkingforanemployerwithinthelimitsofCook
            County(Chicago);
        b. “frontͲline”workers,i.e.notmanagers,professionalsortechnicalworkers(manyof
            thesegroupsarenotcoveredbykeylawssuchasthoseregardingminimumwage
            andovertime);and
        c. workinginalowͲwageindustryastheirprimaryjob.

Todeterminewhichindustriestoincludeinoursamplinguniverse,weusedananalysisofthe
2006CurrentPopulationSurvey(CPS)conductedbytheCenterforEconomicPolicyResearch,
toidentifythemedianhourlywageforallworkersage18orolderwhowerenotselfͲemployed.
InChicagothemedianwas$14.85(in2006dollars).Wethendefined“lowͲwageindustries”as
thosewhosemedianwageforfrontͲlineworkerswaslessthan85percentofthemedianwage,
whichcorrespondedtoanhourlywageof$12.62(in2006dollars).This85percentthresholdis
oneofseveralcommonlyusedmeasuresusedtoidentifylowͲwageindustriesorjobs. 36 

ThesamplesizeusedintheCPSistoosmalltoallowestimatesofmedianwagesatthedetailed
industrylevel.Wethereforeused2000Censusdatatogeneratealistofindustriesthatfell
below85percentofthemedianhourlywage;theresultingindustryandoccupationdistribution
foroursampleisshowninTable2.1.

Samplingmethodology
AsdescribedinSection2,standardsurveyingtechniques,suchasphoneinterviewsorCensusͲ
styledoorͲtoͲdoorinterviews,rarelyareabletofullycapturethepopulationthatwearemost
interestedin:lowͲwageworkerswhomaybehardtoidentifyfromofficialdatabases,whomay
bevulnerablebecauseoftheirimmigrationstatus,orwhoarereluctanttotakepartinasurvey
becausetheyfearretaliationfromtheiremployers.Trustisalsoanissuewhenaskingforthe


45
                                                                                   AR004726
detailsaboutaworker’sjob,thewagestheyreceive,whethertheyarepaidoffthebooksor
not,andtheirpersonalbackground.

Inlightofthesedifficulties,weadoptedaninnovativesamplingmethodthatoperatesthrough
respondents’ownsocialnetworks.AlloftheworkersinthelowͲwageworkerpopulationhave
friends,family,orcoͲworkersthattheycomeintoregularcontactwithandrelyonforsupport;
thusourapproachreliedonasysteminwhichsurveyrespondentsrecruitedpeoplethey
alreadyknewintothesurvey,arecruitmenttechniqueknownaschainͲreferralsampling.The
bestknownsamplingmethodusingthisformofrecruitmentissnowballsampling,anapproach
thatyieldsonlyconveniencesampleswhicharenotrepresentativeofthetargetpopulation.
Snowballsamplingcannotreplicatethedesirablepropertiesofprobabilitysamplingmethods
thatallowonetomakeinferencesaboutthepopulationbasedonsampledata.Thismethod
thereforewouldnothavefulfilledtheaimsofourstudy.Toovercomethislimitation,we
adoptedanewerformofchainͲreferralsampling,developedbycoͲauthorDouglasHeckathorn
inthelate1990s. 37 Thismethodwassubsequentlyfurtherdevelopedincollaborationwith
otherscholars.CalledRespondentͲDrivenSampling(RDS),itisbasedonamathematicalmodel
ofthesocialnetworksthatconnectsurveyrespondents.Sincesomeindividualsorgroupstend
tohavemoresocialconnectionsthanothers,theyaremorelikelytoberecruitedintoasurvey.
TomaketheresultsofanRDSͲbasedsurveyrepresentativeofthewholepopulation(andnot
justworkerswithlargesocialnetworks),weweightedourdatabasedonrespondents’social
networksize—thatis,basedontheirprobabilityofbeingcapturedbyoursurveytechnique—as
wellasotherfeaturesofthenetworkwhichcanaffectthesamplingprocess.

Inaddition,RDSfeaturesanimportantdifferencefromsnowballandothertraditionalchainͲ
referralmethods:itemploysadualͲincentivestructure.Thisapproachinvolvescompensating
respondentsnotonlyforthetimetheyspendrespondingtothesurvey,butalsoforeach
eligiblepopulationmembertheyrecruitintothesample.Toincreasethebreadthofthesocial
networkcapturedbythesample(andtopreventacottageindustryofsurveyrecruitment),the
numberofrecruitmentsthateachrespondentcanmakeislimitedthroughacouponͲbased
quotasystem.

OurRDSsurveybeganwithaninitialsetofpopulationmemberstobesurveyed,whichwe
locatedthroughourcontactsinCookCounty.These“seeds”werethengivenafixednumberof
uniquelynumbereddollarͲbillsizedcouponstopassontoothereligiblepopulationmembers.
Theserecruitsthenbroughtthecouponstooneofseveralsurveysites,wherethenumberon
thecouponwasrecorded,therecruitwassurveyed,andthentherespondentwasgivenafixed
numberofcouponswithwhichtorecruitotherworkers. 38 Thisprocesswasrepeatedovera


46
                                                                                   AR004727
periodofseveralmonths,yieldinglargenumbersofrespondents(seeTableA.1).Asthe
recruitmentprogressed,thesamplebecameincreasinglydiverse,eventuallybecoming
independentoftheinitialsampleof“seeds.”

                      TableA.1:SummaryofSurveyFielding
                                                                                  Chicago
                      Fieldingperiod                                     January—June2008
                      Numberofsites                                                     6
                      Numberofinterviewers,translatorsand
                      researchersonstaff                                               18
                      Monetaryincentiveforbeingsurveyed                             $30
                      Numberofvalidsurveyscompleted                               1,140
                      Source:Authors'analysisof2008UnregulatedWorkSurvey.

AnimportantpartoftheRDSmethodisclearlycommunicatingtorecruiterswhichtypesof
workersareeligibleforthesurvey.Weconvertedthelistofindustriesbeingsampledinto
simplejobtitlestouseascriteriaforrecruitmentintothesurvey.Thisinformationwas
communicatedtorespondentswithflyersinmultiplelanguagesthatincludeddrawingsofthe
targetjobsthatweredistributedtoallrecruitersalongwiththeircoupons.

RespondentͲdrivensamplinginthefield
TheresearchteamidentifiedinterviewsitesthatwerewellrecognizedandwelcomingtolowͲ
wageworkers.OursitesincludedspacesincommunityͲbasedorganizations,churches,anda
university—spacesthatofferedprivacyandanonymitytoworkers.AsshowninTableA.1,
ChicagoenteredthefieldinJanuary2008andexitedattheendofJune2008.Thiswasafirm
deadlinesinceIllinoisincreaseditsstateminimumwageonJuly1,2008;wewantedtoavoid
havingoursurveystraddleaminimumwageincrease,sincemanyofourcoreviolation
measuresarelinkedtothatlegalstandard.Wecompleted1,140surveys.

PostͲstratificationadjustmentstothedata
OnefeatureoftheRDSmethodologyistheabilitytoconductdetailedtrackingofrecruitment
patternsthroughouttheentiresamplingperiod,inordertoidentifyandadjustfordeviations
frompurerandomrecruitmentfromrespondents’socialnetworks.Forexample,recruitment
mightbedrivenbystrongsocialidentities,suchasrace,ethnicityorage,sothatrespondents
recruitdisproportionatelywithintheirowngroup.TheRDSmethodologyanticipatesthat
personalnetworksarenotrandomlydistributed,andthereforeadjustsforsmalltomoderate
levelsofnetworkclustering(peoplehavingtiestootherslikethem),intheformofpostͲ
samplingweights.Forexample,ifthesamplecontainedmoremembersofagivengroupthan



47
                                                                                                 AR004728
wouldbeexpectedunderpurelyrandomsampling,thencasesinthatgrouparegivenless
weightinanalysesofthedata.However,ifnetworkclusteringbecomespronouncedononeor
moredimensions,thenitisnecessarytouseadditional,externalsourcesofdatainorderto
weightthefinalsampletoberepresentativeoftheintendedpopulation.

Inourstudy,weidentifiedhighlevelsofnonͲrandomrecruitmentamongseveralracial/ethnic
groups,aswellasbetweenUSͲbornandforeignͲbornworkers.(Wedidnotfindhighlevelsof
nonͲrandomrecruitmentonotherdimensions,suchastheworkers’industryandoccupation,
employer,ormostimportant,theexperienceofworkplaceviolations).ThismeantthatRDS
generatedrepresentativesampleswithinthevariousrace/ethnic/nativitygroups,butnot
acrossthesamplinguniverseasawhole–ineffect,ourstudygeneratedmultiplesubͲsamples.
Toaddressthisproblem,wegeneratedRDSviolationrateestimateswithineachofthesubͲ
samples(whicharerepresentative),andthenrecombinedthemusingaweightingsystembased
onestimatesoftherelativesizesoftherace/ethnic/nativitygroupsinordertogeneratean
overallestimate.Specifically,weadjustedthesampletomatchtheracial/ethnicandnativity
distributionofthe2007AmericanCommunitySurvey(ACS),withonemodification. 39 Since
standardgovernmentsurveystendtoundersampleunauthorizedimmigrants, 40 wedeveloped
anadjustmenttotheACSrace/ethnicity/nativitydistributiondrawingonestimatesofthe
numberofunauthorizedworkersinIllinoisin2005. 41 Theseadjustments,combinedwiththe
successoftheRDSmethodologyincapturinghardͲtoͲreachpopulations,aredesignedtoensure
thatoursampleisrepresentativeoffrontͲlineworkersinlowͲwageindustriesinChicagoand
suburbanCookCounty.SuchpostͲstratificationadjustmentsarestandardincomplexsocial
surveys;allsurveysaresubjecttosamplingerror,andthusarealmostuniversallyadjustedusing
demographicdistributionsgeneratedbytheCensusorotherlargesurveys.Thisisamechanism
toenabletheextrainformationavailableinsupplementarysurveys(inourcasetheACS)tobe
incorporatedintheestimates,improvingaccuracy. 

InTableA.2,wesummarizeourestimatesofthenumberofworkersthatoursample
represents—approximately310,205workers,orroughly25percentofthefrontͲlinelabor
force,and12percentofallworkersinCookCounty.
                                                  
                            TableA.2:CityProfile
                                                                                   Chicago
                            EstimatednumberoffrontͲlineworkers
                            inlowͲwageindustries                                   310,205
                            PercentageofallfrontͲlineworkers                       25.1
                            Percentageofallworkers                                   12.2
                      Source:Authors'analysisof2008UnregulatedWorkSurvey.




48
                                                                                                 AR004729

Modelingtheimpactofworkerandjobcharacteristicsonviolationrates
InSection6,wediscussedtherelativeimportanceofjob/employercharacteristicscomparedto
workercharacteristicsinaccountingfortheoverallvariationinworkplaceviolationrates.That
discussionisbasedonaseriesoflogisticregressionmodelsweusedtoestimatetheeffectsof
selectedindependentvariablesonminimumwage,overtime,offͲtheͲclock,andmealbreak
violationrates.Specifically,weconsideredtwosetsofindependentvariables.Thejob
characteristicsgroupconsistedofindustry,occupation,payarrangement,companysize,
whetherornottheemployerwasatempagency,andwhetherornottheworkerbelongedtoa
union.Theworkercharacteristicsgroupconsistedofgender,race,nativity,documentation
status,education,age,jobtenure,andwhetherornottheworkerhadreceivedvocational
training.

Ourstrategywastoestimate(a)theuniquecontributionofthegroupofjobcharacteristics
variables,aboveandbeyondtheimpactofworkercharacteristics,and(b)theunique
contributionofthegroupofworkercharacteristicsvariables,aboveandbeyondthejob
characteristics.Bothgroupsofvariablesweregenerallysignificant. 42 Butthestrengthoftheir
impactdifferedsubstantially.Jobcharacteristicswere3.0timesstrongerthanworker
characteristicsinpredictingminimumwageviolationrates;4.6timesstrongerinpredicting
overtimeviolationrates;1.9timesstrongerinpredictingoffͲtheͲclockviolationrates;and4.2
timesstrongerinpredictingmealbreakviolationrates. 43


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49
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53
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55
                                                                                   AR004736
Endnotes
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1
    UnitedStatesDistrictCourt(2007,2009).

2
    IllinoisCircuitCourt(2009).
3
    AssociatedPress(2009,2010).
4
    GreenhouseandRosenbloom(2008).
5
 Portionsofthisreportareadaptedfromthenationalreport.SeeBrokenLaws,Unprotected
Workers:ViolationsofEmploymentandLaborLawsinAmerica’sCities,availableat
http://www.unprotectedworkers.org.
6
    Bernhardtetal.(2009).
7
 SeeAsianAmericanLegalDefenseandEducationFundandYKASEC(2006),Bernhardtetal.
(2008),Bernhardt,McGrathandDeFilippis(2007),Bobo(2008),CorderoͲGuzmán,Smithand
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Flaming,HaydamackandJoassart(2005),Gordon(2005),Greenhouse(2008),HaleandWills
(2005),HondagneuͲSotelo(2001),LevinandGinsburg(2000),MaketheRoadbyWalkingand
Retail,Wholesale,andDepartmentStoreUnion(2005),McGrath(2005),Mehtaetal.(2002),
Milkman(2006),Ness(2005),NewYorkTaxiWorkersAlliance(2003),RestaurantOpportunities
CenterofNewYorkandNewYorkCityRestaurantIndustryCoalition(2005,2006,2009),
SouthernPovertyLawCenter(2009),Theodore,ValenzuelaandMeléndez(2006),Valenzuelaet
al.(2006),WeilandPyles(2005,2007),andWorkersDefenseProject(2009).
8
 RespondentsselfͲidentifiedtheirrace/ethnicitytotheinterviewers,andcouldchoosemultiple
races/ethnicities.AllrespondentswholistedLatino/Latinaincombinationwithother
races/ethnicitieswerecodedasLatino/Latina;therefore,theremainingcategoriesareallnonͲ
Hispanic.Inaddition,becauseoursampleincludesonlysmallnumbersofPacificIslanders,
AmericanIndians,NativeHawaiians,AlaskaNatives,andpeopleofmixedrace,weincluded
thesegroups,alongwithselfͲidentifiedAsians,inthe“Asian/other”categoryshowninthe
table.
9
 Alloftheviolationratesreportedinthissectionarestatisticallysignificant,meaningtheyare
significantlydifferentfromzero.IntheRDSmethod,thelevelofsignificanceisdetermined
usingaspecialformofbootstrappingprocess(seeHeckathorn(2002)andSalganik(2006)).
10
 EmployersarelegallyrequiredtopaytheirnonͲexemptworkersatleasttheminimumwage.
Notallworkersarecovered,andsomeaspectsofcoveragevarybystate.Forexample,Illinois’
minimumwagelawexemptsdomesticworkers,buttheyarecoveredbythefederalminimum




56
                                                                                        AR004737
wage.Formoredetailsonexemptionsfromtheminimumwage,seetheUnregulatedWork
SurveyTechnicalReport(availableuponrequestfromtheauthors).
11
 Nearlyeveryworkerwesurveyedwasatriskofaminimumwageviolation,withthe
exceptionofchildcareworkerswhoworkintheirownhomes.
12
  Ifworkersworkedmorethan40hoursinthepreviousweek,weaskedhowmuchtheywere
paidforthosehours.Ifthestatedamountwaslessthantimeandahalftheirregularwage,
theywerecountedashavinganovertimeviolation.Formoredetailsonthelawsgoverning
overtime,seetheUnregulatedWorkSurveyTechnicalReport(availableuponrequestfromthe
authors).
13
  OffͲtheͲclockworkcanbedefinedmorebroadlythanhowwehavedefinedithere,andcan
happenduringthemiddleofaworkdaywhenworkersareinstructedto“punchout”but
continuetowork.OursurveyonlycapturesoffͲtheͲclockworkthatoccurredbeforeoraftera
shift.
14
  Formoredetailsaboutdeductions,seetheUnregulatedWorkSurveyTechnicalReport
(availableuponrequestfromtheauthors).
15
  Legalprotectionsvarydependingonthesubjectofaworker’scomplaintandwhetherthey
complainedaloneorwithcoͲworkers.Formoredetailsaboutretaliationlawandourmeasures,
seetheUnregulatedWorkSurveyTechnicalReport(availableuponrequestfromtheauthors).
16
 Wedefinedaseriousinjuryasonethatneededmedicalattention,whetherornottheworker
actuallyreceivedsuchattention.
17
  Formoreinformation,seetheUnregulatedWorkSurveyTechnicalReport(availableupon
requestfromtheauthors).
18
 Thismeasureincludesthefollowingviolations:minimumwage,tippedminimumwage,
overtime,offͲtheͲclock,beingpaidintipsonly,illegaldeductionsandrestͲbreakviolations.
19
  Thisstudyisnotabletoprovideanaccurateestimateoftheimpactofunionizationonthe
prevalenceofworkplaceviolations.Manyunionizedindustrieswereexcludedfromoursample
becausetheyhadmedianwagesthatwerehigherthanourlowͲwagethreshold,andwere
thereforenotincludedinoursamplefromtheoutset(seeAppendixAfordetailsonour
samplinguniverse).Inaddition,thesmallnumberofunionizedworkerswhomadeitintoour
samplewereconcentratedinaverysmallsetofindustries,whichresultedinaskewedindustry
distribution.Therefore,anyanalysisofdifferencesinviolationratesbetweenunionizedand
nonͲunionworkersinoursamplewouldyieldstatisticallybiasedresultsthatcouldnotbeused
toinferconclusionsabouttheimpactofunionizationonworkplaceviolations.
20
  Wheninterpretingestimatesinthetablesandgraphsinthissection,thereadershouldrefer
tothetextforguidanceregardingwhichdifferencesarestatisticallysignificant.Inparticular,


57
                                                                                      AR004738
thereadershouldbeawarethatdifferencesofafewpercentagepointsareverylikelynot
statisticallysignificant,andinsteadmayresultfromstochasticvariationinthesamplingprocess.
IntheRDSmethod,thelevelofsignificanceisdeterminedusingaspecialformofbootstrapping
process(seeHeckathorn(2002)andSalganik(2006)).Asiscustomary,weinterpretdifferences
inviolationratesbetweentwoormoregroupsorcategoriesasstatisticallysignificantwhenpd
0.05.Insuchcases,theestimates’95percentconfidenceintervalsfailtooverlap,aprocedure
thatisequivalenttoaStudent’stͲtest.ForFigures4.1,4.2,4.4,4.5,4.6,4.7,4.8and4.9,we
onlyshowedresultsforindustriesandoccupationswhosesamplesizewasgreaterthanor
equalto50.
21
  Inordertoobtainalargeenoughsamplesizeforanalysis,twoversionsoftheindustryand
occupationvariableswerecreated.AlessͲcollapsedversionofthevariableswasusedinthe
analysisofminimumwageandmealbreakviolationrates,forwhichwehadlargerrisksets.A
moreͲcollapsedversionofthevariableswasusedintheanalysisofovertimeandoffͲtheͲclock
violationrates,forwhichwehadsmallerrisksets.

22
  SeeBernhardt,McGrathandDeFilippis(2007),HondagneuͲSotelo(2001),NewYorkJobswith
JusticeandQueensCollegeLaborResourceCenter(2005),andValenzuelaetal.(2006).

23
  Thecashcategoryalsoincludesthosepaidbypersonalcheckandthosepaidinbothcashand
bycheck.Thecompanycheckcategoryalsoincludesthosepaidbydirectdeposit.Both
categoriescontainsmallnumbersofworkerswhoreportedbeingpaidbyothermethods.
24
 Forexample,seethedetailedindustryprofilesinBernhardt,McGrathandDeFilippis(2007).
25
  Thisdifferenceisnotexplainedentirelybythepaytypesusedbythesefirms.Althoughsmall
firmsaremorelikelytopaynonͲhourly,paytypeexplainsonlypartofthediscrepancybetween
theviolationratesofsmallandlargefirms.
26
  Wheninterpretingestimatesinthetablesandgraphsinthissection,thereadershouldrefer
tothetextforguidanceregardingwhichdifferencesarestatisticallysignificant.Inparticular,
thereadershouldbeawarethatdifferencesofafewpercentagepointsareverylikelynot
significant,andinsteadmayresultfromstochasticvariationinthesamplingprocess.IntheRDS
method,thelevelofsignificanceisdeterminedusingaspecialformofbootstrappingprocess
(seeHeckathorn(2002)andSalganik(2006)).Asiscustomary,weinterpretdifferencesin
violationratesbetweentwoormoregroupsorcategoriesasstatisticallysignificantwhenpd
0.05.Insuchcases,theestimates’95percentconfidenceintervalsfailtooverlap,aprocedure
thatisequivalenttoaStudent’stͲtest.
27
  Thismaybepartlybecauseworkerswhodoadvanceinthelabormarketastheygetolder
leaveoursamplinguniverse,whichonlyincludeslowͲwagejobs.However,inotherpartsofthe
labormarket,ageisoftenagoodpredictorofbetteroutcomes,evenforworkerswhoremainin
frontͲlineoccupationsfortheirentirecareers.



58
                                                                                      AR004739
28
 PiecesofthissectionareadaptedfromBernhardt,McGrathandDeFilippis(2007)and
NationalEmploymentLawProject(2008).ItalsodrawsonRuckelshaus(2008).
29
 ForinͲdepthanalysesofpublicenforcement,seeWial(1999),Weil(2005,2007),andWeil
andPyles(2005,2007).
30
  Inaddition,agenciessuchastheU.S.DepartmentofLaborshouldinstituteannual
compliancesurveysforthefullrangeoflowͲwageindustries.Suchsurveyswereconductedby
theU.S.DepartmentofLaborinthelate1990s,testingforviolationsofminimumwageand
overtimelaws,andstillconstitutesomeofthemostrobustdataavailable.Forexample,in
1999only35percentofapparelplantsinNewYorkCitywereincompliancewithwageand
hourlaws;inChicago,only42percentofrestaurantswereincompliance;inLosAngeles,only
43percentofgrocerystoreswereincompliance;andnationally,only43percentofresidential
careestablishmentswereincompliance(UnitedStatesDepartmentofLabor2001).
31
  ForinͲdepthanalysesofimmigrantworkercenters,seeFine(2006),Gordon(2005),
JayaramanandNess(2005),Martin,MoralesandTheodore(2007),Ness(2005),Narro(2005,
2009),andTheodore,ValenzuelaandMeléndez(2009).
32
  Inasimilarvein,governmentagenciesthatenforceworkers’rightsneedtobettercoordinate
theireffortstoachievemaximumimpact,giventhatunscrupulousemployersoftenviolate
multiplelaws.
33
 NationalEmploymentLawProject(2008).
34
 TheAmericanFederationofLaborandCongressofIndustrialOrganizations(2007).
35
  Wewrestledwiththequestionofwhetherornottoincludeindependentcontractorssuchas
taxidriversandstreetvendorsinoursurvey.Intheendwedecidedtoconstrainthesampleto
includeemployeesonly;openingthesamplingframetoanytypeofindependentcontractor
wouldhavemadeitalmostimpossibletoconstructamanageablequestionnaire(thatis,one
thatwouldworkforbothemployeeswithwageincome,aswellasindependentcontractors,
whowewouldneedtoaskdetailedquestionsaboutbothbusinessincomeandcosts).
However,wehopethatfuturesurveyswillfocusonlowͲwageindependentcontractors,suchas
taxidriversandporttruckers,whoareeffectivelyinanemploymentrelationshipandwhose
workingconditionsareverysimilartothepopulationofworkerswesurveyedhere.
36
 TheOrganisationforEconomicCoͲoperationandDevelopmenthasusedboththemeasureof
85percentofthemedianwage(OrganisationforEconomicCoͲoperationandDevelopment
1994)andthemeasureoftwoͲthirdsofthemedianwage(OrganisationforEconomicCoͲ
operationandDevelopment1996);seealsoFreemanandSchettkat(2000),whousetwoͲthirds
ofthemeanwage.
37
 Heckathorn(1997,2007).



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                                                                                   AR004740
38
 Thenumberofcouponsgiventorespondentsvariedoverthecourseofthesurvey;on
average,respondentsrecruitedtwootherworkersintothesample.
39
  Theseadjustmentsweremadewithinmajoroccupationgroups,inordertoensureahigh
levelofaccuracyintheweighting.
40
  Forexample,seeHoefer,RytinaandBaker(2008),whoestimateanonimmigrantundercount
rateof10percent.
41
 Dataonthenumberandcharacteristicsofunauthorizedimmigrantsinourthreecitieswere
generouslyprovidedbyJeffreyPasselofthePewCenterforHispanicResearch.
42
 Theoneexceptionisthatworkercharacteristicsasagroupwerenotsignificantinpredicting
overtimeviolations.
43
  Wemeasuredthesignificanceandthesizeoftheeffectofeachgroupofvariablesby
recordingthechangeinthedeviancestatistic(Ͳ2loglikelihoodmeasure)whenagroupof
variableswasaddedintothemodels.Weassessedsignificanceatthe.05levelusingachiͲ
squaretest.Weassessedtherelativestrengthoftheeffectsofthetwogroupsofvariablesby
formingtheratioofthechangeindeviance.Fullresultsareavailableuponrequestfromthe
authors.




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                                                                                    AR004741
Center for Urban Economic Development
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                                                        AR004742
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        Berkeley Review of Latin American Studies, Fall 2013




                                                             A solitary woman works in an orchard. (Photo by Andrés Cediel.)

https://clas.berkeley.edu/research/immigration-rape-fields
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                                                                                                                   - Read this article on ISSUU
        Rape in the Fields
                                                                                                                   - Download as printed (.pdf)
        by Bernice Yeung and Andrés Cediel
                                                                                                                   - More about this event
        To Guadelupe Chávez, the roads that snaked around the endless acres of
        farmland in California’s Lost Hills had begun to take on a cruel similarity. Almond orchards gave way to yet more almond
        orchards, which bled into unending stands of pistachio trees, their branches a blur of leafy green as she drove.

        As a recently widowed mother of two from Mexico with no papers and little English, farm work was how Chávez supported her
        family. But she did not know these orchards.

        In the red pickup truck ahead was the man who stood between her and an overdue paycheck. He was a supervisor with a
        local farm labor contractor, and when they met near the farm, he had told her the missing check was with his brother, and
        they needed to find him. Follow me, he said.

        She thought of her unpaid bills and two sons. She started the car engine. He led her down one road, then another before
        directing her into the orchards themselves. As she drove deeper into the grove, she became befuddled by its symmetry. She
        began to feel scared.

        It was here that the man sexually assaulted her, as Chávez later told authorities. She could scream, she remembered the
        supervisor telling her, but “it’s not going to make any difference, because nobody can hear you way out here.”

        At the end of it all — as she sat battered by fear and shame — he gave her the $245 paycheck she had earned for a week of
        picking pomegranates.

        Stories like Chávez’s are emblematic of what we discovered through “Rape in the Fields,” a yearlong, multi-platform reporting
        project. They’re why some of the 556,000 female farmworkers in the United States have taken to calling their workplaces the
        fils de calzón or the fields of panties.




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                                                             A woman works rows of table grapes. (Photo by Andrés Cediel.)


        From the cantaloupe fields of California to the egg processing plants of Iowa, the stories we heard were as chilling as they
        were consistent.

        We learned of cases where workers said they were isolated in distant fields or packing plants so they could be sexually
        harassed, assaulted, and even raped on the job. It’s a commonplace occurrence, agricultural worker advocates told us, and
        it’s happening everywhere.

        A hidden phenomenon like this makes for a shocking story, but it’s a difficult one to report out, which is part of the reason it
        has gone overlooked for so long. Rape and sexual assault in America’s fields and packing plants is an entrenched problem in a
        distant and dusty world beyond the view of most consumers, powerbrokers, policymakers, technologists, and journalists.

        But the Investigative Reporting Program at UC Berkeley’s Graduate School of Journalism and The Center for Investigative
        Reporting decided to commit to telling this story. Both organizations dedicated numerous reporters and researchers to
        investigate the issue for a year, in collaboration with PBS Frontline and Univision, as well as various public radio and
        newspaper outlets.


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        Despite pledging serious time and resources to the project, it was not an easy one to execute. As soon as we began reporting,
        we were confronted with two significant challenges: quantifying the problem and convincing sexual assault victims to discuss
        what had happened to them publicly.

        The majority of agricultural workers are undocumented, and they tend to keep silent, hoping to keep their jobs and to avoid
        deportation. That Guadalupe Chávez went to the authorities was an anomaly. Law enforcement only got involved because she
        went to the hospital after the incident, and a nurse called the police. Chávez said she was scared and nervous about talking to
        the police, but the nurse told her, “Honey, you shouldn’t stay quiet.”




                                                     An Iowa chicken farm where female workers alleged rampant sexual abuse. (Photo by Vicente Franco.)


        This hesitancy to report the crime ultimately creates a dynamic where a bilingual supervisor with a paycheck or a job to hand
        out is in a position where he can extract just about anything from his workers.

        So while anecdotes are abundant, official statistics are scarce. Sexual assault is notoriously underreported, and
        undocumented farmworkers are less likely than citizens to complain to their bosses or to law enforcement.




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        Data and documentation are the lynchpins of sound investigative journalism, but none of the existing datasets on
        farmworkers or workplace violence addressed this issue directly. We became aware of a UC Santa Cruz study of 150 California
        female farmworkers that found that 40 percent reported experiencing sexual harassment that ranged from verbal advances to
        on-the-job rape. We also obtained access to 100 surveys on the sexual harassment of female agricultural workers conducted
        by a nonprofit in Iowa. Forty-one percent of the women said they had experienced unwanted physical contact, and 30 percent
        said they had been sexually propositioned at work, according to our analysis of the surveys. Recent national polls of women
        workers put the rate of workplace sexual harassment at about 25 percent.

        We also decided to look at a specific sample of lawsuits to empirically identify trends. By analyzing all of the civil sexual
        harassment lawsuits filed against agricultural businesses by the federal government — 41 cases in all — we found that more
        than 85 percent of the cases involved what would be considered sexual assault or rape. The vast majority of cases involved
        supervisors who had been accused of harassing or assaulting multiple workers. None resulted in criminal prosecutions.

        This detailed look at the federal lawsuits confirmed what we were hearing anecdotally from the workers and advocates we
        interviewed: in the agricultural industry, sexual harassment at the hands of recidivist supervisors can be extreme and violent.

        Although it is impossible to identify precisely how many farmworkers have been sexually assaulted or raped at work — as it
        would be for any population — the survey and lawsuit analysis enabled us to provide numerical detail to a specific universe of
        cases. In a space where very few had cared to count and quantify, it was a start.

        Quantifying the scope of the issue was a major challenge, but as reporters, we faced another significant problem: very few
        people wanted to speak publicly about this topic.

        Accused supervisors were understandably hesitant to address the issue, though we were able to include the perspectives of
        two foremen who had allegedly assaulted or raped female workers. Meanwhile, growers were wary of discussing the subject
        because they said they feared that the industry would be misrepresented; some told us that sexual harassment and assault
        exist in every industry, and farming is no different.

        But those most averse to being interviewed were the women who had been victimized. We nevertheless needed to find a way
        to convince women to talk openly about a traumatizing and painful experience.

        So we traveled to far-flung farming communities to find the person who could put a human face on the issue. We drove across
        California — to towns like Huron, Santa Paula, Arvin, and Woodland. We also visited agricultural regions across the country,
        from Sunnyside, Washington, to Clarion, Iowa, to Immokalee, Florida.

        Predictably, it was hard to find people who were willing to go on camera or to use their full names. But in the process, we
        spoke with dozens of women, shared meals together, and met with their lawyers, counselors, and families. In some cases, we
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        were among the first people, aside from their lawyers, with whom they had talked about the abuse they had experienced at
        work.

        Over the course of many months and miles, we met courageous women and heard enough stories to convince us that we
        were onto a topic with wide reach. Some of the women agreed to tell us their stories anonymously by appearing in shadow or
        by releasing only their first names. But more than halfway into our reporting, we still had not found the woman who would
        lend her face and full name to the story.

        Of course, these women had every reason not to make their stories public. They were worried about deportation, about losing
        their jobs, and in some cases, about their personal safety. Speaking out also meant exposing themselves to more shame and
        ridicule. Some even said they were afraid that their husbands or boyfriends would blame them for what had happened. And
        they feared that they would not be believed.

        And yet, as journalists, there were few things we could promise our sources to allay their fears. All we could promise was that
        we would tell their stories truthfully and respectfully.

        It was some seven months into the project before the chance to capture the experiences of female farmworkers without
        obscuring their faces presented itself. We believed it was the payoff for spending many months developing relationships within
        a distrustful community. After multiple visits to the area, a half-dozen women who said they had been sexually harassed or
        assaulted at an apple orchard in Washington state finally agreed to go on camera. A three-member team flew up almost
        immediately.

        But soon after we landed, we learned that the women had changed their minds — they decided it would be too risky to the
        lawsuits that the federal government and some of the women had filed against the company or the orchard foreman.

        Two days later, we flew back home, beyond disappointed. But the experience was instructive: when it comes to asking
        vulnerable and potentially victimized sources to participate in a media project, we have to be both patient and persistent in
        finding the right people in the right moment of their lives to share their experience.

        We would never have guessed that we would find that person the day after returning from our fraught trip to Washington
        state. We left early in the morning to make the two-hour drive to California’s Central Coast for an interview with Maricruz
        Ladino, a Salinas farmworker who said she had been raped by her supervisor at a lettuce farm in 2006.

        We had been in touch with Ladino and her attorney over the course of the reporting process, but we had not been able to
        connect with her. We assumed that it was because she, like so many other women we had encountered, was simply not
        interested in being interviewed.


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        But as it turns out, we did not initially hear back from Ladino for an entirely different and more mundane reason: she had
        changed her cell phone number.




                                                               Maricruz Ladino in Salinas. (Photo by Andrés Cediel.)


        Her interview that brilliant spring morning was memorable and moving. She was honest and human. She was someone with
        whom both female farmworkers and non-agricultural workers in faraway cities could relate. She was the substance of good
        journalism: through her, we could clearly and viscerally understand the human impact of a problem and why it needs to stop.

        And Ladino understood this. We asked her why she was willing to tell her story so publicly. “I didn’t say anything for many
        years because of my job, to make money to support my daughters,” she told us. “But there came a time when I told myself,
        ‘No more.’ I am seeing that this type of thing did not only happen to me…and if I stay quiet then it is going to continue
        happening. That is why I now prefer to talk about it.”

        Since the release of our reporting, we have been back on the road, this time screening the film in agricultural communities
        throughout California. Audience members have told us they feel outraged, surprised, and unnerved by the film. They have
        also said that they are glad that we have told a story that has remained hidden for generations.


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        Each screening seems to spawn more events and dialogue. A wide range of organizations have hosted screenings, including
        farmworker groups, the California Department of Public Health, the Mexican Consulate in Fresno, and community colleges
        along the Central Coast.

        Lawmakers have taken notice as well. California state legislators have begun the process of exploring legislation to address
        the issue, and Monterey County law enforcement officials said the film inspired them to improve outreach to the farmworker
        community in hopes of building better connections with a populace that is wary of them.

        The public’s interaction with the project continues to grow. What seemed like the end goal — finding women, growers, and
        supervisors who would speak about rape in the fields — has turned out to be only a beginning.

        Bernice Yeung is a reporter with The Center for Investigative Reporting. She spent a year reporting on “Rape in the Fields.”
        Andrés Cediel is the producer of “Rape in the Fields” and a lecturer in the Investigative Reporting Program at UC Berkeley’s
        Graduate School of Journalism. They both spoke at the CLAS screening of the film on September 4, 2013.




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                                            From left: Lowell Bergman, Bernice Yeung, Harley Shaiken, and Andrés Cediel lead discussion after a screening of the film.
                                                                                             (Photo by Jim Block.)


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                                                                                                                                                                         AR004751   9/9
WE’VE BEEN TELLING STORIES THAT CHANGE LAWS AND LIVES FOR MORE THAN
              40 YEARS. AND WE’RE JUST GETTING STARTED.
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                    (https://www.revealnews.org/)




                                                                      AR004752   /
Under cover of darkness, female janitors face rape
                   and assault
          By Bernice Yeung (https://www.revealnews.org/author/bernice-yeung) / June 23, 2015

       Leer en español (https://www.revealnews.org/article/bajo-la-oscuridad-
       trabajadoras-de-limpieza-enfrentan-violaciones-y-acoso/)


       It was the isolation that made Erika Morales most wary of her job as a
       night shift janitor. The solitude had begun to feel like a trap.

       Then one fall evening, after everyone else had gone home, she arrived to
       clean a Bank of America branch. In the binding silence of the empty
       building, she scrubbed toilets and vacuumed hallways. She’d catch her
                                                                                               AR004753   /
distorted reflection in the window, though she knew there was only
darkness on the other side of the glass.

“There’s no one to ask for help when certain things happened and you
screamed,” she said. “No one can hear. And there are certain places where
there are no cameras. There’s no sound. There’s nobody.”

During her shift, the only person she’d often come into contact with was
her supervisor. It was his job to drive around town to check on Morales
and other janitors who worked for a subsidiary of ABM Industries Inc., the
largest cleaning company in the country. The janitors he oversaw mostly
worked solo, at low-slung offices and health clinics across Bakersfield, in
California’s Central Valley.

These were conditions that Morales said her supervisor, a broad-
shouldered man with salt-and-pepper hair named José Vasquez, chose to
abuse.

As she cleaned, she’d spot him in the window watching her from outside.
He’d sneak up behind her to grab her breasts, she said, and stare at her
while saying things like, “You are so delicious.” Morales regularly pleaded
with him to stop, and he laughed at her.

She had appealed to another supervisor. He turned out to be Vasquez’s
cousin. “He would always tell me, ‘I don’t know what you’re talking
about,’ ” Morales said.
                                                                              AR004754   /
Morales frequently thought about quitting. She constantly was running
the numbers in her head, but without a steady paycheck, she didn’t see
how she could manage. At the time, she was 29 with two kids.

“In that moment, my children’s father wasn’t there,” she said. “I didn’t
have another income for myself and my two children. So I hoped it would
change.”

That warm September night in 2005, Morales was vacuuming the first floor
of the bank when Vasquez appeared like a ghost, she said. He asked her to
help him put away paper towels in the supply closet.

Morales steeled herself as she entered. This time, nothing was going to
happen, she told herself.

Once inside, she said Vasquez cornered her and unbuttoned her pants.
She fought him, which seemed to make him angry. He started to take off
her shirt and bra. Morales said the next part was a blur.

“He knew there weren’t any cameras,” she said. “I would yell and nobody
would hear me, nobody could see me.”

He groped her and grabbed her by the hair. “Don’t do this to me,” she said.

Vasquez laughed and left suddenly before he got her shirt completely off.
To this day, she’s not sure how she defended herself. But what had
happened in the supply closet was the limit of what she could bear.
                                                                              AR004755   /
“That’s when I said: ‘No more. I can’t
stand this,’ ” Morales said. A few days
later, she turned in her keys and quit.

When Vasquez’s cousin wanted to
know why she was leaving the job,
Morales told him that Vasquez was
“doing things that he shouldn’t be
doing and you know it.”

In fact, it wasn’t just his cousin who    Former janitor Erika Morales filed a complaint with the Equal
                                          Employment Opportunity Commission stating that her
had been warned about Vasquez’s           supervisor, José Vasquez, had harassed her. “There’s no one to
behavior. Company officials had reason ask for help when certain things happened and you screamed,”
to believe they had a predator on their   she said.

hands. They even had the rarest of        CREDIT: FRONTLINE

things in a sexual abuse complaint – a
willing and credible witness. Someone
had come forward three months before to report that Vasquez had
assaulted another female janitor at a nearby church.

They had a chance to stop the abuse that Morales said she endured.
Instead, company officials let Vasquez go back to work, where it was his
job to drive an ABM-issued truck to visit women as they cleaned buildings
alone at night.

                                         ***
                                                                                       AR004756            /
                 Sexual assault can happen anywhere: in the military and on college
                 campuses, in the Catholic church and at world-renowned yoga studios.

                 But the way the problem has played out in the workplace largely has
                 escaped public attention. About 50 people a day are sexually assaulted or
                 raped while they’re on the clock, according to the U.S. Department of
                 Justice. Any statistic about sexual violence, though, is a farce – only a
                 fraction of victims ever come forward to report the crime.

This story is part of Rape on the Night Shift (/nightshift), a collaboration between Reveal, FRONTLINE, the
Investigative Reporting Program at UC Berkeley, Univision and KQED.



                                  (//www.revealnews.org)




                                  (http://www.pbs.org/wgbh/pages/frontline/)




                                  (http://investigativereportingprogram.com/)

                                                                                               AR004757       /
                 (http://www.univision.com/)




                 (https://kqed.org)

When they do, companies can hide complaints from the public by settling
them secretly before a lawsuit is filed. The results of cases that do make it
to court often are cloaked by confidentiality agreements.

“It is a black box,” said Laura Beth Nielsen, a professor at Northwestern
University who has studied employment discrimination lawsuits. “No one
can talk about it.”

The night shift janitor is an easy target for abuse. She clocks in after the
last worker has flipped off the lights and locked the door. It’s tough work
done for little pay in the anonymity of night, among mazes of empty
cubicles and conference rooms. She’s even less likely to speak up if she’s
afraid of being deported or fired.
                                                                                AR004758   /
Across the country, janitors at companies large and small say their
employers have compounded the problem by turning a blind eye to
complaints and attacking their credibility when they report abuse at the
hands of their supervisors or co-workers.

In the janitorial world, ABM is the largest. It employs the most cleaners in
the country and has a history of facing charges that it failed to prevent
sexual violence. It’s among a rare group of 15 American corporations to
have been targeted multiple times by the federal government for sexual
harassment.

The U.S. Equal Employment Opportunity Commission has sued ABM three
times since 2000 for mishandling complaints of sexual harassment or
worse. Two of those cases involved allegations of rape, which is striking
considering how rare it is for people to make these types of allegations
publicly. In all three cases, the company settled and agreed to make
improvements.




                                                                               AR004759   /
Before the 1980s, most businesses had their own janitorial staff. Then building owners and
stores began outsourcing the work to cut costs.
                                                                                             AR004760   /
CREDIT: FRONTLINE



Anna Park, a government attorney who eventually would pick up Erika
Morales’ complaint, said ABM’s response in that case was one of the worst
she’d seen. Troubling violence wasn’t investigated. Victims or
eyewitnesses were not interviewed.

“I think that’s what shocked us the most. As large as they were, the lack of
action, lack of attention, lack of a sense of responsibility,” Park said.

We found 42 lawsuits from the past two decades in which ABM janitors
said they had been sexually harassed, assaulted or raped at work. An
unknown number of cases have been hidden from public view through
confidential settlements. And despite government-imposed reform plans,
similar accusations continue to crop up. In Los Angeles, two lawsuits filed
in the past year say women who complained about explicit comments
(https://www.documentcloud.org/documents/2105930-
marquezrosacomplaint.html) or sexual assault
(https://www.documentcloud.org/documents/2107856-maria-vasquez-
complaint.html) were ignored.

After more than a year of correspondence, ABM officials declined to be
interviewed. The company instead provided a statement
(https://www.documentcloud.org/documents/2105871-miranda-tolar-
statement.html) from its lawyer, Miranda Tolar. It said the way ABM
handles the issue is the “gold standard” for the industry.

                                                                               AR004761   /
Have questions about this story? Join a live chat (https://www.revealnews.org/article/join-our-live-chat-about-
rape-on-the-night-shift/) with our reporters at 11 a.m. PT/2 p.m. ET Wednesday, June 24. You can send questions
ahead of time by using #TheNightShift on Twitter and Facebook.
                 “In some cases, we’ve been made aware of inappropriate behavior and
                 taken action. In other cases, allegations of wrongdoing have proven to be
                 false and even malicious, often by individuals previously in consensual
                 relationships that ended,” she said. “Sometimes, there are other
                 motivations.”

                 ABM cleans high-rises, airports, universities and government buildings
                 across the country. It has anti-harassment policies
                 (https://www.documentcloud.org/documents/2105900-abm-policies.html)
                 and training. It has a human resources department. About half of its
                 nearly 65,000 janitors are unionized.

                 By contrast, most janitorial companies are tiny mom-and-pop operations
                 that might not be worth taking to court. Or they’re off-the-books, fly-by-
                 night operations that could disappear before a complaint can even be
                 filed.

                 So ABM is one of the few janitorial companies with a paper trail. It is
                 professional enough to respond to lawsuits. It turns large enough profits
                 that aggrieved workers can file suit with the hope of a financial payoff at
                 the end.

                 And among the larger, licensed businesses, ABM hardly is alone in being
                 accused of botching sexual assault claims.                                    AR004762      /
In Massachusetts, seven female janitors cleaning universities and office
buildings for a company called UGL Unicco sued their employer after they
said their supervisor touched and harassed them. The case settled in 2002
for $1 million; the company did not admit wrongdoing. Janitors have sued
the company five times in federal courts since then.

In Minnesota, a janitor filed a lawsuit in 2009 that claimed she was raped
repeatedly by her boss while on the clock cleaning a shopping mall. When
it got notice of her complaint, cleaning company Service Management
Systems asked the accused manager to gather evidence for the case. The
company settled the case and later said this was against its protocol. The
janitor now works uneventfully for ABM.

Operations like these do the thankless work of keeping everyone’s office
space clean and humming. The very fact that their workers are supposed
to remain unseen in an industry that takes all comers means that when it
comes to sexual violence on the job, almost everything that could go
wrong does.

                                   ***




                                                                             AR004763   /
AR004764   /
CREDIT: MATT ROTA




                    Before Erika Morales came forward, ABM already had been put on notice
                    about José Vasquez.

                    Out of a bit of serendipity, Scott Stevenson had stayed late one night in
                    June 2005 to clean the kitchen of the Valley Bible Fellowship in
                    Bakersfield. Most evenings, large sections of the megachurch are dark and
                    vacant.

                    As he wiped down the counters, he asked a couple of his 12-year-old
                    helpers to take a box of trash to a gated dumpster. A few minutes later, the
                    kids came back still holding the garbage. Someone’s being hurt, one of the
                    boys said.

                    Stevenson rushed out to where the dumpsters were enclosed by brick
                    walls and a chain-link fence. The scene that was playing out stunned him
                    into silence.

                    Under the glow of parking lot bulbs, Stevenson said he watched as an
                    ABM supervisor he recognized as Vasquez pinned a worker against a brick
                    wall behind the trash bins. Vasquez seized at the woman’s breasts and
                    crotch as she tried to break free.

                    Helping others is a compulsion for Stevenson. He has fostered dozens of
                    kids and runs a religious ministry for truck drivers passing through the
                    loneliest stretches of Nevada. But in that moment, Stevenson didn’t know AR004765
                                                                                                        /
what to do. He hefted the box of trash into the dumpster with a deep bang.

Vasquez pivoted to face the church
volunteer, looking nonchalant while his
open belt buckle jingled. “Almost like it
happens all the time,” Stevenson said.

He called the police. When the officers
arrived, the female janitor was hesitant.
Her situation was similar to that of
Morales. She had kids to support, and
she wanted to keep the job she had.
                                          Scott Stevenson says he saw ABM supervisor José Vasquez
Vasquez was her supervisor. She           assault a female janitor in June 2005 at the Valley Bible
eventually told detectives that Vasquez Fellowship in Bakersfield, Calif.
had scared her by trapping her near the CREDIT: FRONTLINE
dumpster for about two minutes, where
he had tried to touch her chest. (We’re
not naming the woman because we couldn’t locate her to get her
permission.)

A few days later, Vasquez was called to the police department to give his
side of the story. He showed up with the woman Stevenson had seen him
groping. She recanted, and the police closed the case.

But the church didn’t drop the issue. The day after the dumpster incident,
Stevenson drafted a letter to church leaders explaining what he’d seen.
Before the church canceled its contract with ABM, one of the pastors       AR004766                   /
                reported the incident to the company.

                Figuring out what had happened fell to Tom Cazale, who was the head of
                ABM’s regional human resources. Cazale no longer works for ABM and
                declined to comment for this story. But he later told government attorneys
                that if the allegations against Vasquez were correct, he’d be “extremely
                embarrassed.”

                It’s standard practice for a company to dispatch a trained investigator to
                get to the bottom of a severe sexual harassment claim. That investigator
                should conduct all of the interviews in person to weigh credibility, take
                good notes and talk to all potential witnesses.

Watch the Rape on the Night Shift (http://www.pbs.org/wgbh/pages/frontline/rape-on-the-night-shift/)
documentary Tuesday, June 23 at 10/9c on FRONTLINE (PBS)
                In Cazale’s investigation into the church incident, these industry
                standards were all but ignored. In the rush to respond quickly, he asked an
                untrained administrative assistant to interview the victim. The assistant
                spoke to the janitor by phone.

                Later, another ABM employee interviewed Vasquez. He said they’d been
                “playing around.”

                Based on the interviews with Vasquez and the cleaner, Cazale said he was
                unable to confirm an assault. Cazale gave the supervisor a written warning
                because he’d admitted to touching the female janitor’s arm.
                                                                                             AR004767   /
It’s easy to get lost in the nuances of sexual assault claims. Each one is a
wild turn through what she said and then what he said, between what can
be remembered and what can be proven.

But this wasn’t one of those cases.

Eyewitnesses to a sexual assault claim such as Stevenson are rare to the
point of exceptional. But Cazale did not talk to him. To this day, Stevenson
said, no one from ABM has contacted him.

                                      ***

In late August 2005, two months after ABM found out about Scott
Stevenson’s report, the company got another clue that it had a problem on
its hands. An anonymous letter
(https://www.documentcloud.org/documents/2104820-spanish-
anonymous-letter.html) written in Spanish arrived at the ABM office in San
Francisco.

José Vasquez had harassed someone at the Valley Bible Fellowship, it said.
Also, the letter continued, Javier Vasquez, another Bakersfield supervisor
and José Vasquez’s relative, was abusing his authority by hiring relatives
and forcing ABM janitors to work for his side business on company time.

“Please take this seriously,” the author wrote. “Some employees with a
need to work are asking you to put a stop to these people without respect
for the employees.”                                                            AR004768   /
A week passed and another note




                                           CREDIT: MATT ROTA




(https://www.documentcloud.org/documents/2104819-english-
anonymous-letter.html) arrived, this time in English. “First of all, we hope
you take this letter seriously,” it began. The last complaint had been
forwarded to Javier Vasquez. The author wrote: “He just laughed and told
me, ‘You see, nothing was done.’ ”



                                                                               AR004769   /
Written in careful script, the letter reiterated José Vasquez’s offenses at the
Bakersfield church. It also described a new victim. At Clinica Sierra Vista,
he “grabbed another ABM worker by the breast and ask ‘Are they Real?’
Her name is Erica. She got so nervous and just left.”

The letter reported that José Vasquez had served time for “sexual
harassment.” The author closed the letter with a postscript: “This is not
gossip, it is all true. Please help us.”

The company started another investigation, again putting Tom Cazale in
charge. He asked a regional supervisor to look for Erica by checking the
payroll records for that month. The supervisor spent about 15 minutes
(https://www.documentcloud.org/documents/2104824-ric-steiner-depo-
excerpt.html) looking at a printout but couldn’t find anyone with that
name.

Cazale sent a note on company letterhead in both English and Spanish to
the return address on the anonymous letter. It said ABM was aware of the
sexual harassment allegation at the church and had dealt with it
according to company policies. Cazale closed the letter by saying that
unless someone gave him more information, he couldn’t move forward
with a detailed investigation.

Then Cazale failed to do the obvious. He did not have an investigator talk
to anyone at the clinic to find out whether they knew anyone who’d
worked there named Erica. Nor did he check to see if the letter’s return
address matched that of any ABM employees.                                        AR004770   /
Days and weeks passed. Cazale heard nothing more.

It would take another year for ABM to discover that José Vasquez was a
convicted rapist.

                                   ***




                                                                         AR004771   /
CREDIT: MATT ROTA




                    About eight months after ABM received the anonymous letters at its San
                    Francisco office, the company found the elusive “Erica,” though it didn’t
                    locate her on its own.

                    A complaint had come into the U.S. Equal Employment Opportunity
                    Commission, the federal agency responsible for policing on-the-job
                    discrimination and harassment.

                    A cleaner named Erika Morales said her supervisor, José Vasquez, had
                    harassed her.
                                                                                                AR004772   /
Once it received Morales’ complaint, the commission sent a team to
investigate. Its lawyers found 11 more janitors willing to publicly share
their stories about being harassed or assaulted by Vasquez. This included
Maria Magaña, who said she’d been raped by Vasquez while cleaning a
Rabobank branch one night.

Tiny and tough, Magaña already had
fought back a few times by hitting him
with a duster or shoving him with a
broom. The night she says she was
raped, he summoned her to a
conference room – where there were no
security cameras – by telling her that
the customer had complained about her
work there. Once inside, he pushed her
to the ground. Before she hit her head,   Maria Magaña says she was raped by supervisor José Vasquez
she said she remembers thinking that      while cleaning a branch one night in Bakersfield, Calif. “Every
there was nothing she could use to        time I come to this bank, I remember what happened,” she said.
                                          CREDIT: FRONTLINE
protect herself.

“I would have defended myself if I had
been on guard,” she said recently. “That day, I was not on guard.”

Magaña lives with her son and elderly mother in Bakersfield, in a
neighborhood at the intersection of farm fields and modest houses. She
doesn’t mind working the night shift, but day or night, she is careful to
avoid the bank where she said Vasquez raped her.                                     AR004773           /
“Every time I pass by this bank, I remember what happened,” she said.
“That’s why I try not to travel on this street. I take a turn.”

Until the commission came to her, Magaña had not reported the problem
to the company or police.

“I was silent because of shame,” she said. “He would laugh and say that
they weren’t going to believe me anyway.”

The government investigators found male co-workers who witnessed
Vasquez’s behavior. One said he had personally seen
(https://www.documentcloud.org/documents/2104822-pluma-
declaration.html) Vasquez assault or harass female workers about a half-
dozen times.

The commission also did what the
company had not: It ran a basic
background check on Vasquez and
quickly discovered that he’d been
convicted of rape in 1987 and sentenced
to eight years in prison.

The commission notified ABM of
Vasquez’s criminal record in December
2006, more than two years after he
                                          José Vasquez, shown in a deposition video for the Equal
started working for the company. For      Employment Opportunity Commission case, quit his job at ABM
the first time, someone at the company                                               conviction.
                                          after the company learned of his 1987 rape AR004774
                                                                                                   /
typed Vasquez’s name into California’s CREDIT: EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
online sex offender registry. If company
officials had pulled the criminal records, they would have learned that
when Vasquez worked at a small Bakersfield movie theater, he raped his
boss’s 18-year-old daughter at her home after a night of drinking.

On his job application, Vasquez hadn’t answered the question about
whether he had ever been convicted of a crime. If he had, he would’ve had
to include more than the rape. Not long before filling out the application,
he’d been released from prison after serving a four-year sentence for
possessing drugs he planned to sell.

Once ABM discovered the rape conviction, the company planned to put
Vasquez on unpaid suspension until it completed its own investigation.
Instead, he quit on the spot. His cousin, Javier, kept his position and
wasn’t disciplined. He couldn’t be reached for comment.

José Vasquez now lives in a one-story house in Lamont, just outside
Bakersfield. Cars share the driveway with a display of outdated appliances
and spilled garbage.

When we knocked on his door one afternoon, he emerged shirtless and
pulling on a pair of dark green trousers. At 60, his chest is still broad, if
sunken. One arm bears a tattoo of a she-devil with the words “JV Hot
Stuff” surrounding it.

                                                                                 AR004775   /
We asked him about the claims that had been made against him when he
worked at ABM. The women were “money hungry,” he said as his young
kids ran in and out of the front hallway. “They were doing it all for the
money. I didn’t even know some of the women.”

He’s never been charged with any crimes based on claims from the Equal
Employment Opportunity Commission lawsuit. Morales never went to the
police.

The ABM allegations were hard on him, he said. After he left the company,
no one wanted to hire him. He ended up starting his own business called
R&B Cleaning Co. with his girlfriend, a janitor he met at ABM. Together,
they have four young kids with a fifth who was on the way.

Before José Vasquez fell on the job and started receiving disability
payments, the couple had bought a truck and begun cleaning houses that
had been foreclosed by banks. The company isn’t registered with the state.

Although Vasquez had decided to strike out on his own, his departure
didn’t resolve ABM’s problems.

The federal government sued the company in 2007 for failing to prevent
sexual harassment. Anna Park, the government attorney, saw systemic
breakdowns at ABM, and it’s her job to hold employers – not perpetrators
– accountable. The case she put together went well beyond Vasquez,
growing to include 21 women who said they’d been sexually harassed by
14 men across California’s Central Valley.                               AR004776   /
The company responded to the Equal
Employment Opportunity Commission
in court filings by saying that few of the
women’s claims met the legal definition
of sexual harassment, which must be
sustained and serious. ABM also said
the women had received copies of the
company’s sexual harassment policies,
but not everyone had reported what
was happening.                               Anna Park served as the government’s attorney when the U.S.
                                             Equal Employment Opportunity Commission sued ABM in 2007
                   ***                       for failing to prevent sexual harassment.
                                             CREDIT: FRONTLINE

Before the 1980s, most businesses had
their own janitorial staff. Then building
owners and stores began outsourcing the work to cut costs. This created
an explosion in contract cleaning companies.

In janitorial work, there’s a low barrier to entry – you need little beyond a
mop and bucket to get a business off the ground – so many companies are
tiny enterprises. About 93 percent of the 780,000 companies in the United
States are registered as one-person outfits, according to the Census
Bureau.

Much of the industry functions on a convoluted system of subcontracting.
Some companies land cleaning gigs with big-box retailers or high-end
high-rises but subcontract the actual cleaning to a different company.   AR004777                     /
Some of the subcontractors might then
subcontract the work to yet another
business. This creates layers under
which exploitation can thrive.

To stay competitive, cleaning
companies of all sizes have to keep
prices low. According to what’s
reported to the federal government,
janitors earn about $25,500 a year. The
primary expense is labor, so wages are
the first place where they cut corners.

“The way you make money in this
industry is to cheat because the profit
margin is so thin,” said Stephen Lerner,
                                         CREDIT: MATT ROTA
who led the first national effort to
organize janitors for the Service
Employees International Union in the 1980s.

Janitors have claimed that they were forced to clock in using two different
names to avoid racking up overtime, Lerner said. They say unscrupulous
contractors call them independent contractors so they don’t have to follow
labor laws. Segments of the workforce aren’t authorized to work in the
U.S., a scenario that makes workers vulnerable to abuses and puts
companies at risk for legal problems.
                                                                              AR004778   /
Another part of the industry operates
completely on the black market. The
outfits go unregistered with the
government to avoid paying taxes or
insurance. These off-the-grid
companies can charge far less than
their competitors, said Lilia Garcia-
Brower of the Maintenance Cooperation
Trust Fund, which is partially funded
by ABM to ferret out labor violations     Lilia Garcia-Brower is the executive director of the Maintenance
among nonunionized companies.             Cooperation Trust Fund, which is partially funded by ABM to
                                          ferret out labor violations among nonunionized companies.
A recent study                            CREDIT: FRONTLINE




(http://ann.sagepub.com/content/653/1/65.abstract) of 826 low-wage
employees working illegally in San Diego County found that 64 percent of
the janitors surveyed had been cheated out of pay or suffered some other
labor violation. About one-third said they’d been forced to work against
their will, and 17 percent of that group said they’d experienced some kind
of physical threat, including sexual violence, according to the study from
Cornell University and San Diego State University professors.

In one of the most horrific displays of what can go awry, a band of brothers
from Ukraine trafficked about 70 people from their home country to
Philadelphia and forced them to work as cleaners
(http://www.fbi.gov/news/stories/2015/january/human-trafficking-ring-
                                                                                     AR004779           /
dismantled/human-trafficking-ring-dismantled) after winning
subcontracting gigs at companies such as Target and Wal-Mart from 2000
to 2007. Two women told prosecutors that they’d been raped by one of the
traffickers.

At the other end of the spectrum is ABM, which has a long history of
enviable success and expansion. American Building Maintenance Co., as it
initially was called, was started in 1909 by Morris Rosenberg, who
volunteered to clean the windows of San Francisco hardware stores and
pharmacies. Pay me whatever you feel the job is worth, he’d tell owners.
Soon, he was working for major department stores and theaters.

One of his first big contracts was for a bank run by his childhood friend,
an Italian immigrant named Amadeo Giannini who started an outfit now
known as Bank of America.

Today, ABM is a publicly traded company headquartered in New York with
$5 billion in annual revenue. Its workers clean 2 billion square feet each
day. It has expanded its offerings to security, parking and facility
maintenance of all kinds. It handles sustainable energy projects for high-
rises, operations support for military bases and maintenance that keeps
golf courses pristine.

Despite growth into other areas, the bulk of ABM’s revenue still comes
from its janitorial business, and cleaners make up 57 percent of its
workforce. Its market share is five times larger than that of its janitorial
competitors.                                                                   AR004780   /
Like other larger and unionized outfits, ABM has human resources
departments that distribute written policies on wages, breaks and
workplace conduct. ABM’s policies say it does not tolerate sexual
harassment. Those written policies instruct workers that it’s their
responsibility to immediately report a problem to human resources.
Workers also can call a 24-hour complaint hotline in 100 languages.

From there, the company promises to do a swift and effective
investigation. A document
(https://www.documentcloud.org/documents/2107337-blue-letter.html)
handed to investigators, called a “blue letter,” gives them two missions:
Address the worker’s concerns and help defend the company in possible
legal actions.

And while written policies are critical for companies, they’re only a
starting point, said Louise Fitzgerald, a renowned sexual harassment
researcher at the University of Illinois at Urbana-Champaign. From there, a
responsible company should publicize the policies to its workers and
make it easy for them to complain. And if the company believes something
has happened, it needs to take action.

“That’s one of the things we do know: If a company sends a strong
message that it does not tolerate this behavior, there will be less sexual
harassment,” she said.

                                     ***
                                                                              AR004781   /
To stay competitive, cleaning companies of all sizes have to keep prices low. On average, janitors
earn about $25,500 a year.
                                                                                                     AR004782   /
CREDIT: FRONTLINE



Over the course of more than a year, we reached out to more than a dozen
ABM board members, ex-employees and shareholders to ask them about
the sexual assault claims brought by workers such as Erika Morales and
Maria Magaña. Most did not want to talk – and some hung up on us – but
others told us anonymously about the inherent challenges that come with
addressing sexual harassment in the janitorial industry and how ABM has
the best policies in the business. But they wouldn’t go on the record.

To truly get an insider’s view, we traveled some 2,000 miles from the
company’s New York headquarters to eastern Washington state to talk to
Mary Schultz, a lawyer who consulted for the company for three years.

ABM had hired Schultz after she
successfully sued it for gender
discrimination on behalf of a former
ABM manager. As part of her consulting
work for the company, Schultz traveled
the country to talk to employees from
all ranks.

What Schultz learned during her time
with ABM was that the company was
                                         Mary Schultz, an attorney who consulted for ABM from 2006 to
trying to address sexual harassment,     2009, said the company was trying to address sexual
                                         harassment, but the issue had gotten away from it at some
                                         branches. “It’s a huge undertaking and will continue to be,” she
                                         said.                                        AR004783         /
                                           CREDIT: FRONTLINE
but there were hot spots at different
branches across the country where the
issue had gotten away from them.

“When I got involved with the company, I certainly understood and
believed that there was a definite intent to address these issues,” she said.
“But it’s a huge undertaking and will continue to be.”

She said it’s a point of pride for the company that ABM offers an on-ramp
to the American dream. At ABM job sites, people show up to work from
China, Mexico and the Caribbean. They bring with them different customs,
expectations and languages.

“You have a very diverse employee base, spread out across the country,”
Schultz said. “You have a lot of really good people, and you have some
really bad people. And the dilemma for the company is to try and identify
and contain.”

When her three-year term ended in 2009, she left believing that both
companies and workers have a responsibility to prevent harassment.
Bosses needed to create policies, show vigilance and make it clear that
there are consequences. And workers needed to report the problem.

This was the crux of a case Schultz helped ABM litigate in Minnesota,
where eight women made claims in 2006 that they’d been harassed or
assaulted by their superiors.
                                                                                AR004784   /
Miriam Pacheco was among them. Wearing a red sweater and velvet pants
to ward off the winter chill, Pacheco told us not long ago that she’d been
raped repeatedly by her co-worker in a conference room and a private
office she cleaned. He had terrorized her by pulling all of the telephone
wires so she couldn’t call for help, then blamed her for breaking the cords,
she said.

Schultz took Pacheco’s deposition in 2007, at a moment when the ex-
janitor was living in a homeless shelter with her two kids. Pacheco didn’t
get much of an education before she came to the United States from
Mexico, and she was in the country without immigration papers.

At the deposition, Schultz grilled Pacheco on the fact that she’d signed
documents acknowledging receipt of ABM’s sexual harassment and
workplace policies but didn’t use them to bring forward her complaint.
Pacheco said she didn’t understand them, and she had taken the papers
home and thrown them away.

At the time, Schultz was unrelenting, but now she acknowledges that
workers like Pacheco are in a tough position.

“Everyone goes home to sleep. These folks are out there working,” she
said. “What happens in that environment can be confusing, and if
something happens, where do they turn? The question for the company
becomes, ‘How can we get at those incidents? How do we protect?’ And
there are limited ways of doing it. I mean, you can’t post a federal marshal
at the door.”                                                                AR004785   /
After four years of litigation, the Minnesota case was thrown out in 2010.
The judge said that in some cases, the women did not properly complain
about the problem, and in others, the company had dealt appropriately
with the issue. The judge also said some of the women’s complaints didn’t
meet the legal definition of sexual harassment.

Looking back on that case, Schultz recognizes that workplace sexual
harassment cases often hinge on what laypeople might consider a
technicality.

“The law is the law,” Schultz said, and “some of that has little to do with
what actually happened.”

“The company is not saying, nor has it ever, that these things don’t
happen,” she added.

Schultz said civil lawsuits are a necessary but imperfect way to demand
accountability, forcing companies into a position where they need to fight
them.

“Do companies just start opening the wallet, paying out money to people
whose circumstances they believe?” she said. “I think that would be
horribly risky for any company. You would end up getting complaints from
every angle. You would end up with varying motivations for complaints.
You would be overwhelmed with trying to sort out the good from the bad.”


                                                                              AR004786   /
A year after Schultz left the company, ABM agreed to settle
(http://www.eeoc.gov/eeoc/newsroom/release/9-2-10.cfm) the case
sparked by Erika Morales’ complaint. It paid $5.8 million but didn’t admit
any wrongdoing.

ABM promised (https://www.documentcloud.org/documents/2104825-
amended-eeoc-abm-consent-decree.html) to improve sexual harassment
training, ensure its policies are distributed in both English and Spanish
and conduct on-site audits for sexual harassment. It also pledged to train
its investigators, hire bilingual human resources staff and create a
centralized database of worker complaints. Some of the provisions were
national; others were specific to California’s Central Valley. Finally, it
agreed to have the government’s expert witness oversee its progress
through 2013.

ABM’s attorneys said the company has updated its policies and training
since the government lawsuit.

“They did comply with the terms that we laid out, which we felt addressed
some of it. Does that speak to the national practice?” said Anna Park, the
government attorney. “I can’t say. We hope.”

Today, ABM continues to face sexual harassment cases in court. Since the
beginning of 2010, the company has been sued seven times in federal
court and at least nine times in California courts.

                                                                             AR004787   /
Most of the time, the company settles the cases without admitting guilt.
Sometimes, the company prevails.

Its next test could come this fall. The company is slated to go to trial
(https://www.documentcloud.org/documents/2104826-davila-2nd-
amended-complaint.html) in a case in which three Southern California
women allege that they were harassed, assaulted or raped by the same
ABM floor waxer. The women have a familiar charge: They say their
complaints to ABM management were ignored.

For months, they said, the abuse escalated. One woman said she was
raped in fall 2009, and several months later, another woman said she was
sexually assaulted by the same man. When she immediately reported it to
a manager, she said she was told to go back to work. The manager told her
that she should not contact security and that he’d call the police.

Eventually, the woman got tired of waiting for a response, she said, and
went to the authorities on her own. The floor waxer ended up pleading
guilty to sexual battery. He served one year in jail and got five years of
probation.

ABM argues in court documents that it took immediate action once it
received a complaint, firing the floor waxer, and that the women should be
barred from bringing the lawsuit because they had settled workers’
compensation claims with the company based on these same allegations.

In the end, few win at trial against ABM. Maria Bojorquez is one of them.    AR004788   /
She accused a supervisor of raping her while she cleaned a law office in
San Francisco’s iconic Ferry Building in 2004. After she complained, she
said she was fired. ABM’s investigator had decided Bojorquez’s claims
were inconclusive, but when the case went to trial in 2012, the jury found
that ABM had failed to prevent harassment and had fired her for making
the claims. Bojorquez was awarded more than $800,000 in damages
(https://www.baycitizen.org/news/courts/sexual-harassment-suit-
settlement-brings/). The company appealed.

In a recent hearing in that case, ABM’s lawyer argued that workplace
violence cases involving other janitors shouldn’t have been brought up at
trial. Standing before a panel of judges, he noted that the company has
“tens of thousands of employees located across the United States and
internationally, many who work in remote locations at night with minimal
supervision.”

“Bad things sometimes happen,” he said.

                                    ***

For the past six years, Erika Morales has become known to the masses as
DJ Bunny for Ligera FM, a shoebox of a station inside a bustling
Bakersfield mercado.

After she quit her job at ABM, Morales managed a restaurant and
nightclub. Her boss eventually tapped her to plug events on the local radio
station. She discovered that even though she’s not the showy type, her      AR004789   /
voice becomes irresistibly golden once it meets a microphone.

Watching her transition from Erika to Bunny is like seeing an ember catch
flame. At the station, she puts on headphones and effortlessly reads the
horoscopes or promotes rock en Español concerts. Between news bits, she
gives throaty shoutouts to the people who have written to her on Facebook
from California, Argentina or Peru.

In the boundless Internet radio landscape, Morales is especially beloved
because she has been willing to talk candidly about hard topics. Teary
callers have sought her advice on how to file a police report for sexual
assault or how to leave an abusive relationship.

Until a day in late February, she never had let on that she spoke on these
topics with her own kind of tragic authority. But she found herself on the
edge of a moment. She had one of her regular guests lined up, a California
Highway Patrol officer, and she’d promised her listeners a program about
workplace problems.

When the music stopped, she leaned into the mic and the words spilled
out: “This is something delicate, and personally, I’ve never told this part of
my life on air. Very few people know about this period, but I want this to
serve as …”

Morales’ voice became uncharacteristically shaky. “And sorry if I may get a
little emotional, but it’s still a question that I am trying to overcome,” she
said.                                                                          AR004790   /
Morales told her listeners that she’d
been sexually harassed at work and
that she knows it’s hard to come
forward. She never did make it to the
police herself. She just couldn’t
summon the courage at the time. She
told her listeners that in her case, she
and others had tried to tell their bosses,
but nothing was done.
                                             Erika Morales is now known to the masses as DJ Bunny for
“The problem is when they don’t              Ligera FM, a radio station inside a Bakersfield mercado. She is
believe you,” Morales said.                  beloved for her willingness to talk candidly about hard topics.
                                             CREDIT: FRONTLINE

Nevertheless, she exhorted her listeners
to report the problem. She reminded
them that it wasn’t right and that it was never their fault.

“That’s not right,” she said. “You go to work and keep your head down,
make your money and stay out of trouble.”

For nearly half an hour, Morales and the California Highway Patrol officer
went back and forth on how to deal with sexual harassment. Then it was
time for the rock music hour. She said farewell to the officer, put on a song
with a bracing backbeat and turned off her mic before exhaling deeply.



                                                                                         AR004791              /
Her phone was blazing with messages. “We are with you,” one said.
Another read: “Continue fighting.” She was surprised by the response. She
had expected to be judged.

Back on the mic, she thanked everyone for their support as she prepared
to play Guns N’ Roses’ “Sweet Child O’ Mine.” Her upbeat cadence and
rich delivery had begun to return. She let the song rage.

A decade has passed since Morales quit her job at ABM. She said she had
set aside her fears to file a complaint because she was thinking of her
daughter, her mother and the other women who were not yet ready to
come forward.

When Morales had handed over her keys and tried one final time to tell a
supervisor what was going on and he had dismissed her, she remembers
spitting out her words. “There will be someone. Someone will speak out,
and they are going to come and tell you that what you are doing is wrong,”
she had said.

Morales still is amazed by the way her voice can carry. “I never imagined
that I would be the one to speak out,” she said.


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Daffodil Altan of Reveal, Sasha Khokha of KQED and Andrés Cediel and Lowell Bergman of IRP
reported for this story. Nadine Sebai of IRP also contributed. It was edited by Andrew Donohue and
Robert Salladay and copy edited by Sheela Kamath and Nikki Frick.

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   At age 31, Nixon Arias cut a profile similar to many unauthorized immigrants in the
   United States. A native of Honduras, he had been in the country for more than a
   decade and had worked off and on for a landscaping company for nine years. The
   money he earned went to building a future for his family in Pensacola, Fla. His
   Facebook page was filled with photos of fishing and other moments with his three
   boys, ages 3, 7 and 8.




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   Nixon Arias worked off and on for a Florida landscaping company for nine years before a legitimate injury at work resulted in
   his arrest, prosecution and deportation to Honduras.
   Courtesy of Nixon Arias




   But in November 2013, that life began to unravel.

   The previous year, Arias had been mowing the median of Highway 59 just over the
   Alabama line when his riding lawnmower hit a hole, throwing him into the air. He
   slammed back in his seat, landing hard on his lower back.

   Arias received pain medication, physical therapy and steroid injections through his
   employer's workers' compensation insurance. But the pain in his back made even
   walking or sitting a struggle. So his doctor recommended an expensive surgery to
   implant a device that sends electrical pulses to the spinal cord to relieve chronic pain.
   Six days after that appointment, the insurance company suddenly discovered that
   Arias had been using a deceased man's Social Security number and rejected not only
   the surgery but all of his past and future care.

   Desperate, Arias hired an attorney to help him pursue the injury benefits that Florida
   law says all employees, including unauthorized immigrants, are entitled to receive.
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   Then one morning after he dropped off two of his boys at school, Arias was pulled over
   and arrested, while his toddler watched from his car seat.

   Arias was charged with using a false Social Security number to get a job and to file for
   workers' comp. The state insurance fraud unit had been tipped off by a private
   investigator hired by his employer's insurance company.

   With his back still in pain from three herniated or damaged disks, Arias spent a year
   and a half in jail and immigration detention before he was deported.

                                                                      However people feel about immigration,
                                                                      judges and lawmakers nationwide have
                                                                      long acknowledged that the employment
                                                                      of unauthorized workers is a reality of
   This story was reported in partnership between
                                                                      the American economy. From nailing
   NPR and ProPublica, an investigative
                                                                      shingles on roofs to cleaning hotel
   journalism organization. A version of this story
   is posted on ProPublica's website in English                       rooms, some 8 million immigrants work
   and Spanish.                                                       with false or no papers nationwide, and
                                                                      studies show they're more likely to be
                                                                      hurt or killed on the job than other
   workers. So over the years, nearly all 50 states, including Florida, have given these
   workers the right to receive workers' comp.

   But in 2003, Florida's lawmakers added a catch, making it a crime to file a workers'
   comp claim using false identification. Since then, insurers have avoided paying for


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   injured immigrant workers' lost wages and medical care by repeatedly turning them in
   to the state.

   Workers like Arias have been charged with felony workers' comp fraud even though
   their injuries are real and happened on the job. And in a challenging twist of logic,
   immigrants can be charged with workers' comp fraud even if they've never been
   injured or filed a claim, because legislators also made it illegal to use a fake ID to get a
   job. In many cases, the state's insurance fraud unit has conducted unusual sweeps of
   worksites, arresting a dozen employees for workers' comp fraud after merely checking
   their Social Security numbers.

   What's quietly been happening to workers in Florida, unnoticed even by immigrant
   advocates, could be a harbinger of the future as immigration enforcement expands
   under President Trump.

   One of Trump's first executive orders broadened Immigration and Customs
   Enforcement's priorities to include not just those convicted of or charged with a crime
   but any immigrant suspected of one. The order also targets anyone who has "engaged
   in fraud or willful misrepresentation in connection with any official matter or
   application before a governmental agency." That language could sweep in countless
   injured unauthorized workers because state workers' comp bureaus and medical
   facilities typically request Social Security numbers as part of the claims process.

   In the past few months, a Massachusetts construction worker who fractured his femur
   when he fell from a ladder was detained by ICE shortly after meeting with his boss to
   discuss getting help for his injury. In Ohio, Republican lawmakers pushed a bill that

                                                                                                                                                                      AR004799
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   would have barred undocumented immigrants from getting workers' comp. It passed
   the state's House of Representatives before stalling in the Senate in June.

   To assess the impact of Florida's law on undocumented workers, ProPublica and NPR
   analyzed 14 years of state insurance fraud data and thousands of pages of court
   records. We found nearly 800 cases statewide in which employees were arrested under
   the law, including at least 130 injured workers. An additional 125 workers were
   arrested after a workplace injury prompted the state to check the personnel records of
   other employees. Insurers have used the law to deny workers benefits after a litany of
   serious workplace injuries, from falls off roofs to severe electric shocks. A house
   painter was rejected after she was impaled on a wooden stake.

   Flagged by insurers or their private detectives, state fraud investigators have arrested
   injured workers at doctor's appointments and at depositions in their workers' comp
   cases. Some were taken into custody with their arms still in slings. At least 1 in 4 of
   those arrested was subsequently detained by ICE or deported.

   State officials defended their enforcement, noting that the workers, injured or not,
   violated the law and could have caused financial harm if the Social Security numbers
   they were using belonged to someone else. Moreover, the law requires insurers to
   report any worker suspected of fraud.

   "We don't have the authority or the responsibility to go out and start analyzing the
   intent of an insurance company or anybody else when they submit a complaint to us,"
   said Simon Blank, director of the Florida insurance fraud unit. "It would be


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   unfortunate," he said, if insurers turned in injured workers "just to do away with
   claims."

   Blank insisted that his investigators' efforts have nothing to do with immigration. But
   ProPublica and NPR's review found that more than 99 percent of the workers arrested
   under the statute were Hispanic immigrants working with false papers.

   While Florida's statute is unique, insurers, hard-line conservatives and some large
   employers have been battling across the country for the past 15 years to deny injury
   benefits to unauthorized immigrants, with occasional success. In a little-noticed ruling
   last fall, an international human rights commission criticized the United States for
   violating the rights of unauthorized immigrants, including a Pennsylvania apple picker
   who was forced to settle his case for a fraction of the cost of his injury and a Kansas
   painter who was unable to get the cast removed from his broken hand until he was
   deported to Mexico.

   In Florida, cases against such workers have become standard practice for a group of
   closely affiliated insurers and employers. The private investigative firm they employ
   has created a wall of shame, posting the arrests it has been involved in on its website.
   Critics say the arrangement encourages employers to hire unauthorized immigrants,
   knowing they won't have to pay for their injuries if they get hurt on the job.

   "It's infuriating to think that when workers are hurt in the United States, they're
   essentially discarded," said David Michaels, the most recent head of the federal
   Occupational Safety and Health Administration. "If employers know that workers are
   too afraid to apply for workers' compensation, what's the incentive to work safely?"

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   The law's real-life ramifications came as a surprise to one of the lawyers who helped
   draft it and who had no idea it had been used to charge hundreds of workers who had
   never been hurt on the job.

   "How is there insurance fraud if there's no comp claim?" asked Mary Ann Stiles, a
   longtime business lobbyist and attorney for insurers. "That would not be what
   anybody intended it to be."

   In Arias' case, records show he never wrote the false Social Security number on any of
   the various forms related to his claim. It was printed automatically by the insurance
   carrier, using information from his employer. But that didn't stop the state attorney
   from charging him with 42 counts of insurance fraud — one for every form the number
   appeared on.

   As part of the prosecution, investigators demanded Arias pay back $38,490.51 to
   Normandy Harbor Insurance for the medical care and benefits checks he had already
   received for his injury. The insurer declined to comment. Back in Honduras, Arias,
   who struggles with chronic back pain, has been unable to find more than odd jobs.
   And he hasn't seen his three U.S.-born sons in more than two years.

   The whole time in detention, "I was always asking, 'Why? What's the reason I'm here?
   I haven't done anything, I haven't stolen anything; I haven't killed anyone,' " Arias said
   by phone from his rural village in the state of Copán. "I was just working for my kids."

   A company's control over injury claims



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   The website of Command Investigations, located just outside Orlando, boasts of its
   success in hunting down workers' comp fraud, posting like trophies a gallery of mug
   shots of mostly Hispanic men and women. But most of those pictured weren't nabbed
   jet-skiing with a fake knee injury. They are legitimately injured workers whom
   Command investigators caught using false Social Security numbers.

   Command, which tipped off the state to Arias, opened up shop in 2012 and quickly
   rose to prominence in Florida by catering to the lucrative employee leasing industry.
   Unlike temp agencies, which find workers and task them to businesses, employee
   leasing companies promise to lower businesses' overhead by hiring their employees on
   paper and then leasing them back. The basic premise is that by pooling the risk of
   several small businesses, leasing companies can bargain for better insurance rates.
   Such a setup is especially attractive to mom and pop firms in dangerous industries,
   such as construction.

   One of Command's first big clients was Lion Insurance, whose affiliate SouthEast
   Personnel Leasing serves as the employer of record for more than 200,000 employees
   nationwide. According to its website, SouthEast generates $2.3 billion in annual
   revenue — about as much as clothing retailer J. Crew or the restaurant chain Red
   Lobster.

   Since 2013, nearly 75 percent of the injured immigrants arrested in Florida for using
   false IDs were turned in by Command — and half worked for SouthEast, ProPublica
   and NPR found. SouthEast has had 43 injured workers arrested for using false Social
   Security numbers — more than any other company.


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   One reason: SouthEast, as well as its insurance carrier, Lion, and its claims processor,
   Packard Claims, are all owned by the same person. The unusual arrangement gives the
   company more control over injury claims and a consistency other firms specializing in
   high-risk industries can't provide. But critics say it benefits SouthEast in more
   pernicious ways: Knowing that Lion and Packard can deny the claims of unauthorized
   workers allows SouthEast to offer discounts to contractors that other leasing firms
   can't.

   "They sign up these companies knowing full well that 95 percent of the employees are
   immigrant workers," said Cora Cisneros Molloy, who recently began representing
   injured workers after two decades defending employers and insurers. "Only after an
   accident occurred do they determine they're going to do an investigation and check
   that Social Security number."

   Controlling the empire from a six-story office building surrounded by palm trees in
   Holiday, Fla., is John Porreca, 68, who grew up in Philadelphia and worked in the
   leasing business before buying SouthEast with his wife in 1995. Despite owning one of
   the largest private companies in Florida, Porreca has managed to stay out of the public
   eye, showing up in the local press only rarely, such as when he donated the money for
   a baseball field for disabled children or bought a $4 million beachfront mansion, the
   size of which rankled neighbors.

   Porreca didn't respond to multiple messages left at his office or home over the course
   of a month. In an email, Brian Evans, an attorney for SouthEast, said Porreca declined
   to comment other than to say that SouthEast "strictly adheres" to the law and is not


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   responsible for what happened to its workers, even though the company's
   investigators reported them to the state.

   Command's president, Steve Cassell, also declined interview requests, citing
   confidentiality agreements with his clients.

   Bram Gechtman, a Miami attorney who has represented several injured SouthEast
   workers, said the sheer number of cases in which Lion and Packard discovered
   workers' false IDs only after they were injured raises the question of why SouthEast
   doesn't do more to screen its hires.

   "If I had a situation where I had all these people defrauding my company over and
   over and over again, allegedly, I would do something to try to stop it," he said, "unless
   there was another reason why I didn't want it to stop."

   Command and SouthEast have recently expanded to other states. Last year, a woman
   in Georgia was arrested for identity theft after a cart ran over her foot at a
   meatpacking plant and Command turned her in to the state workers' comp bureau. In
   California, two staffing agencies sued SouthEast, saying its claims processor routinely
   denied workers' comp claims based on immigration status, leading to litigation that
   increased the cost of the claims.

   For workers, welcomed without question until they get hurt, getting caught in
   Command and SouthEast's dragnet can upend otherwise quiet lives.

   Berneth Javier Castro originally came to the United States on a tourist visa in 2005
   searching for the woman he had loved and lost during the war in Nicaragua in the
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   1980s. Unable to find her and facing debts back home for his house and his daughter's
   school, Castro, now 52, overstayed his visa and found work at a St. Augustine roofing
   company in 2007. Initially, he was paid in cash under the table. But after a few
   months, the company said he needed a Social Security number to continue working.
   So he bought one. It was the only way he could get work, he said.

   In 2011, Castro finally reconnected with Lucía Escobar using modern technology — he
   found her on Facebook. Escobar, 48, who had received asylum and is now a U.S.
   citizen, was going through a divorce. They began talking every day and planned to be
   together once the divorce was final.




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   Lucía Escobar flew to Nicaragua from Miami to marry Berneth Javier Castro, her childhood sweetheart. Castro, an
   undocumented worker, faced deportation and voluntarily left the U.S. after suffering an injury at work and seeking workers'
   compensation benefits.
   Scott McIntyre for ProPublica



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   Like many unauthorized workers, Castro feared he would be deported if he reported
   an injury. So when he sliced his pinkie on some copper sheeting and got nine stitches,
   he stayed quiet and kept working. But a few months later, when he wrenched his back
   passing a load of tiles to a coworker on a roof, the company sent him to a clinic.

   There, a company representative filled out the form since it was in English, Castro
   said. He didn't recall the Social Security number he'd used, so the representative got it
   from the company and put it on the form.

   The clinic gave Castro some pills for the pain. But when he returned for the follow-up
   appointment, he was told there was a problem with his Social Security number. Castro
   never returned and treated his back with heating pads and pain relief balms. He
   figured that was the end of it and continued working for the company for nearly a year.

   Then in November 2013, state investigators turned up at his home and arrested him
   for insurance fraud. He had been turned in by a Command investigator working for
   Lion.

   The workers' comp fraud charges were eventually dropped, but Castro pleaded no
   contest to fraudulently using someone else's identity. He spent five months in jail and
   was facing deportation before a judge granted him a voluntary departure to Nicaragua.

   "The fake number, I understood because I needed it to work, but I didn't understand
   the fraud," Castro said by phone from Managua. "I'm not an irrational man. I'm not a
   criminal. So I didn't understand where I might have committed fraud. It didn't make
   sense to me. I never filled out a document asking for anything looking for
   compensation."
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   Escobar sensed something was wrong when she suddenly stopped hearing from him.
   Then his phone was disconnected. "Every day, I went on Facebook, hoping and writing
   to him," she said.




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   Escobar speaks with her husband, Castro, by phone from outside Miami. Escobar is caring for her grandson while Castro
   hopes to return to the U.S. despite being charged with insurance fraud after filing a legitimate workers' comp claim.
   Scott McIntyre for ProPublica




   Months later, when he finally called her from Nicaragua, she was at once relieved and
   despondent. In 2015, after her divorce was final, she flew to Nicaragua and married
   him. But they still live separately, Castro in Nicaragua and Escobar outside Miami,
   where she cares for her grandson. They are applying for Castro to return, but the
   conviction could stand in his way.

   "It's sad because when you get married, you want to be with your husband," Escobar
   said. "We waited for so long to be together."

   New tactics from employers and insurers

   Over the years, numerous courts have upheld the rights of unauthorized workers to
   receive compensation for workplace injuries, the minimum wage and protection from
   retaliation for joining unions. The rights stem from their status as employees
   regardless of their status as immigrants.

   A Florida appeals court, for example, ruled in 1982 that "an alien illegally in this
   country" is entitled to workers' comp benefits.

   That presumption was thrown into doubt in 2002 when the U.S. Supreme Court ruled
   that a group of undocumented plastics workers fired for union activities weren't
   entitled to back pay because of their immigration status. Insurers and large employers
   immediately flooded the courts with petitions designed to claw back labor protections
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   for unauthorized immigrants. Leading the fight in Florida were employee leasing
   firms.

   The petitioners argued that undocumented immigrants weren't entitled to workers'
   comp since their employment was obtained illegally. Lawmakers in several states,
   from Colorado to North Carolina, introduced bills to block claims by unauthorized
   workers.

   As state courts and legislatures rejected that argument, insurers began pushing to
   deny immigrants disability benefits, arguing that once their unauthorized status was
   known, they couldn't return, like other workers, to less intensive jobs. That reasoning
   succeeded in Michigan and Pennsylvania, but not in Delaware and Tennessee.

   In the past few years, employers and insurers have begun using a new tactic, arguing
   that they should only be responsible for paying lost wages based on what the
   immigrant would have made in his or her home country. In Nebraska, for example,
   meatpacker Cargill tried to cut off benefits to Odilon Visoso, who was injured when a
   200-pound piece of beef fell on his head, saying it was too difficult to determine what
   he could earn in Chilpancingo, Mexico, a crime-ridden city controlled by drug cartels
   near his rural, mountainous village. Nebraska's Supreme Court told the company to
   use Nebraska wages.

   Florida's 2003 law was part of a sweeping overhaul aimed at lowering costs for
   employers. According to a state Senate review, the division of insurance fraud had
   pushed for the provision, arguing that "many times illegal aliens are in league with
   unethical doctors and lawyers who bilk the workers' compensation system." It was

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   easier to prove that immigrants had lied about their identities, the agency said, than to
   prove their injuries were fabricated.

   In recent interviews, however, representatives from the state fraud unit and insurance
   industry couldn't identify a single case where immigrants had worked with doctors
   and lawyers to defraud workers' comp. Instead, they noted that false Social Security
   numbers impede insurers' ability to investigate claims. In addition, they said, those
   claims could prevent the people whose identity was stolen from getting benefits if they
   are injured in the future.

   Stiles, the attorney who was a key architect of the law, said the state's construction
   industry was rife with fraud at the time and there was a lot of concern about illegal
   immigration. She said even immigrants who are "truly injured" should be denied
   benefits if they're using illegal documents for their claim and "they shouldn't be here
   in the first place."

   "I think we're a nation of laws and we ought to be able to enforce those laws," she said.
   "And if the federal government won't do it, sometimes the state has to help itself."

   Within months of the provision passing, though, the state Senate's banking and
   insurance committee recommended reconsideration, raising concerns that
   legitimately injured workers could be disqualified. But that advice was never heeded.
   The first criminal cases under the law showed up in 2006. The law netted laborers,
   farmworkers, roofers and landscapers. Several, like Arias, were hurt while working on
   public projects — renovating schools or pouring concrete at the zoo. But ProPublica


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   and NPR also found arrested workers who had been injured at McDonald's and Best
   Western and turned in by major insurers like Travelers, The Hartford and Zurich.

   In one case, state investigators found that more than 100 workers were all using a
   Social Security number belonging to a 10-year-old girl.

   One of SouthEast's first cases involved a hotel housekeeper at the Comfort Suites in
   Vero Beach. Yuliana Rocha Zamarripa was cleaning a hotel room in 2010 when she
   slipped on a bathroom floor and slammed her knee on the bathtub, leaving her with
   pain and swelling so severe she was unable to walk.

   Lion sent her to a doctor but quickly denied her claim based on a false Social Security
   number.

   Rocha's mother had brought her to the United States from Mexico when she was 13,
   and when she turned 17, her father bought her the fake ID so she could work.

   With few options, Rocha, now 32, settled her workers' comp case for less than $6,000
   plus attorney fees. But she never got the medical care she needed. The week before she
   was to receive the check, she was arrested while making breakfast for her 4-year-old
   son.




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   Yuliana Rocha Zamarripa's workers' comp claim for a serious knee injury at work prompted her arrest. She was shuffled from
   county to immigration jails for a year and blames the sexual abuse of her daughter on her inability to protect her at home.
   Scott McIntyre for ProPublica




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   Rocha spent the next year cycling through jail and immigration detention, separated
   from her three children. She couldn't sleep, worrying what would happen to them if
   she were deported.

   "I said the Lord's Prayer all the time, and I would end by asking, 'God, give me a
   chance to return to my children. Don't let anything bad happen to them,' " she said. "I
   had a feeling that something was not right."

   Rocha's instincts were correct. While she was in jail, the father of her children started
   sexually assaulting their 10-year-old daughter, according to his arrest warrant. "I was
   left shattered," Rocha said tearfully, "because I didn't know what was happening."

   With the help of an attorney, Rocha pleaded to a lesser charge — "perjury not in an
   official proceeding" — and was finally released. Because of what happened to Rocha's
   daughter, the attorney was able to get Rocha's deportation canceled and help her
   obtain a green card.

   Rocha eventually received her settlement but had to spend all of it securing her release
   and dealing with immigration. She now walks with a limp because her injury didn't
   heal correctly.

   "I think it's an injustice what happened to me," she said. "All because I fell, I slipped."

   Using workers' comp law to engage in immigration enforcement

   The sting had been meticulously planned for weeks. The day before, detectives had
   scoped out the site — a two-story office building resembling a Spanish colonial

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   mansion near downtown Fort Myers. Before the arrest, they ducked out of sight to
   surveil the building's back entrance from across the street, according to the detective's
   case report.

   The time and manpower weren't to nab a gang member or drug dealer, but a
   coordinated effort with Command to snare a 27-year-old roofer who was at a court
   reporter's office to testify in a deposition for his workers' comp case. A year earlier in
   2014, Erik Martinez was working on a roof when a nail ricocheted and hit him in the
   left eye. He was seeking medical care and lost wages, but like many construction
   workers, he was using a false Social Security number.

   Though it was ostensibly a Florida Department of Financial Services operation, a state
   detective had worked closely with an attorney for Lion on a plan to alert officers in the
   final minutes of the deposition. In between questions, the attorney emailed the
   detective, at one point providing a description of Martinez's clothing.

   "We moved our position to the back parking lot," the detective wrote in his report,
   "where we awaited word that the deposition was nearing an end." Upon receiving
   confirmation, the detectives moved in, arresting Martinez as he exited the office.

   Despite the extensive effort, the state attorney declined to prosecute. But the
   detective's narrative reveals a larger story: In most of the injury cases reviewed by
   ProPublica and NPR, state fraud detectives were handed a packet from private
   investigators with nearly all the information needed to make an arrest.

   During an hourlong interview in Tallahassee, Simon Blank, who heads the
   department's Division of Investigative and Forensic Services, said his detectives
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   conduct their own investigations and make their own decisions. Arrests at depositions,
   he said, only occur when they have a hard time locating somebody.

   "The thing that you need to keep mind is these people are committing identity theft,"
   Blank said. "They're taking somebody else's Social Security number or somebody else's
   personal information to obtain the work."

   While Blank repeatedly expressed compassion for immigrant workers who are
   legitimately injured, he noted that people whose Social Security numbers are used
   could face problems with their credit or getting medical care if a claim that wasn't
   theirs showed up in their records.

   The widow of the Mississippi man whose Social Security number Arias was using,
   Carolyn Lasseter, said it hadn't affected her, but she doesn't "feel sorry for people that
   are over here illegally." When she bought a house after her husband's death, the bank
   informed her that a different man had used his number to take out, and pay on, a loan,
   but it was easily fixed.

   Blank's office has been accused by some attorneys of unconstitutionally using the
   workers' comp law to engage in immigration enforcement. "The real intent behind
   what they're doing is to regulate immigration," said Florida immigration attorney
   Jimmy Benincasa, "because they don't feel the federal government is doing enough."

   He and others point to a 2012 U.S. Supreme Court ruling that shot down a series of
   Arizona immigration statutes, including one that made it a crime for unauthorized
   immigrants to apply for, solicit or perform work.

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   "Congress decided it would be inappropriate to impose criminal penalties on aliens
   who seek or engage in unauthorized employment," the court wrote. "It follows that a
   state law to the contrary is an obstacle to the regulatory system Congress chose."

   The court noted that while federal law makes it a crime to obtain employment through
   fraudulent means, the forms and documents that workers submit to get jobs can only
   be used for federal prosecution — not for state enforcement.

   "Our agency is not in the business of going after illegal people," Blank said. "There's
   quite a lot of other circumstances why people use fake names and IDs and Social
   Security numbers aside from immigration. You have people who might have other
   legal problems. You have people who are wanting to stay off the books for specific
   reasons, whether its divorces or liens put against them."

   Among the nearly 800 cases that ProPublica and NPR identified, only five fit the
   reasons Blank cited. Blank seemed unaware that earlier this year, his own office's
   annual report noted that "nearly 100 percent" of the suspects investigated under the
   statute were undocumented workers.

   "It appears that it's being applied in a discriminatory fashion," said Dennis Burke, the
   former U.S. attorney in Arizona who challenged that state's immigration statutes.
   "How do you justify your enforcement being 99 percent Latino surnames?"

   Burke predicted Florida would have a tough time defending the law if it's ever heard
   on constitutional grounds. After the Arizona ruling in 2012, one attorney challenged
   the Florida statute's constitutionality, but both Florida and U.S. supreme courts
   declined to take the appeal. Unlike Arizona's law, the statute doesn't mention
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   immigrants specifically. But Burke said the enforcement data and the stated intent to
   target immigrant fraud rings are problematic.

   Told of what had happened to some of the arrested workers, Blank said he felt for
   those people but reiterated his agency's obligation to protect the workers' comp
   system.

   "I guess that is a question that our legislature should maybe look into," he said. "What
   is the balance between the harm and the benefit that's being accomplished?"

   "My son was watching. He saw when they put the handcuffs on me"

   Juvenal Dominguez Quino worries what will happen to his 8-year-old son with special
   needs if he gets deported. Dominguez, 43, has lived in the United States for 19 years.
   But his life was thrown into uncertainty in 2014 when a construction trench he was
   working in collapsed, burying him in dirt and causing him to sprain his knee.

   A month later, Command turned him in to state investigators after he provided a false
   Social Security number to an insurance adjuster. Dominguez said he told the adjuster
   he didn't have papers and had made the number up in order to work — details that by
   themselves wouldn't preclude him from receiving workers' comp. But Dominguez said
   the adjuster insisted she needed the number to pay him benefits. Sunz Insurance and
   North American Risk Services, which handled the claim, declined to comment.




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   Juvenal Dominguez Quino, 43, has lived in the United States for 19 years. In 2014 a construction trench he was working in
   collapsed, burying him in dirt and causing him to sprain his knee. Dominguez's attorney has argued for a judge to cancel his
   deportation because of the harmful effect it would have on his U.S.-born son, Alan.
   Scott McIntyre for ProPublica



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   Dominguez was arrested in January 2015 as he was getting his son ready for school.

   "My son was watching" from a window, he said, choking up. "He saw when they put
   the handcuffs on me."

   At the time, Dominguez still couldn't bend his knee, so he had to sit with his legs
   extended across the back seat of the police car.

   Dominguez pleaded no contest, and the judge sentenced him to two years' probation
   and ordered him to pay back nearly $19,000 in restitution to the insurance company.
   He was detained by ICE and put into deportation proceedings.

   Michael DiGiacomo, owner of Platinum Construction, which employed Dominguez,
   was surprised to hear what had become of him. DiGiacomo said Dominguez was a
   reliable worker, and he didn't know his documents were fake. After Dominguez got
   hurt, he said, his injury was in the hands of the leasing company and their insurer.

   "It really sucks for him because, you know, you come and you want to work; it sucks to
   have to deal with that after you got hurt," he said. "They should have at least paid for
   his medical bills since he was hurt on the job."

   Dominguez's attorney has argued for a judge to cancel his deportation because of the
   harmful effect it would have on his U.S.-born son. His attorney is hopeful he will get a
   visa to stay.

   Even if he does, the insurance company scored a victory — it got Dominguez and his
   medical costs to go away. "I didn't want to do any more of anything," he said of his

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   physical therapy. "I didn't want to claim anything else. I just wanted to live with it
   because I knew that it would only bring me more problems."

   Arias' attorney Brian Carter said what the state and insurance companies are doing
   amounts to entrapment and ethnic profiling.

   "Nobody looks at whether or not the Social Security number is valid for an individual
   named Tom Smith," he said. "The insurance companies are using this little issue over
   a Social Security number to avoid any financial responsibility, and in my opinion,
   ethical responsibility to take care of these individuals."

   In the end, turning in Arias didn't get the insurer off the hook. Because the state
   attorney offered a plea deal, Normandy would have had to convince a workers' comp
   judge that Arias had not only used a fake Social Security number but that he had done
   so to obtain benefits. If it couldn't, it would have had to pay for medical treatment and
   lost wages potentially totaling hundreds of thousands of dollars, Carter said. So with
   Arias in Honduras, Normandy offered $49,000 plus attorney's fees.

   Sent back to a country he hadn't lived in for 15 years, Arias felt he had no choice but to
   take the offer. "I arrived empty-handed," he said. "I didn't have means to put a roof
   over my head or feed myself or buy medications."

   Despite having the settlement money, Arias said he doesn't trust the doctors in
   Honduras to perform a delicate back surgery. "Here, they're more likely to send you to
   the cemetery," he said. He hopes the United States might allow him to re-enter for
   humanitarian reasons, just to let him get the operation — and perhaps see his kids.

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   Research contributed by Meg Anderson and Graham Bishai of NPR and Sarah
   Betancourt of ProPublica.

   Do you have information about how immigrant workers are being treated in the age
   of Trump? Contact Michael at michael.grabell@propublica.org.

     workers compensation             immigration




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                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d74-ynni
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2359
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      This proposed regulation change is not only counterintuitive for the USCIS but also harmful to asylum seekers.
      As someone who works in the immigration field, there are a few logistic errors that need to be reassessed.
      Similarly, there are other options to ensure both the USCIS and asylum seekers are equally benefited.

      The main error in this proposal is that omitting the 30-day adjudication period is a contrast to national security
      interests. Most asylum seekers already reside in the United States, which proves that a speedier process- not an
      indefinite delay- would be more in tune with maintaining national security. Furthermore, USCIS has proven its
      ability to decide on EADs within the 30-day time frame (99% of EADs had decisions last year). A faster process
      to cover all EADs is the logical conclusion for maintaining national security. An undefined review period runs
      against the agency's (and the government's) stated interests. In essence, USCIS will have an even more
      inefficient work authorization process. Another error can be seen in the tax revenue for the government. USCIS
      admitted that all levels of government would lose tax revenue if this proposed rule change is taken into effect.
      This loss is anywhere between $39.15 million and $118.54 million per year. Asylum seekers and their employers
      would not be contributing to Medicare nor social security.

      The harm this rule change will cause asylum seekers is obvious. Asylum seekers and their families will lose
      income, which will lead to them not being able to afford food, housing, medical treatment, health insurance,
      and/or legal representation. Arguably worse, those without a valid ID (which is needed for many social services)
      will be vulnerable to exploitation, trafficking, and underground economic risks.

      From all of the previously stated logistics, this proposed rule change is not an acceptable solution to the interests
      of USCIS nor the interests of our free country. If USCIS is adamant about changing the 30-day responding
      period, then a solution of doubling or perhaps tripling the period would be a better option. A 60-day or even 90-
      day period would alleviate the pressures on USCIS while ensuring the importance of national security and
      asylum seeker well-being.

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      USCIS EAD Processing Sheet 2014-2019




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                                   United States Citizenship and Immigration Services (USCIS)
                                       I-765 - Application for Employment Authorization
                                            Eligibility Category: C08, Pending Asylum
                                            Initial Permission to Accept Employment
                                            Completions by Processing Time Buckets
                                               FY15 - FY19 (Through June 30, 2019)
                                              Aggregated by Fiscal Year and Month
                                                 Processing Times                                    Compliance Percentage
 Fiscal Year   Month                                                                             % Completed     % Completed
                       0-30 Days 31-60 Days 61-90 Days 91-120 Days 121+ days Grand Total
                                                                                                 within 30 Days within 60 Days
       2015 OCT           2,323       2,538       1,071           230          35        6,197            37.5%          78.4%
            NOV           1,583       2,727         921           132          35        5,398            29.3%          79.8%
            DEC           1,331       2,746         941           157          79        5,254            25.3%          77.6%
            JAN           1,188       2,993       1,765           316          39        6,301            18.9%          66.4%
            FEB           1,827       1,677       1,532           598         110        5,744            31.8%          61.0%
            MAR           1,478       3,461       2,743         1,167         166        9,015            16.4%          54.8%
            APR           1,205       6,131       3,136           896         190       11,558            10.4%          63.5%
            MAY           2,539       6,907       1,120           251         115       10,932            23.2%          86.4%
            JUN           3,873       4,083       1,083           265          91        9,395            41.2%          84.7%
            JUL           3,428       3,633       1,636           252          71        9,020            38.0%          78.3%
            AUG           3,322       4,378       1,958           448          82       10,188            32.6%          75.6%
            SEP           2,730       5,179       1,387           254          69        9,619            28.4%          82.2%
2015 Total               26,827      46,453      19,293         4,966       1,082       98,621            27.2%          74.3%
       2016 OCT           2,896       3,917       1,250           244          96        8,403            34.5%          81.1%
            NOV           2,763       4,729       2,001           465          98       10,056            27.5%          74.5%
            DEC           2,497       3,161       2,626           438         147        8,869            28.2%          63.8%
            JAN           2,281       6,043       3,370           550         107       12,351            18.5%          67.4%
            FEB           5,483       3,780       3,063         2,071          97       14,494            37.8%          63.9%
            MAR           5,715       2,333       3,466           905         213       12,632            45.2%          63.7%
            APR           4,588       3,054       2,538           320         112       10,612            43.2%          72.0%
            MAY           4,392       2,709       1,262         3,376          80       11,819            37.2%          60.1%
            JUN           5,436       4,038       1,686         4,707         338       16,205            33.5%          58.5%
            JUL           6,932       1,882       4,928         4,684         612       19,038            36.4%          46.3%
            AUG           8,478       6,600       6,159           902         382       22,521            37.6%          67.0%
            SEP           9,001       9,268         988           282         169       19,708            45.7%          92.7%
2016 Total               60,462      51,514      33,337        18,944       2,451      166,708            36.3%          67.2%
       2017 OCT           7,567       6,273         579           108          84       14,611            51.8%          94.7%
            NOV           7,781       8,823         728           111          72       17,515            44.4%          94.8%
            DEC           9,895       7,840         545            53          41       18,374            53.9%          96.5%
            JAN           9,592       8,987         671            95          63       19,408            49.4%          95.7%
            FEB          15,107       4,214         566            99          48       20,034            75.4%          96.4%
            MAR          13,735       4,875         530           144          74       19,358            71.0%          96.1%
            APR           8,027       7,336         717           113          72       16,265            49.4%          94.5%
            MAY          12,193       5,190       2,273           156          90       19,902            61.3%          87.3%
            JUN          12,864       1,884       5,048           340          99       20,235            63.6%          72.9%
            JUL          11,404       1,742       4,221         1,340         155       18,862            60.5%          69.7%
            AUG          12,130       5,294       9,219         5,685       1,341       33,669            36.0%          51.8%
            SEP          13,900      14,737       5,076         2,618         843       37,174            37.4%          77.0%
2017 Total              134,195      77,195      30,173        10,862       2,982      255,407            52.5%          82.8%
       2018 OCT          12,021       9,710       1,428           535         336       24,030            50.0%          90.4%
            NOV          17,031       6,092         474           119         171       23,887            71.3%          96.8%
            DEC          18,145       5,920         372           132         204       24,773            73.2%          97.1%
            JAN          18,305       4,787         341            73         167       23,673            77.3%          97.5%
            FEB          17,697       2,516         219           124         193       20,749            85.3%          97.4%
            MAR          22,077       2,308         121            56          90       24,652            89.6%          98.9%

                                                                                                          AR004837
                        Case 2:15-cv-00813-JLR Document 146-1 Filed 08/06/19 Page 3 of 4


                  APR             20,176            2,790             123                39              49           23,177           87.1%   99.1%
                  MAY             24,595            3,115             156                33              48           27,947           88.0%   99.2%
                  JUN             18,622            2,629             141                45              53           21,490           86.7%   98.9%
                  JUL             17,375            3,625             167                49              60           21,276           81.7%   98.7%
                  AUG             19,859            2,376             247                77              87           22,646           87.7%   98.2%
                  SEP             15,425            1,673             106                48              82           17,334           89.0%   98.6%
2018 Total                       221,328           47,541           3,895             1,330           1,540          275,634           80.3%   97.5%
                  OCT             17,192            1,392             114                47              86           18,831           91.3%   98.7%
                  NOV             13,512            1,297              77                37              55           14,978           90.2%   98.9%
                  DEC             15,802              452              81                26              51           16,412           96.3%   99.0%
                  JAN             17,892            1,001             257               159              60           19,369           92.4%   97.5%
                  FEB             16,478              190              28                34              32           16,762           98.3%   99.4%
                  MAR             17,923              129              17                37              21           18,127           98.9%   99.6%
                  APR             19,043              112              18                30              15           19,218           99.1%   99.7%
                  MAY             18,588              109              25                27              27           18,776           99.0%   99.6%
                  JUN             17,924              114              11                27              20           18,096           99.0%   99.7%
2019 Total                       154,354            4,796             628               424             367          160,569           96.1%   99.1%
                                 597,166          227,499          87,326            36,526           8,422          956,939           62.4%   86.2%

1) The report reflects the most up-to-date data available at the time the database is queried.
2) The data reflect the initial decision only. Subsequent decisions are excluded.
3) Processing time is represented by the elapsed number of days between receipt date to initial decision date.
4) Applications with a request for initial evidence will reset their processing time to 0 upon receiving the evidence.
5) Applications with a request for additional evidence will have the processing time paused and resumed upon receiving the evidence.


Database Queried: July 3, 2019
Report Created: July 3, 2019
System: C3 Consolidated
Office of Performance and Quality (OPQ), Performance Analysis and External Reporting (PAER), SN


Parameters
Form(s): I-765
Class Preference(s): C08
Initial RFE Codes: FBA, FBC
Additional RFE Codes : FBB
RFE Received Codes: HA
Time Period(s): October 1, 2014 - June 30, 2019
Data Type(s): Processing Time




                                                                                                                                       AR004838
                        Case 2:15-cv-00813-JLR Document 146-1 Filed 08/06/19 Page 4 of 4



                                        United States Citizenship and Immigration Services (USCIS)
                                            I-765 - Application for Employment Authorization
                                                 Eligibility Category: C08, Pending Asylum
                                                 Initial Permission to Accept Employment
                                                    Pending by Processing Time Buckets
                                                    FY15 - FY19 (Through June 30, 2019)
                                                 Processing Times                                                          Compliance Percentage
Data Type                                                                                                                % Pending      % Pending
                 0-30 Days 31-60 Days 61-90 Days 91-120 Days 121+ days Grand Total
                                                                                                                         0- 30 Days      0- 60 Days
Pending              6,649                 5                0                 5              2            6,661                 99.8%           99.9%

1) The report reflects the most up-to-date data available at the time the database is queried.
2) Reopened applications are excluded from this report.
3) Processing time is represented by the elapsed number of days between receipt date to the report date.
4) Applications with a request for initial evidence will reset their processing time to 0 upon receiving the evidence.
5) Applications with a request for additional evidence will have the processing time paused and resumed upon receiving the evidence.


Database Queried: July 3, 2019
Report Created: July 3, 2019
System: C3 Consolidated
Office of Performance and Quality (OPQ), Performance Analysis and External Reporting (PAER), SN


Parameters
Form(s): I-765
Class Preference(s): C08
Initial RFE Codes: FBA, FBC
Additional RFE Codes : FBB
RFE Received Codes: HA
Time Period(s): June 30, 2019
Data Type(s): Processing Time




                                                                                                                                          AR004839
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d76-h6dr
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2360
      Comment Submitted by Stefan Harvey



                                                  Submitter Information
      Name: Stefan Harvey
      Address:
        904 Pamplona Avnue
        Davis, CA, 95616
      Email: Stefh2002@yahoo.com
      Phone: 530 792-1130


                                                      General Comment
      Good Morning.

      I strongly oppose this proposed rule. Individuals who come to our country ought to be able to work: to support
      their families and to support their community through taxes.

      Working is part of the American fabric; it allows people to have self respect, give to their neighborhoods and
      mentor their children.




                                                                                                               AR004840
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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d77-pgjq
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2361
      Comment Submitted by NA NA



                                                  Submitter Information
      Name: NA NA
      Address:
        Not available
        Not available
        Not available, 00000
      Email: dawgmuse@aol.com
      Phone: 555-555-5555


                                                      General Comment
      Hello,

      In preventing asylum seekers from working while awaiting decision, we lose their taxable income, and increase
      dependency on social services.

      Instead, if they are allowed to work, we receive the benefit of their taxed income, decrease dependency, and
      hasten their assimilation into American society.

      This process is what has made us great, and should continue!

      Best regards,

      JF Brown




                                                                                                               AR004841
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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d76-8i04
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2362
      Comment Submitted by Tom Murray



                                                  Submitter Information
      Name: Tom Murray


                                                      General Comment
      This is to support President Trumps effort to remove bureaucratic deadlines so that illegal immigrants can be
      properly vetted.




                                                                                                               AR004842
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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d75-291w
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2363
      Comment Submitted by Robin Young



                                                  Submitter Information
      Name: Robin Young


                                                      General Comment
      I write to oppose the removal of the thirty-day processing provision for asylum applicants. This change is
      harmful both for asylum-seekers, who are legally able to request asylum if they have the reasonable expectation
      of experiencing certain deleterious conditions in their own country. It is also harmful for the United States, both
      because it changes the character of the US as a refuge for the endangered and persecuted in other countries and
      because it deprives our country of the talent and labor of an entire group upon which the US has traditionally
      depended and from which it has benefited. Work authorization is the entry point for other necessary activites on
      the part of asylum-seekers: work, medical services, housing, and the ability to earn a salary. Without such
      authorization, asylum-seekers can suffer from exploitation, just as they suffered from dangers in their home
      countries.
      If an extension is needed, then a 60-day period would be much more workable.




                                                                                                               AR004843
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       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d75-7lwt
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2364
      Comment Submitted by Pamela Wandzel



                                                  Submitter Information
      Name: Pamela Wandzel


                                                      General Comment
      I oppose this rule as I feel strongly that it will destroy families and put a burden on community services, and will
      disrupt businesses ability to schedule workers.




                                                                                                               AR004844
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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d74-atbx
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2365
      Comment Submitted by Megan Curran



                                                  Submitter Information
      Name: Megan Curran
      Address: United States,
      Email: meganeosullivan@gmail.com


                                                      General Comment
      I strongly oppose the proposed change in the work authorization processing deadline. As an attorney, I have seen
      how important work authorizations have been to my clients. If the rule were changed, asylum seekers may never
      receive their work authorizations. This would have the effect of denying the asylum seekers their ability to
      sustain themselves, but what's more, it would deprive the United States the benefit of the work these people
      could contribute to our country. I firmly believe that DHS should decide not to amend this rule. Thank you for
      your consideration.




                                                                                                               AR004845
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       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d74-mki0
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2366
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I have worked closely with asylum seekers for the past four years and the proposed removal of the 30-day
      processing time for work authorization for asylum seekers will harm some of the most traumatized yet resilient
      individuals in our country. Inability to obtain lawful employment will not only put their lives in danger as they
      may not be able to provide for themselves, but will also put their families in danger. Many asylum seekers make
      the dangerous journey to the US alone, leaving their families in insecure situations back in their home countries.
      Often, they are the breadwinners in their family and their families are at risk if they are unable to help support
      them. Many asylum seekers come to the US with their children and not being able to work puts their whole
      family in danger here in the US. The agency itself admits that the government would lose approximately $39 to
      $118 million per year if this regulation is passed. USCIS has been sued numerous times regarding their failure to
      comply with deadlines required by law and they should not be "rewarded" for their ineptitude by removing
      lawful regulations that prioritize efficiency, safety, and national security.




                                                                                                               AR004846
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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d75-h6v8
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2367
      Comment Submitted by Shirley Woodward



                                                  Submitter Information
      Name: Shirley Woodward


                                                      General Comment
      I writing regarding DHS Docket No. USCIS-2018-0001. I am an immigration attorney. It is essential for my
      clients to be able to work legally to support themselves and their children while their cases are being adjudicated.
      This rule would keep them from doing so. Preventing immigrants from working legally is also detrimental to the
      United States - it eliminates a valuable pool of workers, entrepreneurs and tax payers that could be contributing
      to our economy.




                                                                                                               AR004847
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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Tracking No. 1k3-9d75-ssu4
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2368
      Comment Submitted by Lora Adams



                                                  Submitter Information
      Name: Lora Adams


                                                      General Comment
      DHS Docket No. USCIS-2018-0001
      84 F.R. 47148

      November 8, 2019

      To Whom It May Concern:

      I respectfully submit this comment to the Department of Homeland Securitys Notice of Proposed Rulemaking on
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications, DHS Docket No. USCIS-2018-0001, issued September 9, 2019.


      I have worked with asylum seekers in the U.S. to connect them with resources and ensure their right to due
      process and access to a productive life in the United States. This rule is particularly worrying to me, as we expect
      new arrivals to our country to be self-sufficient and not a burden to the government while also allowing for this
      nearly indefinite delay in allowing them to make a living. DHS has been able to comply with this 30 day
      deadline for a work permit for a year now even in light of the Rosario case, and it should continue to do its job
      and process people in a timely manner. If the work load is too high, DHS needs to hire the appropriate staff to
      accomodate the influx. This will cost money, but it pales in comparison to the potential loss of earnings, loss of
      revenue to small businesses that employ refugees, economic loss to communities that have been revitalized by
      the influx of refugees into the workforce, and losses to federal, state, and local government in the form of lost
      income tax.

      Thank you,

      Lora Adams
                                                                                                               AR004848
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       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d74-3lsm
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2369
      Comment Submitted by Susan Hill



                                                  Submitter Information
      Name: Susan Hill


                                                      General Comment
      Keep work authorization for asylum seekers- cases can take years to adjudicate, it makes no sense to keep these
      people in an underclass that will be forced to rely on public emergency funds. Asylum is a humane protection,
      extend humane treatment by allowing applicants to work and support themselves and serve as functioning
      members of society




                                                                                                               AR004850
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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Tracking No. 1k3-9d76-8ltn
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2370
      Comment Submitted by Kathleen Murphy



                                                  Submitter Information
      Name: Kathleen Murphy


                                                      General Comment
      Please STOP your abusive treatment of asylum seekers!!!

      ABIDE by the July 2018 court mandated timeline of 30 -days for the USCIS to process work authorization
      applications.

      Thank You!!!
      Kathleen Murphy




                                                                                                               AR004851
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       PUBLIC SUBMISSION                                                                    Status: Posted
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2371
      Comment Submitted by Frank Garibaldi



                                                  Submitter Information
      Name: Frank Garibaldi


                                                      General Comment
      Arbitrary deadlines to screen asylum seekers is a danger and threat to American citizens. Cartels, criminals and
      other human traffickers know how to take advantage of flaws in the process. Please show you care about the well
      being of innocent people and allow time for the necessary processes to work.




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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2372
      Comment Submitted by Tom Howarth, House of Hope



                                                  Submitter Information
      Name: Tom Howarth
      Address:
        1 Lazy Livin Lange
        Front Royal, VA, 22630
      Email: tom.howarth67@gmail.com
      Phone: 3015384410
      Organization: House of Hope


                                                      General Comment
      The Trump Administration immigration policies are based on the belief that if you can make asylum seekers
      more miserable, they will not come to our borders seeking asylum.

      Those seeking asylum want and need to work. The 30 day deadline gives a person the right to work, pay taxes
      and avoid being a ward of the state to the extent that they are eligible for services. The rule cost the US
      government money.

      The change to the 30 day processing provision does accomplish one goal of the Administration. it reduces a
      person's chances of finding work and adds to the many other changes in the asylum system that reduces the sense
      of hope a person has of contributing to American society as so many of our people have done in the past. It
      reduces hope and extends misery.
      The rule should be rejected.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2373
      Comment Submitted by James Cradock



                                                  Submitter Information
      Name: James Cradock
      Address:
        219 Walton Street
        Portland, ME, 04103
      Email: seamus@cradock.net
      Phone: 2078388678


                                                      General Comment
      Work is a human right.

      I believe it is a violation of the rights of asylum seekers, who have a legal right to be in the US and who have
      done as we ask when they submit applications for asylum, to prevent them from working.

      150 day prohibition is too long. 30 days for issuance of the work permit on top of the 150 day prohibition is
      inhumane.

      Removing the 30 day cap on the issuance of the work permit, and making this indefinite, is wrong.

      People want to work. Please acknowledge that truth and let people work.

      Thank you.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2374
      Comment Submitted by Kathy Robertson



                                                  Submitter Information
      Name: Kathy Robertson
      Address:
        849 Malaga Ave.
        Davis, CA, 95616
      Email: robertsonkt@sbcglobal.net
      Phone: 916-812-1408


                                                      General Comment
      Asylum seekers should be allowed to work as soon as possible. Please, no delays.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2375
      Comment Submitted by Diana Olivas



                                                  Submitter Information
      Name: Diana Olivas


                                                      General Comment
      I oppose the removal of the 30 day processing provision for asylum applicants. Passing this proposal will create
      lost of compensation in wages and benefits to asylum applicants.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2376
      Comment Submitted by Jennifer Burk



                                                  Submitter Information
      Name: Jennifer Burk


                                                      General Comment
      We must keep the 30-day requirement in place for USCIS to adjudicate Employment Authorization Documents
      for asylum seekers within 30 days.

      Asylum seekers would lose wages and benefits as a result of delayed entry into the U.S. labor force, straining
      their ability to support themselves and their families. A lack of income means not being able to afford food,
      housing, medical treatment, health insurance, or legal representation. Furthermore, individuals will be unable to
      secure a valid ID (needed for many social services) and be increasingly vulnerable to exploitation, trafficking,
      and underground economic risks. The lack of ability to work and correlating lack of income also vastly increases
      the risk that people coming to the United States will become a public charge.

      USCIS has reported that it has been able to decide over 99% of EADs within the 30-day timeframe for over the
      past year. Therefore, USCIS has proven its ability to adequately vet the amount of requests in a timely fashion.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2377
      Comment Submitted by Angela Fernandez, New York State Division of Human Rights



                                                  Submitter Information
      Name: Angela Fernandez
      Address:
        One Fordham Plaza
        4th Floor
        Bronx, NY, 10458
      Email: angela.fernandez@dhr.ny.gov
      Phone: 1-888-392-3644
      Submitter's Representative: Angela Fernandez
      Organization: NYS Division of Human Rights
      Government Agency Type: State
      Government Agency: NYS Division of Human Rights


                                                      General Comment
      The New York State Division of Human Rights (NYSDHR) has reviewed the Proposed Rule, published in the
      Federal Register on September 9, 2019, proposing changes regarding Removal of 30-Day Processing Provision
      for Form I-765 (c)(8) Employment Authorization Applications Docket No. USCIS-2018-0001 Docket RIN1615-
      AC19. NYSDHR opposes the Rule for the reasons set forth fully in the attached letter comment. New York State
      is home to the second largest population of asylum seekers in the United States. In 2017, more than half of
      individuals granted affirmative asylum resided in California or New York. NYSDHR opposes the Proposed Rule
      because it will have an adverse impact on protected classes covered by the New York State Human Rights Law.
      Given that asylum seekers are fleeing violence, persecution and political unrest across the world, the Proposed
      Rule will potentially discriminate against people seeking to integrate themselves into New York on the basis of
      race/color, national origin, familial status, and sex. NYSDHR was created to encourage programs designed to
      insure that every individual shall have an equal opportunity to participate fully in the economic, cultural and
      intellectual life of the state; to encourage and promote the development and execution by all persons within the
      state of such state programs; to eliminate and prevent discrimination . . . in employment . . . [and] housing. N.Y.
      Exec. L. 290.3. The Proposed Rule will serve to prevent asylum seekers from obtaining equal opportunity in
      employment and housing and from fully participating in the economic, cultural and intellectual life of New York
      State.
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      DHS Removal of 30-Day Processing Provision comment




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ANDREW M. CUOMO                      ANGELA FERNANDEZ
Governor                             Commissioner




                                                               November 8, 2019

     Samantha Deshommes, Chief
     Regulatory Coordination Division
     Office of Policy and Strategy
     U.S. Citizenship and Immigration Services
     Department of Homeland Security
     20 Massachusetts Avenue NW, Mailstop #2140
     Washington, DC 20529-2140


     Re: U.S. Citizenship and Immigration Services and the Department of Homeland Security Removal of 30-
     Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications; Docket No.
     USCIS-2018-0001 Docket RIN1615-AC19

     Dear Chief Deshommes:

            The New York State Division of Human Rights (NYSDHR) submits the following comments in
     response to the notice in the Federal Register soliciting comments on the Proposed Rules regarding
     “Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications.”

            Thank you for the opportunity to comment.



                                                               Very Truly Yours,


                                                               ____________________________
                                                               ___________________________
                                                               Commissioner Angela
                                                                             Angela Fernandez
                                                               New York State Division of Human Rights




                                  One Fordham Plaza, Fourth Floor, Bronx, New York 10458
                              (718) 741-8398 │Facsimile (718) 741-8102 │ WWW.DHR.NY.GOV
                                                                                              AR004860
DRAFT- CONFIDENTIAL- PRIVILEGED ATTORNEY WORK PRODUCT -PRIVILEGED


Proposed Rulemaking: Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment
Authorization Applications Docket No. USCIS-2018-0001 Docket RIN1615-AC19

         The New York State Division of Human Rights (NYSDHR) has reviewed the above-referenced
notice (the Proposed Rule), published in the Federal Register on September 9, 2019, proposing changes
regarding “Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization
Applications” Docket No. USCIS-2018-0001 Docket RIN1615-AC19.

         The Proposed Rule, if adopted, will remove a regulatory provision stating that U.S. Citizenship
and Immigration Services (USCIS) has 30 days from the date an asylum applicant files the initial Form I-
765, Application for Employment Authorization to grant or deny that initial employment authorization
application. Currently, an asylum applicant must wait at least six months before receiving employment
authorization if their asylum application has not already been decided. The 30-day rule allows an asylum
applicant to apply for work authorization once their asylum application has been pending for 150 days
and to receive a decision authorizing or denying the right to work. However, under the Proposed Rule,
there is no limitation for the time it would take USCIS to render a decision on the work authorization. If
this Proposed Rule goes into effect, asylum seekers will not be able to support themselves or their
families for extended periods of time which will put already vulnerable people at a high risk for
homelessness and prolonged unemployment. The Proposed Rule serves little purpose but to harm and
discriminate against an already vulnerable population seeking to integrate themselves into American
society.

         NYSDHR is the agency in charge of enforcing the New York State Human Rights Law. The law
ensures equal opportunity in employment and housing in New York State. The Human Rights Law is
enforced through investigation and adjudication of complaints filed by individuals as well as NYSDHR-
initiated complaints; the creation of studies, programs, and campaigns designed to inform and educate
the public on the effects of discrimination and their rights and obligations under the law; and the
development of human rights policies and proposed legislation for the State.

         New York State is home to the second largest population of asylum seekers in the United States.
In 2017, more than half of individuals granted affirmative asylum resided in California or New York. 1
NYSDHR opposes the Proposed Rule because it will have an adverse impact on protected classes
covered by the New York State Human Rights Law. Given that asylum seekers are fleeing violence,
persecution and political unrest across the world, the Proposed Rule will potentially discriminate against
people seeking to integrate themselves into New York on the basis of race/color, national origin, familial
status, and sex. NYSDHR was created “to encourage programs designed to insure that every individual
shall have an equal opportunity to participate fully in the economic, cultural and intellectual life of the
state; to encourage and promote the development and execution by all persons within the state of such
state programs; to eliminate and prevent discrimination . . . in employment . . . [and] housing. N.Y. Exec.
L. § 290.3. The Proposed Rule will serve to prevent asylum seekers from obtaining equal opportunity in

1
 Mossaad, Nadwa, Office of Immigration Statistics (OIS) Annual Flow Report, Refugees and Asylees 2017, March
2019. Available at https://www.dhs.gov/sites/default/files/publications/Refugees_Asylees_2017.pdf.


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employment and housing and from fully participating in the economic, cultural and intellectual life of
New York State.


        I.       The Proposed Rule is a Pretext for Discrimination Against Individuals Based on Their
                 National Origin and Race.

        NYSDHR has an obligation to deter discrimination in housing. The Proposed Rule undermines
that obligation. By extending the period of joblessness, thousands of immigrant families may become
homeless. These families will be left scrambling to find housing in a market rife with discrimination.
Over the past few years, the leading countries of nationality for persons granted asylum were China, El
Salvador, and Guatemala. However, the number of affirmative asylum applications from Venezuelans
increased by thirteen times between 2014 and 2017 and applications from El Salvadorians,
Guatemalans, and Hondurans rose almost 800% in the last 5 years. 2 The Proposed Rule seeks to stem
the tide of asylum seekers from Central and South America by making the process difficult to survive.

        The Proposed Rule will have an adverse impact on these higher number of Central and South
Americans asylum seekers. The Proposed Rule will exacerbate existing discrimination in housing based
on national origin and race/color by promoting joblessness and poverty among this group.



        II.      The Proposed Rule Will Adversely Impact Families with Children.

        The difficulties families with children face in obtaining housing without discrimination are well
known. The problem is so significant that Congress amended the FHA in 1988 to add families with
children under the age of 18 as a protected class. Familial status is also a protected class under the
Human Rights Law.

         “Familial status” means “(a) any person who is pregnant or has a child or is in the process of
securing legal custody of any individual who has not attained the age of eighteen years, or (b) one or
more individuals (who have not attained the age of eighteen years) being domiciled with: (1) a parent or
another person having legal custody of such individual or individuals; or (2) the designee of such
parent.” N.Y. Exec. L. § 292.26. It is an unlawful discriminatory practice to refuse to sell, rent or lease or
otherwise to deny to or withhold from any person or group of persons such housing accommodations or
to discriminate against any person in the terms, conditions or privileges housing accommodations or in
the furnishing of facilities or services in connection therewith because of familial status. N.Y. Exec. L. §§
296.2-a, 296.5. The same protections are afforded under the FHA. 42 USC § 3604.




2
  Mossaad, Nadwa, Office of Immigration Statistics (OIS) Annual Flow Report, Refugees and Asylees 2017, March
2019. Available at https://www.dhs.gov/sites/default/files/publications/Refugees_Asylees_2017.pdf.




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        Almost one-third of asylum grantees are children under the age of 18. 3 The Proposed Rule will
compound the problem of discrimination in housing against families with young children. When asylum-
seeking parents have no income, they face little to no opportunity to provide safe housing for their
families.



        III.     The Proposed Rule Will Adversely Impact Women

         Women suffer pay inequity. This inequality is exacerbated by race or national origin. For
example, Hispanic women’s median weekly earnings in 2018 were only 61.6 percent of White men’s
median weekly earnings. 4 These factors can also be compounded by women’s status as the
predominate single heads of households with children. Additionally, women will be adversely impacted
by the Proposed Rule because they are the primary victims of domestic violence and sexual assault.
Women who are ineligible to work for extended periods of time under the Proposed Rule will have more
difficulty finding new housing.



        IV.      Asylum Seekers Will Be Exposed to Abuses Without Legal Employment Authorization

        Asylum seekers living in the United States while their applications are pending cannot live
without income for extended periods of time. The Proposed Rule would promote targeting asylum
seekers for underground employment which might leave them vulnerable to unsafe workplace
conditions and human trafficking.

         Any employee working under these conditions could be subject to abuse, wage and hour
violations and health and safety risks. Although most illegal employees enjoy protection under state
and federal labor laws, asylum seekers who are not authorized to work may be afraid to speak up about
workplace abuses for the fear of being reported and risking their asylum application.




3
  Mossaad, Nadwa, Office of Immigration Statistics (OIS) Annual Flow Report, Refugees and Asylees 2017, March
2019. Available at https://www.dhs.gov/sites/default/files/publications/Refugees_Asylees_2017.pdf.

4
 Institute for Women’s Policy research The Gender Wage Gap: 2018 Earnings Differences by Race and Ethnicity,
March 2019. Available at https://iwpr.org/wp-content/uploads/2019/03/C478_Gender-Wage-Gap-in-2018.pdf.


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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2378
      Comment Submitted by Kathryn Burke



                                                  Submitter Information
      Name: Kathryn Burke


                                                      General Comment
      Allowing asylum applicants to work helps everyone: their families, their communities and the U.S. taxpayers.

      Making it more difficult for asylum applicants to work seems to serve only the purpose of of punishing them for
      coming to the U.S. for safety.

      Many asylum applicants work very hard in menial jobs far below their education level, jobs that US Citizens do
      not do.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2379
      Comment Submitted by Michael Urbanowich



                                                  Submitter Information
      Name: Michael Urbanowich
      Address:
        Pearland, TX, 77581
      Email: mike@sunitakapoor.com
      Phone: 7137823332


                                                      General Comment
      I am an immigration attorney and I work with asylum seekers. My clients rely on the EAD in order to begin
      supporting themselves and their families while their cases remain pending. If the 30-day deadline is removed, my
      clients will lose the ability to support themselves. This would hurt them, the community, and reduce tax revenues
      for the government.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2380
      Comment Submitted by Jaesa McGee



                                                  Submitter Information
      Name: Jaesa McGee


                                                      General Comment
      Allowing asylum seekers access to a work permit will reduce the burden on the American people and reduce
      fraud. Do not remove the 30 day processing provision for asylum applicants! They need to be able to support
      themselves rather than rely on public sources of financial support. If they are legally allowed to work this only
      helps the American people and the American economy.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2381
      Comment Submitted by Jennifer Smith



                                                  Submitter Information
      Name: Jennifer Smith


                                                      General Comment
      I seek to request that the 30 day adjudication of employment authorization documents not be removed. Without
      this 30 day requirement, there will be unpredictable delays and it will cause serious harm to asylum seekers.
      Other applicants for work authorization are already seeing
      delays in excess of 10 months for a work permit, even when it is a simple renewal. Delays in asylum seekers
      getting their work authorization can cause, serious food and housing insecurity. Where I live and practice we
      have a shortage of housing and a very high cost of living. Delaying the ability of a person to work with a valid
      application pending leads to very serious economic harm.
      The is compounded by the asylee's inability to secure a valid ID. A work permit and a social security number
      (SSN) are often necessary requirements to applications for a state ID.
      Where I live and practice we have the highest health costs in the country. Many asylum seekers need access
      health insurance (most state ACA health exchanges require a SSN and work authorization materials to qualify) to
      treat the trauma of their persecution and avoid additional medical issues, such as feelings of fear, desperation,
      and overall mental health concerns that will burden our communities.
      If we cannot welcome asylum seekers fully into our communities and economies, we miss out on the
      contributions to local businesses and we risk making our communities less safe. A person without valid ID and
      ability to work must turn underground and fear the government and police.
      This is not helpful for anyone.
      USCIS admits that lost compensation to asylum applicants ranges from $255.88 million to $774.76 million in
      taxable income per year. The loss of income to asylum-seekers will cause an outsized amount of harm to this
      already-vulnerable community and our communities who seek to welcome them.

      USCIS has reported that it has been able to decide over 99% of EADs within the 30-day timeframe for over the
      past year.
      Therefore, USCIS has proven its ability to adequately vet the amount of requests in a timely fashion.
      Moreover, its argument regarding increased threats serves only to prompt the need for a speedier process to
      properly protect national security, rather than its request to delay the process further. This need for a speedier
                                                                                                               AR004867
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      process is further compounded by the fact that the EAD applicants are asylum-seekers already residing in the
      United States. If vetting must be done to prevent security risks, then having unvetted people in the U.S. subjected
      to a potentially indefinite review period seems contrary to the departments stated interests and the interests of my
      community.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2382
      Comment Submitted by Anonymous, International Rescue Committee



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I work in Employment services for the International Rescue Committee. My job is to work with refugees and
      asylees to secure their first job placement. With my asylees, the biggest barrier to employment and self-
      sufficiency is often documentation. Without work, clients are dependent on cash assistance, despite the fact that
      many are eager to work. Our clients want to support their families and use their skills obtained from previous
      employment in their home country. One of my clients fled Sri Lanka because of ethnic persecution--he will show
      you his scars from being tortured. He traveled through almost 10 countries to get to the United States,
      overcoming unthinkable challenges. Once he arrived in the US, he then had to navigate the asylum process. The
      entire time his goal has been to work so he can live in his own apartment and bring his wife and daughters to
      safety. Removing the 30-day processing deadline would hurt people like my client.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2383
      Comment Submitted by Megan Pinney



                                                  Submitter Information
      Name: Megan Pinney


                                                      General Comment
      People rely heavily on their ability to quickly obtain work authorization through the I-765 application. Please do
      not remove the 30 day processing limit! Asylum seekers are desperate to work legally in the US. Please do not
      delay things!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2384
      Comment Submitted by Anna Eissenova



                                                  Submitter Information
      Name: Anna Eissenova
      Address:
        7 Hamlin St
        Acushnet, MA, 02743


                                                      General Comment
      This rule seems to only take a bit of pressure off of immigration services. However, the effect on immigrants
      seeking asylum could be catastrophic. People fleeing their home country are already made to wait for working
      permits, dwindling whatever funds or resources they may have brought with them to this country. Lengthening
      the time that it takes for them to get a work permit or other legal documentation would only put more stress on
      their already dire situation. It would also likely lead to further people's exploitation of immigrants for unlawful
      employment for cheap labor, and a possible increase in homelessness, uninsured drivers and people searching for
      emergency medical care who are not able to support themselves or have medical insurance because of a lack of
      legal means to work. Please consider taking the time to hire more people to review and process these applications
      rather than keeping asylum seekers waiting for even longer to attain a means to work.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2385
      Comment Submitted by Randall Decker



                                                  Submitter Information
      Name: Randall Decker


                                                      General Comment
      Our country is less safe today because of arbitrary bureaucratic timelines.

      Its true! Instead of giving the Trump Administration enough time to thoroughly check the background of every
      asylum seeker, theyre being forced to cut corners and make America less safe, just because some bureaucrats
      wrote a ridiculous timeline.

      Thankfully President Trump is fighting to undo this nonsense. But the radical Left is pushing back. Why?

      They dont care that these radical restrictions jeopardize our national security or that they punish LEGAL
      immigrants for obeying our laws. They just want to keep them in place, all so they can keep our immigration
      system broken and undermine Donald Trumps presidency.

      These people on the left are traitors to our constitutional republic and the rue of law. It is obvious that the safety
      of American citizens are not there priority. They want votes and power to keep America from exceptionalism and
      to turn us into a third world country so as not to be a major roadblock to their global agenda. These people are
      sick and evil. Follow the rule of law and keep America secure from this wicked attempt to over throw our great
      constitution and citizens freedoms and rights that are afforded only to them.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2386
      Comment Submitted by Mallory Vogel



                                                  Submitter Information
      Name: Mallory Vogel


                                                      General Comment
      I am writing to oppose the Removal of the 30-day processing provision for asylum applicants. Of this provision
      is removed, an asylum seeker may be left indefinitely without authorization to work. I believe that we should
      respect the rights of asylum seekers and support them in integrating into society. The ability to hold a job is a
      vital part of this process, and should therefore not be held up indefinitely.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2387
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I welcome the opportunity to submit a comment on the proposed rule to end the 30-day adjudication timeframe
      for EADs for those with pending asylum applications. As a U.S. Citizen, I have a vested interest in our
      communities and as an engaged citizen am concerned about the impact this rule will have on asylum seekers and
      our communities.

      One justification for this rule from USCIS is that they need to be able to properly vet EAD applicants. This is
      inconsistent with their authority as it is well within their ability to request additional evidence for someone they
      suspect of fraud. In addition, they are able to take adequate measures to properly vet and background check
      applicants. Removing the timeframe for adjudication does not mean a more thorough vetting process there is no
      proposal to change the process. It does, however, allow USCIS to be less efficient. As a U.S. Citizen, this is
      concerning as our government agencies should be held accountable for their efficient work products. In addition,
      lengthening the time to properly vet an applicant increases the risk that fraud will go undetected for a longer
      period of time. This poses increased risk for the community as well as for the asylum system.

      This rule would strain community resources. Asylum seekers often have limited or no financial support. Their
      being able to work means that they do not become a burden on community food banks, nonprofit organizations,
      churches, and other organizations that assist indigent individuals and families. These individuals need to work in
      order to eat and live while their applications for asylum are being processed by the U.S. government. They are
      allowed to stay in the U.S., and should not burden local resources in the local economy. Therefore, they need to
      be able to work legally. Furthermore, without income, asylum seekers are at risk of homelessness, which puts
      them at increased risk for abuse, and contributes to social problems in local communities. Local communities
      should not bear a greater burden and increased social issues because the federal government won't timely
      adjudicate applications for EADs from asylum seekers.



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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2388
      Comment Submitted by Jeraline Edwards, Law Offices of Jeraline Singh Edwards



                                                  Submitter Information
      Name: Jeraline Edwards
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        7960 B Soquel Drive, Ste 171
        Aptos, CA, 95003
      Email: Attorney@EdwardsImmigration.com
      Phone: 8312048656
      Organization: Law Offices of Jeraline Singh Edwards


                                                      General Comment
      Let Asylum Seeker get EAD in a timely manner as asylum application processing is on hold for many people and
      for new filers as well. This 30 day deadline needs to stay in place as long as Asylum processing is taking longer
      than one month.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2389
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      As a US Citizen and therefore tax payer, I oppose the suppression of the 30 day rule as it would increase the
      length of time where asylum seekers
      Having volunteered at a social help facility for asylum seekers in a country in which such a rule is not in effect, I
      have witnessed the consequences of not having such a rule in place. Without a job, an asylum seeker relies on
      public help (hello ER visits!) and charity, which increases the taxpayer's financial burden. Whereas if asylum
      seekers work, they are able to provide for themselves, and do not have to rely on outside help (or if they do, it's
      minimal). Therefore, the longer asylum seekers wait to have their worker's permit, the longer I and other
      taxpayers have to pay for their support. The 30 day rule at least insures that the time it takes to get a permit is
      limited. In my opinion, they should even have the right to work as soon as their asylum petition is filed and
      received by the administration.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2390
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I am writing to urge you not to eliminate the 30 day requirement because immigrants to this country deserve the
      right to work while they are waiting for asylum. Immigrants have contributed greatly to this country and will
      continue to do so, adding tax dollars, economic growth, and culture to our communities. The president's own
      family benefits from their right to work, and asylum seekers deserve no less.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2391
      Comment Submitted by Alexandra Streiff



                                                  Submitter Information
      Name: Alexandra Streiff


                                                      General Comment
      While asylum seekers are pursuing their claim for safety, they are apart of the fabric of our communities. The
      limbo this new law would cause would not only harm the families - parents and children - but entire
      communities. People seeking asylum are the most resilient people my community in San Diego knows. We all
      benefit from their ability to obtain employment and achieve self-sufficiency, and recognizing humanitarian
      principles that the US represents as a beckon of hope they deserve every opportunity to thrive because they are
      human beings. I implore our government to recognize human dignity, as well as honor the reality that we do
      better as a country when we uphold values of freedom.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2392
      Comment Submitted by Katarina Rost



                                                  Submitter Information
      Name: Katarina Rost


                                                      General Comment
      Food insecurity, ability to take care of themselves - all important considerations for families running from
      persecution. Risk of homelessness/housing insecurity, Vulnerability to exploitation, trafficking, and underground
      economy risks.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2393
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Asylee applicants should have the ability to work while their case is pending to support themselves and their
      families.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2394
      Comment Submitted by Lindsay Harris, Immigration and Human Rights Clinic at the University of the District
      of Columbias David A. Clarke School of Law



                                                  Submitter Information
      Name: Lindsay Harris
      Address:
        4340 Connecticut Avenue
        Washington, DC, 20008
      Email: LINDSAY.HARRIS@UDC.EDU
      Phone: 2022747326


                                                      General Comment
      The Immigration and Human Rights Clinic at the University of the District of Columbias David A. Clarke
      School of Law submits this comment. Every semester, we work with students engaged in providing supervised
      representation to asylum seekers. We represent both affirmative asylum seekers filing before the USCIS asylum
      office and individuals who are appearing before the immigration court. Most of our clients are survivors of
      torture or trauma and struggle to survive in the U.S. pending the adjudication of their claims. Most wait for
      several years for their claim to be adjudicated due to extreme backlogs at the asylum office and the court. Earlier
      this year, one of our clients was granted asylum at his very first merits hearing in court, 9 years after he first
      arrived in the U.S.

      Many of our clients struggle, before obtaining an EAD, to pay public transportation costs to make it to legal
      appointments. Although legal services are provided on a pro bono basis, we do not have funds to cover other
      client needs. Being able to rely upon EADs in the interim is vital to ensuring that during that waiting period, they
      can be productive and self-reliant members of society.

      Several of our clients are single mothers providing for 1 or more children. One young Central American mother
      was able to work cleaning houses with an EAD while her asylum claim was pending, allowing her to support her
      young daughter and pay for housing and transportation to legal appointments. Without this, the family would
      have been homeless. Another client, a disabled man from South America, has been able to work with a tax
      service preparer and as a customer relations specialist with a technology company to pay his rent in a shared
      apartment. Another East African client has been waiting 4 years for her asylum interview but has been working
                                                                                                               AR004881
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      as a Certified Nurses Assistant in elder care in various facilities. She contributes to our community and fills
      vacancies in an industry that struggles to find workers.

      Without the ability to work, or with any delay in their cases, several of our clients, or, in fact the vast majority,
      would be homeless. There is no interest served by adding to the homeless population a population of individuals
      who have survived violence and are experiencing symptoms of PTSD.

      The asylum seekers that we work with are law-abiding and conscientious individuals who have high levels of
      anxiety around working without an EAD, and yet, forcing them to wait longer for an EAD may leave some
      asylum seekers with no other option. Working under the table not only jeopardizes the employee rights of asylum
      seekers, but lowers the standards of labor treatment for American workers as a whole.

      Some of our clients desperately need to access mental health services. Not being able to work would make it
      even more difficult for them to pay transportation and other costs associated with weekly therapy. Given that
      these individuals are living within our communities, we want them to be as healthy and stable as possible while
      they await adjudication. Taking away EADs will increase instability and homelessness among asylum seekers,
      making them vulnerable to targeting by criminals and others who would take advantage of them.

      DHS reports that it is now deciding over 99% of EADs within the 30-day processing timeline; this clearly
      demonstrates that DHS is generally able to address fraud and security concerns within the current timeframe and
      process.

      Without an EAD and associated access to employment, asylum-seekers will have difficulty obtaining drivers
      licenses, banking services, healthcare, and legal counsel for their asylum applications. Although this may in fact
      be the goal of this proposed rule, none of these things actually benefit American citizens or residents. Asylum
      seekers should have access to healthcare to control the spread of communicable diseases. Asylum seekers should
      have access to legal counsel studies have shown that lawyers make the system more efficient. Asylum seekers
      should have access to banking services and drivers licenses, both of which enhance safety for the general
      population.

      Local, state, and federal governments will lose income tax revenue from asylum-seekers who are delayed in
      entering the job market or forced to work in the shadow economy. DHS estimates that the annual Medicare and
      social security revenue loss to the government to be between $39.15 to $118.54 million dollars. DHS estimates
      the rule will cause asylum-seekers to annually lose $255.88 to $774.76 million in income.

      Given the above concerns, we strongly urge reconsideration of this proposed rule. America must live up to its
      history as a safe haven for asylum seekers fleeing violence. Eradicating a deadline for the processing of asylum
      seeker work permits not only puts asylum seekers at risk, but Americans as a whole.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2395
      Comment Submitted by Judith Flahavan



                                                  Submitter Information
      Name: Judith Flahavan
      Address:
        22 B Kilburn St.
        Watsonville, CA, 95076
      Email: srjudy1963@gmail.com
      Phone: 8056376101


                                                      General Comment
      Removal of the 30-Day Processing Provision for Asylum Applicants for Employment Authorization
      Applications will put such applicants in a very dangerous situation. Without the possibility of employment they
      will lack the ability to sustain themselves and their families with basic necessities, such as food and shelter. They
      will not be able to obtain health insurance. They will not have access to community service agencies. They could
      be denied a SSN and work permit to obtain a state ID. I urge that the 30-Day Processing Provision for asylum
      applicants seeking employment authorization applications be maintained.
      .




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2396
      Comment Submitted by Riley McMahon



                                                  Submitter Information
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        27333 N 90th St
        Scottsdale, AZ, 85262
      Email: rkm76@nau.edu
      Phone: 6232617009


                                                      General Comment
      Asylum Seekers have already spent years in limbo, do not extend this by removing the 30 day processing.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2397
      Comment Submitted by Laura Glass-Hess



                                                  Submitter Information
      Name: Laura Glass-Hess


                                                      General Comment
      This regulation is harmful; instead of allowing people who want to work and support themselves to do so, it will
      burden relatives and other family members. Why would we delay granting work permits to people who want to
      work, and are legally entitled to do so while their cases are pending?




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2398
      Comment Submitted by Jessica Eber, New York State Office of Mental Health



                                                  Submitter Information
      Name: Jessica Eber


                                                      General Comment
      Attached please find comments on behalf of the New York State Office of Mental Health for your consideration.



                                                            Attachments
      DHS Asylum EAD rule change comment_executed




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2399
      Comment Submitted by Kirk Samelson



                                                  Submitter Information
      Name: Kirk Samelson


                                                      General Comment
      The change in this regulation would not only negatively impact a persons ability to support himself/herself but
      would also reduce collected taxes. There is no valid reason to change the regulation




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2400
      Comment Submitted by Jacquelyn Bradford



                                                  Submitter Information
      Name: Jacquelyn Bradford


                                                      General Comment
      It is vitally important for asylum seekers to have access to a work permit as soon as possible. I am a licensed
      attorney in Florida. I work at a non-profit, primarily with survivors of human trafficking. Asylum are incredibly
      vulnerable to exploitation and human trafficking. Without work permits, they have no lawful way to support
      themselves. They also are vulnerable if they do not have a valid form of identification. My clients who have
      experienced incredible trauma often experience increased mental health and physical symptoms due to the stress
      of waiting for applications to be decided and the stress of not being able to afford food or safe shelter.

      Delaying adjudications means asylum seekers would lose wages and benefits as a result of delayed entry into the
      U.S. labor force, straining their ability to support themselves and their families. USCIS admits that lost
      compensation to asylum applicants ranges from $255.88 million to $774.76 million in taxable income per year.
      The loss of income to asylum-seekers will cause an outsized amount of harm to this already-vulnerable
      community. A lack of income means not being able to afford food, housing, medical treatment, health insurance,
      or legal representation. Furthermore, individuals will be unable to secure a valid ID (needed for many social
      services) and be increasingly vulnerable to exploitation, trafficking, and underground economic risks. The lack
      of ability to work and correlating lack of income also vastly increases the risk that people coming to the United
      States will become a public charge.

      This proposal will lead to all levels of government will lose tax revenue as a result of the proposed rule change.
      USCIS projects a loss of $39.15 million to $118.54 million per year because delayed work authorization will
      prevent asylum seekers and their employers from contributing to Medicare and social security.

      In the notice, USCIS makes frequent reference to a rise in national security threats as a reason to spend more
      time and resources on each decision. However, USCIS has reported that it has been able to decide over 99% of
      EADs within the 30-day time frame for over the past year. Therefore, USCIS has proven its ability to adequately
      vet the amount of requests in a timely fashion. Moreover, its argument regarding increased threats serves only to
      prompt the need for a speedier process to properly protect national security, rather than its request to delay the
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      process further. This need for a speedier process is further compounded by the fact that the EAD applicants are
      asylum-seekers already residing in the United States. If vetting must be done to prevent security risks, then
      having unvetted people in the U.S. subjected to a potentially indefinite review period seems contrary to the
      departments stated interests.

      Proposed Alternative: As the law is currently written, asylum seekers must wait 180 days before they may be
      granted authorization to work. They are permitted to submit their application after 150 days, giving USCIS the
      30-day time frame in question to process the requests. If USCISs goal is to have more time to process each
      request in order to increase flexibility and free up resources to work on other applications, then it could easily
      shorten the waiting time before asylum-seekers are allowed to submit their application. If USCIS feels that a 60-
      day time frame would be more beneficial, then it may allow applications to be submitted after 120 days, rather
      than 150. Allowing asylum-seekers to submit their applications earlier could allow the department to have up to
      180 days to process and properly vet each individual while reducing the risk of harm to each applicant.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2401
      Comment Submitted by Jenna Ripke



                                                  Submitter Information
      Name: Jenna Ripke


                                                      General Comment
      I am strongly opposed to removing the 30-day processing provision for asylum applicants applying for EADs. I
      am an immigration attorney with a nonprofit organization which regularly represents asylum seekers in both
      affirmative and defensive asylum claims. As such, I daily see the struggles of asylum seekers who are unable to
      work while waiting until they can apply for an EAD, and removing the 30-day processing provision would
      further harm them and the United States as a whole.

      Asylum seekers come to the United States because they are fleeing persecution in their home countries. Many of
      them come with nothing other than the clothes on their backs. Once they arrive in the United States and apply for
      asylum, they simply want to be able to support themselves and their families, and contribute to the country that
      they would like to become their home. Asylum seekers would lose wages and benefits as a result of delayed
      entry into the U.S. labor force, straining their ability to support themselves and their families. USCIS admits that
      lost compensation to asylum applicants ranges from $255.88 million to $774.76 million in taxable income per
      year. The loss of income to asylum-seekers will cause an outsized amount of harm to this already-vulnerable
      community. A lack of income means not being able to afford food, housing, medical treatment, health insurance,
      or legal representation. Furthermore, individuals will be unable to secure a valid ID (needed for many social
      services) and be increasingly vulnerable to exploitation, trafficking, and underground economic risks. The lack
      of ability to work and correlating lack of income also vastly increases the risk that people coming to the United
      States will become a public charge.

      Furthermore, removal of the 30-day processing provision would cost the United States tax revenue since anyone
      who is working is required to pay taxes. USCIS admits that all levels of government will lose tax revenue as a
      result of the proposed rule change. USCIS projects a loss of $39.15 million to $118.54 million per year because
      delayed work authorization will prevent asylum seekers and their employers from contributing to Medicare and
      social security. The government frequently complains that it does not have sufficient revenue to carry out its
      obligations, which makes one question why they would want to delay or lose valuable tax dollars from asylum
      seekers working.
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      It is also impossible to avoid the evidence that this proposed rule change is part and parcel of this administrations
      effort to make the U.S. a hostile destination for individuals fleeing persecution in their countries of origin. This is
      evidenced by this rule change as well as the third-country transit bar, the proposed wide-sweeping public charge
      rule, and the institution of the so-called Migrant Protection Protocols. By removing the ability of asylum seekers
      to gain meaningful employment within a short and predictable timeframe, the Trump Administration effectively
      turns asylum seekers into the very public charges it seeks to exclude. Additionally, this policy change would
      make the work authorization process more unpredictable and inefficient by removing the ability to hold USCIS
      accountable to any deadline.

      Finally, as the law is currently written, asylum seekers must wait 180 days before they may be granted
      authorization to work. They are permitted to submit their application after 150 days, giving USCIS the 30-day
      timeframe in question to process the requests. If USCISs goal is to have more time to process each request in
      order to increase flexibility and free up resources to work on other applications, then it could easily shorten the
      waiting time before asylum-seekers are allowed to submit their application. If USCIS feels that a 60-day
      timeframe would be more beneficial, then it may allow applications to be submitted after 120 days, rather than
      150. Allowing asylum-seekers to submit their applications earlier could allow the department to have up to 180
      days to process and properly vet each individual while reducing the risk of harm to each applicant.

      It is also worth noting that asylum applicants are permitted to apply for EADs only if their asylum applications
      are not adjudicated within the 180-day statutory timeframe for adjudicating asylum applications. Perhaps the
      administration could better use its time to figure out how to speed up the asylum process - while still maintaining
      constitutionally-required norms of due process, of course - rather than drafting rules that prevent people from
      working and contributing to the United States economy.

      Based on my experiences as an immigration attorney working with individuals whose only desire is to be safe
      from persecution and be good members of society, I once again reiterate that I am strongly opposed to the
      proposed regulation, and I request that you leave the 30-day processing provision in place and unchanged.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2402
      Comment Submitted by Keith Schaeffer



                                                  Submitter Information
      Name: Keith Schaeffer
      Address:
        2755 N. Montezuma Avenue
        Tucson, AZ, 85712
      Email: kschaeff@theriver.com
      Phone: 520/325-9071


                                                      General Comment
      I am writing in opposition to the Trump Administrations proposal to eliminate the 30-day timeframe for
      approving or denying work authorizations for asylum seekers. The cruel proposal would leave asylum seekers
      with no legal means to support themselves while their asylum applications are pending, leaving them at risk of
      hunger, homelessness, exploitation and trafficking. It also would deny our government tens of millions of dollars
      in tax revenues from wages earned by asylum seekers. I grew up believing that America is a beacon of hope for
      victims of persecution. The Trump Administrations proposal betrays that American tradition and is part of a long
      pattern of cruelty against societys most vulnerable by an illegitimate president. Please protect the right to asylum
      by preserving the 30-day deadline for granting work authorizations.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2403
      Comment Submitted by Basima Hafiz



                                                  Submitter Information
      Name: Basima Hafiz


                                                      General Comment
      The government needs to keep processing work authorization applications within 30 days. Asylum seekers have
      a right to work and attain social services and to have a speedy determination of their cases.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2404
      Comment Submitted by Janice Dysinger



                                                  Submitter Information
      Name: Janice Dysinger


                                                      General Comment
      Please support President Trumps Immigration reforms to allow for common sense laws in dealing with people
      who just show up at our borders. We need time to assess each situation. We can not absorb the worlds
      population- PERIOD.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2405
      Comment Submitted by Erin Williams



                                                  Submitter Information
      Name: Erin Williams


                                                      General Comment
      This proposed rule will harm asylum seekers and their families, and lead to $100s of millions of lost tax revenue.
      All actually effected individuals are already in the system. These individuals are seeking to become part of
      society. They want to work and to provide for their own families. To stop expedited processing only worsens the
      problems that so many who support the proposed rule are seeking to impact such as public assistance, integration
      and assimilation.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2406
      Comment Submitted by Jocelyn Jenks



                                                  Submitter Information
      Name: Jocelyn Jenks
      Address:
        Denver, CO, 80205
      Email: jenksest@gmail.com


                                                      General Comment
      My name is Jocelyn Jenks, and I live in Denver, Colorado. I oppose this rule change. I think it will have a
      negative impact not just on individuals, but on the US and our economy. In my capacity as a concerned US
      citizen, I think it is very important that USCIS continue processing asylum EAD applications within 30 days. If
      people are residing in the United States, I think it is important that they are able to lawfully work and contribute
      to our society, the community and the US economy. When people live here, waiting, sometimes for years, to
      finally have their cases heard by an immigration judge, and are unable to work, they are vulnerable to
      exploitation and homelessness. That exploitation has a negative impact not just on individuals but on the
      communities they live in. Asylum seekers are lawfully applying for status in the United States based on their
      well-founded fear of return to their home country. Once here, and after they have applied for asylum, they
      already must wait six months before receiving work authorization. This means that they come to the United
      states fleeing violence and persecution, often with little to no money, and live in limbo, lawfully applying for
      status, but barely scrapping by to pay for rent or food. The proposed rule could mean that they are waiting a year
      or longer to receive authorization to work. This is not beneficial to anyone, and USCIS itself states that it could
      cost the government over $38 million dollars a year in lost tax revenue because people will not be able to enter
      the work force and they and their employers will therefore not be paying taxes. If USCIS does not have the
      capacity to adjudicate the work authorization applications in a timely manner, I suggest they allow applicants to
      apply for their work authorization earlier so that they have additional time to process the applications, but the
      applicant can still receive their work permit within 180 days. Thank you for your consideration.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2407
      Comment Submitted by Brittany Brown



                                                  Submitter Information
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        Brooklyn, NY, 11238
      Email: brittanysbrown@gmail.com
      Phone: 9175447920


                                                      General Comment
      It would be a grave mistake for USCIS to remove the 30-day processing provision. As an immigration attorney, I
      know that asylum seekers often must wait months or years for their applications to be adjudicated. In order to
      support themselves and their families, they must be able to lawfully work. In addition to being the morally
      correct thing to do, this work also generates tax dollars and improves the economy.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2408
      Comment Submitted by Christopher Strawn on Behalf of the Plaintiffs' Litigation Team in Rosario v. U.S.
      Citizenship & Immigration Servs., No. 2:15-cv-00813



                                                  Submitter Information
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        NWIRP, 615 2nd Ave.
        Suite 400
        Seattle, WA, 98104
      Email: chris@nwirp.org
      Phone: 206-957-8628


                                                      General Comment
      Please find the attached comment submitted on behalf of the Plaintiffs' litigation team in Rosario v. U.S.
      Citizenship & Immigration Servs., No. 2:15-cv-00813.



                                                            Attachments
      Comment with attachments




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November 8, 2019

Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services
Department of Homeland Security
20 Massachusetts Avenue NW
Mailstop #2140
Washington, D.C. 20529-2140

RE:    Opposition to Removal of 30-Day Processing Provision of Asylum Application-Related
       Form I-765 Employment Authorization Applications, 84 Fed. Reg. 47148 (Sept. 9, 2019)
       DHS Docket No. USCIS-2018-0001

Dear Ms. Deshommes:

Counsel in Rosario v. U.S. Citizenship & Immigration Servs., No. 2:15-cv-00813 (W.D. Wash.),
write in response to DHS Docket No. USCIS-2018-0001, the Department of Homeland
Security’s Notice of Proposed Rulemaking on Removal of 30-Day Processing Provision for
Asylum Applicant-Related Form I-765 Employment Authorization Applications (Sept. 9, 2019)
(hereinafter, “Proposed Rule”).

The Proposed Rule will have immediate and harmful effects on asylum seekers and their families
as well as the U.S. economy. The Proposed Rule - by delaying adjudication and completion of
background checks – would serve only to exacerbate any fraud or national security concerns
cited as justification by the Department of Homeland Security (“DHS”) U.S. Citizenship and
Immigration Services (“USCIS”).

Counsel represent a certified nationwide class of asylum applicants seeking initial employment
authorization documents (“EADs”) pursuant to 8 C.F.R. § 208.7(a)(1). Rosario v. U.S.
Citizenship & Immigration Servs., No. 2:15-cv-00813, 2017 WL 3034447 (W.D. Wash. July 17
18, 2017). Faced with lengthy agency delays in adjudicating initial asylum EAD applications, on
May 22, 2015, Plaintiffs filed a class action lawsuit seeking to compel U.S. Citizenship and




                                                                                 AR004901
Immigration Services (“USCIS”) to comply with the 30-day regulatory deadline to adjudicate
EAD applications. Plaintiffs sought relief in federal court because they were suffering significant
harm as a result of the agency’s delay. Despite their eligibility for an EAD, Plaintiffs A.A. and
Machic Yac were each forced to rely on family and friends for financial support because they
were unable to obtain employment. Without evidence of lawful status, Plaintiff Machic Yac was
unable to obtain a driver’s license and Plaintiff W.H. was unable to renew his driver’s license.
The harms suffered by the named Plaintiffs were a consequence of USCIS’s failure to timely
issue initial asylum EADs and are indicative of the harms suffered by members of the class.
Attorney Declarations, Rosario v. U.S. Citizenship & Immigration Servs., No. 2:15-cv-00813
(W.D. Wash. Mar. 11, 2016), ECF Nos. 59-3, 59-13.

To remedy these harms and ensure that USCIS complies with the law, on July 26, 2018, the
District Court enjoined USCIS from further failing to adhere to the 30-day deadline for
adjudicating initial asylum EAD applications. Rosario v. U.S. Citizenship & Immigration Servs.,
365 F. Supp. 3d 1156, 1163 (W.D. Wash. 2018). Following the District Court’s July 2018 order,
USCIS’s compliance rate has steadily risen from 81.7% in July 2018, to 91.7% in October 2018,
96.3% in December 2018, and 99% in May 2019. Thus, notwithstanding the agency’s repeated
claims that it could not comply with the 30-day deadline, Rosario class members are no longer
unable to financially support themselves or their loved ones because of delays in adjudicating
their EAD applications.

Through the Proposed Rule, DHS now seeks to undo the success of the Rosario litigation
without good cause. In support of the Proposed Rule, DHS repeats and relies on the exact
argument rejected by the District Court in Rosario—that USCIS cannot adjudicate EAD
applications in 30 days or less without undue strain on agency resources. See Rosario, 365 F.
Supp. 3d at 1163 n.6. Yet again, just as before the District Court, DHS fails to provide adequate
support for this assertion. In short, DHS has not shown that the Proposed Rule is necessary to
agency functioning.

The harm that would be caused by the Proposed Rule, in contrast, is supported by the record in
Rosario and the Proposed Rule itself. The Proposed Rule will cause significant and long-lasting
negative effects on the ability of Rosario class members to support themselves and their loved
ones while they are waiting for their asylum claims to be heard.

The Proposed Rule is not in the economic interest of the United States which benefits greatly
from the contributions of refugees and asylum seekers. It compounds the impact of the already
lengthy 180-day waiting period before asylum seekers are eligible for employment authorization,
and is unnecessary given that DHS has shown itself capable of near complete compliance with
the 30-day adjudication requirement.

Further, DHS’s argument that the Proposed Rule is due, in part, to fraud or national security
concerns contradicts the manner in which it desires to process future EAD applications. DHS
should want to expedite EAD determinations and quickly vet applications, as it currently does,
to detect and investigate any fraud-related concerns, rather than create extensive delays.




                                                                                     AR004902
The Current System Works for 99% of Applicants

The Proposed Rule is a misguided and extreme response to the District Court’s ruling in Rosario.
Since the District Court’s Order took effect, USCIS has demonstrated that it is able to comply
with the existing regulation’s deadline. USCIS reports that it is now deciding approximately 99%
of EAD applications within the 30-day processing timeline, demonstrating that USCIS is
generally able to address fraud and security concerns within the current timeframe and process.

USCIS explains that it seeks to eliminate the 30-day processing deadline because the regulatory
deadline does “not provide sufficient flexibility” to address (1) the “increased volume of
affirmative asylum applications and accompanying Applications for Employment
Authorization”; (2) “changes in intake and EAD document production” over the last two
decades; and (3) “the need to appropriately vet applicants for fraud and national security
concerns.” 84 Fed. Reg. at 47155. Notably, the changes identified by USCIS in intake and
document production have been in place for more than a decade and a half—these changes began
in 1997 and were fully implemented by 2006. 84 Fed. Reg. at 47154 and n.17. The additional
fraud and national security vetting cited by the government were implemented after September
11, 2001, with the creation of the Office of Fraud Detection and National Security (FDNS) in
2004. 84 Fed. Reg. at 47154-55. Despite the existence of these production and vetting changes,
and the increase in affirmative asylum applications, USCIS has complied for more than a year
with the Rosario Court’s order requiring it to process initial asylum EAD applications in 30
days.

Furthermore, USCIS’s regulations already provide the flexibility to adequately vet each EAD
application within the mandatory timeframe. See 8 C.F.R. § 103.2(b)(10)(i). The EAD
application, USCIS Form I-765, collects information necessary to determine eligibility. If the
EAD application is missing required evidence, however, the 30-day clock does not begin to run
until the applicant provides the evidence. 8 C.F.R. § 103.2(b)(10)(i). In addition, if USCIS
requires additional information, the 30-day clock stops running at the time of any request for
additional evidence and only resumes once the agency receives the requested evidence. Id. The
30-day deadline, in combination with regulations governing the processing of applications, is
sufficiently flexible to permit the agency to obtain the information it needs and make the two
discrete eligibility determinations necessary to properly adjudicate EAD applications. See
8 C.F.R. § 103.2(b)(10)(i); 8 C.F.R. § 208.7(a)(1).

As such, the Proposed Rule does not provide sufficient justification for abandoning the current,
functional process and replacing it with one that permits indefinite delay and only serves to harm
asylum seekers, their families, and the community.

Harm to Asylum Seekers

Asylum seekers generally are individuals who flee to the United States for protection after
having suffered grave harm, including torture and sexual violence, on account of a statutory
protected ground. 8 U.S.C. § 1158. In many cases, asylum seekers are forced to flee their country
of origin with few possessions and little support or financial resources. The Proposed Rule will
undermine the ability of asylum seekers, including members of the Rosario Class, to sustain




                                                                                    AR004903
themselves and their families. Without the 30-day adjudication deadline, asylum seekers face
significant, indefinite delay on their applications. Outside of the initial asylum EAD context, to
illustrate, USCIS reports that EADs may be delayed nearly six months. USCIS, Automatic
Employment Authorization Extension, https://www.uscis.gov/working-united-states/automatic-
employment-authorization-document-ead-extension (last visited Nov. 2, 2019). USCIS reports
that the National Benefits Center is taking up to 11 months to process some EADs.
https://egov.uscis.gov/processing-times (last visited Nov. 8, 2019).

Without EADs, asylum seekers would lose wages and benefits as a result of delayed entry into
the U.S. labor force, straining their ability to support themselves and their families. USCIS
admits that lost compensation to asylum applicants ranges from $255.88 million to $774.76
million in taxable income per year. 84 Fed. Reg. at 47163-64. The loss of income to asylum-
seekers will cause an outsized amount of harm to this already-vulnerable community A lack of
income means not being able to afford food, housing, medical treatment, health insurance,
banking services, or legal representation. Legal representation is necessary even in the strongest
of cases. Vulnerable asylum seekers – many who do not speak English – may not able to
successfully navigate the complicated immigration bureaucracy alone, even if their applications
merit approval. Furthermore, individuals will be unable to secure valid identification, leaving
them unable to obtain many social services and increasingly vulnerable to exploitation,
trafficking, and underground economic risks.

Lost Tax Revenue for the Government and Increased Strain on Community Resources.

USCIS estimates that all levels of government will lose tax revenue as a result of the proposed
rule change. 84 Fed. Reg. at 47152-53. USCIS projects a loss of $39.15 million to $118.54
million per year because delayed work authorization will prevent asylum seekers and their
employers from contributing to Medicare and Social Security. 84 Fed. Reg. at 47157-58.

The Proposed Rule would burden and stretch the capacity of charities and non-profit service
providers: if asylum-seekers are unable to obtain an EAD in a timely manner, they would be
forced to rely on other forms of support, including organizations that provide financial, housing,
medical, legal, or other forms of assistance.

This is far too high a cost to be justified in the name of purported agency “flexibility.”

The Proposed Rule Underestimates the Economic Harm

The cost of the Proposed Rule is certain to be higher than USCIS estimates. First, USCIS’s
estimated cost assumes that average EAD processing times would increase only by about 30 days
if the deadline were eliminated, reflecting average timelines of Fiscal Year (“FY”) 2017.
However, initial asylum EAD applications have grown significantly, year after year, and since
FY2017. Also, EAD processing time for other applicants has ballooned to over six months or
more. If this Proposed Rule is enacted, asylum seekers will likely see delays well beyond the 60
days estimated by USCIS, and the costs therefore will be significantly higher than estimated.




                                                                                       AR004904
Secondly, USCIS suggests that lost tax revenue might be replaced by other workers, assuming
that others would be hired in place of asylum seekers. However, with unemployment at a historic
low of about 3.5% this assumption is questionable. It is possible, if not probable, that employers
may simply not hire for these positions.

Finally, USCIS’s analysis appears to consider only employment taxes, ignoring income taxes at
the federal, state and local levels. By ignoring significant tax revenue loss at the local, state, and
federal level, USCIS significantly underestimates the tax loss the Proposed Rule would cause.

Based on incorrect assumptions and incomplete analysis, USCIS has significantly
underestimated the negative economic impact of this Proposed Rule.

Increased Delay Contrary to National Security Interests

USCIS’s expressed concern about fraud and national security should favor prompt decisions on
EADs, rather than endlessly delayed resolution that will be the result if the proposed regulation is
finalized. In the notice, USCIS makes frequent reference to a rise in national security threats as a
reason to spend more time and resources on each decision, but fails to address the fact that it is
able to commence these fraud/national security checks as soon as the asylum application is filed,
150 days before the application for work authorization can be filed. See 84 Fed. Reg. at 47150,
47153, 47154-55. In addition, USCIS has reported that it has been able to decide over 99% of
EADs within the 30-day timeframe for over the past year. Rosario v. U.S. Citizenship &
Immigration Servs., No. 2:15-cv-00813 (Dkt. No. 146). Therefore, USCIS has proven its ability
to adequately vet and adjudicate the requests in a timely fashion. Moreover, in urging that more
time and resources are needed to ensure that fraud is not perpetrated, USCIS ignores its own
belief that permitting cases to linger and create a backlog undermines national security and the
integrity of the system. USCIS, USCIS To Take Action to Address Asylum Backlog (Jan. 31,
2018), https://www.uscis.gov/news/news-releases/uscis-take-action-address-asylum-backlog
(last visited Nov. 2, 2019). The agency already has sufficient time to complete any background
checks because it can initiate these checks upon the filing of the asylum application five months
before the application for work authorization is filed. Were consistency and thorough processing
an actual priority for USCIS, it would utilize a procedure that more efficiently decides EAD
application, as opposed to one that enables endless delay that is not justified by individualized
facts.

Proposed Alternatives

Current law mandates that asylum seekers wait 180 days before USCIS may grant their
applications for employment authorization. By regulation, asylum seekers cannot submit an
initial EAD application until 150 days have lapsed since the filing of their asylum application.
8 C.F.R. § 208.7(a)(1). If USCIS’s goal is to gain additional time to process each request so that
it may increase flexibility and free up resources to work on other applications, then it could
instead propose a change to the regulation that would permit asylum applicants to submit their
EAD applications earlier. For example, if USCIS seeks 60 days to adjudicate EAD applications,
then it should allow applications to be submitted after 120 days, rather than 150.




                                                                                        AR004905
In addition, USCIS could immediately begin the necessary background checks for EADs on
receipt of the asylum application. USCIS already begins background checks soon after an asylum
application is filed. If any separate or additional background checks are delayed until an EAD is
filed, then USCIS could initiate such checks on the filing of the asylum application. USCIS can
and should immediately start the requisite background checks on receipt of the asylum
application, thereby relaxing the impact of the 30-day deadline for EAD adjudication.

USCIS significantly underestimates the economic cost of the Proposed Rule. The Proposed Rule
relies on incorrect assumptions as to how quickly USCIS would adjudicate initial asylum EADs
without a deadline, fails to consider the impact of low unemployment, and ignores the impact on
federal, state, and local tax income tax revenue. USCIS should revise its economic analysis so
that it is accurate and enables a full and fair consideration of the true economic cost of the
Proposed Rule.

                                         * * * * *

For the aforementioned reasons, DHS should not implement the Proposed Rule, and USCIS
should continue to adjudicate initial asylum EAD applications in accordance with the Rosario
Court’s order. Please do not hesitate to contact us if you have questions regarding our comments.
Thank you for your consideration.

Respectfully submitted,

/s/ Christopher Strawn
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                                                                                   AR004906
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                     EXHIBIT A




                                                           AR004907
                 Case 2:15-cv-00813-JLR Document 146-1 Filed 08/06/19 Page 2 of 4



                                   United States Citizenship and Immigration Services (USCIS)
                                       I-765 - Application for Employment Authorization
                                            Eligibility Category: C08, Pending Asylum
                                            Initial Permission to Accept Employment
                                            Completions by Processing Time Buckets
                                               FY15 - FY19 (Through June 30, 2019)
                                              Aggregated by Fiscal Year and Month
                                                 Processing Times                                    Compliance Percentage
 Fiscal Year   Month                                                                             % Completed     % Completed
                       0-30 Days 31-60 Days 61-90 Days 91-120 Days 121+ days Grand Total
                                                                                                 within 30 Days within 60 Days
       2015 OCT           2,323       2,538       1,071           230          35        6,197            37.5%          78.4%
            NOV           1,583       2,727         921           132          35        5,398            29.3%          79.8%
            DEC           1,331       2,746         941           157          79        5,254            25.3%          77.6%
            JAN           1,188       2,993       1,765           316          39        6,301            18.9%          66.4%
            FEB           1,827       1,677       1,532           598         110        5,744            31.8%          61.0%
            MAR           1,478       3,461       2,743         1,167         166        9,015            16.4%          54.8%
            APR           1,205       6,131       3,136           896         190       11,558            10.4%          63.5%
            MAY           2,539       6,907       1,120           251         115       10,932            23.2%          86.4%
            JUN           3,873       4,083       1,083           265          91        9,395            41.2%          84.7%
            JUL           3,428       3,633       1,636           252          71        9,020            38.0%          78.3%
            AUG           3,322       4,378       1,958           448          82       10,188            32.6%          75.6%
            SEP           2,730       5,179       1,387           254          69        9,619            28.4%          82.2%
2015 Total               26,827      46,453      19,293         4,966       1,082       98,621            27.2%          74.3%
       2016 OCT           2,896       3,917       1,250           244          96        8,403            34.5%          81.1%
            NOV           2,763       4,729       2,001           465          98       10,056            27.5%          74.5%
            DEC           2,497       3,161       2,626           438         147        8,869            28.2%          63.8%
            JAN           2,281       6,043       3,370           550         107       12,351            18.5%          67.4%
            FEB           5,483       3,780       3,063         2,071          97       14,494            37.8%          63.9%
            MAR           5,715       2,333       3,466           905         213       12,632            45.2%          63.7%
            APR           4,588       3,054       2,538           320         112       10,612            43.2%          72.0%
            MAY           4,392       2,709       1,262         3,376          80       11,819            37.2%          60.1%
            JUN           5,436       4,038       1,686         4,707         338       16,205            33.5%          58.5%
            JUL           6,932       1,882       4,928         4,684         612       19,038            36.4%          46.3%
            AUG           8,478       6,600       6,159           902         382       22,521            37.6%          67.0%
            SEP           9,001       9,268         988           282         169       19,708            45.7%          92.7%
2016 Total               60,462      51,514      33,337        18,944       2,451      166,708            36.3%          67.2%
       2017 OCT           7,567       6,273         579           108          84       14,611            51.8%          94.7%
            NOV           7,781       8,823         728           111          72       17,515            44.4%          94.8%
            DEC           9,895       7,840         545            53          41       18,374            53.9%          96.5%
            JAN           9,592       8,987         671            95          63       19,408            49.4%          95.7%
            FEB          15,107       4,214         566            99          48       20,034            75.4%          96.4%
            MAR          13,735       4,875         530           144          74       19,358            71.0%          96.1%
            APR           8,027       7,336         717           113          72       16,265            49.4%          94.5%
            MAY          12,193       5,190       2,273           156          90       19,902            61.3%          87.3%
            JUN          12,864       1,884       5,048           340          99       20,235            63.6%          72.9%
            JUL          11,404       1,742       4,221         1,340         155       18,862            60.5%          69.7%
            AUG          12,130       5,294       9,219         5,685       1,341       33,669            36.0%          51.8%
            SEP          13,900      14,737       5,076         2,618         843       37,174            37.4%          77.0%
2017 Total              134,195      77,195      30,173        10,862       2,982      255,407            52.5%          82.8%
       2018 OCT          12,021       9,710       1,428           535         336       24,030            50.0%          90.4%
            NOV          17,031       6,092         474           119         171       23,887            71.3%          96.8%
            DEC          18,145       5,920         372           132         204       24,773            73.2%          97.1%
            JAN          18,305       4,787         341            73         167       23,673            77.3%          97.5%
            FEB          17,697       2,516         219           124         193       20,749            85.3%          97.4%
            MAR          22,077       2,308         121            56          90       24,652            89.6%          98.9%

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                  APR             20,176            2,790             123                39              49           23,177           87.1%   99.1%
                  MAY             24,595            3,115             156                33              48           27,947           88.0%   99.2%
                  JUN             18,622            2,629             141                45              53           21,490           86.7%   98.9%
                  JUL             17,375            3,625             167                49              60           21,276           81.7%   98.7%
                  AUG             19,859            2,376             247                77              87           22,646           87.7%   98.2%
                  SEP             15,425            1,673             106                48              82           17,334           89.0%   98.6%
2018 Total                       221,328           47,541           3,895             1,330           1,540          275,634           80.3%   97.5%
                  OCT             17,192            1,392             114                47              86           18,831           91.3%   98.7%
                  NOV             13,512            1,297              77                37              55           14,978           90.2%   98.9%
                  DEC             15,802              452              81                26              51           16,412           96.3%   99.0%
                  JAN             17,892            1,001             257               159              60           19,369           92.4%   97.5%
                  FEB             16,478              190              28                34              32           16,762           98.3%   99.4%
                  MAR             17,923              129              17                37              21           18,127           98.9%   99.6%
                  APR             19,043              112              18                30              15           19,218           99.1%   99.7%
                  MAY             18,588              109              25                27              27           18,776           99.0%   99.6%
                  JUN             17,924              114              11                27              20           18,096           99.0%   99.7%
2019 Total                       154,354            4,796             628               424             367          160,569           96.1%   99.1%
                                 597,166          227,499          87,326            36,526           8,422          956,939           62.4%   86.2%

1) The report reflects the most up-to-date data available at the time the database is queried.
2) The data reflect the initial decision only. Subsequent decisions are excluded.
3) Processing time is represented by the elapsed number of days between receipt date to initial decision date.
4) Applications with a request for initial evidence will reset their processing time to 0 upon receiving the evidence.
5) Applications with a request for additional evidence will have the processing time paused and resumed upon receiving the evidence.


Database Queried: July 3, 2019
Report Created: July 3, 2019
System: C3 Consolidated
Office of Performance and Quality (OPQ), Performance Analysis and External Reporting (PAER), SN


Parameters
Form(s): I-765
Class Preference(s): C08
Initial RFE Codes: FBA, FBC
Additional RFE Codes : FBB
RFE Received Codes: HA
Time Period(s): October 1, 2014 - June 30, 2019
Data Type(s): Processing Time




                                                                                                                                       AR004909
                        Case 2:15-cv-00813-JLR Document 146-1 Filed 08/06/19 Page 4 of 4



                                        United States Citizenship and Immigration Services (USCIS)
                                            I-765 - Application for Employment Authorization
                                                 Eligibility Category: C08, Pending Asylum
                                                 Initial Permission to Accept Employment
                                                    Pending by Processing Time Buckets
                                                    FY15 - FY19 (Through June 30, 2019)
                                                 Processing Times                                                          Compliance Percentage
Data Type                                                                                                                % Pending      % Pending
                 0-30 Days 31-60 Days 61-90 Days 91-120 Days 121+ days Grand Total
                                                                                                                         0- 30 Days      0- 60 Days
Pending              6,649                 5                0                 5              2            6,661                 99.8%           99.9%

1) The report reflects the most up-to-date data available at the time the database is queried.
2) Reopened applications are excluded from this report.
3) Processing time is represented by the elapsed number of days between receipt date to the report date.
4) Applications with a request for initial evidence will reset their processing time to 0 upon receiving the evidence.
5) Applications with a request for additional evidence will have the processing time paused and resumed upon receiving the evidence.


Database Queried: July 3, 2019
Report Created: July 3, 2019
System: C3 Consolidated
Office of Performance and Quality (OPQ), Performance Analysis and External Reporting (PAER), SN


Parameters
Form(s): I-765
Class Preference(s): C08
Initial RFE Codes: FBA, FBC
Additional RFE Codes : FBB
RFE Received Codes: HA
Time Period(s): June 30, 2019
Data Type(s): Processing Time




                                                                                                                                          AR004910
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                                                         AR004911
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                                                         AR004912
Case 2:15-cv-00813-JLR Document 59-13 Filed 03/11/16 Page 1 of 2




                                                           AR004913
Case 2:15-cv-00813-JLR Document 59-13 Filed 03/11/16 Page 2 of 2




                                                           AR004914
                                                                                            As of: September 15, 2020
                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d77-juxw
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2409
      Comment Submitted by Anne Marie Wolf



                                                  Submitter Information
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                                                      General Comment
      I do some volunteer work related to this humanitarian crisis that is unfolding at our southern border right now,
      and I don't think most people out there understand the realities. They have been brainwashed into thinking that
      these people who are trying to come here and build a life are somehow threatening to us. They are NOT. I have
      met the most wonderful, warm, resilient, gracious, loving, grateful people who are fleeing unimaginable horrors.
      They are go-getters and hard workers. They want to work, to provide for themselves and their families, to not be
      a burden on anyone. It serves NO PURPOSE to make it harder for them to do this, and it is yet another way this
      administration has contrived to be as cruel as possible to vulnerable, traumatized people.

      Quite apart from the cruelty that such a rule would bring, even those unmoved by any compassion should
      consider that there are many businesses across the United States that cannot find enough workers. I live in
      Maine, and we have a regular and ongoing problem here with not having enough workers to staff businesses
      related to our seasonal tourist industry. There are hotels and restaurants that had to close or cut back hours early
      this year because when the school year started, they couldn't staff their businesses effectively.

      Absolutely no good would be achieved by making it even harder for these people who are coming here to flee
      violence, drugs, and persecution to work. The only people who would gain by this would be the white
      supremacists, who could then feel gleeful at how harsh they'd been. But decent, sane people will not support this.




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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d77-uz9g
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2410
      Comment Submitted by Judith Clemens



                                                  Submitter Information
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      Email: judith.clemens@sndden.org


                                                      General Comment
      As someone who accompanied an asylum petitioner through his entire process and was able to give credible
      evidence before an immigration judge I know the traumatic cost of arrival in the US. Today this man and his
      family are productive citizens of this country and add to tax revenue the country needs. Had he not been granted
      asylum he would have had no income, no way to support his family and be forced to seek public services and
      benefits to survive. I know there are humanitarian ways to process asylum petitions and meet the needs of those
      who have already suffered persecution and death threats in their home countries. I support any way we, as a
      country, can fulfill our promise to welcome the tired and weary of our world.




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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d77-8d4t
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2411
      Comment Submitted by Pat Moore-Pickett



                                                  Submitter Information
      Name: Pat Moore-Pickett
      Address:
        2792 Briscoe Ct
        Woodland, CA, 95776


                                                      General Comment
      Asylum seekers should be able to apply for work without further delay. They already must wait 180 days.
      Further delay, without cause, places undue burdens on people who have already suffered enormous hardship to
      reach this country and qualify for asylum. Forcing these people to continue to be unable to work also places
      economic burden on communities they are in. Further delay violates due process. Please maintain the current
      schedule and deadlines.




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                                                                                            Received: November 08, 2019
       PUBLIC SUBMISSION                                                                    Status: Posted
                                                                                            Posted: November 12, 2019
                                                                                            Tracking No. 1k3-9d77-g0g1
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2412
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I disagree with this law change. Asylum seekers should be allowed to work as soon as possible. This law change
      is abhorrent, racist, and designed only to hurt immigrants.




                                                                                                               AR004918
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2413
      Comment Submitted by Hannah Lieberman



                                                  Submitter Information
      Name: Hannah Lieberman


                                                      General Comment
      People should be able to work as they fight for their asylum case. They are devoted, incredible people who have
      every right to work in this country. Let them have their work authorization and allow them to contribute and
      support themselves!




                                                                                                               AR004919
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2414
      Comment Submitted by Jennifer Chang



                                                  Submitter Information
      Name: Jennifer Chang


                                                      General Comment
      Allowing asylees to bring their cases for asylum is not a risk to our borders, but is rather a humanitarian
      imperative and fundamental to the core values of our country. These applicants should be allowed to financially
      support themselves while their cases are pending, the alternative would put more burden on our system. Giving
      them timely access to work authorization allows the government to collect more taxes and USCIS has been able
      to adjudicate these applications within the required 30 days. It takes pressure off of the immigrants, the
      community and adds money to the government-- this is a win win. This is part of the government's systematic
      attempt to deter a legal path of immigration.




                                                                                                               AR004920
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2415
      Comment Submitted by Molly Verhey



                                                  Submitter Information
      Name: Molly Verhey
      Address:
        1801 N B St.
        Ellensburg, WA, 98926
      Email: Mollyverhey@gmail.com


                                                      General Comment
      My name is Molly, and I am 24 year old Washingtonian. I hold a BA in Environmental Studies and Politics from
      Whitman College. During my time at Whitman, I participated in a field studies seminar that gave me a glimpse
      into to some of the harsh realities faced by immigrants and asylum seekers. I strongly oppose the proposed
      removal of the 30 day processing provision.

      The proposal to remove the 30 day processing provision for asylum applicants employment authorization
      applications is unnecessary and poses serious threats to asylum seekers personal wellbeing and safety. Most
      cases are easily processed within the 30 day period, and there is no evidence of actual need to lift this provision.
      There is already a 150 day stay before asylum seekers can submit requests to work, and if more time is needed, it
      makes much more sense to allow asylum seekers to submit their applications sooner than 150 days, at least
      keeping the overall timeline the same while allowing more time for application processing if that is whats
      required. In fact, if USCIS is concerned about public charges, removing the 30 day provision is likely to increase
      the number of people reliant on services to survive by limiting wages that could be earned by asylum seekers
      already in the U.S. who want to work and contribute to the economy. This would actually result in a loss of tax
      revenue for government programs like social security and Medicare. The (lack of) logic here is nonsensical, and
      reinforces an apparent systematic push to discourage often desperate people from exercising their right to seek
      asylum in the U.S.

      Not being able to work means potentially not being able to afford food, medical services/insurance,
      transportation, legal services, housing, and other social services that can help asylum seekers in their transition to
      U.S. life. This increases the chances that asylum seekers may be forced to experience homelessness or housing
      insecurity, be exploited, preyed upon by traffickers and underground economies, and experience detrimental
                                                                                                               AR004921
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      affects to their mental and physical health when they are already vulnerable. These things, in turn, may be used
      against them as apparent evidence that asylum seekers dont contribute or are burdens, when the system has given
      them no other option. USCIS must be able to be held accountable to a predictable timeline because there is so
      much at risk for asylum seekers.

      During the field studies program, I spoke to someone held in immigration detention who was seeking asylum in
      the U.S. because she was experiencing increasing threats on her life. She told me of the visceral fear she had
      experienced every day in her home country as a result of state-sanctioned violence that sought to extort her and
      her family for money. She told me that she missed her home and had not wanted to leave, but the uncertain and
      dangerous journey to the U.S. was better than certain death if she remained, increasingly unable to comply with
      demands for money by those targeting her and her family. Upon arrival, she was not greeted as a human being
      fleeing violence and extortion, but rather thrown into a convoluted and contradictory immigration system that
      dehumanized her.

      Removing the 30 day provision would further erode the already limited humanity extended to asylum seekers by
      causing real harm to individuals and families. It is imperative that USCIS remember there are lives and
      livelihoods at stake in its proceedings.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2416
      Comment Submitted by Alexus Sham



                                                  Submitter Information
      Name: Alexus Sham
      Address:
        1531 HEARTWOOD DR
        CONROE, 77384-1419
      Email: apsham38@gmail.com
      Phone: 9174989009


                                                      General Comment
      Please maintain the 30 day processing provision for asylum applicant because in many cases the work permit
      allows the applicant to provide for his/her family and be a productive member in our society. It is important that
      these applications be expedited in order to allow asylum applicants the knowledge that there will not be a gap
      where they will not be allowed to work. I urge USCIS to keep in place the 30 day processing provision.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2417
      Comment Submitted by Maureen Sweeney, Immigration Clinic at the University of Maryland Carey School of
      Law



                                                  Submitter Information
      Name: Maureen Sweeney


                                                      General Comment
      My name is Maureen Sweeney and I direct the Immigration Clinic at the University of Maryland Carey School
      of Law. I have worked with asylum seekers for over 30 years.

      The 30-day processing requirement for asylum seekers is vitally important for the integrity of our humanitarian
      protection system. People already have to wait nearly 6 months before they can apply for work authorization, and
      they and their families are often destitute in the meantime. This harms adults and children alike, and is an
      unconscionable stressor on traumatized people who are seeking protection that our immigration laws offer them.

      Delaying the processing of work authorizations makes these vulnerable people more vulnerable still. The
      government should keep - and keep complying with - the 30-day limit.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2418
      Comment Submitted by John Katonah, Yolo Interfaith Immigration Network



                                                  Submitter Information
      Name: John Katonah
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        1512 Midway Drive
        Woodland, CA, 95695
      Email: Jckatonah@icloud.com
      Phone: 530-668-7944
      Organization: Yolo Interfaith Immigration Network


                                                      General Comment
      Asylum seekers should be allowed to work - I am completely against this inhuman proposal.

      John Grindler Katonah




                                                                                                               AR004925
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2419
      Comment Submitted by Bernice Funk



                                                  Submitter Information
      Name: Bernice Funk


                                                      General Comment

      I am writing to oppose the Administration's proposal to remove the 30-day rule for processing asylum seekers
      Form I-765 for employment authorization.

      I am an immigration lawyer working in asylum law in the last 35 years, representing noncitizens from all over
      the world who have fled their country of nationality to save their life and lives of their family members. Persons
      who have fled horror in their home country need the right to work lawfully, and there is already a wait, and a
      long wait in many cases while asylum applicants struggle to present their best arguments to a now-hostile
      bureaucracy. It is inhumane to not allow persons who have fled past and future persecution, the right to work. It's
      demonstrated that hard-working immigrants of all descriptions contribute to make America strong.

      It is critically important that asylum applicants, like refugees, have the right to work when they are new in the
      country, primarily for supporting themselves and their family, and contributing to the public common good as
      taxpayers.
      Thank you for your attention to my views.
      Bernice Funk, J.D.
      WA State Bar Assn #14349




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2420
      Comment Submitted by Gabriele Eissner, St. Francis Community Services



                                                  Submitter Information
      Name: Gabriele Eissner
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        4222 Delor St.
        St. Louis, MO, 63116
      Email: geissner@ccstl.org
      Phone: 920-627-5996
      Submitter's Representative: Gabriele Eissner
      Organization: St. Francis Community Services


                                                      General Comment
      As an agency that offers bilingual mental health counseling, we worry about the mental health consequences of
      this regulation. There is clear evidence that not being able to work has a negative impact on mental health. By
      removing the ability to gain meaningful employment within a short and predictable time frame, asylum seekers
      will experience increased feelings of fear, desperation, and other mental health consequences. Article 23 of the
      Universal Declaration of Human Rights establishes that everyone has the right to work. This right must be
      upheld in order to uphold human dignity.

      This regulation will also leave asylum seekers without the ability to provide for their families. According to the
      USCIS, asylum seekers would lose wages and benefits of up to $774.76 million in taxable income per year as a
      result of delayed entry into the U.S. labor force. This loss of income will exacerbate harm to an already-
      vulnerable community. Asylum seekers could experience food insecurity, housing insecurity, and insufficient
      healthcare as a result of delays in their work authorization approval. Those that are fleeing persecution in their
      home countries should not have to face further instability in the United States. Instead, they should be given the
      opportunity to provide for themselves and their families.

      Currently, asylum seekers have to wait 150 days before submitting their work authorization application. The
      USCIS has a 30 day time frame to process any requests. If the USCIS needs more time to process each request,
      then it should shorten the waiting time before asylum seekers are allowed to submit their application rather than
      removing the deadline altogether. If a 60 day time frame would offer flexibility and free up resources, then
                                                                                                               AR004927
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      asylum seekers should be able to submit applications after 120 days. Allowing asylum-seekers to submit their
      applications earlier would give the USCIS more time to process and properly vet each individual while reducing
      the risk of harm to asylum seekers.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2421
      Comment Submitted by Matthew Corso



                                                  Submitter Information
      Name: Matthew Corso
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        60625
      Email: mcorso77@gmail.com


                                                      General Comment
      As a volunteer who has worked directly with LGBTQ asylum seekers coming from countries that are hostile to
      their ability to live as human beings, I am writing to express my concern for this proposed rule change. The
      ability for asylum seekers to receive an Employment Authorization Document (EAD) in a timely manner, while
      they are waiting for their asylum case to be adjudicated, is crucial for their well-being and survival. As there is
      no government support for asylum seekers, they often rely on the kindness of strangers and local community
      organizations that try to help make a difference. These individuals have in many cases fled their home countries
      in order to survive, one of the most basic human instincts. They often arrive here with just the clothes on their
      backs, seeking a safe haven and a better life. To remove the 30-day processing provision would greatly delay
      their ability to receive an EAD, so that they may find temporary work to survive and thrive in their adopted
      country.

      In working with many LGBTQ asylum seekers over a 6 year period from 2012-2018 when I lived in
      Washington, DC, I saw first hand how important this document was. It affords them the ability to support
      themselves, instead of having to rely on handouts from strangers or community groups. It allows them to earn an
      income, pay taxes and give back to the communities they live in and that are supporting them. It also allows them
      to become self-sufficient so they are not relying exclusively on what little local public assistance there may be
      out there. By definition of U.S. immigration law, asylum seekers are not here illegally. They funded their own
      way to get here, seeking refuge from death threats, discrimination, and lack of family or community support in
      their home countries. To change this rule would be a detriment to the thousands of asylum seekers who are
      seeking refuge and a way to meaningfully contribute to their own success and integration into the American way
      of life.

      I strongly urge that this rule not be adopted and USCIS continue to review and provide EAD's within the 30 day
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      window as mandated by law and the courts. I've seen first hand how delays in asylum seekers getting their work
      authorization approval can lead to: inability to buy food and sustain themselves, often requiring them to rely on
      food banks and strangers for support; inability to secure a valid ID - as a work permit and a social security
      number (SSN) are often necessary requirements to applications for a state ID; risk of homelessness or inability to
      secure housing - no one wants to live on the streets or in shelters that are not friendly to LGBTQ people;
      vulnerability to exploitation and trafficking; loss of ability to support themselves; and feelings of fear,
      desperation, and overall mental health concerns.

      Maintaining the 30-day processing provision is in the long-term interests of the country, as many of the LGBTQ
      asylum seekers I've personally worked with wanted nothing more than to be productive, law-abiding citizens of
      this country. They gave up everything, including their friends and what family may have supported them to seek
      a better life. And as a country and within our own communities, we are better for it. They often bring new talent,
      good work ethics, and a real zeal to be productive members of society. They bring their culture to share with us,
      so that we may learn from them as well. The economic, social and cultural benefits far out weigh a short-sighted
      desire to make the asylum process more difficult and hostile, just to keep people from coming to this country. It
      is un-American, and not in keeping with the spirit and principles this country was founded on to harm those who
      are seeking refuge on our shores. All they want is the opportunity to give back and become productive members
      of our society. Please, do not adopt this rule and continue to provide this necessary work authorization in a
      timely manner to ensure those who have the least can provide for themselves.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2422
      Comment Submitted by Amber Qureshi, National Immigration Project of the National Lawyers Guild (NIPNLG)



                                                  Submitter Information
      Name: Amber Qureshi
      Organization: National Immigration Project of the National Lawyers Guild (NIPNLG)


                                                      General Comment
      The National Immigration Project of the National Lawyers Guild (NIPNLG) writes in response to Docket No.
      USCIS-2018-0001, the Department of Homeland Security (DHS) request for comments on Removal of 30- Day
      Processing Provision for Asylum Applicant- Related Form I-765 Employment Authorization Applications.
      NIPNLG strongly opposes this proposed rule and we urge DHS to withdraw the proposed rule immediately.

      Please see attached file for NIPNLG's full comment.



                                                            Attachments
      2019.11.08 NIP EAD Asylum Comment




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C>8<<86A0=C2><<D=8C84B0=303E>20C8=6>=1470;5>5=>=28C8I4=B #4<14AB0=3BD??>AC4AB>5
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A4?A4B4=C0BH;D<B44:4AB8=B834C74+=8C43)C0C4B *74&A>?>B43(D;438A42C;H05542CB>DAF>A:
0=3>DA2;84=CBF7>A4;H>=0224BBC>4<?;>H<4=C0B@D82:;H0B?>BB81;4B>C70CC74H20=BD??>AC
C74<B4;E4B0=3C748A50<8;84B8=B834C74+=8C43)C0C4BF78;4C74H0F08C039D3820C8>=>5C748A
0BH;D<2;08<B 

*74&A>?>B43(D;4A4<>E4BC74A46D;0C>AHA4@D8A4<4=CC70C<?;>H<4=CDC7>A8I0C8>=
>2D<4=C0??;820C8>=B5>A0BH;D<0??;820=CB14039D3820C43F8C78= 30HB>5
BD1<8BB8>=  5C74&A>?>B43(D;46>4B8=C>45542C8=8CB2DAA4=C5>A<8CF8;;34?A8E40BH;D<
B44:4AB>5C74018;8CHC>BD??>ACC74<B4;E4B0=3C748A50<8;84B  =2>=9D=2C8>=F8C7C78B
03<8=8BCA0C8>=NB>C74A0BB0D;CB>=0BH;D<B44:4AB5;448=6?4AB42DC8>=C74&A>?>B43(D;4F>D;3



                                                                                         AR004932
20DB4;0BC8=670A<C>ED;=4A01;4?4>?;4B44:8=6A45D648=C74+=8C43)C0C4B )70B=>CBC0C43
0=H9DBC85801;4A40B>=C>8<?;4<4=C0AD;4270=64C70CF>D;38=2A40B442>=><8270A3B78?B5>A
0BH;D<B44:4AB0=3C748A50<8;84BC744<?;>H4ABC74HF>A:5>A0=3C742><<D=8C84B8=F7827
C74H;8E4 *74A40A42;40A0;C4A=0C8E4A46D;0C>AH270=64BC70C)2>D;38<?;4<4=CF7827F>D;3
1>C7B0C8B5H)NBD=BD??>AC439DBC85820C8>=B0=3?A>E8340BH;D<B44:4ABF8C7C74018;8CHC>
F>A:0BB>>=0B?>BB81;4 

$ &$"BCA>=6;H>??>B4BC74&A>?>B43(D;4 -4DA64)C>F8C73A0FC74&A>?>B43(D;40=3
C>C744GC4=C=424BB0AH8<?;4<4=CC740;C4A=0C8E4F470E4A42><<4=3438=C78B2><<4=C 
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 # ,)*)- /& 1$&&/- -$"($!$(.($,, *,& #,'.)-2&/'- % ,-

  5C74&A>?>B43(D;46>4B8=C>45542C0BBC0C430BH;D<B44:4ABF>D;3;>B4F064B0=314=458CB0B
0A4BD;C>534;0H434=CAH8=C>C74+ ) ;01>A5>A24BCA08=8=6C748A018;8CHC>BD??>ACC74<B4;E4B
0=3C748A50<8;84B H)NB>F=4BC8<0C4B;>BC2><?4=B0C8>=C>0BH;D<0??;820=CBA0=64B5A><
  <8;;8>=C> <8;;8>=8=C0G01;48=2><4?4AH40A 

*74;>BB>58=2><4C>0BH;D<B44:4ABF8;;20DB40=>DCB8I430<>D=C>570A<C>C78B0;A403H
ED;=4A01;42><<D=8CH #0=H>5>DA0BH;D<B44:8=62;84=CB70E45;43C748A2>D=CA84BF8C7;8CC;4C>
=>A4B>DA24B *7>B4F7>0A4<>A45>ACD=0C4>5C4=3>=>C70E44=>D67C>BDAE8E4F78;4C74H
0F08C039D3820C8>=>5C748A0BH;D<2;08<B *74H>5C4=A4;H>=>1C08=8=6B0BB>>=0BC74H0A4
01;4B>C70CC74H20=?0H5>A10B82=424BB8C84BBD270B5>>30=3B74;C4AF7827C74+=8C43)C0C4B
6>E4A=<4=C3>4B=>C?A>E834 

;02:>58=2><4<40=B=>C148=601;4C>055>A35>>37>DB8=6<43820;CA40C<4=C740;C7
8=BDA0=24>A;460;A4?A4B4=C0C8>= E4AH30HC70C?0BB4BF8C7>DC8=2><420=A4BD;C8=;0BC8=6
8AA4?0A01;470A<C>0BH;D<B44:4AB0=3C748A50<8;84B DAC74A<>A48=38E83D0;BF8;;14D=01;4C>
B42DA40E0;83 =443435>A<0=HB>280;B4AE824B0=3148=2A40B8=6;HED;=4A01;4C>
4G?;>8C0C8>=CA05582:8=60=3D=34A6A>D=342>=><82A8B:B *74;02:>5018;8CHC>F>A:0=3
2>AA4;0C8=6;02:>58=2><40;B>E0BC;H8=2A40B4BC74A8B:C70C?4>?;42><8=6C>C74+=8C43)C0C4B
F8;;142><40?D1;82270A64F78272>=5;82CBF8C7C74?A8>A8C84B>5C78B03<8=8BCA0C8>= 

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 )'$( 1$.#).# ,,)($($''$",.$)(*)&$$ -$'*& ' (. 2.# ,/'*
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    !/&&( +/&' ' ,-)!)/,)/(.,2

*74&A>?>B43(D;48B?0AC0=3?0A24;>5C78B03<8=8BCA0C8>=NB455>ACC><0:4C74+=8C43)C0C4B0
7>BC8;434BC8=0C8>=5>A8=38E83D0;B5;448=6?4AB42DC8>=8=C748A2>D=CA84B>5>A868=  =C74?0BCCF>
H40AB0BH;D<B44:4AB70E450243D=?A42434=C43A4BCA82C8>=B>=C748A018;8CHC>4G4A28B4C748AA867C
C>B44:B054CH8=C74+=8C43)C0C4B *746>E4A=<4=C70BB>D67CC>10A0=H>=4F7>4=C4ABC74
                                   
  (  
  D<0=(867CB-0C27L-40=NC4;?.>D4A4 + ) (4CDA=BBH;D<)44:4ABC>#4G82>M!D;H 
     7CC?B FFF 7AF >A6 A4?>AC              F420=C74;?H>D74A4 DBA4CDA=B0BH;D<B44:4AB<4G82> 

  (  ;C7>D67C7458=0;AD;4>= =03<8BB818;8CH>=&D1;8270A64A>D=3B3>4B=>C0??;HC>0BH;44B8C
8BBC8;;8=74A4=C;H8=2>=B8BC4=CF8C7C74&A>?>B43(D;4 



                                                                                           AR004933
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                  
+=8C43)C0C4BF8C7>DC8=B?42C8>=5A><B44:8=60BH;D<?A4E4=CC7>B4F7>70E4CA0=B8C43
C7A>D670C78A32>D=CAH>=C74F0HC>C74+=8C43)C0C4B#4G82>1>A34A5A><0??;H8=65>A
0BH;D<0=35>A243ED;=4A01;40BH;D<B44:4ABC>F08C8=;854C7A40C4=8=62>=38C8>=B8=#4G82>
F78;4C748A20B4B0A4?4=38=68=C74+=8C43)C0C4B 8=0;;HC746>E4A=<4=C70B0==>D=2438CB
8=C4=C8>=BC>270A6405445>A0BH;D<0??;820C8>=B 

*74B4?>;8284B2><18=43F8C7C74&A>?>B43(D;40A4B8<?;HC78B03<8=8BCA0C8>=NBD=;0F5D;
455>ACBC>34C4AC7>B45;448=6?4AB42DC8>=5A><B44:8=6B74;C4A8=C78B2>D=CAH HA4<>E8=6C74
018;8CH>50BH;D<B44:4ABC>608=<40=8=65D;4<?;>H<4=CF8C78=0B7>AC0=3?A4382C01;4
C8<45A0<4C74*AD<?3<8=8BCA0C8>=8B45542C8E4;HCDA=8=60BH;D<B44:4AB8=C>C74E4AH?D1;82
270A64B8CB44:BC>4G2;D34  =BC403>5?A>E838=60BH;D<B44:4ABC74>??>ACD=8CHC><40=8=65D;;H
2>=CA81DC4C>C742>D=CAHC746>E4A=<4=C2>=C8=D4BC>0;84=0C4>C74A8I40=34=30=64AC748A;8E4B
0=32><<D=8C84BC>F7827C74H14;>=6 

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 4-, -)(!),.# ,)*)- /& $-/(, -)(& ,$.,,2*,$$)/-(().
    - )(!.

)NB?A8<0AH9DBC85820C8>=28C435>AC74&A>?>B43(D;48BC70CC74064=2H=443B<>A4C8<40=3
A4B>DA24B>=40270??;820C8>=3428B8>=A454A4=28=60A8B48=D=B?4285843LC7A40CBC>=0C8>=0;
B42DA8CH M*78B9DBC85820C8>=8BB8<?;H8=034@D0C4 

+) )70B0;A403H?A>E4=8CB018;8CHC>034@D0C4;HE4CC74=D<14A>5A4@D4BCB8=0C8<4;H
50B78>= +) )NB>F=30C0B7>FBC70CC74064=2H8B2DAA4=C;H342838=6>E4A?4A24=C>5
0??;820C8>=BF8C78=C74 30HC8<45A0<4 #>A4>E4A8CB0A6D<4=CA460A38=68=2A40B43C7A40CB
B4AE4B>=;HC>?A><?CC74=4435>A0B?44384A?A>24BBC>?A>?4A;H?A>C42C=0C8>=0;B42DA8CHA0C74A
C70=8CBA4@D4BCC>34;0HC74?A>24BB5DAC74A *78B=4435>A0B?44384A?A>24BB8B5DAC74A
2><?>D=3431HC74502CC70CC740??;820=CB0A40BH;D<B44:4AB0;A403HA4B838=68=C74
+=8C43)C0C4B  5E4CC8=6<DBC143>=4C>?A4E4=CB42DA8CHA8B:BC74=70E8=6D=E4CC43?4>?;48=
C74+ ) BD1942C43C>0?>C4=C80;;H8=3458=8C4A4E84F?4A8>3B44<B2>=CA0AHC>C74064=284BNBC0C43
8=C4A4BCB 

                                  

  % (>2:4C$>      %A34A$>   ( $   ;84=B)D1942CC>00A>=
=CAH+=34A4AC08=&A4B834=C80;&A>2;0<0C8>=B&A>243DA4B5>A&A>C42C8>=;08<B
7CC?B FFF 5434A0;A468BC4A 6>E 3>2D<4=CB                   0;84=BBD1942CC>010A>=4=CAHD=34A24AC08=
?A4B834=C80;?A>2;0<0C8>=B?A>243DA4B5>A?A>C42C8>= 

  % (>2:4C$>      %A34A$>  ( $    43 (46  
BH;D<;86818;8CH0=3&A>243DA0;#>385820C8>=B7CC?B FFF 5434A0;A468BC4A 6>E 3>2D<4=CB                
     0BH;D<4;86818;8CH0=3?A>243DA0;<>385820C8>=B 

  L#86A0=C&A>C42C8>=&A>C>2>;BM7CC?B FFF 824 6>E 502CB744CB <86A0=C?A>C42C8>=?A>C>2>;B<?? 

  &A4B834=C80;#4<>A0=3D<5>AC74CC>A=4H4=4A0;0=3)42A4C0AH>5><4;0=3)42DA8CH>=338C8>=0;#40BDA4B
C>=70=24>A34A)42DA8CH0=3(4BC>A4 =C46A8CHC>%DA <<86A0C8>=)HBC4<?A8;  
7CC?B FFF F78C47>DB4 6>E ?A4B834=C80;02C8>=B ?A4B834=C80;<4<>A0=3D<0338C8>=0;<40BDA4B4=70=24
1>A34AB42DA8CHA4BC>A48=C46A8CH8<<86A0C8>=BHBC4< 

  ><?;80=24(4?>AC(>B0A8>"8C860C8>=+) ) K??;820C8>=5>A<?;>H<4=CDC7>A8I0C8>=;86818;8CH
0C46>AH%&4=38=6BH;D< =8C80;&4A<8BB8>=C>224?C<?;>H<4=C><?;4C8>=B1H&A>24BB8=6*8<4
D2:4CB. . *7A>D67!D=4  
7CC?B FFF 0<4A820=8<<86A0C8>=2>D=28; >A6 B8C4B 3450D;C 58;4B ;8C860C8>=/3>2D<4=CB =8A?/E/DB28B/3454=30=CB/9D;H
/ /2><?;80=24/A4?>AC ?35 



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    #     %!  ! '  % &!!&(&!& % &!!&$#($    
                  
     ().# (-/, .#.-2&/'- % ,-).$( '*&)2' (./.#),$3.$)($(.$' &2
       '(( ,(&&)1$.$)(&.$' !),.# " (2.)*,) --**&$.$)(-

;C7>D671H8CB>F=03<8BB8>=B+) )3>4B=>C=4430338C8>=0;C8<4C>?A>24BB>E4A?4A24=C
>50??;820C8>=B0A40B>=01;40;C4A=0C8E44G8BCBC>4=BDA4C74064=2H8B0;;>F430338C8>=0;C8<4
0=38BBD0=24>5BC>0BH;D<B44:4AB8B=>CD=A40B>=01;H34;0H43 

+=34A2DAA4=C;0F0BH;D<B44:4AB<DBCF08C  30HB145>A4C74H<0H146A0=C430DC7>A8I0C8>=
C>F>A: (46D;0C8>=B0;;>F0BH;D<B44:4ABC>BD1<8CC748A0??;820C8>=05C4A  30HB68E8=6
+) )C74 30HC8<45A0<48=@D4BC8>=C>?A>24BBC74A4@D4BCB >F4E4A=>C78=68=C74 $
?A4E4=CB+) )5A><0224?C8=60??;820C8>=B8<<4380C4;H0=32>=3D2C8=6=424BB0AH
B42DA8CH2742:B8<<4380C4;HD?>=A4248E8=60=0BH;D<0??;820C8>= 

  5+) )NB6>0;8BC>70E4<>A4C8<4C>?A>24BB4027A4@D4BCC74=8C2>D;340B8;HB7>AC4=C74
F08C8=6C8<4145>A40BH;D<B44:4AB0A40;;>F43C>BD1<8CC748A0??;820C8>= ;;>F8=60BH;D<
B44:4ABC>BD1<8CC748A0??;820C8>=B40A;84A2>D;30;;>FC7434?0AC<4=CC>70E4D?C>  30HBC>
?A>24BB0=3?A>?4A;HE4C40278=38E83D0;F78;4A43D28=6C74A8B:>570A<C>40270??;820=C 
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                                               

>AC74A40B>=BBC0C438=C78B2><<4=CF4DA64)C>A4B28=3C74&A>?>B43(D;4F7827
A4<>E4BC74 30H039D3820C8>=A4@D8A4<4=C5>AB *>033A4BB0=H>5C74D=BD??>AC43
9DBC85820C8>=B)70BDB435>AC74&A>?>B43(D;4)20=B8<?;H0;;>F0BH;D<B44:4ABC>
BD1<8C0??;820C8>=B2>=2DAA4=C;HF8C7C740BH;D<0??;820C8>=C74A41H68E8=6)C745D;;
    30HBC>?4A5>A<0=H=424BB0AHB42DA8CH2742:B *78BF8;;4=BDA4C70C0BH;D<B44:4AB70E40
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2423
      Comment Submitted by Steve Burns



                                                  Submitter Information
      Name: Steve Burns
      Address:
        2792 Briscoe Ct.
        Woodland, CA, 95776


                                                      General Comment
      Preventing asylum seekers from any employment while they wait for their hearing is counterproductive, and
      there are low level jobs going unfilled in every community. Please decrease the non-working period, not
      increase. Thanks




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2424
      Comment Submitted by Commissioner/CEO RuthAnne Visnauskas, NYS Homes and Community Renewal



                                                  Submitter Information
      Name: Commissioner/CEO RuthAnne Visnauskas
      Organization: NYS Homes and Community Renewal
      Government Agency Type: State
      Government Agency: NYS Homes and Community Renewal


                                                      General Comment
      New York State Homes and Community Renewal (NYSHCR) submits the following comments in response to
      the Notice in the Federal Register (Document ID: USCIS-2018-0001-0001) soliciting comments on the Proposed
      Rule regarding "Removal of the 30-Day Processing Provision for Asylum Applicant-Related Form I-765
      Employment Authorization Applications." NYSHCR is a consolidated leadership platform of associated New
      York State executive agencies and public benefit corporations with the shared mission to build, preserve, and
      protect affordable housing and increase home ownership across New York State.



                                                            Attachments
      NYSHCR Comment to DHS NPRM Signed




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AR004938
Executive Summary

       New York State Homes and Community Renewal (NYSHCR) reviewed the above-
referenced notice (the Proposed Rule), published in the Federal Register on September 9, 2019.1
NYSHCR provides the following comments in opposition to the Proposed Rule.

        NYSHCR is a consolidated leadership platform of associated New York State executive
agencies and public benefit corporations with the shared mission to build, preserve, and protect
affordable housing and increase home ownership across New York State. NYSHCR administers
funding received by New York State from the U.S. Department of Housing and Urban
Development (HUD) through several grant programs, including Section 8. Through these and
other programs, NYSHCR works to fulfill its mission to provide New York State residents with
access to safe and affordable housing.

        The Department of Homeland Security’s (DHS) proposed changes would increase the
amount of time that asylum applicants must wait to receive an Employment Authorization
Document (EAD). The Proposed Rule, if implemented, would make it far more difficult for
asylum applicants to earn income while awaiting a decision on their asylum application. The
inability to earn income will, in turn, place many New York State asylum seekers at increased
risk of homelessness. Housing instability of this sort, particularly in childhood, can cause
lifelong adverse consequences on an individual’s physical, psychological, and economic well-
being. For these reasons, we urge that the Proposed Rule be withdrawn.

The Proposed Rule Will Increase Homelessness and Housing Instability Among New York
State Asylum Seekers

       The Proposed Rule delays asylum seekers from being able to obtain employment
authorization. Therefore, asylum seekers in New York State will not be able to obtain steady
employment while they wait for approval of their applications. Without employment, asylum
seekers will not have access to reliable incomes. This will naturally result in an increase in
housing instability and homelessness. The risk of homelessness will be particularly acute in New
York State, known for its highly competitive and expensive housing market. The Proposed Rule
would also likely increase the amount of time that asylum seekers remain homeless, as it would
extend the amount of time that applicants must wait to receive an EAD and earn income.

The Collateral Consequences to Individuals

       The homelessness and housing instability caused by the Proposed Rule will result in
devastating collateral consequences, particularly for displaced families with children. Social
research provides clear evidence linking childhood homelessness with lifelong health problems.
Homelessness and other forms of housing instability are associated with increased hospital visits


1
 Docket No. USCIS-2018-0001; RIN 1615-AC19; Removal of 30-Day Processing Provision for Asylum Applicant-
Related Form I-765 Employment Authorization Applications, 84 Fed. Reg. 47148 (proposed Sep. 9, 2019).


                                                   2                                     AR004939
and mental health problems, such as depression and anxiety.2 Child poverty and housing
instability also cause severe stress. This type of stress in children “disrupts normal brain and
organ development and, consequently, damages brain architecture and neurocognitive systems.”3
These health consequences may be felt by these children for the rest of their lives.

        A lack of access to safe and affordable housing can also limit a child’s educational
opportunities and exacerbate child poverty. Statistically, homeless children have lower passing
rates across a number of academic subjects, have higher rates of absenteeism, and are more
likely to face disciplinary action than children who live in stable housing.4 Additionally, children
who lack safe and secure housing will suffer long-term negative economic consequences.5
Housing instability can also lead directly to employment insecurity among adults.6

Administrative Burden on New York State and Municipalities
        The Proposed Rule would also place significant new costs and administrative burdens on
New York State and municipal governments within the State. Most significantly, New York
State and local governments would be required to cover the substantial costs of providing
emergency shelter for asylum seekers unable to afford stable housing under the Proposed Rule.
This will place a significant burden on the State, as it is very expensive to house a family in an
emergency shelter. In New York City, for example, it cost nearly $6,000 per month in 2018 to
house a family in a temporary shelter. The Proposed Rule will also increase costs for the
healthcare system. According to research published by Children’s Healthwatch based at Boston
Medical Center, unstable housing among families with children will cost the U.S. health care
system an estimated $111 billion in expenditures through 2027.7 Increased housing instability
caused by the Proposed Rule would only exacerbate these numbers.

Conclusion
        For the foregoing reasons, it is NYSHCR’s hope that the Proposed Rule will be
withdrawn. This Proposed Rule will make it much more difficult for asylum seekers to maintain
stable employment and, as a result, will result in an increase in housing instability. This will
create a host of negative collateral consequences for asylum seekers and their families. Finally,
New York State and municipal governments within the state would be required to bear the
significant costs of providing emergency shelter for individuals displaced by the Proposed Rule.


2
  Meredith Horowki, Housing Instability and Health: Findings from the Michigan Recession and Recovery Study,
National Poverty Center Policy Brief #29 (March 2012),
http://www.npc.umich.edu/publications/policy_briefs/brief29/NPC%20Policy%20Brief%20-%2029.pdf.
3
  Heather Sandstrom et al., The Negative Effects of Instability on Child Development: A Research Synthesis, Urban
Institute, 13 (September 2013), https://www.urban.org/sites/default/files/publication/32706/412899-The-Negative-
Effects-of-Instability-on-Child-Development-A-Research-Synthesis.PDF.
4
  Anne Ray et al. Homelessness and Education in Florida: Impacts on Children and Youth, Shimberg Center for
Housing Studies, University of Florida, and Miami Homes for All (December 2017),
http://www.shimberg.ufl.edu/publications/homeless_education_fla171205RGB.pdf.
5
  Will Fisher, Research Shows Housing Vouchers Reduce Hardship and Provide Platform for Long-Term Gains
Among Children, Center on Budget and Policy Priorities (October 7, 2015),
https://www.cbpp.org/sites/default/files/atoms/files/3-10-14hous.pdf.
6
  Matthew Desmond and Carl Gersheson, Housing and Employment Security Among the Working Poor, Soc.
Problems 1 (2016), https://academic.oup.com/socpro/article/63/1/46/1844105.
7
  Ana Poblacion et al., Stable Homes Make Healthy Families, Children’s HealthWatch (July 2017),
https://bit.ly/2hDjRE2.


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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2425
      Comment Submitted by Ellen Daniels



                                                  Submitter Information
      Name: Ellen Daniels


                                                      General Comment
      Asylum seekers are by definition people of very limited resources. They are fleeing from horrific conditions, and
      usually arrive to the United States with few belongings and little money. It is essential that these people be able
      to work to support themselves as soon as possible. By removing the 30-day provision, these people will run out
      of the few resources they have and end up depending on charity. They will be at risk of homelessness and health
      problems - so potentially costing taxpayers more money in emergency care. It is most humane and the best for all
      involved to allow these people to work while their cases are being processed.

      I strongly encourage you to keep and enforce the 30-day Processing Provision for Asylum Applicants.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2426
      Comment Submitted by Elizabeth Saft



                                                  Submitter Information
      Name: Elizabeth Saft
      Address:
        835 N Campus Way
        Davis, CA, 95616
      Email: lizsaft@yahoo.com


                                                      General Comment
      Asylum seekers must already wait 180 days for work authorization. THey need to be allowed to work as soon as
      possible.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2427
      Comment Submitted by Kris Lin-Bronner, Dr. Bronner's Magic Soaps



                                                  Submitter Information
      Name: Kris Lin-Bronner


                                                      General Comment
      See attached



                                                            Attachments
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2428
      Comment Submitted by Katherine Flannery



                                                  Submitter Information
      Name: Katherine Flannery


                                                      General Comment
      I am an immigration attorney, and it is essential that asylum seekers continue to have access to work
      authorization in a timely and meaningful way. Asylum seekers are already, by definition, vulnerable as people
      with uncertain status in the US. Denying access to work authorization leaves them open to labor exploitation and
      human trafficking, and leaves them dependent on charity and unable to lead dignified loves where they
      contribute contribute the US economy and the care of their own families. The only.possible motivation for
      delaying work authorization to asylum seekers is cruelty, in a way that cuts off the nose to spite the face. It's bad
      for the US economy, communities, and immigrants to cut off access to legal employment for asylum seekers. I
      have seen firsthand how gaining access to employment authorization can transform lives and stabilize vulnerable
      individuals in crisis. It is absolutely essential to continue allowing access to work authorization to asylum seekers
      and process their EAD applications in a timely way.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2429
      Comment Submitted by Jamie Cheever



                                                  Submitter Information
      Name: Jamie Cheever


                                                      General Comment
      I work with survivors of sex and human trafficking, some of which are refugees. The refugees I work with have
      been through extensive trauma, often in their home country and here. Once they are able to escape their situation,
      there needs to be as few barriers as possible between them setting up an independent, stable, and healthy life. An
      additional barriers make it more likely a survivor will return to an abusive situation in order to get their and their
      children's basic needs met.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2430
      Comment Submitted by Dawn Bashara



                                                  Submitter Information
      Name: Dawn Bashara


                                                      General Comment
      Please do not remove the 30-day provision on processing asylum work permits. In NEBRASKA and other states,
      unemployment is low and entry-level jobs are hard to fill. Small companies, and even large companies, cannot
      find enough people to hire. Lifting the 30-day provision would have a negative impact on businesses ability to
      continue to stay open.
      Thanks.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2431
      Comment Submitted by Roberta Reardon, New York State Department of Labor



                                                  Submitter Information
      Name: Roberta Reardon
      Address:
        Harriman State Office Campus, Building 12
        1220 Washington Ave.
        Albany, NY, 12240
      Email: roberta.reardon@labor.ny.gov
      Phone: 518-457-2746
      Organization: New York State Department of Labor
      Government Agency Type: State
      Government Agency: New York State Department of Labor


                                                      General Comment
      The New York State Department of Labor has reviewed the Department of Homeland Securitys Notice of
      Proposed Rulemaking, Removal of 30-Day Processing Provision for Asylum Applicant-Related Form I-765
      Employment Authorization Applications published in the Federal Register on September 9, 2019. We
      respectfully submit the following comments in opposition to the Proposed Rule which will make asylum
      applicants ineligible for employment services and make them vulnerable to workplace exploitation including
      wage theft, potentially hazardous working conditions, retaliatory threats based on immigration status, and forced
      labor (labor trafficking). Please see attached file.



                                                            Attachments
      Asylum Work Authorization NPRM-DOL_Final




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                                     Andrew M. Cuomo, Governor
                                    Roberta Reardon, Commissioner


November 8, 2019


Samantha Deshommes
Chief Regulatory Coordination Division Office of Policy and Strategy
United States Citizenship and Immigration Services
Department of Homeland Security
20 Massachusetts Avenue NW, Mailstop #2140
Washington, DC 20529-2140


Re: DHS Docket No. USCIS-2018-0001


To Whom It May Concern:

The New York State Department of Labor has reviewed the Department of Homeland Security’s
Notice of Proposed Rulemaking, Removal of 30-Day Processing Provision for Asylum Applicant-
Related Form I-765 Employment Authorization Applications published in the Federal Register
on September 9, 2019. We respectfully submit the following comments in opposition to the
Proposed Rule which will make asylum applicants ineligible for employment services and make
them vulnerable to workplace exploitation including wage theft, potentially hazardous working
conditions, retaliatory threats based on immigration status, and forced labor (labor trafficking).




Sincerely,




Roberta Reardon




                                                                        W. Averell Harriman State Office Campus
                                                                        Building 12, Room 500, Albany, NY 12240
                                                                                             www.labor.ny.gov

                                                                                   AR004951
  I.    Executive Summary

The New York State Department of Labor (NYSDOL) opposes the proposed rule change as outlined in
the Department of Homeland Security’s (DHS’s) Notice of Proposed Rulemaking, Removal of 30-Day
Processing Provision for Asylum Applicant-Related Form I-765 Employment Authorization Applications.i
DHS’s proposed changes would increase the amount of time that asylum applicants must wait in order
to receive an Employment Authorization Document (EAD). Asylum applicants must already wait a
significant period of time to receive an EAD because their application must have been pending for at least
150 days before they even become eligible to apply for an EAD. By removing the 30-day processing
time- period for an EAD, asylum applicants will wait even longer periods of time before receiving an EAD.
The new rule would limit asylum applicant’s ability to obtain NYSDOL employment services and
employment, and to earn an income while awaiting a decision on their asylum application. Most
concerning, the lack of employment authorization may create an exploitable vulnerability to unscrupulous
employers that engage in wage theft, maintain hazardous working conditions, and engage in retaliatory
threats due to immigration status, or even forced labor (labor trafficking).


  II.   Removal of 30-Day Processing Provision for Asylum Applicant-Related Form I-765
        Employment Authorization Applications Will Impede Workforce Innovation and
        Opportunity Act (WIOA) Services.

The NYSDOL oversees the Workforce Innovation and Opportunity Act (WIOA) Title I Adult, Dislocated
Worker and Youth Programs, and Title III Wagner-Peyser program in New York State (NYS). These
programs are delivered through the One-Stop Career Center System (Career Centers), which provides
services to both individuals and businesses. Career Centers provide individuals with basic career
services, individualized career services, and training services. Career Centers also provide job
development and recruitment services to businesses. While NYS does not deny access to basic career
services based on citizenship or authorization to work, the services offered to individuals, who are not
yet authorized to work, would be limited. For example, unauthorized individuals would not be eligible for
job-matching and placement services, training opportunities, nor would these individuals be invited to
participate in job fairs/recruitments. By removing the 30-day processing provision for asylum applicants,
access to the full suite of WIOA services will be delayed leading to longer term unemployment. The
removal will also reduce the labor pool available to businesses in NYS looking to meet immediate hiring
needs by delaying authorization to work.


 III.   Removal of 30-Day Processing Provision for Asylum Applicant-Related Form I-765
        Employment Authorization Applications Will Increase the Likelihood of These Individuals
        Being Victims of Employment Exploitation and Labor Trafficking.


The NYSDOL enforces New York State Labor Laws including those that govern minimum wage,
overtime, payment for all hours worked, and regular pay periods. In 2018, the NYSDOL collected nearly
$35 million and returned that money to approximately 35,000 workers victimized by wage theft and public
work violations. Since 2011, NYSDOL has recovered nearly $300 million in stolen wages and returned it
to more than 280,000 workers who were cheated by their employers.ii




                                                                                        AR004952
Employers may use lack of valid employment authorization as a means of threatening workers to not
report workplace safety violations, creating a dangerous workplace environment that can result in injury
and even death.iii While asylees have been protected from these types of threats due to valid
employment authorization, this rule change will place them in the extremely vulnerable position of being
threatened with disclosure of employment without authorization, resulting in detainment and deportation.

 The lack of employment authorization creates a vulnerability that unscrupulous employers can exploit
through wage theft, hazardous working conditions, retaliatory threats based on immigration status, and
forced labor (labor trafficking). The NYSDOL has often seen cases where employers falsely and
unlawfully tell workers that they do not have a right to minimum wage or any labor law protection because
they do not have employment authorization. NYSDOL also has seen cases where employers threaten
workers with calls to Immigration and Customs Enforcement (ICE) and deportation if they assert their
rights or file claims with the NYSDOL. This unlawful tactic is common and often achieves the desired
goal of compelling a worker to refrain from asserting a lawful claim or to withdraw an existing complaint,
iv
   in violation of anti-retaliation sections of the New York Labor Law.v

NYSDOL investigations are greatly aided by the continued cooperation and availability of workers who
file claims and who are the primary witnesses to labor law violations. Claimants are asked to provide
evidence of the labor law violations through personal statements, and in contested actions, through
testimony at a Compliance Conferences and/or District Meetings. If an employer appeals the resulting
Order to Comply, claimants are then asked to be witnesses at an administrative hearing of the Industrial
Board of Appeals. Without the claimants continued cooperation and availability, these cases are often
unable to be pursued. With the ability to threaten claimants based on their immigration status, the number
of cases prosecuted will decrease, and the number of incidents will more than likely increase.

Labor trafficking victims are often induced to stay in unfavorable working conditions due to threats of
disclosure of their lack of valid employment authorization to immigration authorities. Labor trafficking
involves the use of force, fraud, or coercion to compel an individual to work. An employer who threatens
a worker with calling ICE and having them deported to coerce the worker into performing work, may be
guilty of labor trafficking under both federal and New York State Penal Law.vi A 2014 study by the Urban
Institute of 122 trafficking victims found that 70.5% experienced “use or threatened use of law” as a
method of exploitation. vii If an asylum applicant does not have valid employment authorization, they
become vulnerable to this type of threat. Asylees are a population already vulnerable to potential
exploitation due to their prior traumatic experiences, viii and a decrease in services such as lack of
employment authorization can greatly impact their resilience and ability to successfully adapt and
recover, and unequivocally makes them vulnerable to further exploitation.ix


IV.    Conclusion

On March 25, 1911, a fire at the Triangle Shirtwaist factory in New York City killed 146 workers in half an
hour, most of whom were recent Italian and Jewish immigrant women and girls aged 14 to 23. From this
tragedy the Committee on Public Safety was formed, which became the New York State Department of
Labor. The role of the NYSDOL has always been to protect the most vulnerable workers, which are often



                                                                                         AR004953
immigrants. The removal of the thirty-day processing provision, will make it far more difficult for asylum
applicants to earn income while awaiting a decision on their asylum application. The lack of valid
employment authorization will result in their inability to access employment services from the NYSDOL
and make them vulnerable to workplace exploitation, including: wage theft, hazardous working
conditions, retaliatory threats based on immigration status, and forced labor (labor trafficking). The
NYSDOL strongly urges DHS to withdraw the proposed rule.




i  Docket No. USCIS-2018-0001; RIN 1615-AC19; Removal of 30-Day Processing Provision for Asylum Applicant-
Related Form I-765 Employment Authorization Applications, 84 Fed. Reg. 47148 (proposed Sep. 9, 2019)
(“proposed rule”).
ii See: https://www.labor.ny.gov/pressreleases/2019/august-13-2019.shtm.
iii See: https://www.dol.gov/newsroom/releases/osha/osha20190301-2 : “The U.S. Department of Labor has filed a

lawsuit against Boston, Massachusetts-based contractor Tara Construction Inc. and its chief executive officer,
Pedro Pirez.” The article details that an employee sustained a serious injury when he fell from a ladder on March
29, 2017. He reported his injury to the defendants. The Department alleges that shortly after the employee engaged
in protected activities, the defendants initiated a law enforcement investigation and facilitated the employee’s
detainment by U.S. Immigration and Customs Enforcement.”
iv See: https://www.wnyc.org/story/undocumented-restaurant-worker-arrested-ice-during-deposition-against-his-

employer/.
v NYS Labor Law § 215 which defines retaliation as an action taken against an employee to punish that employee

for complaining about labor law violations, providing information to the Department of Labor, or participating in
proceedings at the Department of Labor.
vi 18 U.S.C. § 1581, 1584, 1589 “Whoever knowingly provides or obtains the labor or services of a person--. . (3)

by means of the abuse or threatened abuse of law or the legal process”; and Penal Law § 135.35 “A person is guilty
of labor trafficking if he or she compels or induces another to engage in labor . . (d) accuse some person of a crime
or cause criminal charges or deportation proceedings to be instituted against such person.”
vii    https://www.urban.org/sites/default/files/publication/33821/413249-Understanding-the-Organization-Operation-
and-Victimization-Process-of-Labor-Trafficking-in-the-United-States.PDF ; pg. 80 “Chapter 6: Labor Trafficking
Victimization and Labor Exploitation Experiences.” A study of 122 trafficking victims found that 70.5% experienced
Use or threatened use of law as a method of exploitation.
viii International Organization on Migration, “Migrants and Their Vulnerability to Human Trafficking, Modern Slavery

and Forced Labour” (https://publications.iom.int/system/files/pdf/migrants_and_their_vulnerability.pdf). See pg.
28, quoting Hannah Lewis and Louise Waite, ‘Asylum, Immigration Restrictions and Exploitation: Hyper-Precarity
as a Lens for Understanding and Tackling Forced Labour’, Anti-Trafficking Review, 5 (2015).
ix Siriwardhana, et al. Conflict and Health 2014, 8:13 http://www.conflictandhealth.com/content/8/1/13 : “Conflict-

driven forced migration has been shown to have a strong association with higher levels of mental disorders among
affected migrant populations” and that “Factors such as individual and/or community resilience and social support
have been highlighted as key potential mediators between forced migration experience and subsequent mental
health impact.”




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2432
      Comment Submitted by Susan Nelson-Kluk



                                                  Submitter Information
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      Email: susankluk@gmail.com
      Phone: 5309020588
      Submitter's Representative: Garamandi


                                                      General Comment
      Asylum seekers should be allowed to work to support themselves as soon as possible.
      Susan Nelson-Kluk




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2433
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      We must allow everyone in our soil to work to earn a living. Give them those authorizations to work; we want
      hard-working people, not free-loaders.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2434
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      This proposal would be extremely harmful to asylum seekers. They are human and have the right to create a life
      for themselves and their family, where ever it may be. By delaying applications for work authorization, this will
      cause food insecurity for them and their family. They will be unable to regain power and control of their future.
      Being unable to work causes higher risk for exploitation and trafficking. With no proof of income, they will lose
      services. By allowing asylum seekers to apply earlier will give the department more time to process the
      applications and give them an opportunity to regain control of their lives and offer safety and health to their
      families.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2435
      Comment Submitted by Roberta Millstein



                                                  Submitter Information
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      Email: petition@rlm.net


                                                      General Comment
      Asylum seekers should be allowed to work as soon as possible. This proposed rule is unnecessary and cruel.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2436
      Comment Submitted by Aaron Reichlin-Melnick



                                                  Submitter Information
      Name: Aaron Reichlin-Melnick


                                                      General Comment
      This comment is submitting in opposition to RIN 1615-AC19 (USCIS-2018-0001-0001), "Removal of 30-Day
      Processing
      Provision for Asylum Applicant-Related Form I765 Employment Authorization Applications."

      USCIS should not eliminate the 30-day processing regulation for initial asylum employment authorization
      documents (EADs). The current regulation enforces the promise of rapid adjudication of work authorization that
      is inherent in the 180 day timelines set by Congress in 8 U.S.C. 1158(d)(5) and 8 U.S.C. 1158(d)(2). USCIS's
      claim that the 30-day limit in 8 C.F.R. 208.7(a)(1) "is outdated" by nature of its age misunderstands the history
      surrounding the creation of the statutory timeframes in the Illegal Immigration Reform and Immigrant
      Responsibility Act of 1996 (IIRIRA). In addition, USCIS has not adequately calculated the costs to third parties
      who will be forced to bear the costs of asylum seekers who are no longer eligible to work because they have to
      wait longer as a result of delayed adjudication of EADs.

      1) Affirmative Asylum Applications Peaked in 1995, the year after the 30-day limit was created.

      Throughout the Notice of Proposed Rulemaking (NPRM), USCIS asserts that the 30-day limit for adjudicating
      asylum EAD applications should be eliminated because of "The growth of asylum receipts" in recent years. But
      as the NPRM itself acknowledges briefly in a footnote, the 30-day regulation was implemented at a time when
      affirmative asylum applications were at record levels. In 1995, affirmative asylum applications peaked at over
      140,000, a record which still has not been matched. INS was well acquainted with the difficulties of processing a
      significant volume of asylum applicant EADs at the time it imposed the 30-day timeline, and moved forward
      with it anyway.

      Thus, to the extent that DHS argues in the NPRM that the 30-day limit "is outdated," USCIS has failed to grapple
      with the history of the regulation. USCIS now faces a lower level of asylum applications than when INS
      instituted the 30-day time limit; it cannot rely on history to argue for a need for change.
                                                                                                               AR004959
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      2) Congress intended asylum applications to be adjudicated within 180 days, and for work authorization to be
      provided after 180 days if adjudication had not been completed.

      USCISs decision to authorize the further delay of asylum applicant EADs is contrary to Congressional intent in
      passing IIRIRA. First, in 8 U.S.C. 1158(d)(5)(A)(iii), Congress instructed that INS (now USCIS) should
      adjudicate all asylum applications in the absence of exceptional circumstances within 180 days after the date an
      application is filed. Then, in 8 U.S.C. 1158(d)(2), Congress provided that An applicant for asylum may be
      provided an EAD which shall not be granted prior to 180 days after the date of filing of the application for
      asylum.

      These two statutes, taken together, make clear that Congress intended asylum seekers to obtain work
      authorization as expeditiously as possible; either before 180 days if INS/USCIS adjudicated the application in
      that time frame, or as soon as possible after 180 days if the application was still pending at that time.

      The NPRM entirely fails to grapple with the statutory scheme provided in 8 U.S.C. (d)(2) and (d)(5)(A)(iii). Its
      sole reference to the underlying statutory scheme comes in a footnote at 84 Fed Reg. 47,153 which declares that
      the general humanitarian goal of the 30-day time limit has been supported through re-instituting the Last In, First
      Out model (LIFO) for asylum processing.

      But expedited processing through LIFO does not address Congresss intent to ensure that asylum applicants are
      not left without work authorization if application process takes more than 180 days. As a result, the NPRM
      entirely fails to consider the connection between the 180-day timelines in 8 U.S.C. (d)(2) and (d)(5)(A)(iii), in
      violation of Congressional intent.

      3) USCIS has entirely failed to calculate key costs to third parties of revoking the 30-day time limit on asylum
      applicant EADs

      Asylum applicants inside the United States who lack an EAD must care for themselves somehow. It is likely that
      the majority of asylum applicants reside with a family member, relative, or acquaintance who is providing
      financial support during the time in which an asylum seeker is awaiting an EAD. Eliminating the 30-day limit on
      asylum applicant EAD processing will require these third parties to provide significantly more support than in
      the past.

      But despite this increased burden, USCIS says it "cannot determine how much monetary or other assistance is
      provided to such applicants through support networks, and requests that data from the public. This is clearly
      inadequate; USCIS must calculate these costs itself.

      Given the above listed concerns, USCIS should not revoke the 30-day asylum applicant time limit. It is
      unsupported by historical precedent, violates Congresss statutory scheme, and ignores key costs.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2437
      Comment Submitted by Caroline Sennett



                                                  Submitter Information
      Name: Caroline Sennett


                                                      General Comment
      If this proposed rule is approved, it will result in incredible disadvantages to asylum seekers, who must already
      wait six months to receive employment authorization after filing an application for asylum. In 2016, the 90-day
      processing timeline for employment authorization was eliminated in spite of public opposition. The result was
      that processing times ballooned and the government was no longer accountable to the public.

      Asylum seekers are already vulnerable as a consequence of being forced from their countries, experienced
      trauma, and the lack of governmental protection. Many wait in limbo for years before their cases are decided.
      Without the ability to support themselves, they are more likely to experience homelessness, food insecurity, and
      vulnerability to victimization. A lack of income can prevent them from securing legal assistance in their case and
      prevent them from representing themselves successfully.

      In situations of homelessness or lack of address stability, an asylum-seeker will not receive critical notifications
      to appear for interview, biometrics, or other information concerning their case - all of which is sent by mail. This
      can result in the denial of the benefit in even the most meritorious of cases.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2438
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I am a paralegal at an immigration law firm. Anything that would make it more difficult for people already
      fleeing harm and exploitation to obtain protection, even if only while their application is pending, is harmful,
      inhumane, and the antithesis of what this country stands for. It benefits our country to have the people that are
      here able to work and take care of themselves to any degree, be off the streets, and adjust to this country. If
      Asylum seekers are unable to work, they are unable to better their situation or contribute to this country. They
      would be unable to feed themselves or their family or afford shelter, all of which would make them much more
      susceptible to exploitation and trafficking in this country. A time limit is necessary for asylum seekers to better
      their lives and plan. If the wait is indefinite, they could fall victim to homelessness, trafficking, exploitation, and
      psychological issues. Please keep the 30-day timeframe!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2439
      Comment Submitted by Kim Fritz



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      Fax: O000000000
      Submitter's Representative: N/a
      Organization: N/a
      Government Agency Type: State
      Government Agency: N/a


                                                      General Comment
      We need to ONLY bring in good, honest workers to our country and protect our citizens. The time period for
      vetting should be however long it takes to do a thorough job and not rush work visas through.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2440
      Comment Submitted by Nickole Miller



                                                  Submitter Information
      Name: Nickole Miller


                                                      General Comment
      Delays in asylum seekers getting their work authorization (Employment Authorization Document or "EAD")
      approval can have determinental consequences for vulnerable individuals such as inability to lawfully work, food
      insecurity, and lack of ID. Do not adopt this new regulation




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2441
      Comment Submitted by Charlie Martel



                                                  Submitter Information
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      Email: fannanmartel@gmail.com
      Phone: 01 703 635 5585


                                                      General Comment
      My name is Charlie Martel. I am a national security and human rights lawyer, and I formerly served with the
      U.S. Senate Homeland Security and Government Affairs Committee. Over the last two years I have worked
      extensively as a volunteer with immigrants and asylum seekers. Based on this experience, I am writing to oppose
      the rule that would extend the time period during which asylum seekers are ineligible to work.

      For one, this would severely undermine the legal rights of asylum seekers, who are allowed under law to enter
      the country but are often subject to long periods before their cases are heard. If they cannot work for a long time,
      they will not be able to sustain themselves. This would potentially be dangerous for the asylum seekers, and
      could increase homelessness and other problems that would burden the communities they find themselves in.

      Second, allowing aslyum seekers to work more immediately benefits them and their communities by allowing
      the asylum seekers to work, providing tax revenue to the communities, and increasing the workforce available to
      local employers.

      Effectively prohibiting asylum seekers from working is a lose-lose proposition. It hurts asylum seekers who are
      here legally and seek to apply for the legal right to stay, it undermines their legal rights, and it hurts employers
      and communities where asylum seekers are. Allowing them to work sooner is win-win, as it helps those legally
      here, builds ties to their communities, and helps the workforce and tax base of communities with asylum seekers.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2442
      Comment Submitted by Karin Anderson Ponzer, Neighbors Link



                                                  Submitter Information
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      Submitter's Representative: Karin Anderson Ponzer
      Organization: Neighbors Link


                                                      General Comment
      Neighbors Link is a holistic organization located in Westchester County that utilizes education, empowerment
      and employment in our mission, to strengthen the whole community through the healthy integration of
      immigrants. Our strategies to educate, empower and employ families include a Worker Center, English as a
      Second Language (ESL) education, workforce development, parent education, early childhood programs,
      academic support for school-age children of immigrants and legal services and advocacy. Our legal department,
      the Neighbors Link Community Law Practice, provides direct representation for individuals and families in all
      aspects of immigration relief. We have hundreds of clients that are utilizing U.S. asylum laws to seek protection
      in the United States. These clients leave everything behind, fleeing violence and persecution. In order to pursue
      their asylum cases, which can take years in a backlogged court system, they must be able to support themselves
      and their families.

      Limiting the ability of law-abiding asylum seekers to work and pay taxes in the US hurts our economy and all of
      us. Westchester is a great place to live because of the dynamism and diversity of our workforce; we need all our
      residents to be able to do the work that makes our county so desirable a destination, to pay taxes along with
      everyone else and to support their families. This new proposed rule acknowledges that the lost compensation to
      asylum applicants could range from $255.88 million to $774.76 million annually depending on the wages the
      asylum applicant would have earned. Moreover, this proposed rule would result in employment tax losses to the
      government ranging from $39.15 million to $118.54 million. The combination of lost wages and subsequent lost
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      tax revenue would cause subsequent difficulties both to asylum applicants as well as to state and local
      governments that would be required to provide services to asylum applicants who are not authorized to work.
      This proposed regulation seeks to take away the ability of asylum seekers to support themselves and their
      families. The lack of ability to work and correlating lack of income also vastly increases the risk that people
      coming to the United States will become a public charge.
      This rule is part of a systematic effort to deter asylum seekers. By removing the ability of asylum seekers to gain
      meaningful employment within a short and predictable timeframe, the Trump Administration effectively turns
      asylum seekers into the very public charges it seeks to exclude. In the experience of Neighbors Link, asylum
      seekers did not come to the United States in order to become public charges. Rather, they have fled persecution
      in their countries of origin. Once in the United States, they look forward to rebuilding their lives by contributing
      to the local economy and community fabric. This proposed rule is an effort to keep asylum seekers on the
      outskirts of society by excluding them from the cities, towns, and neighborhoods where they seek to be
      integrated.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2443
      Comment Submitted by Helen McDonaugh



                                                  Submitter Information
      Name: Helen McDonaugh


                                                      General Comment
      Shoddy immigration policies are a great contributor to loss of national security!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2444
      Comment Submitted by Stephanie Conners



                                                  Submitter Information
      Name: Stephanie Conners
      Address:
        630 Victory Boulevard
        Staten Island, NY, 10301
      Email: SConners@nycds.org
      Phone: 9082510475


                                                      General Comment
      Asylum seekers are by definition people in need of protection. They are fleeing oppressive conditions and have
      bought into the idea that America is the place for acceptance and freedom. Stop allowing Trump to put a lie to
      the democracy we hold up as beacon to the world. The rule change is ridiculous. People should be allowed to
      work and support themselves.




                                                                                                               AR004969
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2445
      Comment Submitted by Ana Sol Gutierrez



                                                  Submitter Information
      Name: Ana Sol Gutierrez
      Address:
        3317 Turner Lane
        Chevy Chase, MD, 20815
      Phone: 301-718-0707


                                                      General Comment
      As a former state legislator and an advocate for universal human rights and social justice, I oppose the removal
      of the 30-day processing timeframe for Asylum applicants seeking Employment Authorization Documents or
      EADs, as required by current regulations. I work as a volunteer with a non-profit organization that provides
      assistance to newly arriving Central American and Caribbean immigrant families seeking asylum. I personally
      can attest to the great barriers these families must face as soon as they arrive in our communities as they seek
      adequate housing, funds to feed the family, schools for their children, health care in emergencies, etc. Requesting
      and receiving their EADs asap within the current limits allows them to work legally for urgently needed funds to
      cover all their expenses while awaiting their asylum hearings.

      I oppose the proposed delay in processing because of the long list of significantly negative consequences to
      families of individuals seeking EADs, some of which are listed below:
      --Lost income to the asylum seeker and their family;
      --Food insecurity;
      --Inability to secure a valid ID. A work permit and a social security number (SSN) are often necessary
      requirements to applications for a state ID.
      --Risk of homelessness/housing insecurit; Inability to access health insurance
      --Vulnerability to exploitation, trafficking, and underground economy risks
      --Lack of access to community service agencies, shelters, and social service programs (many of whom require
      some form of valid ID, proof of residency, or proof of income)
      --Feelings of fear, desperation, and overall mental health concerns

      I support the recommendations from several organizations which have a long history and extensive experience in
                                                                                                               AR004970
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      supporting immigrant families seeking asylum in the US. Please consider the serious consequences of
      implementation of the UCIS proposal:

      Harm Caused to Asylum Seekers. Asylum seekers would lose wages and benefits as a result of delayed entry into
      the U.S. labor force, straining their ability to support themselves and their families. USCIS admits that lost
      compensation to asylum applicants ranges from $255.88 million to $774.76 million in taxable income per year.
      The loss of income will cause an outsized amount of harm to this already-vulnerable community; lack of income
      means not being able to afford food, housing, medical treatment, health insurance, or legal representation.

      Lost Tax Revenue for the Government. USCIS admits that all levels of government will lose tax revenue as a
      result of the proposed rule change. USCIS projects a loss of $39.15 million to $118.54 million per year because
      delayed work authorization will prevent asylum seekers and their employers from contributing to Medicare and
      social security.

      Increased Delay Contrary to National Security Interests. In the notice, USCIS makes frequent reference to a rise
      in national security threats as a reason to spend more time and resources on each decision. However, USCIS has
      reported that it has been able to decide over 99% of EADs within the 30-day timeframe for over the past year.
      Therefore, USCIS has proven its ability to adequately vet the amount of requests in a timely fashion.

      Part of a Systematic Effort to Deter Asylum Seekers. This proposed rule change is part and parcel of this
      administrations effort to make the U.S. a hostile destination for individuals fleeing persecution in their countries
      of origin. This is evidenced by this rule change as well as the third-country transit bar, the proposed wide-
      sweeping public charge rule, and the institution of the so-called Migrant Protection Protocols.

      Proposed Alternative:
      As per current law, asylum seekers must wait 180 days before being granted authorization to work. They are
      permitted to submit their application after 150 days, giving USCIS the 30-day timeframe in question to process
      the requests. If USCISs goal is to have more time to process each request in order to increase flexibility and free
      up resources to work on other applications, then it could easily shorten the waiting time before asylum-seekers
      are allowed to submit their application. If USCIS feels that a 60-day timeframe would be more beneficial, then it
      may allow applications to be submitted after 120 days, rather than 150. Allowing asylum-seekers to submit their
      applications earlier could allow the department to have up to 180 days to process and properly vet each
      individual while reducing the risk of harm to each applicant.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2446
      Comment Submitted by Maude Myers



                                                  Submitter Information
      Name: Maude Myers


                                                      General Comment
      This proposes regulation is non-sensical and clearly part of the administration's hostility toward asylum seekers.

      Many of those seeking asylum obviously need to financially support themselves and their families through
      employment. Even under the current system, they must wait too long for an employment authorization document.

      Further delay will lead to unnecessary hardship including housing instability, food vulnerability, lack of health
      care, etc, thus exposing seekers and their families to poverty, hunger, exploitation, and a litany of other horrors.
      Of course, it also increases the risk that asylum seekers and their families will become public charges. It will
      necessarily mean a loss of tax revenue and financial pressure on the seekers' communities.

      Moreover, a convenient, simple alternative exists. If USCIS needs more time to process EAD applications, then
      asylum seekers should be permitted to submit their applications earlier, perhaps 120 days after submission of
      their asylum claims. Then USCIS can have 60 days to process the EAD application.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2447
      Comment Submitted by Eleanor B



                                                  Submitter Information
      Name: Eleanor B
      Address:
        MN,


                                                      General Comment
      I am an informed US citizen who is commenting on this rule as a part of my civic duty. This rule change would
      have a negative effect on the tax revenue and is also contrary to the nation's security.

      USCIS admits that all levels of government will lose tax revenue as a result of the proposed rule change. USCIS
      projects a loss of $39.15 million to $118.54 million per year because delayed work authorization will prevent
      asylum seekers and their employers from contributing to Medicare and social security.

      In the notice, USCIS makes frequent reference to a rise in national security threats as a reason to spend more
      time and resources on each decision. However, USCIS has reported that it has been able to decide over 99% of
      Employment Authorization Documents (EADs) within the 30-day timeframe for over the past year. Therefore,
      USCIS has proven its ability to adequately vet the amount of requests in a timely fashion. Moreover, its
      argument regarding increased threats serves only to prompt the need for a speedier process to properly protect
      national security, rather than its request to delay the process further.

      As the law is currently written, asylum seekers must wait 180 days before they may be granted authorization to
      work. They are permitted to submit their application after 150 days, giving USCIS the 30-day timeframe in
      question to process the requests. If USCISs goal is to have more time to process each request in order to increase
      flexibility and free up resources to work on other applications, then it could easily shorten the waiting time
      before asylum-seekers are allowed to submit their application. If USCIS feels that a 60-day timeframe would be
      more beneficial, then it may allow applications to be submitted after 120 days, rather than 150. Allowing asylum-
      seekers to submit their applications earlier could allow the department to have up to 180 days to process and
      properly vet each individual


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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2448
      Comment Submitted by Emily Green



                                                  Submitter Information
      Name: Emily Green
      Address:
        8558 Butte Street
        La Mesa, CA, 91941
      Email: Emilygreensd@gmail.com
      Phone: 407-394-4310


                                                      General Comment
      Asylum seeking people should be allowed to earn a living while awaiting their hearings! Earning a living is an
      American right!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2449
      Comment Submitted by Aaron Brusso



                                                  Submitter Information
      Name: Aaron Brusso


                                                      General Comment
      Once someone has passed a credible fear interview and demonstrated that they have a legitimate reason to be
      seeking asylum we are acknowledging that this person has a compelling reason to be in the country. To
      compound the trauma they have been through by preventing them from sustaining themselves and forcing them
      to subsist on charity is cruel to the person and places an unnecessary burden on the community.

      To extend the wait time any longer is to prolong that cruelty.

      If USCIS thinks it needs more time, then the review process should begin during the waiting period in order to
      allow the person to work as soon as possible.

      The review may be deemed necessary but it need not prolong the wait before someone can work. These are two
      separate things and should be treated that way.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2450
      Comment Submitted by Desiree McGunagle, Verity



                                                  Submitter Information
      Name: Desiree McGunagle
      Submitter's Representative: C. Castillo
      Organization: Verity
      Government Agency Type: State
      Government Agency: Multiple


                                                      General Comment
      Here at Verity we value asylum seekers and would like to fight for their right to work and provide for themselves
      in our country. Asylum seekers would potentially lose wages and benefits as a result of delayed entry into the
      U.S. labor force, straining their ability to support themselves and their families. Poverty can make people
      vulnerable to all manner of crime and lack of stability will take away from feeling safe when that is what they
      need most during a time of seeking asylum. Thank you.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2451
      Comment Submitted by Lorena McGill



                                                  Submitter Information
      Name: Lorena McGill


                                                      General Comment
      DO NOT REMOVE THOSE 30 DAYS; ASYLUM SEEKERS GOTTA EARN THEIR LIVING! ASYLUM
      SEEKERS ARE NOT ILLEGALS UNLESS A JUDGE DENIES THEM ASYLUM. WE ARE A COUNTRY
      OF LAWS AND A COMPASSIONATE COUNTRY. TIME TO ACT THAT WAY.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2452
      Comment Submitted by Klari Tedrow



                                                  Submitter Information
      Name: Klari Tedrow
      Address:
        2907 Central Ave, suite 109
        Birmingham, AL, 35209
      Email: ktedrow@usimmigrant.net
      Phone: 205-871-8084


                                                      General Comment
      I am against the removal of the 30-day processing provision for asylum applicants processing of Form I-765. As
      a former refugee, it is imperative that these people receive work authorization as soon as possible. These
      individuals are already under incredible stress coming from horrible conditions and economically stressed
      situations. To make these people wait longer to work and begin their lives only exacerbates an already bad
      situation. Typically, asylum seekers have little to no funds. I strongly oppose this provision and recommend
      possibly a compromise of 60 days at the most. To make people wait longer than a maximum of 60 days to work
      legally is inhumane.

      Respectfully submitted,

      Klari B Tedrow (Hungarian Revolution, 1956)




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2453
      Comment Submitted by Mary Lang



                                                  Submitter Information
      Name: Mary Lang
      Address:
        192 Melrose Street
        Auburndale, MA, 02466
      Email: marystuartlang@gmail.com


                                                      General Comment
      To whom it may concern:

      I would like to voice my disapproval of the Removal of the 30-Day Processing Provision for Asylum Applicants.
      For two years I volunteered at the Refugee and Immigrant Health Clinic at Boston Medical Center, helping both
      recent refugees and asylum seekers accessing medical care. The asylum seekers' stories were heart-rending, yet
      every one of them showed such resilience. Most were working, many were living wherever they could, sharing
      rooms with others from their country, far from their jobs, but where they could afford to live. They had families,
      and often children back in their country of origin. They left because they had no choice - it was a matter of
      survival.

      To put roadblocks and delays for these traumatized, yet brave and resilient individuals is cruel and not who we
      are as a country. We are stronger for welcoming asylum seekers to our country. I am better for having known
      these asylum seekers.

      Please do not remove the 30-Day Processing Provision.

      Sincerely,

      Mary Lang



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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2454
      Comment Submitted by Anonymous Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Hello,
      As an asylum applicant, it took me around 7 months to get my EAD. I applied in May 2017 and I obtained it in
      January 2018. It will expire in January 2020 (after 2 years). I applied for renewal in July 2019. Since then, I have
      been waiting for my new EAD to be issued. This lengthy waiting time combined with uncertainty is happening
      while the 30-Day requirement is in place. Imagine if that requirement is removed., we could end up waiting for
      years without being able to live and participate in the economy. And this brings up another problem; those
      asylum applicants who are not authorized to work will be public charge as they will need to get every possible
      help from the State. And I think no one wants that.

      Another factor to think about is that those asylum applicants are already in the country and they are human
      resources. So why not engage them in the work force as long as they can do something useful to the economy. A
      lot of them are skilled and/or professional workers with degrees in technology. So it is of interest to the United
      States to let those skillful workers 'work'. This will benefit everyone; 1) the economy will get more workers, 2)
      the asylum applicant will be able to work and pay taxes, pay bills and rent, buy goods and services, etc. 3)
      lowering the number of people who would otherwise seek State help like food stamp, cash benefit, medicaid, etc.
      This will greatly help the states, 4) make illegal (unauthorized) employment less incentive, if one can work
      legally, why would they risk to work under the table and face serious charges. But asylum applicants are not
      authorized to work, they will be less immune to illegal employment (where they get paid cash and they do not
      pay their taxes).




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2455
      Comment Submitted by Whitney Haruf



                                                  Submitter Information
      Name: Whitney Haruf
      Address:
        320 W. Pasadena Ave.
        Apt. 19
        Phoenix, 85013-2358
      Email: whitney.haruf@gmail.com
      Phone: 6026329686


                                                      General Comment
      Hello. I work as a behavioral health counselor and I am against the removal of the 30-day processing provision
      for asylum seekers applying for employment. I have worked with clients who are asylum seekers from many
      different countries and the one thing they have in common is an uncertain future. This feeling of uncertainty
      causes my clients feelings of anxiety, fear, desperation, and other mental health concerns. If I put myself in my
      clients' shoes, I would struggle to cope with this reality, too.
      No one likes an unknown future, especially when you have no legal way to support yourself and your family
      financially for an indefinite period of time. I am requesting that the work authorization process be kept to 30 days
      for the sake of my clients' mental health and to aid their ability to cope with life's significant stressors.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2456
      Comment Submitted by Thomas Smith



                                                  Submitter Information
      Name: Thomas Smith


                                                      General Comment
      It's about time that Congress stops wasting time by trying to get 2016 election turned and get USMCA DONE!
      And get the wall built. How Nancy Schiff Nadler st al sleep at night I'll never know. Get infrastructure done. And
      work for we the people/voters. They should be ashamed. I live in VA where blue dominates. Gov black face or
      KKK and murdering unborn all the way to birth. The SWAMP IS NAUSEATING. CROOKED LIARS ALL OF
      THEM




                                                                                                               AR004982
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2457
      Comment Submitted by Sonia Mistry



                                                  Submitter Information
      Name: Sonia Mistry


                                                      General Comment
      The removal of the 30-day processing provision would have extremely detrimental impacts not only for asylum
      seekers, but also for Americans. People must be able to work and access services to survive and thrive. Asylum
      seekers who cannot work legally will still find ways to support themselves and their families, leaving them
      extremely vulnerable to exploitation, which drives down working and living standards for all working
      Americans.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2458
      Comment Submitted by Jennifer Wachtel



                                                  Submitter Information
      Name: Jennifer Wachtel


                                                      General Comment
      Asylum seekers should be allowed to work as soon as possible. Asylum seekers must already wait 180 days
      before they can apply for work authorization. Keep the 30-day processing provision in place as-is; do not extend
      the processing provision.




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2459
      Comment Submitted by Steve Theis



                                                  Submitter Information
      Name: steve theis


                                                      General Comment
      we need reform asap way past dew i want to see most all of congresses taxes and lets see what happens when you
      join congress




                                                                                                               AR004985
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2460
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      This rule change would endanger families and hurt our economy, making immigrants food and housing-insecure,
      leaving them open to exploitation, and delaying their contributions to our communities. This is a cruel proposal
      meant to further isolate and threaten already vulnerable people who deserve fair and steady treatment from our
      government.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2461
      Comment Submitted by Derrick Hensley



                                                  Submitter Information
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        401 Meadowlands Drive
        Suite 201
        Hillsborough, NC, 27278
      Email: INFO@LODJH.com
      Phone: 9194801999
      Fax: 9196366018


                                                      General Comment
      I am an attorney in private practice who represents many immigrants, in particular children and families seeking
      humanitarian immigration relief, including asylum.

      The USCIS has occasionally had very serious delays/backlogs for renewing various categories EAD's/processing
      I-765's, and by prioritizing the processing of a class of applications that are among the most vulnerable - asylum
      applicants, many of whom have come to the US with no resources and few or no relatives or support network -
      the current rule enables them to become more self-sufficient more quickly. That is a net benefit to society, who
      would otherwise support these individuals through charity/nonprofits, or state welfare services for any
      minors/dependents. Because there's already a 150 day waiting period to apply for the EAD in the first place, it's
      also more fair to prioritize their applications, compared with other categories of aliens who can usually apply in
      advance or at the same time as their other applications.

      The proposed rule would be very disruptive to many vulnerable children by delaying or depriving their
      parents/other caretakers of the ability to work and provide support for them during their lengthy wait. This not
      only leads to deprivation in their homes, but it drains public and nonprofit resources, instead of allowing those
      same individuals to attain self-sufficiency.

      Lastly, individuals who are unable to work legally, but still have economic needs, may resort to working 'under
      the table' out of desperation. Those kinds of working situations often lead to labor abuses. They also lead to the
                                                                                                               AR004987
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      omission of tax revenue, particularly FICA, which is important for the ability of all of us to retire or obtain social
      security benefits. By depriving aliens of the ability to work in jobs that will contribute to our public safety net,
      especially aliens who may only be here temporarily, or who may otherwise not draw retirement/social security
      benefits, we are pointlessly depriving citizens from that revenue stream.

      Not only should Asylum applicants' EAD applications be processed promptly, as has been required for many
      years, the USCIS should ensure that resources are allocated to promptly process requests for initial EAD's from
      as many categories as possible so as to make sure work is above the table, so that it is properly taxed to benefit
      the common good.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2462
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I am the President of a non profit group in Maryland. Our organization feels very strongly that removing the 30
      day processing provision will bring about more insecurity and more vulnerability to an already vulnerable
      population. No good will come from removing the 30 day processing provision and we strongly urge you to not
      do this. The work permit is essential to those seeking asylum and a right to due process.

      Best regards,
      Anonymous




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       PUBLIC SUBMISSION                                                                    Status: Posted
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2463
      Comment Submitted by Lauren Bier



                                                  Submitter Information
      Name: Lauren Bier
      Address:
        8889 Promenade North Place
        San Diego, CA, 92123


                                                      General Comment
      I am writing to comment strongly against this proposal. It makes no sense to further delay an individual seeking
      asylums ability to support themselves while they are waiting for due process. I work with asylum seekers as an
      attorney and human rights advocate. These people come here fleeing bad situations to make new lives for
      themselves. Most want nothing more than to be independent, self-supporting, and free from fear. Delaying their
      ability to do this seems like a cynical attempt to further the false narrative that they are here to take rather than
      contribute. This is rarely the case. It defeats our interests as well as theirs to keep them from starting to show
      how they, too, can contribute to what really makes America great: our vibrant, multi-cultural coexistence.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2464
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      The 30-day processing requirement for processing asylum applicant-related Form I-765 Employment
      Authorizations should not be removed. I have spoken with a number of asylum-seeking mothers with young
      children and their first priority is to find work to support their family. It is not in the best interest of these
      families--or our country--to allow for delay of their authorization to work. Indeed, if the U.S. is truly worried
      about immigrants becoming a "public charge," then we should be encouraging work and self-sufficiency, not
      delaying it.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2465
      Comment Submitted by Eli Putnam



                                                  Submitter Information
      Name: Eli Putnam


                                                      General Comment
      My name is Eli Putnam, and I write to urge you to not establish this proposed rule. For the past year and a half, I
      have volunteered supporting asylum seekers in the applying for asylum. The asylum seekers I know desperately
      want to be able to work legally, both to support themselves and their families, and to contribute to the US
      economy and the country as a whole. There are so many ways that they feel excluded from US society after
      arriving to the United States, including being denied the ability to work with authorization. Waiting six months
      or more to be able to receive work authorization is very difficult for them. It makes it hard for them to get an
      apartment or maintain a stable living situation, to access health care, to keep their kids in school -- in other
      words, to take care of themselves and their families at the most basic levels. Not having work authorization
      immobilizes asylum seekers in many ways, and takes away their agency once again. Asylum seekers have
      survived so much violence and persecution before I have met them. I see them endure further discrimination and
      persecution here in the United States. I hope USCIS will not make them wait even longer to receive work
      authorization. The way USCIS, DHS, law enforcement, and immigration courts treat immigrants is
      unconscionable, and this senseless, cruel rule is another in a ceaseless slew of policies that are used to (and
      intended to) harm people. If USCIS leadership is concerned that the agency's employees need more time to
      process work authorization applications, a straight-forward rule change that would effectively resolve this issue
      is to allow aslyum seekers to apply for work authorization sooner than 150 days after their case is pending.
      USCIS can instead let asylum seekers submit their applications after only 120 days, which would allow
      employees for more time to review and grant work authorization to each applicant, without causing further harm
      to asylum seekers. As a US citizen and as a person whose dignity is intricately tied to the dignity of every other
      person around me, I am in fervent opposition to this rule change.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2466
      Comment Submitted by Amelia Fischer



                                                  Submitter Information
      Name: Amelia Fischer
      Address:
        114 South Pecan Street
        Nacogdoches, TX, 75961
      Email: arf@fischerfischerlaw.com
      Phone: 9365642222
      Fax: 9365641346


                                                      General Comment
      I am an immigration attorney and also serve on the Nacogdoches City Council in Texas. Firsthand in both of
      these roles, I have witnessed how delays in asylum seekers getting their work authorization (Employment
      Authorization Document or "EAD") approval can lead to:

      -Lost income to the asylum seeker and their family
      -Food insecurity
      -Inability to secure a valid ID.
      -Risk of homelessness/housing insecurity
      -Inability to access health insurance
      -Vulnerability to exploitation, trafficking, and underground economy risks
      -Lack of access to community service agencies, shelters, and social service programs
      -Loss of ability to support themselves and their families
      -Feelings of fear, desperation, and overall mental health concerns

      Removing the 30-day processing provision for asylum-based I-765s would have a devastating impact on my
      clients, but also on their families, and our overall local economy and community health. I urge you to not adopt
      this rule.



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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2467
      Comment Submitted by Carlos Sandoval



                                                  Submitter Information
      Name: Carlos Sandoval


                                                      General Comment
      Many people come from other countries fleeing persecution in their countries. These people are victims who are
      protected under our current laws. They need to be able to support themselves while their cases are pending. The
      current administration is very concerned with immigrants not becoming a public charge. The only way for this
      people not to become a public charge is if they are able to work. Therefore delaying the issuance of their
      employment authorization actually goes against the administration goals by preventing people to be gainfully
      employed while their cases are adjudicated, which will increase the chances that they become a public charge.
      Therefore I request that the 30-day processing provision for the employment authorization of asylum applicants
      don't be removed.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2468
      Comment Submitted by Alexandra Roedder



                                                  Submitter Information
      Name: Alexandra Roedder
      Address:
        12624 Princeton Dr.
        Auburn, 95603


                                                      General Comment
      Asylum seekers should be allowed to work while awaiting their hearings.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2469
      Comment Submitted by Kathi Timmons



                                                  Submitter Information
      Name: Kathi Timmons
      Address:
        410 Paula Way
        woodland, CA, 95695-5250
      Email: timmonskathi7@gmail.com


                                                      General Comment
      We want asylum seekers to support themselves while they await a decision. They should work as soon as
      possible.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2470
      Comment Submitted by Carole Montgomery



                                                  Submitter Information
      Name: Carole Montgomery


                                                      General Comment
      Instead of giving the Trump Administration enough time to thoroughly check the background of every asylum
      seeker, theyre being forced to cut corners and make America less safe, just because some bureaucrats wrote a
      ridiculous timeline. These radical restrictions jeopardize our national security and they punish LEGAL
      immigrants for obeying our laws. Please secure Americas safety by removing this arbitrary bureaucratic timeline.
      Thank you and God Bless!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2471
      Comment Submitted by Conchita Cruz. Asylum Seeker Advocacy Project



                                                  Submitter Information
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      Address:
        228 Park Ave., S. #84810
        New York, NY, 10003-1502
      Email: conchita.cruz@asylumadvocacy.org
      Phone: 305.484.9260
      Fax: 646.968.0279


                                                      General Comment
      See attached



                                                            Attachments
      Asylum Seeker Advocacy Project_EAD Comment




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Samantha Deshommes
Chief, Regulatory Coordination Division
Office of Policy and Strategy
U.S. Citizenship and Immigration Services, Department of Homeland Security
20 Massachusetts Avenue NW
Mailstop #2140
Washington, D.C. 20529-2140

DHS Docket No. USCIS-2018-0001
84 F.R. 47148

November 8, 2019

To Whom It May Concern:

       The Asylum Seeker Advocacy Project (ASAP) respectfully submits this comment
to the Department of Homeland Security’s Notice of Proposed Rulemaking on Removal
of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
Authorization Applications, DHS Docket No. USCIS-2018-0001, issued September 9,
2019.

Interest in the Proposed Rule:

        ASAP provides legal services to individuals seeking asylum in the United States
regardless of where they live. Since its establishment, ASAP has provided over 3,500
asylum seekers with critical legal information and prevented over 650 deportations using
its unique remote representation model. While ASAP has provided assistance to
individuals in defensive asylum proceedings in 40 states, our outreach focuses on
supporting individuals in areas with little to no pro bono legal services. ASAP routinely
assists asylum applicants in defensive proceedings with the filing of employment
authorization (EAD) forms. Since the start of 2019, ASAP has assisted in the preparation
and filing of over 40 EADs for asylum applicants.




                 228 Park Ave. S. #84810, New York, New York 10003-1502
                      info@asylumadvocacy.org | asylumadvocacy.org
                                                                            AR004999
Department of Homeland Security Notice:

       On September 9, 2019, the Department of Homeland Security (DHS) published a
Notice of Proposed Rulemaking (“the Notice”) on Removal of the 30-Day Processing
Provision for Asylum Applicant-Related Form I-765 Employment Authorization
Applications, DHS Docket No. USCIS-2018-0001, in the Federal Register at 84 F.R.
47148.

       Currently, asylum seekers whose asylum applications have been pending without
a decision for at least 150 days (“asylum applicants”) are eligible to apply for an EAD
unless the asylum applicant has caused delays in their immigration case, in which case
they must wait longer. Pursuant to a regulation that has been in place for more than two
decades, U.S. Citizenship and Immigration Services (USCIS) is required to adjudicate the
I-765, Employment Authorization application (“EAD application”) of an asylum applicant
within 30 days of receiving it. Nonetheless, USCIS routinely failed to meet the deadline
until July 2018, when a federal court in the case Rosario v. USCIS ordered USCIS to
comply with the deadline.1

       This proposed rule (“the Rule”) would remove the existing regulatory requirement
that USCIS grant or deny an initial employment authorization application within 30 days
of when an asylum applicant files an EAD application. The Rule would also remove a
provision requiring that an application for renewal be received by USCIS no more than
90 days prior to expiration of the employment authorization.

Summary of Arguments

       First, the Notice fails to address the Rule’s potential impact on individuals in
defensive asylum proceedings. Notably, much of the analysis in the Notice appears to
consider only the impact to affirmative asylum applicants, while the proposed changes
would also impact individuals in defensive asylum proceedings. Failure to explain and
consider how the Rule impacts defensive asylum applicants specifically and differently
implicates all of the Notice’s analysis, from its impact on individual asylum seekers to its
impact on other government agencies.

       Second, it is clear the Rule would also adversely affect asylum applicants, legal
service providers, and local communities beyond the loss of wages discussed in the
Notice. Without work authorization, asylum applicants will be at increased risk of
                            
1
 See Gonzalez Rosario v. USCIS, 365 F. Supp. 3d 1156 (W.D. Wash. 2018) (enjoining USCIS from
further failing to adhere to the 30- day deadline for adjudicating EAD applications for asylum
applicants).
                                                                                           

                                                                                AR005000
homelessness and face difficulties in securing healthcare and legal representation. Local
communities and service providers will face substantially greater burdens in trying to
provide support for asylum applicants, which will place strain on already limited
resources.

       Third, the economic analysis in DHS’s Notice fails to consider a number of
variables and, in the absence of additional information, cannot be trusted as an adequate
assessment of the Rule’s likely impact. Significantly, the Notice inaccurately estimates
the likely lost wages of asylum seekers by assuming the period of delay for EAD
processing will be unrealistically low. Moreover, DHS provides no rationale for why it
bases all of its analysis as to economic loss on this faulty assumption regarding
processing times. Additionally, DHS fails to fully consider the impact of the Rule on
businesses and native workers, while omitting altogether analysis of losses as it relates
to tax revenue that municipal, city and state governments will incur. Without further
research, the true economic impact of the Rule cannot be adequately assessed.

       Fourth, the Notice also fails to consider how the new Rule will create additional
burdens on other agencies, in particular, how it will impact the work of both the Executive
Office of Immigration Review (EOIR), the Internal Revenue Service (IRS), and the
Department of Labor (DOL). Removing the 30-Day deadline will result in substantial
increases in requests for continuances and create additional backlogs for U.S.
immigration courts, which are housed within EOIR. Loss of tax revenue as well as likely
increases in unauthorized work will likely create additional investigatory work for the IRS.
The increase in unauthorized work will also likely result in a higher incident of wage theft
and dangerous work sites, which will require additional investigations and adjudication
by the DOL.

       Fifth, significantly, the Notice fails to consider a number of viable alternative
solutions that could potentially avoid the negative consequences of the Rule. Numerous
alternatives, including increased timeframes for EAD processing and e-filing of EAD
applications provide reasonable, cost-efficient alternatives that avoid substantial injury
to asylum applicants, legal service providers, business and state governments. Notably,
DHS even fails to consider the possibility of adopting any of the recommendations on
the EAD process within the 2019 USCIS Ombudsman Report.

    Sixth, in making it more difficult for asylum applicants to integrate and adjust to life
in their new communities, the Rule diverges from both the congressional intent in
creating EADs and from international norms concerning the rights of asylum seekers and
refugees. Congress granted DHS the ability to issue asylum applicants work authorization
in order to help facilitate integration into local communities. The Rule departs from this

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                                                                              AR005001
intent by making it more difficult for asylum seekers to assimilate successfully and
imposing additional barriers for them as they pursue their immigration cases. The Rule
also breaks with international law and norms that protect asylum seekers right to work.

   Finally, the stated purposes for the regulatory change in the Notice do not support
implementing the Rule. Both the changes in EAD document production, and the vetting
and national security concerns stated in the Notice have been in place for years, and
never previously generated a need for the agency to eliminate the processing timeline.
Additionally, the failure to fully consider the viability of either a 60-day or 90-day timeline,
therefore, gives cause to doubt that the ostensible reason for the regulatory change —
“efficiency” — is stated in good faith. Indeed, when viewed in light of the
administration’s clear stated goals of deterring asylum seekers from entering the United
States, it is more plausible that the rule change is motivated by a deliberate effort to limit
access to asylum in the United States.



    I.    The Rule Fails to Adequately Consider its Impact on Asylum Applicants in
           Defensive Proceedings

    While the Rule would impact asylum applicants in both affirmative and defensive
proceedings, DHS does not clarify whether its analysis of the impact of the Rule includes
both affirmative and defensive asylum applicants. DHS includes data on defensive
asylum applicants to show the volume of I-765 applications (initial, renewal and total) in
Table 8.2 However, the remaining analysis in the Notice seems devoted to affirmative
asylum applicants. In fact, the only mention of defensive asylum applicants is in the
footnotes, where DHS states that there is an ongoing backlog of pending defensive
asylum cases at EOIR, “which as of late 2017 had approximately 650,000 cases.”3 The
failure to assess the impact on defensive asylum applicants is significant given that EAD
applications from defensive asylum applicants likely make up a significant portion of the
total EAD applications filed by asylum applicants. In a 2019 Report DHS stated that EOIR
received 119,303 defensive asylum cases in Fiscal Year 2017, making defensive asylum
cases nearly half of all new asylum cases filed for the year.4 By giving short thrift to
defensive asylum applicants, the Notice thus fails to adequately address the impact of
the Rule. 


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2
  See Notice at 47154 n. 15.
3
  See id.
4
  See DHS Office of Immigration Statistics, Annual Flow Report: Refugees and Asylees: 2017
(March 2019) at 7-8 (stating that 119,303 defensive asylum cases were received by EOIR in Fiscal
Year 2017, whereas as USCIS received a total of 139,801 affirmative asylum filings).
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                                                                                  AR005002
    Because the Notice fails to address such a substantial portion of the affected asylum
applicants, its analysis does not accurately reflect the full impact of the Rule. In order to
provide reasonable justification for the new Rule, DHS must therefore provide further
analysis of (1) any differences in the impact of this rule change on defensive asylum
applicants versus those in affirmative proceedings, (2) the impact of the Rule on the
additional government agencies implicated in defensive asylum proceedings, as well as
(3) a breakdown of how many of the EAD applications from asylum applicants come from
those in affirmative proceedings versus defensive proceedings.

      II.   The Notice Fails to Consider the Rule’s Impact on Asylum Seekers and Local
             Communities

   The Notice fails to consider how the Rule would impact asylum seekers and their local
communities beyond lost wages: the Rule would make it more difficult for asylum
applicants to pursue their immigration cases, negatively impact asylum applicants’ well-
being, health and safety, and create significant hardship for the communities where
asylum applicants live.

An Asylum Applicant Explains That Employment Authorization is Key to Integration

      The current 30-day adjudicatory deadline has been essential for asylum applicants
seeking to integrate successfully into local communities. The story of ASAP’s client,
Adriana5, showcases the significance of employment authorization for asylum applicants.

       Adriana entered the United States in 2015. She has not yet had an individual
hearing on her asylum claim before an immigration judge. Shortly after arriving in the
United States, Adriana received a hearing notice from EOIR scheduling her first hearing
for 2016. However, during her intake process with ASAP in early 2016, calling the EOIR
hotline uncovered that Adriana had missed a hearing and had been deported in
absentia. Ultimately it became clear that the EOIR notice had been sent with the wrong
date – and thus the government’s error caused Adriana to receive an in absentia
deportation order. ASAP filed a motion to reopen on Adriana’s behalf, which was
granted, vacating the in absentia removal order. After reopening her case, EOIR
scheduled an individual hearing, which is now still more than a year away.

       Through no fault of her own, it has taken Adriana years to get this far in her asylum
case. Like many asylum seekers, Adriana was forced to accept unlawful employment in
order to support herself and her children. Had she not secured her EAD soon after the
180 days her asylum application was pending, she and her family would have faced even
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5
    The name Adriana is a pseudonym used to protect the identity of ASAP’s client.
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                                                                                     AR005003
greater obstacles to integration, such as a lack of health insurance and greater financial
instability.

       When asked how she felt about the proposed change to the 30-day processing
requirement and the possibility of greater delays in the approval of EAD applications for
asylum applicants, Adriana stated:

      “For me, having work authorization while my asylum case is pending has
      made a huge difference, not only in my life, but for the lives of my children.
      There are children that depend on the work of their parents who came to
      this country to bring them to safety. Before I had work authorization, I
      worked at a restaurant where I was treated poorly. I couldn't do anything
      about it because I wasn't working legally. Now, I have a good job and feel
      l can support my family. Having work authorization also gave me an identity
      document that helped me be able to get health insurance, not only for me,
      but for my family as well. And now that I am thinking about moving and
      renting a new apartment, it helps as well to have an identity document from
      the United States, without which I would have to pay a much larger
      deposit."

Many of the asylum seekers ASAP works with have stories similar to Adriana’s. For
thousands of asylum applicants, the expeditious adjudication of their EADs makes it
possible for them to integrate successfully into their local communities and begin their
lives in the United States. The Rule, however, will cause significant delays that make
integration difficult, if not impossible, with serious consequences for asylum applicants
and their local communities.

Impact on Asylum Applicants’ Ability to Obtain Immigration Counsel

    DHS fails to address how the Rule would impact the ability of asylum applicants to
obtain immigration counsel. ASAP provides asylum seekers in defensive proceedings
with pro se assistance filing I-589’s and EAD applications. For many of the asylum seekers
ASAP works with, obtaining work authorization allows them to save sufficient funds to
hire private immigration counsel. In ASAP’s experience, the 30-day EAD processing
requirement for asylum applicants is critical in order to ensure that asylum applicants
have the ability to hire private counsel. Without access to rapidly adjudicated work




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                                                                             AR005004
authorization, it is likely that asylum applicants will have a more difficult time finding
private immigration counsel.6

     The net result of the regulatory change will be that asylum applicants are simply less
likely to find and hire counsel for their immigration cases. Access to immigration counsel
is particularly important in the defensive asylum context, in which applicants find
themselves in an adversarial proceeding before an immigration judge. Nationwide, only
10% of unrepresented defensive asylum applicants win relief, while thousands of pro se
litigants receive deportation orders despite having strong claims.7

The Rule’s Impact on Asylum Applicants’ Well-Being, Safety, and Health

        The inability to legally work will destabilize the financial situation of people already
traumatized by the threats and persecution that led them to apply for asylum. The
significant collateral consequences of the Rule on asylum seekers will be seen in the
areas of health, food security, and housing stability, as evidenced by Adriana’s story.8

    The financial destabilization created by the delay in work authorization will also put
asylum applicants at greater risk by increasing the likelihood that they will remain in
abusive living situations and predatory employment relationships.9 ASAP has worked
with many asylum seekers who find themselves in vulnerable situations upon arrival in
the United States because their access to financial resources is limited. Receiving an EAD
is often the key to independence and stability: the ability to work allows an asylum
applicant to pay for housing, buy food, pay for medical care, and otherwise participate
in their local communities.

   Without the ability to work lawfully, however, asylum seekers may be forced to endure
dangerous living conditions or abuse in order to be able to live in the United States while
awaiting the adjudication of their asylum applications.10 Human Rights Watch conducted
a series of interviews that illustrate this point:
                              
6
    See Human Rights Watch, At Least Let Them Work, (Nov. 12, 2013) [available at:
https://www.hrw.org/report/2013/11/12/least-let-them-work/denial-work-authorization-and-
assistance-asylum-seekers-united] [hereinafter Human Rights Watch, Let them Work].
7
  See, Transactional Records Access Clearinghouse (TRAC), Asylum Representation Rates Have
Fallen      Amid      Rising   Denial      Rates,     (Nov.      12, 2017)       [available    at
https://trac.syr.edu/immigration/reports/491/].
8
   See Human Rights Watch, Let them Work at 26–34 (detailing how lack of work authorization
causes “physical and emotional harm,” to asylum seekers, impacts their ability to secure housing
and food, and increases their “vulnerability to exploitation.”).
9
  See id. at 33–34.
10
   See id. at 34.
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                                                                                   AR005005
     Forcing asylum seekers to rely on others for subsistence permits, and even
     encourages, abusive and exploitive relationships. Amina Esseghir, a former
     caseworker at the International Institute of New Jersey, said that one of her
     clients, a 21-year-old female asylum seeker, was taken in by a family who
     provided for her well-being. But this situation created an “odd power
     dynamic” between family members and the dependent asylum seeker.
     Members of the family told the asylum seeker that they were going to
     prostitute her out to make money. Esseghir noted that the client “was in a
     situation where if she didn’t do what the [family] wanted, she would be
     homeless.
     […]
     Asylum seeker Isabel C.’s boyfriend is physically, verbally, and psychologically
     abusive. He confines her within his home and away from her cousins. She is
     afraid to leave because she does not want her daughter to go hungry or live
     on the streets. She said that she will not be able to support herself and her
     daughter because she cannot work. Isabel’s lack of work authorization as an
     asylum seeker is one factor keeping her in a situation of domestic violence. “I
     am scared for myself and my daughter. There is no place for us. I wonder if I
     will ever be able to provide a better life for her.”11

The ability to work makes it easier for asylum seekers to extricate themselves from
dangerous living situations — including situations involving domestic violence.12

        Further, the Rule threatens the health and wellbeing of asylum seekers while
placing an unnecessary strain on the healthcare system.13 Asylum seekers have no
documentation of their authorization to remain in the United States during the pendency
of their asylum case, nor do they have a way to seek basic primary health care before the
adjudication of their EAD application.14 As is mentioned above by ASAP’s client Adriana,
obtaining an EAD gave her access to private health insurance for herself and her family.
Delays in the adjudication of EAD applications could therefore lead to an increase in the
number of asylum applicants forced to seek medical care primarily through
overburdened emergency room systems. This reliance on emergency medical services


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11
   Id. at 33-34.
12
   See id. at 34–35.
13
    See id. at 15–16 (“[Lack of work authorization] prevents asylum seekers from accessing
affordable health care while their claims are pending.”).
14
      Immigration    Status    and     the    Marketplace, Healthcare.gov,  [available  at:
https://www.healthcare.gov/immigrants/immigration-status/].
                                                                                         

                                                                               AR005006
raises healthcare costs for everyone and denies asylum applicants access to preventive
primary care.

The Rule’s Impact on Local Communities

        The impact on individuals will also be felt across local communities: it is likely that
rates of homeless will increase and resources of community service providers will
consequently be stretched thin. Asylum applicants, barred from employment for
prolonged and indeterminate lengths of time, will likely be forced to rely on greater
community support, including assistance from family members, food banks, shelters, and
other local charities. Delays in obtaining work authorization will likely increase the risk of
violence and victimization of asylum applicants in the United States; this in turn could
lead to greater expenditure of local law enforcement resources to investigate and
prosecute instances of violence against asylum applicants. Additionally, public schools
may have to shift resources to providing counseling and other psychological services to
traumatized children who have witnessed or suffered domestic violence. The Notice also
fails to address these potential societal impacts on U.S. citizens and other community
members, nor does it address the subsequent financial costs incurred by local
communities where asylum applicants reside.

       In order to provide reasonable justification for the new Rule, DHS must therefore
provide further analysis of how the rule will impact (1) the ability of asylum applicants to
integrate; (2) the ability of asylum seekers to obtain immigration counsel, (2) the well-
being, health and safety of asylum seekers, and (3) the possible drain on local community
resources asylum applicants may turn to while waiting for their work authorization.

    III.   The Notice Fails to Consider the Economic Losses to Asylum Applicants,
            Businesses, Legal Service Providers, as well as State and Local Governments

    ASAP consulted with multiple economists in order to better assess the likely costs of
the Rule. The discussion below reflects ASAP’s conclusions about the economic costs in
light of those discussions.

Unrealistic Processing Times Lead to Significant Underestimating of Economic Losses

    DHS bases its estimate of economic losses on the unrealistic and unlikely assumption
“that if this Rule is adopted, adjudications will align with DHS processing times achieved
in FY 2017 (before the Rosario v. USCIS court order).” It is unlikely and unreasonable to
estimate that the Rule will result in a return to pre-Rosario processing times. First,
because DHS rejects a 90-day alternative as not giving USCIS enough flexibility to

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                                                                                 AR005007
adjudicate EADs, it is reasonable to assume processing times will regularly exceed 90
days under the Rule. Second, current EAD processing times can be as high as 570 days15
(19 months) depending on the category and the service center.16 Without any required
processing timeline there is no guarantee that the processing of asylum applicant EADs
will not mirror the longer timeframes of other EAD categories. Third, according to
USCIS’s own estimates, the processing time of EADs (presumably renewals not covered
under Rosario) for asylum applicants can be as much as 180 days at the Nebraska Service
Center, 135 days at the Potomac Service Center, and 90 days at the Texas Service
Center.17 As such, DHS’s calculation of economic losses relies on unrealistic processing
timelines, grossly underestimating lost wages and losses to social security and Medicaid.

    DHS must either provide a basis for calculating economic loss using pre-Rosario
processing times or provide a more realistic prediction of processing times under the
Rule. Additionally, DHS should provide the following data needed to better judge the
reasonableness of estimated processing times under the Rule: average processing times
for all EADs (with the exception of those initial EADs filed by asylum applicants), and
average processing times for renewals of EADs based on pending asylum applications.

Economic Losses for Companies, Native Workers, and State and Local Governments

    DHS underestimates the impact of the Rule on the private sector. Under the Rule,
companies may have insufficient access to labor or bear the costs of attracting and hiring
alternative labor. As noted by 1,470 economists in an open letter in 2017, immigrants
provide a “significant competitive advantage” to the U.S. economy, heightening levels
of innovative and flexibility within industry.18 The Rule would unnecessarily deny
businesses and organizations these advantages provided by asylum seekers’ timely
involvement in the local economy.

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15
   This calculation assumes 30 days in each month.
16
   As of November 7, 2019, the processing time at the Vermont Service Center for EADs based
on category (c)(33) – for those with an approved and concurrently filed I-821D – is between 14.5
and      19    months.      Information   is   searchable    on      USCIS’s    website    here:
https://egov.uscis.gov/processing-times/home.
17
   As of November 7, 2019, the processing times for EADs based on category (c)(8) – for those
with a pending I-589 – is between 4 and 6 months at the Nebraska Service Center, 2.5 and 4.5
months at the Potomac Service Center, and 3 weeks to 3 months at the Texas Service Center.
Information is searchable on USCIS’s website here: https://egov.uscis.gov/processing-
times/home.
18
   New American Economy, Open Letter from 1,470 Economists on Immigration (Apr. 12, 2017)
[available      at     https://www.newamericaneconomy.org/feature/an-open-letter-from-1470-
economists-on-immigration/].
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       DHS fails to consider that asylum seekers bring a wide and deep range of
professional experience to their work, which cannot always be replaced by a native
workforce. Recent empirical immigration research suggests that native and immigrant
labor are complements, rather than substitutes.19 Accordingly, the extended delay of
asylum applicants from the labor market might actually lead to adverse impacts on native
worker prospects,20 which is not contemplated in DHS’s assessment of costs.

   DHS estimates of lost wages do not capture the full scope of “lost profits” to
companies caused by a delay or shortage of asylum applicant labor. It is reasonable to
assume that companies earn profits from the value of asylum applicant labor in excess
of wages paid to those workers.21 As such, calculating lost wages associated with
reduced employment will not capture associated profit losses, which is critical to
assessing the economic cost of the Rule.

        Additionally, the Notice does not attempt to estimate the cost of the Rule as it
relates to lost income tax revenue. Local, state, and federal governments will lose income
tax revenue from asylum applicants who are delayed in entering the job market or forced
to work in the shadow economy. DHS acknowledges that tax losses would vary according
to the jurisdiction.22 However, DHS fails to consider tax revenue lost not only as a result
of lost wages, but from corresponding lost profits as well as losses from sales and other
consumption-based taxes.

   In order to accurately assess the cost of the Rule, DHS must (1) fully consider the cost
to the private sector, including estimating loss in profits, (2) address the potential
negative impact to a native workforce, (3) attempt to calculate lost income tax revenue,
and (4) provide analysis of how the loss in tax revenue would impact federal, state, and
local government.




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19
   See, e.g., Jongkwan Lee, Giovanni Peri, Vasil Yasenov, The Labor Market Effects of Mexican
Repatriations: Longitudinal Evidence from the 1930s, NBER WORKING PAPER, (Oct. 2019)
[available at https://www.nber.org/papers/w26399].
20
   See G. I. P. Ottaviano & G. Peri, Rethinking the Effect of Immigration on Wages, 10 J. EUR.
ECON. ASS’N 152 (2012).
21
   See David Card et al., Firms and Labor Market Inequality: Evidence and Some Theory, 36 J.
LAB. ECON. S13 (2018) (indicating that workers are not paid the marginal value of their labor
contribution, which means firms are earning additional profits from their labor).
22
   See Notice at 47150.
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     IV.   The Notice Fails to Consider the Rule’s Impact on EOIR, the IRS, and the DOL

        DHS has not properly considered or evaluated the additional burden that the Rule
will place on various federal agencies. This is particularly clear as it relates to defensive
asylum applicants, who are in proceedings before EOIR, not USCIS.

Increased Backlogs in Immigration Court

        The Rule could inadvertently increase the backlogs in immigration court. Without
reliably quick processing of an EAD, a higher number of asylum applicants in defensive
proceedings will be unable to pay for private immigration counsel and increasingly
forced to seek out pro bono representation. As such, reasonable continuances are more
likely to be requested to allow asylum applicants to look for pro bono counsel.
Additionally, for those applicants who are forced to proceed pro se, immigration courts
will be required to expend more time and resources in eliciting testimony and evaluating
evidence in their cases. 23

        Defensive asylum applicants are also currently dissuaded from seeking
continuances, because if they do so, they become ineligible for an EAD.24 The promise
of an EAD being processed for asylum applicants within 30 days has likely served as a
deterrent to requesting continuances and increasing delays in immigration proceedings.
Without the guarantee of a specific adjudication timeline, it seems defensive asylum
applicants could weigh the possibility of an EAD at some point in the future as insufficient
justification to foreclose seeking a continuance. Moreover, if defensive asylum applicants
pursued continuances in greater numbers, it would result in an even longer backlog for
an already overburdened immigration court system.

      The Notice does not address whether the Rule could result in a higher volume of
continuances, nor does it consider how increased continuances could strain EOIR’s
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23
   See The Vera Institute, THE CASE FOR UNIVERSAL REPRESENTATION, (Dec. 2018) [available at
https://www.vera.org/advancing-universal-representation-toolkit/the-case-for-universal-
representation-1.] (highlighting how having counsel on both sides increases efficiency of
immigration proceedings); see also, Ingrid Eagly & Steven Shafer, A National Study of Access to
Counsel in Immigration Court, 164 U. PA. L. REV. 1, 48–50 & 71 (2015) (detailing the significance
of legal representation in immigration proceedings for case outcomes); New York Immigrant
Representation Study, Accessing Justice: The Availability and Adequacy of Counsel in
Immigration Proceedings, 33 CARDOZO L. REV. 357, 363–64 (2011) (discussing the consequences
of lack of adequate legal representation in immigration cases).
24
      See    EOIR,    The     180-Day     Asylum     EAD    Clock    Notice      [available    at:
https://www.uscis.gov/sites/default/files/USCIS/Humanitarian/Refugees%20%26%20Asylum/As
ylum/Asylum_Clock_Joint_Notice_-_revised_05-10-2017.pdf].
                                                                                              

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limited resources and capacity to timely adjudicate cases. Before implementing the Rule,
DHS must consider whether the Rule would negatively impact EOIR, and specifically
address the potential for an increased backlog at the immigration courts and the
subsequent cost incurred by EOIR.

Additional IRS Investigatory Work

        The Rule would also create additional burdens on the IRS, both as a result of a
reduction on taxable income, and increased investigations of tax liability for
unauthorized employment. The IRS stands to lose income revenue for asylum applicants
who would otherwise be eligible for employment and taxation. Unauthorized work may
also result in tax evasion by employers and individuals, requiring additional
investigations by the IRS. DHS has not fully considered the tax revenue that would be
lost, or the additional investigatory work of the IRS that will follow as a result of limiting
taxable work opportunities for asylum applicants. Therefore, DHS must assess the
additional burdens the Rule would create for the IRS before implementation.

Higher Levels of Unauthorized Work and Additional Investigatory Burdens for DOL

      The Rule could also create additional burdens for DOL by forcing it to investigate
higher incidents of wage theft, and other unsafe working conditions monitored by its
agency, the Occupational Health and Safety Administration (OSHA).25

    DHS does not acknowledge the impact of unauthorized work on DOL. With delays in
the adjudication of employment authorization, many asylum applicants will be forced to
join the unauthorized workforce in order to support themselves and their families.
Studies have shown that immigrants without work authorization are at a higher risk of
labor exploitation and wage theft by employers who are more likely to violate federal
and state minimum wage and overtime requirements.26 DOL investigations are also
made significantly more difficult as a result of fear among individuals working without


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25
   See Jack Herrera, What Will Happen if Trump Cancels Work Permits for Asylum Seekers?,
PACIFIC STANDARD (Apr. 30 2019) [available at https://psmag.com/news/what-will-happen-if-
trump-cancels-work-permits-for-asylum-seekers].
26
   See, e.g., Douglas Massey & Kerstin Gentsch, Undocumented Migration to the United States
and the Wages of Mexican Immigrants, 48 INT’L MIGRATION REV. 482 (2014); Sally C. Moyce &
Marc Schenker, Migrant Workers and Their Occupational Health and Safety, 351, 357 (Jan. 24,
2018) [available at: https://www.annualreviews.org/doi/pdf/10.1146/annurev-publhealth-
040617-013714] (“[R]esearchers found that undocumented workers were more than two times
as likely to experience wage violations compared with documented workers.”).
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                                                                                AR005011
EADs, which makes it easier for employers to mistreat and underpay workers; notably
this difficulty has also been found to lower morale of DOL investigators.27

    The DOL is also required to investigate reported instances of wage theft and expends
considerable resources investigating cases where unauthorized immigrant laborers are
victimized. Unauthorized workers are subject to many of the protections of the Fair Labor
Standards Act, including federal minimum wage guarantees, which are enforced by the
Wage and Hour Division of DOL.28 As such, the delay in EAD processing is likely to force
a greater volume of asylum applicants into precarious work situations, and in turn,
generate a higher incident of wage theft claims that the DOL will investigate.

    Additionally, persons without work authorization are more likely to work in unhealthy
and dangerous conditions that violate the parameters of the Occupational Safety and
Health Act, which is enforced by OSHA.29 The Rule will therefore likely also result in an
increased need for on-site OSHA inspections, and greater allocation of resources within
the DOL to this work.

   DHS failed to consider the meaningful impact of the Rule on the DOL as it relates to
wage theft and work-site safety inspections. DHS must therefore consider the increased
investigatory burden and resource cost the Rule will impose on DOL.




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27
   See Sam Levin, Immigration Crackdown Enables Worker Exploitation, Labor Depart Staff Say,
The     Guardian     (Mar.     30.   2017)   [available  at    https://www.theguardian.com/us-
news/2017/mar/30/undocumented-workers-deportation-fears-trump-administration-
department-labor].
28
   See, e.g., Lucas v. Jerusalem Cafe, 721 F.3d 927, 934 (8th Cir. July 29, 2013) (noting that
“FLSA's sweeping definitions of ‘employer’ and ‘employee’ unambiguously encompass
unauthorized aliens”); Colon v. Major Perry St. Corp., 987 F. Supp. 2d 451, 454 (S.D.N.Y. 2013)
(collecting cases) (noting that “[c]ontemporary courts…have continued to conclude that” FLSA’s
definition of employee extends to unauthorized immigrant workers); see also U.S. Dep’t of Labor,
Wage and Hour Div., “Fact Sheet # 48: Application of U.S. Labor Laws to Immigrant Workers:
Effect of Hoffman Plastics decision on laws enforced by the Wage and Hour Division” (rev. July
2008)     [available at:    https://www.dol.    gov/whd/regs/compliance/whdfs48.pdf]       (“The
Department's Wage and Hour Division will continue to enforce the FLSA ... without regard to
whether an employee is documented or undocumented.”).
29
   Michael J. Wishnie, Immigrants and the Right to Petition, 78 N.Y.U. L. REV. 667, 677 & n. 51
(2003).
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                                                                                  AR005012
     V.      DHS Fails to Consider Possible Alternatives

    DHS is required to consider feasible and readily identifiable alternatives to the
proposed action.30 At the very least, it must should consider a no-action alternative,
leaving the 30-day adjudication timeline in place, and investigate alternative, feasible
timelines such as a 60 or 90 day processing requirement. DHS should consider the
alternatives presented in this comment, as they are each a reasonable way to further
Congress’s objectives in creating work authorization for asylum applicants, without the
additional costs that would accrue with increased delays.

    The Notice also notably fails to consider any of the alternative recommendations that
the 2019 DHS Ombudsman Report suggests for addressing EAD processing times.31 The
failure to adequately consider at the very least a few of these alternative actions ignores
existing regulations directing agencies to consider the cost and benefits of regulatory
alternatives, including their potential benefits and drawbacks.32

Possible Alternatives

        DHS has proposed no alternative timeline to the 30-day adjudication of EADs filed
by asylum applicants. DHS rejects a 90-day timeframe to replace the 30-day timeframe
for adjudicating EADs without very little explanation.33 Even though a 90-day deadline
would already be three times the current timeframe, DHS proposes to instead remove a
timeframe entirely, suggesting that the agency anticipates these applications being
significantly delayed beyond 90 days.

           90-day deadline

      DHS is wrong to dismiss a 90-day deadline without meaningful consideration. A
90-day deadline would be a reasonable alternative, but DHS asserts only that “it would
not provide USCIS with the certainty and flexibility it needs to fulfill its core mission.”34
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30
   See 5 U.S.C. § 553 (establishing minimum requirements for agency rule making).
31
   See U.S. Citizenship and Immigration Services Ombudsman, Annual Report 2019 (Jul. 12,
2019)            [hereinafter        Ombudsman             Report]          [available         at
https://www.dhs.gov/sites/default/files/publications/dhs_2019_ombudsman_annualreport_verif
ied.pdf].
32
   Executive Orders 12866 and 13563 direct agencies to assess the costs and benefits of available
regulatory alternatives and, if a regulation is necessary, to select regulatory approaches that
maximize net benefits (including potential economic, environmental, public health and safety
effects, distributive impacts, and equity).
33
   Notice at 47166-47167.
34
   Notice at 47167.
                                                                                             

                                                                                   AR005013
In the Notice itself, DHS states that in FY 2017, prior to the Rosario court order, USCIS
adjudicated 92% of asylum applicants’ EADs within 90 days.35

       60-day deadline

        DHS has shown by its past conduct that the agency is capable of adjudicating a
majority of EAD applications for asylum applicants within 60 days of submission. In the
Notice, DHS states that in FY 2017, prior to the Rosario v. USCIS court order, USCIS
adjudicated approximately 78% of applications within 60 days.36 Relying on DHS’s
assumption that under the new Rule, pre-Rosario processing times will be the norm, this
statistic demonstrates that, even without the external court-ordered pressure to
adjudicate applications within the 30-day deadline, USCIS is capable and able to
adjudicate the majority of applications within 60 days.

Alternative deadlines for cases that don’t require additional security vetting

    If DHS is not able to meet a 30, 60, or even 90-day deadline in all cases, it could
institute a tiered or alternative system of deadlines for cases that require additional
security vetting. DHS already uses a similar alternative deadline process when it requests
additional documentation from an asylum applicant, stopping the clock on the 30-day
processing timeframe.37 A stop-time mechanism for cases that require additional vetting
would be a feasible way to maintain a fixed processing deadline (which would maintain
agency accountability and EAD access) without sacrificing the agency’s flexibility.

Failure to Consider Recommendations from the 2019 USCIS Ombudsman Report

   The 2019 USCIS Ombudsman Report recommends that the agency take a number of
steps to ensure timely adjudication of EADs, including : (1) augmenting USCIS’ staff
resources to enable Service Centers to devote more production hours to EAD
processing; (2) accelerating the incorporation of the Form I-765 into eProcessing; (3)
implementing a public education campaign to encourage applicants to file I-765 renewal
applications up to 180 days before the expiration of current EADs and verify the
addresses provided; (4) establishing a uniform process to identify and expedite
processing of Form I-765 resubmissions filed due to “service error.”38 The Notice,
however, fails to consider any of these possible recommendations, and does not assess


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35
   Notice at 47167.
36
   Notice at 47149.
37
   Notice at 47153, ft. nt. 9.
38
   Ombudsman Report at 83.
                                                                                      

                                                                             AR005014
how their implementation might ameliorate any need to remove the 30-day adjudication
requirement.39

    In the Notice, DHS admits it “has not estimated the hiring costs that might be avoided
if this proposed rule were adopted,”40 and thus does not know whether hiring costs
would constitute a substantial financial burden. Instead, DHS argues that hiring new
employees would not solve their application overload. However, the temporary delay
between hiring new employees and their ability to process applications does not require
a permanent elimination of a fixed processing timeframe. Furthermore, the promulgation
of the Rule will almost certainly yield increased delay times longer than those that could
result from any new employee onboarding. Moreover, the 2019 Ombudsman Report
rejects concerns that onboarding would cause significant delays, and instead suggests
that the hiring of additional staff would be pivotal for DHS to increase its processing
times.41 DHS fails to meaningfully engage in this analysis, providing little to no cost-
benefit analysis.

   DHS also did not adequately consider the possibility of reassigning existing
employees. These reassigned employees could help process application while new
employees trained. Even if the possibility of hiring new employees was rejected, DHS
should have considered whether reassigning existing employees constituted a feasible
and readily available alternative, including by estimating the associated costs of hiring
more staff.

       One particularly glaring omission from the Notice, is DHS’s decision to ignore the
Ombudsman’s recommendation of implementing eProcessing procedures and new
technologies in order to expedite the review process and improve review for purposes
of fraud and national security concerns.42 The 2019 Ombudsman Report notes that taking
these steps would reduce processing times and improve overall efficiency.43 DHS fails to
seriously consider reasonable alternatives, including those recommendations coming
from within DHS. The Rule cannot be implemented until these reasonable alternatives
have been fully considered and weighed against the costs of the proposed change.




                           
39
    See generally Notice.
40
    Id. at 47149.
41
    See Ombudsman Report at 82–83.
42
    See id.

   See id. at 84.
                                                                                       

                                                                             AR005015
     VI.   The Rule Deviates from Congressional intent and International Norms

   Congress created a statute to allow for asylum applicants to receive work
authorization pending the adjudication of their cases.44 This rule change, however,
creates the possibility of an indefinite delay in processing the EADs of asylum applicants.
Thus, making integration substantially more difficult. Because of this, the Rule is in
tension with the underlying Congressional intent allowing for asylum applicant work
authorization. 

    Additionally, the Rule diverges from the international norms protecting the
employment rights of asylum seekers and would constitute a departure from these
commitments for the United States. This both damages the United States’ international
standing and undermines the architecture of the international system for the protection
of refugees and asylum seekers.

A Rule Change Diverges from both Congressional Intent Authorizing EAD Applications
and International Norms

    DHS argues that it has the authority under the INA to determine of its own volition
how long it needs to adjudicate EAD applications.45 However, this logic is undermined
by the rest of the statute. Importantly, one of the “chief purposes” of the 30-day deadline
was “to ensure that bona fide asylees are eligible to obtain employment authorization
as quickly as possible.”46 As noted in Rosario, "although Congress has not included a
timetable specific to EAD applications, it has stated that the final adjudication of the
asylum application ‘shall be completed within 180 days after the date an application is
filed.’”47 This timetable syncs up with the regulatory requirements—that after the asylum
application has been pending for 150 days, the EAD application should be resolved in
30 days.”48 Congress plainly wrote this statute with the understanding that a reasonable
time limit would be placed on the adjudication period, something the agency
understood when they promulgated the regulation that the Rule will replace. “The
purpose of promulgating the 30-day deadline on top of that 150-day waiting period was
to cabin what was already—in the agency's view—an extraordinary amount of time to
wait for work authorization.”49

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44
   See 8 U.S.C. § 1158(d)(2); see also Notice at 47153 n. 11 (acknowledging this as the underlying
purpose of the statutory scheme at issue).
45
   Notice at 47149.
46
   Notice at 47153 n. 11.
47
   Gonzalez Rosario, 365 F. Supp. 3d at 1162 (quoting 8 U.S.C. § 1158(d)(5)(A)(iii)).
48
   Id. at 1162-3.
49
   Id. at 1161.
                                                                                               

                                                                                    AR005016
   DHS must therefore explain how the Rule conforms with the congressional intent
authorizing the creation of EADs for asylum applicants before it can be implemented.

The Rule Departs from International Norms Concerning the Rights of Asylum Seekers to
Employment

        Additionally, the Rule is out of sync with the commitments and policies of our peer
nations in the international community Articles 17 and 18 of the 1951 Refugee
Convention recognizes that asylum-seekers have a right to self-employment access
opportunities that is at least as favorable as the access enjoyed by similarly situated
foreigners.50 The United States has historically maintained policies that mirrored the
requirements of the Convention.51 Our peer nations continue to honor their
commitments to the international norms of the Convention. Canada — with whom the
United States has signed a Safe Third Country Agreement formed under mutual
recognition of the two nations’ “generous systems of refugee protection” and “both
countries’ traditions of assistance to refugees”— maintains a system significantly more
generous than that of the Rule.52 Concretely, Canada allows eligible asylum seekers (and
their families) who cannot pay for basic needs to access open work permits.

       Canada’s more humanitarian commitment, for instance, is mirrored by our peer
nations globally. At least 14 nations in the European Union grant asylum-seekers with
work authorization before 6 months (and several upon filing).53 Furthermore at least nine
nations in Latin America allow for immediate work authorization upon filing of asylum
application.54 The Rule drives the United States further from international norms and
practices, undermining the nation’s commitment to the protection of the asylum-seeker
rights and dignity.
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50
   See Convention Relating to the Status of Refugees, 189 U.N.T.S. 150, adopted July 28, 1951,
entered into force April 22, 1954, chap. III, http://www.unhcr.org/3b66c2aa10.html (accessed
Nov. 5, 2019). By acceding to its 1967 Protocol, the United States has bound itself to these
provisions of the Refugee Convention; See also, James C. Hathaway, The Rights of Refugees
Under International Law, (New York: Cambridge University Press, 2005).
51
   See American Immigration Council, An Overview of U.S. Refugee Law and Policy (Jun. 18,
2019) [available at https://www.americanimmigrationcouncil.org/research/overview-us-refugee-
law-and-policy].
52
  See Government of Canada, Types of work permits: You’ve filed a claim for refugee protection,
[available                 at:             http://www.cic.gc.ca/english/work/apply-who-permit-
result.asp?q1_options=1i&q2_options=2h].
53
  UNHCR, A guide to international refugee protection and binding state asylum systems at 102,
https://www.unhcr.org/3d4aba564.pdf.
54
   Id. at 102; see also Directive 2013/33/EU, https://www.refworld.org/docid/51d29db54.html.
                                                                                            

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       DHS should consider the ramifications of a regulatory change that diverges from
international norms before implement implementing the Rule.

     VII.   The Stated Justifications in the Notice Do Not Support Adopting the Rule

    DHS’s stated justifications for a rule change do not support adopting the Rule as it
stands. First, the scope of proposed regulatory changes does not correspond to the
reasons given for the Rule in the Notice. Both the changes in EAD document production
and vetting and national security concerns stated in the Notice have been in place for
years, and never previously generated a need from the agency to eliminate the
processing timeline. Second, despite DHS’s own stated belief that it will be able to
process the vast majority of EAD applications on a 60-day timeline, the new Rule would
eliminate any processing timeline all together. The failure to fully consider the viability
of either a 60-day or 90-day timeline, therefore, gives reason to doubt the ostensible
motivations stated for the regulatory change. Last, if DHS was really concerned with
efficiency, it could have considered adopting the proposed recommendations of the
2019 USCIS Ombudsman’s Report.

The Notice’s Stated Purposes for the Rule Do Not Make Sense

        The stated reasons for the rule change do not make sense. DHS explains that it
seeks to eliminate the 30-day processing deadline because it does “not provide
sufficient flexibility” to the agency to address (1) “[the] increased volume of affirmative
asylum applications and accompanying Applications for Employment Authorization”; (2)
“changes in intake and EAD document production” over the last two decades; and (3)
“the need to appropriately vet applicants for fraud and national security concerns.”55

      Notably, however, the changes DHS identified in intake and document
production have been in place for more than a decade and a half: these changes began
in 1997 and were fully implemented by 2006.56 Also, of note, the additional fraud and
national security vetting DHS identified as necessary was implemented after September
11, 2001 and the creation of the Office of Fraud Detection and National Security (FDNS)
in 2004.57 Despite the existence of these production and vetting changes, USCIS has
been able to comply for more than a year with the Rosario court’s order requiring it
process initial EAD applications in 30 days. Also, if the agency requires additional
documentation from the applicant, USCIS can and does send a request for evidence
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55
   Notice at 47155.
56
   See id 47154 n.17.
57
   See id. 47154-55.
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                                                                              AR005018
(RFE), which pauses the 30-day timeframe clock until the requested additional
documentation is received.

        DHS’s rejection of a 90-day alternative timeline is confusing and undermines
confidence in DHS’s assertion that the rule change would return processing times to pre-
Rosario timeframes. In the Notice, DHS states that “[w]ith the removal of the 30-day
adjudication timeline, DHS anticipates similar outcomes to those achieved in FY 2017
[prior to Rosario order].”58 Prior to the court’s ruling in Rosario, USCIS adjudicated 47%
of initial EAD applications within 30 days, an additional 31% of applications within 60
days, and 22% of applications in more than 60 days. However, DHS then rejects the 90-
day timeline as inflexible, suggesting that, in fact, it anticipates processing delays well-
beyond the pre-Rosario timeframes.

       Furthermore, DHS’s rejection of any timeline does not promote its goal of
increased efficiency. Processing times under Rosario suggest that mandatory timelines
lead to increased efficiency and expedited processing times, forcing the agency to
coordinate resources more effectively to meet deadlines. Refusing to establish any
alternative deadline therefore removes the incentive for increased agency efficiency. As
such, the proffered justifications in the Notice, do not support the changes to the rule.

   Instead, the Rule should be viewed in light of both the Administration’s stated goals
of making it more difficult to pursue asylum in the United States, and its open hostility
towards immigrants more generally.
     
The Lack of Reasoned Justifications Implies Other Motivation

        Because the rule change diverges from congressional intent, and the stated
justifications for the Rule do not make sense, it is necessary to consider other potential
motivations for the rule change. The third-country transit bar,59 Migrant Protection




                            
58
  Id. at 47162.
59
  See Human Rights First, Trump Administration Third-Country Bar is An Asylum Ba that Will
Return       Refugees        to       Danger,         (Sept.      2019)       [available at
https://www.humanrightsfirst.org/sites/default/files/Third-Country-Transit-Ban.pdf]
                                                                                        

                                                                              AR005019
Protocols (MPP)60 and expedited processing for “family unit” asylum cases61 are evidence
that this Administration is attempting to make it harder for individuals who seek safe
haven at the Mexico-U.S. border to win asylum and get on a path to citizenship.62 Indeed,
journalists have reported that the Administration is also considering issuing an outright
ban on asylum applicant work authorization.63 As such, the rule change could be viewed
as part and parcel of these same efforts.

     VIII.   Conclusion

        Asylum applicants reside in the United States legally; that is, they are in the
country with the knowledge and acquiescence of the federal government. In recognition
of this fact, Congress granted work authorization to asylum applicants so they would be
able to integrate and assimilate into local communities expeditiously. The Rule diverges
from this purpose, and instead, creates the possibility of indefinite waiting periods for
asylum applicants to receive work authorization.

       For the reasons listed above, it is in the interest of asylum applicants, and in the
interest of the United States that asylum applicants are not delayed from entering the
documented workforce. As such, ASAP strongly recommends that DHS withdraw the
portion of the Rule that would eliminate the 30-day processing requirement for USCIS
to adjudicate initial EAD applications from asylum applicants.


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60
   See Human Rights Watch, We Can’t Help You Here: US Returns Asylum Seekers to Mexico,
(2019) ( “The Trump administration has pursued a series of policy initiatives aimed at making it
harder for people fleeing their homes to seek asylum in the United States, separating families,
limiting the number of people processed daily at ports of entry, prolonging detention, and
narrowing the grounds of eligibility for asylum. In January 2019, the administration expanded its
crackdown on asylum with a wholly new practice: returning primarily Central American asylum
seekers to several border towns in Mexico where they are expected to wait until their US asylum
court proceedings conclude, which could take months and even years.”) [available at
https://www.hrw.org/sites/default/files/report_pdf/us_mexico0719_web2.pdf].
61
   See Jeffery S. Chase, EOIR Creates More Obstacles for Families, (Dec. 13, 2018) (A former
immigration judge stating that the FAMU docket is an effort at “gaming of the system to deny
more asylum claims for [the Administration’s ] own political motives”) [available at
https://www.jeffreyschase.com/blog/2018/12/13/eoirs-creates-more-obstacles-for-families].
62
   See Nicole Narea, The Demise of America’s Asylum System Under Trump, Explained, VOX
(Nov. 5, 2019) [available at https://www.vox.com/2019/11/5/20947938/asylum-system-trump-
demise-mexico-el-salvador-honduras-guatemala-immigration-court-border-ice-cbp].
63
   See Julia Ainsley, Trump Administration Weighs Restricting Asylum-Seekers from Working,
NBC News (Nov. 4, 2019) [available at https://www.nbcnews.com/politics/donald-trump/trump-
administration-weighs-restricting-asylum-seekers-working-n1076146].
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                                                                                   AR005020
Thank you for your time and consideration.




Sincerely,




Conchita Cruz
Co-Executive Director
Asylum Seeker Advocacy Project (ASAP)




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2472
      Comment Submitted by Kelly Ann Whelan, U.S. Committee for Refugees and Immigrants



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                                                      General Comment
      Dear Chief Deshommes:

      The U.S. Committee for Refugees and Immigrants (USCRI) respectfully submits these comments in response to
      the Department of Homeland Securitys (DHS) Notice of Proposed Rulemaking (NPRM) entitled Removal of 30-
      day Processing Provision for Asylum Applicant-Related Form I-765 Employment Authorization Applications
      published on September 9, 2019. USCRI appreciates the opportunity to submit comments regarding the proposed
      rule.

      USCRI, established in 1911, is a nongovernmental, not-for-profit international organization dedicated to
      addressing the needs and rights of refugees and immigrants. USCRI provides legal representation to asylum
      seekers at its four legal services offices. We believe the proposed rule would increase economic hardships for our
      asylum-seeking clients and their families, their potential employers, and their communities. As such, USCRI
      opposes the proposed amendments to 8 CFR 208.7 and requests that DHS withdraw the proposed rule. Our
      specific comments are below.

      Opposition to Removal of Adjudication within 30 Days

      DHS proposed rule removes the requirement that the initial Employment Authorization Document (EAD) be
      processed within 30 days of submission.

                                                                                                               AR005022
file:///C/...p/AR%20Assignments/Asylum%2030-Day%20Download%20(uploaded)/Public%20Comments/files/USCIS-2018-0001-2472.html[9/15/2020 4:14:28 PM]
      Asylum seekers already face financial hardship under the requirement that they must wait 150 days after
      submission of an asylum application to seek an EAD by submitting an I-765 pursuant to the ABT Settlement
      Agreeement. Under the current rule, this makes an asylum seekers wait 180 days total. Asylum seekers are
      currently dependent on family, friends, and organizations such as USCRI for their livelihoods. Without an EAD
      and work authorization, asylum seekers have difficulty obtaining drivers licenses, banking services, and health
      care. At the same time, businesses and communities lose workers, and federal and state governments lose income
      taxes.

      Adding time to an already lengthy and unforgiving process is both discriminatory and adverse to Congressional
      intent. Congress adopted the 150 day waiting period as it was a period beyond which it would not be appropriate
      to deny work authorization to a person whose claim had not been adjudicated.

      Moreover, courts have consistently concluded that any wait beyond 180 days for an EAD creates humanitarian
      harm for asylum seekers. Most recently, the United States District Court for the Western District of Washington
      in the case Gonzalez Rosario v. United States Citizenship and Immigration Services (USCIS) found that USCIS
      must adhere to the 30-day deadline due to the negative impact on human welfare. The Rosario court stated that,

      Asylum seekers are unable to obtain work when their EAD applications are
      delayed and consequently, are unable to financially support themselves or
      their loved ones This negative impact on human welfare is further
      compounded by the length of USCISs delay.

      Thus, maintaining the 30-day EAD deadline (180 day total) is consistent with established Congressional intent
      and court decisions, such as Rosario. Access to an EAD within 180 days is an important economic and
      humanitarian protection for vulnerable asylum seekers.

      Lack of Hardship and Security Concerns for DHS

      In Table 1, DHS cites the motivation for removal of the 30-day processing provision for EADs on the grounds
      that the provision presents both a hardship to process within 30 days and a security concern for the agency.

      First, DHS states in the proposed ruile that USCIS needs more time to process EAD applications due to increased
      background checks required by the government since 2004 in response to the September 11, 2001, terror attacks.
      However, the current processing time of 30 days was fully implemented by 2006, two years after such security
      checks were implemented. Further, the Rosario court, cited above, also stated that the security concerns of the
      government were too vague to justify a longer waiting period than 30 days.

      Second, DHS has been able to process 99 per cent of EAD applications within the 30 day deadline in the last
      fiscal year. Therefore, it is unclear why DHS requires more time to do so.

      In consideration of the above comments regarding hardship to asylum seekers as well as concerns that the
      proposed rule would be antithetical to both clear Congressional intent and established court decisions, USCRI
      respectfully requests that DHS withdraw the proposed rule, Removal of 30-day Processing Provision for Asylum
      Applicant-Related Form I-765 Employment Authorization Applications.

      USCRI thanks DHS for the opportunity to submit comments regarding this proposed rule.

      Sincerely,

      Eskinder Negash
      President and CEO



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